23-10367-mg            Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                                  Pg 1 of 410



James L. Bromley
Andrew G. Dietderich
Christian P. Jensen
SULLIVAN & CROMWELL LLP
125 Broad Street
New York, NY 10004-2498
Telephone: (212) 558-4000
Facsimile: (212) 558-3588

Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x
                                            :                               Chapter 11
In re                                       :
                                            :                               Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                       :
                                            :
                  Debtor.                   :
                                            :
___________________________________________ x

                  NOTICE OF FILING OF REVISED DISCLOSURE STATEMENT
                        AND RELATED APPENDICES AND EXHIBITS

                     PLEASE TAKE NOTICE that on January 26, 2024, SVB Financial Group, as

 debtor and debtor-in-possession (the “Debtor”), filed the Debtor’s Plan of Reorganization under

 Chapter 11 of the Bankruptcy Code [D.I. 826] (the “Plan”), and on February 7, 2024, the Debtor

 filed the Disclosure Statement for Debtor’s Plan of Reorganization under Chapter 11 of the

 Bankruptcy Code [D.I. 845] (the “Disclosure Statement”).

                     PLEASE TAKE FURTHER NOTICE that on the date hereof, the Debtor filed

 the Debtor’s First Amended Plan of Reorganization under Chapter 11 of the Bankruptcy Code

 [D.I. 1086] (the “Amended Plan”).




 1
        The last four digits of SVB Financial Group’s tax identification number are 2278.
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 2 of 410



               PLEASE TAKE FURTHER NOTICE that on the date hereof, the Debtor filed

a revised Disclosure Statement (the “Revised Disclosure Statement”), attached hereto as

Exhibit A. A blackline of the Revised Disclosure Statement marked against the Disclosure

Statement is attached hereto as Exhibit B.

               PLEASE TAKE FURTHER NOTICE that on the date hereof, the Debtor also

filed (i) the Liquidation Analysis as Appendix B to the Revised Disclosure Statement, attached

hereto as Exhibit C, (ii) the Financial Projections as Appendix D to the Revised Disclosure

Statement, attached hereto as Exhibit D, (iii) the NewCo Value Overview and Liquidating Trust

Assets as Appendix F to the Revised Disclosure Statement, attached hereto as Exhibit E and

(iv) the Committee Letter as Exhibit C to the Revised Disclosure Statement, attached hereto as

Annex 1.

               PLEASE TAKE FURTHER NOTICE that the undersigned counsel will present

the Revised Disclosure Statement to the Court at the hearing to be held on May 16, 2024 at

10:00 a.m. (Prevailing Eastern Time).

               PLEASE TAKE FURTHER NOTICE that copies of the Motion and the

Revised Proposed Order may be obtained from the Court’s website,

https://ecf.nysb.uscourts.gov, for a nominal fee, or obtained free of charge by accessing the

website of the Debtor’s claims and noticing agent, https://restructuring.ra.kroll.com/svbfg/.




                                                -2-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02     Main Document
                                    Pg 3 of 410



Dated: May 3, 2024                 /s/ James L. Bromley
New York, New York                 James L. Bromley
                                   Andrew G. Dietderich
                                   Christian P. Jensen
                                   SULLIVAN & CROMWELL LLP
                                   125 Broad Street
                                   New York, NY 10004
                                   Telephone: (212) 558-4000
                                   Facsimile: (212) 558-3588
                                   E-mail: bromleyj@sullcrom.com
                                           dietdericha@sullcrom.com
                                           jensenc@sullcrom.com

                                   Counsel to the Debtor




                                       -3-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                    Pg 4 of 410



                                   EXHIBIT A

                           Revised Disclosure Statement
23-10367-mg          Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                                Pg 5 of 410



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________________ x
                                             :                              Chapter 11
In re                                        :
                                             :                              Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                        :
                                             :
                             Debtor.         :
                                             :
____________________________________________ x


        DISCLOSURE STATEMENT FOR DEBTOR’S FIRST AMENDED PLAN OF
        REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

    James L. Bromley
    Andrew G. Dietderich
    Christian P. Jensen
    SULLIVAN & CROMWELL LLP
    125 Broad Street
    New York, New York 10004
    Telephone: (212) 558-4000
    Facsimile:     (212) 558-3588
    E-mail:        bromleyj@sullcrom.com
                   dietdericha@sullcrom.com
                   jensenc@sullcrom.com

Dated: May 3, 2024

    THIS IS NOT A SOLICITATION OF VOTES OF ACCEPTANCE OR REJECTION OF
    THE PLAN. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR
    APPROVAL BUT HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT.
    ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
    DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
    COURT. THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT
    TO CHANGE.

          A SOLICITATION OF VOTES IS BEING CONDUCTED TO OBTAIN
SUFFICIENT ACCEPTANCES OF SVB FINANCIAL GROUP’S CHAPTER 11 PLAN.




1
      The last four digits of SVB Financial Group’s tax identification number are 2278.
23-10367-mg    Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02        Main Document
                                      Pg 6 of 410



 UNLESS EXTENDED BY THE DEBTOR (SUBJECT TO ANY CONSENT RIGHTS OF
 THE UCC AND THE REQUIRED AD HOC SENIOR NOTEHOLDER PARTIES), THE
 VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 5:00 P.M., EASTERN
 TIME, ON JUNE [13], 2024 (THE “VOTING DEADLINE”).

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY
 VOTE ON THE PLAN IS MAY [14], 2024 (THE “VOTING RECORD DATE”).



                        RECOMMENDATION BY THE DEBTOR
 The Restructuring Committee of the Board of Directors of SVB Financial Group has
 approved the transactions contemplated by the Plan (as defined herein) and believes that
 confirmation and consummation of the Plan is in the best interests of the Debtor’s Estate
 and Holders of Claims and Interests. Accordingly, the Restructuring Committee of the
 Board of Directors of SVB Financial Group recommends that all Holders of Claims and
 Interests whose votes are being solicited submit ballots to accept the Plan.

          THE RESTRUCTURING COMMITTEE OF THE DEBTOR’S BOARD OF
DIRECTORS HAS APPROVED THE SOLICITATION OF VOTES TO ACCEPT OR
REJECT THE PLAN AND THE TRANSACTIONS CONTEMPLATED AND
DESCRIBED HEREIN.

           THIS DISCLOSURE STATEMENT HAS BEEN PREPARED FOR THE
PURPOSE OF SOLICITING VOTES TO ACCEPT OR REJECT THE CHAPTER 11
PLAN IT DESCRIBES HEREIN. NO PERSON SHOULD USE OR RELY ON THIS
DISCLOSURE STATEMENT FOR ANY OTHER PURPOSE.

           THIS DISCLOSURE STATEMENT IS BEING DISTRIBUTED TO
PARTIES-IN-INTEREST AS A SETTLEMENT PROPOSAL AND IS THEREFORE
SUBJECT TO FEDERAL RULE OF EVIDENCE 408 AND OTHER APPLICABLE
RULES, AND DOES NOT CONSTITUTE AND MAY NOT BE CONSTRUED AS AN
ADMISSION OF FACT, LIABILITY, STIPULATION OR WAIVER IN CONNECTION
WITH ANY PENDING, THREATENED AND POTENTIAL LITIGATION,
ARBITRATIONS OR DISPUTES. THE DEBTOR AND ANY OTHER AUTHORIZED
PARTY MAY SEEK TO INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND
MAY OBJECT TO CLAIMS OR INTERESTS AFTER THE CONFIRMATION OR
EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF WHETHER THIS
DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR OBJECTIONS TO
CLAIMS OR INTERESTS.

          IF THE BANKRUPTCY COURT DOES NOT CONFIRM THE CHAPTER
11 PLAN AND/OR THE CHAPTER 11 PLAN DOES NOT BECOME EFFECTIVE, NO
PORTION OF THE CHAPTER 11 PLAN, INCLUDING ANY SETTLEMENTS, WILL
BECOME EFFECTIVE.



                                           -ii-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                    Pg 7 of 410



           THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN
PROVISIONS OF THE PLAN AND DOCUMENTS RELATED THERETO,
STATUTORY PROVISIONS RELEVANT TO CONFIRMATION OF THE PLAN,
EVENTS IN THIS CHAPTER 11 CASE AND FINANCIAL INFORMATION RELATED
TO THE DEBTOR, NEWCO AND THE LIQUIDATING TRUST. ALTHOUGH THE
DEBTOR BELIEVES SUCH SUMMARIES ARE FAIR AND ACCURATE, THEY ARE
QUALIFIED IN THEIR ENTIRETY BY SUCH DOCUMENTS AND STATUTORY
PROVISIONS TO THE EXTENT THAT THEY DO NOT SET FORTH THE ENTIRETY
OF SUCH DOCUMENTS OR STATUTORY PROVISIONS. IN THE EVENT OF ANY
INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS
DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN
OR ANY OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE
PLAN OR SUCH OTHER DOCUMENTS WILL GOVERN FOR ALL PURPOSES.

         FACTUAL INFORMATION INCLUDED IN THIS DISCLOSURE
STATEMENT HAS BEEN PROVIDED BY THE DEBTOR’S MANAGEMENT, EXCEPT
WHERE OTHERWISE SPECIFICALLY NOTED.

           THE DEBTOR IS MAKING THE STATEMENTS AND PROVIDING THE
FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS
OF THE DATE HEREOF, UNLESS OTHERWISE SPECIFICALLY NOTED.
ALTHOUGH THE DEBTOR MAY SUBSEQUENTLY UPDATE THE INFORMATION
IN THIS DISCLOSURE STATEMENT, THE DEBTOR HAS NO AFFIRMATIVE DUTY
TO DO SO. HOLDERS OF CLAIMS OR INTERESTS REVIEWING THIS
DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR
REVIEW, THE FACTS SET FORTH HEREIN HAVE NOT CHANGED MATERIALLY
SINCE THIS DISCLOSURE STATEMENT WAS FILED. SUBJECT TO THE
CONSENT RIGHTS SET FORTH IN THE RSA, THE DEBTOR RESERVES THE
RIGHT TO FILE AN AMENDED DISCLOSURE STATEMENT FROM TIME TO
TIME.

          THE FINANCIAL PROJECTIONS PROVIDED IN THIS DISCLOSURE
STATEMENT HAVE BEEN PREPARED BY THE DEBTOR’S MANAGEMENT WITH
THE ASSISTANCE OF THEIR FINANCIAL AND RESTRUCTURING ADVISORS.
THESE FINANCIAL PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS THAT, ALTHOUGH CONSIDERED REASONABLE BY
MANAGEMENT, MAY NOT BE REALIZED AND ARE INHERENTLY SUBJECT TO
SIGNIFICANT BUSINESS, ECONOMIC, COMPETITIVE, INDUSTRY,
REGULATORY, MARKET AND FINANCIAL UNCERTAINTIES AND
CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTOR’S CONTROL.
THE DEBTOR CAUTIONS THAT NO REPRESENTATIONS CAN BE MADE AS TO
THE ACCURACY OF THESE FINANCIAL PROJECTIONS OR THE ABILITY TO
ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL
NOT MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THESE FINANCIAL PROJECTIONS
WERE PREPARED MAY BE DIFFERENT FROM THOSE ASSUMED AND/OR MAY


                                      -iii-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                    Pg 8 of 410



HAVE BEEN UNANTICIPATED, AND THUS THE OCCURRENCE OF THESE
EVENTS MAY AFFECT FINANCIAL RESULTS IN A MATERIALLY ADVERSE OR
MATERIALLY BENEFICIAL MANNER. THE FINANCIAL PROJECTIONS,
THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTEE OR OTHER
ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

         NO PERSON SHOULD RELY ON ANY OTHER INFORMATION THAN
THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR
INCORPORATED BY REFERENCE HEREIN. THE DEBTOR HAS NOT
AUTHORIZED ANYONE TO PROVIDE ANY INFORMATION ABOUT OR
CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
DISCLOSURE STATEMENT.

          EACH HOLDER OF A CLAIM OR INTEREST ENTITLED TO VOTE ON
THE PLAN SHOULD CAREFULLY REVIEW THE PLAN AND THIS DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE CASTING A BALLOT. THIS
DISCLOSURE STATEMENT DOES NOT CONSTITUTE LEGAL, BUSINESS,
FINANCIAL OR TAX ADVICE. ANY PERSONS DESIRING ANY SUCH ADVICE OR
OTHER ADVICE SHOULD CONSULT WITH THEIR OWN ADVISORS.

           UPON CONFIRMATION OF THE PLAN, CERTAIN OF THE
SECURITIES DESCRIBED HEREIN WILL BE ISSUED WITHOUT REGISTRATION
UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED (THE
“SECURITIES ACT”), OR ANY SIMILAR FEDERAL, STATE OR LOCAL LAW, IN
RELIANCE ON THE EXEMPTIONS SET FORTH IN SECTION 1145 OF THE
BANKRUPTCY CODE TO THE EXTENT SUCH EXEMPTIONS ARE AVAILABLE.
OTHER SECURITIES MAY BE ISSUED PURSUANT TO OTHER APPLICABLE
EXEMPTIONS UNDER THE FEDERAL SECURITIES LAWS TO THE EXTENT SUCH
EXEMPTIONS ARE AVAILABLE. IN ACCORDANCE WITH SECTION 1125(e) OF
THE BANKRUPTCY CODE, A DEBTOR OR ANY OF ITS AGENTS THAT
PARTICIPATES, IN GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE
PROVISIONS OF THE BANKRUPTCY CODE, IN THE OFFER, ISSUANCE, SALE, OR
PURCHASE OF A SECURITY, OFFERED OR SOLD UNDER THE PLAN, OF THE
DEBTOR, OF AN AFFILIATE PARTICIPATING IN A JOINT PLAN WITH THE
DEBTOR, OR OF A NEWLY ORGANIZED SUCCESSOR TO THE DEBTOR UNDER
THE PLAN, IS NOT LIABLE, ON ACCOUNT OF SUCH PARTICIPATION, FOR
VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION GOVERNING
THE OFFER, ISSUANCE, SALE, OR PURCHASE OF SECURITIES.

           THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN
ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND
BANKRUPTCY RULE 3016(b) AND NOT IN ACCORDANCE WITH FEDERAL OR
STATE SECURITIES LAWS OR OTHER NON-APPLICABLE BANKRUPTCY LAWS.
THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR DISAPPROVED
BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION (THE
“SEC”), NOR HAS THE SEC PASSED UPON THE ACCURACY OR ADEQUACY OF
THE STATEMENTS CONTAINED HEREIN. ANY REPRESENTATION TO THE


                                       -iv-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                    Pg 9 of 410



CONTRARY IS A CRIMINAL OFFENSE. THIS DISCLOSURE STATEMENT IS NOT
AN OFFER TO SELL ANY SECURITIES AND IS NOT SOLICITING AN OFFER TO
BUY ANY SECURITIES.

           THE DEBTOR MAKES STATEMENTS IN THIS DISCLOSURE
STATEMENT THAT ARE CONSIDERED FORWARD-LOOKING STATEMENTS
WITHIN THE MEANING OF THE PRIVATE SECURITIES LITIGATION REFORM
ACT OF 1995, AS AMENDED. THE DEBTOR CONSIDERS ALL STATEMENTS
REGARDING ANTICIPATED OR FUTURE MATTERS TO BE FORWARD-LOOKING
STATEMENTS. FORWARD-LOOKING STATEMENTS REPRESENT THE
DEBTOR’S ESTIMATES AND ASSUMPTIONS ONLY AS OF THE DATE SUCH
STATEMENTS WERE MADE. THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE DEBTOR’S ACTUAL
PERFORMANCE OR ACHIEVEMENTS TO BE MATERIALLY DIFFERENT FROM
THOSE IT MAY PROJECT, AND THE DEBTOR UNDERTAKES NO OBLIGATION
TO UPDATE ANY SUCH STATEMENT. THE DEBTOR EXPRESSLY CAUTIONS
READERS NOT TO PLACE UNDUE RELIANCE ON ANY FORWARD-LOOKING
STATEMENTS CONTAINED HEREIN.

          STATEMENTS CONCERNING THESE AND OTHER MATTERS ARE
NOT GUARANTEES OF SUCCESS OR THE DEBTOR’S ABILITY TO SATISFY ALL
CLAIMS OR INTERESTS TO BE PAID UNDER THE PLAN. THERE ARE RISKS,
UNCERTAINTIES, AND OTHER IMPORTANT FACTORS THAT NEED TO BE
CONSIDERED. SEE ARTICLE IX OF THIS DISCLOSURE STATEMENT, ENTITLED
“CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING,” FOR A
DISCUSSION OF CERTAIN CONSIDERATIONS IN CONNECTION WITH A
DECISION BY A HOLDER OF AN IMPAIRED CLAIM OR INTEREST TO ACCEPT
THE PLAN.




                                       -v-
23-10367-mg            Doc 1087           Filed 05/03/24 Entered 05/03/24 01:51:02                                 Main Document
                                                    Pg 10 of 410



                                                  TABLE OF CONTENTS

                                                                                                                                    Page

ARTICLE I. EXECUTIVE SUMMARY .....................................................................................1
     A.    Purpose of this Disclosure Statement ...................................................................2
     B.    Recovery Analysis and Treatment of Claims and Interests ...............................3
     C.    Voting on the Plan ................................................................................................10
     D.    Confirmation of the Plan .....................................................................................12

ARTICLE II. BACKGROUND ..................................................................................................12
     A.     Overview of the Debtor’s Businesses..................................................................12
     B.     The Debtor’s Corporate Structure and Global Operations .............................13
     C.     Summary of the Debtor’s Assets and Operations .............................................15
     D.     Liabilities – The Debtor’s Prepetition Funded Indebtedness ..........................17
     E.     Existing Preferred Stock .....................................................................................18
     F.     Existing Common Stock ......................................................................................19
     G.     Factors Leading to the Commencement of This Chapter 11 Case ..................19

ARTICLE III. SIGNIFICANT EVENTS AND INITIATIVES IN THIS CHAPTER
     11 CASE ............................................................................................................................21
     A.    Commencement of the Chapter 11 Case ............................................................21
     B.    First Day Relief ....................................................................................................21
     C.    Appointment of the UCC.....................................................................................23
     D.    The Ad Hoc Group of Senior Noteholders ........................................................23
     E.    The Ad Hoc Cross-Holder Group ......................................................................23
     F.    Retention of Debtor Professionals ......................................................................24
     G.    Schedules and Statements and 341 Meeting ......................................................24
     H.    Bar Dates and Claims Process ............................................................................24
     I.    Assumption and Assignment of Executory Contracts to FCB and Non-
           debtor Subsidiaries ..............................................................................................25
     J.    Claims Against the FDIC ....................................................................................26
     K.    SVB Securities Sale ..............................................................................................29
     L.    SVB Capital Reorganization and Sale ...............................................................30
     M.    SVB India Sale......................................................................................................32
     N.    The Restructuring Support Agreement .............................................................33
     O.    Securities Lawsuits...............................................................................................34
     P.    Investigation of Potential Estate Claims and Causes of Action .......................35

ARTICLE IV. SUMMARY OF THE PLAN .............................................................................37
     A.   Classification, Treatment and Voting of Claims and Interests........................38
     B.   The Liquidating Trust .........................................................................................45
     C.   Implementation of the Plan .................................................................................56
     D.   Provisions Regarding Governance of NewCo ...................................................64
     E.   Executory Contracts and Unexpired Leases .....................................................66
     F.   Provisions Governing Distributions ...................................................................69
     G.   Settlement, Release, Injunction and Related Plan Provisions .........................76

                                                                    vi
4882-9472-4471 v.14
23-10367-mg             Doc 1087           Filed 05/03/24 Entered 05/03/24 01:51:02                                  Main Document
                                                     Pg 11 of 410



          H.          Conditions Precedent ...........................................................................................86

ARTICLE V. STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE
     PLAN .................................................................................................................................87
     A.    The Confirmation Hearing..................................................................................88
     B.    Confirmation Standards......................................................................................88
     C.    Best Interests Test ................................................................................................90
     D.    Financial Feasibility .............................................................................................93
     E.    Acceptance by Impaired Classes ........................................................................93
     F.    Confirmation Without Acceptance by All Impaired Classes ...........................94
     G.    MoffettNathanson Valuation and NewCo and Liquidating Trust Asset
           Overviews..............................................................................................................96
     H.    Classification ........................................................................................................96

ARTICLE VI. VOTING PROCEDURES .................................................................................96
     A.   Parties-in-Interest Entitled to Vote ....................................................................99
     B.   Classes under the Plan .........................................................................................99
     C.   Form, Content, and Manner of Notices ...........................................................100
     D.   Voluntary Releases under the Plan ..................................................................101
     E.   Voting Procedures ..............................................................................................104

ARTICLE VII. EFFECT OF CONFIRMATION ..................................................................107
     A.   Binding Effect of Confirmation ........................................................................107
     B.   Good Faith ..........................................................................................................107

ARTICLE VIII. SECURITIES LAW MATTERS .................................................................107
     A.   Bankruptcy Code Exemptions from Registration Requirements .................107
     B.   Private Placement Exemptions .........................................................................109

ARTICLE IX. CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO
     VOTING .........................................................................................................................112
     A.   Certain Bankruptcy Law Considerations ........................................................112
     B.   Risks Related to the Debtor’s Ongoing Operations during the Chapter
          11 Case ................................................................................................................119
     C.   Risk Factors Relating to the SVB Capital Sale ...............................................121
     D.   Risk Factors Relating to a NewCo Transaction ..............................................122
     E.   Risk Factors Relating to NewCo Common Stock to Be Issued Under
          the Plan ...............................................................................................................122
     F.   Operational Risks for NewCo ...........................................................................125
     G.   Risk Factors Relating to Liquidating Trust Interests to Be Issued
          Under the Plan....................................................................................................127
     H.   Operational Risks for the Liquidating Trust ..................................................129
     I.   Additional Risk Factors .....................................................................................131

ARTICLE X. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF
     THE PLAN .....................................................................................................................133
     A.    Consequences to the Debtor ..............................................................................136


                                                                    vii
4882-9472-4471 v.14
23-10367-mg             Doc 1087            Filed 05/03/24 Entered 05/03/24 01:51:02                                     Main Document
                                                      Pg 12 of 410



         B.           Consequences to U.S. Holders of Certain Claims and Interests ....................141
         C.           Consequences to the Non-U.S. Holders of Certain Claims and
                      Interests ...............................................................................................................150
         D.           Tax Treatment of the Liquidating Trust and Holders of Liquidating
                      Trust Interests ....................................................................................................157
         F.           Withholding on Distributions and Information Reporting............................162

ARTICLE XI. RECOMMENDATION ...................................................................................162




                                                                      viii
4882-9472-4471 v.14
23-10367-mg           Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                            Pg 13 of 410



                                          Appendices and Exhibits

Appendix A                Debtor’s Plan of Reorganization under Chapter 11 of the Bankruptcy Code
Appendix B                Liquidation Analysis
Appendix C                Solicitation Procedures Order
Appendix D                Financial Projections
Appendix E                Restructuring Support Agreement
Appendix F                NewCo Value Overview and Liquidating Trust Assets

[Exhibit A]               [Debtor’s Organizational Structure]2
[Exhibit B]               [Illustrative Post-Emergence Organizational Structure]3
Exhibit C                 Committee Letter




2
    [NTD: To be filed with the Court in advance of Disclosure Statement hearing.]
3
    [NTD: To be filed with the Court in advance of Disclosure Statement hearing.]


                                                       ix
4882-9472-4471 v.14
23-10367-mg           Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                           Pg 14 of 410



                                           ARTICLE I.

                                    EXECUTIVE SUMMARY

                On March 17, 2023 (the “Petition Date”), SVB Financial Group (the “Debtor”)
filed with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) a voluntary petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) (the “Chapter 11 Case”).

               Simultaneous with the filing of this Disclosure Statement, the Debtor filed the
Debtor’s First Amended Plan of Reorganization under Chapter 11 of the Bankruptcy Code (as
may be further amended, supplemented or modified from time to time, including the Plan
Supplement and all other exhibits and schedules thereto, in each case, as they may be further
amended, modified or supplemented from time to time, the “Plan”) [D.I. 1086]. The Plan is
annexed hereto as Appendix A and is incorporated herein by reference.

                 The Plan provides for the formation of a liquidating trust (the “Liquidating
Trust”), to which the Debtor will contribute certain assets, including but not limited to certain
claims, causes of action, investment securities, limited partnership interests and cash, as agreed
upon by the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties under the
terms of the Plan and Restructuring Support Agreement (the “RSA”). Upon the Effective Date,
the Liquidating Trust will issue three classes of Liquidating Trust Interests and, subject to certain
conditions described in the Plan, Holders of certain Classes of Claims and Interests will receive
certain Liquidating Trust Interests in accordance with the priority of their Claims. In addition,
the Plan provides that the Debtor may undertake certain restructuring transactions which, if
effected, will result in a newly-formed Delaware corporation (or other business form as agreed
upon under the terms of the Plan) owning, directly or indirectly, 100% of the equity interests in
the Debtor. For purposes of the Plan and this Disclosure Statement, “NewCo” shall refer to, as
applicable, (i) the Debtor as reorganized pursuant to and under the Plan and any successor
thereto, by merger, consolidation or otherwise, on or after the Effective Date or (ii) a newly-
formed Delaware corporation (or other business form as agreed upon under the terms of the
Plan) that owns or will own, directly or indirectly, 100% of the equity interests in the Debtor.
NewCo will retain assets of the Debtor not otherwise contributed to the Liquidating Trust,
including the equity interests in certain non-Debtor subsidiaries. NewCo will issue 100% of its
new common equity interests to certain Holders of Allowed General Unsecured Claims, subject
to dilution by any NewCo Transaction (as defined below).

                The Plan and this Disclosure Statement are the result of extensive good faith and
arms-length discussions and negotiations among the Debtor, the UCC and the Ad Hoc Group of
Senior Noteholders (all terms as defined below). The Plan is a direct product of the RSA among
the Debtor, the UCC and the Ad Hoc Group of Senior Noteholders, which RSA is attached
hereto as Appendix E. The Debtor believes that the Plan will provide the highest and best
recovery to Holders of Claims and Interests in the most efficient and expeditious manner
possible. The Debtor submits that (i) through the Plan, Holders of Allowed Claims and Interests
will obtain a recovery from the Debtor’s Estate equal to or greater than the recovery that they
would receive if the Debtor’s assets were liquidated under chapter 7 of the Bankruptcy Code and



4882-9472-4471 v.14
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 15 of 410



(ii) consummation of the Plan will maximize the recovery of the Holders of Allowed Claims and
Interests.

               Capitalized terms used but not otherwise defined herein have the meanings
ascribed to such terms in the Plan; provided, that any capitalized term used herein that is not
defined herein or in the Plan, but is defined in the Bankruptcy Code or the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”), will have the meaning ascribed to such term in
the Bankruptcy Code or the Bankruptcy Rules, as applicable.

A.     Purpose of this Disclosure Statement

                Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
reorganization. Chapter 11 helps a company maximize recovery to all stakeholders. The
consummation of a plan is the principal objective of a chapter 11 case. A plan sets forth the
means for satisfying claims against, and interests in, the debtor. Confirmation of a plan by a
bankruptcy court binds the debtor and any creditor or interest holder of the debtor. Subject to
certain limited exceptions, the order approving confirmation of a plan enjoins parties from
enforcing any debt that arose prior to the date of confirmation of the plan or from bringing any
causes of action against the debtor in connection with such debt.

                In general, a plan (a) divides claims and interests into separate classes,
(b) specifies the property or other distributions that each class is to receive under the plan and
(c) contains provisions necessary to implement the plan. Under the Bankruptcy Code, “claims”
and “interests,” rather than “creditors” and “equity holders,” are classified because creditors and
equity holders may hold claims and interests in more than one class.

                The Debtor submits this Disclosure Statement for Debtor’s First Amended Plan of
Reorganization under Chapter 11 of the Bankruptcy Code (this “Disclosure Statement”) pursuant
to section 1125 of the Bankruptcy Code for the purpose of soliciting votes on the proposed Plan.
The purpose of this Disclosure Statement is to provide the Holders of Claims and Interests who
are entitled, and will be solicited, to vote on the Plan with information of a kind and in sufficient
detail, to make an informed decision on whether to accept or reject the Plan. Pursuant to
section 1125 of the Bankruptcy Code, acceptances of a chapter 11 plan may be solicited only
after a Bankruptcy Court-approved written disclosure statement has been provided to each
creditor or interest holder who is entitled to vote on the plan.

                This Disclosure Statement includes, among other things, information pertaining to
the Debtor’s prepetition business operations and financial history and the events leading up to the
Chapter 11 Case. In addition, an overview of the Plan is included, which overview sets forth
certain terms and provisions of the Plan, the effects of Confirmation of the Plan, certain risk
factors associated with the Plan and the manner in which distributions will be made under the
Plan. This Disclosure Statement also discusses the Confirmation process and the procedures for
voting, which procedures must be followed by the Holders of Claims and Interests entitled to
vote under the Plan for their votes to be counted.




                                                 -2-
23-10367-mg         Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                           Pg 16 of 410



B.          Recovery Analysis and Treatment of Claims and Interests

                Your ability to vote on, and your distribution (if any) under, the Plan depends on
what type of Claim or Interest you hold. Each category of Holders of Claims or Interests, as set
forth in Section 4 of the Plan pursuant to section 1122(a) of the Bankruptcy Code, is referred to
as a “Class.” For each Class, the Plan describes (a) the underlying Claim or Interest, (b) the
recovery available to the Holders of Claims or Interests in that Class under the Plan, (c) whether
the Class is Impaired under the Plan, meaning that each Holder will receive less than full value
on account of its Claim or Interest or that the rights of Holders under law will be altered in some
way and (d) the form of any consideration (e.g., Cash, Liquidating Trust Interests, NewCo
Common Stock or a combination thereof) that Holders will receive on account of their respective
Claims or Interests.

                 Subject to the terms set forth in Section 4 of the Plan and as further described in
Article IV.C.5—NewCo Common Stock below, Holders of Claims in Classes 3(a) and 3(b) may
be entitled to receive (a) to the extent such Holder certifies that it is a Qualified Holder, NewCo
Common Stock or (b) to the extent that such Holder Certifies that it is a Non-Qualified Holder,
Cash equal to the value of the NewCo Common Stock that such Holder would have received if
such Holder were a Qualified Holder. Accordingly, each such Holder must provide a
certification as to its status as (x) a Qualified Holder or (y) a Non-Qualified Holder in order to
receive its distribution as described in clause (a) or (b) of the previous sentence, respectively.
The procedures for providing such certification are described further in Article IV.C.5—NewCo
Common Stock below.

               In accordance with section 1123(a)(1) of the Bankruptcy Code, the Plan does not
classify Other Administrative Claims, Ad Hoc Noteholder Group Expenses, Senior Note Trustee
Expenses, Subordinated Note Trustee Expenses, Professional Fee Claims and Priority Tax
Claims, which will generally be paid in Cash when approved by the Bankruptcy Court or in the
ordinary course on or after the Effective Date.

                  Classification of Claims and Interests

                  The classification of Claims and Interests pursuant to the Plan is as follows:

 Class        Designation                                Status              Voting Rights
   1          Other Secured Claims                       Unimpaired          Not Entitled to Vote
                                                                             (Presumed to Accept)
      2       Other Priority Claims                      Unimpaired          Not Entitled to Vote
                                                                             (Presumed to Accept)
     3(a)     Senior Note Claims                         Impaired            Entitled to Vote
     3(b)     Other General Unsecured Claims             Impaired            Entitled to Vote
      4       Subordinated Note Claims                   Impaired            Entitled to Vote
      5       Preferred Equity Interests                 Impaired            Entitled to Vote
      6       Common Equity Interests                    Impaired            Not Entitled to Vote
                                                                             (Deemed to Reject)
      7       Section 510(b) Claims                      Impaired            Not Entitled to Vote
                                                                             (Deemed to Reject)


                                                   -3-
23-10367-mg          Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                               Pg 17 of 410



    Class     Designation                                       Status                 Voting Rights
      8       Intercompany Claims and Intercompany              Impaired or            Not Entitled to Vote
              Interests                                         Unimpaired             (Presumed to Accept or
                                                                                       Deemed to Reject)

                   Recovery Analysis Summary

                 The table below provides a summary of the classification, treatment and estimated
recoveries of Claims and Interests under the Plan. This information is provided in summary
form for illustrative purposes only, is subject to material change based on contingencies related
to the claims reconciliation process, recoveries obtained by the Liquidating Trust in liquidating
the Liquidating Trust Assets and the post-Effective Date financial performance of NewCo, and is
qualified in its entirety by reference to the provisions of the Plan. Amounts assumed for
purposes of projected recoveries are estimates only. Actual recoveries received under the Plan
may differ materially from the projected recoveries. For a more detailed description of the
treatment of Claims and Interests under the Plan, see Article IV belowSummary of the Plan.
To the extent any inconsistency exists between the summaries contained in this Disclosure
Statement and the Plan, the terms of the Plan shall govern. For a complete description of the
Debtor’s classification and treatment of Claims and Interests, reference should be made to the
Plan.

          THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND ARE THEREFORE SUBJECT TO CHANGE.

          SUMMARY OF TREATMENT OF CLAIMS AND INTERESTS AND
ESTIMATED RECOVERIES

                                                                  ESTIMATED
                                                                                      ESTIMATED PERCENT
    CLASS                       TREATMENT                         ALLOWED
                                                                                       RECOVERY RANGE5
                                                                   CLAIMS4
                                                                                        Plan         Liquidation
       1        Except to the extent that a Holder of                  N/A             100%              100%
                an Allowed Other Secured Claim
                agrees to less favorable treatment, in
                full and final satisfaction,
                compromise, settlement, release, and
                discharge of and in exchange for its


4
      Estimated Allowed Claims dollar amounts reflected in millions.
5
      Estimated percent recovery ranges reflect the estimated recovery range for each class under the Plan and
      liquidation scenarios. The estimated recovery ranges provided in this table reflect the low and high ends of
      projected recoveries under “Scenario A,” “Scenario B” and “Scenario C” as set forth in the Liquidation
      Analysis (as defined below) set forth on Appendix B to this Disclosure Statement. Scenarios A, B and C reflect
      a range of outcomes of the Debtor’s ongoing litigation with the FDIC (as defined below). For additional
      information, please refer to Article V.C.2–The Debtor’s Liquidation Analysis.



                                                         -4-
23-10367-mg         Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                             Pg 18 of 410



                                                                ESTIMATED
                                                                                     ESTIMATED PERCENT
    CLASS                      TREATMENT                        ALLOWED
                                                                                      RECOVERY RANGE5
                                                                 CLAIMS4
                                                                                         Plan     Liquidation
               Allowed Other Secured Claim, each
               Holder of an Allowed Other Secured
               Claim will receive, at the Debtor’s
               option (with the consent of the UCC
               and the Required Ad Hoc Senior
               Noteholder Parties, not to be
               unreasonably withheld, conditioned or
               delayed): (a) payment in full in Cash;
               (b) delivery of the collateral securing
               its Allowed Other Secured Claim and
               payment of any interest required under
               section 506(b) of the Bankruptcy
               Code; (c) Reinstatement of its
               Allowed Other Secured Claim; or
               (d) such other treatment rendering its
               Allowed Other Secured Claim
               Unimpaired in accordance with
               section 1124 of the Bankruptcy Code.

      2        Except to the extent that a Holder of                 $0.06               100%        100%
               an Allowed Other Priority Claim
               agrees to a less favorable treatment, in
               full and final satisfaction, settlement,
               release, and discharge of and in
               exchange for its Allowed Other
               Priority Claim, each Holder of an
               Allowed Other Priority Claim will
               receive treatment in a manner
               consistent with section 1129(a)(9) of
               the Bankruptcy Code.

     3(a)      Except to the extent that a Holder of               $3,329.0        41%–96%         30%–85%
               an Allowed Senior Note Claim agrees
               to a less favorable treatment (with the
               consent of the UCC and the Required
               Ad Hoc Senior Noteholder Parties, not
               to be unreasonably withheld,
               conditioned or delayed), in full and
               final satisfaction, settlement, release

6
     The Estimated Allowed Claims in Class 2 are less than $1,000.00 in the aggregate.



                                                        -5-
23-10367-mg   Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02      Main Document
                                      Pg 19 of 410



                                                      ESTIMATED
                                                                   ESTIMATED PERCENT
  CLASS                TREATMENT                      ALLOWED
                                                                    RECOVERY RANGE5
                                                       CLAIMS4
                                                                   Plan     Liquidation
          and discharge of and in exchange for
          its Allowed Senior Note Claim, each
          Holder of an Allowed Senior Note
          Claim will receive (a)(i) if and solely
          to the extent such Holder is a
          Qualified Holder, its Pro Rata share
          (together with all Holders receiving
          Distributions in NewCo Common
          Stock) of the NewCo Common Stock
          subject to dilution by any NewCo
          Transaction or (ii) if and solely to the
          extent such Holder is a Non-Qualified
          Holder, Cash in an amount equal to
          the value of the NewCo Common
          Stock it would be entitled to receive if
          it were a Qualified Holder, (b) its Pro
          Rata share (together with all Holders
          receiving Distributions of the Class A
          Trust Units) of the Class A Trust Units
          and (c) payment by the Debtor in Cash
          of the Senior Note Trustee Expenses,
          to the extent not otherwise paid by the
          Debtor under the Plan.

   3(b)   Except to the extent that a Holder of        $180.4     41%–96%    30%–85%
          an Allowed Other General Unsecured
          Claim agrees to a less favorable
          treatment (with the consent of the
          UCC and the Required Ad Hoc Senior
          Noteholder Parties, not to be
          unreasonably withheld, conditioned or
          delayed), in full and final satisfaction,
          settlement, release and discharge of
          and in exchange for its Allowed Other
          General Unsecured Claim, each
          Holder of an Allowed Other General
          Unsecured Claim will receive:
               (a) (i)(A) if and solely to the
               extent such Holder is a Qualified
               Holder, its Pro Rata share



                                              -6-
23-10367-mg   Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02     Main Document
                                     Pg 20 of 410



                                                     ESTIMATED
                                                                 ESTIMATED PERCENT
  CLASS                TREATMENT                     ALLOWED
                                                                  RECOVERY RANGE5
                                                      CLAIMS4
                                                                 Plan     Liquidation
               (together with all Holders
               receiving Distributions in
               NewCo Common Stock) of the
               NewCo Common Stock subject
               to dilution by any NewCo
               Transaction or (B) if and solely
               to the extent such Holder is a
               Non-Qualified Holder, Cash in
               an amount equal to the value of
               the NewCo Common Stock it
               would be entitled to receive if it
               were a Qualified Holder, and
               (ii) its Pro Rata share (together
               with all Holders receiving
               Distributions of the Class A
               Trust Units) of the Class A Trust
               Units; or
               (b) if such Holder elects on the
               applicable ballot, the GUC Cash-
               Out with respect such Claim.

    4     Except to the extent that a Holder of       $104.5      0%          0%
          an Allowed Subordinated Note Claim
          agrees to a less favorable treatment, in
          full and final satisfaction, settlement,
          release and discharge of and in
          exchange for its Allowed
          Subordinated Note Claim, each Holder
          of an Allowed Subordinated Note
          Claim will receive its Pro Rata share
          of (a) the Class B Trust Units in an
          aggregate amount equal to such
          Holder’s Allowed Subordinated Note
          Claim and (b) payment by the Debtor
          in Cash of the Subordinated Note
          Trustee Expenses, to the extent not
          otherwise paid by the Debtor under the
          Plan.




                                             -7-
23-10367-mg   Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02      Main Document
                                     Pg 21 of 410



                                                      ESTIMATED
                                                                  ESTIMATED PERCENT
  CLASS                TREATMENT                      ALLOWED
                                                                   RECOVERY RANGE5
                                                       CLAIMS4
                                                                  Plan     Liquidation
    5     Except to the extent that a Holder of        $3,700.0    0%          0%
          an Allowed Preferred Equity Interest
          agrees to a less favorable treatment, in
          full and final satisfaction, settlement,
          release and discharge of and in
          exchange for its Allowed Preferred
          Equity Interest, each Holder of an
          Allowed Preferred Equity Interest will
          receive its Pro Rata share of the Class
          C Trust Units.

    6     No Holder of a Common Equity                   N/A       0%          0%
          Interest will receive any Distributions
          on account of its Common Equity
          Interest. On and after the Effective
          Date, all Common Equity Interests
          will be canceled, released, discharged,
          and extinguished and will be of no
          further force or effect, and Holders of
          such Interests will not receive or retain
          any distribution, property, or other
          value on account of such Interests.

    7     No Holder of a Section 510(b) Claim            N/A       0%          0%
          will receive any Distributions on
          account of its Section 510(b) Claim.
          On and after the Effective Date, all
          Section 510(b) Claims will be
          canceled, released, discharged, and
          extinguished and will be of no further
          force or effect, and Holders of
          Section 510(b) Claims will not receive
          or retain any distribution, property, or
          other value on account of such Claims.




                                              -8-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                              Pg 22 of 410



                                                                  ESTIMATED
                                                                                       ESTIMATED PERCENT
    CLASS                      TREATMENT                          ALLOWED
                                                                                        RECOVERY RANGE5
                                                                   CLAIMS4
                                                                                         Plan         Liquidation
      8         On and after the Effective Date, each                 N/A7                0%                0%
                Intercompany Claim and each
                Intercompany Interest will be
                (a) canceled, released, and discharged,
                (b) Reinstated, (c) converted to equity,
                or (d) otherwise set off, settled, or
                distributed, in each case at the option
                of the Debtor with the consent of the
                UCC and the Required Ad Hoc Senior
                Noteholder Parties, not to be
                unreasonably withheld, conditioned or
                delayed.

                  GUC Cash-Out

                 As set forth in Section 4.2 of the Plan, certain Holders of Other General
Unsecured Claim are eligible to elect to receive the “GUC Cash-Out.” The GUC Cash-Out
provides each Holder of an Allowed Other General Unsecured Claim with an option to elect to
receive its Distribution in Cash in an amount equal to 45% of (i) the Allowed value of such
Claim or (ii) $11,000,000 of such Claim, if such Claim exceeds $11,000,000, in either case, in
full satisfaction of such Claim. To the extent that the Holder of an Allowed Other General
Unsecured Claim that exceeds $11,000,000 elects to receive the GUC Cash-Out, such Holder
agrees to reduce such Claim to $11,000,000.

               To receive the GUC Cash-Out, each eligible Holder of an Other General
Unsecured Claim must complete Item 3 on the applicable ballot and return such ballot in
accordance with the procedures set forth in the Solicitation Procedures Order (as defined
below), as further described in Article VI—Voting Procedures below. If an eligible Holder
of an Other General Unsecured Claim fails to complete the GUC Cash-Out election, set
forth on Item 3 of the applicable Ballot, or fails to return such Ballot in accordance with
the procedures set forth in the Solicitation Procedures Order by the deadlines provided
therein, such Holder will be deemed to have irrevocably relinquished and waived its right
to receive the GUC Cash-Out. All eligible Holders of Other General Unsecured Claims
should carefully review the procedures set forth in the Solicitation Procedures Order.



7
     As of the date of this Disclosure Statement, certain of the Debtor’s foreign subsidiaries are in the process of
     being wound down under applicable law. In connection with such wind down processes, certain de minimis
     Intercompany Claims held by the Debtor’s foreign subsidiaries are expected to be settled prior to the Effective
     Date.


                                                         -9-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 23 of 410



C.     Voting on the Plan

               Parties-in-Interest Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless: (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or interest entitles the holder thereof; or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

                 In general, under section 1126(a) of the Bankruptcy Code, the holder of a claim or
interest that is allowed under a plan is entitled to vote to accept or reject the plan if such claim or
interest is impaired under the plan. Under section 1126(f) of the Bankruptcy Code, the holder of
a claim that is not impaired under a plan is conclusively presumed to have accepted the plan, and
the plan proponent need not solicit such holder’s vote. Under section 1126(g) of the Bankruptcy
Code, the holder of an impaired claim or impaired interest that will not receive any distribution
under the plan in respect of such claim or interest is deemed to have rejected the plan and is not
entitled to vote on the plan. For a detailed description of the treatment of Claims and Interests
under the Plan, refer to Article IV belowSummary of the Plan.

               Classes 1 and 2 are Unimpaired under, and conclusively presumed under section
1126(f) of the Bankruptcy Code to have accepted, the Plan.

                Classes 3(a), 3(b), 4 and 5 are Impaired under, and entitled to vote to accept or
reject, the Plan.

             Classes 6 and 7 are Impaired under, and deemed under section 1126(g) of the
Bankruptcy Code to have rejected, the Plan.

               Class 8 is Impaired or Unimpaired under, and deemed under section 1126(f) or
1126(g) of the Bankruptcy Code, as applicable, to have accepted or rejected the Plan.

                 Except as described in Article V belowStatutory Requirements for
Confirmation of the Plan, the Bankruptcy Code requires, as a condition to confirmation of the
Plan, that each Impaired Class accept the Plan. Section 1126(c) of the Bankruptcy Code defines
acceptance of a plan by a class of claims as acceptance by holders of at least two-thirds in dollar
amount and more than one-half in number of claims in such class that have voted to accept or
reject the plan. Section 1126(d) of the Bankruptcy Code defines acceptance of a plan by a class
of interests as acceptance by holders of at least two-thirds in dollar amount of interests in such
class that have voted to accept or reject the plan. Holders of claims or interests who fail to vote
are deemed neither to accept nor to reject the Plan. For a more detailed description of the
requirements for confirmation of the Plan, refer to Article V belowStatutory Requirements for
Confirmation of the Plan.

              Even if the Plan has not been accepted by all Impaired Classes entitled to vote,
section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm the Plan,



                                                 -10-
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                             Pg 24 of 410



provided that the Plan has been accepted by at least one Impaired Class of creditors.
Notwithstanding the failure of an Impaired Class to accept the Plan, the Plan can be confirmed
by a procedure commonly known as cram-down, provided the Plan does not “discriminate
unfairly” and is “fair and equitable,” for the purposes of the Bankruptcy Code, with respect to
each Class of Claims or Interests that is Impaired under, and has not accepted, the Plan. For a
more detailed description of the requirements for confirmation of a nonconsensual plan, refer to
Article V belowStatutory Requirements for Confirmation of the Plan.

                 Submitting a Ballot

                If you are the record Holder of a Claim or Interest in a Class entitled to vote on
the Plan, accompanying this Disclosure Statement is a ballot (the “Ballot”) for voting to accept
or reject the Plan.

                Classes 3(a), 3(b), 4 and 5 are entitled to, or are being solicited to, vote to accept
or reject the Plan. If you are entitled to or are being solicited to vote, you should carefully
review this Disclosure Statement, including the attached appendices and the instructions
accompanying your Ballot or Ballots. Then, indicate your acceptance or rejection of the Plan by
voting for or against the Plan on the enclosed Ballot or Ballots and return the Ballot or Ballots to
Kroll Restructuring Administration LLC (the “Solicitation Agent” or “Kroll”) or by submitting a
Ballot or Ballots through the online electronic ballot portal (as described on the Ballot)
maintained by Kroll. If you are a Beneficial Holder8 of Claims or Interests in Classes 3(a), 4 or 5
and received a Ballot for Beneficial Holders (a “Beneficial Holder Ballot”), you must return the
Beneficial Holder Ballot to your broker or other nominee, or the agent of a broker or other
nominee (each of the foregoing, a “Nominee”), in accordance with the instructions provided by
your Nominee, who will then submit a master ballot on your behalf.

               As described herein, the Ballot or Election Form (as defined below), as
applicable, contains an election for a Holder who rejects the Plan, a Holder abstaining from
voting on the Plan, or a Holder deemed to accept the Plan, to opt out of the third-party releases
contained in Section 12.9 of the Plan. If applicable, each Holder of a Claim or Interest that does
not timely make the opt-out election on its Ballot or Election Form will be deemed to have
expressly, unconditionally, generally, individually, and collectively released and discharged all
claims and causes of action against the Released Parties.

                The notices of non-voting status for Holders of Claims or Interests that are
deemed to reject the Plan contain an election to opt in to the third-party releases contained in
Section 12.9 of the Plan. Holders of Claims or Interests that are deemed to reject the Plan but
who affirmatively opt in to the third-party releases provided by the Plan by checking the box on
the applicable Election Form indicating that they opt in to grant the third-party releases provided
in the Plan will be deemed to have expressly, unconditionally, generally, individually, and
collectively released and discharged all claims and causes of action against the Released Parties.


8
    A “Beneficial Holder” means a beneficial owner of publicly traded securities whose Claims or Interests have
    not been satisfied prior to the Record Date pursuant to Court order or otherwise, as reflected in the records
    maintained by the Nominees holding through the respective indenture trustee or transfer agent (as applicable).



                                                       -11-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 25 of 410



For further information, refer to Article VIVoting Procedures below, and the Solicitation
Procedures Order attached hereto as Appendix C.

               Ballots cast by Holders in Classes entitled to vote must be actually received by the
Solicitation Agent by 5:00 p.m. Eastern Time on June [17], 2024. Ballots received after the
Voting Deadline will not be counted or considered for any purpose in determining whether the
Plan has been accepted or rejected.

               For further information, refer to Article VIVoting Procedures below.

               Recommendation

               The Debtor believes that confirmation and consummation of the Plan is in
the best interests of the Debtor’s Estate and Holders of Claims and Interests. Accordingly,
the Debtor recommends that Holders of Claims and Interests entitled to vote on the Plan
vote to accept it.

D.     Confirmation of the Plan

               Plan Objection Deadline

               Objections to Confirmation of the Plan must be filed with the Bankruptcy Court
and served so as to be actually received on or before 4:00 p.m., Eastern Time on June [18], 2024.
Unless objections to the Confirmation are timely served and filed in compliance with the
Solicitation Procedures Order, they will not be considered by the Bankruptcy Court.

               Confirmation Hearing

              The Bankruptcy Court has scheduled the hearing to consider confirmation (the
“Confirmation”) of the Plan (the “Confirmation Hearing”) at 10:00 a.m. on June [25], 2024,
Eastern Time. The Confirmation Hearing may be adjourned by the Bankruptcy Court or the
Debtor without further notice other than by announcement in open court and/or notice(s) of
adjournment filed on the docket with the Bankruptcy Court’s permission.

                                          ARTICLE II.

                                        BACKGROUND

A.     Overview of the Debtor’s Businesses

               The principal business of the Debtor is diversified financial services with a focus
on the innovation economy. Through the Debtor’s various subsidiaries and divisions, the Debtor
has long offered a diverse set of banking and financial products and services to clients across the
United States and in key international innovation markets. Prior to March 10, 2023, the Debtor
owned and operated Silicon Valley Bank (“SVB”), a California-chartered bank, through which
the Debtor offered commercial and private banking products and services. On March 10, 2023,
the California banking authorities closed SVB and appointed the Federal Deposit Insurance



                                               -12-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                       Pg 26 of 410



Corporation (the “FDIC”) as receiver (“FDIC-R1”). The circumstances leading to the
receivership are described in more detail below.

                Following the closure of SVB, the Debtor’s primary business lines were SVB
Capital, the venture capital and credit investment arm of the Debtor, which focuses on funds
management on behalf of third-party limited partner investors and the Debtor and SVB
Securities LLC (“SVB Securities”), an investment bank. SVB Securities provided investment
banking services and provided equity research coverage, especially with respect to healthcare
and technology companies. On October 2, 2023, the Debtor consummated a sale of SVB
Securities to a bidder group led by members of SVB Securities management, the circumstances
of which are described in more detail below.

B.     The Debtor’s Corporate Structure and Global Operations

              Silicon Valley Bank

                Prior to March 10, 2023, the Debtor operated SVB. SVB was a commercial bank
that offered credit, treasury management, foreign exchange, trade finance, and other services to
clients in key innovation markets. SVB was the Debtor’s primary operating subsidiary and a
core element of the Debtor’s business. SVB directly employed all of the Debtor’s personnel,
who provided services to the Debtor and its various businesses via intercompany services
arrangements (the “Services Agreement”). SVB was also custodian of most of the books,
records, and other data related to the Debtor’s business.

                On March 10, 2023, the California Department of Financial Protection and
Innovation (the “CA DFPI”) closed SVB and appointed the FDIC-R1 as receiver. The FDIC-R1
subsequently transferred all deposits and substantially all assets of SVB to a newly created,
FDIC-operated bridge bank, Silicon Valley Bridge Bank, National Association (the “Bridge
Bank”). On March 27, 2023, the Office of the Comptroller of the Currency closed Bridge Bank
and appointed the FDIC as receiver for Bridge Bank (“FDIC-R2”), and First Citizens
BancShares, Inc. (“FCB Parent”) announced that it had entered into an agreement with FDIC-R2
and the FDIC in its corporate capacity (“FDIC-C”) to assume all remaining deposit liabilities of
Bridge Bank and to purchase approximately $72 billion of assets from Bridge Bank at a discount
of $16.5 billion. As of the time of this Disclosure Statement, the legacy banking business of
SVB is now operated as a division of FCB Parent’s subsidiary bank, First-Citizens Bank & Trust
Company (“FCB”).

              SVB Capital

                SVB Capital is the venture capital and credit investment arm of the Debtor. SVB
Capital focuses primarily on funds management and, as of the Petition Date, managed over
$9.8 billion of funds on behalf of third-party limited partner investors and, on a more limited
basis, the Debtor. The SVB Capital family of funds is comprised of pooled investment vehicles
such as direct venture funds that invest in companies and funds of funds that invest in other
venture capital funds, as well as debt funds that provide lending and other financing solutions.
SVB Capital generates income for the Debtor primarily through investment returns and
management fees.



                                              -13-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 27 of 410



                Historically and as of the Petition Date, SVB Capital operated as a “virtual”
subsidiary for the Debtor, without a singular non-debtor subsidiary legal entity. To continue
operating this business in the ordinary course, the Debtor took steps to consolidate the various
operations that comprise SVB Capital in new legal entities, as explained in more detail below.

                On May 2, 2024, the Debtor announced that it had entered into an agreement to
sell SVB Capital to Pinegrove Sierra HoldCo LLC (“SVBC Designated Buyer”). As explained
in more detail in Article III.L.2 below, on May 2, 2024, the Debtor filed a motion seeking
approval from the Bankruptcy Court for this sale, and as of the date of this Disclosure Statement,
the sale of SVB Capital remains pending.

               SVB Securities LLC

                SVB Securities was an investment bank focused on the innovation market and, as
of the Petition Date, operated as a wholly owned subsidiary of the Debtor held by the
intermediate holding company, SVB Securities Holdings. SVB Securities provided investment
banking services across the healthcare and technology sectors. SVB Securities also provided
equity research coverage of over 360 healthcare and technology companies through another SVB
Securities Holdings subsidiary, MoffettNathanson LLC. SVB Securities focused on product and
service offerings in capital raising, M&A advisory, structured finance, equity research, sales and
trading.

               On June 18, 2023, the Debtor announced that it had entered into an agreement to
sell SVB Securities (excluding MoffettNathanson LLC) to its management group. As explained
in more detail below, on July 5, 2023, the Bankruptcy Court approved this sale, and the sale of
SVB Securities closed on October 2, 2023. The Debtor continues to own the equity interests in
MoffettNathanson LLC, a non-debtor subsidiary.

               SVB Global Services India LLP

                SVB Global Services India LLP (“SVB India”), was an IT and operations services
provider for Silicon Valley Bank and its Affiliates, including the Debtor, based in Bangalore,
India and, as of the Petition Date, operated as a wholly owned subsidiary of the Debtor. Prior to
the commencement of this Chapter 11 Case, SVB India developed technology projects and
services, and engaged in development and support for core functional areas of the Debtor
including technology, human resources, finance and loan operations. After the placement of
SVB into receivership and the commencement of this Chapter 11 Case, SVB India continued to
provide back-office functions primarily to Bridge Bank, and later to FCB as the purchaser of
legacy SVB assets.

               On March 20, 2024, the Debtor announced that it had entered into an agreement
to sell SVB India to affiliates of FCB. As explained in more detail below, on April 10, 2024, the
Bankruptcy Court approved this sale, and the sale of SVB India is expected to close in the
second quarter of 2024.




                                               -14-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02     Main Document
                                               Pg 28 of 410



C.       Summary of the Debtor’s Assets and Operations

                  Assets9

                In addition to the businesses described above, the Debtor holds a variety of other
assets, including (i) investment securities, warrants and investments in SVB Capital funds
(ii) Cash and (iii) certain Retained Causes of Action including Claims and Causes of Action
against the FDIC-C and the FDIC-Rs (as defined below) and potential Claims and Causes of
Action against the Debtor’s Related Parties.

                  (a)       Investment Securities

                The Debtor holds certain direct equity investments in a variety of public and
private companies, with a total book value of approximately $240.1 million and certain limited
partner interests across over 130 funds of approximately $118.4 million. Certain of the Debtor’s
direct investments are held indirectly through its wholly-owned subsidiary, SVB Investments
Holdings, Inc.

                  (b)       Warrants

               The Debtor holds certain warrants and other derivative investments in a variety of
public and private companies. The warrant portfolio includes over 4,700 warrant positions
representing over 3,000 issuers, with a total book value of approximately $311.2 million. The
Debtor’s 50 largest warrant issuers account for approximately $142.6 million of the Debtor’s
total warrant portfolio. The derivative investments represent conversion rights with a book value
of approximately $10.9 million.

                  (c)       Investments in SVB Capital Funds

               The Debtor holds capital and carried interest positions in certain fund of funds,
credit funds and direct funds managed by SVB Capital with a total book value of approximately
$496.4 million. The book value of these interests are $412.3 million, $54.5 million and $29.6
million for SVB Capital’s fund of funds, credit funds and direct funds, respectively. As
described below in Article III.L—SVB Capital Reorganization and Sale, as of the date of this
Disclosure Statement, the SVB Capital Sale (defined below) remains pending, and the
consummation of the SVB Capital Sale would impact the value retained by the Debtor in the
SVB Capital funds described in this paragraph.

                  (d)       Other Assets

                The Debtor and its non-debtor subsidiaries collectively hold approximately
$264.5 million in Cash. The Debtor also indirectly holds equity interests in a number of foreign
entities through its wholly-owned subsidiary, SVB Global Financial, Inc. These indirect foreign
subsidiaries are in the process of being wound down under applicable local law.



9
     Asset values in this Article II.C.1 are reflected as of March 31, 2024.



                                                          -15-
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                             Pg 29 of 410



               Additionally, as discussed in further detail below, the Debtor has certain Claims
and Causes of Action against the FDIC-C and the FDIC-Rs (as defined below), pursuant to
which the Debtor may seek to recover the approximately $1.93 billion in funds that were on
deposit at SVB at the time that SVB was placed into receivership. Further, the Debtor and the
UCC have been investigating potential Claims and Causes of Action against the Debtor’s
Related Parties relating to the closure of SVB.

                  The Debtor’s Board of Directors

               The following table lists the Debtor’s directors and their respective positions on
the Petition Date.

 Name                                     Position
 Beverly Kay Matthews                     Chair of the Board of Directors and Director
 Greg Becker10                            President, Chief Executive Officer and Director
 Eric A. Benhamou                         Director
 Elizabeth Burr                           Director
 Richard D. Daniels                       Director
 Alison Davis                             Director
 Joel P. Friedman                         Director
 Thomas King                              Director
 Jeffrey N. Maggioncalda                  Director
 Mary J. Miller                           Director
 Kate D. Mitchell                         Director
 Garen K. Staglin                         Director

                  (a)     Restructuring Committee

               On March 13, 2023, the Debtor announced that its board of directors (the
“Board”) appointed a restructuring committee (the “Restructuring Committee”) consisting of five
(5) independent directors to explore strategic alternatives for the Debtor and its various
businesses, assets and investments. The Restructuring Committee was delegated certain
authority with respect to the restructuring of the Debtor, and the Restructuring Committee’s
initial members were Eric Benhamou, Tom King, Kay Matthews, Mary Miller and Kate
Mitchell. Joel Friedman was appointed to the Restructuring Committee after the Petition Date.

                  (b)     Director Appointments and the Special Committee

              On July 13, 2023, the Board increased the number of directors from 11 to 13 and
appointed Steven G. Panagos and C. Allen Parker as directors. The Board determined that
Mr. Panagos and Mr. Parker are independent directors as defined by the listing standards of
NASDAQ. On July 13, 2023, the Board also formed a special committee (the “Special
Committee”), which would be initially comprised of Mr. Panagos and Mr. Parker. The Special
Committee was delegated authority to consider all matters brought to the Board for which a

10
     On April 19, 2023, Mr. Becker resigned from the Debtor’s Board and from his positions as President and Chief
     Executive Officer.



                                                       -16-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                        Pg 30 of 410



majority of the directors are conflicted. In addition, Mr. Panagos and Mr. Parker were
contemporaneously appointed to the Restructuring Committee.

              Debtor Employees

                As of the Petition Date, the Debtor did not directly employ any individual.
Instead, services were performed for the Debtor by employees and other service providers of the
former Bridge Bank in accordance with the Services Agreement. Since the Petition Date, the
Debtor has hired a number of employees to provide ordinary course services to the Debtor
through its wholly owned direct subsidiary SVBFG Employee Holdco LLC (“EmployeeCo”).
As of the date of this Disclosure Statement, EmployeeCo has six (6) employees.

D.     Liabilities – The Debtor’s Prepetition Funded Indebtedness

               As of the Petition Date, the Debtor had approximately $3.37 billion in aggregate
outstanding funded indebtedness. All of the Debtor funded indebtedness is unsecured.

              The Senior Notes

               On September 10, 2020, the Debtor entered into an indenture (the “Base
Indenture”) with U.S. Bank National Association, as trustee (the “Senior Notes Trustee”),
pursuant to which the Debtor has from time to time issued various series of unsecured notes (the
“Senior Notes”). On April 28, 2022, the Debtor and the Senior Notes Trustee entered into a first
supplemental indenture, supplementing and amending the Base Indenture (together with the Base
Indenture, the “Indenture”). The outstanding Senior Notes include the following:

              i.       On January 29, 2015, the Debtor issued $350 million in principal amount
                       of 3.50% Senior Notes due in January 2025.

              ii.      On June 5, 2020, the Debtor issued $500 million in principal amount of
                       3.125% Senior Notes due in June 2030.

              iii.     On February 2, 2021, the Debtor issued $500 million in principal amount
                       of 1.800% Senior Notes due February 2031.

              iv.      On May 13, 2021, the Debtor issued $500 million in principal amount of
                       2.100% Senior Notes due May 2028.

              v.       On October 28, 2021, the Debtor issued $650 million in principal amount
                       of 1.800% Senior Notes due October 2026.

              vi.      On April 29, 2022, the Debtor issued $350 million in principal amount of
                       4.435% Senior Fixed Rate/Floating Rate Notes due April 2028.

              vii.     On April 29, 2022, the Debtor issued $450 million in principal amount of
                       4.570% Senior Fixed Rate/Floating Rate Notes due April 2033.

              The Senior Notes remained outstanding as of the Petition Date.


                                              -17-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 31 of 410



                  Boston Private Trusts

                On July 1, 2021, the Debtor acquired Boston Private Financial Holdings, Inc.
(“Boston Private Holdings”), and assumed certain liabilities related to its assumption of two
statutory trusts (the “Trusts”) in connection with the transaction. The Trusts, Boston Private
Capital Trust I (“Trust I”) and Boston Private Capital Trust II (“Trust II”) were formed for the
purpose of issuing trust preferred securities and investing the proceeds in junior subordinated
debentures issued by Boston Private Holdings. The Trusts’ only assets are the junior
subordinated debentures issued to each Trust by Boston Private Holdings.

                 In connection with the Debtor’s acquisition of Boston Private Holdings and the
Trusts, the Debtor also assumed Boston Private Holdings’ obligations under certain guarantee
agreements, providing that the Debtor would serve as guarantor with respect to the trust
preferred securities issued by the Trusts. With respect to Trust I, as of the Petition Date, there
were less than $1 million of trust preferred securities outstanding. With respect to Trust II, as of
the Petition Date, there were approximately $103 million of trust preferred securities
outstanding. The trust preferred securities issued by Trust I pay interest quarterly and have a
fixed distribution rate of 4.875%. The quarterly distributions are cumulative. The effective
interest rate for the junior subordinated debentures was 4.875%. The junior subordinated
convertible debentures mature on October 1, 2034. The trust preferred securities issued by Trust
II pay interest quarterly based on a floating three-month rate of LIBOR plus 1.68% which are
cumulative. The effective interest rate on the junior subordinated debentures was 2.676%. The
junior subordinated debentures mature on December 30, 2035.

E.       Existing Preferred Stock

               The Debtor is authorized to issue 20 million shares of $0.001 par value preferred
stock. As of the Petition Date, the Debtor had issued approximately 350,000 shares of Series A
Preferred Stock,11 7,500 shares of Series B Preferred Stock,12 10,000 shares of Series C Preferred
Stock,13 10,000 shares of Series D Preferred Stock14 and 6,000 shares of Series E Preferred
Stock.15

               On March 10, 2023, NASDAQ halted trading in the Debtor’s depositary shares,
each representing a 1/40th interest in a share of the Series A Preferred Stock of which



11
     “Series A Preferred Stock” means the 5.250% fixed-rate series A non-cumulative perpetual preferred stock of
     SVBFG having the terms set forth in the Series A Certificate of Designation dated December 9, 2019.
12
     “Series B Preferred Stock” means the 4.100% Fixed-to-Reset series B non-cumulative perpetual preferred stock
     of SVBFG having the terms set forth in the Series B Certificate of Designation dated February 2, 2021.
13
     “Series C Preferred Stock” means the 4.000% Fixed-to-Reset series C non-cumulative perpetual preferred stock
     of SVBFG having the terms set forth in the Series C Certificate of Designation dated May 13, 2021.
14
     “Series D Preferred Stock” means the 4.250% Fixed-to-Reset series D non-cumulative perpetual preferred stock
     of SVBFG having the terms set forth in the Series D Certificate of Designation dated October 28, 2021.
15
     “Series E Preferred Stock” means the 4.7000% Fixed-to-Reset series D non-cumulative perpetual preferred
     stock of SVBFG having the terms set forth in the Series E Certificate of Designation dated October 28, 2021.



                                                       -18-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 32 of 410



approximately 14,000,000 were issued as of the Petition Date, which were traded on NASDAQ
under the ticker “SIVBP”.

F.     Existing Common Stock

                The Debtor is authorized to issue 150 million shares of $0.001 par value stock
common stock (“Existing Common Stock”), of which approximately 59,200,925 shares were
issued as of the Petition Date. Prior to March 10, 2023, the Debtor traded on NASDAQ under
the ticker “SIVB”. On March 10, 2023, NASDAQ halted trading in the Debtor’s Existing
Common Stock. NASDAQ later removed the Debtor’s Existing Common Stock and Series A
Preferred Stock from listing, effective as of March 28, 2023. NASDAQ’s determination was
based on the following factors: (1) the events described in Article III—Significant Events and
Initiatives in This Chapter 11 Case; (2) concerns regarding the residual equity interest of the
existing listed securities holders; and (3) concerns about the Debtor’s ability to sustain
compliance with all requirements for continued listing on NASDAQ. The Debtor did not appeal
NASDAQ’s decision.

               Following the removal of the Debtor’s Existing Common Stock and Series A
Preferred Stock from NASDAQ, equity in the Debtor became eligible to be quoted on the OTC
Pink quotation system. To be quoted on this system, a market maker must sponsor the security
and comply with SEC Rule 15c2-11 before it can initiate a quote in a specific security. Since
March 28, 2023, the Debtor’s Existing Common Stock and Series A Preferred Stock have been
trading on the OTC Pink Market under the tickers “SIVBQ” and “SIVPQ” respectively.

G.     Factors Leading to the Commencement of This Chapter 11 Case

               Silicon Valley Bank

                For many years, SVB was a premier bank for the emerging technologies sector.
The end of 2020 marked a period of significant cash inflow for this sector, with record rates of
venture investment and private financings, high levels of IPO and M&A activity and inflows
from the federal “Paycheck Protection Program”, all of which contributed to a flood of deposits
into SVB. SVB invested a portion of those deposits in U.S. Treasuries and long-dated mortgage-
backed securities. In the several years before 2022, interest rates remained low: the benchmark
interest rate was near zero, and the Federal Reserve Board of Governors (the “Federal Reserve”)
had not raised it since 2018.

                That trend ended in early 2022. In March 2022, rising inflation led to the Federal
Reserve’s decision to raise the federal interest rate by 25 basis points. In the twelve month
period after March 2022, the Federal Reserve hiked interest rates seven more times. By March
2023, the benchmark interest rate had nearly broken 5%. As interest rates rose, the rates of
investment activity seen in 2020 slowed, bond prices fell, and the market value of SVB’s
investment portfolio dropped. At the same time, SVB began to experience a meaningful
decrease in deposit levels and a shift in deposit mix as customers burned through cash and sought
higher interest products while investment and exit opportunities were very limited, resulting in
lower inflows and increased rate of withdrawals.




                                              -19-
23-10367-mg         Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                             Pg 33 of 410



                On March 8, 2023, working with outside advisors, SVB announced the sale of
substantially all of its “Available for Sale” securities portfolio, resulting in an after-tax loss of
$1.8 billion. Although the sale replaced long dated securities with low interest rates with short
term securities with higher interest rates, and SVB announced plans to simultaneously raise
capital, the market reacted negatively. After the announcement, on March 9, 2023, the Debtor’s
stock price dropped significantly and SVB’s customers scrambled to withdraw their money,
resulting in a bank run where nearly 25% of deposits were withdrawn in a single day. The next
day, the CA DFPI closed SVB and appointed the FDIC-R1.

                This Disclosure Statement is not intended to contain a complete or definite
statement respecting SVB’s closure, or to bind any person or party. The cause(s) of SVB’s
closure and receivership have been and continue to be the subject of government investigations
and reports16, congressional testimony17, certain previously filed securities lawsuits18, and may



16
     See, e.g., Michael S. Barr, Board of Governors of the Federal Reserve System, Review of the Federal Reserve’s
     Supervision and Regulation of Silicon Valley Bank (Apr. 28, 2023),
     https://www.federalreserve.gov/publications/files/svb-review-20230428.pdf; U.S. Government Accountability
     Office, GAO-23-106736; Bank Regulation: Preliminary Review of Agency Actions Related to March 2023
     Bank Failures (Apr. 28, 2023), https://www.gao.gov/assets/gao-23-106736.pdf; Department of Financial
     Protection & Innovation, Review of DFPI’s Oversight and Regulation of Silicon Valley Bank (May 8, 2023),
     https://dfpi.ca.gov/wp-content/uploads/sites/337/2023/05/Review-of-DFPIs-Oversight-and-Regulation-of-
     Silicon-Valley-Bank.pdf; Office of Inspector General, Board of Governors of the Federal Reserve System,
     2023-SR-B-013, Material Loss Review of Silicon Valley Bank (Sept. 25, 2023),
     https://oig.federalreserve.gov/reports/board-material-loss-review-silicon-valley-bank-sep2023.pdf.
17
     See, e.g., Examining the Failures of Silicon Valley Bank and Signature Bank, Hearing before U.S. Senate
     Committee on Banking, Housing, and Urban Affairs (2023) (testimony of Gregory W. Becker, former CEO of
     Silicon Valley Bank; Scott A. Shay, co-founder and former Chairman of Signature Bank; and Eric R. Howell,
     former President of Signature Bank), https://www.banking.senate.gov/hearings/examining-the-failures-of-
     silicon-valley-bank-and-signature-bank; Continued Oversight Over Regional Bank Failures, Hearing before
     U.S. House of Representatives Subcommittees on Financial Services and Monetary Policy and Oversight and
     Investigations (2023) (testimony of Gregory Becker, former CEO of Silicon Valley Bank; Scott Shay, co-
     founder and former Chairman of Signature Bank; Michael Roffler, former CEO and President of First Republic
     Bank; The Honorable Adrienne Harris, Superintendent of New York Department of Financial Services; and The
     Honorable Clothilde Hewlett, Commissioner of Department of Financial Protection and Innovation),
     https://democrats-financialservices.house.gov/events/eventsingle.aspx?EventID=410427#Webcast; Bank
     Regulation: Preliminary Review of Agency Actions Related to March 2023 Bank Failures, Hearing before U.S.
     House of Representatives Subcommittee on Oversight and Investigations, Committee on Financial Services
     (2023) (statement of Michael E. Clements, director of Financial Markets and Community Investment, U.S.
     Government Accountability Office), https://www.c-span.org/video/?528024-1/governmentaccountability-office-
     official-testifies-bank-failures.
18
     See In re SVB Financial Group Securities Litigation, Case No. 3:23-cv-01097-JD (N.D. Cal. Filed as Vanipenta
     v. SVB Financial Group on Mar. 13, 2023); Snook v. SVB Financial Group, Case No. 3:23-cv-01173-VC (N.D.
     Cal. Filed Mar. 15, 2023); Siddiqui v. Becker, Case No. 4:23-cv-01228-HSG (N.D. Cal. Filed Mar. 17, 2023);
     City of Hialeah Employees Retirement System v. Becker, Case No. 3:23-cv-01697-JD (N.D. Cal. Filed Apr. 7,
     2023); International Union of Operating Engineers Local 132 Pension Fund v. SVB Financial Group, Case No.
     3:23-cv-01962-TLT (N.D. Cal. Filed Apr. 24, 2023); Stevenson v. Becker, 4:23-cv-02277-HSG (N.D. Cal. Filed
     May 10, 2023); Rossi v. Becker, Case No. 4:23-cv-02335-HSG (N.D. Cal. Filed May 12, 2023); Lodato v. Becker,
     No. 3:23-cv-4551 (N.D. Cal. Filed Sept. 5, 2023); TIAA-CREF Inv. Mgmt., LLC v. Becker, No. 3:24-cv-00478-
     CRB (N.D. Cal. Filed Jan. 25, 2024).



                                                       -20-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 34 of 410



be the subject of further post-confirmation litigation proceedings. The Debtor takes no position
herein on the foregoing statements and allegations made or to be made.

               Restructuring Discussions and Decision to File for Chapter 11

                The SVB receivership had two important consequences for the Debtor. First, the
receivership removed the Debtor’s primary operating subsidiary, depriving the Debtor of a key
source of liquidity, business infrastructure and personnel. Second, the receivership triggered
default clauses under certain of the Debtor’s debt documents. These circumstances led the
Debtor to start contingency planning and evaluation of strategic alternatives.

                On March 13, 2023, the Debtor’s Board announced its appointment of the
Restructuring Committee. That same day, the Restructuring Committee appointed as Chief
Restructuring Officer William Kosturos, Managing Director and Vice-Chair of the Alvarez &
Marsal U.S. Restructuring Practice. Over the course of several days, the Board received and
reviewed the recommendations of management and of its various advisors regarding the Debtor’s
available strategic alternatives, including a bankruptcy proceeding under the provisions of the
Bankruptcy Code. After review and discussion of the information presented, the Board
determined that it was in the best interests of the Debtor, its creditors and other stakeholders to
prepare to file for chapter 11 protection.

                On the evening of March 16, 2023, the Board voted to commence this Chapter 11
Case on an emergency basis. Early the next morning, the Debtor filed a voluntary petition for
relief under the Bankruptcy Code.

                                         ARTICLE III.

       SIGNIFICANT EVENTS AND INITIATIVES IN THIS CHAPTER 11 CASE

               The following is a general summary of significant events since the Petition Date,
including a discussion of the Debtor’s restructuring and business initiatives.

A.     Commencement of the Chapter 11 Case

                The commencement of a chapter 11 case creates an estate that is composed of all
of the legal and equitable interests of the debtor as of that date. The Bankruptcy Code provides
that the debtor may continue to operate its business and remain in possession of its property as a
“debtor in possession.” Following the Petition Date, the Debtor continues to operate its
businesses as debtor and debtor-in-possession.

B.     First Day Relief

               On the Petition Date, the Debtor filed a number of “first day” motions and
applications designed to ease the Debtor’s transition into Chapter 11, maximize the value of the
Debtor’s assets and minimize the effects of the commencement of the Chapter 11 Case. On
March 22 and 24, 2023, the Bankruptcy Court entered orders granting the first-day motions,
allowing the Debtor to continue certain normal business activities not specifically authorized



                                               -21-
23-10367-mg       Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                       Pg 35 of 410



under the Bankruptcy Code or as to which the Bankruptcy Code requires prior court approval. In
particular, the Bankruptcy Court entered orders:

                     on an interim basis, (i) authorizing, but not directing, the Debtor, in its
                      sole discretion, to (a) continue to use its cash management system,
                      including existing bank accounts, (b) pay or honor certain prepetition
                      obligations related thereto and (c) continue to use existing business
                      letterhead, purchase orders, invoices, envelopes, promotional materials
                      and other business forms and correspondence and (ii) authorizing, but not
                      directing, the Debtor to continue to perform investment activities with its
                      affiliates and third parties on a postpetition basis in the ordinary course of
                      business and consistent with historical practice; and (d) extending the time
                      to comply with the requirements of section 345(b) of the Bankruptcy Code
                      [D.I. 70];

                     (i) authorizing, but not directing, the Debtor, in its sole discretion, to
                      maintain a list of creditors in lieu of submitting a formatted mailing matrix
                      and (ii) establishing procedures for notifying parties of the commencement
                      of this Chapter 11 Case [D.I. 55];

                     (i) extending the time for the Debtor to file its schedules and statements by
                      20 days, (ii) extending the time for the Debtor to file its 2015.3 report to
                      the date that is two days from the initial date set for the meeting of
                      creditors to be held pursuant to section 341 of the Bankruptcy Code and
                      (iii) modifying the requirements to file the list of equity security holders
                      and serve notice of commencement on all equity holders [D.I. 53];

                     on an interim basis, authorizing, but not directing, the Debtor, in its sole
                      discretion, to (i) pay the prepetition compensation and benefits obligations
                      and (ii) maintain the employee compensation and benefits and pay related
                      administrative obligations [D.I. 71];

                     on an interim basis, (i) establishing notice and objection procedures
                      related to certain transfers of equity securities and declarations of
                      worthlessness for federal or state tax purposes with respect existing
                      common or preferred stock or any beneficial ownership thereof; and
                      (ii) directing that any purchase, sale, or other transfer of common or
                      preferred stock in violation of the procedures set forth will be null and
                      void ab initio [D.I. 57]; and

                     authorizing the retention and appointment of Kroll as claims and noticing
                      agent and administrative advisor [D.I.s 54, 135].

               On April 27, 2023, the Bankruptcy Court also entered final orders with respect to
the Debtor’s cash management system [D.I. 132] and treatment of the Debtor’s net operating
losses [D.I. 136]. On June 29, 2023, the Bankruptcy Court also entered a final order with



                                               -22-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 36 of 410



authorizing payment of certain prepetition employee compensation and benefit programs [D.I.
372].

               In addition, the commencement of the Debtor’s Chapter 11 Case triggered the
automatic stay under section 362 of the Bankruptcy Code, which, with limited exceptions,
enjoined all collection efforts and actions by creditors, the enforcement of all liens against
property of the Debtor and the commencement or continuation of prepetition litigation against
the Debtor. Subject to limited exceptions, the automatic stay will remain in effect until the
Effective Date of the Plan.

C.     Appointment of the UCC

               On March 28, 2023, the Official Committee of Unsecured Creditors (the “UCC”)
was appointed by William K. Harrington, the United States Trustee for Region 2 (the
“U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code to represent the interests of
unsecured creditors in the Chapter 11 Case [D.I. 72]. The initial members of the UCC were Tata
Consultancy Services Limited, U.S. Bank National Association (as Indenture Trustee),
Wilmington Trust Company (as Indenture Trustee), Satagopan Rajagopalan and Cousins Fund II
Phoenix I, LLC. On September 19, 2023, the UCC was reconstituted to four members: U.S.
Bank National Association (as Indenture Trustee), Wilmington Trust Company (as Indenture
Trustee), Satagopan Rajagopalan and Cousins Fund II Phoenix I, LLC.

               The UCC selected Akin Gump Strauss Hauer & Feld LLP as its legal counsel,
Cole Schotz, P.C. as efficiency and conflicts counsel, Berkeley Research Group, LLC as its
financial advisor and Lazard Frères & Co. LLC as its investment banker. The Bankruptcy Court
approved the UCC’s retentions of these professional advisors [D.I. 295, 296, 338, 499].

               The UCC is a party to the RSA and has agreed to support the Plan.

D.     The Ad Hoc Group of Senior Noteholders

               On May 3, 2023, a group of certain holders, or investment advisors managing or
acting on behalf of holders of certain Senior Notes and Preferred Stock issued by the Debtor (the
“Ad Hoc Group of Senior Noteholders”) filed a verified statement pursuant to Bankruptcy Rule
2019 [D.I. 149]. On July 21, 2023, the Ad Hoc Group of Senior Noteholders filed a first
supplemental verified statement pursuant to Bankruptcy Rule 2019 [D.I. 434]. The Ad Hoc
Group of Senior Noteholders retained Davis Polk & Wardwell LLP as counsel.

E.     The Ad Hoc Cross-Holder Group

              On April 28, 2023, a group of holders, or investment advisors, sub-advisors, or
managers of holders, of certain Senior Notes and preferred stock issued by the Debtor (the “Ad
Hoc Cross-Holder Group”) filed a verified statement pursuant to Bankruptcy Rule 2019 [D.I.
142]. On July 20, 2023, the Ad Hoc Cross-Holder Group filed a first amended verified statement
pursuant to Bankruptcy Rule 2019 [D.I. 432]. The Ad Hoc Cross-Holder Group retained
White & Case LLP as counsel.




                                              -23-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 37 of 410



F.     Retention of Debtor Professionals

               The Debtor retained, and the Bankruptcy Court approved the retentions of, the
following advisors in the Chapter 11 Case, among others: (i) Sullivan & Cromwell LLP, as legal
counsel to the Debtor; (ii) Alvarez & Marsal North America, LLC, to provide the Debtor a chief
restructuring officer and certain additional personnel; (iii) Centerview Partners LLC
(“Centerview”), as investment banker; (iv) Jenner & Block LLP as conflicts counsel; (v) Kroll,
as claims and noticing agent and administrative advisor; (vi) Huron Consulting Services, LLC as
financial advisor; (vii) Lincoln Partners Advisors LLC, as valuation advisor; and (vii) Ernst &
Young LLP, as tax advisor [D.I. 54, 80, 81, 83, 110, 135, 138, 246, 248, 304, 591, 664, 759, 763,
853].

               On April 5, 2023, the Debtor filed with the Bankruptcy Court the Debtor’s
Motion for Entry of an Order Pursuant to Sections 105(a) and 331 of the Bankruptcy Code,
Bankruptcy Rule 2016 and Local Rule 2016-1 Establishing Procedures for Monthly
Compensation and Reimbursement of Expenses of Professionals [D.I. 85] (the “Interim
Compensation Motion”). The Interim Compensation Motion was approved by the Bankruptcy
Court on April 27, 2023 [D.I. 134]. In approving the Interim Compensation Motion, the
Bankruptcy Court established procedures for the fee application process and payment of
professionals retained by the Debtor and any statutory committees appointed in the case.

               On April 5, 2023, the Debtor filed with the Bankruptcy Court the Debtor’s
Motion for Entry of an Order Implementing Certain Procedures to Retain, Compensate and
Reimburse Professionals Utilized in the Ordinary Course of Business [D.I. 86] (the “Ordinary
Course Professionals Motion”). The Ordinary Course Professionals Motion was approved by the
Bankruptcy Court on April 28, 2023 [D.I. 139]. In so doing, the Bankruptcy Court established
procedures for the employment and compensation of certain ordinary course professionals used
by the Debtor in connection with ongoing business operations.

G.     Schedules and Statements and 341 Meeting

                 Pursuant to section 521 of the Bankruptcy Code, Bankruptcy Rule 1007(c), and
orders of the Bankruptcy Court granting extensions of time, on May 22, 2023, the Debtor filed
(i) schedules of assets and liabilities, (ii) a schedule of executory contracts and unexpired leases,
and (iii) a statement of financial affairs (collectively, the “Schedules”) [D.I.s 261, 262].

               On May 31, 2023, the U.S. Trustee conducted a meeting of creditors pursuant to
section 341 of the Bankruptcy Code (the “341 Meeting”).

H.     Bar Dates and Claims Process

                 On June 29, 2023, the Bankruptcy Court entered an order, which, among other
things, (i) established August 11, 2023, at 4:00 p.m., Eastern Time, as the deadline for all non-
governmental units (as defined in section 101(27) of the Bankruptcy Code), including claims
pursuant to section 503(b)(9) of the Bankruptcy Code (the “General Bar Date”); (ii) established
September 14, 2023, at 4:00 p.m., Eastern Time, as the deadline for all governmental units (as
defined in section 101(27) of the Bankruptcy Code) (the “Governmental Bar Date”) to file proofs
of claim (such date, together with the General Bar Date, the “Bar Dates”); (iii) established the


                                                -24-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 38 of 410



later of (a) the General Bar Date and (b) 4:00 p.m., Eastern Time, on the date that is 30 days
from the date that notice of the applicable amendment or supplement to the applicable schedules
is served on such entity as the amended bar date and (iv) approved the form and manner of notice
of the Bar Dates [D.I. 373].

               To facilitate the claims reconciliation process, on November 13, 2023, the Debtor
filed a motion (the “Claims Objections Procedures Motion”) for leave to file omnibus objections
to claims and establishing related procedures [D.I. 672]. On November 30, 2023, the
Bankruptcy Court entered an order granting the Claims Objections Procedures Motion,
authorizing the Debtor to file omnibus claims objections on various grounds [D.I. 713].

               The Debtor received 1,274 proofs of claim, totaling approximately $5.5 billion,
timely filed by the General Bar Date. In addition, the Debtor received 20 proofs of claim by
governmental units totaling approximately $1.7 billion timely filed by the Governmental Bar
Date. As of the date of this Disclosure Statement, the Debtor has filed four (4) omnibus claims
objections [D.I.s 768, 812, 908, 1021]. The Bankruptcy Court has entered three (3) orders
sustaining certain of the Debtor’s omnibus claims objections [D.I.s 817, 897, 1029].

I.     Assumption and Assignment of Executory Contracts to FCB and Non-debtor
       Subsidiaries

                 Since the Petition Date, the Debtor and its advisors have engaged in a process to
collect, review and analyze the contracts to which the Debtor was a party. The Debtor and its
advisors have determined that many of those agreements do not relate to the operations of the
Debtor or its non-debtor subsidiaries. Specifically, a significant volume of those contracts
concern operations solely relevant to the former SVB, now operated by FCB, as successor in
interest to the relevant businesses of SVB. The Debtor has consulted with FCB to determine
which contracts are expected to be used in the respective ongoing operations of FCB and the
Debtor. During that process, the Debtor has considered, among other things, the ongoing value
and projected costs of maintaining such contracts.

               Ultimately, the Debtor determined in its business judgment that its continuing
operations do not depend on nor derive value from hundreds of contracts that involved products
and services entirely related to the operations of the former SVB. Accordingly, the Debtor has
assumed and assigned approximately 890 executory contracts related to the operations of the
former SVB to FCB. Likewise, the Debtor determined in its business judgment that its
continuing operations did not depend on nor derive value from the premises of certain leases.
Therefore, the Debtor moved to assume and assign, and the Bankruptcy Court approved the
assumption and assignment of, hundreds of executory contracts and over 40 leases to FCB,
thereby conserving the Debtor’s resources, streamlining its operations and avoiding unnecessary
obligations [D.I.s 330, 369, 386, 426, 466, 492, 501, 554, 568, 592, 609, 640, 641, 644, 670, 676,
706, 707, 714, 715, 764, 765, 784, 785, 814, 815, 858, 859, 860, 861, 892, 894, 895, 896, 898,
944, 1030].

               Where the Debtor has determined that it does not require or derive value from
certain contracts, and FCB does not desire for such contracts to be assumed and assigned, the
Debtor has moved to reject such contracts in order to avoid incurring unnecessary administrative


                                               -25-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 39 of 410



expenses during the pendency of the Chapter 11 Case. To date, the Debtor has rejected
approximately 400 executory contracts [D.I.s 253, 370, 500, 569, 571, 642, 716, 762, 816, 893,
945, 1031].

                Finally, the Debtor has also determined that certain of the Debtor’s contracts are
required for the operations of its non-debtor subsidiaries and affiliates, including SVB Capital.
In such cases, the Debtor has moved to assume and assign such contracts to the applicable
non-debtor subsidiaries, including SVBC ManCo, as discussed in further detail below. To date,
the Debtor has assumed and assigned approximately 70 contracts and unexpired leases to its
current and former non-Debtor subsidiaries, including approximately 25 contracts to SVB
Securities before the sale of the SVB Securities business (described in more detail below)
[D.I.s 426, 534, 570, 588, 643, 783, 813].

J.     Claims Against the FDIC

                As discussed above, on Friday, March 10, 2023, the CA DFPI ordered that SVB
be closed and requested that the FDIC be appointed as receiver of SVB. On that date, the FDIC
agreed to act as receiver of SVB. At the opening of business on March 10, 2023, the Debtor had
on deposit with SVB approximately $2.1 billion in cash residing in three separate deposit
accounts (the “Deposit Accounts”). Those funds constituted the substantial majority of the
Debtor’s cash. As of March 10, 2023, the deposits at SVB were insured through the FDIC’s
deposit insurance fund (the “Deposit Insurance Fund”) to a maximum of $250,000 (the “FDIC
Insurance Cap”). On March 12, 2023, the Secretary of the Treasury, upon the written
recommendation of the Board of Governors of the Federal Reserve and the Board of Directors of
the FDIC and after consultation with the President of the United States, invoked the systemic risk
exception (“SRE”) under the Federal Deposit Insurance Act to guarantee payment of all deposits
at SVB – over and above the FDIC Insurance Cap – in consideration of the systemic risk facing
the nation’s banking system.

                 Consistent with the March 12, 2023 invocation of the SRE, from Monday,
March 13, 2023 through midday on Thursday, March 16, 2023, the Debtor had access to its
accounts and deposits, which had been transferred by the FDIC-R1 to the Bridge Bank. On
March 15, 2023 and the morning of March 16, 2023, the Debtor initiated over $150 million in
wire transfers from its accounts, which wire transfers were honored by the Bridge Bank. Wire
transfers initiated by the Debtor during the afternoon of March 16, 2023 and on March 17, 2023,
however, were denied by the Bridge Bank at the instruction of FDIC-R1. No explanation was
given to the Debtor for the denial of such wires.

                On the morning of Friday, March 17, 2023, the Debtor commenced its chapter 11
proceeding by filing a voluntary petition with the Bankruptcy Court. Shortly after the Petition
Date, the FDIC-R1 informed the Debtor that pursuant to 12 U.S.C. § 1822(d), which authorizes
the FDIC to withhold a portion of a deposit up to the $250,000 FDIC Insurance Cap as may be
required to pay a liability of the depositor, the Deposit Accounts had been put on hold by FDIC-
R1. The FDIC-R1 subsequently informed the Debtor that the Debtor would have to file a proof
of claim in the receivership proceeding to recover any of the $1.93 billion that was present in the
Deposit Accounts at the time the Debtor’s access to the accounts was denied—notwithstanding
the prior invocation of the SRE.


                                               -26-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 40 of 410



               The Adversary Proceeding

                 On July 9, 2023, the Debtor commenced an adversary proceeding against the
FDIC (i) in its capacity as FDIC-C, (ii) in its capacity as FDIC-R1 and (iii) in its capacity as
FDIC-R2 (the FDIC-R1 and FDIC-R2 together, the “FDIC-Rs”) (the “Adversary Proceeding”).
See SVB Financial Group v. Federal Deposit Insurance Corp., et al., No. 23-01137 (MG)
(Bankr. S.D.N.Y.). As against the FDIC-C, the Debtor asserts a turnover claim pursuant to
section 542 of the Bankruptcy Code and Bankruptcy Rule 7001, seeking to compel the FDIC-C
to turn over the approximately $1.93 billion on deposit in the Debtor’s accounts at Bridge Bank
(the “Account Funds”) from the Deposit Insurance Fund, as well as other related relief. The
Debtor also asserts claims in the alternative against FDIC-R1 and FDIC-R2 for turnover of the
Debtor’s Account Funds pursuant to section 542 of the Bankruptcy Code and Bankruptcy Rule
7001. Against all three FDIC entities, the Debtor asserts claims for violation of the automatic
stay under section 362(a) of the Bankruptcy Code and for declaratory judgment pursuant to 28
U.S.C. § 2201 et seq., requesting a declaration that neither the FDIC-C nor either of the FDIC-Rs
has a right of setoff against the amount of the Account Funds, or in the alternative, that any right
of setoff is limited to amounts for which there is mutuality of obligation between the Debtor and
the FDIC-C, FDIC-R1, or FDIC-R2, respectively.

                On August 11, 2023, all three FDIC entities filed motions under Rule 12(b)(1)
and 12(b)(6) of the Federal Rules of Civil Procedure, seeking to dismiss the Adversary
Proceeding. On the same day, the FDIC-R1 filed a motion to withdraw the reference from the
Bankruptcy Court pursuant to 28 U.S.C. § 157(d); that motion was subsequently joined by the
FDIC-C and FDIC-R2. The motion to withdraw the reference was docketed in the United States
District Court for the Southern District of New York and assigned to Judge John P. Cronan on
August 15, 2023. See SVB Fin. Grp. v. FDIC, No. 23-cv-07218 (JPC) (S.D.N.Y.). In light of
the motion to withdraw the reference, on September 14, 2023, the Bankruptcy Court adjourned
sine die a hearing on all pending motions in the Adversary Proceeding. On December 13, 2023,
Judge Cronan granted the motion to withdraw the reference. To date, no court has ruled on the
FDIC’s motions to dismiss. On January 15, 2024, the Debtor submitted a letter—joined by the
UCC, the Ad Hoc Group of Senior Noteholders, and the Ad Hoc Cross-Holder Group—
requesting that Judge Cronan stay the Adversary Proceeding pending further developments in the
Debtor’s parallel actions against the FDIC. On January 25, 2024, Judge Cronan adjourned sine
die the oral argument on the pending motions to dismiss and directed the parties to provide the
court with updates on any material developments in the Adversary Proceeding, including, by no
later than March 10, 2024, an update on any other proceedings by the Debtor against the FDIC-C
or either of the FDIC-Rs. The Debtor—again joined by the UCC, the Ad Hoc Group of Senior
Noteholders, and the Ad Hoc Cross-Holder Group—submitted a Letter Motion to Judge Cronan
on March 10, 2024, providing updates on actions the Debtor initiated against the FDIC-C and
FDIC-Rs in the United States District Court for the Northern District of California (discussed
below). The Letter Motion also requested that Judge Cronan stay the action for 180 days. As of
the date of this Disclosure Statement, the Debtor’s request for a stay remains pending.

               FDIC-C Proceedings

               On June 26, 2023, the Debtor sent a letter to the FDIC-C demanding access to, or
payment of, its $1.93 billion Account Funds as required by the Treasury Secretary’s invocation


                                               -27-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 41 of 410



of the systemic risk exception. On September 19, 2023, the FDIC-C sent the Debtor a letter
stating that it intended to treat the Debtor’s June 26 letter as a deposit claim under 12 U.S.C.
§ 1821(f), and on October 20, 2023, the FDIC-C denied the Debtor’s claim for its Account
Funds.

                The Debtor filed a complaint against the FDIC-C in the United States District
Court for the Northern District of California on December 19, 2023, to seek relief from the
FDIC-C’s withholding of the Account Funds and to protect the Debtor’s rights in the event that
section 1821(f) is found to apply to the Debtor’s claims against the FDIC-C. That action is
currently pending before Judge Beth Labson Freeman at SVB Financial Group v. Federal
Deposit Insurance Corporation, in Its Corporate Capacity, No. 23-cv-06543 (BLF) (N.D. Cal.)
(the “FDIC-C Action”). In the FDIC-C Action, Debtor brings eight claims for, inter alia,
Administrative Procedures Act (“APA”) review of the FDIC-C’s wrongful denial of Debtor’s
claim for its $1.93 billion in account funds, declaratory judgment, turnover of Debtor’s Account
Funds, violation of the automatic stay of section 362(a) of the Bankruptcy Code, violations of the
Debtor’s due process rights, and violation of the Freedom of Information Act (“FOIA”).

               On March 4, 2024, the FDIC-C filed a partial motion to dismiss Counts I, II, III,
IV, V, VII, and VIII of Debtor’s complaint. The Debtor’s opposition to the partial motion to
dismiss is due on May 20, 2024. The hearing on the FDIC-C’s partial motion to dismiss is set
for July 11, 2024. On March 21, 2024, the parties participated in a case management conference
before Judge Freeman. Following the case management conference, Judge Freeman stayed
summary judgment briefing on Count VI of Debtor’s complaint until after the Court rules on the
pending partial motion to dismiss the complaint’s other counts. On April 1, 2024, FDIC-C
served the Debtor with the purported administrative record underlying its October 20, 2023
denial of the Debtor’s claim for the Account Funds. On April 2, 2024, the FDIC-C filed a
motion to stay discovery pending resolution of the partial motion to dismiss, which the Debtor
opposed on April 16, 2024. On April 29, 2024, the Court denied the FDIC-C’s motion to stay
discovery.

               Proceedings with the FDIC-Rs

               On July 11, 2023, the Debtor filed a protective proof of claim with each of the
FDIC-R1 and FDIC-R2 regarding the Account Funds, which the FDIC-Rs each separately
disallowed on January 5, 2024. The Notice of Disallowance of Claim received by the Debtor
from the FDIC-R1 states that “[t]he deposit claim is denied as not proven to the satisfaction of
the receiver due to the receiver’s defenses. All other claims are denied as speculative,
unsupportable, or otherwise not proven to the satisfaction of the receiver.” [D.I. 800]. The
Notice of Disallowance of Claim received by the Debtor from the FDIC-R2 states that “[t]he
deposit claim is denied as not proven to the satisfaction of the receiver because it is not a liability
of the FDIC as receiver for Silicon Valley Bridge Bank. All other claims are denied as
speculative, unsupportable, or otherwise not proven to the satisfaction of the receiver.”
[D.I. 800].

               On March 5, 2024, the Debtor filed a complaint against the FDIC-R1 and FDIC-
R2 in the United States District Court for the Northern District of California. Shortly thereafter,
the Debtor moved in the FDIC-C Action to have the two cases related. Judge Freeman granted


                                                 -28-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 42 of 410



the motion on March 21, 2024. The action against the FDIC-Rs is now pending before Judge
Freeman at SVB Financial Group v. Federal Deposit Insurance Corporation, as Receiver for
Silicon Valley Bank et al, No. 24-cv-01321 (BLF) (N.D. Cal.) (the “FDIC-R Action”). In the
FDIC-R Action, the Debtor asserts twelve claims for, inter alia, breach of contract, estoppel,
conversion, turnover of the Debtor’s Account Funds, violation of the automatic stay of section
362(a) of the Bankruptcy Code, violations of certain provisions of the California Financial Code
and of the National Bank Act, declaratory judgment, and violations of the Debtor’s due process
rights. The FDIC-Rs’ deadline to answer, move to dismiss, or otherwise respond to the
complaint is May 7, 2024.

K.     SVB Securities Sale

               SVB Securities Bidding Procedures

                The Debtor and its advisors developed bidding and auction procedures for the
marketing and sale of certain assets in this Chapter 11 Case in an orderly and value maximizing
manner (the “Bidding Procedures”). On April 27, 2023, the Debtor filed the Debtor’s Motion for
Entry of Orders (I)(A) Approving Bid Procedures and the Form and Manner of Notices for the
Sale of SVB Securities and (B) Scheduling Auction(s) and Sale Hearing(s), (II) Approving the
Sale(s) Free and Clear of Liens, Claims, Interests and Encumbrances and (III) Granting Related
Relief [D.I. 137] (the “SVB Securities Bidding Procedures Motion”). On May 17, 2023, the
Bankruptcy Court entered the Order (A) Approving Bid Procedures and the Form and Manner of
Notices for the Sale of SVB Securities, (B) Scheduling Auction(s) and Sale Hearing(s) and (C)
Granting Related Relief [D.I. 250] (the “Bidding Procedures Order”), approving the SVB
Securities Bidding Procedures Motion.

               Postpetition Marketing Process for SVB Securities

                Following the Petition Date and in accordance with the Bidding Procedures
Order, the Debtor and its advisors engaged in discussions with various interested parties
regarding a sale of the SVB Securities business. The Debtor and its advisors conducted an
extensive marketing process of the SVB Securities business, including, among other things,
engaging with twenty-nine (29) interested parties. Seven of these parties executed non-
disclosure agreements and were granted access to a virtual data room with an overview of
information regarding the SVB Securities business. The Debtor’s management gave five (5)
management presentations to interested parties and, along with the Debtor’s advisors,
participated in numerous calls with interested parties to address diligence and related topics.

               Two bidders submitted non-binding indications of interest for the SVB Securities
business or portions thereof and were provided with access to additional diligence materials
through a virtual data room. The Debtor’s marketing process ultimately yielded one binding bid
(the “SVBS Bid”) from Saffron Buyer LLC (“SVBS Buyer”), an acquisition vehicle established
by certain members of the senior management team of SVB Securities and certain funds
managed by The Baupost Group, L.L.C.




                                               -29-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 43 of 410



               SVBS Bid

               On June 2, 2023, the Debtor adjourned the scheduled auction and sale hearing as
permitted under the Bidding Procedures Order [D.I. 307], and during the additional time afforded
by such adjournment, the Debtor sought to improve the terms of the SVBS Bid. The Debtor
successfully negotiated for meaningful improvements in the terms of SVBS Buyer’s bid, and
after thoroughly considering SVBS Buyer’s improved bid against alternatives, in consultation
with the Debtor’s advisors, the Debtor determined that the bid from SVBS Buyer was the highest
or otherwise best bid for the SVB Securities business, cancelled the auction and declared SVBS
Buyer as the successful bidder [D.I. 335].

                As set forth in the purchase agreement for the SVBS Bid, the consideration for the
SVB Securities business consisted of (i) a cash purchase price of $55 million, (ii) a payoff of
certain subordinated debt held by SVB Securities (in the approximate amount of $26 million),
(iii) the assumption of certain transferred liabilities, including significant deferred compensation
obligations, (iv) a synthetic equity instrument initially representing a 5% equity interest in the
direct parent of SVBS Buyer and (v) certain other payments payable at closing (subject to certain
adjustments). On July 5, 2023, the Bankruptcy Court approved the sale of the SVB Securities
business to SVBS Buyer and entered the Order (I) Authorizing the Debtor to Sell the SVB
Securities Business by (A) Causing Non-Debtor Subsidiary to Sell Membership Interests in
Certain Non-Debtor Entities that Operate the SVB Securities Business and Certain Related
Assets and (B) Selling Certain Related Assets of the Debtor Free and Clear of All Liens, Claims,
Interests and Encumbrances and (II) Granting Related Relief [D.I. 393]. The sale closed on
October 2, 2023 [D.I. 583].

                MoffettNathanson LLC was not included in the sale, and the Debtor continues to
own the equity interests in that entity. The Plan contemplates that MoffettNathanson LLC will
be a direct or indirect subsidiary of NewCo upon the Effective Date.

L.     SVB Capital Reorganization and Sale

               SVB Capital Strategic Alternatives Review

               As noted above, SVB Capital historically operated as a “virtual” subsidiary for
the Debtor, without a formal non-debtor subsidiary legal entity. Since the Petition Date, in order
to continue operating this business in the ordinary course, the Debtor took several steps to
consolidate the various operations that comprise SVB Capital (collectively, the “SVB Capital
Reorganization”). The Debtor formed a new direct subsidiary, SVB Capital Holdco, LLC
(“SVBC Holdco”) to house the various operations of SVB Capital. The Debtor also formed a
wholly owned direct subsidiary of SVBC Holdco, SVB Capital Management, LLC (“SVBC
ManCo”) to serve as the investment advisor for SVB Capital funds and to directly employ all
SVB Capital employees. On August 29, 2023, the Debtor moved for entry of an order approving
the assumption and assignment of investment advisory contracts (the “Advisory Contracts”) to
SVBC ManCo and to contribute certain non-economic non-member manager interests in SVB
Capital’s Qualified Investor Funds (the “Manager Interests”) [D.I. 534]. The Bankruptcy Court
approved this motion on September 20, 2023 [D.I. 570], and on October 1, 2023, the Debtor




                                               -30-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 44 of 410



assigned the Advisory Contracts and Manager Interests to SVBC ManCo. Upon such
assignment, SVBC ManCo became the registered investment adviser for SVB Capital funds.

                In parallel with the SVB Capital Reorganization, the Debtor and its advisors
considered a range of strategic alternatives with respect to SVB Capital and conducted an
extensive marketing process of the SVB Capital business during the summer and fall of 2023
(the “SVB Capital Marketing Process”). The Debtor and its advisors engaged in discussions
with many interested parties regarding a sale of the SVB Capital business. [•] of these parties
(the “Potential Bidders”) executed non-disclosure agreements and were granted access to a
virtual data room with an overview of information regarding the SVB Capital business. In the
fall of 2023, the Debtor negotiated substantive bids received from two interested parties (the
“2023 Bids”), but determined that neither bid exceeded the net present value of the Debtor
continuing to operate the SVB Capital business.

               As a result, on January 9, 2024, the Debtor announced that it had determined, in
consultation with its advisors and creditor constituencies, that retaining the SVB Capital business
would result in superior value creation opportunities, and created a new operating committee to
oversee all aspects of the business. The SVB Capital business is currently overseen by its
operating committee and operates through SVBC ManCo, SVB Capital’s registered investment
adviser and the Debtor’s indirect subsidiary.

               SVB Capital Sale

                Following the Debtor’s announcement of its intention to retain the SVB Capital
business, multiple Potential Bidders provided the Debtor with new offers for the SVB Capital
business (the “2024 Bids”). The Debtor evaluated the 2024 Bids, and the Debtor thereafter
sought to improve the terms of certain of the 2024 Bids. The Debtor successfully negotiated for
meaningful improvements in the terms of an offer received from SVBC Designated Buyer, and
after thoroughly considering SVBC Designated Buyer’s improved bid against alternatives,
including (i) the other 2024 Bids, (ii) the 2023 Bids and (iii) the value of continuing to operate
the SVB Capital business, the Debtor, in consultation with its advisors and key creditor
constituencies, determined that the bid from SVBC Designated Buyer was the highest or
otherwise best offer for the SVB Capital business.

                Accordingly, on May 2, 2024, the Debtor and SVBC Designated Buyer entered
into an interest purchase agreement (the “SVBC Purchase Agreement”), providing for the sale of
the SVB Capital business (the “SVB Capital Sale”) to SVBC Designated Buyer, subject to
certain terms and conditions.

                As set forth in the SVBC Purchase Agreement, the consideration for the SVB
Capital business currently consists of cash consideration of $340 million, subject to certain
adjustments as set forth in the SVBC Purchase Agreement, along with ongoing economic
participation rights and a cash earn-out. On May 2, 2024, the Debtor filed the Debtor’s Motion
for Entry of Orders (I)(A) Approving Buyer Protections, (B) Scheduling a Sale Hearing,
(C) Approving Form and Manner of Notices for Sale of the SVB Capital Business, (D) Approving
the Assumption and Assignment Procedures, and (E) Granting Related Relief, and
(II)(A) Approving the SVB Capital Purchase Agreement, (B) Approving the Sale of the SVB


                                               -31-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 45 of 410



Capital Business Free and Clear of Liens, Claims, Interests and Encumbrances, (C) Authorizing
the Assumption and Assignment of Executory Contracts and (D) Granting Related Relief [D.I.
1082] (the “SVB Capital Sale Motion”). The Capital Sale Motion seeks, among other things:
(i) approval of the Debtor’s entry into the SVBC Purchase Agreement, (ii) approval of certain
buyer protections for SVBC Designated Buyer and (iii) approval of the procedures relating to the
SVB Capital Sale and the related sale hearing.

                As of the date of this Disclosure Statement, the SVB Capital Sale remains
pending. Hearings to approve the buyer protections set forth in the SVB Capital Sale Motion for
SVBC Designated Buyer and the SVB Capital Sale are expected to occur in May and June 2024
and prior to a hearing on confirmation of the Plan. Additional information relating to the
pending SVB Capital Sale can be found at https://restructuring.ra.kroll.com/svbfg/.

M.     SVB India Sale

                 In June 2023, following its acquisition of certain assets of Bridge Bank, FCB
notified the Debtor of its interest in purchasing SVB India to achieve synergies with the SVB
business that SVB India had serviced and that continued to account for a substantial majority of
SVB India’s operations. Over the following months, the Debtor engaged in conversations with
FCB about a potential sale of SVB India and also reached out to and held discussions with other
potential strategic buyers in an effort to obtain a higher or otherwise better offer for SVB India.
The Debtor, however, did not receive any indications of interest from those other parties.

                  In August 2023, First Citizens Global I, Inc., First Citizens Global II, Inc. and
FCB Parent (together, the “SVB India Buyers”) submitted an offer to purchase SVB India. In
the subsequent several months, the Debtor engaged in arm’s-length, good-faith negotiations with
SVB India Buyers regarding the terms of a sale of SVB India. The Debtor, in consultation with
the Restructuring Committee, considered SVB India Buyers’ seriousness of interest in acquiring,
and financial capacity to acquire, SVB India, SVB India Buyers’ positioning as the most logical
acquiror for a business that currently predominantly services SVB India Buyers’ and its
affiliates, the purchase price offered and strategic alternatives for SVB India. Ultimately, the
Debtor, in the exercise of its business judgment and upon the approval and recommendation of
the Restructuring Committee, concluded that a sale to SVB India Buyers would maximize the
value of SVB India for the Debtor’s estate.

                As set forth in the purchase agreement for SVB India, the consideration for SVB
India was $21.8 million in cash, subject to deduction of up to $8.9 million for outstanding
postpetition obligations owed by the Debtor and its Affiliates to FCB as of the closing date and a
holdback of $2 million for an indemnity escrow fund and $3 million for a repatriation escrow
fund. On March 3, 2024, the Debtor filed the Debtor’s Motion for Entry of an Order (I)
Authorizing the Debtor to Sell SVB India by (A) Selling Partnership Interests in SVB India Free
and Clear of All Liens, Claims, Interests and Encumbrances and (B) Causing Non-Debtor
Subsidiary to Sell Partnership Interests in SVB India; (II) Approving the Debtor’s Entry Into,
and Performance Under, the Purchase and Sale Agreement; (III) Authorizing Assumption and
Assignment of Certain Contracts; and (IV) Granting Related Relief [D.I. 929]. On April 10,
2024, the Bankruptcy Court entered the Order (I) Authorizing the Debtor to Sell SVB India by
(A) Selling Partnership Interests in SVB India Free and Clear of All Liens, Claims, Interests and


                                                -32-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 46 of 410



Encumbrances and (B) Causing Non-Debtor Subsidiary to Sell Partnership Interests in SVB
India; (II) Approving the Debtor’s Entry Into, and Performance Under, the Purchase and Sale
Agreement; (III) Authorizing Assumption and Assignment of Certain Contracts; and (IV)
Granting Related Relief [D.I. 1028].

N.     The Restructuring Support Agreement

                Throughout the Chapter 11 Case, the Debtor has worked tirelessly to build
consensus among key creditor constituencies on the terms of a plan of reorganization. Sustained,
substantive engagement with the UCC, the Ad Hoc Group of Senior Noteholders and the Ad Hoc
Cross-Holder Group has allowed the Debtor to drive significant progress in this case to date.
After months of hard-fought negotiations, the Debtor was able to reach resolution with two of
these constituencies: the UCC and the Ad Hoc Group of Senior Noteholders. On January 9,
2024, the Debtor announced that it had entered into the RSA with the UCC and members of the
Ad Hoc Group of Senior Noteholders then holding 48.7% of the aggregate outstanding principal
amount of the Senior Notes [D.I. 798] (collectively, the “RSA Parties”). As of the date of this
Disclosure Statement, members of the Ad Hoc Group of Senior Noteholders holding in excess of
65.19% of the Senior Notes Claims have executed the RSA. Appended to the RSA was a term
sheet for a proposed plan of reorganization (“Plan Term Sheet”).

                The RSA provides for a fair and confirmable plan that the Debtor believes will
lead to a swift and consensual resolution of the Chapter 11 Case and represents the RSA Parties’
mutual support and commitment with respect to the Debtor’s proposed Plan to facilitate the
consensual emergence of the Debtor from chapter 11. The RSA provides that the Debtor will
implement the Restructuring Transactions in accordance with certain milestones by which,
absent extension or waiver in writing, and subject to the Bankruptcy Court’s availability, (a) the
Debtor must file the Plan and Disclosure Statement; (b) holders of more than two-thirds of the
aggregate outstanding principal amount of the Senior Notes must become party to the RSA; (c)
the Bankruptcy Court shall have entered an order to pay certain professional fees and expenses,
subject to the terms of the RSA; (d) the Bankruptcy Court shall have entered the Disclosure
Statement Order; (e) the Bankruptcy Court shall have entered the Confirmation Order; and (f) the
Effective Date shall have occurred.

                 Pursuant to the terms of the RSA, the RSA Parties also made various
commitments to continue support of the Debtor’s emergence from chapter 11. For instance, the
RSA Parties mutually committed to using commercially reasonable efforts to support the
consummation and implementation of the Restructuring Transactions (as defined below), among
other affirmative and negative covenants. Second, the terms of the RSA outline various consent
rights to facilitate consensus building among the RSA Parties, such as consent rights related to
any change in the Debtor’s tax election and related decisions, the Debtor’s interactions with the
Internal Revenue Service (the “IRS”), and matters regarding the claims and Causes of Action of
the Debtor against certain related parties of the Debtor and against the FDIC-R1, FDIC-R2 and
FDIC-C. Finally, the Plan Term Sheet represented consensus on several key terms of the Plan,
including, for instance: the classification and treatment of Claims and Interests and the
formation of NewCo and the Liquidating Trust. The foregoing summary of the RSA is qualified
in its entirety by reference to the RSA, attached hereto as Appendix E.



                                              -33-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                              Pg 47 of 410



O.       Securities Lawsuits

                Following the Petition Date, at least seven class-action lawsuits have been filed
asserting violations of the Exchange Act and/or the Securities Act by the Debtor, certain of the
Debtor’s current and former directors and officers, underwriters of certain of the Debtor’s
securities offerings, the Debtor’s former auditor, and/or certain director-controlled entities.19

                On November 30, 2023, the U.S. District Court for the Northern District of
California entered an order consolidating five class-action lawsuits (Vanipenta, Snook, Siddiqui,
City of Hialeah Employees Retirement System, and IUOE Local 132) under the caption In re SVB
Financial Group Securities Litigation, No. 3:23-cv-01097 (N.D. Cal.) (“Norges”) and appointing
Norges Bank and Sjunde AP-Fonden as lead plaintiffs [Norges, D.I. 82].20 On January 16, 2024,
the Norges plaintiffs filed a six-count, 290-page amended complaint (which also attaches over
100 pages of exhibits) asserting claims under the Securities Act and/or the Exchange Act against
certain of the Debtor’s directors and officers, underwriters, and auditor [Norges, D.I. 88].
Briefing on the defendants’ motions to dismiss the amended complaint is scheduled to be
completed by May 24, 2024.

               On August 1, 2023, individual plaintiff Jane Lodato filed a complaint in the
Superior Court of the State of California, County of San Mateo, asserting fraud and breach of
fiduciary duty claims against certain of the Debtor’s directors and officers. On September 5,
2023, the action was removed to the Northern District of California. Lodato v. Becker, No. 3:23-
cv-04551 (N.D. Cal. 2023). A hearing on plaintiff’s motion to remand the lawsuit to state court is
scheduled for June 6, 2024.

                On January 25, 2024, Teachers Insurance and Annuity Association of America
and certain of its subsidiaries, funds and accounts filed a complaint asserting Exchange Act
and/or Securities Act claims against certain of the Debtor’s directors and officers, and
underwriters. TIAA-CREF Inv. Mgmt., LLC v. Becker, No. 3:24-cv-00478 (N.D. Cal.) (together
with the aforementioned class action lawsuits and Lodato, the “Securities Lawsuits”). By

19
     The class-action lawsuits are Vanipenta v. SVB Financial Group, Case No. 3:23-cv-01097-JD (N.D. Cal. filed
     Mar. 13, 2023); Snook v. SVB Financial Group, Case No. 3:23-cv-01173-VC (N.D. Cal. Filed Mar. 15, 2023);
     Siddiqui v. Becker, Case No. 4:23-cv-01228-HSG (N.D. Cal. Filed Mar. 17, 2023); City of Hialeah Employees
     Retirement System v. Becker, Case No. 3:23-cv-01697-JD (N.D. Cal. Filed Apr. 7, 2023); Int’l Union of Operating
     Engineers Local 132 Pension Fund v. SVB Financial Group, Case No. 3:23-cv-01962-TLT (N.D. Cal. Filed Apr.
     24, 2023); Stevenson v. Becker, 4:23-cv-02277-HSG (N.D. Cal. Filed May 10, 2023); Rossi v. Becker, Case No.
     4:23-cv-02335-HSG (N.D. Cal. Filed May 12, 2023) (“Rossi I”); and Rossi v. DeChellis, 4:24-cv-01674-HSG
     (N.D. Cal. Filed Mar. 18, 2024) (“Rossi II”) (collectively, the “Class Action Lawsuits”).
20
     The Norges court declined to consolidate two class action lawsuits, Stevenson and Rossi I, which had been
     removed from state court and were the subject of pending motions to remand. On March 28, 2024, the U.S.
     District Court for the Northern District of California entered an order denying the motions to remand the
     Stevenson and Rossi I litigation. On April 11, 2024, the District Court entered a stipulation and order certifying
     an interlocutory appeal of its March 28 remand order to the U.S. Court of Appeals for the Ninth Circuit under 28
     U.S.C. § 1292(b) and staying the proceedings in district court in the Stevenson and Rossi I litigation while the
     appeal is pending. On April 22, 2024, the Plaintiffs in Stevenson and Rossi I sought permission to proceed with
     an interlocutory appeal from the U.S. Court of Appeals for the Ninth Circuit, which request is currently pending.
     Under an April 16, 2024 stipulation and order, the March 28 remand order and April 11 order were extended to
     the Rossi II litigation.



                                                         -34-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 48 of 410



stipulation of the parties, the TIAA-CREF action is stayed pending a ruling on the motions to
dismiss the Norges amended complaint.

               The insurers under the Debtor’s D&O Insurance Policies are currently
reimbursing some of these defendants for their costs of defense, and (subject to policy defenses
and other claims against the D&O Insurance Policies as described below) the insurers may be
responsible for payment of future settlements or liabilities (if any) established in the Securities
Lawsuits.

P.     Investigation of Potential Estate Claims and Causes of Action

                As described in Article II.G.1 above, the causes of SVB’s closure and
receivership, including whether its closure and receivership were preventable and/or foreseeable,
have been the subject of several publicly released governmental investigations and reports, as
well as multiple instances of Congressional testimony. The Debtor, acting at the direction of the
Special Committee, has been conducting an extensive evaluation of the factors, prepetition
conduct, and events that led to SVB’s closure and the Debtor’s Chapter 11 Case. The UCC also
has been conducting an extensive investigation into the factors, prepetition conduct, and events
that led to the Debtor’s Chapter 11 Case. The Debtor’s and the UCC’s evaluations continue.
The UCC and the Debtor have coordinated numerous aspects of their respective investigations
and evaluations, including joint interviews of a significant number of witnesses, in an effort to
protect the Debtor’s estate.

               In connection with their respective investigations and evaluations, the UCC and
the Debtor obtained permission from the Bankruptcy Court to seek discovery under Bankruptcy
Rule 2004 from, among others, forty-one current or former directors, officers, and employees of
the Debtor, six advisors and other third parties, and First Citizens Bank, which is in possession of
the majority of the Debtor’s prepetition books and records [D.I. 345, 346, 659]. In connection
with these requests, the UCC and the Debtor also obtained permission to receive confidential
supervisory information from the Federal Reserve, the CA DFPI, the Federal Reserve Bank of
San Francisco, and the FDIC-C.

                The evaluation and investigation included a review and analysis of publicly
available information concerning SVB, including reports from the Federal Reserve and the U.S.
Government Accountability Office surrounding the closure and receivership of SVB, documents
and communications that have been made publicly available in connection with those reports,
and public testimony from relevant personnel. The UCC also obtained access to certain
documents from the Debtor on a consensual basis, and the Debtor and UCC received (and
continue to receive) numerous productions of documents from First Citizens Bank, from certain
current and former employees, officers and directors of the Debtor, and from McKinsey & Co.,
BlackRock, Goldman Sachs, Curinos, KPMG, and Ernst & Young, entities that provided
prepetition services to the Debtor and/or SVB. In addition, the Debtor has access to more than
10 million pages of documents provided by First Citizens Bank, which the Debtor has been able
to review in connection with its evaluation, but as to which its ability to share or use those
documents presently remains limited by the FDIC and/or other governmental entities.




                                                -35-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 49 of 410



                As described in more detail in Article III.J above, the FDIC in each of its
capacities has taken the position that the Debtor’s $1.93 billion claim for its Account Funds need
not be honored by the FDIC in each such capacity. For example, among other arguments, the
FDIC-R1 has asserted that, pursuant to 12 U.S.C. § 1822(d) and common law, it has a right to
setoff against the Debtor’s Account Funds claim for any amounts owed to SVB by the Debtor
[D.I. 145].21 On May 2, 2024, the FDIC-R1 filed a Statement Regarding Its Defensive Setoff
Rights Against SVB Financial Group in the FDIC-R Action (“Setoff Statement”),22 which asserts
defensive rights to setoff against the Debtor’s Account Fund claim based on allegations that the
Debtor (1) aided, abetted and conspired in various breaches of fiduciary duty by SVB’s directors
and officers, resulting in billions of dollars of damages that exceed the amount of the Debtor’s
Account Funds claim; (2) is liable for unjust enrichment, breach of California Corporate Code
§§ 500-501, and fraudulent transfer with respect to (i) dividends by SVB to SVBFG when SVB
was experiencing financial distress and was in need of liquidity, resulting in damages of $294
million, and (ii) a sale of equity warrants by SVB to SVBFG at below fair market value prices,
resulting in damages of $130 million; and (3) failed to turn over to the FDIC-R1 an unspecified
amount of tax refunds held in trust under a tax sharing agreement and applicable law. The
Debtor (acting through the Special Committee) has evaluated and will continue to evaluate the
basis for the FDIC-R1’s claims. To date, the Debtor has not identified any conduct on the part of
the Debtor or its officers, directors, or employees that would give rise to a setoff right against the
Debtor’s Account Funds claim, and the Debtor intends to vigorously oppose the FDIC-R1’s
claims on any and all supportable grounds.

                The UCC and Debtor are each still evaluating whether colorable causes of action
may exist against one or more prepetition officers or directors of the Debtor, as well as against
certain third parties. The UCC and Debtor continue to evaluate the strengths and weaknesses of
any potential claims, as well as anticipated defenses.

                The primary source of any recovery on claims against any prepetition officers or
directors of the Debtor is expected to be the Debtor’s D&O Insurance Policies, whose policy
limits aggregated to roughly $210 million as of the Petition Date. It must be noted, however, that
the Debtor shared the coverage under its D&O Insurance Policies with SVB, and the FDIC has
indicated that it also may pursue claims that would be covered by the D&O Insurance Policies.
In addition, the plaintiffs in the Securities Lawsuits are pursuing claims that may be covered by
the D&O Insurance Policies, and the value of the D&O Insurance Policies has been and
continues to be eroded by the payment of defense costs. As a result of the eroding value of the
D&O Insurance Policies and what are expected to be significant competing claims for coverage,
the Debtor cannot estimate with any level of precision the amount of insurance proceeds that
could be expected to be available to pay any of the estate’s claims against any covered parties,
should any such claims exist.


21
     The Debtor has previously challenged the existence of mutuality necessary for setoff, arguing that FDIC-R1
     cannot exercise a setoff claim against amounts that are owed to the Debtor by the FDIC-C, a separate juridical
     entity. See SVB Fin. Group v. FDIC, Adv. 23-1137, D.I. 1 ¶¶ 12, 54. The FDIC-R2 has affirmatively disclaimed
     any right to setoff. See SVB Fin. Group v. FDIC, Adv. 23-1137, D.I. 71 at 5 (“FDIC-R2 has no right of setoff
     against the Deposit Account liabilities nor has it asserted a right of setoff.”).
22
     FDIC-R Action [D.I. 29]. A notice of the Setoff Statement was also filed in the Chapter 11 Case [D.I. 1081].



                                                       -36-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 50 of 410



                As governmental investigations are continuing and information continues to be
developed and the Debtor continues its own evaluation, the Debtor (acting at the direction of the
Special Committee) is not in a position at this time to recommend a release of any claims against
any prepetition officers or directors, or third parties, arising from prepetition conduct. As a result
of the foregoing, it is expected that with the exception of any Claims that are subject to a release
described in Article IV.G below, all potential claims will be preserved under the Plan and will be
transferred to the Liquidating Trust, as described in Article IV.B below.

                                          ARTICLE IV.

                                  SUMMARY OF THE PLAN

                 The consummation of a plan is the principal objective of a chapter 11 case. A
plan sets forth the means for satisfying Claims against, and Interests in, a debtor. Confirmation
of a plan makes the plan binding upon the debtor, any issuer of securities under the plan and any
creditor of, or equity Holder in, the debtor, whether or not such creditor or equity Holder (i) is
impaired under or has accepted the plan or (ii) receives or retains any property under the plan.
Subject to certain limited exceptions and other than as provided in the plan itself or the
confirmation order, a confirmation order discharges the debtor from any debt that arose prior to
the effective date of the plan and substitutes therefor the obligations specified under the
confirmed plan.

                A chapter 11 plan may specify that the legal, contractual and equitable rights of
the Holders of Claims or Interests in certain classes are to remain unaltered by the reorganization
effectuated by the plan. Such classes are referred to as “unimpaired” and, because of such
favorable treatment, are conclusively presumed to accept the plan. Accordingly, a debtor need
not solicit votes from the Holders of Claims or Interests in such classes. A chapter 11 plan may
also specify that certain classes will not receive any distribution of property or retain any Claim
against a debtor. Such classes are deemed not to accept the plan and, therefore, need not be
solicited to vote to accept or reject the plan. Any classes that are receiving a distribution of
property under the plan but are impaired will be solicited to vote to accept or reject the plan.

               Prior to soliciting acceptances of the proposed plan, section 1125 of the
Bankruptcy Code requires a debtor to prepare a disclosure statement containing adequate
information of a kind, and in sufficient detail, to enable a hypothetical reasonable investor to
make an informed judgment regarding the plan. To satisfy the requirements of section 1125 of
the Bankruptcy Code, the Debtor is submitting this Disclosure Statement to Holders of Claims
and Interests against the Debtor who are entitled to vote to accept or reject the Plan.

               The classification and treatment of Claims and Interests; implementation of the
Plan; provisions governing Distributions; effect of Confirmation, including the release,
injunction and related provisions; and treatment of Executory Contracts and Unexpired Leases
are summarized below. For all other provisions relating to the Plan, including among other
things, acceptance or rejection of the Plan, conditions precedent to effectiveness of the Plan,
modification, revocation or withdrawal of the Plan, and retention of jurisdiction, please refer to
the Plan attached hereto as Appendix A.



                                                -37-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 51 of 410



           THE REMAINDER OF THIS SECTION PROVIDES A SUMMARY OF THE
STRUCTURE AND MEANS FOR IMPLEMENTATION OF THE PLAN AND THE
CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS UNDER THE
PLAN. THIS SECTION IS QUALIFIED IN ITS ENTIRETY BY AND IS SUBJECT TO THE
PLAN AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN.

          THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
INCLUDE SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN
DOCUMENTS REFERRED TO THEREIN. THE STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT DO NOT PURPORT TO BE PRECISE OR COMPLETE
STATEMENTS OF ALL THE TERMS AND PROVISIONS OF THE PLAN OR
DOCUMENTS REFERRED TO THEREIN. REFERENCE IS MADE TO THE PLAN AND
TO SUCH DOCUMENTS FOR THE FULL AND COMPLETE STATEMENTS OF SUCH
TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO THEREIN.

           THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN
CONTROL THE ACTUAL TREATMENT OF CLAIMS AGAINST AND INTERESTS IN
THE DEBTOR UNDER THE PLAN. UPON THE OCCURRENCE OF THE EFFECTIVE
DATE, THE PLAN AND ALL SUCH DOCUMENTS WILL BE BINDING UPON ALL
HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTOR AND ITS ESTATE
AND ALL OTHER PARTIES-IN-INTEREST. IN THE EVENT OF ANY CONFLICT
BETWEEN THIS DISCLOSURE STATEMENT, ON THE ONE HAND, AND THE PLAN OR
ANY OTHER OPERATIVE DOCUMENT, ON THE OTHER HAND, THE TERMS OF THE
PLAN AND SUCH OTHER OPERATIVE DOCUMENT SHALL CONTROL.

           STATEMENTS AS TO THE RATIONALE UNDERLYING THE
TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN ARE NOT INTENDED
TO, AND SHALL NOT, WAIVE, COMPROMISE OR LIMIT ANY RIGHTS, CLAIMS OR
CAUSES OF ACTION IN THE EVENT THE PLAN IS NOT CONFIRMED.

A.     Classification, Treatment and Voting of Claims and Interests

                Section 1123 of the Bankruptcy Code provides that a plan must classify the
claims and interests of a debtor’s creditors and equity interest holders. In accordance with
section 1123 of the Bankruptcy Code, the Plan divides claims and interests into Classes and sets
forth the treatment for each Class (other than administrative expense claims, which, pursuant to
section 1123(a)(1) of the Bankruptcy Code, need not be and have not been classified). The
Debtor is also required, under section 1122 of the Bankruptcy Code, to classify claims against
and interests in the Debtor into Classes that contain claims and interests that are substantially
similar to the other claims and interests in such Class.

                The Bankruptcy Code also requires that a plan provide the same treatment for
each claim or interest of a particular class unless the claim holder or interest holder agrees to a
less favorable treatment of its claim or interest. The Debtor believes that it has complied with
such standard. If the Bankruptcy Court finds otherwise, however, it could deny Confirmation of
the Plan if the holders of claims and interests affected do not consent to the treatment afforded
them under the Plan.


                                               -38-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 52 of 410



                 A Claim or Interest is placed in a particular Class only to the extent that the Claim
or Interest falls within the description of that Class and is classified in other Classes to the extent
that any portion of the Claim or Interest falls within the description of such other Classes. A
Claim or Interest also is placed in a particular Class for the purpose of receiving distributions
pursuant to the Plan only to the extent that such Claim or Interest is Allowed in that Class and
such Claim or Interest has not been paid, released or otherwise settled prior to the Effective Date.

                 The Debtor believes that the Plan has classified all Claims and Interests in
compliance with the provisions of section 1122 of the Bankruptcy Code and applicable case law.
It is possible that a Holder of a Claim or Interest may challenge the Debtor’s classification of
Claims and Interests and that the Bankruptcy Court may find that a different classification is
required for the Plan to be confirmed. If such a situation develops, the Debtor intends, in
accordance with the terms of the Plan and the RSA, to make such permissible modifications to
the Plan as may be necessary to permit its Confirmation. Any such reclassification could
materially adversely affect Holders of Claims and Interests by changing the composition of one
or more Classes and the vote required of such Class or Classes for approval of the Plan.
EXCEPT AS SET FORTH IN THE PLAN AND THE RSA, UNLESS SUCH MODIFICATION
OF CLASSIFICATION MATERIALLY ADVERSELY AFFECTS THE TREATMENT OF A
HOLDER OF A CLAIM OR INTERESTS AND REQUIRES RESOLICITATION,
ACCEPTANCE OF THE PLAN BY ANY HOLDER OF A CLAIM OR INTEREST
PURSUANT TO THIS SOLICITATION WILL BE DEEMED TO BE A CONSENT TO THE
PLAN’S TREATMENT OF SUCH HOLDER OF A CLAIM OR INTEREST REGARDLESS
OF THE CLASS AS TO WHICH SUCH HOLDER ULTIMATELY IS DEEMED TO BE A
MEMBER.

                Any changes to any of the assumptions underlying the estimated Allowed
amounts could result in material adjustments to recovery estimates provided herein and/or the
actual distribution received by Creditors. The projected recoveries are based on information
available to the Debtor as of the date hereof and reflect the Debtor’s views as of the date hereof
only.

                The classification of Claims and Interests and the nature of distributions to
members of each Class are summarized below. The Debtor believes that the consideration, if
any, provided under the Plan to Holders of Claims and Interests reflects an appropriate resolution
of their Claims and Interests, taking into account the differing nature and priority (including
applicable contractual subordination) of such Claims and Interests. The Bankruptcy Court must
find, however, that a number of statutory tests are met before it may confirm the Plan. Many of
these tests are designed to protect the interests of Holders of Claims or Interests who are not
entitled to vote on the Plan, or do not vote to accept the Plan, but who will be bound by the
provisions of the Plan if it is confirmed by the Bankruptcy Court.

               Claims Classification and Voting Status

                All Claims and Interests, except for certain Claims addressed in Section 3 of the
Plan, are classified as set forth in Section 4 of the Plan, which is summarized below. In
accordance with section 1123(a)(1) of the Bankruptcy Code, and as set forth in Section 3 of the
Plan, the Plan does not classify Other Administrative Claims, Ad Hoc Noteholder Group


                                                 -39-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                               Pg 53 of 410



Expenses, Senior Note Trustee Expenses, Subordinated Note Trustee Expenses, Professional Fee
Claims and Priority Tax Claims, and such Claims will be paid in accordance with the procedures
set forth in Section 3 of the Plan.

                The following table designates the Classes of Claims against and Interests in the
Debtor, as applicable, and specifies which of those Classes are (i) Impaired or Unimpaired by the
Plan and (ii) entitled to vote to accept or reject the Plan in accordance with section 1126 of the
Bankruptcy Code or presumed to accept or deemed to reject the Plan.23 Each Holder of a Claim
or Interest in an Impaired Class that is entitled to vote on the Plan as of the Voting Record Date
pursuant to Section 4 of the Plan shall be entitled to vote to accept or reject the Plan. The
classification of Claims and Interests pursuant to the Plan is as follows:

 Class       Claims and Interests                                 Status                 Voting Rights
   1         Other Secured Claims                                 Unimpaired             Not Entitled to Vote
                                                                                         (Presumed to Accept)
      2      Other Priority Claims                                Unimpaired             Not Entitled to Vote
                                                                                         (Presumed to Accept)
     3(a)    Senior Note Claims                                   Impaired               Entitled to Vote
     3(b)    Other General Unsecured Claims                       Impaired               Entitled to Vote
      4      Subordinated Note Claims                             Impaired               Entitled to Vote
      5      Preferred Equity Interests                           Impaired               Entitled to Vote
      6      Common Equity Interests                              Impaired               Not Entitled to Vote
                                                                                         (Deemed to Reject)
      7      Section 510(b) Claims                                Impaired               Not Entitled to Vote
                                                                                         (Deemed to Reject)
      8      Intercompany Claims and Intercompany                 Impaired or            Not Entitled to Vote
             Interests                                            Unimpaired             (Presumed to Accept or
                                                                                         Deemed to Reject)

                  Treatment of Claims and Interests

                  Class 1 – Other Secured Claims

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: Except to the extent that a Holder of an Allowed Other
                           Secured Claim agrees to less favorable treatment, in full and final
                           satisfaction, compromise, settlement, release, and discharge of and in
                           exchange for its Allowed Other Secured Claim, each Holder of an
                           Allowed Other Secured Claim will receive, at the Debtor’s option (with
                           the consent of the UCC and the Required Ad Hoc Senior Noteholder
                           Parties, not to be unreasonably withheld, conditioned or delayed):
                           (a) payment in full in Cash; (b) delivery of the collateral securing its
                           Allowed Other Secured Claim and payment of any interest required under
23
     The information in the table is provided in summary form, and is qualified in its entirety by Section 4.2 of the
     Plan.



                                                         -40-
23-10367-mg    Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                      Pg 54 of 410



                     section 506(b) of the Bankruptcy Code; (c) Reinstatement of its Allowed
                     Other Secured Claim; or (d) such other treatment rendering its Allowed
                     Other Secured Claim Unimpaired in accordance with section 1124 of the
                     Bankruptcy Code.

              (c)    Voting: Claims in Class 1 are Unimpaired. Each Holder of an Other
                     Secured Claim is conclusively presumed to have accepted the Plan
                     pursuant to section 1126(f) of the Bankruptcy Code. No Holder of Other
                     Secured Claims is entitled to vote to accept or reject the Plan.

              Class 2 – Other Priority Claims

              (a)    Classification: Class 2 consists of all Other Priority Claims.

              (b)    Treatment: Except to the extent that a Holder of an Allowed Other
                     Priority Claim agrees to a less favorable treatment, in full and final
                     satisfaction, settlement, release, and discharge of and in exchange for its
                     Allowed Other Priority Claim, each Holder of an Allowed Other Priority
                     Claim will receive treatment in a manner consistent with
                     section 1129(a)(9) of the Bankruptcy Code.

              (c)    Voting: Claims in Class 2 are Unimpaired. Each Holder of an Other
                     Priority Claim is conclusively presumed to have accepted the Plan
                     pursuant to section 1126(f) of the Bankruptcy Code. No Holder of an
                     Other Priority Claim is entitled to vote to accept or reject the Plan.

              Class 3(a) – Senior Note Claims

              (a)    Classification: Class 3(a) consists of all Senior Note Claims.

              (b)    Allowance: Senior Note Claims will be Allowed in the aggregate
                     outstanding principal amount of $[3,300,000,000.00], plus accrued and
                     unpaid interest to and including the Petition Date at the non-default
                     contract rate.

              (c)    Treatment: Except to the extent that a Holder of an Allowed Senior Note
                     Claim agrees to a less favorable treatment (with the consent of the UCC
                     and the Required Ad Hoc Senior Noteholder Parties, not to be
                     unreasonably withheld, conditioned or delayed), in full and final
                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Senior Note Claim, each Holder of an Allowed Senior Note
                     Claim will receive (a)(i) if and solely to the extent such Holder is a
                     Qualified Holder, its Pro Rata share (together with all Holders receiving
                     Distributions in NewCo Common Stock) of the NewCo Common Stock
                     subject to dilution by any NewCo Transaction or (ii) if and solely to the
                     extent such Holder is a Non-Qualified Holder, Cash in an amount equal to
                     the value of the NewCo Common Stock it would be entitled to receive if it
                     were a Qualified Holder, (b) its Pro Rata share (together with all Holders


                                                -41-
23-10367-mg    Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                      Pg 55 of 410



                     receiving Distributions of the Class A Trust Units) of the Class A Trust
                     Units and (c) payment by the Debtor in Cash of the Senior Note Trustee
                     Expenses, to the extent not otherwise paid by the Debtor under the Plan.

              (d)    Voting: Claims in Class 3(a) are Impaired. Each Holder of an Allowed
                     Senior Note Claim is entitled to vote to accept or reject the Plan.

              Class 3(b) – Other General Unsecured Claims

              (a)    Classification: Class 3(b) consists of all Other General Unsecured Claims.

              (b)    Treatment: Except to the extent that a Holder of an Allowed Other
                     General Unsecured Claim agrees to a less favorable treatment (with the
                     consent of the UCC and the Required Ad Hoc Senior Noteholder Parties,
                     not to be unreasonably withheld, conditioned or delayed), in full and final
                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Other General Unsecured Claim, each Holder of an Allowed
                     Other General Unsecured Claim will receive:

                            (a) (i)(A) if and solely to the extent such Holder is a Qualified
                                     Holder, its Pro Rata share (together with all Holders
                                     receiving Distributions in NewCo Common Stock) of the
                                     NewCo Common Stock subject to dilution by any NewCo
                                     Transaction or (B) if and solely to the extent such Holder is
                                     a Non-Qualified Holder, Cash in an amount equal to the
                                     value of the NewCo Common Stock it would be entitled to
                                     receive if it were a Qualified Holder, and (ii) its Pro Rata
                                     share (together with all Holders receiving Distributions of
                                     the Class A Trust Units) of the Class A Trust Units; or

                            (b) if such Holder elects on the applicable ballot, the GUC Cash-
                                     Out with respect such Claim.

              (c)    Voting: Claims in Class 3(b) are Impaired. Each Holder of an Allowed
                     Other General Unsecured Claim is entitled to vote to accept or reject the
                     Plan.

              Class 4 – Subordinated Note Claims

              (a)    Classification: Class 4 consists of all Subordinated Note Claims.

              (b)    Allowance: Subordinated Note Claims will be Allowed in the aggregate
                     outstanding principal amount of $[104,492,871.02], plus accrued and
                     unpaid interest to and including the Petition Date at the non-default
                     contract rate.

              (c)    Treatment: Except to the extent that a Holder of an Allowed Subordinated
                     Note Claim agrees to a less favorable treatment, in full and final


                                             -42-
23-10367-mg    Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                       Pg 56 of 410



                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Subordinated Note Claim, each Holder of an Allowed
                     Subordinated Note Claim will receive its Pro Rata share of (a) the Class B
                     Trust Units in an aggregate amount equal to such Holder’s Allowed
                     Subordinated Note Claim and (b) payment by the Debtor in Cash of the
                     Subordinated Note Trustee Expenses, to the extent not otherwise paid by
                     the Debtor under the Plan.

              (d)    Voting: Claims in Class 4 are Impaired. Each Holder of an Allowed
                     Subordinated Note Claim is entitled to vote to accept or reject the Plan.

              Class 5 – Preferred Equity Interests

              (a)    Classification: Class 5 consists of all Preferred Equity Interests.

              (b)    Allowance: Preferred Equity Interests will be Allowed in an amount equal
                     to the Liquidation Preference per share, together with an amount equal to
                     all dividends (if any) that have been declared but not paid prior to the date
                     of distributions (but without regard to any undeclared dividends).

              (c)    Treatment: Except to the extent that a Holder of an Allowed Preferred
                     Equity Interest agrees to a less favorable treatment, in full and final
                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Preferred Equity Interest, each Holder of an Allowed Preferred
                     Equity Interest will receive its Pro Rata share of the Class C Trust Units.

              (d)    Voting: Claims in Class 5 are Impaired. Each Holder of an Allowed
                     Preferred Equity Interest is entitled to vote to accept or reject the Plan.

              Class 6 – Common Equity Interests

              (a)    Classification: Class 6 consists of all Common Equity Interests.

              (b)    Treatment: No Holder of a Common Equity Interest will receive any
                     Distributions on account of its Common Equity Interest. On and after the
                     Effective Date, all Common Equity Interests will be canceled, released,
                     discharged, and extinguished and will be of no further force or effect, and
                     Holders of such Interests will not receive or retain any distribution,
                     property, or other value on account of such Interests.

              (c)    Voting: Interests in Class 6 are Impaired. Each Holder of a Common
                     Equity Interest is conclusively deemed to have rejected the Plan pursuant
                     to section 1126(g) of the Bankruptcy Code. No Holder of a Common
                     Equity Interest is entitled to vote to accept or reject the Plan.

              Class 7 – Section 510(b) Claims

              (a)    Classification: Class 7 consists of all Section 510(b) Claims.


                                              -43-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 57 of 410



               (b)     Treatment: No Holder of a Section 510(b) Claim will receive any
                       Distributions on account of its Section 510(b) Claim. On and after the
                       Effective Date, all Section 510(b) Claims will be canceled, released,
                       discharged, and extinguished and will be of no further force or effect, and
                       Holders of Section 510(b) Claims will not receive or retain any
                       distribution, property, or other value on account of such Claims.

               (c)     Voting: Claims in Class 7 are Impaired. Each Holder of a Section 510(b)
                       Claim is conclusively deemed to have rejected the Plan pursuant to
                       section 1126(g) of the Bankruptcy Code. No Holder of a Section 510(b)
                       Claim is entitled to vote to accept or reject the Plan.

               Class 8 – Intercompany Claims and Intercompany Interests

               (a)     Classification: Class 8 consists of all Intercompany Claims and
                       Intercompany Interests.

               (b)     Treatment: On and after the Effective Date, each Intercompany Claim and
                       each Intercompany Interest will be (a) canceled, released, and discharged,
                       (b) Reinstated, (c) converted to equity, or (d) otherwise set off, settled, or
                       distributed, in each case at the option of the Debtor with the consent of the
                       UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
                       unreasonably withheld, conditioned or delayed.

               (c)     Voting: Claims and Interests in Class 8 are Impaired or Unimpaired. Each
                       Holder of an Intercompany Claim or an Intercompany Interest is
                       conclusively deemed to have accepted or rejected the Plan pursuant to
                       section 1126(f) or 1126(g) of the Bankruptcy Code. No Holder of an
                       Intercompany Claim or an Intercompany Interest is entitled to vote to
                       accept or reject the Plan.

               Acceptance by Impaired Classes

                Pursuant to sections 1126(c) and (d) of the Bankruptcy Code, and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (i) an Impaired Class of Claims
will have accepted the Plan if the Holders of at least two-thirds in dollar amount and more than
one-half in number of the Claims of such Class entitled to vote that actually vote on the Plan
have voted to accept the Plan and (ii) an Impaired Class of Interests will have accepted the Plan
if the Holders of at least two-thirds in dollar amount of such Class entitled to vote that actually
vote on the Plan have voted to accept the Plan.

                 If Holders of Claims or Interests in a particular Impaired Class of Claims or
Interests were given the opportunity to vote to accept or reject the Plan, but no Holders of Claims
or Interests in such Impaired Class voted to accept or reject the Plan, then such Class will be
deemed to have accepted the Plan.




                                                -44-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 58 of 410



               Elimination of Vacant Classes

               Any Class of Claims or Interests that does not have a Holder of an Allowed Claim
or Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court solely
for voting purposes as of the date of the Confirmation Hearing will be deemed eliminated from
the Plan solely for purposes of (i) voting to accept or reject the Plan and (ii) determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the
Bankruptcy Code.

               Special Provisions Regarding Unimpaired Claims

                Except as otherwise specifically provided in the Plan, the Liquidating Trust will
have, retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff,
and other legal or equitable defenses which the Debtor now has or had immediately prior to the
Petition Date as if the Chapter 11 Case had not been commenced, and all of the Liquidating
Trust’s legal and equitable rights with respect to any Reinstated Claim or Claim that is
Unimpaired by this Plan may be asserted after the Confirmation Date and the Effective Date to
the same extent as if the Chapter 11 Case had not been commenced. Unless Allowed, Claims
that are Unimpaired will remain as Disputed Claims under the Plan.

               Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

               If there is one or more rejecting Class of Claims or Interests, the Debtor will seek
Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any such
rejecting Class or Classes. Subject to Sections 14 and 16.4 of the Plan, the Debtor reserves the
right to amend the Plan to the extent that Confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules.

B.     The Liquidating Trust

               The Liquidating Trust Agreement

                On or before the Effective Date, the Liquidating Trust will be established
pursuant to the Liquidating Trust Agreement. The Liquidating Trust Agreement may provide
powers, duties, and authorities in addition to those explicitly stated herein, but only to the extent
that such powers, duties and authorities do not affect the status of the Liquidating Trust as a
“liquidating trust” for United States federal income tax purposes. Notwithstanding anything in
the Liquidating Trust Agreement to the contrary, the Liquidating Trust will be structured and
operate in a manner that does not require registration of the Liquidating Trust under the
Investment Company Act.

               Purpose of the Liquidating Trust

                The Liquidating Trust will be established for the sole purpose of liquidating and
distributing the Liquidating Trust Assets, in accordance with section 301.7701-4(d) of the U.S.
Treasury regulations (the “Treasury Regulations”), with no objective to continue or engage in the


                                                 -45-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 59 of 410



conduct of a trade or business, except to the extent reasonably necessary to, and consistent with,
the liquidating purpose of the Liquidating Trust. The Liquidating Trust will be deemed a
successor-in-interest of the Debtor to the maximum extent necessary for the Liquidating Trust to
execute its purpose, and will not otherwise be deemed a successor-in-interest to the Debtor for
any purpose other than as specifically set forth in the Plan or in the Liquidating Trust Agreement.

               Liquidating Trust Assets

                 On the Effective Date, the Liquidating Trust Assets will be deemed irrevocably
transferred to the Liquidating Trust or entities to be formed by the Liquidating Trust, in each
case in accordance with the Restructuring Transactions Memorandum and without any further
action of NewCo, the Debtor or its subsidiaries or any of their respective managers, employees,
officers, directors, members, partners, shareholders, agents, advisors, or representatives. The
Liquidating Trust Assets will vest in the Liquidating Trust, free and clear of all Liens, Claims,
charges, rights, or other encumbrances subject to and in accordance with the Plan and the
Liquidating Trust Agreement. For purposes of section 553 of the Bankruptcy Code, the transfer
of the Liquidating Trust Assets to the Liquidating Trust will not affect the mutuality of
obligations that otherwise may have existed prior to the effectuation of such transfer. Such
transfer will be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or
other similar Tax, pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the
Liquidating Trust Assets to the Liquidating Trust, the Debtor and its predecessors, successors
and assigns, and each other Entity released pursuant to Section 12.9 of the Plan will be
discharged and released from all liability with respect to the delivery of such distributions. Upon
the transfer of the Liquidating Trust Assets and pursuant to the Liquidating Trust Agreement, the
Debtor will have no reversionary or further interest in or with respect to the Liquidating Trust
Assets.

                After the Effective Date, the Liquidating Trust may, in its reasonable discretion,
contribute all or a portion of the Liquidating Trust Assets to an entity (i) wholly owned by the
Liquidating Trust and (ii) treated as corporations for U.S. federal income tax purposes (each such
entity, a “Blocker Corporation”); provided that, the Liquidating Trust will evaluate any such
transfer based on the relative tax costs and other tax consequences to the Liquidating Trust
Beneficiaries of contributing such assets as compared to if such assets were not contributed to a
Blocker Corporation.

               To the extent that any cash refunds of Taxes transferred by NewCo to the
Liquidating Trust is subsequently disallowed or required to be returned to the applicable Tax
Authority, the Liquidating Trust will be liable for any amounts payable by NewCo to the
applicable Tax Authority as a result of such disallowance or requirement and will promptly
repay, or cause to be repaid, the amount of such refund, together with any interest, penalties or
other additional amounts imposed by such Tax Authority, to NewCo.

               Administration of the Liquidating Trust

                The business and affairs of the Liquidating Trust will be managed by or under the
direction of the Liquidating Trust Board. On the Effective Date, the Liquidating Trust Board
will be appointed by the Required Ad Hoc Senior Noteholder Parties in a manner reasonably


                                               -46-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 60 of 410



acceptable to the UCC. Following the Effective Date, the appointment and removal of the
members of the Liquidating Trust Board will be governed by the Liquidating Trust Agreement.

                 The Liquidating Trust will have all the rights, powers and duties necessary to
carry out its responsibilities under the Plan and the Confirmation Order. For the avoidance of
doubt, these powers will include, to the extent applicable, the power to assert, enforce, release, or
waive any privilege or any defense (including as to any privilege that the Debtor held prior to the
Effective Date). The Liquidating Trust will be the exclusive representative of the Debtor’s
Estate for the purposes of 31 U.S.C. § 3713(b) and section 1123(b)(3)(B) of the Bankruptcy
Code and receiver, trustee or assignee of all or substantially all the property or business pursuant
to 26 U.S.C. § 6012(b)(3).

                 In furtherance of and consistent with the purpose of the Liquidating Trust and the
Plan, and subject to the terms of the Confirmation Order, the Plan and the Liquidating Trust
Agreement, the Liquidating Trust will, among other things, have the following rights and
powers: (i) to hold, manage, convert to Cash, and distribute the Liquidating Trust Assets to
holders of Liquidating Trust Interests, including (x) prosecuting and resolving the claims and
Retained Causes of Action belonging to the Liquidating Trust and (y) reducing, from time to
time, the amount of Liquidating Trust Assets held in the Disputed Claims Reserves and returning
such amounts to the Liquidating Trust, provided, for the avoidance of doubt, that any investment
powers of the Liquidating Trust, other than those reasonably necessary to maintain the value of
the assets and to further the liquidating purpose of the trust, must be limited to powers to invest
in demand and time deposits, such as short-term certificates of deposit, in banks or other savings
institutions, or other temporary, liquid investments, such as Treasury bills, (ii) to sell, transfer,
lease, encumber, or otherwise dispose of the Liquidating Trust Assets, (iii) to investigate,
prosecute, settle and/or abandon rights, causes of action, or litigation of the Liquidating Trust,
including Avoidance Actions, (iv) to disburse funds in the Professional Fee Reserve, the
Liquidating Trust Disputed Claims Reserve, and the Liquidating Trust Disputed GUC Cash-Out
Claims Reserve in accordance with the Liquidating Trust Agreement, which will be consistent
with the Plan, (v) to distribute Liquidating Trust Interest from the Liquidating Trust Disputed
Interests Reserve in accordance with the Liquidating Trust Agreement, which will be consistent
with the Plan, (vi) to distribute NewCo Common Stock from the NewCo Disputed Claims
Reserve in accordance with the Shared Services Agreement and the Liquidating Trust
Agreement, as applicable, which will be consistent with the Plan, (vii) to file all Tax Returns and
tax and regulatory forms, returns, reports, and other documents required with respect to the
Liquidating Trust and any Disputed Claims Reserve, (viii) to object to Claims, and manage,
control, prosecute, and/or settle on behalf of the Liquidating Trust, objections to Claims on
account of which the Distribution Agent will be responsible (if Allowed) for making
distributions under the Plan, (ix) to take all actions necessary and create any document necessary
to implement the Plan, (x) to act as a signatory to the Debtor for all purposes, including those
associated with the novation of contracts or other obligations arising out of the sales of the
Debtor’s assets, and (xi) to take all necessary actions and file all appropriate motions to obtain an
order closing the Chapter 11 Case. Under no circumstance may any person on the Liquidating
Trust Board serve on the board of directors of any Affiliate of the Liquidating Trust.




                                                -47-
23-10367-mg            Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 61 of 410



                  Substitution in Pending Legal Actions

                On the Effective Date, the Liquidating Trust will be deemed to be substituted as
the party to any pending litigation of a Retained Cause of Action in which the Debtor is a party
and will be authorized, but not required, to file notices or other pleadings in such actions to
effectuate its substitution for the Debtor. Such substitution will not result in holders of Claims,
including litigation Claims, against the Debtor receiving greater rights in or against the
Liquidating Trust than they are otherwise entitled to under the Plan and Liquidating Trust
Agreement on account of such Claims.

                  Distribution of Liquidating Trust Assets

                  i.       From time to time (but no less frequently than annually), the Liquidating
                           Trust will distribute to the Liquidating Trust Beneficiaries on account of
                           their Liquidating Trust Interests in accordance with Section 5.6 of the Plan
                           all unrestricted Cash on hand; provided, that in no event will the
                           Liquidating Trust be required to distribute amounts reasonably necessary
                           to (A) meet contingent liabilities and to maintain the value of the
                           Liquidating Trust Assets during liquidation, (B) pay reasonable incurred
                           or anticipated expenses (including, but not limited to, any Taxes imposed
                           on or payable by the Liquidating Trust or in respect of the Liquidating
                           Trust Assets), or (C) satisfy other liabilities incurred or anticipated by the
                           Liquidating Trust in accordance with the Plan or the Liquidating Trust
                           Agreement.

                  ii.      The Liquidating Trust will issue class A trust units (the “Class A Trust
                           Units”), class B trust units (the “Class B Trust Units”) and class C trust
                           units (the “Class C Trust Units”) to Holders of Claims and Interests in
                           accordance with Sections 4.2 and 11.8 of the Plan.

                  iii.     The Class A Trust Units will be issued to Holders of Allowed General
                           Unsecured Claims (other than Holders of Allowed General Unsecured
                           Claims that elect to receive the GUC Cash-Out) with an initial distribution
                           preference of $[•],24 which will accrete at an annual rate of 12%. The
                           Class B Trust Units and the Class C Trust Units will receive no
                           distributions until the distribution preference (including, for the avoidance
                           of doubt, any accretion thereto) of the Class A Trust Units has been
                           satisfied in full.



24
     [NTD: To be calculated at the face amount (including accrued and unpaid interest on the Senior Notes as of the
     Petition Date) of all Allowed General Unsecured Claims minus amount of the Allowed General Unsecured
     Claims satisfied by the GUC Cash-Out and minus the value of NewCo Common Stock distributable to Classes
     3(a) and 3(b) under the Plan (taking into the effect of any NewCo Transactions); provided that the
     determination of such value shall be acceptable to the Debtor, the UCC, and the Required Ad Hoc Senior
     Noteholder Parties and shall take into account any NewCo Transactions to be consummated on or prior to the
     Effective Date.]



                                                       -48-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 62 of 410



               iv.     The Class B Trust Units will be issued to Holders of Allowed
                       Subordinated Note Claims with an initial distribution preference to be
                       calculated at the face amount of the Allowed Subordinated Note Claims,
                       which Class B Trust Units will accrete at an annual rate of 12%.

               v.      The Class C Trust Units will be issued to Holders of Allowed Preferred
                       Equity Interests and will receive no distributions until the distribution
                       preference (including, for the avoidance of doubt, any accretion thereto) of
                       the Class B Trust Units has been satisfied in full.

               vi.     After satisfaction of the Class A and Class B Trust Units in full, the Class
                       C Trust Units will be entitled to 100% of Liquidating Trust distributions.

               Costs and Expenses of the Liquidating Trust

                The individuals serving as or comprising the Liquidating Trust Board will be
entitled to reasonable compensation in an amount consistent with that of similar functionaries in
similar roles and paid out of the Liquidating Trust Assets. The fees and expenses incurred by the
Liquidating Trust Board on or after the Effective Date and any reasonable compensation and
expense reimbursement claims (including attorney fees and expenses) made by the Liquidating
Trust Board in connection with such Liquidating Trust Board’s duties will be paid without any
further notice to, or action, order, or approval of, the Bankruptcy Court in Cash from the
Liquidating Trust Assets. Fees and expenses incurred in connection with the prosecution and
settlement of any Claims will be considered costs and expenses of the Liquidating Trust.

                The Debtor, NewCo, the Delaware Trustee and the Liquidating Trust Board, as
applicable, will not be required to give any bond or surety or other security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court. In the event that the Delaware
Trustee or the Liquidating Trust Board is so ordered after the Effective Date, all costs and
expenses of procuring any such bond or surety will be paid for with Cash from the Liquidating
Trust Assets.

               Retention of Professionals/Employees by the Liquidating Trust Board

               The Liquidating Trust Board may appoint officers or other representative agents
of the Liquidating Trust, including a Liquidating Trust manager and a secretary, to serve as
agents to the Liquidating Trust and carry out the purpose of the Liquidating Trust. The
Liquidating Trust Board will have the right to hire employees and retain the services of
attorneys, accountants, and other professionals, subject to any limitations imposed by the
Liquidating Trust Board, that are necessary to assist the Liquidating Trust Board in the
performance of their duties without Bankruptcy Court approval. Without limiting the foregoing,
the Liquidating Trust Board may retain any professional that represented parties in interest in the
Chapter 11 Case.

               Liquidating Trust Disputed Claims Reserve

                On or after the Effective Date, the Liquidating Trust will be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Claims Reserves. After the


                                                -49-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 63 of 410



Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan, in the same proportions and amounts as provided for in the Plan,
in the Liquidating Trust Disputed Claims Reserve in trust for the benefit of the Holders of
Disputed Administrative Expense Claims, Disputed Priority Tax Claims, Disputed Other Priority
Claims, Disputed Other Secured Claims and Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust will use reasonable effort to allocate sufficient property for
the Liquidating Trust Disputed Claims Reserves. The Liquidating Trust will distribute such
amounts (net of any expenses, including any Taxes relating thereto or otherwise payable by the
Liquidating Trust Disputed Claims Reserve), as provided under the Plan, as such Claims are
resolved by a Final Order or agreed to by settlement, and such amounts will be distributable on
account of such Claims as such amounts would have been distributable had such Claims been
Allowed Claims as of the Effective Date. Amounts remaining in the Liquidating Trust Disputed
Claims Reserve, if any, after the resolution of all applicable Disputed Claims and the satisfaction
of all applicable Allowed Disputed Claims will promptly be transferred to the Liquidating Trust,
without any further notice to, action, order, or approval of the Bankruptcy Court or by any other
Entity.

               Liquidating Trust Disputed GUC Cash-Out Claims Reserve

                On or after the Effective Date, the Liquidating Trust will establish the Liquidating
Trust Disputed GUC Cash-Out Claims Reserve. On or after the Effective Date, the Liquidating
Trust will place Cash in the Liquidating Trust Disputed GUC Cash-Out Claims Reserve in trust
for the benefit of the Holders of Disputed GUC Cash-Out Claims ultimately determined to be
Allowed after the Effective Date, in an amount, as reasonably determined by the Liquidating
Trust (and with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties),
sufficient to satisfy the GUC Cash-Out for such GUC Cash-Out Claims to the extent such Claims
are Allowed after the Effective Date. The Liquidating Trust will distribute such amounts (net of
any expenses, including any Taxes relating thereto or otherwise payable by the Liquidating Trust
Disputed GUC Cash-Out Claims Reserve), as provided herein, as such Claims are resolved by a
Final Order or agreed to by settlement, and such amounts will be distributable on account of such
Claims as such amounts would have been distributable had such Claims been Allowed Claims as
of the Effective Date; provided that, to the extent the Cash held in such Liquidating Trust
Disputed GUC Cash-Out Claims Reserve is insufficient to fund the GUC Cash-Out for any GUC
Cash-Out Claim when Allowed, such GUC Cash-Out Claim will receive its Distribution in
accordance with Section 4.2.4(ii)(a) of the Plan as though it had not elected the GUC Cash-Out;
provided further that Cash remaining in the Liquidating Trust Disputed GUC Cash-Out Claims
Reserve, if any, after the resolution of all applicable Disputed GUC Cash-Out Claims and the
satisfaction of all applicable Allowed Disputed GUC Cash-Out Claims will promptly be
transferred to the Liquidating Trust, without any further notice to, action, order, or approval of
the Bankruptcy Court or by any other Entity.

               Liquidating Trust Disputed Interests Reserve

                On or after the Effective Date, the Liquidating Trust will be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Interests Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be


                                                -50-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 64 of 410



distributed pursuant to the Plan (other than NewCo Common Stock), in the same proportions and
amounts as provided for in the Plan, in the Liquidating Trust Disputed Interests Reserve in trust
for the benefit of the Holders of Disputed General Unsecured Claims (other than Disputed GUC
Cash-Out Claims), Disputed Subordinated Note Claims and Disputed Preferred Equity Interests
ultimately determined to be Allowed after the Effective Date; provided that the Liquidating Trust
will use reasonable effort to allocate sufficient property for the Liquidating Trust Disputed
Interests Reserves. The Liquidating Trust will distribute such amounts (net of any expenses,
including any Taxes relating thereto or otherwise payable by the Liquidating Trust Disputed
Interests Reserve), as provided under the Plan, as such Claims or Interests are resolved by a Final
Order or agreed to by settlement, and such amounts will be distributable on account of such
Claims or Interests as such amounts would have been distributable had such Claims or Interests
been Allowed Claims or Interests as of the Effective Date. Amounts remaining in the
Liquidating Trust Disputed Interests Reserve, if any, after the resolution of all applicable
Disputed Claims or Interests and the satisfaction of all applicable Allowed Disputed Claims and
Interests, if any, will promptly be transferred to the Liquidating Trust, without any further notice
to, action, order, or approval of the Bankruptcy Court or by any other Entity.

               NewCo Disputed Claims Reserve

                 On or after the Effective Date, the Liquidating Trust will be authorized, but not
directed, to establish one or more NewCo Disputed Claims Reserves, and such NewCo Disputed
Claims Reserves will be deemed transferred to the Liquidating Trust or entities to be formed by
the Liquidating Trust, in each case in accordance with the Restructuring Transactions
Memorandum and without any further action of NewCo, the Debtor or its subsidiaries or any of
their respective managers, employees, officers, directors, members, partners, shareholders,
agents, advisors, or representatives. After the Effective Date, the Liquidating Trust may, in its
sole discretion, hold any NewCo Common Stock to be distributed pursuant to the Plan, in the
same proportions and amounts as provided for in the Plan, in the NewCo Disputed Claims
Reserve in trust for the benefit of the Holders of Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust will use reasonable effort to allocate sufficient property for
the NewCo Disputed Claims Reserves. The Liquidating Trust will distribute such amounts (net
of any expenses, including any Taxes relating thereto or otherwise payable by the NewCo
Disputed Claims Reserve), as provided under the Plan, as such Claims are resolved by a Final
Order or agreed to by settlement, and such amounts will be distributable on account of such
Claims as such amounts would have been distributable had such Claims been Allowed Claims or
Interest as of the Effective Date. Amounts remaining in the NewCo Disputed Claims Reserve, if
any, after the resolution of all applicable Disputed Claims and the satisfaction of all applicable
Allowed Disputed Claims, if any, will promptly be transferred to NewCo, without any further
notice to, action, order, or approval of the Bankruptcy Court or by any other Entity.

               Federal Income Tax Treatment of the Liquidating Trust

               (a)     Liquidating Trust Assets Treated as Owned by Creditors

                Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt of an adverse determination by the IRS upon audit if not


                                               -51-
23-10367-mg         Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 65 of 410



contested by the Liquidating Trust Board), for all United States federal income tax purposes, all
parties (including the Debtor, the Liquidating Trust Board and the Liquidating Trust
Beneficiaries) will treat the transfer of the Liquidating Trust Assets to the Liquidating Trust as
(i) a transfer of the Liquidating Trust Assets (subject to any obligations relating to those assets)
directly to the Liquidating Trust Beneficiaries (other than to the extent Liquidating Trust Assets
are allocable to Disputed Claims or Interests, which will be treated as transferred to the
applicable Disputed Claims Reserve), followed by (ii) the transfer by such beneficiaries to the
Liquidating Trust of the Liquidating Trust Assets (other than to the extent Liquidating Trust
Assets are allocable to any Disputed Claims Reserve) in exchange for Liquidating Trust
Interests. Accordingly, the Liquidating Trust Beneficiaries will be treated for United States
federal income tax purposes as the grantors and deemed owners of their respective share of the
Liquidating Trust Assets (other than such Liquidating Trust Assets as are allocable to any
Disputed Claims Reserve, discussed below). The foregoing treatment will also apply, to the
extent permitted by applicable law, for state and local income tax purposes.

                However, there can be no assurance that the IRS or other applicable government
entities would not take a contrary position. If the IRS or other applicable government entities
were to challenge successfully the classification of the Liquidating Trust, the U.S. federal (and
applicable state and local) income tax consequences to the Liquidating Trust could vary from
those discussed herein. See Article X belowCertain U.S. Federal Income Tax Consequences of
the Plan.

               (b)      Tax Reporting

               i.       The Liquidating Trust Board will file Tax Returns for the Liquidating
                        Trust treating the Liquidating Trust as a grantor trust pursuant to Treasury
                        Regulation section 1.671-4(a) (excluding any Disputed Claims Reserve,
                        which will be reported in accordance with Section 5.13.2.iv of the Plan)
                        and in accordance with Section 5.13 of the Plan. The Liquidating Trust
                        Board also will annually send to each holder of a Liquidating Trust
                        Interest a separate statement regarding the receipts and expenditures of the
                        Liquidating Trust as relevant for U.S. federal income tax purposes and
                        will instruct all such holders to use such information in preparing their
                        U.S. federal income Tax Returns or to forward the appropriate information
                        to such holder’s underlying beneficial holders with instructions to utilize
                        such information in preparing their U.S. federal income Tax Returns. The
                        Liquidating Trust Board will also file (or cause to be filed) any other
                        statement, return or disclosure relating to the Liquidating Trust or any
                        Disputed Claims Reserve that is required by any Governmental Unit.

               ii.      As soon as reasonably practicable after Liquidating Trust Assets are
                        transferred to the Liquidating Trust, the Liquidating Trust Board will
                        make a good faith valuation of Liquidating Trust Assets, and will make all
                        such values available from time to time, to the extent relevant, and such
                        values will be used consistently by all parties to the Liquidating Trust
                        (including the Debtor, the Liquidating Trust Board and Liquidating Trust
                        Beneficiaries) for all United States federal income tax purposes.


                                                -52-
23-10367-mg     Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                      Pg 66 of 410



              iii.   Allocations of Liquidating Trust taxable income among the Liquidating
                     Trust Beneficiaries (other than to the extent such taxable income is
                     allocable to any Disputed Claims Reserve) will be determined by
                     reference to the manner in which an amount of cash representing such
                     taxable income would be distributed (were such cash permitted to be
                     distributed at such time) if, immediately prior to such deemed distribution,
                     the Liquidating Trust had distributed all its assets (valued at their tax book
                     value, other than assets allocable to any Disputed Claims Reserve) to the
                     holders of the Liquidating Trust Interests, adjusted for prior taxable
                     income and loss and taking into account all prior and concurrent
                     distributions from the Liquidating Trust. Similarly, taxable loss of the
                     Liquidating Trust will be allocated by reference to the manner in which an
                     economic loss would be borne immediately after a hypothetical liquidating
                     distribution of the remaining Liquidating Trust Assets (other than the
                     assets allocable to any Disputed Claims Reserve). The tax book value of
                     the Liquidating Trust Assets for purpose of this paragraph will equal their
                     fair market value on the Effective Date, adjusted in accordance with tax
                     accounting principles prescribed by the IRC, the applicable Treasury
                     Regulations, and other applicable administrative and judicial authorities
                     and pronouncements.

              iv.    Subject to definitive guidance from the IRS or a court of competent
                     jurisdiction to the contrary (including the receipt by the Liquidating Trust
                     Board of a private letter ruling if the Liquidating Trust Board so requests
                     one, or the receipt of an adverse determination by the IRS upon audit if
                     not contested by the Liquidating Trust Board), the Liquidating Trust
                     Board will (A) timely elect to treat any Disputed Claims Reserve as a
                     “disputed ownership fund” governed by Treasury Regulation section
                     1.468B-9, and (B) to the extent permitted by applicable law, report
                     consistently with the foregoing for state and local income tax purposes.
                     All parties (including the Liquidating Trust Board, the Debtor, and the
                     Liquidating Trust Beneficiaries) will report for United States federal, state
                     and local income tax purposes consistently with the foregoing.

              v.     The Liquidating Trust Board will be responsible for payment, out of the
                     Liquidating Trust Assets, of any Taxes imposed on the trust or its assets,
                     including any Disputed Claims Reserve; provided that, any Disputed
                     Claims Reserve will bear all Taxes allocable to such Disputed Claims
                     Reserve. In the event, and to the extent, any Cash retained on account of
                     Disputed Claims or Interests in any Disputed Claims Reserve is
                     insufficient to pay the portion of any such Taxes attributable to the taxable
                     income arising from the assets allocable to, or retained on account of,
                     Disputed Claims or Interests (including any income that may arise upon
                     the distribution of the assets of any Disputed Claims Reserve), such Taxes
                     may be (i) reimbursed from any subsequent Cash amounts retained on
                     account of such Disputed Claims or Interests, (ii) paid with the proceeds
                     from a sale of the assets of the applicable Disputed Claims Reserve or


                                              -53-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 67 of 410



                       (iii) to the extent such Disputed Claims or Interests have subsequently
                       been resolved, deducted from any amounts otherwise distributable by the
                       Liquidating Trust Board as a result of the resolution of such Disputed
                       Claims or Interests.

               vi.     The Liquidating Trust Board may request an expedited determination of
                       Taxes of the Liquidating Trust, any Disputed Claims Reserve, or the
                       Debtor under section 505(b) of the Bankruptcy Code for all Tax Returns
                       filed for, or on behalf of, the Liquidating Trust for all taxable periods
                       through the dissolution of the Liquidating Trust.

               (c)     Tax Withholdings by Liquidating Trust Board

                 The Liquidating Trust Board may withhold and pay to the appropriate Tax
Authority all amounts required to be withheld pursuant to the IRC or any provision of any
foreign, state or local tax law with respect to any payment or distribution to the holders of
Liquidating Trust Interests. All such amounts withheld and paid to the appropriate Tax
Authority (or placed in escrow pending resolution of the need to withhold) will be treated as
amounts distributed to such holders of Liquidating Trust Interests for all purposes of the
Liquidating Trust Agreement; provided that any amount placed in escrow pending resolution of
the need to withhold that is deemed to exceed the amount required to be withheld will be
distributed to the applicable holders of Liquidating Trust Interests as soon as reasonably
practicable following the determination of the withholding requirement. The Liquidating Trust
Board will be authorized to collect such tax information from the holders of Liquidating Trust
Interests (including social security numbers or other tax identification numbers) as in its sole
discretion the Liquidating Trust Board deems necessary to effectuate the Plan, the Confirmation
Order, and the Liquidating Trust Agreement. In order to receive distributions under the Plan, all
holders of Liquidating Trust Interests (including holders of Allowed Senior Note Claims,
Allowed Other General Unsecured Claims, Allowed Subordinated Note Claims and Allowed
Preferred Equity Interests, who, in each case, deliver a release in accordance with the provisions
of Section 12.9 of the Plan) will be required to identify themselves to the Liquidating Trust
Board and provide tax information and the specifics of their holdings, to the extent the
Liquidating Trust Board deems appropriate in the manner and in accordance with the procedures
from time to time established by the Liquidating Trust Board for these purposes. This
identification requirement generally applies to all holders, including those who hold their
securities in street name. The Liquidating Trust Board may refuse to make a distribution to any
holder of a Liquidating Trust Interest that fails to furnish such information in a timely fashion,
and until such information is delivered, and may treat such holder’s Liquidating Trust Interests
as disputed; provided, however, that, if such information is not furnished to the Liquidating Trust
Board within six (6) months of the original request to furnish such information, no further
distributions will be made to the holder of such Liquidating Trust Interest; and, provided, further,
that, upon the delivery of such information by a holder of a Liquidating Trust Interest, the
Liquidating Trust Board will make such distribution to which the holder of the Liquidating Trust
Interest is entitled, without additional interest occasioned by such holder’s delay in providing tax
information; and, provided, further, that if the Liquidating Trust Board fails to withhold in
respect of amounts received or distributable with respect to any such holder and the Liquidating
Trust Board is later held liable for the amount of such withholding, such holder will reimburse


                                               -54-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 68 of 410



the Liquidating Trust Board for such liability (to the extent such amounts were actually
distributed to such holder).

               (d)     Dissolution

                 The Liquidating Trust Board and the Liquidating Trust will be discharged or
dissolved, as the case may be, upon the earlier to occur of (i) all of the Liquidating Trust Assets
have been distributed pursuant to the Plan and the Liquidating Trust Agreement, (ii) the
Liquidating Trust Board determines that the administration of any remaining Liquidating Trust
Assets is not likely to yield sufficient additional Liquidating Trust proceeds to justify further
pursuit and (iii) all distributions required to be made by the Liquidating Trust Board under the
Plan and the Liquidating Trust Agreement having been made; provided, however, in no event
will the Liquidating Trust be dissolved later than five (5) years from the Effective Date unless
the Bankruptcy Court, upon motion within the six-month period prior to the fifth (5th)
anniversary (or within the six-month period prior to the end of an extension period), determines
that a fixed period extension (not to exceed three (3) years, together with any prior extensions,
without a favorable private letter ruling from the IRS or an opinion of counsel satisfactory to the
Liquidating Trust Board that any further extension would not adversely affect the status of the
trust as a liquidating trust for United States federal income tax purposes) is necessary to facilitate
or complete the recovery and liquidation of the Liquidating Trust Assets. If at any time the
Liquidating Trust Board determines, in reliance upon such professionals as the Liquidating Trust
Board may retain, that the expense of administering the Liquidating Trust (and any Disputed
Claims Reserve) so as to make a final distribution to its beneficiaries is likely to exceed the value
of the assets remaining in the Liquidating Trust, the Liquidating Trust Board may apply to the
Bankruptcy Court for authority to (a) reserve any amount necessary to dissolve the Liquidating
Trust (and any Disputed Claims Reserve), (b) donate any balance to a charitable organization
(A) described in section 501(c)(3) of the IRC, (B) exempt from United States federal income tax
under section 501(a) of the IRC, (C) not a “private foundation”, as defined in section 509(a) of
the IRC, and (D) that is unrelated to the Debtor, NewCo, the Liquidating Trust and any insider of
the foregoing and (c) dissolve the Liquidating Trust (and any Disputed Claims Reserve).

               Indemnification of Liquidating Trust Board

               The Liquidating Trust Agreement will provide for the indemnification of the
Liquidating Trust Board, the individual(s) comprising the Liquidating Trust Board, the Delaware
Trustee and certain other individuals as may be set forth therein. Any indemnification claim of
the Liquidating Trust Board (and the other parties entitled to indemnification under this
subsection) will be satisfied solely from the Liquidating Trust Assets. The Liquidating Trust
may obtain, at the expense of the Liquidating Trust and with funds from the Liquidating Trust
Assets, commercially reasonable liability or other appropriate insurance with respect to the
indemnification obligations of the Liquidating Trust Board or any employees of the Liquidating
Trust.

               Exculpation Relating to the Liquidating Trust

              No Holder of a Claim or Interest or any other party in interest will have, or
otherwise pursue, any Claim or Cause of Action against the Liquidating Trust Board, the


                                                -55-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 69 of 410



Liquidating Trust, or the consultants or professionals thereof (for each of the foregoing, solely in
the performance of their duties) for making payments and distributions in accordance with the
Plan and the Liquidating Trust Agreement or for fulfilling any functions incidental to
implementing the provisions of the Plan or the Liquidating Trust Agreement, except for any acts
or omissions that are the result of fraud, gross negligence or willful misconduct.

               Abandonment of Liquidating Trust Assets

              Subject to the Liquidating Trust Agreement, after the Effective Date, the
Liquidating Trust Board may abandon any Liquidating Trust Assets which the Liquidating Trust
Board determines in its reasonable discretion to be of de minimis value or burdensome to the
Liquidating Trust.

C.     Implementation of the Plan

               Operations Between the Confirmation Date and Effective Date

               During the period from the Confirmation Date through and until the Effective
Date the Debtor may continue to operate its businesses as debtor-in-possession in the ordinary
course in a manner consistent with past practice in all material respects, and as otherwise
necessary to consummate the Plan, subject to the terms and conditions of the RSA and all
applicable orders of the Bankruptcy Court and the consent rights set forth in the RSA, the Plan
and any other Definitive Documents.

               Sources of Cash for Plan Distributions

               Cash payments or cash distributions to be made hereunder on the Effective Date
will be funded from the existing Cash of the Debtor and the Cash proceeds of a NewCo
Transaction, as applicable.

               NewCo Transaction

                If at any time prior to the Effective Date, the Debtor determines in good faith and
consistent with its fiduciary duties (and with the consent of the UCC and the Required Ad Hoc
Senior Noteholder Parties) that a sale, private placement or rights offering of some or all of the
assets or equity of NewCo to one or more third parties, including through a Plan Sponsor
Transaction, pursuant to sections 1129 and 363 of the Bankruptcy Code (any such transaction, a
“NewCo Transaction”), will maximize the value of NewCo and is in the best interests of the
Estate, such NewCo Transaction will be consummated pursuant to the Plan, subject to approval
by the Bankruptcy Court pursuant to the Confirmation Order or another order of the Bankruptcy
Court; provided that the Debtor may only enter into a NewCo Transaction that results in the
Debtor receiving proceeds from such NewCo Transaction with a value no less than the value
attributed by the Plan to the NewCo equity or assets that are subject to such NewCo Transaction.

               Following Confirmation, without further order or approval of the Bankruptcy
Court and subject to any applicable consent rights set forth in the Restructuring Support
Agreement, the Debtor may in good faith make modifications to the Plan to maximize the value
of all or some of the assets or equity of NewCo in connection with a NewCo Transaction (if


                                                -56-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 70 of 410



any); provided that such modifications do not materially and adversely affect the treatment of
Holders of Claims or Interests and are otherwise permitted under section 1127(b) of the
Bankruptcy Code.

               Exemption from Registration

               The Debtor believes that, subject to certain exceptions described below, various
provisions of the Securities Act, the Bankruptcy Code and applicable state securities laws (“Blue
Sky Laws”) exempt from federal and state securities registration requirements (i) the offering,
issuance, exchange, distribution or sale of securities pursuant to the Definitive Documents and
(ii) subsequent transfers of such securities.

               The Liquidating Trust Interests to be distributed to the Liquidating Trust
Beneficiaries pursuant to the Plan will be transferrable as set forth in the Liquidating Trust
Agreement. The Liquidating Trust Interests will not be listed on any national exchange and will
have the consent and voting rights provided in the Liquidating Trust Agreement. The
Liquidating Trust and the Liquidating Trust Board will not take any steps to facilitate the
development of a trading market in the Liquidating Trust Interests.

               (a)     Section 1145

              Except with respect to any Person that is an underwriter as defined in
section 1145(b) of the Bankruptcy Code, the issuance of the Liquidating Trust Interests to
Liquidating Trust Beneficiaries under the Plan and the issuance of NewCo Common Stock to
Holders of Allowed General Unsecured Claims under the Plan will be exempt from registration
under Section 5 of the Securities Act (and any applicable Blue Sky Laws) under
section 1145(a)(1) of the Bankruptcy Code.

                 Section 1145(a)(1) of the Bankruptcy Code exempts the issuance, offer, sale, and
distribution of securities under a plan of reorganization from registration under section 5 of the
Securities Act and state or local securities laws if the following three principal requirements are
satisfied: (a) the securities must be offered and sold under a plan of reorganization and must be
securities of the debtor, of an affiliate participating in a joint plan with the debtor, or of a
successor to the debtor under the plan; (b) the recipients of the securities must hold prepetition or
administrative expense claims against the debtor or interests in the debtor; and (c) the securities
must be issued entirely in exchange for the recipient’s claim against or interest in the debtor, or
principally in exchange for such claim or interest and partly for cash or property.

                 The issuance and distribution of the NewCo Common Stock and the Liquidating
Trust Interests satisfies the requirements of section 1145 of the Bankruptcy Code and, therefore,
such issuance and distribution are exempt from registration under the Securities Act and any
state or local law requiring registration. To the extent any “offer or sale” of NewCo Common
Stock may be deemed to have occurred, such offer or sale is made under the Plan and in
exchange for Claims against the Debtor, or principally in exchange for such Claims and partly
for cash or property, within the meaning of section 1145(a)(1) of the Bankruptcy Code. The
availability of the exemptions under section 1145 of the Bankruptcy Code or any other
applicable securities laws will not be a condition to occurrence of the Effective Date of the Plan.



                                                -57-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 71 of 410



To the extent section 1145 of the Bankruptcy Code is applicable, the securities to be issued under
the Plan (a) are not “restricted securities” as defined in Rule 144(a)(3) under the Securities Act,
and (b) in general are freely tradable and transferable by any initial recipient thereof that (i) is
not an “affiliate” of the Debtor as defined in Rule 144(a)(1) under the Securities Act, (ii) has not
been such an “affiliate” within 90 days of such transfer, and (iii) is not an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code relating to the definition of
an underwriter in section 2(a)(11) of the Securities Act. In addition, securities governed by
section 1145 of the Bankruptcy Code generally may be able to be resold without registration
under applicable Blue Sky Laws pursuant to various exemptions provided by the respective Blue
Sky Laws of the various states; however, the availability of such exemptions cannot be known
unless individual states’ Blue Sky Laws are examined, and recipients of securities are advised to
consult with their own legal advisors as to the availability of any such exemption from
registration in any given instance.

                Notwithstanding the foregoing, any securities or instruments issued under the
Plan in reliance on section 1145(a) of the Bankruptcy Code remain subject to: (x) compliance
with any rules and regulations of the SEC, if any, applicable at the time of any future transfer of
such securities or instruments; (y) the restrictions in the applicable NewCo Organizational
Documents and the Liquidating Trust Agreement, as applicable, on the transferability of such
securities and instruments and (z) any other applicable regulatory approval. Specifically, in an
attempt to minimize the likelihood of an additional ownership change occurring after the
Effective Date, the charter of NewCo will contain a restriction limiting the accumulation (and
disposition) of shares by persons (and certain groups of persons acting in concert) owning
(actually or constructively), or who would own (immediately before or after such acquisition),
4.99 percent of any class of stock of NewCo (with certain adjustments), and requiring approval
of NewCo’s Board for any such transfers.

               (b)     [Section 4(a)(2)]

                [To the extent securities are issued pursuant to the Plan or the other Definitive
Documents in reliance on section 4(a)(2) of the Securities Act (“Section 4(a)(2)”), the offering,
issuance, exchange, or distribution of such securities pursuant to the Plan or the other Definitive
Documents will be conducted in a manner that is exempt from, among other things, the
registration requirements of section 5 of the Securities Act. Section 4(a)(2) exempts from
section 5’s registration requirements transactions not involving a public offering, and Regulation
D under the Securities Act (“Regulation D”) provides a safe harbor under Section 4(a)(2) for
transactions that meet certain requirements, including that the investors participating therein
qualify as “accredited investors” within the meaning of Rule 501 under Regulation D
(“Accredited Investors”). Such offering, issuance, exchange or distribution will be structured to
be available only to Holders who certify that they are Accredited Investors and who submit
documentation allowing verification of their status as Accredited Investors. Any such securities
will be “restricted securities” as defined in Rule 144(a)(3) under the Securities Act and will only
be transferable if registered under the Securities Act or if transferred pursuant to an exemption
from the registration requirements of the Securities Act and other applicable securities laws.]




                                                -58-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 72 of 410



               (c)    DTC

                Should NewCo and/or the Liquidating Trust elect on or after the Effective Date to
reflect any ownership of the NewCo Common Stock or the Liquidating Trust Interests, as
applicable, through the facilities of DTC, such Entity need not provide any further evidence other
than the Plan or the Confirmation Order with respect to the treatment of transfers, exercise,
removal of restrictions, or conversion of NewCo Common Stock or the Liquidating Trust
Interests, as applicable, under applicable U.S. federal, state or local securities laws.

               DTC will be required to accept and conclusively rely upon the Plan and
Confirmation Order in lieu of a legal opinion regarding whether the NewCo Common Stock or
the Liquidating Trust Interests, as applicable, are exempt from registration and/or eligible for
DTC book-entry delivery, settlement and depository services.

               Notwithstanding anything to the contrary in the Plan, no Entity (including, for the
avoidance of doubt, DTC) may require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including, for the avoidance of doubt, whether the NewCo Common
Stock or the Liquidating Trust Interests, as applicable, are exempt from registration and/or
eligible for DTC book-entry delivery, settlement and depository services.

               NewCo Common Stock

                On the Effective Date, NewCo will issue 100% of the NewCo Common Stock to
Holders of Allowed General Unsecured Claims and the NewCo Disputed Claims Reserve,
subject to dilution by any NewCo Transaction.

                All of the NewCo Common Stock issued pursuant to the Plan will be duly
authorized, validly issued, fully paid, and non-assessable. Each distribution and issuance of
NewCo Common Stock under the Plan will be governed by the terms and conditions set forth in
the Plan applicable to such distribution or issuance and by the terms and conditions of the
NewCo Organizational Documents and other instruments evidencing or relating to such
distribution or issuance, as applicable, which terms and conditions will bind each Entity
receiving such distribution or issuance. For the avoidance of doubt, the acceptance of NewCo
Common Stock by any Holder of any Claim or Interest will be deemed as such Holder’s
agreement to the NewCo Organizational Documents, as may be amended or modified from time
to time following the Effective Date in accordance with their terms.

                To the extent practicable, as determined in good faith by the Debtor and the
Required Ad Hoc Senior Noteholder Parties, NewCo will: (a) emerge from this Chapter 11 Case
as a non-publicly reporting company on the Effective Date and not be subject to SEC reporting
requirements under Sections 12 or 15 of the Exchange Act, or otherwise; (b) not be voluntarily
subjected to any reporting requirements promulgated by the SEC; except, in each case, as
otherwise may be required pursuant to the applicable organizational documents or applicable
law; (c) not be required to list the NewCo Common Stock on a U.S. stock exchange; (d) timely
file or otherwise provide all required filings and documentation to allow for the termination
and/or suspension of registration with respect to SEC reporting requirements under the Exchange
Act prior to the Effective Date; and, (e) to the extent requested by the Required Ad Hoc Senior



                                               -59-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02     Main Document
                                               Pg 73 of 410



Noteholder Parties, make good faith efforts to ensure DTC eligibility of securities issued by
NewCo in connection with the Plan (other than any securities required by the terms of any
agreement to be held on the books of an agent and not in DTC).

                  (a)       NewCo Common Stock Cash-Out

               As set forth in the Plan, certain Holders of Senior Note Claims and Other General
Unsecured Claims that are Non-Qualified Holders will be entitled to receive, in lieu of NewCo
Common Stock, Cash Distributions in an amount equal to the value of the NewCo Common
Stock such Holders would be entitled to if such Holder were a Qualified Holder; provided that
any such Non-Qualified Holder must provide a certification of its status as a Non-Qualified
Holder in order to receive any such Distribution.

                  (b)       NewCo Common Stock Cash-Out Certification

                Prior to the Distribution to any Holder of a Senior Note Claim or Other General
Unsecured Claim of, as applicable, (a) NewCo Common Stock or (b) Cash (not including any
Cash Distribution in connection with the GUC Cash-Out) in an amount equal to the value of the
NewCo Common Stock it would be entitled to if it were a Qualified Holder (such Distributions
described in the preceding clause (a) or (b), as applicable, a “NewCo Distribution”), such Holder
will be required to deliver to the Distribution Agent, [within 60 days] following the Distribution
Agent’s request (or such longer period as the Distribution Agent may determine in its reasonable
discretion (with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not
to be unreasonably withheld, conditioned or delayed)), a certification that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder (such request, the “Qualified Holder
Certification Request”). If a Holder entitled to receive a NewCo Distribution fails to provide
such certification [within 60 days] of receiving the Qualified Holder Certification Request, such
Holder’s NewCo Distribution will be deemed to be an Unclaimed Distribution and such Holder’s
Claim may be canceled, discharged and forever barred in accordance with Section 10.5 of the
Plan, notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property
laws to the contrary.

               To the extent that, during the six (6) month period following the designation of
any NewCo Distribution as an Unclaimed Distribution, the Holder entitled to receive such
NewCo Distribution provides a certification to the Distribution Agent that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder, such Holder may thereafter receive its
distribution pursuant to the terms of the Plan.

                  Deemed Holders of Subordinated Note Claims

               The BP Trust I Declaration of Trust provides that BP Trust I will automatically
terminate upon the bankruptcy of SVBFG, as successor by merger to BPFH.25 Upon such
termination of BP Trust I, the terms of the BP Trust I Preferred Securities require the
administrative trustee of the trust to distribute to holders of the BP Trust I Preferred Securities
the BP Trust I Junior Subordinated Debentures having a principal amount equal to the liquidation

25
     See Section 8.1(a)(i) of the BP Trust I Declaration of Trust.



                                                         -60-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                               Pg 74 of 410



amount per security plus accumulated and unpaid distributions thereon to the date of payment,
after satisfaction of liabilities to creditors of BP Trust I as provided by applicable law.26 For
purposes of the Plan, holders of the BP Trust I Preferred Securities will be deemed to hold the
BP Trust I Junior Subordinated Debentures and thus such holders will be deemed to hold the BP
Trust I Claims.

                 The BP Trust II Declaration of Trust provides that BP Trust II will dissolve upon
the bankruptcy of SVBFG, as successor by merger to BPFH.27 Upon such dissolution of BP
Trust II, the terms of the BP Trust II Capital Securities require the institutional trustee of the trust
to distribute to holders of the BP Trust II Capital Securities the BP Trust II Junior Subordinated
Debentures on a pro rata basis, after satisfaction of liabilities to creditors of BP Trust II as
provided by applicable law.28 For purposes of the Plan, holders of the BP Trust II Capital
Securities will be deemed to hold the BP Trust II Junior Subordinated Debentures and thus such
holders will be deemed to hold the BP Trust II Claims.

                  Organizational Existence

                 Except as otherwise provided in the Plan and the Restructuring Transactions
Memorandum, the Debtor will, as a subsidiary of NewCo or as NewCo, as applicable, continue
to exist after the Effective Date as a separate legal Entity, with all the powers of a corporation or
other form of organization, as applicable, under the laws of its jurisdiction of organization and
without prejudice to any right to alter or terminate such existence (whether by merger or
otherwise) under the law of the applicable state or other jurisdiction.

                  Cancellation of Existing Interests, Existing Indebtedness and Related
                  Agreements

                On the Effective Date, except as otherwise specifically provided for in the Plan,
all rights of any Holder of Interests in the Debtor, including options or warrants to purchase
Interests, or obligating the Debtor to issue, transfer or sell Interests of the Debtor, will be
canceled.

                Upon the indefeasible payment in full in Cash of all Allowed Other Secured
Claims, or promptly thereafter, Holders of such Allowed Claims will deliver to the Debtor or,
after the Effective Date, the Liquidating Trust, any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Claim that may
reasonably be required in order to terminate any related financing statements, mortgages,
mechanic’s liens, or lis pendens, and take any and all other steps reasonably requested by the
Debtor or, after the Effective Date, the Liquidating Trust, that are necessary to cancel and/or
extinguish any Liens or security interests securing such Holder’s Claim; provided, however, that
the Debtor or the Liquidating Trust, as applicable, will be solely responsible for all costs and
expenses associated with any of the foregoing actions or requests.

26
     See Annex I, Section 3 of the BP Trust I Declaration of Trust.
27
     See Section 7.1(a)(ii) of the BP Trust II Declaration of Trust.
28
     See Annex I, Section 3 of the BP Trust II Declaration of Trust.



                                                          -61-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 75 of 410



                 On the Effective Date, except as otherwise provided in the Plan, the obligations of
the Debtor under the respective Indentures, and any certificate, share, bond, purchase right,
option, warrant, or other instrument or document, directly or indirectly, evidencing or creating
any indebtedness or obligation of the Debtor giving rise to any Claim or Interest will be
canceled, without any need for a Holder to take further action with respect thereto, and the
Debtor and the Liquidating Trust will not have any continuing obligations thereunder; provided,
that notwithstanding Confirmation or the occurrence of the Effective Date, any such agreement
that governs the rights of the Holder of an Allowed Claim or Interest will continue in effect
solely for (i) purposes of enabling such Holder to receive distributions under the Plan on account
of such Allowed Claim or Interest as provided in the Plan; and (ii) permit the Indenture Trustees
to make or assist in making, as applicable, distributions pursuant to the Plan and deduct
therefrom such reasonable compensation, fees and expenses (a) due to the Indenture Trustees, or
(b) incurred by the Indenture Trustees in making such distributions. Except as provided in the
Plan, on the Effective Date, the Indenture Trustees and their respective agents, successors and
assigns will be automatically and fully discharged of their duties and obligations associated with
the respective Indentures. The commitments and obligations of the Holders of the Senior Note
Claims and Subordinated Note Claims to extend any further or future credit or financial
accommodations to the Debtor, its subsidiaries or assigns under the Indentures, respectively, will
fully terminate and be of no further force or effect on the Effective Date.

               Additional Implementing Transactions

                On or prior to the Effective Date, the Debtor and the Liquidating Trust will, in
accordance with the RSA and subject to any applicable consent rights thereunder, enter into any
transaction and will take any actions as may be necessary or appropriate to effect the transactions
described herein, including, as applicable, the issuance of all securities, notes, instruments,
certificates and other documents required to be issued pursuant to the Plan, one or more
intercompany mergers, consolidations, amalgamations, arrangements, continuances,
restructurings, conversions, dispositions, dissolutions, entity formations, transfers, liquidations,
spinoffs, intercompany sales, purchases, or other corporate transactions, including any
restructuring transaction contemplated by the RSA, including any NewCo Transaction
(collectively, the “Restructuring Transactions”).

                The Confirmation Order will, and will be deemed to, pursuant to sections 105,
363, 1123 and 1141 of the Bankruptcy Code, authorize, among other things, all actions as may be
necessary or appropriate to effect any transaction described in, contemplated by, or necessary to
effectuate the Plan, including any NewCo Transaction.

               Section 1146 Exemption from Certain Transfer Taxes and Recording Fees

                Pursuant to, and to the fullest extent permitted by, section 1146(a) of the
Bankruptcy Code, any transfers from the Debtor to NewCo, the Liquidating Trust or to any other
Entity, pursuant to, in contemplation of, or in connection with the Plan (including any transfer
pursuant to: (i) the issuance, distribution, transfer, or exchange of any debt, equity security, or
other interest in the Debtor, the Liquidating Trust, NewCo or Affiliates of NewCo, including,
without limitation, the NewCo Common Stock and the Liquidating Trust Interests; (ii) the
creation, modification, consolidation, assumption, termination, refinancing and/or recording of


                                                -62-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 76 of 410



any mortgage, deed of trust or other security interest, or the securing of additional indebtedness
by such or other means; (iii) the making, assignment or recording of any lease or sublease; (iv)
the making, delivery or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments or
other instrument of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan) will not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate
transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax
or governmental assessment, and the appropriate state or local government officials or agents
will, and will be directed to, forgo the collection of any such tax, recordation fee or government
assessment and to accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax, recordation fee or government assessment. The
Bankruptcy Court will retain specific jurisdiction with respect to these matters.

               Effectuating Documents and Further Transactions

                The Debtor or, after the Effective Date, the Liquidating Trust and NewCo, as
applicable, may take all actions to execute, deliver, file or record such contracts, instruments,
releases and other agreements or documents, and take such actions as may be necessary or
appropriate to effectuate and implement the provisions of the Plan. The secretary and any
assistant secretary of the Debtor, NewCo or the Liquidating Trust will be authorized to certify or
attest to any of the foregoing actions.

                Prior to, on or after the Effective Date (as appropriate), all matters provided for
pursuant to the Plan that would otherwise require approval of the shareholders, directors or
members of the Debtor will be deemed to have been so approved and will be in effect prior to, on
or after the Effective Date (as appropriate), pursuant to applicable law, and without any
requirement of further action by the shareholders, directors, managers or partners of the Debtor,
or the need for any approvals, authorizations, actions or consents.

                On the Effective Date, the Liquidating Trust Agreement, any other organizational
document of the Liquidating Trust and the NewCo Organizational Documents will become
effective and deemed binding without further action from any Person or Entity (other than the
relevant consents required by under the RSA) and will be binding and enforceable upon each of
the parties thereto.

               Abandonment of SVB Stock

                 Unless otherwise agreed in writing by the UCC and the Ad Hoc Group of Senior
Noteholders, at least one day prior to the Effective Date, the Debtor will abandon all of its equity
interests in, including all of the common stock of, Silicon Valley Bank (and all entities and
arrangements that are treated as a single entity with successor(s) to Silicon Valley Bank for U.S.
federal income tax purposes) and take a corresponding worthless stock deduction for U.S. federal
income tax and all applicable state and local tax purposes pursuant to a court order permitting the
Debtor to abandon such equity interests that the Debtor will request in advance of the Effective
Date.


                                               -63-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 77 of 410



               Preservation of Retained Causes of Action

                Except as provided in the Plan, the Confirmation Order, or in any contract,
instrument, release or other agreement entered into or delivered in connection with the Plan, in
accordance with section 1123(b) of the Bankruptcy Code, the Liquidating Trust or NewCo, as
applicable, will retain and may enforce any Retained Causes of Action that the Estate may hold
against any Entity. The Liquidating Trust or NewCo, as applicable, may pursue any such
Retained Causes of Action in accordance with the Plan and the Liquidating Trust Agreement, as
applicable. The Debtor’s inclusion or failure to include or describe with sufficient specificity
any Retained Causes of Action in the Plan or in the Plan Supplement will not be deemed an
admission, denial or waiver of any Retained Causes of Action that the Debtor or the Estate may
hold. The Debtor intends to preserve all Retained Causes of Action. No preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
waiver, estoppel (judicial, equitable or otherwise) or laches will apply to the Retained Causes of
Action upon or after entry of the Confirmation Order on the Effective Date of the Plan based on
the Plan or the Confirmation Order, including any argument of waiver on account of the failure
to include or describe with sufficient specificity any Retained Causes of Action in the Plan or in
the Plan Supplement.

D.     Provisions Regarding Governance of NewCo

               Organizational Action

                On and after the Effective Date, the adoption, filing, approval, and ratification, as
necessary, of all corporate, or related actions contemplated hereby for NewCo will be deemed
authorized and approved in all respects. Without limiting the foregoing, such actions may
include: (i) the adoption of the NewCo Organizational Documents, (ii) the nomination, election,
or appointment, as the case may be, of officers, directors and managers for NewCo, (iii) the
issuance of the securities contemplated by the Plan or other Definitive Documents and (iv) the
Restructuring Transactions to be effectuated pursuant to the Plan and the RSA.

               Upon the occurrence of the Effective Date, all matters provided for in the Plan
involving the organizational structure of the Debtor or NewCo, or any corporate action required
by the Debtor or NewCo in connection with the Plan, will be deemed to have occurred in
accordance with the Restructuring Transactions Memorandum and will be in effect, without any
requirement of further action by the security holders or directors of the Debtor or NewCo or by
any other stakeholder or any other corporate action.

                On and after the Effective Date, the appropriate officers of NewCo and members
of the board of directors of NewCo are authorized and directed to issue, execute, deliver, file,
and record any and all agreements, documents, securities, deeds, bills of sale, conveyances,
releases, and instruments contemplated by the Plan in the name of and on behalf of NewCo and
to take such actions as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of the Plan.




                                                -64-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 78 of 410



               NewCo Organizational Documents

                On the Effective Date, the NewCo Organizational Documents will be adopted
automatically by NewCo and its subsidiaries. On or promptly after the Effective Date, NewCo
and its subsidiaries may file their respective NewCo Organizational Documents and other
applicable agreements with the applicable Secretaries of State or other applicable authorities in
their respective states, provinces, or countries of incorporation or formation in accordance with
the corporate laws of the respective states, provinces, or countries of incorporation or formation.

                 After the Effective Date, NewCo and each of its subsidiaries may amend and
restate its limited liability company agreement, certificate of incorporation, limited partnership
agreement, and other formation and constituent documents as permitted by the laws of its
respective jurisdiction of formation and the terms of the NewCo Organizational Documents, as
applicable.

                In addition, from and after the Effective Date, the NewCo Organizational
Documents will contain certain transfer restrictions in relation to the transfer of NewCo
Common Stock. Specifically, the NewCo Organizational Documents will provide that, without
the approval of the NewCo Board, (i) no Person will be permitted to acquire, whether directly or
indirectly, and whether in one transaction or a series of transactions, NewCo Common Stock, to
the extent that after giving effect to such purported acquisition the purported acquirer or any
other Person by reason of the purported acquirer’s acquisition would become a Substantial
Holder (as defined below) of any class of stock of NewCo; (ii) no Substantial Holder may
acquire, directly or indirectly, any shares of NewCo stock without the consent of a majority of
the NewCo Board; and (iii) no Substantial Holder may dispose, directly or indirectly, of any
shares of NewCo stock without the consent of a majority of the NewCo Board. A “Substantial
Holder” is a person that owns (as determined for applicable U.S. federal income tax purposes)
4.99 percent of any class of stock of NewCo, including any instrument treated as stock for the
applicable U.S. federal income tax purposes.

               Shared Services Agreement

               Upon the Effective Date, NewCo and the Liquidating Trust may enter into a
Shared Services Agreement. The terms of the Shared Services Agreement (if any) will be
acceptable to each of the Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC.
Confirmation of the Plan will be deemed (a) approval of the Shared Services Agreement (if any),
and (b) authorization for NewCo and the Liquidating Trust to enter into and perform under the
Shared Services Agreement (if any).

               Directors and Officers of NewCo

              On the Effective Date, the management, control and operation of NewCo will
become the general responsibility of the board of directors of NewCo or such other governing
body as provided in the NewCo Organizational Documents.

               On the Effective Date, the term of the Current Directors and other governing
bodies of the Debtor will be deemed to have resigned, such Current Directors will cease to hold
office or have any authority from or after such time, in each case without further notice to or


                                                -65-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                         Pg 79 of 410



order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization, or approval of any Person or Entity, and such Current Directors will
be replaced by the NewCo Board (or, if the reorganized Debtor is not governed by a board, will
be governed and managed as set forth in its applicable NewCo Organizational Documents).

              The classification and composition of the NewCo Board will be consistent with
applicable non-bankruptcy law and the terms of the NewCo Organizational Documents. In the
Plan Supplement, to the extent known, the Debtor will disclose, pursuant to section 1129(a)(5) of
the Bankruptcy Code, the identity and affiliations of the Persons proposed to serve on the
NewCo Board. The NewCo Board members will serve from and after the Effective Date in
accordance with applicable non-bankruptcy law and the terms of the NewCo Organizational
Documents.

                 Notwithstanding anything to the contrary contained in the Plan, confirmation of
the Plan will not discharge, impair or otherwise modify any advancement, indemnity or other
obligations arising under the D&O Insurance Policies. In addition, after the Effective Date,
neither the Liquidating Trust nor NewCo will terminate all or any portion of the coverage under
the D&O Insurance Policies with respect to conduct occurring prior to the Effective Date, and
subject to and in accordance in all respects with the terms of the D&O Liability Insurance
Policies, all directors and officers of the Debtor who served in such capacity at any time prior to
the Effective Date will be entitled from the insurers to the full benefits of any such D&O
Liability Insurance Policy, if any, including any prepaid extended reporting period, regardless of
whether such directors and officers remain in such positions after the Effective Date.

               As of the Effective Date, NewCo will be authorized to procure and maintain
directors’ and officers’ liability insurance policies for the benefit of its directors, officers,
members, trustees and managers in the ordinary course of business.

E.     Executory Contracts and Unexpired Leases

               Assumption and Rejection of Executory Contracts and Unexpired Leases

                Except as otherwise provided herein, all Executory Contracts and Unexpired
Leases will be deemed automatically rejected as of the Effective Date in accordance with
sections 365 and 1123 of the Bankruptcy Code, other than (a) Executory Contracts or Unexpired
Leases that, as of the Effective Date, are the subject of a pending motion to assume, or for which
a notice of assumption has been filed pursuant to the assumption and assignment procedures
approved by the Bankruptcy Court, (b) any Executory Contract or Unexpired Leases listed in the
Schedule of Assumed Executory Contracts and Unexpired Leases, or (c) have been previously
assumed, assumed and assigned or rejected by the Debtor.

               Entry of the Confirmation Order by the Bankruptcy Court will constitute an order
approving the assumptions, assumption and assignment, or rejections, as applicable, of such
Executory Contracts and Unexpired Leases as set forth in the Plan, all pursuant to sections
365(a) and 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

             Executory Contracts and Unexpired Leases assumed pursuant to the Plan or by
Bankruptcy Court order will revest in and be fully enforceable by NewCo or the Liquidating


                                                 -66-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 80 of 410



Trust in accordance with their terms, except as such terms may have been modified by the
Debtor and the applicable counterparty, or by order of the Bankruptcy Court. To the maximum
extent permitted by Law, the transactions contemplated by the Plan will not constitute a “change
of control” or “assignment” (or terms with similar effect) under any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan, or any other
transaction, event, or matter that would (a) result in a violation, breach or default under such
Executory Contract or Unexpired Lease, (b) increase, accelerate or otherwise alter any
obligations, rights or liabilities of the Debtor, the Liquidating Trust or NewCo, as applicable,
under such Executory Contract or Unexpired Lease, or (c) result in the creation or imposition of
a Lien upon any property or asset of the Debtor, the Liquidating Trust or NewCo, as applicable,
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance
notice required under such Executory Contract or Unexpired Lease in connection with
assumption or assumption and assignment thereof will be deemed satisfied by Confirmation.
Any provision of any Executory Contract or Unexpired Lease assumed or assumed and assigned
pursuant to the Plan that requires (i) the consent or approval of one or more lessors or other
parties, or (ii) the payment of any fees or obligations, in order for the Debtor to pledge, grant,
sell, assign, or otherwise transfer any such Executory Contract or Unexpired Lease, or the
proceeds thereof, or other collateral related thereto, will be deemed to be inconsistent with the
applicable provisions of the Bankruptcy Code. Any such provisions of any such Executory
Contracts or Unexpired Leases will have no force and effect with respect to the pledge, grant,
sale, assignment, or other transfer thereof, or the proceeds thereof, or other collateral related
thereto, in accordance with the terms of the Plan.

               In connection with the transfer and vesting of any Debtor’s investments assets in
the Liquidating Trust or NewCo, any related investment agreements, including shareholder and
lockup agreements, will be deemed assumed and assigned to the applicable transferee and
deemed listed as an Executory Contract on the Schedule of Assumed Executory Contracts and
Unexpired Leases.

               The Debtor or the Liquidating Trust, as applicable, reserves the right to alter,
amend, modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired
Leases, including to add or remove any Executory Contracts and Unexpired Leases, at any time
up to and including forty-five (45) days after the Effective Date upon notice to the affected
counterparty.

               Objections to and Cure of Defaults for Assumed Executory Contracts and
               Unexpired Leases

                 To the extent a monetary default exists under an Executory Contract or Unexpired
Lease proposed to be assumed or assumed and assigned pursuant to the Plan, such monetary
default will be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of
the applicable Cure Cost by the Debtor, NewCo or the Liquidating Trust, as applicable, on the
Effective Date or promptly thereafter, in the ordinary course of business, or on such other terms
as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

               Objections to the assumption of any Executory Contract or Unexpired Lease or
any applicable Cure Cost will be made in accordance with the Solicitation Procedures Order.


                                               -67-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 81 of 410



                Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan
or otherwise will result in the full release and satisfaction of any Claims held by the non-Debtor
Entity party thereto against, or defaults, including bankruptcy-related defaults, by, the Debtor
arising under any assumed Executory Contract or Unexpired Lease at any time prior to the
effective date of the assumption; provided, however, that the counterparty to such Executory
Contract or Unexpired Lease may seek additional amount(s) on account of any defaults
occurring between the filing of the notice of assumption and the occurrence of the Effective Date
of the Plan.

                Any Proofs of Claim filed with respect to an Executory Contract or Unexpired
Lease that has been assumed will be deemed disallowed and expunged, without further notice to
or action, order, or approval of the Bankruptcy Court.

               Modifications, Amendments, Supplements, Restatements or Other
               Agreements

                Unless otherwise provided in the Plan, each Executory Contract or Unexpired
Lease that is assumed, assumed and assigned, or rejected will include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, including easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal and any other interests, unless any of the
foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

              Modifications, amendments, supplements, and restatements to prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtor during the
Chapter 11 Case will not be deemed to alter the prepetition nature of the Executory Contract or
Unexpired Lease, or the validity, priority or amount of any Claims or Interests that may arise in
connection therewith.

               Reservation of Rights

                Nothing contained in the Plan, nor the Debtor’s delivery of a notice of proposed
assumption of a contract or lease to the applicable contract and lease counterparties, will
constitute an admission by the Debtor that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any Debtor, NewCo or the Liquidating Trust would have
any liability thereunder.

               Notwithstanding any non-bankruptcy law to the contrary, the Debtor, NewCo or
the Liquidating Trust expressly reserves and does not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations on goods previously purchased, or services previously received, by the Debtor from
counterparties to rejected Executory Contracts or Unexpired Leases.




                                                 -68-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 82 of 410



F.     Provisions Governing Distributions

               Distribution Agents

                 The Debtor, in its reasonable discretion (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed), or, after the Effective Date, the Liquidating Trust (and, with respect to the distribution
of NewCo Common Stock, NewCo), in their respective sole discretion, will have the authority,
to enter into agreements with one or more Distribution Agents to facilitate the distributions
required hereunder. To the extent the Debtor or the Liquidating Trust, as applicable, determines
to utilize a Distribution Agent to facilitate any distributions, such Distribution Agent would first
be required to: (i) affirm its obligation to facilitate the prompt distribution of any documents,
(ii) affirm its obligation to facilitate the prompt distribution of any recoveries or distributions
required under the Plan and (iii) waive any right or ability to set off, deduct from or assert any
Lien or other encumbrance against the distributions required under the Plan to be distributed by
such Distribution Agent.

                Notwithstanding any provision in the Plan to the contrary, distributions to the
Holders of Senior Note Claims and Subordinated Note Claims will be made to or at the direction
of the respective Indenture Trustees, which will act as Distribution Agent (or direct the
Distribution Agent) for distributions to the Holders of Senior Note Claims and Subordinated
Note Claims, respectively, in accordance with the Plan and the applicable Indentures.

                The Debtor or the Liquidating Trust, as applicable, may pay to the Distribution
Agents all of their reasonable and documented fees and expenses without the need for any
approvals, authorizations, actions or consents of the Bankruptcy Court or otherwise. At the
request of counsel to the Debtor or the Liquidating Trust, as applicable, Distribution Agents will
submit detailed invoices to counsel to the Debtor or the Liquidating Trust for all fees and
expenses for which the Distribution Agents seek reimbursement, and the Debtor or the
Liquidating Trust, as applicable, will pay those amounts that it, in its sole discretion, deems
reasonable, and will object in writing to those fees and expenses, if any, that the Debtor or the
Liquidating Trust, as applicable, deem to be unreasonable. In the event that the Debtor or the
Liquidating Trust, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Distribution Agent’s invoice, the Debtor or the Liquidating Trust, as applicable,
and such Distribution Agent will endeavor, in good faith, to reach mutual agreement on the
amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtor or the Liquidating Trust, as applicable, and a Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party will be authorized to move to have
such dispute heard by the Bankruptcy Court.

               (a)     Powers of the Distribution Agent

                 The Distribution Agent will be empowered to: (i) effect all actions and execute
all agreements, instruments and other documents necessary to perform its duties under the Plan,
(ii) make all distributions contemplated hereby, (iii) employ professionals to represent it with
respect to its responsibilities and (iv) exercise such other powers as may be vested in the




                                                -69-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 83 of 410



Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Distribution Agent to be necessary and proper to implement the provisions hereof.

               Timing and Delivery of Distributions

               (a)     Timing

               Except as otherwise expressly provided herein, distributions to be made under the
Plan will be made on (i) the later of (a) the Effective Date and (b) the date that a Claim or
Interest becomes an Allowed Claim or Interest, or (ii) such other date that is determined by the
Debtor (with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to
be unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust, in accordance with the Plan. The Liquidating Trust may commence distributions to
beneficiaries of the Estate at any time after the Effective Date, subject to the terms of the Plan,
the Liquidating Trust Agreement and the Confirmation Order.

               (b)     De Minimis Distributions

                Notwithstanding any other provision of the Plan, none of the Debtor, the
Liquidating Trust or any Distribution Agent will have any obligation to make any distributions
under the Plan with a value of less than $50, unless a written request therefor is received by the
Distribution Agent from the relevant recipient within 120 days after the later of (i) the Effective
Date and (ii) the date such Claim or Interest becomes an Allowed Claim or Interest. Such
undistributed amounts will revert to the Debtor or the Liquidating Trust, as applicable. Upon
such reversion, the relevant Allowed Claim or Interest of less than $50 (and any Claim or
Interest on account of such de minimis distributions) will be automatically deemed satisfied,
discharged, and forever barred, notwithstanding any federal or state escheat laws to the contrary.
For the avoidance of doubt, Section 10.2.2 of the Plan will not apply to Distributions to any
Holder of an Allowed General Unsecured Claim who timely elects to receive the GUC Cash-Out
option.

               (c)     Record Date and Delivery of Distributions

                 Distributions will only be made to the record holders of Allowed Claims and
Interests as of the Confirmation Date (the “Distribution Record Date”). On the Confirmation
Date, the Claims Register and Stock Register will be closed and the Distribution Agent will be
authorized and entitled to recognize only those Holders of Claims and Interests listed on the
Claims Register and Stock Register as of the close of business on the Confirmation Date.
Notwithstanding the foregoing, if a Claim or Interest is transferred twenty (20) or fewer days
before the Confirmation Date, the Distribution Agent, at the direction of the Debtor or, after the
Effective Date, the Liquidating Trust, will make distributions to the transferee (rather than the
transferor) only to the extent practical, and, in any event, only if the relevant transfer form
contains an unconditional and explicit certification and waiver of any objection to the transfer by
the transferor. The Distribution Record Date will not apply to publicly held securities deposited
with DTC and, in connection with any Distribution under the Plan to be effected through the
facilities of DTC (whether by means of book-entry exchange, free delivery, or otherwise), the
Debtor, NewCo or the Liquidating Trust, as applicable, will be entitled to recognize and deal for



                                               -70-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 84 of 410



all purposes under the Plan with Holders of Claims and Interests in each Class to the extent
consistent with the customary practices of DTC used in connection with such distributions.

                 If any dispute arises as to the identity of a Holder of an Allowed Claim or Interest
that is entitled to receive a distribution pursuant to the Plan, the Distribution Agent may, in lieu
of making such distribution to such Entity, make the distribution into an escrow account until the
disposition thereof is determined by Final Order or by written agreement among the interested
parties to such dispute. Distributions made after the Confirmation Date to Holders of Disputed
Claims or Interests that are not Allowed Claims or Interests as of the Confirmation Date, but
which later become Allowed Claims or Interests, will be deemed to have been made on the
Confirmation Date.

                Except as otherwise provided herein, the Distribution Agent, at the direction of
the Debtor or the Liquidating Trust, as applicable, will make all Distributions required under the
Plan to Holders of Allowed Claims or Interests. Except as otherwise provided herein, and
notwithstanding any authority to the contrary, Distributions to Holders of Allowed Claims or
Interests will be made to Holders of record as of the Confirmation Date by the Distribution
Agent, as appropriate: (i) to the signatory set forth on any Proof of Claim filed by such Holder
or other representative identified therein (or at the last known address of such Holder if no Proof
of Claim is filed or if the Debtor, the Liquidating Trust or the Distribution Agent have been
notified in writing of a change of address) or (ii) at the address set forth in any written notice of
change of address delivered to the Notice and Claims Agent. The Distribution Agent and the
Notice and Claims Agent will not incur any liability whatsoever on account of the delivery of
any Distributions under the Plan.

               Manner of Payment Under the Plan

               (a)     Cash Payments

                At the Distribution Agent’s option, any Cash payment may be made by check,
wire transfer or any other customary payment method.

               (b)     Notes Distribution

                As applicable, the Indenture Trustees may transfer or direct the transfer of such
Distributions directly through the facilities of DTC (whether by means of book-entry exchange,
free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the
Plan with the respective Holders of such Claims to the extent consistent with the customary
practices of DTC.

                For the avoidance of doubt, DTC will be considered a single Holder with respect
to Distributions made on account of the Senior Note Claims and Subordinated Note Claims. The
Indenture Trustees will have no duties, responsibilities, or liability relating to any form of
Distribution that is not DTC eligible, provided that the Indenture Trustees will use commercially
reasonable efforts to cooperate with the Debtor, the Liquidating Trust, or NewCo, as applicable,
to the extent that a Distribution is not DTC eligible.




                                                -71-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 85 of 410



                 Notwithstanding anything to the contrary herein, such Distributions will be
subject in all respect to any rights of the Indenture Trustees to assert a charging lien against such
Distributions. All Distributions to be made to Holders of Senior Note Claims and Subordinated
Note Claims through DTC will be made eligible for Distributions through the facilities of DTC
and, for the avoidance of doubt, under no circumstances will the Indenture Trustees be
responsible for making or required to make any Distribution under the Plan to Holders of Senior
Note Claims and Subordinated Note Claims if such Distribution is not eligible to be distributed
through the facilities of DTC.

              Upon the final distribution on account of the Senior Note Claims or Subordinated
Note Claims, (i) the Senior Notes or Subordinated Notes, as applicable, will thereafter be
deemed to be worthless, and (ii) at the request of the respective Indenture Trustee, DTC will take
down the relevant position relating to the Senior Notes or Subordinated Notes, as applicable,
without any requirement of indemnification or security on the part of the Debtor, the Liquidating
Trust, NewCo, or the Indenture Trustees.

               (c)     Allocation of Plan Distributions Between Principal and Interest

                To the extent that any Claim entitled to a distribution under the Plan is based upon
any obligation or instrument that is treated for U.S. federal income tax purposes as indebtedness
of the Debtor and accrued but unpaid interest thereon, such distribution will be allocated first to
the principal amount of the Claim (as determined for federal income tax purposes) and then, to
the extent the consideration exceeds the principal amount of the Claim, to accrued but unpaid
interest.

               (d)     Compliance Matters

                In connection with the Plan, to the extent applicable, the Debtor, NewCo, the
Liquidating Trust and the Distribution Agent will comply with all Tax withholding and reporting
requirements imposed on them by any federal, state, local or foreign Tax law, and all
distributions pursuant hereto will be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Debtor, NewCo, the Liquidating
Trust and the Distribution Agent will be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including withholding in kind,
liquidating a portion of the distributions to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are
reasonable and appropriate. For purposes of the Plan, any withheld amount (or property) paid to
the applicable Tax Authority will be treated as if paid to the applicable claimant. The
Liquidating Trust reserves the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal
awards, liens and encumbrances. Distributions in full or partial satisfaction of Allowed Claims
will be allocated first to trust fund-type taxes, then to other taxes, and then to the principal
amount of Allowed Claims, with any excess allocated to unpaid interest that has accrued on such
Claims. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity
that receives a Distribution pursuant to the Plan will have responsibility for any Taxes imposed
by any Governmental Unit, including income, withholding, and other Taxes, on account of such


                                                -72-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 86 of 410



Distribution. Any party issuing any instrument or making any Distribution pursuant to the Plan
has the right, but not the obligation, not to make a Distribution until such holder has made
arrangements satisfactory to such issuing or disbursing party for payment of any such Tax
obligations and, if any party issuing any instrument or making any distribution under the Plan
fails to withhold with respect to any such holder’s distribution, and is later held liable for the
amount of such withholding, the holder will reimburse such party. The Distribution Agent may
require, as a condition to the receipt of a distribution, that the holder complete the appropriate
Form W-8 or Form W-9, as applicable to each holder. If the holder fails to comply with such a
request within one hundred and eighty (180) days after the request is made, the amount of such
Distribution will irrevocably revert to the Debtor or the Liquidating Trust and any Claim in
respect of such Distribution will be discharged and forever barred from assertion against the
Debtor, the Liquidating Trust or its respective property.

               (e)     Foreign Currency Exchange Rate

                Except as otherwise provided herein or in an order of the Bankruptcy Court, or as
agreed to by any Holder and either the Debtor (with the consent of the UCC and the Required Ad
Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or delayed) or, after
the Effective Date, the Liquidating Trust, any Claim or Interest asserted in a currency other than
U.S. dollars will be automatically deemed converted, as of the Effective Date, to the equivalent
U.S. dollar value using the exchange rate on the first Business Day prior to the Petition Date, as
quoted at 4:00 p.m. (New York time), at the mid-range spot rate of exchange for the applicable
foreign currency as published in The Wall Street Journal, National Edition, on the first Business
Day after the Petition Date; provided that instead of such automatic conversion, the Debtor may
instead elect, subject to the consent of the UCC and the Required Ad Hoc Senior Noteholder
Parties (not to be unreasonably withheld, conditioned or delayed) to make payments on account
of any such Claim or Interest pursuant to the Plan in the applicable foreign currency.

               (f)     Fractional Payments and Distributions

               Whenever the Plan would otherwise call for, with respect to a particular Entity,
payment of a fraction of a dollar, the actual payment will reflect a rounding of such fraction to
the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
Cash to be distributed under the Plan remain undistributed as a result of the aforementioned
rounding, such Cash will be treated as an Unclaimed Distribution.

               (g)     Fractional Shares or Units

                No fractional shares of NewCo Common Stock or fractional units of Liquidating
Trust Interest will be distributed under the Plan. When any distribution pursuant to the Plan on
account of an Allowed Claim or Interest would otherwise result in the issuance or delivery of a
number of shares of NewCo Common Stock or a number of units of Liquidating Trust Interest
that is not a whole number, the actual distribution of shares of NewCo Common Stock or units of
Liquidating Trust Interest will be rounded to the next lower whole number with no further
payment or other distribution therefor (i.e., no consideration will be provided in lieu of fractional
shares of NewCo Common Stock or fractional units of Liquidating Trust Interests that are
rounded down). The total number of shares of NewCo Common Stock or units of Liquidating


                                                -73-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 87 of 410



Trust Interest to be distributed to holders of Allowed Claims and Interests will be adjusted
downward as necessary to account for the rounding provided in Section 10.3.7 of the Plan. For
distribution purposes, including rounding, DTC will be treated as a single Holder.

               Undeliverable Distributions

                If any distribution is returned as undeliverable, (i) the Debtor or the Liquidating
Trust, as applicable, may, but will not be required to, make reasonable efforts to determine the
address for such Holder and (ii) no further distribution to such Holder will be made unless and
until the Liquidating Trust or the Distribution Agent is notified in writing of the then-current
address of such Holder, at which time such distribution will be made to such Holder not less than
30 days thereafter. Undeliverable distributions will remain in the possession of the Liquidating
Trust or the Distribution Agent until such time as such distribution becomes deliverable or such
distribution reverts to the Liquidating Trust, or is canceled pursuant to Section 10.5 of the Plan,
and will not be supplemented with any interest, dividends or other accruals of any kind.

               Reversion

                Any distribution under the Plan that is an Unclaimed Distribution for a period of
six months thereafter, will be deemed unclaimed property under section 347(b) of the
Bankruptcy Code, and such Unclaimed Distribution will revest in the Liquidating Trust;
provided, however, that any Unclaimed Distributions consisting of NewCo Common Stock shall,
after such six month period, promptly be transferred to NewCo, without any further notice to,
action, order or approval of the Bankruptcy Court or by any other Entity. Upon such revesting or
such transfer, the Claim or Interest of any Holder or its successors and assigns with respect to
such property will be canceled, discharged and forever barred, notwithstanding any applicable
federal or state escheat, abandoned, or unclaimed property laws to the contrary. The provisions
of the Plan regarding undeliverable distributions and Unclaimed Distributions will apply with
equal force to distributions that are issued by the Liquidating Trust, NewCo or the Distribution
Agent made pursuant to any indenture or Certificate, notwithstanding any provision in such
indenture or Certificate to the contrary and notwithstanding any otherwise applicable federal or
state escheat, abandoned or unclaimed property law.

               Claims or Interests Paid by Third Parties

               No distributions under the Plan will be made on account of an Allowed Claim that
is payable under one of the Debtor’s Insurance Policies until the Holder of such Allowed Claim
has exhausted all remedies with respect to such Insurance Policy.

               Except as otherwise provided in the Plan, payments to Holders of Claims covered
by an Insurance Policy and otherwise payable under the Plan will be made from the proceeds of
such Insurance Policy in accordance with the provisions of any such applicable Insurance Policy.
Nothing contained in the Plan will constitute or be deemed a waiver of any Cause of Action that
the Debtor or any Entity may hold against any other Entity, including Insurers, nor will anything
contained herein constitute or be deemed a waiver by such insurers of any rights or defenses,
including coverage defenses, held by Insurers.




                                               -74-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 88 of 410



                To the extent a Creditor receives a payment on account of a Claim from a party
that is not the Debtor, the Liquidating Trust, NewCo or a Distribution Agent on account of such
Claim, the Debtor or the Liquidating Trust, as applicable, will be authorized to reduce, for the
purposes of Distribution, the Allowed amount of such Claim by the amount of the third-party
payment, and such Claim will be disallowed or deemed satisfied, as applicable, to the extent of
such third-party payment without an objection having to be filed, but subject to the filing of a
notice with the Bankruptcy Court and service of such notice on any affected Creditor. Any
Creditor that receives full or partial payment on account of such Claim from an Entity that is not
the Debtor, the Liquidating Trust, NewCo or a Distribution Agent will provide notice of the date
and amount of such payment to the Debtor or, after the Effective Date, the Liquidating Trust and
NewCo within five (5) Business Days of receipt of such payment. Such Creditor will repay
and/or return to the Debtor or, after the Effective Date, the Liquidating Trust or NewCo any
Distribution received on account of the portion of its Claim that was satisfied by such third-party
payment within thirty (30) days.

               Setoffs

                Except as otherwise provided herein, a Final Order of the Bankruptcy Court, or as
agreed to by the Holder and the Liquidating Trust or NewCo, each as applicable, pursuant to the
Bankruptcy Code (including section 553 thereof), applicable non-bankruptcy law, or such terms
as may be agreed to by the Holder and the Liquidating Trust or NewCo, as applicable, the
Liquidating Trust or NewCo, as applicable, may, without any further notice to, or action, order or
approval of the Bankruptcy Court, set off against any Allowed Claim or Interest and the
distributions to be made on account of such Allowed Claim or Interest (before any distribution is
made on account of such Allowed Claim or Interest), any claim, right and Cause of Action of
any nature that the Liquidating Trust or NewCo, as applicable, may hold against the Holder of
such Allowed Claim or Interest, to the extent such claim, right or Cause of Action against such
Holder has not been otherwise compromised or settled on or prior to the Effective Date (whether
pursuant to the Plan or otherwise); provided that neither the failure to effect such a setoff nor the
allowance of any Claim or Interest pursuant to the Plan will constitute a waiver or release by the
Debtor, the Liquidating Trust or NewCo, as applicable, of any such Claims or Interests, rights
and Causes of Action that the Debtor or the Liquidating Trust may possess against or in such
Holder. In no event will any Person or Entity be entitled to set off any Claim or Interest against
any Claim or Interest, right, or Cause of Action of the Debtor, the Liquidating Trust or NewCo,
as applicable, in any judicial or administrative proceeding, unless such Person or Entity has filed
a Proof of Claim in this Chapter 11 Case preserving such setoff and a Final Order of the
Bankruptcy Court has been entered, authorizing and approving such setoff.

               No Postpetition Interest on Claims

                Unless otherwise specifically provided for in the Plan or the Confirmation Order,
required by applicable law, or agreed to by the Debtor or, after the Effective Date, the
Liquidating Trust or NewCo, as applicable, no Holder of a Claim or Interest against the Debtor
will be entitled to interest accruing on or after the Petition Date with respect to such Claim or
Interest, notwithstanding any dispute or other delay with respect to any distribution. For the
avoidance of doubt, the foregoing does not apply to any interest accretion on the Liquidating
Trust Interests provided under the Plan.


                                                -75-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 89 of 410



               No Payment Over the Full Amount; Single Satisfaction

                In no event will a Holder of a Claim or Interest receive more than the full
payment of such Claim or Interest. To the extent any Holder has received payment in full with
respect to a Claim or Interest, such Claim or Interest will be expunged without an objection to
such Claim or Interest having been filed and without any further notice to or action, order or
approval of the Bankruptcy Court.

G.     Settlement, Release, Injunction and Related Plan Provisions

               Vesting of Assets

                Except as otherwise provided in the Plan or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or in the Confirmation Order, upon the
Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all property of the
Debtor will vest in NewCo or its subsidiaries or the Liquidating Trust (or entities to be formed
by the Liquidating Trust), as applicable, in accordance with the Plan and the Restructuring
Transactions Memorandum, free and clear of all Claims, Liens, encumbrances, charges and
Interests. All Liens, Claims, encumbrances, charges and Interests will be deemed fully released
and discharged as of the Effective Date, except as otherwise provided in the Plan or the
Confirmation Order. Except as otherwise provided in the Plan or the Confirmation Order, as of
the Effective Date, each of NewCo and the Liquidating Trust may, as applicable, operate its
businesses and may use, acquire, and dispose of property and the Liquidating Trust may settle
and compromise Claims and Interests, in each case without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code, the Bankruptcy Rules,
and the Local Rules and in all respects as if there were no pending cases under any chapter or
provision of the Bankruptcy Code with respect to the Debtor.

                The transfer of information to the Liquidating Trust will not result in the
destruction or waiver of any applicable work product, attorney-client, or other applicable
privilege (the “Privileges”). Further, with respect to any Privileges: (i) Privileges are transferred
to the Liquidating Trust to the extent necessary to enable the Liquidating Trust Board to perform
its duties to administer the Liquidating Trust and for no other reason, (ii) such Privileges will be
preserved and not waived (except as the Liquidating Trust Board may affirmatively elect to
waive such Privileges), and (iii) no information subject to a Privilege will be publicly disclosed
by the Liquidating Trust or communicated to any Person not entitled to receive such information
or in a manner that would diminish the protected status of any such information, except
following a waiver of such Privilege pursuant to (ii) above or pursuant to the specific terms of
the Plan and the Confirmation Order and the Liquidating Trust Agreement.

               Compromise and Settlement of Claims and Controversies

                Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019, and in consideration for the distributions, releases and other benefits provided
pursuant to the Plan, upon the Effective Date, the provisions of the Plan will constitute a good-
faith compromise of all Claims, Interests, Causes of Action and controversies relating to the
contractual, legal and subordination rights that a Holder of an Allowed Claim or Interest may



                                                -76-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 90 of 410



have against the Debtor, or any distribution to be made on account of such an Allowed Claim or
Interest. The entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of
the compromise or settlement of all such Claims, Interests or controversies and the Bankruptcy
Court’s finding that such compromise or settlement is in the best interests of the Debtor and its
Estate and is fair, equitable and reasonable. In accordance with the provisions of the Plan,
pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019(a),
without any further notice or action, order or approval of the Bankruptcy Court, after the
Effective Date, the Liquidating Trust may compromise and settle Claims against it and Causes of
Action against other entities.

               Subordinated Claims

                 The allowance, classification and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Plan take into account, conform to, and
satisfy the relative priority and rights of the Claims and Interests in each Class in connection with
any contractual, legal and equitable subordination rights relating thereto; provided, however, that
the Debtor and the Liquidating Trust reserve the right to reclassify or modify the treatment of
any Allowed Claim or Interest in accordance with any contractual, legal, or equitable
subordination relating thereto, unless otherwise provided in a settlement agreement concerning
such Allowed Claim or Interest. For the avoidance of doubt, the Distributions to the Holders of
Subordinated Note Claims under the Plan are in settlement and compromise of any contractual,
legal and equitable subordination rights relating to such Subordinated Note Claims, and all
claims to turnover, release or payment of such Distributions are expressly waived hereby.

               Release of Liens

                 Except as otherwise provided in the Plan, or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or the Confirmation Order, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and,
in the case of a Secured Claim, indefeasible payment and satisfaction in full in cash of the
portion of the Secured Claim that is Allowed as of the Effective Date in accordance with the
Plan, all mortgages, deeds of trust, Liens, pledges or other security interests against any property
of the Estate will be fully released, settled, discharged and compromised, and all rights, titles and
interests of any holder of such mortgages, deeds of trust, Liens, pledges or other security
interests against any property of the Estate will revert to the Debtor and its successors and
assigns, in each case, without any further approval of the Bankruptcy Court and without any
action or filing being required to be made by the Debtor. The Debtor, or after the Effective Date,
the Liquidating Trust will be authorized to file any necessary or desirable documents to evidence
such release in the name of the party secured by such pre-Effective Date mortgages, deeds of
trust, Liens, pledges or other security interests. The presentation or filing of the Confirmation
Order to or with any federal, state, provincial, or local agency, records office, or department will
constitute good and sufficient evidence of, but will not be required to effect, the termination of
such Liens.




                                                -77-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 91 of 410



               Discharge

                Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan or the Restructuring Transactions Memorandum, the
Confirmation Order or in any contract, instrument, or other agreement or document created
pursuant to the Plan or the Confirmation Order, the distributions, rights, and treatments that are
provided in the Plan or the Confirmation Order will be in complete satisfaction, discharge, and
release, effective as of the Effective Date, of Claims against, Interests in, and Causes of Action
against the Debtor, NewCo and the Liquidating Trust of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or
unknown, against Liabilities of, Liens on, obligations of, rights against, and interests in, the
Debtor or any of its assets or properties, regardless of whether any property will have been
distributed or retained pursuant to the Plan and the Confirmation Order on account of such
Claims or Interests, including demands, Liabilities and Causes of Action that arose before the
Effective Date, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in
sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case, whether or not (1) a
Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of
the Bankruptcy Code, (2) a Claim or Interest based upon such debt, right, or Interest is Allowed
pursuant to section 502 of the Bankruptcy Code, or (3) the Holder of such a Claim or Interest has
accepted the Plan. Any default or “event of default” by the Debtor or Affiliates with respect to
any Claim or Interest that existed immediately before or on account of the filing of the
chapter 11 cases will be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order will be a judicial determination of the discharge of all Claims against,
Causes of Action against, and Interests in the Debtor, NewCo or the Liquidating Trust, subject to
the occurrence of the Effective Date.

               Term of Injunction or Stays

               Unless otherwise provided herein, any injunction or stay arising under or entered
during the Chapter 11 Case under section 105 or 362 of the Bankruptcy Code or otherwise that is
in existence on the Confirmation Date (excluding any injunctions or stays contained in the Plan
or the Confirmation Order) will remain in full force and effect until the later of the Effective
Date and the date indicated in the order providing for such injunction or stay. All injunctions or
stays contained in the Plan or the Confirmation Order will remain in full force and effect in
accordance with their terms.

               Release by the Debtor

              For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case and the implementation of the transactions contemplated by the Plan,
on and after the Effective Date, each of the Released Parties including the Debtor Released
Parties but excluding each other Related Party of the Debtor will be conclusively,
absolutely, unconditionally, irrevocably, fully, finally, forever, and permanently released
and discharged by the Debtor, NewCo, the Liquidating Trust and the Debtor’s Estate,
including any successor and assign to the Debtor, NewCo, the Liquidating Trust or any


                                               -78-
23-10367-mg    Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                      Pg 92 of 410



Estate representative, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other Entities who may purport to assert any
Claim or Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, from all claims, obligations, rights, suits, damages, causes of action,
remedies and liabilities whatsoever, including any derivative claims, in each case asserted
or assertable on behalf of the Debtor, NewCo or the Liquidating Trust, and their respective
successors, assigns, and representatives, or that any Entity or party claiming under or
through the Debtor or its Estate, whether known or unknown, foreseen or unforeseen,
liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in law, at
equity or otherwise, whether for indemnification, tort, contract, violations of federal or
state securities laws or otherwise, including those that any of the Debtor, NewCo, the
Liquidating Trust or the Debtor’s Estate would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest or any other Entity, based on or relating to, or in any manner arising from, in
whole or in part, the Debtor, NewCo, the Liquidating Trust, the Estate, the conduct of the
businesses of the Debtor, the Chapter 11 Case, the purchase, sale or rescission of the
purchase or sale of any security of the Debtor, NewCo or the Liquidating Trust, the release
or discharge of any mortgage, lien or security interest, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
administration of Claims and Interests prior to or during the Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the RSA (and each prior version thereof), the Plan, any
plan supplement, any disclosure statement or, in each case, related agreements,
instruments or other documents, any action or omission with respect to intercompany
claims and intercompany settlements, any action or omission as an officer, director, agent,
representative, fiduciary, controlling Person, member, manager, affiliate or responsible
party, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date of the Plan, other than claims or
liabilities arising out of or relating to any act or omission of such Released Party to the
extent such act or omission is determined by a final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud, or a criminal
act. Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any obligations arising on or after the Effective Date of any party or Entity
under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the
Plan.

                Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the Debtor Releases in Section 12.7 of the
Plan, which includes by reference each of the related provisions and definitions contained
in the Plan and, further, will constitute the Bankruptcy Court’s finding that the Debtor
Release in Section 12.7 of the Plan is: (a) given in exchange for good and valuable
consideration provided by the applicable Released Parties, including the applicable
Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (b) a good-faith settlement and compromise of the Claims released
by the Debtor Release; (c) in the best interests of the Debtor and all Holders of Claims and
Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and


                                            -79-
23-10367-mg    Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                      Pg 93 of 410



opportunity for hearing; (f) a bar to the assertion by the Debtor, NewCo, the Liquidating
Trust, or the Debtor’s Estate of any claim or Cause of Action of any kind whatsoever
released pursuant to the Debtor Release; (g) essential to the Confirmation of the Plan; and
(h) a prudent exercise of the Debtor’s business judgment.

               Notwithstanding the foregoing, nothing contained in Section 12.7 of the Plan
will be deemed to release any Retained Causes of Action, including any Claims and Causes
of Action against any Debtor Related Parties other than those Debtor Related Parties
identified on Exhibit [•] to the Plan.

              Exculpation

               Upon entry of the Confirmation Order, each of the Exculpated Parties will
be deemed to have acted in “good faith” within the meaning of section 1125(e) of the
Bankruptcy Code and in compliance with the applicable provisions of the Bankruptcy
Code and in a manner consistent with the Disclosure Statement, the Plan, the Bankruptcy
Code, the Bankruptcy Rules, and all other applicable rules, laws, and regulations in
connection with all of their respective activities relating to support and consummation of
the Plan, including the negotiation, execution, delivery, and performance of the RSA and
are entitled to the protections of section 1125(e) of the Bankruptcy Code and all other
applicable protections and rights provided in the Plan. Without limiting the generality of
the foregoing, upon entry of the Confirmation Order, the Debtor and its directors, officers,
employees, attorneys, investment bankers, financial advisors, restructuring advisors and
other professional advisors, representatives and agents will be deemed to have solicited
acceptances of the Plan in good faith and in compliance with the applicable provisions of
the Bankruptcy Code, including section 1125(e) of the Bankruptcy Code and any
applicable non-bankruptcy law, rule or regulation governing the adequacy of disclosure in
connection with the solicitation.

                As of the Effective Date, to the fullest extent permissible under any
applicable laws and without affecting, expanding or limiting the releases contained in
Section 12 of the Plan, and except as otherwise provided herein, the Exculpated Parties will
neither have nor incur any liability arising on or after the Petition Date to any Entity for
any act or omission in connection with, relating to or arising out of (i) this Chapter 11
Case; (ii) the formulation, negotiation, preparation, dissemination, implementation,
administration, confirmation and/or consummation of the RSA (and each prior version
thereof), any disclosure statement, the Plan, any plan supplement, and any related
contract, instrument, release or other agreement or document created or entered into in
connection therewith (including the solicitation of votes for the Plan or other actions taken
in furtherance of confirmation or consummation of the Plan, including the issuance of any
securities under or in connection with the Plan) or in connection with any other obligations
arising under the Plan or the obligations assumed hereunder; or (iii) the settlement of
Claims or renegotiation of Executory Contracts or Unexpired Leases, other than liability
resulting from any act or omission that is determined by final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud or a criminal
act. In all respects, such Entities will be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan; provided,


                                            -80-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                       Pg 94 of 410



however, that nothing in the Plan or Confirmation Order will relieve the Exculpated
Parties from their obligations under postpetition transactions, agreements or instruments
that have not been expressly canceled by the Plan.

               Notwithstanding the foregoing, nothing contained in Section 12.8 of the Plan
will be deemed to exculpate any party from liability with respect to any Retained Causes of
Action or other Claims or Causes of Action related to actions or inactions occurring prior
to the Petition Date, including any Claims and Causes of Action against any Debtor Related
Parties other than those Debtor Related Parties identified on Exhibit [•] to the Plan.

              Voluntary Release by Holders of Claims and Interests

                 For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case, the implementation of the reorganization contemplated by the Plan,
the release of mortgages, liens and security interests on property of the Estate, and
distributions made pursuant to the Plan, on and after the Effective Date, to the fullest
extent permitted by applicable law, the Releasing Parties (regardless of whether a
Releasing Party is a Released Party), in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may
purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for,
or because of the foregoing Entities, will be deemed to conclusively, absolutely,
unconditionally, irrevocably and forever release, waive and discharge the Released Parties
of any and all claims, obligations, rights, suits, damages, causes of action, remedies and
liabilities whatsoever, including any derivative claims asserted or assertable on behalf of
the Debtor, NewCo or the Liquidating Trust and any of its or their successors, assigns, and
representatives, whether known or unknown, foreseen or unforeseen, liquidated or
unliquidated, contingent or fixed, existing or hereafter arising, in law, at equity or
otherwise, whether for indemnification, tort, contract, violations of federal or state
securities laws or otherwise, including, those that any of the Debtor, NewCo, the
Liquidating Trust or the Estate would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the holder of any Claim or Interest or
any other Person, based on or relating to, or in any manner arising from, in whole or in
part, the Debtor, NewCo, the Liquidating Trust, the Estate, the conduct of the businesses of
the Debtor, this Chapter 11 Case, the purchase, sale or rescission of the purchase or sale of
any security of the Debtor, NewCo or the Liquidating Trust, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
administration of Claims and Interests prior to or during this Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the RSA (and each prior version thereof), the Plan, any
plan supplement, any disclosure statement or, in each case, related agreements,
instruments or other documents, any action or omission with respect to intercompany
claims or intercompany settlements, any action or omission as an officer, director, agent,
representative, fiduciary, controlling Person, member, manager, affiliate or responsible
party, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date of the Plan, other than claims or
liabilities arising out of or relating to any act or omission of a Released Party to the extent


                                             -81-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                       Pg 95 of 410



such act or omission is determined by a final order in a court of competent jurisdiction to
have constituted gross negligence, willful misconduct, fraud, or a criminal act.

               Notwithstanding anything to the contrary in the foregoing, the releases set
forth above do not constitute a release by the Debtor of any of its Related Parties other
than the Debtor Released Parties nor will they release any obligations arising on or after
the Effective Date of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan as set forth in the Plan.

               Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the releases set forth in Section 12.9 of the
Plan, which includes by reference each of the related provisions and definitions contained
in the Plan, and, further, will constitute the Bankruptcy Court’s finding that the releases
set forth in Section 12.9 of the Plan is: (a) consensual; (b) essential to the Confirmation of
the Plan; (c) given in exchange for the good and valuable consideration provided by the
Released Parties, including the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing the Plan; (d) a good faith settlement and
compromise of the Claims released pursuant to Section 12.9 of the Plan; (e) in the best
interests of the Debtor and its Estate; (f) fair, equitable, and reasonable; (g) given and
made after due notice and opportunity for hearing; and (h) a bar to any of the Releasing
Parties asserting any Claim or Cause of Action of any kind whatsoever released pursuant
to Section 12.9 of the Plan.

              For the avoidance of doubt, notwithstanding anything to the contrary in
Section 12.9 of the Plan, the releases set forth above will not release the rights of Holders of
Allowed Claims to receive the treatment of their Claims as provided in the Plan and
otherwise to enforce the terms of the Plan, all of which rights are fully preserved.

              Injunction

                Except as otherwise specifically provided in the Plan or the Confirmation
Order, all Persons or Entities who have held, hold or may hold (i) Claims or Interests that
arose prior to the Effective Date, (ii) Causes of Action that have been released pursuant to
Sections 12.7 and 12.9 of the Plan or are subject to exculpation pursuant to Section 12.8 of
the Plan (but only to the extent of the exculpation provided in Section 12.8 of the Plan), or
(iii) Claims, Interests or Causes of Action that are otherwise discharged, satisfied, stayed,
or terminated pursuant to the terms of the Plan and all other parties-in-interest seeking to
enforce such Claims, Interests or Causes of Action are permanently enjoined, from and
after the Effective Date, from (a) commencing or continuing in any manner any action or
other proceeding of any kind with respect to any such Claim (including a Section 510(b)
Claim) against or such Interest in the Debtor, NewCo or the Liquidating Trust, or property
of the Debtor, NewCo or the Liquidating Trust, other than to enforce any right to a
distribution pursuant to the Plan, (b) the enforcement, attachment, collection or recovery
by any manner or means of any judgment, award, decree or order against the Debtor,
NewCo or the Liquidating Trust or property of the Debtor, NewCo or the Liquidating
Trust with respect to any such Claim or Interest, other than to enforce any right to a


                                              -82-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                       Pg 96 of 410



distribution pursuant to the Plan, (c) creating, perfecting or enforcing any Lien or
encumbrance of any kind against the Debtor, NewCo or the Liquidating Trust, or against
the property or interests in property of the Debtor, NewCo or the Liquidating Trust with
respect to any such Claim or Interest, other than to enforce any right to a distribution
pursuant to the Plan, or (d) asserting any right of setoff (except for setoffs validly exercised
prepetition) or subrogation of any kind against any obligation due from the Debtor, NewCo
or the Liquidating Trust, or against the property or interests in property of the Debtor,
NewCo or the Liquidating Trust, with respect to any such Claim or Interest. Such
injunction will extend to any successors or assignees of the Debtor, NewCo or the
Liquidating Trust and their respective properties and interests in properties.

                With respect to claims or Causes of Action that have not been released,
discharged, or are not subject to exculpation, no Person or Entity may commence or
pursue a claim or Cause of Action of any kind against the Debtor, NewCo, the Liquidating
Trust, any Exculpated Party, or any Released Party that relates to any act or omission
occurring from the Petition Date to the Effective Date in connection with, relating to, or
arising out of, in whole or in part, the Chapter 11 Case (including the filing and
administration thereof), the Debtor, the governance, management, transactions, ownership,
or operation of the Debtor, the purchase, sale, exchange, issuance, termination, repayment,
extension, amendment, or rescission of any debt instrument or security of the Debtor,
NewCo, or the Liquidating Trust, the subject matter of, or the transactions or events giving
rise to any Claim or Interest that is treated in the Plan, the business or contractual or other
arrangements or other interactions between any Releasing Party and any Released Party
or Exculpated Party, the restructuring of any Claim or Interest before or during the
Chapter 11 Case, any other in- or out-of-court restructuring efforts of the Debtor; any
intercompany transactions, any Restructuring Transaction, the RSA, the formulation,
preparation, dissemination, negotiation, or filing of the RSA and the Definitive Documents,
or any other contract, instrument, release, or other agreement or document created or
entered into in connection with the Disclosure Statement, the Plan, or any of the other
Definitive Documents, the pursuit of Confirmation, the administration and implementation
of the Plan, including the issuance of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement (including, for the avoidance of
doubt, providing any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the
reliance by any Exculpated Party on the Plan or the Confirmation Order in lieu of such
legal opinion), without the Bankruptcy Court (a) first determining, after notice and a
hearing, that such Claim or Cause of Action represents a colorable Claim and
(b) specifically authorizing such Entity to bring such Claim or Cause of Action. To the
extent the Bankruptcy Court would have jurisdiction over such colorable Claim or Cause
of Action, the Bankruptcy Court will have sole and exclusive jurisdiction to adjudicate
such underlying Claim or Cause of Action should it permit such Claim or Cause of Action
to proceed.

              Scope of Releases

             Each Person providing releases under the Plan, including the Debtor,
NewCo, the Liquidating Trust, the Debtor’s Estate and the Releasing Parties, will be


                                              -83-
23-10367-mg     Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                      Pg 97 of 410



deemed to have granted the releases set forth in the Plan notwithstanding that such Person
may hereafter discover facts in addition to, or different from, those which it now knows or
believes to be true, and without regard to the subsequent discovery or existence of such
different or additional facts, and such Person expressly waives any and all rights that it
may have under any statute or common law principle which would limit the effect of such
releases to those claims or causes of action actually known or suspected to exist at the time
of execution of such release.

              For the avoidance of doubt, nothing herein, including the releases, waivers,
and exculpations provided in Sections 12.7–12.9 of the Plan, will constitute a release,
waiver, discharge, or limitation of any kind of (i) any Retained Causes of Action, including
any Claims or Causes of Action against Debtor Related Parties other than those Debtor
Related Parties identified on Exhibit [•] to the Plan or (ii) any rights, liabilities, or
obligations arising under the Plan or any other agreement, document or instrument
executed in connection with the Plan.

               Notwithstanding any language to the contrary contained in this Disclosure
Statement, the Plan or the Confirmation Order, no provision of the Plan will (i) preclude
the SEC from enforcing its police or regulatory powers or (ii) enjoin, limit, impair or delay
the SEC from commencing or continuing any claims, causes of action, proceeding or
investigations against any non-Debtor (other than NewCo or the Liquidating Trust) in any
forum; provided that the foregoing sentence does not (x) limit the scope of discharge
granted to the Debtor, NewCo or the Liquidating Trust under sections 524 and 1141 of the
Bankruptcy Code or (y) diminish the scope of any exculpation to which any party is
entitled under section 1125(e) of the Bankruptcy Code.

              As to any Specified Governmental Unit, nothing in the Plan or the
Confirmation Order limits or expands the scope of discharge, release or injunction to
which the Debtor, NewCo or the Liquidating Trust are entitled to under the Bankruptcy
Code, if any. The discharge, release, and injunction provisions contained in the Plan and
the Confirmation Order are not intended and should not be construed to bar any Specified
Governmental Unit from, subsequent to the entry of the Confirmation Order, pursuing any
police or regulatory action (except to the extent the applicable Bar Date bars the Specified
Governmental Unit from pursuing prepetition Claims).

                Notwithstanding anything contained in the Plan or the Confirmation Order
to the contrary, nothing in the Plan or the Confirmation Order will discharge, release,
impair or otherwise preclude: (1) any liability to any Specified Governmental Unit that is
not a “claim” within the meaning of section 101(5) of the Bankruptcy Code; (2) any Claim
of any Specified Governmental Unit arising on or after the Effective Date; (3) any valid
right of setoff or recoupment of any Specified Governmental Unit against the Debtor; or
(4) any liability of the Debtor, NewCo or the Liquidating Trust under police or regulatory
statutes or regulations to any Specified Governmental Unit as the owner, lessor, lessee or
operator of property that such Person or Entity owns, operates or leases after the
Confirmation Date. Nor will anything in the Confirmation Order or the Plan: (i) enjoin or
otherwise bar any Specified Governmental Unit from asserting or enforcing, outside the
Bankruptcy Court, any liability described in the preceding sentence; or (ii) divest any


                                            -84-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                        Pg 98 of 410



court, commission, or tribunal of jurisdiction to determine whether any liabilities asserted
by any Specified Governmental Unit are discharged or otherwise barred by the
Confirmation Order, the Plan or the Bankruptcy Code.

                Moreover, nothing in the Confirmation Order or the Plan will release or
exculpate any non-Debtor, including any Released Parties and/or Exculpated Parties but
excluding the Debtor, NewCo or the Liquidating Trust, from any liability to any Specified
Governmental Unit, including but not limited to any liabilities arising under the IRC, the
environmental laws, or the criminal laws, nor will anything in the Confirmation Order or
the Plan enjoin any Specified Governmental Unit from bringing any claim, suit, action or
other proceeding against any non-Debtor (other than NewCo or the Liquidating Trust) for
any liability whatsoever; provided that the foregoing sentence will not (x) limit the scope of
discharge granted to the Debtor, NewCo or the Liquidating Trust under sections 524 and
1141 of the Bankruptcy Code or (y) diminish the scope of any exculpation to which any
party is entitled under section 1125(e) of the Bankruptcy Code.

               Nothing contained in the Plan or the Confirmation Order will be deemed to
determine the tax liability of any Person or Entity, including but not limited to the Debtor,
NewCo or the Liquidating Trust, nor will the Plan or the Confirmation Order be deemed
to have determined the federal tax treatment of any item, distribution or entity, including
the federal tax consequences of this Plan, nor will any language in the Plan or the
Confirmation Order be deemed to expressly expand or diminish the jurisdiction of the
Bankruptcy Court to make determinations as to federal tax liability and federal tax
treatment under the Bankruptcy Code and 28 U.S.C. §§ 157, 1334.

              Preservation of Causes of Action

                Except as expressly provided in Section 12 of the Plan or the Confirmation Order,
nothing contained in the Plan or the Confirmation Order will be deemed to be a waiver or
relinquishment of any rights or Causes of Action that the Debtor, NewCo or the Liquidating
Trust may have or that the Debtor, NewCo or the Liquidating Trust, as applicable, may choose to
assert on behalf of the Estate under any provision of the Bankruptcy Code or any applicable non-
bankruptcy law, including (i) any and all Causes of Action or Claims against any Person or
Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or claim for
setoff that seeks affirmative relief against the Debtor, NewCo or the Liquidating Trust, and in
each case, its officers, directors or representatives or (ii) the turnover of any property of the
Estate to the Debtor, NewCo or the Liquidating Trust.

                No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement or the Disclosure Statement to any Cause of Action against them as any indication
that the Debtor, NewCo or the Liquidating Trust, as applicable, will not pursue any and all
available Causes of Action against them. The Debtor, NewCo or the Liquidating Trust expressly
reserves all rights to prosecute any and all Causes of Action against any Entity, except as
otherwise expressly provided herein.

               Except as set forth in Section 12 of the Plan or the Confirmation Order, nothing
contained in the Plan or the Confirmation Order will be deemed to be a waiver or relinquishment


                                              -85-
23-10367-mg         Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 99 of 410



of any rights or Causes of Action that the Debtor had immediately prior to the Petition Date or
the Effective Date against or regarding any Claim or Interest left Unimpaired by the Plan. The
Liquidating Trust will have, retain, reserve, and be entitled to assert all such rights and Causes of
Action, including any actions specifically enumerated in the Schedule of Retained Causes of
Action, as fully as if the Chapter 11 Case had not been commenced, and all of the Liquidating
Trust’s legal and equitable rights respecting any Claim or Interest left Unimpaired by the Plan
may be asserted after the Confirmation Date to the same extent as if the Chapter 11 Case had not
been commenced.

               Except as set forth in Section 12 of the Plan or the Confirmation Order, nothing
contained in the Plan or the Confirmation Order will be deemed to release any post-Effective
Date obligations of any party under the Plan, or any document, instrument or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan.

                Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised or settled in the Plan, including pursuant to Section 12 of the
Plan or a Final Order, the Liquidating Trust expressly reserves all Causes of Action for later
adjudication and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise),
or laches will apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or occurrence of the Effective Date.

H.     Conditions Precedent

               The following are conditions precedent to the occurrence of the Effective Date,
each of which must be satisfied on or prior to the Effective Date or waived in accordance with
Section 13.2 of the Plan:

               i.       The RSA shall not have been terminated, and shall remain in full force and
                        effect, and no event or occurrence shall have occurred that, with the
                        passage of time or the giving of notice, would give rise to the right of the
                        Required Ad Hoc Senior Noteholder Parties or the UCC to terminate the
                        RSA;

               ii.      All Definitive Documents for the Restructuring Transactions contemplated
                        by the RSA to be executed and delivered on or before the Effective Date
                        shall have been executed and delivered and remain in full force and effect;

               iii.     The Bankruptcy Court shall have entered the Confirmation Order which
                        shall be a Final Order;

               iv.      The Debtor shall have filed the final version of the Plan, including all of
                        the schedules, documents, and exhibits contained therein, and the Plan
                        Supplement in a manner consistent in all material respects with the RSA
                        and the Plan;

               v.       The Debtor shall have obtained all applicable authorizations, consents,
                        regulatory approvals, rulings, or documents that are necessary to


                                                 -86-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 100 of 410



                       implement and effectuate the Plan (and all applicable waiting periods have
                       expired);

               vi.     The Debtor shall have implemented the Restructuring Transactions and all
                       other transactions contemplated in the RSA (subject to, and in accordance
                       with, the consent rights set forth therein) and the Plan to be implemented
                       on or before the Effective Date;

               vii.    No governmental entity or federal or state court of competent jurisdiction
                       has enacted, issued, promulgated, enforced or entered any law or order
                       (whether temporary, preliminary or permanent), in any case which is in
                       effect and which prevents or prohibits consummation of the Plan, and no
                       governmental entity has instituted any action or proceeding (which
                       remains pending at what would otherwise be the Effective Date) seeking
                       to enjoin, restrain or otherwise prohibit consummation of the transactions
                       contemplated by the Plan;

               viii.   All Ad Hoc Noteholder Group Expenses, Senior Note Trustee Expenses
                       and Subordinated Note Trustee Expenses have been paid in full in Cash as
                       provided in the RSA;

               ix.     All professional fees and expenses of retained professionals required to be
                       approved by the Bankruptcy Court shall have been paid in full or amounts
                       sufficient to pay such fees and expenses in full after the Effective Date
                       shall have been placed in a professional fee escrow account as set forth in,
                       and in accordance with, the Plan; and

               x.      All Claims asserted by the IRS or any other Tax Authority shall have been
                       resolved in a manner acceptable to the Required Ad Hoc Senior
                       Noteholder Parties and the UCC or estimated by the Bankruptcy Court for
                       the purpose of Plan distributions at an amount acceptable to the Required
                       Ad Hoc Senior Noteholder Parties and the UCC.

                Except as set forth in the Plan and the RSA, the Debtor, with the prior written
consent (e-mail being sufficient) of the Required Ad Hoc Senior Noteholder Parties and the
UCC, may waive any of the conditions set forth in Section 13.1 of the Plan at any time, without
any notice to any other parties-in-interest or the Bankruptcy Court and without any formal action
other than proceeding to confirm and/or consummate the Plan. The failure of the Debtor to
exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
such right shall be deemed an ongoing right, which may be asserted at any time.

                                          ARTICLE V.

        STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN

                The requirements for Confirmation of the Plan pursuant to section 1129 of the
Bankruptcy Code include: (i) the Plan is accepted by all Impaired Classes of Claims or Interests,
or if rejected by an Impaired Class, the Plan “does not discriminate unfairly” and is “fair and


                                               -87-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                          Pg 101 of 410



equitable” as to the rejecting Impaired Class; (ii) the Plan is feasible; and (iii) the Plan is in the
“best interests” of Holders of Claims or Interests.

                At the Confirmation Hearing, the Bankruptcy Court will determine whether the
Plan satisfies all of the requirements of section 1129 of the Bankruptcy Code. The Debtor
believes that: (i) the Plan satisfies, or will satisfy, all of the necessary statutory requirements of
chapter 11 for plan confirmation; (ii) the Debtor has complied, or will have complied, with all of
the necessary requirements of chapter 11 for plan confirmation; and (iii) the Plan has been
proposed in good faith.

              The following is a brief summary of the process of the Confirmation of the Plan.
Holders of Claims and Interests are encouraged to review the relevant provisions of the
Bankruptcy Code and/or consult their own attorneys.

A.      The Confirmation Hearing

                Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after
notice, to hold a hearing at which the Debtor will seek confirmation of the Plan. Section 1128(b)
of the Bankruptcy Code provides that any party-in-interest may object to the Confirmation of the
Plan.

             THE CONFIRMATION HEARING IS SCHEDULED TO BE HELD ON
JUNE [25], 2024 AT [10]:00 A.M. EASTERN TIME, BEFORE THE HONORABLE
MARTIN GLENN, CHIEF UNITED STATES BANKRUPTCY JUDGE. THE
CONFIRMATION HEARING MAY BE ADJOURNED FROM TIME TO TIME BY THE
BANKRUPTCY COURT OR THE DEBTOR WITHOUT FURTHER NOTICE OTHER
THAN BY ANNOUNCEMENT IN OPEN COURT AND/OR NOTICE(S) OF
ADJOURNMENT FILED ON THE DOCKET WITH THE BANKRUPTCY COURT’S
PERMISSION.

           OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE FILED
WITH THE BANKRUPTCY COURT AND SERVED ON THE APPLICABLE PARTIES
SO AS TO BE ACTUALLY RECEIVED ON OR BEFORE 4:00 P.M. EASTERN TIME
ON JUNE [18], 2024 IN ACCORDANCE WITH THE SOLICITATION PROCEDURES
ORDER. UNLESS OBJECTIONS TO CONFIRMATION ARE TIMELY SERVED AND
FILED IN COMPLIANCE WITH THE SOLICITATION PROCEDURES ORDER,
THEY WILL NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

B.      Confirmation Standards

                To confirm the Plan, the Bankruptcy Court must find that the requirements of
section 1129 of the Bankruptcy Code have been satisfied. The Debtor believes that section 1129
has been satisfied because, among other things:

                a.      the Plan complies with the applicable provisions of the Bankruptcy Code;

                b.      the Debtor, as plan proponent, has complied with the applicable provisions
                        of the Bankruptcy Code;


                                                  -88-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 102 of 410



              c.       the Plan has been proposed in good faith and not by any means forbidden
                       by law;

              d.       any payment made or promised under the Plan for services or for costs and
                       expenses in or in connection with this Chapter 11 Case, or in connection
                       with the Plan and incident to this Chapter 11 Case, has been approved by,
                       or is subject to the approval of, the Bankruptcy Court as reasonable;

              e.       with respect to each Class of Impaired Claims or Interests, each Holder of
                       a Claim or Interest in such Class has either accepted the Plan or will
                       receive or retain under the Plan on account of such Claim or Interest
                       property of a value, as of the Effective Date of the Plan, that is not less
                       than the amount that such Holder would receive or retain if the Debtor was
                       liquidated on such date under chapter 7 of the Bankruptcy Code (see
                       Article V.CBest Interests Test);

              f.       each Class of Claims or Interests has either accepted the Plan or is not
                       Impaired under the Plan, or the Plan can be confirmed without the
                       approval of such class pursuant to section 1129(b) of the Bankruptcy
                       Code;

              g.       except to the extent that the Holder of a certain Claim under section 3.1.1
                       of the Plan has agreed or will agree to a different treatment of such Claim,
                       the Plan provides that Allowed Administrative Expense Claims will be
                       paid in full in Cash on the Effective Date;

              h.       except to the extent that a holder of an Allowed Other Priority Claim has
                       agreed to a different treatment of such Claim, each such Holder will
                       receive Cash in an amount equal to the Allowed amount of such Claim, or
                       treatment in any other manner so that such Claim will otherwise be
                       rendered Unimpaired, (a) on the Effective Date or as soon as reasonably
                       practicable thereafter; (b) if an Other Priority Claim is Allowed after the
                       Effective Date, on the date such Other Priority Claim is Allowed or as
                       soon as reasonably practicable thereafter; (c) at such time and upon such
                       terms as may be agreed upon by such Holder and the Debtor or (d) at such
                       time and upon such terms as set forth in an order of the Bankruptcy Court;

              i.       except to the extent that the applicable Holder of an Allowed Priority Tax
                       Claim has been paid by the Debtor before the Effective Date, or such
                       Holder agrees to less favorable treatment, each Holder of an Allowed
                       Priority Tax Claim will receive, on account of such Allowed Priority Tax
                       Claim, at the option of the Debtor or, after the Effective Date, the
                       Liquidating Trust (i) payment in full in Cash made (a) on or as soon as
                       reasonably practicable after the Effective Date or (b) on the date such
                       payment is due in the ordinary course of business, (ii) regular installment
                       payments in accordance with section 1129(a)(9)(C) of the Bankruptcy
                       Code, or (iii) such other amounts and in such other manner as may be


                                               -89-
23-10367-mg         Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 103 of 410



                        determined by the Bankruptcy Court to provide the Holder of such
                        Allowed Priority Tax Claim deferred Cash payments having a value, as of
                        the Effective Date, equal to such Allowed Priority Tax Claim;

               j.       at least one Class of Impaired Claims will accept the Plan, determined
                        without including any acceptance of the Plan by any insider holding a
                        Claim of that Class;

               k.       Confirmation of the Plan is not likely to be followed by the liquidation, or
                        the need for further financial reorganization, of the Debtor or any
                        successor to the Debtor under the Plan, unless such liquidation or
                        reorganization is proposed in the Plan (see Article V.DFinancial
                        Feasibility); and

               l.       all fees payable under section 1930 of title 28 of the United States Code
                        will be paid as of the Effective Date of the Plan.

C.     Best Interests Test

               Explanation of the Best Interests Test

                 Pursuant to section 1129(a)(7) of the Bankruptcy Code, Confirmation of the Plan
requires that, with respect to each Class of Impaired Claims or Interests, each Holder of a Claim
or Interest in such Class either (a) accepts the Plan or (b) receives or retains under the Plan, on
account of such Claim or Interest, property of a value, as of the Effective Date, that is not less
than the amount that such Holder would receive or retain if the Debtor was liquidated on such
date under chapter 7 of the Bankruptcy Code (this latter clause is known as the “Best Interests
Test”).

                To determine the probable distribution to Holders of Claims and Interests in each
Impaired Class if the Debtor was liquidated under chapter 7 of the Bankruptcy Code, the
Bankruptcy Court must determine the dollar amount that would be generated from the
liquidation of the Debtor’s assets and properties in the context of a chapter 7 liquidation.

                The Debtor’s chapter 7 liquidation value would consist primarily of the cash held
by the Debtor at the time of the conversion to a chapter 7 liquidation, the proceeds resulting from
the sale of the Debtor’s remaining assets and properties by a chapter 7 trustee and Causes of
Action other than those that are expressly waived, relinquished, exculpated, released,
compromised or settled. The gross cash proceeds available for distribution would be reduced by
the costs and expenses of the chapter 7 liquidation and any additional Administrative Expense
Claims that might arise as a result of the chapter 7 cases. Costs and expenses incurred as a result
of the chapter 7 liquidation would include, among other things, the fees payable to a trustee in
bankruptcy and the fees payable to attorneys and other professionals engaged by such trustee.
Additional Administrative Expense Claims could arise by reason of, among other things, the
breach or rejection of obligations incurred and leases and executory contracts assumed or entered
into by the Debtor during the pendency of the Chapter 11 Case. Such Administrative Expense
Claims and any other Administrative Expense Claims that might arise in a liquidation case or



                                                -90-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 104 of 410



result from this Chapter 11 Case, such as compensation for attorneys, financial advisors and
accountants, would be paid in full from the liquidation proceeds before the balance of those
proceeds would be made available to pay prepetition Claims.

                To determine if the Plan is in the best interests of each Impaired Class, the value
of the distributions from the proceeds of a chapter 7 liquidation of the Debtor’s assets and
properties, after subtracting the amounts attributable to the costs, expenses and Administrative
Expense Claims associated with a chapter 7 liquidation, must be compared with the value offered
to such Impaired Classes under the Plan. If the hypothetical chapter 7 liquidation distribution to
Holders of Claims or Interests in any non-consenting Impaired Class is greater than the
distributions to be received by such parties under the Plan, then the Plan is not in the best
interests of the Holders of Claims or Interests in such Impaired Class.

               The Debtor’s Liquidation Analysis

                Amounts that a Holder of Claims and Interests in Impaired Classes would receive
in a hypothetical chapter 7 liquidation are discussed in the liquidation analysis of the Debtor
prepared by the Debtor’s management with the assistance of their restructuring advisors, and
attached to this Disclosure Statement as Appendix B (the “Liquidation Analysis”).

               As described in the Liquidation Analysis, underlying this analysis is the extensive
use of estimates and assumptions that, although considered reasonable by the Debtor’s
management, are inherently subject to significant business, economic and competitive
uncertainties and contingencies beyond the Debtor’s control. The Liquidation Analysis is based
on assumptions with regard to liquidation decisions that are subject to change. Actual results
may vary materially from the estimates and projections set forth in the Liquidation Analysis.

               The Liquidation Analysis was developed solely for purposes of the formulation
and negotiation of the Plan and to enable Holders of Claims or Interests entitled to vote under the
Plan to make an informed judgment about the Plan, and should not be used or relied upon for any
other purpose, including the purchase or sale of securities of, or Claims or Interests in, the
Debtor or any of its affiliates.

                Events and circumstances subsequent to the date on which the Liquidation
Analysis was prepared may be different from those assumed, or alternatively, may have been
unanticipated, and thus the occurrence of these events may affect financial results in a materially
adverse or materially beneficial manner. The Debtor does not intend and does not undertake any
obligation to update or otherwise revise the Liquidation Analysis to reflect events or
circumstances existing or arising after the date the Liquidation Analysis is initially filed or to
reflect the occurrence of unanticipated events. Therefore, the Liquidation Analysis may not be
relied upon as a guarantee or other assurance of actual future results.

               In deciding whether to vote to accept or reject the Plan, Holders of Claims or
Interests must make their own determinations as to the reasonableness of any assumptions
underlying the Liquidation Analysis and the reliability of the Liquidation Analysis.




                                               -91-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 105 of 410



               Application of the Best Interests Test to the Liquidation Analysis of the
               Debtor

                 Notwithstanding the difficulties in quantifying with precision the recoveries to
Holders of Claims and Interests, the Debtor believes that, based on a comparison between the
recoveries under the Plan and the Liquidation Analysis, the Debtor’s proposed Plan satisfies the
requirements of the Best Interests Test. As the Plan and the Liquidation Analysis indicate,
Confirmation of the Plan will provide each Holder of an Allowed Claim or Interest in an
Impaired Class with a recovery that is equal to or greater than the value of distributions to
Holders in such Class if the Chapter 11 Case was converted to a case under chapter 7 of the
Bankruptcy Code. Under the Plan, Holders of Allowed Administrative Expense Claims, Priority
Tax Claims, Other Secured Claims and Other Priority Claims will receive payment in full on
their Claims on the Effective Date or as soon thereafter as their Claims are Allowed. Thus, all
Holders of such Claims are in the same or better position under the Plan as they would be in a
liquidation under chapter 7. Similarly, Holders of Allowed Senior Note Claims and Other
General Unsecured Claims (other than such Holders that timely elect to receive the GUC Cash-
Out) will receive a combination of Liquidating Trust Interests and NewCo Common Stock, with
an estimated recovery that exceeds the projected recovery to Holders of such Claims in a chapter
7 liquidation, as set forth in the Liquidation Analysis. Further, Holders of Allowed Subordinated
Note Claims and Preferred Equity Interests will also receive Liquidating Trust Interests under the
Plan, which will enable them to receive distributions from the Liquidating Trust after the
distribution preference (including, for the avoidance of doubt, any accretion thereto) of the Class
A Trust Units has been satisfied in full, and in the case of Holders of Allowed Preferred Equity
Interests, after the distribution preference (including, for the avoidance of doubt, any accretion
thereto) of the Class B Trust Units has also been satisfied in full. As reflected in the Liquidation
Analysis, the recovery to the Holders of such Claims and Interests is the same or better than the
recovery than it would be in a case under chapter 7. Finally, under either the Plan or in a
liquidation under chapter 7, Holders of Common Equity Interests are expected to receive no
recovery on account of their Interests, and accordingly, Holders of such Common Equity
Interests are in the same position as they would be in a case under chapter 7.

                Further, a chapter 7 liquidation would require the Debtor’s Estate to incur
additional costs and expenses, including fees payable to the chapter 7 trustee and fees that may
be payable to attorneys or other professionals retained by the chapter 7 trustee. Such costs and
expenses would be paid in full from the proceeds of the liquidation of the Debtor’s Estate in
chapter 7, if any, before the balance of those proceeds would be made available to Holders of
Allowed Claims and Interests.

                Finally, liquidating the Debtor’s Estate under chapter 7 would not provide a
timely distribution to Holders of Allowed Claims and Interests because of the potential added
time and expense incurred by the chapter 7 trustee and any retained professionals in familiarizing
themselves with the Debtor’s Estate.

                Accordingly, the Debtor believes that the Plan will allow the realization of greater
value for their respective Impaired Classes than a hypothetical liquidation.




                                                -92-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 106 of 410



D.     Financial Feasibility

               Section 1129(a)(11) of the Bankruptcy Code requires, as a condition to
confirmation of the Plan, that the Bankruptcy Court find that confirmation is not likely to be
followed by the liquidation of the Debtor or the need for further financial reorganization, unless
such liquidation or reorganization is contemplated by the Plan.

                To determine whether the Plan meets this feasibility requirement, the Debtor, with
the assistance of its advisors, has analyzed its ability to meet its obligations under the Plan. As
part of this analysis, the Debtor has prepared projected consolidated balance sheet, income
statement, and statement of cash flows for NewCo (the “NewCo Financial Projections”) which,
together with the assumptions on which they are based, are set forth in Appendix D of this
Disclosure Statement. As further described below in Article V.G—MoffettNathanson Valuation
and NewCo and Liquidating Trust Asset Overviews, the Debtor’s advisors have also prepared
valuation analysis for NewCo and the Liquidating Trust, include a projected balance sheet for the
Liquidating Trust. Creditors and other interested parties should review Article IX—Certain Risk
Factors to be Considered Prior to Voting for a discussion of certain factors that may affect the
future financial performance of NewCo and the Liquidating Trust.

               Based upon the Financial Projections, the Debtor believes that NewCo will be a
viable operation following the Chapter 11 Case, that NewCo and the Liquidating Trust will be
able to make all payments required under the Plan, and that the Plan will meet the feasibility
requirements of the Bankruptcy Code.

E.     Acceptance by Impaired Classes

                Except as described in Article V.F—Confirmation Without Acceptance by All
Impaired Classes, the Bankruptcy Code requires, as a condition to confirmation of the Plan, that
each Impaired Class accept the Plan. A class of claims that is unimpaired under the Plan is
conclusively presumed to have accepted the Plan and, therefore, solicitation of acceptances with
respect to such class is not required. Under section 1124 of the Bankruptcy Code, a class is
impaired under a plan unless (a) the plan leaves unaltered the legal, equitable, and contractual
rights to which such claim or interest entitles the holder thereof or (b) notwithstanding any legal
right to an accelerated payment of such claim or interest, the plan cures all existing defaults
(other than defaults resulting from the occurrence of events of bankruptcy) and reinstates the
maturity of such claim or interest as it existed before the default.

                Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by an
impaired class of claims as acceptance by holders of at least two-thirds in dollar amount and
more than one-half in number of claims in that class; only those holders that actually vote to
accept or reject the plan are counted for purposes of determining whether these dollar and
number thresholds are met. Under section 1126(d) of the Bankruptcy Code, a class of interests
will have voted to accept the plan only if two-thirds in amount of the interests that actually vote
to accept or reject the plan cast their ballots in favor of acceptance. Holders of claims or
interests who fail to vote are deemed neither to accept nor to reject the plan.




                                                -93-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 107 of 410



                In addition to these voting requirements, section 1129 of the Bankruptcy Code
requires that a plan be accepted by each Holder of a claim or interest in an impaired class or that
the plan otherwise be found by a court to be in the best interests of each Holder of a claim or
interest in such class. See Article V.C—Best Interests Test. Moreover, each impaired class must
accept the plan for the plan to be confirmed without application of the “fair and equitable” and
“unfair discrimination” tests set forth in section 1129(b) of the Bankruptcy Code discussed
below. See Article V.F—Confirmation Without Acceptance by All Impaired Classes below.

F.     Confirmation Without Acceptance by All Impaired Classes

               Section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm
the Plan, provided that the Plan has been accepted by at least one Impaired Class of creditors.
Notwithstanding the failure of an Impaired Class to accept the Plan, the Plan will be confirmed
in a procedure commonly known as cram-down, so long as the Plan does not “discriminate
unfairly” and is “fair and equitable,” for the purposes of the Bankruptcy Code, with respect to
each Class of Claims or Interests that is Impaired under, and has not accepted, the Plan. Pursuant
to Section 6.5 of the Plan, the Debtor reserves the right to seek confirmation under section
1129(b) of the Bankruptcy Code if necessary.

               Unfair Discrimination

                The Plan does not “discriminate unfairly” for the purposes of section 1129 of the
Bankruptcy Code if the Plan gives substantially equivalent treatment to each Class of equal rank;
in determining whether a plan discriminates unfairly, courts take into account a number of
factors, including the effect of applicable subordination agreements between parties.

               Fair and Equitable

                 The “fair and equitable” test applies to Classes of different priority and status and
includes the general requirement that no Class of Claims or Interests receive more than 100
percent of the amount of the Allowed Claims or Interests in the Class. As to the dissenting Class,
the test sets different standards depending upon the type of Claims or Interests in the Class.

              The condition that the Plan be fair and equitable includes the following
requirements as applicable:

               a.      with respect to a non-accepting Class of Secured Claims, that: (i) the
                       Holders of such Secured Claims retain the Liens securing such Claims to
                       the extent of the Allowed amount of the Secured Claims, whether the
                       property subject to the liens is retained by the Debtor or transferred to
                       another entity under the Plan, (ii) each Holder of a Secured Claim in the
                       Class receives deferred cash payments totaling at least the Allowed
                       amount of such Claim with a present value, as of the Effective Date, at
                       least equivalent to the value of such Secured Claim Holder’s interest in the
                       Debtor’s property subject to the Liens, or (iii) the property securing the
                       Secured Claim is sold free and clear of Liens with such Liens to attach to
                       the proceeds of the sale, and such Liens on proceeds to receive treatment
                       consistent with clause (i) or (ii) above;


                                                 -94-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 108 of 410



               b.      with respect to a non-accepting Class of General Unsecured Claims, that
                       either: (i) the Plan provide that each Claim Holder in such Class receive
                       or retain, on account of such Claim, property of a value, as of the Effective
                       Date, equal to the Allowed amount of such Claim or (ii) no Holder of any
                       Claim or Interest that is junior to the Claims or Interests of such Class
                       receive or retain any property under the Plan on account of such junior
                       Claim or Interest; and

               c.      with respect to a non-accepting Class of Interests, that either: (i) the Plan
                       provide that each Holder of an Interest in such Class receive or retain
                       under the Plan, on account of such Interest, property of a value, as of the
                       Effective Date, equal to the greater of: (1) the Allowed amount of any
                       fixed liquidation preference to which such Holder is entitled; (2) any fixed
                       redemption price to which such Holder is entitled or (3) the value of such
                       Interest or (ii) if the Class does not receive property in the amount
                       required under (i), no Class of Interests junior to the non-accepting Class
                       receive a distribution under the Plan.

               Confirmation of the Plan Pursuant to Section 1129(b)

                 The Debtor may seek Confirmation of the Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any Impaired Class presumed to reject the Plan, and reserves
the right to do so with respect to any other rejecting Class of Claims, and/or modify the Plan
subject to the consent rights set forth in the RSA. Section 1129(a)(10) of the Bankruptcy Code
shall be satisfied for purposes of confirmation of the Plan by the acceptance of the Plan by at
least one Class that is Impaired under the Plan.

               The Debtor submits that the Plan does not “discriminate unfairly” for the purposes
of section 1129(b) of the Bankruptcy Code. The Debtor believes that, under the Plan, all
impaired Classes of Claims and Interests are treated in a manner that is consistent with the
treatment of other Classes of Claims and Interests that are similarly situated, if any, and no class
of Claims or Interests will receive payments or property with an aggregate value greater than the
aggregate value of the Allowed Claims or Allowed Interests in such Class. Accordingly, the
Debtor believes that the Plan does not discriminate unfairly as to any impaired Class of Claims
or Interests.

                The Debtor submits that the Plan is “fair and equitable” for the purposes of
section 1129(b) of the Bankruptcy Code because, as set forth above and in the Plan, the Holders
of Claims in Classes 5 (Preferred Equity Interests), 6 (Common Equity Interests), 7
(Section 510(b) Claims) and 8 (Intercompany Claims and Intercompany Interests) may not
receive a distribution equal to the Allowed amount of their Claims or Interests, as applicable, but
no Holders of Claims or Interests junior to these Classes will receive a distribution under the
Plan on account of such junior Claims or Interests.

                 Therefore, the requirements of section 1129(b) of the Bankruptcy Code would be
satisfied in the event that the Debtor is required to cram down.




                                                -95-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                               Pg 109 of 410



G.       MoffettNathanson Valuation and NewCo and Liquidating Trust Asset Overviews

               The Debtor’s advisors have prepared an analysis of the projected assets of NewCo
and the Liquidating Trust as of June 30, 2024 (under the headings “NewCo Value Overview”
and “Liquidating Trust Assets”, respectively, which is attached to this Disclosure Statement as
Appendix F. In addition to the projections with respect to NewCo and Liquidating Trust Assets,
the Debtor’s investment banker, Centerview, has prepared an independent valuation analysis
with respect to the value of MoffettNathanson LLC, which is included in Appendix F under the
heading “MoffettNathanson Valuation Analysis” (the “Valuation Analysis”). The Valuation
Analysis should be considered in conjunction with the Risk Factors discussed in Article IX–
Certain Risk Factors to be Considered Prior to Voting, and the Financial Projections. Holders of
Claims and Interests should carefully review the information in Appendix F in its entirety.

H.       Classification

                 The Bankruptcy Code requires that, for purposes of treatment and voting, a
chapter 11 plan divides the different claims (excluding administrative claims and certain other
categories of claims) against, and equity interests in, a debtor into separate classes based upon
their legal nature. Pursuant to section 1122 of the Bankruptcy Code, a plan may place a claim or
an interest in a particular class only if such claim or interest is substantially similar to the other
claims or interests of such class. The Debtor believes that the Plan classifies all Claims and
Interests in compliance with the provisions of the Bankruptcy Code because valid business,
factual and legal reasons exist for separately classifying the various Classes of Claims and
Interests created under the Plan. Accordingly, the classification of Claims and Interests in the
Plan complies with section 1122 of the Bankruptcy Code.

                                                  ARTICLE VI.

                                          VOTING PROCEDURES

                 On [•], the Bankruptcy Court entered an order, among other things, approving this
Disclosure Statement, approving procedures for soliciting votes on the Plan, approving the form
of the solicitation documents and various other notices, setting the Voting Record Date (as
defined below), the Voting Deadline, the Release Election Deadline (as defined below) and the
date of the Confirmation Hearing and establishing the relevant objection deadlines and
procedures associated with Confirmation of the Plan, including the proposed assumption or
assumption and assignment of certain of the Debtor’s Executory Contracts and Unexpired Leases
(the “Solicitation Procedures Order”).29

               If you are entitled to vote to accept or reject the Plan, a Ballot is enclosed for the
purpose of voting on the Plan and make any other elections or representations required pursuant
to the Plan. To ensure your vote is counted, you must complete, date, sign, and promptly mail
the Ballot enclosed with the notice to the Solicitation Agent or complete your Ballot using the
online portal maintained by the Solicitation Agent, or if you are a Beneficial Holder of Claims or

29
     Capitalized terms in this Article VI not otherwise defined in this Disclosure Statement or the Plan will have the
     meanings ascribed to them in the Solicitation Procedures Order.



                                                         -96-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 110 of 410



Interests in Classes 3(a), 4 or 5 who has received a Beneficial Holder Ballot, you must return the
Beneficial Holder Ballot to your Nominee, in each case indicating your decision to accept or
reject the Plan in the boxes provided.

                As described in Article IV.G—Settlement, Release, Injunction and Related Plan
Provisions herein and Section 12 of the Plan, Holders of Claims or Interests that vote to accept
the Plan will be deemed to have expressly, unconditionally, generally, individually, and
collectively released and discharged all claims and causes of action against the Released Parties.

                 The Ballot and Election Forms contain an election for a Holder who rejects the
Plan, a Holder abstaining from voting on the Plan, or a Holder deemed to accept the Plan, to opt
out of the third-party releases contained in Section 12.9 of the Plan. All Holders of Claims or
Interests (i) that vote to reject the Plan or (ii) that abstain from voting on the Plan, and do not
affirmatively opt out of the third-party releases provided by the Plan by checking the box on the
applicable Ballot indicating that they opt not to grant the third-party releases provided in the Plan
will be deemed to have expressly, unconditionally, generally, individually, and collectively
released and discharged all claims and causes of action against the Released Parties. Holders of
Claims or Interests deemed to accept the Plan and who do not affirmatively opt out of the third-
party releases provided by the Plan by checking the box on the applicable notice of non-voting
status indicating that they opt out of the third-party releases provided in the Plan will be deemed
to have expressly, unconditionally, generally, individually, and collectively released and
discharged all claims and causes of action against the Released Parties.

                 Holders of Class 3(b) Other General Unsecured Claims may elect to receive the
GUC Cash-Out in an amount equal to 45% of the lesser of (a) the Allowed amount of such Claim
and (b) $11,000,000. To the extent an Other General Unsecured Claim exceeds $11,000,000, the
Holder of such Claim electing to receive the GUC Cash-Out agrees to reduce such Claim to
$11,000,000; provided, however, that an Other General Unsecured Claim originally Allowed in
an amount in excess of $11,000,000 may not be sub-divided into multiple claims of $11,000,000
or less and receive the GUC Cash-Out; provided further, that a Holder’s GUC Cash-Out election
may not be modified, withdrawn or provided at a later date. A Holder’s election as set forth on
its Ballot shall be binding. In making the GUC Cash-Out election, the applicable Holder
acknowledges that by electing to receive the GUC Cash-Out, such Holder’s treatment is in lieu
of any other treatment such Holder may have received as a Holder of a Class 3(b) Other General
Unsecured Claim pursuant to Section 4.2.4 of the Plan. If an eligible Holder of an Other
General Unsecured Claim fails to complete the GUC Cash-Out election, set forth on Item 3
of the applicable Ballot, or fails to return such Ballot in accordance with the procedures set
forth in the Solicitation Procedures Order by the deadlines provided therein, such Holder
will be deemed to have irrevocably relinquished and waived its right to receive the GUC
Cash-Out.

               The notices of non-voting status for Holders of Claims or Interests that are
deemed to reject the Plan contains an election to opt in to the third-party releases contained in
Section 12.9 of the Plan. Holders of Claims or Interests that are deemed to reject the Plan but
who affirmatively opt in to the third-party releases provided by the Plan by checking the box on
the applicable Election Form indicating that they opt in to grant the third-party releases provided
in the Plan.


                                                -97-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 111 of 410



               The Solicitation Procedures Order, a copy of which is attached hereto as
Appendix C, should be read in conjunction with this Article VIVoting Procedures of this
Disclosure Statement. For the purposes of Article VIVoting Procedures of this Disclosure
Statement, capitalized terms used but not otherwise defined herein have the meanings ascribed to
such terms in the Solicitation Procedures Order.

                 If you have any questions about (i) the procedures for voting your Claim or with
respect to the packet of materials that you have received or (ii) the amount of your Claim, please
contact the Debtor’s Solicitation Agent at https://restructuring.ra.kroll.com/svbfg/. If you wish
to obtain (at no charge) an additional copy of the Plan, this Disclosure Statement or other
solicitation documents, you can obtain them from the Debtor’s case information website (located
at https://restructuring.ra.kroll.com/svbfg/) or by requesting a copy from the Debtor’s
Solicitation Agent, who can be reached at (833) 570-5297 (Domestic, Toll-Free), +1 (646) 440-
4782 (International), or by email at svbinfo@ra.kroll.com.

              The Bankruptcy Court may confirm the Plan only if it determines that the Plan
complies with the technical requirements of chapter 11 of the Bankruptcy Code. In addition, the
Bankruptcy Court must determine that the Plan has been proposed in good faith and not by any
means forbidden by law and, under Bankruptcy Rule 3020(b)(2), it may make such a
determination without receiving evidence if no objection is timely filed.

                In particular, and as described in more detail below, the Bankruptcy Code requires
the Bankruptcy Court to find, among other things, that: (a) the Plan has been accepted by the
requisite votes of all Classes of Impaired Claims unless approval will be sought under
section 1129(b) of the Bankruptcy Code in spite of the nonacceptance by one or more such
Classes; (b) the Plan is “feasible,” meaning there is a reasonable probability that the Debtor will
be able to perform its obligations under the Plan; and (c) the Plan is in the “best interests” of all
Holders of Claims and Interests, meaning that all such Holders will receive at least as much
under the Plan as they would receive in a liquidation under chapter 7 of the Bankruptcy Code.

                 The Bankruptcy Court must find that all conditions mentioned above are met
before it can confirm the Plan. Thus, even if all classes of Impaired Claims accept the Plan by
the requisite votes, the Bankruptcy Court must still make an independent finding that the Plan
satisfies these requirements of the Bankruptcy Code, that the Plan is feasible, and that the Plan is
in the best interests of the Holders of Claims against and Interests in the Debtor.

              UNLESS THE BALLOT BEING FURNISHED IS TIMELY RECEIVED BY
THE SOLICITATION AGENT ON OR PRIOR TO 5:00 P.M. EASTERN TIME ON JUNE
[17], 2024, TOGETHER WITH ANY OTHER DOCUMENTS REQUIRED TO BE
SUBMITTED WITH SUCH BALLOT, THE DEBTOR WILL REJECT SUCH BALLOT AS
INVALID AND, ACCORDINGLY, DECLINE TO COUNT IT AS AN ACCEPTANCE OR
REJECTION OF THE PLAN; PROVIDED, HOWEVER, THE DEBTOR RESERVES THE
RIGHT, IN ITS SOLE DISCRETION, TO REQUEST THE BANKRUPTCY COURT TO
ALLOW ANY SUCH BALLOTS TO BE COUNTED. IN NO CASE SHOULD A BALLOT
OR ANY OF THE CERTIFICATES BE DELIVERED TO THE DEBTOR OR ANY OF ITS
ADVISORS.



                                                -98-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 112 of 410



A.     Parties-in-Interest Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless: (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or interest entitles the holder thereof; or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

                 In general, under section 1126(a) of the Bankruptcy Code, the holder of a claim or
interest that is allowed under a plan is entitled to vote to accept or reject the plan if such claim or
interest is impaired under the plan. Under section 1126(f) of the Bankruptcy Code, the holder of
a claim that is not impaired under a plan is conclusively presumed to have accepted the plan, and
the plan proponent need not solicit such holder’s vote. Under section 1126(g) of the Bankruptcy
Code, the holder of an impaired claim or impaired interest that will not receive any distribution
under the plan in respect of such claim or interest is deemed to have rejected the plan and is not
entitled to vote on the plan. For a detailed description of the treatment of Claims and Interests
under the Plan, refer to Article IVSummary of the Plan.

                A vote may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that such vote was not solicited or procured in good
faith or in accordance with the provisions of the Bankruptcy Code. The Solicitation Procedures
Order also sets forth assumptions and procedures for tabulating Ballots, including Ballots that are
not completed fully or correctly.

B.     Classes under the Plan

               Voting Classes

                Classes 3(a) (Senior Note Claims), 3(b) (Other General Unsecured Claims),
4 (Subordinated Notes Claims), and 5 (Preferred Equity Interests) are Impaired and entitled to
receive distributions under the Plan and, thus, are entitled to vote to accept or reject the Plan.
Consistent with the procedures described in the Solicitation Procedures Motion and below in
Article VI.DVoluntary Releases under the Plan, each Holder of a Claim or Interest in Classes
3(a), 3(b), 4 and 5 that does not vote in favor of the Plan will be given an opportunity to opt out
of the voluntary release in Section 12.9 of the Plan.

               Non-Voting Classes

               Claims in Classes 1 (Other Secured Claims) and 2 (Other Priority Claims), and, to
the extent such Claims or Interests are reinstated, Class 8 (Intercompany Claims and
Intercompany Interests) (such Classes, the “Unimpaired Non-Voting Classes”), are unimpaired
and conclusively presumed under section 1126(f) of the Bankruptcy Code to accept the Plan and,
accordingly, are not entitled to vote. Consistent with the procedures described in the Solicitation
Procedures Motion and below in Article VI.DVoluntary Releases under the Plan, Holders of
Claims or Interest in Unimpaired Non-Voting Classes will be given an opportunity to opt out of




                                                 -99-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                              Pg 113 of 410



the voluntary, third-party release in Section 12.9 of the Plan or indicate their consent to such
release by abstaining from opting out.

               Claims and Interests in Classes 6 (Common Equity Interests) and
7 (Section 510(b) Claims), and, to the extent such Claims or Interests are not reinstated, Class
8 (Intercompany Claims and Intercompany Interests) (the “Impaired Non-Voting Classes,” and
together with the Unimpaired Non-Voting Classes, the “Non-Voting Classes”), will not receive
any distributions under the Plan and are deemed to reject the Plan under section 1126(g) of the
Bankruptcy Code and, accordingly, are not entitled to vote. Consistent with the procedures
described in the Solicitation Procedures Motion and below in Article VI.DVoluntary Releases
under the Plan, Holders of Claims or Interest in Impaired Non-Voting Classes will be given an
opportunity to opt in to the voluntary third-party release in Section 12.9 of the Plan.

C.       Form, Content, and Manner of Notices

                  Solicitation Packages for Voting Classes

                As set forth in the Solicitation Procedures Order, the Debtor will distribute, or
cause to be distributed, a solicitation package to each Holder of a Claim entitled to vote on the
Plan (a “Solicitation Package”). The Solicitation Packages will contain:

                      a. the cover letter to the Solicitation Package, which describes the contents of
                         the Solicitation Package and recommends all Holders of Claims and
                         Interests in the Voting Classes accept the Plan;

                      b. a letter prepared by the UCC recommending that all Holders of General
                         Unsecured Claims and Subordinated Note Claims vote to accept the Plan,
                         which is attached hereto as Exhibit C (the “Committee Letter”);

                      c. the Confirmation Hearing Notice;

                      d. the Solicitation Procedures Order (without accompanying exhibits), as
                         entered;

                      e. instructions detailing how to access copies of the Disclosure Statement
                         and Plan on the Solicitation Agent’s website and how to request hard
                         copies of the Disclosure Statement and Plan;

                      f. the applicable Ballot with detailed voting instructions and a pre-addressed,
                         postage pre-paid return envelope30; and

                      g. such other materials as the Bankruptcy Court may direct.



30
     Service of the Solicitation Package by electronic mail to Holders for which email addresses are available, as
     well as to beneficial holders of Class 3(a) Senior Note Claims, Class 4 Subordinated Note Claims and Class 5
     Preferred Equity Interests, will not contain a pre-addressed, postage pre-paid return envelope.



                                                       -100-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 114 of 410



               Notices for Non-Voting Classes

                Under section 1126(f) of the Bankruptcy Code, classes that are not impaired
under a plan are deemed to accept the plan. Classes 1 (Secured Claims) and 2 (Other Priority
Claims) are Unimpaired under the Plan and deemed under section 1126(f) of the Bankruptcy
Code to accept the Plan. Classes 6 (Common Equity Interests) and 7 (Section 510(b) Claims)
and 8 (Intercompany Claims / Intercompany Interests) are Impaired under the Plan and deemed
to reject the Plan. The votes of these respective Classes to accept or reject the Plan will not be
solicited.

                 As set forth in the Solicitation Procedures Order, in lieu of a Solicitation Package,
such Holders in Unimpaired Classes will only receive, within three business days after the
Solicitation Procedures Order has been entered, (a) the Confirmation Hearing Notice (as defined
in the Solicitation Procedures Order) and (b) a notice of unimpaired status, in each case by
electronic service where possible (the “Notice of Unimpaired Status”). In addition, as set forth
in the Solicitation Procedures Order, in lieu of a Solicitation Package, non-voting Holders in
Classes 6 and 7 will only receive, on or before the Solicitation Mailing Deadline by electronic
mail where possible, (a) the Confirmation Hearing Notice and (b) a notice of impaired non-
voting status, in each case by electronic service where possible (together with the Notice of
Unimpaired Status, the “Non-Voting Notices”).

                 The Non-Voting Notices will provide the applicable Holders with instructions for
viewing or obtaining a copy of the Plan, Disclosure Statement and Order, as required by
Bankruptcy Rule 3017(d). In addition, the Non-Voting Notices will include an election form
annexed to such notice (the “Election Form”) to permit Holders to opt in to or out of the
voluntary, third-party release in Section 12.9 of the Plan, as further described below in
Article VI.DVoluntary Releases under the Plan. The Election Form contains the full text of
the voluntary, third-party release in Section 12.9 of the Plan and provides instructions for opting
in to or out of such release. The deadline for Holders of Claims and Interests to opt in to or out
of the voluntary, third-party release contained in Section 12.9 of the Plan is June [17], 2024 at
5:00 p.m. Eastern Time (the “Release Election Deadline”). The Election Form also includes
clear instructions regarding how to submit the Election Form and a pre-addressed, postage pre-
paid return envelope.

                Election Forms received after the Release Election Deadline will not be
considered for purposes of determining whether such Holders have elected to opt in to or out of
the voluntary, third-party release contained in Section 12.9 of the Plan.

D.     Voluntary Releases under the Plan

               The voluntary, third-party release and injunction language in Section 12 of the
Plan is described above in Article IV.G of this Disclosure Statement.

          HOLDERS OF CLAIMS OR INTERESTS WILL RECEIVE EITHER A
BALLOT OR ELECTION FORM, IN EACH CASE, TO ALLOW SUCH HOLDER TO
OPT OUT OF OR OPT IN TO THE VOLUNTARY, THIRD-PARTY RELEASE
CONTAINED IN SECTION 12.9 OF THE PLAN BY CLEARLY MARKING THE “OPT


                                                -101-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 115 of 410



OUT” OR “OPT IN” BOX, AS APPLICABLE, ON THE BALLOT OR ELECTION
FORM PROVIDED TO SUCH HOLDER.

          HOLDERS OF CLAIMS IN CLASSES 1 AND 2 WILL EACH RECEIVE
AN ELECTION FORM ALLOWING SUCH HOLDERS TO OPT OUT OF THE
VOLUNTARY, THIRD-PARTY RELEASE CONTAINED IN SECTION 12.9 OF THE
PLAN BY CLEARLY MARKING THE “OPT OUT” BOX ON THE ELECTION FORM
PROVIDED TO SUCH HOLDER.

            HOLDERS OF CLAIMS OR INTERESTS IN CLASSES 3(A), 3(B), 4 OR 5
WILL EACH RECEIVE A BALLOT, WHICH WILL ALLOW HOLDERS WHO
(I) VOTE TO REJECT THE PLAN OR (II) ABSTAIN FROM VOTING ON THE PLAN,
TO OPT OUT OF THE VOLUNTARY, THIRD-PARTY RELEASE CONTAINED IN
SECTION 12.9 OF THE PLAN BY CLEARLY MARKING THE “OPT OUT” BOX ON
THE BALLOT PROVIDED TO SUCH HOLDER.

          HOLDERS OF CLAIMS OR INTERESTS IN CLASSES 6 AND 7 WILL
EACH RECEIVE AN ELECTION FORM ALLOWING SUCH HOLDERS TO OPT IN
TO THE VOLUNTARY, THIRD-PARTY RELEASE CONTAINED IN SECTION 12.9
OF THE PLAN BY CLEARLY MARKING THE “OPT IN” BOX ON THE ELECTION
FORM PROVIDED TO SUCH HOLDER.

           ALL (I) HOLDERS OF CLAIMS OR INTERESTS IN CLASSES 1 AND 2
WHO DO NOT PROPERLY CHECK THE “OPT-OUT” BOX ON A TIMELY
SUBMITTED ELECTION FORM, (II) HOLDERS OF CLAIMS OR INTERESTS IN
CLASSES 3(A), 3(B), 4 OR 5 WHO (X) VOTE TO REJECT THE PLAN OR
(Y) ABSTAIN FROM VOTING ON THE PLAN AND DO NOT PROPERLY CHECK
THE “OPT OUT” BOX ON A TIMELY SUBMITTED BALLOT, AND (III) HOLDERS
OF CLAIMS OR INTERESTS IN CLASSES 6 AND 7 WHO PROPERLY CHECK THE
“OPT-IN” BOX ON THE APPLICABLE AND TIMELY SUBMITTED ELECTION
FORM, WILL BE RELEASING PARTIES FOR PURPOSES OF SECTION 12.9 OF THE
PLAN.

                The Debtor submits that the releases and accompanying opt-out procedures (as
described in this Article VI–Voting Procedures) are consistent with practices of courts in this
jurisdiction. Courts in this jurisdiction often find that releases pursuant to a settlement are
appropriate. See, e.g., In re Garrett Motion Inc., No. 20-12212 (MEW) (Bankr. S.D.N.Y. Apr.
26, 2021), D.I. 1161 (approving releases pursuant to sections 363 and 1123(b)(3) of the
Bankruptcy Code and Bankruptcy Rule 9019); In re Bally Total Fitness Holding Corp., 2007
WL 2779438, at *12 (Bankr. S.D.N.Y. Sept. 17, 2007) (“To the extent that a release or other
provision in the Plan constitutes a compromise of a controversy, this Confirmation Order shall
constitute an order under Bankruptcy Rule 9019 approving such compromise.”); In re Spiegel,
Inc., 2005 WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving releases pursuant to
section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)). Furthermore, the
voluntary, third-party releases and accompanying opt out procedures are consistent with similar
elections that have been approved by courts in this district in similar situations. See, e.g., In re
Avianca Holdings S.A., 632 B.R. 124, 136 n.11 (Bankr. S.D.N.Y. 2021) (approving opt out


                                               -102-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 116 of 410



procedures with respect to third-party releases) (collecting cases); In re Celsius Network LLC,
No. 22-10964 (MG) (Bankr. S.D.N.Y. Nov. 9, 2023), D.I. 3972 (approving opt out procedures
for certain classes); In re Endo Int’l plc, No. 22-22549 (JLG) (Bankr. S.D.N.Y. Jan. 12, 2024),
D.I. 3549 (conditionally approving opt out procedures for certain classes).

                Likewise, exculpation provisions that extend to non-estate fiduciaries are also
regularly approved. See, e.g., In re Oneida Ltd., 351 B.R. 79, 94 n.22 (Bankr. S.D.N.Y. 2006)
(considering an exculpation provision covering a number of prepetition actors with respect to
certain prepetition actions, as well as postpetition activity); In re Celsius Network LLC, No. 22-
10964 (MG) (Bankr. S.D.N.Y. Nov. 9, 2023) [D.I. 3972] (confirming plan which exculpated
certain non-estate fiduciaries); In re All Year Holdings Limited, No. 21-12051 (MG) (Bankr.
S.D.N.Y. Jan. 31, 2023) [D.I. 352] (approving plan exculpation provision providing for
exculpation for certain non-estate fiduciaries); In re Evergreen Garden Mezz LLC, No. 21-10335
(MG) (Bankr. S.D.N.Y. Nov. 5, 2021) [D.I. 222] (same); In re Avianca Holdings S.A., No. 20-
11133 (MG) (Bankr. S.D.N.Y. Nov. 2, 2021) [D.I. 2300] (approving exculpation of both estate
fiduciaries and non-estate fiduciaries); In re Residential Cap. LLC, Case No. 12-12020 (MG)
2013 WL 12161584, at *13 (Bankr. S.D.N.Y. Dec. 11, 2013) (approving exculpation for parties
that were “instrumental to the successful prosecution of the Chapter 11 Cases or their resolution
pursuant to the Plan, and/or provided a substantial contribution to the Debtors”); see also Tr. of
Hr’g at 69, In re Celsius Network LLC [D.I. 3999] (“If [non-estate fiduciaries] are facing the
threat of lawsuits by other disgruntled creditors who don’t agree with what they did, it makes it
very hard to achieve a consensual result. For those reasons, I think what historically may have
been viewed as exculpation just for estate fiduciaries has extended beyond that to other active
participants in the plan process. We may not agree with that, but I mean, that’s what I think,
where the law has moved”). In approving these provisions, courts consider a number of factors,
including whether the beneficiaries of the exculpation have participated in good faith in
negotiating in the plan and bringing it to fruition, and whether the provision is integral to the
plan. In re Bearing Point, Inc., 435 B.R. 486, 494 (Bankr. S.D.N.Y. 2011) (“Exculpation
provisions are included so frequently in chapter 11 plans because stakeholders all too often
blame others for failures to get recoveries they desire; seek vengeance against other parties, or
simply wish to second guess the decision makers.”); In re DBSD N. Am., Inc., 419 B.R. 179, 217
(Bankr. S.D.N.Y. 2009) (same), aff’d, In re DBSD N. Am., Inc., No. 09-10156, 2010 WL
1223109 (S.D.N.Y. May 24, 2010), aff’d in part, rev’d in part, 634 F.3d 79 (2d Cir. 2011); In re
Bally Total Fitness Holding Corp., 2007 WL 2779438, at *8 (Bankr. S.D.N.Y. Sept. 17, 2007)
(finding exculpation, release, and injunction provisions appropriate because they were fair and
equitable, necessary to successful reorganization, and integral to the plan); In re WorldCom, Inc.,
No. 02-13533, 2003 WL 23861928, at *28 (Bankr. S.D.N.Y. Oct. 31, 2003) (approving an
exculpation provision where it “was an essential element of the [p]lan formulation process and
negotiations”); In re Enron Corp., 326 B.R. 497, 503 (S.D.N.Y. 2005) (excising similar
exculpation provisions would “tend to unravel the entire fabric of the Plan, and would be
inequitable to all those who participated in good faith to bring it into fruition”).




                                              -103-
23-10367-mg       Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                          Pg 117 of 410



E.         Voting Procedures

                 Ballots

              The record date for voting on the Plan is May [14], 2024 (the “Voting Record
Date”). Accordingly, only Holders of Claims or Interests who have timely filed a Proof of Claim
as of the Voting Record Date and that are otherwise entitled to vote under the Plan will receive a
Ballot and may vote on the Plan.

               In voting for or against the Plan, please use (i) only the Ballot sent to you with this
Disclosure Statement or (ii) the online electronic ballot portal. If you are a Holder of a Claim in
Class 3(a), 3(b), 4, or 5 and did not receive a Ballot, if your Ballot is damaged or lost or if you
have any questions concerning voting procedures, please contact the Solicitation Agent at (833)
570-5297 (Domestic, Toll-Free), +1 (646) 440-4782 (International), or by email at
svbinfo@ra.kroll.com.

               If you are a Holder of an Other General Unsecured Claim in Class 3(b), you will
receive a Ballot that includes an election option (in Item 3, titled “GUC Cash-Out Election”) to
elect to receive the GUC Cash-Out in an amount equal to 45% of the lesser of (a) the Allowed
amount of such Claim and (b) $11,000,000. To the extent the Other General Unsecured Claim
amount listed in Item 1 of the Ballot exceeds $11,000,000, a Holder of such Claim may, by
making the GUC Cash-Out election, agree to reduce such Claim to $11,000,000. In making the
GUC Cash-Out election, the applicable Holder acknowledges that by electing to receive the
GUC Cash-Out, such Holder’s treatment is in lieu of any other treatment that such Holder
may have received as a Holder of a Class 3(b) Other General Unsecured Claim pursuant to
Section 4.2.4 of the Plan.

                 Submitting Ballots

              If you are entitled to vote to accept or reject the Plan, you should read carefully,
complete and submit your Ballot in accordance with the instructions in your Ballot.

                 To be counted, all Ballots must be properly executed, completed and delivered by:
(i) first-class mail (using the reply envelope provided in the Solicitation Package or otherwise),
(ii) overnight mail, (iii) hand delivery or (iv) the online electronic ballot portal (as described on
the Ballot), in each case so that they are actually received NO LATER THAN 5:00 P.M.
EASTERN TIME ON JUNE [17], 2024 by the Solicitation Agent. If you are submitting a Ballot
via first-class mail, it should be sent to:

                           SVB Financial Group Ballot Processing Center
                            c/o Kroll Restructuring Administration LLC
                                   850 Third Avenue, Suite 412
                                       Brooklyn, NY 11233

                 If you are submitting a Ballot via hand delivery or overnight mail, it should be
sent to:




                                                -104-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 118 of 410



                          SVB Financial Group Ballot Processing Center
                           c/o Kroll Restructuring Administration LLC
                                  850 Third Avenue, Suite 412
                                      Brooklyn, NY 11233

                If you are submitting a Ballot via the online electronic ballot portal:
Visit the Solicitation Agent’s website at https://restructuring.ra.kroll.com/svbfg/, click on the
[“Submit E-Ballot, Opt Out or Opt In Form”] section of the Debtor’s website and follow the
instructions to submit your electronic Ballot.

               If you are a Beneficial Holder of Claims or Interests in Classes 3(a), 4 or 5 and
received a Beneficial Holder Ballot, you must return the Beneficial Holder Ballot to your
Nominee, in accordance with the instructions provided by your Nominee, who will then submit a
master ballot on your behalf. Return the Beneficial Holder Ballot to your Nominee as promptly
as possible and in sufficient time to allow such Nominee to process your instructions and return a
completed master ballot to the Notice and Claims Agent by the Voting Deadline.

EACH NOMINEE SHOULD ADVISE ITS APPLICABLE HOLDERS TO RETURN THEIR
BENEFICIAL HOLDER BALLOTS TO THE NOMINEE BY A DATE CALCULATED BY
THE NOMINEE TO ALLOW THE NOMINEE TO PREPARE AND RETURN THE MASTER
BALLOT TO THE NOTICE AND CLAIMS AGENT SO THAT IT IS ACTUALLY
RECEIVED BY THE NOTICE AND CLAIMS AGENT ON OR BEFORE THE VOTING
DEADLINE.

                The method of delivery of Ballots to be sent to the Solicitation Agent is at the
election and risk of each Holder of a Claim or Interest. Except as otherwise provided in the Plan,
such delivery will be deemed made only when Debtor’s Solicitation Agent actually receives the
original executed Ballot. In all cases, sufficient time should be allowed to assure timely delivery.
For submissions via first-class mail, overnight courier or hand delivery, original, executed
Ballots are required. Ballots will not be accepted by facsimile transmission, electronic mail or
other electronic means of transmission (except via the Solicitation Agent’s e-ballot platform).
Ballots received after the Voting Deadline will not be counted or considered for any purpose in
determining whether the Plan has been accepted or rejected.

               Ballots must be signed, legible, and contain sufficient information to identify the
Holder of the Claim.

              Ballots must be clearly marked to either accept or reject the Plan (but not both)
and may not partially accept or partially reject the Plan.

                 If a Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-
fact, officer of a corporation or other person acting in a fiduciary or representative capacity, such
person must indicate such capacity when signing the Ballot and, if required or requested by the
Debtor’s Solicitation Agent, the Debtor or the Bankruptcy Court, must submit proper evidence to
the requesting party to so act on behalf of such Holder. In addition, you must provide your name
and mailing address if it is different from that set forth on the attached mailing label or if no such
mailing label is attached to this Ballot.



                                                -105-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 119 of 410



                No Ballot should be sent to the Debtor, or the Debtor’s financial or legal advisors,
agents or representatives (other than the Solicitation Agent), and if so sent will not be counted.
If no Holders of Claims or Interests in a particular Class that is entitled to vote on the Plan vote
to accept or reject the Plan, then such Class will be deemed to accept the Plan.

               Except as provided in the Solicitation Procedures Order and subject in all respect
to the RSA, after the Voting Deadline, no Ballot may be withdrawn or modified without the prior
consent of the Debtor. If multiple Ballots are received from the same Holder with respect to the
same Claim or Interest prior to the Voting Deadline, the last Ballot timely received will
supersede and revoke any earlier received Ballots; provided, however, where ambiguity exists
with respect to which Ballot was the latest dated, the Solicitation Agent has the right to
determine the appropriate tabulation of such Ballot and to contact the respective Holder to
determine such Holder’s intent in connection therewith.

                Subject to certain restrictions and requirements set forth in section 1127(a) of the
Bankruptcy Code and Bankruptcy Rule 3019, and those restrictions on modifications set forth in
the Plan and the RSA, the Debtor may alter, amend or modify the Plan, including the Plan
Supplement, without additional disclosure pursuant to section 1125 of the Bankruptcy Code prior
to the Confirmation Date. After the Confirmation Date and before substantial consummation of
the Plan, the Debtor may institute proceedings in the Bankruptcy Court pursuant to
section 1127(b) of the Bankruptcy Code to remedy any defect or omission or reconcile any
inconsistencies in the Plan, including the Plan Supplement, the Disclosure Statement or the
Confirmation Order, relating to such matters as may be necessary to carry out the purposes and
effects of the Plan.

                Except as set forth in the Plan, after the Confirmation Date, but before the
Effective Date, the Debtor may make appropriate technical adjustments and modifications to the
Plan, including the Plan Supplement, without further order or approval of the Bankruptcy Court,
subject to all applicable consent rights (including those set forth in the RSA); provided, that such
adjustments and modifications do not materially and adversely affect the treatment of Holders of
Claims or Interests and are otherwise permitted under section 1127(b) of the Bankruptcy Code.

                Entry of a Confirmation Order shall mean that all modifications and amendments
to the Plan since the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code, and do not require additional disclosure or resolicitation under Bankruptcy
Rule 3019.

               Voting

                A Holder of a Claim or Interest entitled to vote on the Plan may vote to accept or
reject the Plan only if no party-in-interest has objected to such Claim or Interest (or the Claim or
Interest has been Allowed subsequent to any objection or estimated for voting purposes).




                                               -106-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 120 of 410



                                          ARTICLE VII.

                                 EFFECT OF CONFIRMATION

A.     Binding Effect of Confirmation

               Unless otherwise expressly provided in the Plan, Confirmation will bind the
Debtor and all Holders of Claims and Interests to the provisions of the Plan, whether or not the
Claim or Interest of any such Holder is impaired under the Plan and whether or not any such
Holder of a Claim or Interest has accepted the Plan and will have the effect of converting all
Claims and Interests into rights to receive the treatment specified in Article IVSummary of the
Plan.

B.     Good Faith

                  Confirmation of the Plan will constitute a finding that: (i) the Plan has been
proposed in good faith and in compliance with applicable provisions of the Bankruptcy Code and
(ii) all solicitations of acceptances or rejections of the Plan have been in good faith and in
compliance with applicable provisions of the Bankruptcy Code.

                                          ARTICLE VIII.

                                 SECURITIES LAW MATTERS

A.     Bankruptcy Code Exemptions from Registration Requirements

               Issuance

                The Plan provides for the issuance of Liquidating Trust Interests and NewCo
Common Stock (collectively, the “Securities”) without registration under the Securities Act or
any similar law in reliance upon section 1145 of the Bankruptcy Code to the extent such
exemption is available (any Securities issued pursuant to section 1145, the “1145 Securities”).
The Debtor believes that the Securities are “securities,” as defined in section 2(a)(1) of the
Securities Act, section 101 of the Bankruptcy Code and applicable state securities laws. Except
with respect to a Person that is an “underwriter” as defined in section 1145(b) of the Bankruptcy
Code, section 1145(a)(1) of the Bankruptcy Code exempts the offer and sale of securities under a
plan of reorganization from registration under section 5 of the Securities Act and state securities
laws if three principal requirements are satisfied: (i) the securities must be offered and sold under
a plan of reorganization and must be securities of the debtor, of an affiliate participating in a joint
plan with the debtor, or of a successor to the debtor under the plan; (ii) the recipients of the
securities must hold prepetition or administrative expense claims against the debtor or interests
in the debtor and (iii) the securities must be issued entirely in exchange for the recipient’s claim
against or interest in the debtor, or principally in exchange for such claim or interest and partly
for cash or property. The Debtor believes that the issuance and distribution of the 1145
Securities satisfies the requirements of section 1145(a)(1) of the Bankruptcy Code and are,
therefore, exempt from registration under the Securities Act and state securities laws.




                                                -107-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 121 of 410



               To the extent that Persons who receive any Securities pursuant to the Plan are
deemed to be “underwriters,” the issuance of Securities to such Persons would not be exempted
by section 1145 of the Bankruptcy Code from registration under the Securities Act or other
applicable law. Section 1145(b)(1) of the Bankruptcy Code defines four types of “underwriters”
(except with respect to “ordinary trading transactions” of an entity that is not an “issuer”):

               (i) Persons who purchase a claim against, an interest in, or a claim for an
administrative expense against the debtor with a view to distributing any security received in
exchange for such claim or interest;

                (ii) Persons who offer to sell securities offered under a plan for the Holders of
such securities;

                 (iii) Persons who offer to buy such securities from the Holders of such securities,
if the offer to buy is:

                       (A) with a view to distributing such securities and

                   (B) under an agreement made in connection with the plan, the
       consummation of the plan, or with the offer or sale of securities under the plan; or

                (iv) a Person who is an “issuer” with respect to the securities as the term “issuer”
is defined in section 2(a)(11) of the Securities Act.

                In addition, a Person who receives a fee in exchange for purchasing an issuer’s
securities could also be considered an underwriter within the meaning of section 2(a)(11) of the
Securities Act.

                The definition of an “issuer” for purposes of whether a person is an “underwriter”
under section 1145(b)(1)(D) of the Bankruptcy Code, by reference to section 2(a)(11) of the
Securities Act, includes as “statutory underwriters” all “affiliates,” which are all persons who,
directly or indirectly, through one or more intermediaries, control, are controlled by, or are under
common control with, an issuer of securities. The reference to “issuer,” as used in the definition
of “underwriter” contained in section 2(a)(11) of the Securities Act, is intended to cover
“Controlling Persons” of the issuer of the securities. “Control,” as defined in Rule 405 of the
Securities Act, means to possess, directly or indirectly, the power to direct or cause to direct
management and policies of a Person, whether through owning voting securities, contract, or
otherwise.

               Whether or not any particular Person would be deemed to be an “underwriter”
with respect to the Securities or any other security to be issued pursuant to the Plan would
depend upon various facts and circumstances applicable to that Person. Accordingly, the Debtor
expresses no view as to whether any particular Person receiving any Securities or other securities
under the Plan would be an “underwriter” with respect to such Securities or other securities.

                Persons who would otherwise be deemed to be “underwriters” may, however,
receive securities without registration under the Securities Act or any similar law in reliance
upon the exemption from registration provided under section 4(a)(2) of the Securities Act and/or


                                                -108-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                              Pg 122 of 410



Regulation D promulgated thereunder, to the extent such exemption is then available, as
described in “Private Placement Exemption” below.

                  Subsequent Transfers

                 To the extent section 1145 of the Bankruptcy Code is applicable, 1145 Securities
to be issued under the Plan (a) are not “restricted securities” as defined in Rule 144(a)(3) under
the Securities Act, and (b) in general are freely tradable and transferable by any initial recipient
thereof. 1145 Securities governed by section 1145 of the Bankruptcy Code generally may be
able to be resold without registration under applicable Blue Sky Laws pursuant to various
exemptions provided by the respective Blue Sky Laws of the various states; however, the
availability of such exemptions cannot be known unless individual states’ Blue Sky Laws are
examined, and recipients of securities are advised to consult with their own legal advisors as to
the availability of any such exemption from registration in any given instance. Notwithstanding
the foregoing, any securities or instruments issued under the Plan in reliance on section 1145(a)
of the Bankruptcy Code remain subject to: (x) compliance with any rules and regulations of the
SEC, if any, applicable at the time of any future transfer of such securities or instruments; (y) the
restrictions in the applicable NewCo Organizational Documents and the Liquidating Trust
Agreement, as applicable, on the transferability of such securities and instruments31 and (z) any
other applicable regulatory approval.

B.       Private Placement Exemptions

                  Issuance

                The Plan provides that, to the extent section 1145 of the Bankruptcy Code is not
applicable, certain securities may be issued without registration under the Securities Act or any
similar law in reliance upon the exemption from registration provided under section 4(a)(2) of
the Securities Act and/or Regulation D promulgated thereunder (the “4(a)(2) Securities”). To the
extent such securities are issued pursuant to the Plan or the other Definitive Documents, the
offering, issuance, exchange, or distribution of those securities will be conducted in a manner
that is exempt from, among other things, the registration requirements of section 5 of the
Securities Act. Section 4(a)(2) exempts from section 5’s registration requirements transactions
not involving a public offering, and Regulation D provides a safe harbor under Section 4(a)(2)
for transactions that meet certain requirements, including that the investors participating therein
qualify as Accredited Investors.

               Section 4(a)(2) provides that the issuance of securities by an issuer in transactions
not involving any public offering are exempt from registration under the Securities Act.



31
     As described in Article IV.C.4(a)—Implementation of the Plan and Article X.A.4(a)(iv)—Consequences to the
     Debtor, in an attempt to minimize the likelihood of an additional ownership change occurring after the Effective
     Date, the charter of NewCo will contain a restriction limiting the accumulation (and disposition) of shares of
     persons (and certain groups acting in concert) owning (actually or constructively), or who would own
     (immediately before or after such acquisition), 4.99 percent of any class of stock of NewCo (with certain
     adjustments), and requiring approval of NewCo’s Board for any such transfers.



                                                       -109-
23-10367-mg       Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02                Main Document
                                          Pg 123 of 410



Regulation D is a non-exclusive safe harbor from registration promulgated by the SEC under
section 4(a)(2) of the Securities Act.

                The issuance of 4(a)(2) Securities will be subject to the respective Blue Sky Laws
of the various states; the availability of any Blue Sky Laws exemptions cannot be known unless
individual states’ Blue Sky Laws are examined, and recipients of securities are advised to consult
with their own legal advisors as to the availability of any such exemption from registration in any
given instance.

                Subsequent Transfers

               Because the 4(a)(2) Securities would not be issued pursuant to section 1145(a)(1)
of the Bankruptcy Code, they would be deemed “restricted securities” (within the meaning of
Rule 144 under the Securities Act) that may not be offered, sold, exchanged, assigned or
otherwise transferred unless they are registered under the Securities Act, or an exemption from
registration under the Securities Act is available.

               The Debtor does not plan to register the 4(a)(2) Securities. Thus, persons who
receive 4(a)(2) Securities will not be permitted to offer, sell or otherwise transfer their 4(a)(2)
Securities except pursuant to an available exemption from registration.

                 All persons who receive 4(a)(2) Securities will be required to agree that they will
not offer, sell or otherwise transfer any 4(a)(2) Securities other than pursuant to an effective
registration statement under the Securities Act or an available exemption from registration
thereunder.

                Rule 144 provides an exemption for the public resale of “restricted securities” if
certain conditions are met. These conditions vary depending on whether the holder of the
restricted securities is an affiliate of the issuer. An affiliate is defined as “a person that directly,
or indirectly through one or more intermediaries, controls, or is controlled by, or is under
common control with, the issuer.”

                 A non-affiliate who has not been an affiliate of the issuer during the preceding
three months may resell restricted securities after a six-month holding period if at the time of the
sale there is available certain current public information regarding the issuer, and may sell the
securities after a one-year holding period whether or not there is current public information
regarding the issuer. Adequate current public information is available for a reporting issuer if the
issuer has filed all periodic reports required under Section 13 or 15(d) of the Securities Exchange
Act of 1934 during the twelve months preceding the sale of the restricted securities. If the issuer
is a non-reporting issuer, adequate current public information is available if certain information
about the issuer is made publicly available. The Debtor currently expects that NewCo will not
be a reporting issuer and will make certain information publicly available to allow resales under
Rule 144 by non-affiliates when the six-month holding period expires (approximately six months
after the emergence date).

                An affiliate may resell restricted securities after the six-month holding period if at
the time of the sale certain current public information regarding the issuer is available. As noted
above, the Debtor currently expects that this information requirement will be satisfied. The


                                                  -110-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 124 of 410



affiliate must also comply with the volume, manner of sale and notice requirements of Rule 144.
First, the rule limits the number of restricted securities (plus any unrestricted securities) sold for
the account of an affiliate (and related persons) in any three-month period to the greater of 1% of
the outstanding securities of the same class being sold, or, if the class is listed on a stock
exchange, the greater of 1% of the average weekly reported volume of trading in such restricted
securities during the four weeks preceding the filing of a notice of proposed sale on Form 144.
Second, the manner of sale requirement provides that the restricted securities must be sold in a
broker’s transaction, which generally means they must be sold through a broker and handled as a
routine trading transaction. The broker must receive no more than the usual commission and
cannot solicit orders for the sale of the restricted securities except in certain situations. Third, if
the sale exceeds 5,000 restricted securities or has an aggregate sale price greater than $50,000, an
affiliate must file with the SEC three copies of a notice of proposed sale on Form 144. The sale
must occur within three months of filing the notice unless an amended notice is filed.

                 To the extent 4(a)(2) Securities are issued, the Debtor believes that the Rule 144
exemption will not be available with respect to any 4(a)(2) Securities (whether held by non-
affiliates or affiliates) until at least six months after the Effective Date. Accordingly, each holder
of 4(a)(2) Securities would be required to hold its 4(a)(2) Securities for at least six months and,
thereafter, to sell them only in accordance with the applicable requirements of Rule 144, unless
such sale is made pursuant to an effective registration statement under the Securities Act.

                To the extent 4(a)(2) Securities are issued, such securities will be issued in
uncertified form and each book-entry statement evidencing the 4(a)(2) Securities will bear a
restrictive legend. Each certificate representing, or issued in exchange for or upon the transfer,
sale or assignment of, any 4(a)(2) Security will be stamped or otherwise imprinted with a legend
in substantially the following form:

           “THE SECURITIES REPRESENTED BY THIS CERTIFICATE WERE
ORIGINALLY ISSUED ON [ISSUANCE DATE], AND HAVE NOT BEEN AND WILL NOT
BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS
AMENDED (THE “ACT”), OR ANY OTHER APPLICABLE STATE SECURITIES LAWS,
AND MAY NOT BE SOLD OR TRANSFERRED EXCEPT PURSUANT TO THE
EXEMPTION FROM REGISTRATION UNDER THE ACT PROVIDED BY RULE 144
THEREUNDER, WHEN AVAILABLE OR ANOTHER AVAILABLE EXEMPTION FROM
REGISTRATION.”

                NewCo will reserve the right to require certification or other evidence of
compliance with Rule 144 as a condition to the removal of such legend or to any resale of the
4(a)(2) Securities. NewCo will also reserve the right to stop the transfer of any 4(a)(2) Securities
if such transfer is not in compliance with Rule 144 or another available exemption from
registration.

                Resales of 4(a)(2) Securities will be subject to the respective Blue Sky Laws of
the various states; the availability of any Blue Sky Laws exemptions cannot be known unless
individual states’ Blue Sky Laws are examined, and recipients of securities are advised to consult
with their own legal advisors as to the availability of any such exemption from registration in any
given instance.


                                                -111-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 125 of 410



               Any persons receiving “restricted securities” under the Plan, or any persons who
believe they may be, or be deemed by the SEC to be, affiliates of the issuer of any applicable
securities under the Plan, should consult with their own counsel concerning the availability of an
exemption from registration for resale of these securities under the Securities Act and other
applicable law.

           BECAUSE OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION
OF WHETHER A PARTICULAR PERSON MAY BE AN UNDERWRITER OR AN
AFFILIATE AND THE HIGHLY FACT-SPECIFIC NATURE OF THE AVAILABILITY OF
EXEMPTIONS FROM REGISTRATION UNDER THE SECURITIES ACT, INCLUDING
THE EXEMPTIONS AVAILABLE UNDER SECTION 1145 OF THE BANKRUPTCY CODE
AND RULE 144 UNDER THE SECURITIES ACT, NEITHER THE DEBTOR NOR NEWCO
MAKE ANY REPRESENTATION CONCERNING THE ABILITY OF ANY PERSON TO
DISPOSE OF THE SECURITIES TO BE DISTRIBUTED UNDER THE PLAN. THE
DEBTOR RECOMMENDS THAT POTENTIAL RECIPIENTS OF THE SECURITIES TO BE
ISSUED UNDER THE PLAN CONSULT THEIR OWN COUNSEL CONCERNING
WHETHER THEY MAY FREELY TRADE SUCH SECURITIES.

                                         ARTICLE IX.

        CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

           THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN
RISKS, INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
HOLDERS OF CLAIMS OR INTERESTS WHO ARE ENTITLED TO VOTE ON THE PLAN
SHOULD READ AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE
OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
DOCUMENTS DELIVERED TOGETHER HEREWITH REFERRED TO OR
INCORPORATED BY REFERENCE HEREIN, BEFORE DECIDING WHETHER TO VOTE
TO ACCEPT OR REJECT THE PLAN. THESE FACTORS SHOULD NOT, HOWEVER, BE
REGARDED AS CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION
WITH THE PLAN AND ITS IMPLEMENTATION.

A.     Certain Bankruptcy Law Considerations

               General

                 While the Debtor believes that the remainder of the Chapter 11 Case will be of
relatively short duration, the Debtor cannot be certain that this will be the case. Although the
Plan is designed to minimize the length of the Chapter 11 Case it is impossible to predict with
certainty the amount of time that the Debtor may spend in bankruptcy or to assure parties-in-
interest that the Plan will be confirmed. Even if confirmed on a timely basis, bankruptcy
proceedings to confirm the Plan could have a material adverse effect on the Debtor’s business
and the value of its Estate. A delay in the bankruptcy proceedings will also involve additional
expense and may divert some of the attention of the Debtor’s management away from
maximizing the value of the Estate.




                                              -112-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 126 of 410



               Plan Confirmation

                The Debtor can make no assurances that it will receive the requisite acceptances
to confirm that Plan or that the conditions to Confirmation will be satisfied or waived. Further, if
the requisite acceptances are not received, the Debtor may seek to accomplish an alternative
restructuring and obtain acceptances to an alternative plan of reorganization for the Debtor or
otherwise, that may not have the support of the Holders of Claims or Interests and/or may be
required to liquidate these Estates under chapter 7 or 11 of the Bankruptcy Code. There can be
no assurance that the terms of any such alternative restructuring arrangement or plan would be
similar to or as favorable to the Holders of Claims or Interests as those proposed in the Plan.

                A non-accepting Holder of a Claim or Interest might challenge either the
adequacy of this Disclosure Statement or whether the balloting procedures and voting results
satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the Bankruptcy
Court determines that this Disclosure Statement, the balloting procedures, and voting results
were appropriate, the Bankruptcy Court could still decline to confirm the Plan if it concludes that
any of the statutory requirements for Confirmation have not been met. If a chapter 11 plan is not
confirmed by the Bankruptcy Court, it is unclear whether the Debtor will be able to restructure
and what, if anything, Holders of Claims or Interests against the Debtor would ultimately receive
with respect to their Claims or Interests.

                The Debtor, subject to the terms and conditions of the Plan and the RSA, reserves
the right to modify the terms and conditions of the Plan as necessary for Confirmation. Subject
to the terms and conditions of the Plan and the RSA, any such modifications could result in less
favorable treatment of any non-accepting Class, as well as any Class junior to any such non-
accepting Class, than the treatment currently provided in the Plan. Such less favorable treatment
could include a distribution of property with a lesser value than currently provided in the Plan or
no distribution whatsoever under the Plan.

               Objections to Classification of Claims and Interests

                Section 1122 of the Bankruptcy Code requires that the Plan classify Claims
against, and Interests in, the Debtor. The Bankruptcy Code also provides that the Plan may place
a Claim or Interest in a particular Class only if such Claim or Interest is substantially similar to
the other Claims or Interests of such Class. The Debtor believes that all Claims and Interests
have been appropriately classified in the Plan. Nevertheless, there can be no assurance that the
Bankruptcy Court will reach the same conclusion.

                To the extent that the Bankruptcy Court finds that a different classification is
required for the Plan to be confirmed, the Debtor would, subject to the RSA, seek (i) to modify
the Plan to provide for whatever classification might be required for Confirmation and (ii) to use
the acceptances received from any Holder of Claims or Interests pursuant to this solicitation for
the purpose of obtaining the approval of the Class or Classes of which such Holder ultimately is
deemed to be a member. Any such reclassification of Claims or Interests, although subject to the
notice and hearing requirements of the Bankruptcy Code, could materially adversely affect the
Class in which such Holder was initially a member, or any other Class under the Plan, by
changing the composition of such Class and the vote required for approval of the Plan. There


                                               -113-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 127 of 410



can be no assurance that the Bankruptcy Court, after finding that a classification was
inappropriate and requiring a reclassification, would approve the Plan based upon such
reclassification. Except to the extent that modification of classification in the Plan requires re-
solicitation, the Debtor will, in accordance with the Bankruptcy Code and the Bankruptcy Rules,
seek a determination by the Bankruptcy Court that acceptance of the Plan by any Holder
pursuant to this solicitation will constitute a consent to the Plan’s treatment of such Holder,
regardless of the Class as to which such Holder is ultimately deemed to be a member.

               Risks Related to Possible Objections to the Plan

                 There is a risk that certain parties could oppose and object to either the entirety of
the Plan or specific provisions of the Plan. Although the Debtor believes that the Plan complies
with all relevant Bankruptcy Code provisions, there can be no guarantee that a party-in-interest
will not file an objection to the Plan or that the Bankruptcy Court will not sustain such an
objection.

               Risk of Non-Approval by the Bankruptcy Court of the Restructuring
               Transactions

                There can be no assurance that the Debtor will be able to obtain approval and
complete the proposed Restructuring Transactions, or any other significant reorganization
transaction, including as a result of objections from our stakeholders. Such objections from
stakeholders could result from stakeholders’ preference for an alternative plan of reorganization.

               If the Debtor is unable to complete the proposed Restructuring Transactions in the
Chapter 11 Case, it may be necessary to seek additional funding sources, or convert from the
chapter 11 reorganization process to a chapter 7 liquidation process. If the proposed
Restructuring Transactions are completed, it may not generate the anticipated or desired
outcomes (including with respect to consideration received).

               Even if the Restructuring Transactions are implemented, the Debtor will continue
to face a number of risks, including certain risks that are beyond the Debtor’s control, such as
changes in economic conditions and changes in the Debtor’s industry. As a result, there is no
guarantee that the Restructuring Transactions will achieve the Debtor’s stated goals.

               Risk of Nonoccurrence of the Effective Date

                 Although the Debtor believes that the Effective Date may occur quickly after the
Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
Date will, in fact, occur. As set forth in Section 13 of the Plan, the Effective Date of the Plan is
subject to the satisfaction (or waiver) of a number of conditions precedent. If such conditions
precedent are not met or waived, the Effective Date will not take place, and it is unclear what
distributions, if any, Holders of Allowed Claims or Interests would receive with respect to their
Allowed Claims or Interests.




                                                 -114-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 128 of 410



               Closing of the Restructuring Transactions Is Dependent on a Number of
               Conditions that May Not Occur

               The closing of the Restructuring Transactions in connection with consummation
of the Plan remains contingent on a number of conditions, including regulatory approvals if
necessary. There is a risk that the Debtor will be unable to satisfy or waive all conditions to
closing the Restructuring Transactions.

               Nonconsensual Confirmation

                 In the event that any impaired class of claims or interests does not accept a
Chapter 11 plan, a bankruptcy court may nevertheless confirm a plan at the proponent’s request
if at least one impaired class has accepted the plan (with such acceptance being determined
without including the vote of any “insider” in such class), and, as to each impaired class that has
not accepted the plan, the Bankruptcy Court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting class. The Debtor believes
that the Plan satisfies these requirements, and the Debtor may request such nonconsensual
Confirmation in accordance with section 1129(b) of the Bankruptcy Code. Nevertheless, there
can be no assurance that the Bankruptcy Court will reach this conclusion. In addition, the pursuit
of nonconsensual Confirmation of the Plan may result in, among other things, increased
expenses and the expiration of any commitment to provide support for the Plan, financially or
otherwise.

               Plan Modifications

                The Debtor, subject to the terms and conditions of the Plan, reserves the right to
modify the Plan as necessary for Confirmation. Any such modifications could result in less
favorable treatment of any class junior to a non-accepting class than the treatment currently
provided in the Plan. Such less favorable treatment could include a distribution of property with
a lesser value than currently provided in the Plan or no distribution whatsoever under the Plan.

               Filing of a Competing Plan

               At the outset of a chapter 11 case, the Bankruptcy Code provides a debtor with the
exclusive right to file a plan of reorganization and prohibits third parties from proposing a plan.
The Debtor retained the exclusive right to propose the Plan through and including January 26,
2024, and the Debtor filed the Plan within the Debtor’s exclusive filing period.

                 On April 24, 2024, the Debtor filed the Debtor’s Third Motion for an Order
Extending the Exclusive Period During Which Only the Debtor May Solicit Acceptances of a
Chapter 11 Plan [D.I. 1060] (the “Third Exclusivity Extension Motion”), requesting a further
extension of the exclusive period during which only the Debtor may solicit acceptances of a
chapter 11 plan (the “Exclusive Solicitation Period”) from April 25, 2024 for an additional 75
days through and including July 9, 2024, with an option, subject to the consent of certain creditor
groups, to extend for an additional 30 days through and including August 8, 2024. Pursuant to
Local Rule 9006-2, the Debtor’s Exclusive Solicitation Period is automatically extended upon
the filing of the Third Exclusivity Extension Motion until such motion is resolved. The Third
Exclusivity Extension Motion is currently scheduled to be heard at the Debtor’s omnibus hearing


                                              -115-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 129 of 410



on June 5, 2024. If the exclusivity period expires, or if the Bankruptcy Court terminates the
Debtor’s exclusive right, there may be a material adverse effect on the Debtor’s ability to have
the Plan confirmed, because third parties may prosecute competing plans.

               The Debtor May Object to the Amount or Classification of a Claim or
               Interest

               Except as otherwise provided in the Plan, the Debtor reserves the right to object to
the amount or classification of any Claim or Interest under the Plan. The estimates set forth in
this Disclosure Statement cannot be relied upon by any Holder of a Claim or Interest where such
Claim or Interest is subject to an objection. Any Holder of a Claim or Interest that is subject to
an objection thus may not receive its expected share of the estimated distributions described in
this Disclosure Statement.

               Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
               the Plan

                 The distributions available to Holders of Allowed Claims or Interests under the
Plan can be affected by a variety of contingencies, including, without limitation, whether the
Bankruptcy Court orders certain Allowed Claims or Interests to be subordinated to other
Allowed Claims or Interests. The occurrence of any and all such contingencies, which could
affect distributions available to Holders of Allowed Claims or Interests under the Plan, will not
affect the validity of the vote taken by the Impaired Classes to accept or reject the Plan or require
any sort of revote by the Impaired Classes. The estimated Claims or Interests and creditor
recoveries set forth in this Disclosure Statement are based on various assumptions, and the actual
Allowed amounts of Claims or Interests may significantly differ from the estimates. Should one
or more of the underlying assumptions ultimately prove to be incorrect, the actual Allowed
amounts of Claims or Interests may vary from the estimated Claims or Interests contained in this
Disclosure Statement. Moreover, the Debtor cannot determine with any certainty at this time,
the number or amount of Claims or Interests that will ultimately be Allowed. Such differences
may materially and adversely affect, among other things, the percentage recoveries to Holders of
Allowed Claims or Interests under the Plan.

               The Debtor May Fail to Satisfy the Solicitation Requirements Requiring a
               Re-Solicitation

                To satisfy the requirements of section 1126(b) of the Bankruptcy Code and
Bankruptcy Rule 3018(b), the Debtor will be delivering the Solicitation Package to all Holders of
Claims and Interests as of the Voting Record Date in the Classes entitled to vote. Accordingly,
the Debtor believes that the solicitation is proper under section 1125 of the Bankruptcy Code.
The Debtor cannot be certain, however, that the solicitation of acceptances or rejections will be
approved by the Bankruptcy Court, and if such approval is not obtained, the Confirmation of the
Plan could be denied. If the Bankruptcy Court were to conclude that the Debtor did not satisfy
the solicitation requirements, then the Debtor may seek to re-solicit votes to accept or reject the
Plan or to solicit votes from one or more Classes that were not previously solicited. The Debtor
cannot provide any assurances that such a re-solicitation would be successful. Re-solicitation




                                               -116-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 130 of 410



could delay or jeopardize confirmation of the Plan. Non-confirmation of the Plan could result in
a protracted Chapter 11 Case.

               Certain Creditors May Bring Litigation Against the Debtor

                Even if the Debtor receives the requisite acceptances, there is no assurance that
the Bankruptcy Court will confirm the Plan. Further, third parties, including certain of the
Debtor’s creditors, may bring litigation against the Debtor during the course of this Chapter 11
Case, the outcome of which is uncertain. Although the Debtor believes the Plan satisfies all of
the requirements necessary for Confirmation by the Bankruptcy Court, creditors and other
parties-in-interest may bring objections to challenge Confirmation of the Plan.

               The Total Amount of Allowed General Unsecured Claims May Be Higher
               Than Anticipated by the Debtor

               With respect to Holders of Allowed General Unsecured Claims, the claims filed
against the Debtor’s Estate may be significantly higher than the Debtor has estimated. There can
be no assurance that the estimated amount of Claims is correct, and the actual Allowed amounts
of Claims may differ from estimates. The estimated amounts are subject to certain risks,
uncertainties and assumptions. Should one or more of these risks or uncertainties materialize or
should underlying assumptions prove incorrect, the actual Allowed amounts of Claims may vary
from those estimated therein.

               The Total Amount of Allowed Administrative and Priority Claims May Be
               Higher or the Amount of Distributable Cash May Be Lower Than
               Anticipated by the Debtor

                The amount of Cash the Debtor ultimately receives on account of the
Restructuring Transactions and from other sources prior to and following the Effective Date may
be lower than anticipated. Additionally, Allowed Administrative Expense Claims and Allowed
Priority Claims maybe higher than anticipated. Accordingly, there is a risk that the Debtor will
not be able to pay in full in cash all Administrative Expense Claims and Priority Claims on the
Effective Date as is required to confirm a chapter 11 plan of reorganization.

               Third-Party Offers

                The Debtor may receive inquiries or offers from third parties related to the
disposition of all or a substantial amount of their assets, including NewCo and/or SVB Capital,
which the Debtor may choose to pursue (in accordance with, as applicable, the terms set forth in
Section 7.3 of the Plan and in any order approving a sale of the SVB Capital business).

               Conversion into Chapter 7 Case

               If the Bankruptcy Court finds that it would be in the best interest of the Holders of
Claims or Interests, the Bankruptcy Court may convert the Chapter 11 Case to a case under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to
liquidate the Debtor’s assets for distribution in accordance with the priorities under the
Bankruptcy Code. The Debtor believes that liquidation under chapter 7 would result in


                                               -117-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 131 of 410



significantly smaller distributions being made to creditors than those provided in a chapter 11
plan because of (a) the likelihood that assets would have to be sold in a disorderly fashion over a
short period of time, rather than reorganizing or selling the business as a going concern at a later
time in a controlled manner, (b) additional administrative expenses involved in the appointment
of a chapter 7 trustee and (c) additional expenses and claims, some of which would be entitled to
priority.

               The Results of an Actual Chapter 7 Liquidation May Be Different from the
               Liquidation Analysis

                Underlying the Liquidation Analysis is the extensive use of estimates and
assumptions that, although considered reasonable by the Debtor’s management and advisors, are
inherently subject to significant business, economic and competitive uncertainties and
contingencies beyond the control of the Debtor. The Liquidation Analysis is based on
assumptions with regard to liquidation decisions that are subject to change. Actual results may
vary materially from the estimates and projections set forth in the Liquidation Analysis. Events
and circumstances subsequent to the date on which the Liquidation Analysis was prepared may
be different from those assumed or, alternatively, may have been unanticipated.

               Plan Releases, Injunctions and Exculpation Provisions May Not Be
               Approved

                There can be no assurance that the Plan releases, injunctions and exculpation
provisions, as provided in Section 12 of the Plan, will be granted. Furthermore, the releases,
injunctions, and exculpations (including, for the avoidance of doubt, the definitions of Released
Parties, Releasing Parties and Exculpated Parties) provided in the Plan are subject to objection
by parties in interest. Failure of the Bankruptcy Court to grant such relief may result in a plan of
reorganization that differs from the Plan or the Plan not being confirmed.

               The Amount and Timing of Available Distributions, if Any, May Vary

                While the Debtor has attempted to project what it believes are likely distributions,
if any, to be made to parties holding Allowed Claims and Interests, there can be no certainty that
the projections will be accurate and that Holders will receive the distributions described in the
Plan. The projections will necessarily be affected by, among other things, recoveries generated
in connection with the liquidation of certain of the Debtor’s remaining assets (including, without
limitation, the recoveries, if any, on the account of the Retained Causes of Action), the outcome
of objections to Claims or Interests, resolution of litigation, and the cost and expenses of such
actions and generally administering and winding down (as applicable) the Debtor’s Estate.
Additionally, the timing of actual distributions to Holders of Allowed Claims or Interests may be
affected by many factors that cannot be predicted. Therefore, the Debtor cannot guarantee the
timing of any recovery on account of Allowed Claims or Interests.




                                               -118-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 132 of 410



B.      Risks Related to the Debtor’s Ongoing Operations during the Chapter 11 Case

                The Debtor Will Be Subject to Risks and Uncertainties Associated with the
                Chapter 11 Case

                For the duration of the Chapter 11 Case, the Debtor’s ability to operate, develop,
and execute a business plan, and continue as a going concern, will be subject to the risks and
uncertainties associated with bankruptcy. These risks include the following: (i) ability to
develop, confirm, and consummate the Plan; (ii) ability to obtain Bankruptcy Court approval
with respect to motions filed in the Chapter 11 Case from time to time; (iii) ability to maintain
relationships with vendors, service providers, customers, employees, current and prospective
investors, and other third parties; (iv) ability to maintain contracts that are critical to the Debtor’s
operations; (v) ability of third parties to seek and obtain Bankruptcy Court approval to terminate
contracts and other agreements with the Debtor; (vi) ability of third parties to seek and obtain
Bankruptcy Court approval to terminate or shorten the exclusivity period for the Debtor to
propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert the Chapter
11 Case to a chapter 7 proceeding; and (vii) the actions and decisions of the Debtor’s creditors
and other third parties who have interests in the Chapter 11 Case that may be inconsistent with
the Debtor’s plans.

                These risks and uncertainties could affect the Debtor’s business and operations in
various ways. For example, negative events associated with the Chapter 11 Case could adversely
affect the Debtor’s relationships with service providers, investors and other third parties, which,
in turn, could materially adversely affect the Debtor’s operations and financial condition. Also,
the Debtor will need the prior approval of the Bankruptcy Court for transactions outside the
ordinary course of business, which may limit the Debtor’s ability to respond timely to certain
events or take advantage of certain opportunities. Because of the risks and uncertainties
associated with the Chapter 11 Case, the Debtor cannot accurately predict or quantify the
ultimate impact of events that occur during the Chapter 11 Case that may be inconsistent with the
Debtor’s plans.

                Operating in Bankruptcy for a Long Period of Time May Harm the Debtor’s
                Business

               The Debtor’s future results will be dependent upon the successful Confirmation
and implementation of the Plan. A long period of operations under Bankruptcy Court protection
could have a material adverse effect on the Debtor’s business, financial condition, results of
operations, and liquidity. So long as the proceedings related to the Chapter 11 Case continue, the
Debtor’s management will be required to spend a significant amount of time and effort dealing
with the reorganization instead of focusing exclusively on business operations. In addition, the
longer the proceedings related to the Chapter 11 Case continues, the more likely it is that
investors and other third parties will lose confidence in the Debtor’s ability to reorganize its
businesses successfully and will seek to establish alternative commercial relationships.




                                                 -119-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 133 of 410



               Undue Delay in Confirmation May Disrupt Operation of the Debtor

                Although the Plan is designed to minimize the length of the Chapter 11 Case, it is
impossible to predict with certainty the amount of time that the Debtor may spend in bankruptcy
or to assure parties-in-interest that the Plan will be confirmed.

                The continuation of the Chapter 11 Case, particularly if the Plan is not confirmed
in the time frame currently contemplated, could materially adversely affect operations. If
Confirmation and consummation of the Plan do not occur expeditiously, the Chapter 11 Case
could result in, among other things, increased costs for professional fees and other case expenses.
In addition, a prolonged Chapter 11 Case would require senior management to spend a
significant amount of time and effort dealing with the Debtor’s financial reorganization instead
of focusing on the operation of the Debtor’s businesses.

                The uncertainty surrounding a prolonged Chapter 11 Case could have other
adverse effects on the Debtor, including limiting the Debtor’s ability to retain key employees;
affecting the perception of the Debtor’s business by regulators, investors, and lenders; and
reducing the Debtor’s assets and/or liquidity.

               The Debtor’s Ongoing Liquidity Needs May Impact Recoveries

                The Debtor has incurred significant professional fees and other costs in
connection with the Chapter 11 Case and expects to continue to incur further professional fees
and costs throughout the remainder of this Chapter 11 Case. The Debtor cannot guarantee that
cash on hand will be sufficient to continue to fund its operations and allow the Debtor to satisfy
obligations related to the Chapter 11 Case until the Debtor is able to emerge from bankruptcy
protection. Accordingly, depending on how long the Chapter 11 Case continues, the recoveries
that Holders of Claims or Interests are estimated to receive will be impacted by the Debtor’s
ongoing liquidity requirements. The Debtor faces uncertainty regarding the adequacy of its
liquidity and capital resources. The Debtor’s liquidity, including the ability to meet ongoing
operational obligations, will be dependent upon, among other things: (a) its ability to maintain
adequate cash on hand; (b) its ability to confirm and consummate the Plan; and (c) the ultimate
cost, duration, and outcome of this Chapter 11 Case. The Debtor’s ability to maintain adequate
liquidity depends, in part, upon general economic, financial, competitive, regulatory and other
factors beyond the Debtor’s control.

               Risks Related to Loss of Key Personnel

                 The Debtor’s operations, including the SVB Capital business, are dependent on a
relatively small group of key management personnel. The Debtor’s Chapter 11 Case has created
distractions and uncertainty for key personnel and employees, and the Debtor has suffered
significant attrition since the Petition Date. Personnel retention was further complicated by the
fact that as of the Petition Date, personnel were almost all employed by the former Silicon
Valley Bank. Because competition for experienced personnel can be significant and it is difficult
to hire as a debtor in Chapter 11, the Debtor may be unable to find acceptable replacements with
comparable skills and experience. The loss of such key personnel could adversely affect the
Debtor’s ability to lead this Chapter 11 Case to resolution by consummating the Plan. In



                                               -120-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 134 of 410



addition, the loss of key personnel or material erosion of employee morale could have a material
adverse effect on the Debtor’s ability to fulfill responsibilities related to its Chapter 11 Case and
emerge successfully therefrom.

C.     Risk Factors Relating to the SVB Capital Sale

               The Bankruptcy Court May Not Approve the SVB Capital Sale

                The Debtor’s Plan currently contemplates the successful consummation of the
SVB Capital Sale, which remains pending as of the date of this Disclosure Statement. The
Bankruptcy Court may not approve the SVB Capital Sale, and the failure to obtain the
Bankruptcy Court’s approval of the NewCo Transaction could prevent the Debtor from
consummating the Plan and the transactions contemplated thereby. If the SVB Capital Sale is
not approved (whether on the terms set forth in the SVB Capital Sale Motion or on other terms),
a substantial portion of the SVB Capital business and SVB Capital assets would become assets
of NewCo on the Effective Date and would have an impact on the operational risks that NewCo
faces.

               The Debtor May Not Satisfy Closing Conditions in Connection with the SVB
               Capital Sale

                Even if the SVB Capital Sale is approved by the Bankruptcy Court, the Debtor
may not satisfy all of the closing conditions relating to the SVB Capital Sale. A failure to satisfy
any of the closing conditions to the SVB Capital Sale could prevent the SVB Capital Sale from
being consummated, or could impact the consideration that the Debtor receives in connection
with consummation of such sale.

               The Debtor May Not Successfully Consummate the SVB Capital Sale

                Even if the SVB Capital Sale is approved by the Bankruptcy Court, the Debtor
may not successfully consummate the SVB Capital Sale, whether due to a failure to satisfy all of
the closing conditions relating to the SVB Capital Sale or other events outside of the Debtor’s
control. If the SVB Capital Sale is not consummated, then the Debtor may amend certain terms
of the Plan, including the GUC Cash-Out and other distributions contemplated by the Plan.

               There May Not Be Sufficient Cash to Provide for the Cash Distributions
               Pursuant the Plan

                If the SVB Capital Sale is not approved by the Bankruptcy Court, or if the SVB
Capital Sale is approved, but is not consummated, then the Debtor will not receive the Cash
consideration contemplated under the Purchase Agreement. If the Debtor does not receive the
Cash consideration component of the consideration set forth in the Purchase Agreement, then the
Debtor may not have sufficient cash to execute the Restructuring Transactions, including the
GUC Cash-Out and payments contemplated pursuant to Section 4.2 of the Plan providing for
Cash payments to certain Holders in lieu of NewCo Common Stock.




                                                -121-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 135 of 410



               The Consideration the Debtor Will Receive from the SVB Capital Sale May
               Include Contingent Consideration

               In connection with the SVB Capital Sale, the Debtor or Liquidating Trust may
receive contingent consideration, including certain royalties and retained interests in the SVB
Capital funds. The Debtor has included its projections with respect to such contingent
consideration in Appendix D to this Disclosure Statement; however, the actual value of such
consideration may be materially different than actual future results. See Article IX.H.1—Risks
Associated with Financial Projections for additional risks related to the Liquidating Trust’s
financial projections.

D.     Risk Factors Relating to a NewCo Transaction

               The Debtor May Effectuate a NewCo Transaction

                The Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC shall
continue to work together in good faith to evaluate opportunities to maximize the value of all or
some of the assets or equity of NewCo in a NewCo Transaction. If the Debtor enters into a
NewCo Transaction, the value of NewCo Common Stock distributed pursuant to the Plan may be
reduced, or if all of the assets or equity of NewCo are sold, NewCo Common Stock may not
distributed pursuant to the Plan.

               The Bankruptcy Court May Not Approve the NewCo Transaction

              The Bankruptcy Court may not approve the NewCo Transaction. Failure to
obtain the Bankruptcy Court’s approval of the NewCo Transaction could prevent the Debtor
from consummating the Plan and the transactions contemplated thereby.

E.     Risk Factors Relating to NewCo Common Stock to Be Issued Under the Plan

               Potential Dilution

                The ownership percentage represented by the NewCo Common Stock distributed
on the Effective Date under the Plan to the Holders General Unsecured Claims will be subject to
dilution (i) by any NewCo Transaction (as applicable) and (ii) from any other shares that may be
issued post-emergence, including Holders of Claims that are Disputed as of the Effective Date.

              In the future, similar to all companies, additional equity financings or other share
issuances by NewCo could adversely affect the value of the NewCo Common Stock issuable
upon such conversion. The amount of dilution effected by any of the foregoing could be
material.

               Equity Interests Subordinated to NewCo’s Indebtedness

           In any subsequent liquidation, dissolution, or winding-up of NewCo, the NewCo
Common Stock would rank below all debt claims against NewCo, and as a result, holders of the
NewCo Common Stock would not be entitled to receive any payment or other distribution of



                                              -122-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 136 of 410



assets upon the liquidation, dissolution or winding-up of NewCo until after all of NewCo’s
obligations to its debt holders have been satisfied.

               Implied Valuation of NewCo Common Stock May Not Represent Trading
               Value of NewCo Common Stock

                 Any implied valuation of the NewCo Common Stock stated herein or in the Plan
is not intended to represent the trading value of NewCo Common Stock and is subject to
additional uncertainties and contingencies, all of which are difficult to predict. Actual market
prices of such securities at issuance will depend upon, among other things: (a) prevailing interest
rates, (b) conditions in the financial markets, (c) the anticipated value of the initial securities of
creditors receiving NewCo Common Stock under the Plan, some of which may prefer to
liquidate their investment rather than hold it on a long-term basis, and (d) other factors that
generally influence prices of securities. Factors unrelated to NewCo’s actual operating
performance and other factors not possible to predict could affect the market price of the NewCo
Common Stock. Accordingly, the implied value of the securities to be issued, stated herein and
in the Plan, should not be construed as reflecting values that will be attained for the NewCo
Common Stock in the private markets.

               No Dividends

                NewCo may not pay any dividends on the NewCo Common Stock and may
instead retain any future cash flows for debt reduction and to support its operations. As a result,
the success of an investment in the NewCo Common Stock may depend entirely upon any future
appreciation in the value of the NewCo Common Stock. There is no guarantee that the NewCo
Common Stock will appreciate in value or even maintain its initial value.

               No Public Market for NewCo Common Stock

                There is no public market for the NewCo Common Stock and there can be no
assurance as to the development or liquidity of any market for the NewCo Common Stock. The
Plan does not contemplate that the NewCo Common Stock will be listed upon any national
securities exchange or any over-the-counter market after the Effective Date. If a trading market
does not develop, is not maintained, or remains inactive, holders of the NewCo Common Stock
may experience difficulty in reselling such securities or may be unable to sell them at all. Even
if such a market were to exist, such securities could trade at prices higher or lower than the
estimated value set forth in this Disclosure Statement depending upon many factors, including,
without limitation, prevailing interest rates, markets for similar securities, industry conditions,
and the performance of, and investor expectations for, NewCo. In addition, on the Effective
Date, it is expected that the NewCo will not be required under U.S. securities laws to file any
reports with the SEC or otherwise provide financial or other information to the public which may
further impair liquidity and prevent brokers or dealers from publishing quotations and that the
ownership and transfer of the NewCo Common Stock will be subject to limitations set out in the
charter of NewCo. This means that a holder of NewCo Common Stock may not be able to sell
its NewCo Common Stock to raise money for immediate or future needs.




                                                -123-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 137 of 410



               Significant Holders of NewCo Common Stock

                Certain Holders of Allowed Claims are expected to acquire a significant
ownership interest in the NewCo Common Stock pursuant to the Plan. If such Holders were to
act as a group, such Holders may be in a position to control the outcome of all actions requiring
stockholder approval, including the election of directors, without the approval of other
stockholders. This concentration of ownership could also facilitate or hinder a negotiated change
of control of NewCo and, consequently, have an impact upon the value of the NewCo Common
Stock.

               The Equity Value of NewCo Common Stock May Not Represent the Trading
               Value of NewCo Common Stock

                The equity value of NewCo set forth on Appendix F is not intended to represent
the trading value of NewCo Common Stock in public or private markets and is subject to
additional uncertainties and contingencies, all of which are difficult to predict. Actual market
prices of such securities at issuance will depend upon, among other things: (a) prevailing interest
rates; (b) conditions in the financial markets; (c) anticipated initial securities holdings of
prepetition creditors, some of whom may prefer to liquidate their investment rather than hold it
on a long-term basis; and (d) other factors that generally influence the prices of securities. The
actual market price of the NewCo Common Stock may be volatile. Many factors, including
factors unrelated to the NewCo’s actual operating performance, could cause the market price of
NewCo Common Stock to rise or fall. Accordingly, the implied value of the NewCo Common
Stock to be issued, as set forth herein and in the Plan, does not necessarily reflect values that may
be attained for these securities in the public or private markets.

               The NewCo Organizational Documents May Limit the Rights of Holders of
               NewCo Common Stock

                The NewCo Organizational Documents may contain certain provisions that limit
the rights of holders of the NewCo Common Stock. In particular, the NewCo Organizational
Documents may include provisions relating to (a) the corporate governance of NewCo, the
election of the board of directors, and the duties of directors and officers, (b) transfer restrictions
with respect to NewCo Common Stock (including tag-along rights and drag-along rights),
(c) voting rights of NewCo Common Stock, (d) information rights provided to Holders of
NewCo Common Stock, and (e) related rights and obligations. There is no guarantee that any
holder of the NewCo Common Stock will be able to freely transfer its NewCo Common Stock
immediately after the Effective Date or will become able to freely transfer such NewCo
Common Stock in the future. Minority holders of NewCo Common Stock may have very limited
protections and virtually no ability to influence management of the business of NewCo.

                In addition, from and after the Effective Date, the NewCo Organizational
Documents will contain certain transfer restrictions in relation to the transfer of NewCo
Common Stock. Specifically, the NewCo Organizational Documents will provide that, without
the approval of the NewCo Board, (i) no Person will be permitted to acquire, whether directly or
indirectly, and whether in one transaction or a series of transactions, NewCo Common Stock, to
the extent that after giving effect to such purported acquisition the purported acquirer or any


                                                -124-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 138 of 410



other Person by reason of the purported acquirer’s acquisition would become a Substantial
Holder of any class of stock of NewCo; (ii) no Substantial Holder may acquire, directly or
indirectly, any shares of NewCo stock without the consent of a majority of the NewCo Board;
and (iii) no Substantial Holder may dispose, directly or indirectly, of any shares of NewCo stock
without the consent of a majority of the NewCo Board.

F.     Operational Risks for NewCo

               The Debtor’s Financial Projections and Other Forward-Looking Statements
               Are Subject to Inherent Uncertainty Due to the Numerous Assumptions upon
               Which They Are Based

               This Disclosure Statement may contain “forward looking statements” within the
meaning of the Private Securities Litigation Reform Act of 1995, as amended. Certain of the
information contained in this Disclosure Statement is, by nature, forward looking, and contains
estimates and assumptions which might ultimately prove to be incorrect, and contains projections
which may be materially different from actual future experiences. There are uncertainties
associated with any projections and estimates, and they should not be considered assurances or
guarantees of the amount of funds or the amount of Claims or Interests in the various Classes
that might be allowed.

               The Plan relies upon the Financial Projections that are based on numerous
assumptions including, without limitation, the timing, Confirmation and consummation of the
Plan in accordance with its terms, the anticipated future performance of NewCo and the
Liquidating Trust, financial industry performance, general business and economic conditions,
competition, adequate financing, absence of material claims, the ability to make necessary
capital expenditures, use of unrestricted cash, the ability to control future operating expenses,
and other matters, many of which will be beyond the control of NewCo and the Liquidating
Trust and some or all of which may not materialize. Particular uncertainties with respect to
NewCo’s operations and financial results arise from the risks and uncertainties relating to
changes in the demand for NewCo’s financial services; legislation and regulations relating to the
financial markets; operational factors; fluctuations in the amount of cash NewCo will generate
from operations, or amounts that the Liquidating Trust will generate through the liquidation of
the Liquidating Trust Assets, and numerous other matters of national, regional and global scale,
including those of a political, economic, business, competitive or regulatory nature.

                The Financial Projections represent management’s view based on currently
known facts, the successful Confirmation and implementation of the Plan and hypothetical
assumptions regarding NewCo’s future operations and ability to finance such operations; they do
not guarantee NewCo’s future financial performance. Actual financial results will be subject to a
number of factors, including general business and economic conditions, and other matters, many
of which will be beyond the control of NewCo and may differ materially from the Financial
Projections. Therefore, the Financial Projections should not be relied upon as an assurance of
the actual results that will occur. Consequently, there can be no assurance that the results or
developments contemplated by any plan of reorganization implemented will occur or, even if
they do occur, that they will have the anticipated effects on NewCo and its business or operations
or on the Liquidating Trust. The failure of any such results or developments to materialize as


                                              -125-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 139 of 410



anticipated could materially adversely affect the successful execution of any plan of
reorganization.

               Except with respect to the Financial Projections and except as otherwise
specifically and expressly stated herein, this Disclosure Statement and the Plan do not reflect any
events that might occur subsequent to the date hereof. Such events could have a material impact
on the information contained in this Disclosure Statement and the Plan. Neither the Debtor,
NewCo nor the Liquidating Trust intend to update the Financial Projections. The Financial
Projections therefore may not reflect the impact of any subsequent events not already accounted
for in the assumptions underlying the Financial Projections.

                In addition, if the Debtor emerges from chapter 11, the amounts reported in
subsequent consolidated financial statements may materially change relative to historical
consolidated financial statements, including as a result of revisions to the Debtor’s operating
plans pursuant to a plan of reorganization. The Debtor also may be required to adopt fresh start
accounting, in which case their assets and liabilities will be recorded at fair value as of the fresh
start reporting date, which may differ materially from the recorded values of assets and liabilities
on the Debtor’s balance sheets. The Debtor’s financial results after the application of fresh start
accounting also may be different from historical trends.

            Finally, this Disclosure Statement was not approved by the Securities and
Exchange Commission.

               Risks Pertaining to Access to Capital Markets

                NewCo may require additional capital in the future to finance its growth and
development, satisfy regulatory compliance obligations, and meet general working capital needs.
NewCo’s capital requirements will depend on many factors, including acceptance of and demand
for NewCo’s services, the extent to which NewCo invests in new technology and personnel and
the status and timing of these developments. If NewCo’s access to capital were to become
constrained significantly, or if costs of capital increased significantly, due to lowered credit
ratings, prevailing industry conditions, the solvency of customers, a material decline in demand
for services, the volatility of the capital markets or other factors, NewCo’s financial condition,
results of operations and cash flows could be adversely affected.

               NewCo May be Subject to Certain Exchange Act Reporting Requirements

               The Debtor is currently subject to reporting requirements under the Exchange Act,
and as of the Effective Date, NewCo may be or may in the future become subject to reporting
obligations under the Exchange Act. Due to the limited size and scope of NewCo’s ongoing
operations post-Effective Date, compliance with such reporting requirements may be
burdensome and may adversely impact NewCo’s financial performance. Compliance with the
reporting requirements under the Exchange Act may subject NewCo to additional regulatory
risks that NewCo would not otherwise face as a non-reporting company.




                                               -126-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 140 of 410



               NewCo May Be Adversely Affected by Potential Litigation

                 In the future, NewCo may become party to litigation. In general, litigation can be
expensive and time consuming to bring or defend against. Such litigation could result in
settlements or damages that could significantly affect NewCo’s financial results. In the ordinary
course of business, NewCo may be party to a number of lawsuits, investigations and disputes
(some of which involve substantial amounts claimed) arising out of current and historical
business, commercial transactions, prior acquisitions and divestitures, employment, employee
benefits plans, intellectual property, antitrust, and other matters. The costs incurred in
connection with such lawsuits, investigations and disputes can be substantial and result in the
diversion of the NewCo’s attention and resources. It is not possible to predict the potential
litigation that NewCo may become party to, nor the final resolution of such litigation. The
impact of any such lawsuits, investigations and disputes on NewCo’s business and financial
stability, however, could be material.

               Tax Risks

                NewCo’s future results of operations could be adversely affected by changes in
the effective tax rate as a result of a change in the mix of earnings in countries with differing
statutory tax rates, changes in tax laws, regulations and judicial rulings (or changes in the
interpretation thereof), changes in generally accepted accounting principles, changes in the
valuation of deferred tax assets and liabilities, the results of audits and examinations of
previously filed tax returns and continuing assessments of NewCo’s tax exposures and various
other governmental enforcement initiatives. NewCo’s tax expense includes estimates of tax
reserves and reflects other estimates and assumptions, including assessment of NewCo’s future
earnings which could impact the valuation of the deferred tax assets. Changes in tax laws or
regulations may increase tax uncertainty and may adversely impact NewCo’s provision for
income taxes.

                Furthermore, NewCo’s ability to utilize certain tax attributes, including net
operating loss carryforwards, is uncertain. Even if NewCo is able to utilize certain tax attributes,
the resulting impact of those tax attributes is uncertain.

                For a discussion of certain U.S. federal income tax considerations to NewCo, the
Debtor and certain holders of Claims and Interests in connection with the implementation of the
Plan, see Article X belowCertain U.S. Federal Income Tax Consequences of the Plan.

G.     Risk Factors Relating to Liquidating Trust Interests to Be Issued Under the Plan

               Risks Associated with Absence of Any Established Trading Market for
               Liquidating Trust Interests

               With regard to any private sales of the Liquidating Trust Interests after the
Effective Date, neither the Liquidating Trust nor the Liquidating Trust Board will take steps
designed to facilitate the development of a secondary market in the Liquidating Trust Interests.
Neither the Liquidating Trust nor the Liquidating Trust Board intend for an active trading market
for the Liquidating Trust Interests to develop. It may be difficult to sell the Liquidating Trust



                                               -127-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 141 of 410



Interests at an attractive price. The price at which the Liquidating Trust Interests could be sold
may be below the original cost of the holders of the Liquidating Trust Interests, and the holders
of the Liquidating Trust Interests may not be able to sell the Liquidating Trust Interests at all.
This means that a holder of a Liquidating Trust Interest may not be able to sell its Liquidating
Trust Interests to raise money for immediate or future needs.

               Potential Dilution

                The ownership percentage represented by the Liquidating Trust Interests
distributed on the Effective Date under the Plan to the Holders of Allowed General Unsecured
Claims, Allowed Subordinated Note Claims and Preferred Equity Interests will be subject to
dilution from any other units that may be issued post-emergence, if any, including Holders of
Claims or Interests that are Disputed as of the Effective Date.

                In the future, unit issuances by the Liquidating Trust could adversely affect the
value of the Liquidating Trust Interests. The amount of dilution effected by the foregoing could
be material. Furthermore, the Liquidating Trust could issue additional Liquidating Trust
Interests with a distribution preference over the Liquidating Trust Interests that will be
distributed on the Effective Date under the Plan to the Holders of Allowed General Unsecured
Claims, Allowed Subordinated Note Claims and Preferred Equity Interests.

                The Class A Trust Units issued to Holders of Allowed General Unsecured Claims
(other than Holders of Allowed General Unsecured Claims that elect to receive the GUC Cash-
Out) will receive a distribution preference of $[•], which will accrete at an annual rate of 12%.
Given that the Class B Trust Units and the Class C Trust Units will receive no distributions until
the distribution preference of the Class A Trust Units has been satisfied in full, including any
accretion thereto, delays in distributions from the Liquidating Trust may reduce distributions to
holders of Class B Trust Units and Class C Trust Units. The Class B Trust Units issued to
Holders of Allowed Subordinated Note Claims will receive a distribution preference to be
calculated at the face amount of the Allowed Subordinated Note Claims, which will accrete at an
annual rate of 12%. Given that the Class C Trust Units will receive no distributions until the
distribution preferences of the Class A Trust Units and Class B Trust Units have been satisfied in
full, including any accretion thereto, delays in distributions from the Liquidating Trust may
reduce distributions to holders of Class C Trust Units.

               The Liquidating Trust May be Required to Register Under the Investment
               Company Act, Which Would Increase Its Regulatory Burden and Negatively
               Affect the Value of the Liquidating Trust Interest

               The Liquidating Trust may be required to register as an investment company
under the Investment Company Act. While the Debtor takes the position that the Liquidating
Trust should not be required to register under the Investment Company Act and that the
Liquidating Trust is not subject to the Investment Company Act, the SEC may disagree and
could require registration of the Liquidating Trust either immediately or at some point in the
future. As a result, there could be an increased regulatory burden on the Liquidating Trust which
could negatively affect the value of the Liquidating Trust Interests.




                                               -128-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 142 of 410



H.     Operational Risks for the Liquidating Trust

               Risks Associated with Financial Projections

                The Debtor’s management, with the assistance of their financial advisors, have
prepared the Financial Projections based on certain assumptions, as set forth in Appendix D
hereto. The Financial Projections represent the management’s view based on currently known
facts, the successful Confirmation and implementation of the Plan and hypothetical assumptions
regarding the Liquidating Trust. Actual financial results will be subject to a number of factors,
including general business and economic conditions, and other matters, many of which will be
beyond the control of the Liquidating Trust Board and may differ materially from the Financial
Projections. The Liquidating Trust may not be able to liquidate the Liquidating Trust Assets in
the timeframe or at prices that are consistent with the Financial Projections and as envisioned
under the Plan, the Liquidating Trust Agreement and this Disclosure Statement after the
Effective Date.

               The Timing and Outcome of the FDIC Litigation Is Uncertain and Has a
               Significant Impact on the Liquidating Trust

                The Debtor is party to litigation against the FDIC with respect to the FDIC
Claims, in which the Debtor seeks the return of approximately $1.93 billion in its deposits held
by the former SVB at the time of its receivership. This litigation is currently taking place in two
venues with respect to the FDIC-C, FDIC-R1 and FDIC-R2: (i) the United States District Court
for the Southern District of New York (the “SDNY Proceeding”) and (ii) the United States
District Court for the Northern District of California (together with the SDNY Proceeding, the
“FDIC Proceedings”). The FDIC disputes the Debtor’s allegations and is defending itself in the
FDIC Proceedings. Additional proceedings regarding the FDIC Claims in additional venues may
be filed before a hearing is held regarding confirmation of the Debtor’s Plan.

                The outcome of the FDIC Proceedings will have a significant impact on the value
of the Liquidating Trust. A material portion of the ultimate recoveries, if any, to be obtained by
the Liquidating Trust on behalf of Holders of Allowed Claims in Classes 3(a), 3(b), 4 and 5 are
contingent on the resolution of the FDIC Claims. However, any recovery on account of the
FDIC Claims is highly speculative. The FDIC Proceedings may result in a range of outcomes,
including settlements, which could significantly affect the value of the Liquidating Trust.
Additionally, the timing of any resolution of the FDIC Proceedings is impossible to predict,
which may also adversely impact the value of the Liquidating Trust. The FDIC Claims feature
complex and novel questions of law and of fact and the FDIC Proceedings (including those
proceedings regarding the FDIC Claims that may be filed in the future) are procedurally
complicated. While the Debtor believes in the merits of its lawsuits, these circumstances make it
impossible to predict the resolution of the FDIC Proceedings (or similar lawsuits regarding the
FDIC Claims) or the timing thereof.




                                              -129-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 143 of 410



               The Timing and Outcome of Litigation Relating to the Retained Causes of
               Action is Uncertain and May have a Significant Impact on the Liquidating
               Trust

                Pursuant to the Plan, certain Retained Causes of Action will be transferred to the
Liquidating Trust. The outcome of any litigation involving the Retained Causes of Action may
have a significant impact on the value of the Liquidating Trust. Additionally, the timing of any
resolution of litigation involving the Retained Causes of Action is impossible to predict, which
may also have a significant impact on the value of the Liquidating Trust. The Retained Causes
of Action include Claims and Causes of Action that involve complex factual and legal issues and
that may be procedurally complicated. These circumstances make it impossible to predict the
resolution of any litigation involving the Retained Causes of Action or the timing thereof.

               Liquidating Trust Expenses May Exceed Current Expectations

                The ultimate amount of Cash available to distribute to the holders of Liquidating
Trust Interests depends, in part, on the manner in which the Liquidating Board operates the
Liquidating Trust and the expenses that it incurs in doing so. Such expenses may include,
without limitation, the reasonable and necessary expenses of administering the Liquidating Trust,
including the costs to liquidate the Liquidating Trust Assets, investigate and prosecute the FDIC
Claims, investigate and prosecute the Retained Causes of Action and make distributions. If the
Liquidating Trust incurs professional or other expenses in excess of current expectations, the
amount of distributable assets remaining to provide distributions to the holders of Liquidating
Trust Interests will decrease.

               The Liquidating Trust May be Subject to Certain Exchange Act Reporting
               Requirements

               The Debtor is currently subject to reporting requirements under the Exchange Act,
and as of the Effective Date, NewCo may be or may in the future become subject to reporting
obligations under the Exchange Act. Compliance with such reporting requirements may be
burdensome and may adversely impact the Liquidating Trust’s financial performance.
Compliance with the reporting requirements under the Exchange Act may subject the
Liquidating Trust to additional regulatory risks that the Liquidating Trust would not otherwise
face as a non-reporting company.

               The Liquidating Trust May Be Adversely Affected by Potential Litigation

                 In the future, the Liquidating Trust may become party to litigation. In general,
litigation can be expensive and time consuming to bring or defend against. Such litigation could
result in settlements or damages that could significantly affect the Liquidating Trust’s financial
results. It is not possible to predict the potential litigation that the Liquidating Trust may become
party to, nor the final resolution of such litigation. The impact of any such litigation on the
Liquidating Trust’s businesses and financial stability, however, could be material.




                                               -130-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 144 of 410



               Tax Risks

                There are a number of material income tax considerations, risks, and uncertainties
associated with the Liquidating Trust. Holders of Claims or Interests and other interested parties
should read carefully the discussion of certain U.S. federal income tax consequences of the Plan
set forth in Article X belowCertain U.S. Federal Income Tax Consequences of the Plan.

I.     Additional Risk Factors

               The Financial Information is Based on the Debtor’s Books and Records and,
               Unless Otherwise Stated, No Audit Was Performed

                In preparing this Disclosure Statement, the Debtor relied on financial data derived
from its books and records that was available at the time of such preparation. Although the
Debtor has used its reasonable business judgment to assure the accuracy of the financial
information provided in this Disclosure Statement, and while the Debtor believes that such
financial information fairly reflects its financial condition, the Debtor is unable to warrant or
represent that the financial information contained in this Disclosure Statement (or in any
information in any of the exhibits to the Disclosure Statement) is without inaccuracies.

               The Debtor Could Amend, Waive, Modify or Withdraw the Plan

                 The Plan may be revoked or withdrawn prior to the Confirmation Date by the
Debtor, subject to the terms of the Plan and the RSA. Further, the Debtor reserves the right,
prior to the Confirmation of the Plan or substantial consummation thereof, subject to the
provisions of section 1127 of the Bankruptcy Code and applicable law and the terms of the RSA,
to amend the terms of the Plan or waive any conditions thereto if and to the extent such
amendments or waivers are necessary or desirable to consummate the Plan. The potential impact
of any such amendment or waiver on the Holders of Claims and Interests cannot presently be
foreseen but may include a change in the economic impact of the Plan on some or all of the
proposed Classes or a change in the relative rights of such Classes. Holders of Claims and
Interests will receive notice of such amendments or waivers as required by applicable law and
the Bankruptcy Court. If, after receiving sufficient acceptances, but prior to Confirmation of the
Plan, the Debtor seeks (in accordance with the terms of the RSA) to modify the Plan, the
previously solicited acceptances will be valid only if (a) all classes of adversely affected
creditors and interest holders accept the modification in writing or (b) the Bankruptcy Court
determines, after notice to designated parties, that such modification was de minimis or purely
technical or otherwise did not adversely change the treatment of Holders of accepting Claims and
Interests or is otherwise permitted by the Bankruptcy Code.

               There is a Risk of Termination of the RSA

               To the extent that events giving rise to termination of the RSA occur, the RSA
may terminate prior to the Confirmation or the Effective Date, which could result in the loss of
support for the Plan by important creditor constituencies, which could adversely affect the
Debtor’s ability to confirm and consummate the Plan. If the Plan is not consummated, there can
be no assurance that the Chapter 11 Cases would not be converted to chapter 7 liquidation cases



                                               -131-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 145 of 410



or that any new chapter 11 plan would be as favorable to Holders of Claims or Interests as the
current Plan.

               No Representations Outside the Disclosure Statement Are Authorized

               No representations concerning or related to the Debtor, the Chapter 11 Case, or
the Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth
in the Disclosure Statement. Any representations or inducements made to secure your vote for
acceptance or rejection of the Plan that are other than those contained in, or included with, the
Disclosure Statement should not be relied upon in making the decision to vote to accept or reject
the Plan.

               Certain Tax Consequences

                For a discussion of certain U.S. federal income tax considerations to NewCo, the
Debtor and certain holders of Claims and Interests in connection with the implementation of the
Plan, see Article X belowCertain U.S. Federal Income Tax Consequences of the Plan.

               No Legal or Tax Advice Is Provided by the Disclosure Statement

                The contents of the Disclosure Statement should not be construed as legal,
business, or tax advice. Each holder of a Claim or Interest should consult their own legal
counsel and accountant as to legal, tax, and other matters concerning their Claim or Interest. The
Disclosure Statement is not legal advice to you. The Disclosure Statement may not be relied
upon for any purpose other than to determine how to vote on the Plan or object to confirmation
of the Plan.

               No Admission Made

              Nothing contained herein or in the Plan will constitute an admission of, or will be
deemed evidence of, the tax or other legal effects of the Plan on the Debtor or Holders of Claims
or Interests.

               Failure to Identify Projected Objections

                 No reliance should be placed on the fact that a projected objection to a particular
Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtor may seek to
investigate, file, and prosecute Claims and may object to Claims and Interests after Confirmation
and consummation of the Plan, irrespective of whether this Disclosure Statement identifies such
Claims or objections to Claims and Interests.

               Information Was Provided by the Debtor and Was Relied Upon by the
               Debtor’s Advisors

                Counsel to and other advisors retained by the Debtor have relied upon information
provided by the Debtor in connection with the preparation of this Disclosure Statement. Also, as
of the Petition Date, much of the information relevant to this Disclosure Statement was not in the
Debtor’s possession due to the seizure and receivership of the former Silicon Valley Bank, as


                                               -132-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 146 of 410



described above. Counsel to the Debtor and other advisors have retained by the Debtor have
engaged in significant efforts to retrieve documents and other material not in the Debtor’s
possession at the time of the Petition Date, but may not have copies of all books and records.
Further, these advisors have performed certain limited due diligence in connection with the
preparation of this Disclosure Statement and the exhibits to the Disclosure Statement, but they
have not independently verified the information contained in this Disclosure Statement or the
information in the exhibits to the Disclosure Statement.

               Risk of the Inability to Obtain Regulatory Approval

               The closing of the Restructuring Transactions may be subject to regulatory review
in the United States. The failure of any governmental or regulatory unit to grant an approval
could prevent or limit consummation of the Restructuring Transactions and Confirmation of the
Plan.

               Governmental Laws, Regulations and Actions Could Adversely Affect the
               Debtor

               The Debtor is subject to various federal, state and local laws, orders and
regulations. Failure to comply with these laws and regulations may result in the assessment of
administrative, civil and criminal fines and penalties or the imposition of injunctive relief.

                Future compliance with laws and regulations, including environmental,
production, transportation, sales, rate and tax rules and regulations, and any changes to such laws
or regulations, may reduce the Debtor’s profitability and have a material adverse effect on its
financial position, liquidity and cash flows. Such laws and regulations may require more
stringent and costly measures.

               The Debtor Has No Duty to Update

                The statements contained in this Disclosure Statement are made by the Debtor as
of the date hereof, unless otherwise specified herein, and the delivery of this Disclosure
Statement after that date does not imply that there has been no change in the information set
forth herein since that date. The Debtor has no duty to update this Disclosure Statement unless
otherwise ordered to do so by the Bankruptcy Court.

                                          ARTICLE X.

      CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

               The following discussion is a summary of certain U.S. federal income tax
consequences of the consummation of the Plan to the Debtor, NewCo and certain Holders of
Claims or Interests. Except as otherwise indicated, this discussion assumes that the
Restructuring Transactions are consummated pursuant to the Plan. The following summary does
not address the U.S. federal income tax consequences to Holders who are Unimpaired or
otherwise entitled to payment in full in Cash under the Plan or who are deemed to reject the Plan.




                                              -133-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 147 of 410



                The discussion of U.S. federal income tax consequences below is based on the
Internal Revenue Code of 1986, as amended (the “IRC”), the Treasury regulations, judicial
authorities, published positions of the IRS, and other applicable authorities, all as in effect on the
date of this Disclosure Statement and all of which are subject to change or differing
interpretations (possibly with retroactive effect), so as to result in U.S. federal income tax
consequences different from those summarized herein. Due to the lack of definitive judicial and
administrative authority in a number of areas, substantial uncertainty may exist with respect to
some of the tax consequences described below. The U.S. federal income tax consequences of the
contemplated Plan and the Restructuring Transactions are complex and subject to significant
uncertainties. As discussed further below, the Debtor has requested a private letter ruling from
the IRS with respect to certain, but not all, of the U.S. federal income tax consequences relating
to the Plan and does not presently intend to seek any additional rulings from the IRS with respect
to the remaining tax aspects of the Plan, subject to the discussion below. There is no assurance
that a favorable ruling will be obtained, and the consummation of the Plan is not conditioned
upon the issuance of such a ruling. Moreover, the private letter ruling will rely on certain facts,
assumptions, representations and undertakings from the Debtor, which, if incorrect or inaccurate,
may jeopardize the Debtor’s ability to rely on such private letter ruling. The discussion below is
not binding upon the IRS or the courts and no assurance can be given that the IRS would not
assert, and that a court would not sustain, a different position than any position discussed herein.
If the IRS successfully challenges any aspect of the tax treatments described below, adverse U.S.
federal income tax consequences may result.

                This summary does not purport to address all aspects of U.S. federal income
taxation that may be relevant to the Debtor, NewCo, Holders of Claims or Interests or to
Liquidating Trust Beneficiaries in light of their individual circumstances. This summary does
not address the non-U.S., state, or local tax consequences of the contemplated Plan and the
Restructuring Transactions, nor does it address all of the U.S. federal income tax consequences
of the transactions that might be relevant to special classes of taxpayers in light of their particular
circumstances (e.g., small business investment companies, regulated investment companies, real
estate investment trusts, banks and certain other financial institutions, insurance companies, tax-
exempt organizations, cooperatives, retirement plans, individual retirement and other tax-
deferred accounts, Holders that are, or hold their Claims or Interest through, S corporations or
other pass-through entities for U.S. federal income tax purposes, persons who received their
Claims or Interests pursuant to the exercise of an employee stock option or otherwise as
compensation, persons whose functional currency is not the U.S. dollar, dealers in securities or
foreign currency, traders that elect to use the mark-to-market method of tax accounting for their
securities or commodities, persons subject to special tax accounting rules under section 451(b) of
the IRC, persons whose Claims or Interests are part of a straddle, hedging, constructive sale, or
conversion transaction, or part of a “synthetic security” or other integrated financial transaction,
U.S. expatriates, persons whose Claims or Interests are described in Article IV.F.6—Claims or
Interests Paid by Third Parties, or foreign persons or entities (except to the extent set forth
below)). In addition, this discussion does not address the alternative minimum tax (including the
corporate alternative minimum tax), the “Medicare” tax on net investment income, or U.S.
federal taxes other than income taxes. Unless otherwise indicated, this discussion assumes that
all Claims, Interests and NewCo Common Stock are held as “capital assets” (generally, property
held for investment) within the meaning of section 1221 of the IRC and that the various debt and
other arrangements to which the Debtor is a party will be respected for U.S. federal income tax


                                                -134-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 148 of 410



purposes in accordance with their respective forms. This summary does not discuss differences
in tax consequences to Holders of Claims or Interests that otherwise act or receive consideration
in a capacity other than as a Holder of a Claim or Interest of the same Class or Classes, and the
tax consequences for such Holders may differ materially from that described below.

              As used herein, the term “U.S. Holder” means, with respect to Claims, Interests,
NewCo Common Stock or Liquidating Trust Interests, a beneficial owner that is for U.S. federal
income tax purposes:

                      an individual who is a citizen or resident of the United States;

                      a corporation, or other entity taxable as a corporation for U.S. federal
                       income tax purposes, created or organized in or under the laws of the
                       United States, any state thereof, or the District of Columbia;

                      an estate the income of which is subject to U.S. federal income taxation
                       regardless of its source; or

                      a trust, if a court within the United States is able to exercise primary
                       jurisdiction over its administration and one or more U.S. persons have
                       authority to control all of its substantial decisions, or that has a valid
                       election in effect under applicable Treasury Regulations to be treated as a
                       U.S. person.

                 For purposes of this discussion, the term “Non-U.S. Holder” means, with respect
to Claims, Interests, NewCo Common Stock or Liquidating Trust Interests, a beneficial owner
that is, for U.S. federal income tax purposes, not a U.S. Holder and not a partnership (or other
entity or arrangement treated as a partnership or other pass-through entity for U.S. federal
income tax purposes). Non-U.S. Holders are subject to special U.S. federal income tax
provisions, some of which are discussed below.

                If a partnership (or other entity or arrangement treated as a partnership or other
pass-through entity for U.S. federal income tax purposes) is a Holder of Claims, Interests,
NewCo Common Stock or Liquidating Trust Interests, the tax treatment of a partner (or other
beneficial owner) in such partnership (or such other pass-through entity) generally will depend
upon the status of the partner (or other beneficial owner) and the activities of the partnership (or
other pass-through entity). If you are a partner (or other beneficial owner) in such a partnership
(or other pass-through entity) holding any such instruments, you should consult your own tax
advisor.

          THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME
TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON YOUR
INDIVIDUAL CIRCUMSTANCES. ALL HOLDERS OF CLAIMS OR INTERESTS ARE
URGED TO CONSULT THEIR TAX ADVISORS FOR THE U.S. FEDERAL, STATE,
LOCAL AND OTHER TAX CONSEQUENCES APPLICABLE UNDER THE PLAN.




                                                -135-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 149 of 410



A.     Consequences to the Debtor

               The Debtor’s Consolidated Tax Group

               For U.S. federal income tax purposes and immediately prior to the Restructuring
Transactions, the Debtor is the common parent of an affiliated group of corporations that files a
consolidated U.S. federal income tax return (the “Tax Group”). The Debtor’s Tax Group
includes SVB in receivership, even though SVB is under the effective control of the
FDIC. Accordingly, the income, profit, gain, loss and deductions of SVB while under the
FDIC’s effective control affect the Debtor’s U.S. federal taxable income until such time as SVB
is deconsolidated from the Tax Group (as described below).

               Cancellation of Indebtedness

                In general, absent an exception, a debtor will realize and recognize cancellation of
indebtedness income (“COD Income”) upon satisfaction of its outstanding indebtedness for total
consideration (as determined for U.S. federal income tax purposes) less than the adjusted issue
price of such indebtedness. Generally, under section 108 of the IRC, a debtor is not required to
include COD Income in gross income if the debtor is under the jurisdiction of a court in a case
under the Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding.
Instead, as a consequence of such exclusion, in general, the IRC provides that the debtor must
reduce certain of its tax attributes—including carryforward and current year net operating losses
(“NOL”), capital loss carryforwards, tax credits, and tax basis in assets (but not below the
amount of liabilities to which the debtor remains subject)—by the amount of any COD Income
incurred but excluded from income under section 108 of the IRC.

                 If advantageous, a debtor can elect to reduce the basis of depreciable property
prior to any reduction in its NOL carryforwards or other tax attributes. Where a debtor joins in
the filing of a consolidated U.S. federal income tax return, applicable Treasury Regulations
require, in certain circumstances, that the tax attributes of the consolidated subsidiaries of a
debtor and other members of the group also be reduced. Any reduction in tax attributes in
respect of COD Income incurred does not occur until the end of the taxable year and after such
attributes have been applied.

                The ultimate amount of COD Income incurred by the Debtor in connection with
the implementation of the Plan will depend on, among other things, the final amount of Cash and
the fair market value of any other property (including NewCo Common Stock and Liquidating
Trust Interests) distributed to Holders of Claims. Certain of these figures cannot be known with
certainty until after the Effective Date. Accordingly, the amount of COD Income that the Debtor
may incur is uncertain, but may be significant.

               Transfer of Liquidating Trust Assets to the Liquidating Trust

               Pursuant to the Plan, on or before the Effective Date, the Debtor will transfer the
Liquidating Trust Assets to the Liquidating Trust, on behalf of the respective Holders of Claims
and Interests comprising the Liquidating Trust Beneficiaries. The transfer of the Liquidating
Trust Assets by the Debtor pursuant to the Plan may result in the recognition of gain, loss,
income, or deduction by the Debtor, depending in part on the value of the Liquidating Trust


                                               -136-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 150 of 410



Assets on the Effective Date and the Debtor’s tax basis in the Liquidating Trust Assets. Subject
to the impact of any Restructuring Transactions, the implementation of which is subject to
change, and subject to the receipt of a favorable ruling discussed below regarding the
character of the Stock Loss (defined below), the Debtor anticipates that any tax deductions
incurred in the year that includes the Effective Date should be available to offset the Tax Group’s
taxable income (inclusive of any gain or income recognized upon transfer of assets pursuant to
the Plan) incurred during such year, subject to the ownership change rules of the IRC discussed
below (or other limitations as provided under the IRC). Due to the lack of guidance with respect
to the sale or other taxable disposition of Retained Causes of Action, there can be no assurance
that a subsequent resolution of such claims or Causes of Action could not result in additional
income to the Debtor, which may or may not be able to be offset by the tax attributes of the
Tax Group.

               Potential Limitations on NOL Carryforwards and Other Tax Attributes

               (a)    Section 382

              After giving effect to the reduction in tax attributes pursuant to excluded COD
Income described above, the Tax Group’s ability to use any remaining tax attributes post-
emergence may be subject to certain limitations under sections 382 and 383 of the IRC.

                Under sections 382 and 383 of the IRC, if the Debtor undergoes an “ownership
change,” the amount of any remaining NOL, section 163(j) carryforwards, tax credit
carryforwards, net unrealized built-in losses (“NUBIL”), and possibly certain other attributes of
the Debtor allocable to periods prior to the Effective Date (collectively, “Pre-Change Losses”)
that may be utilized to offset future taxable income generally are subject to an annual limitation
(discussed below). For this purpose, if a corporation (or consolidated group) has a NUBIL at the
time of an ownership change (taking into account most assets and items of “built-in” income and
deductions), then generally built-in losses (including amortization or depreciation deductions
attributable to such built-in losses) recognized during the five-year period beginning on the
ownership change date (up to the amount of the original NUBIL) will be treated as Pre-Change
Losses and similarly will be subject to the annual limitation (discussed below). In general, a
corporation’s (or consolidated group’s) NUBIL will be deemed to be zero unless it is greater
than the lesser of (a) $10,000,000, or (b) 15 percent of the fair market value of its assets (with
certain adjustments) before the ownership change. The NUBIL of a consolidated group
generally is calculated on a consolidated basis, subject to special rules. Based on facts and
circumstances not yet known to the Debtor as of the date of this Disclosure Statement, it is
currently uncertain whether the Tax Group would have a NUBIL immediately prior to the
Effective Date.

                The rules of section 382 of the IRC are complex, but as a general matter, the
Debtor anticipates that the issuance of NewCo Common Stock pursuant to the terms of the Plan
will result in an ownership change of the Tax Group for these purposes, and that the Tax Group’s
use of the Pre-Change Losses will be subject to limitation unless an exception to the general
rules of section 382 of the IRC applies. In addition, it is possible there could be a subsequent
ownership change after the Effective Date, which would further limit the Debtor’s NOL. Lastly,
because a corporation can experience multiple ownership changes, it is possible that certain of


                                              -137-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 151 of 410



the Tax Group’s tax attributes (including any built-in loss in the stock of SVB) are subject to one
or more additional section 382 limitations that could adversely impact the Tax Group’s ability to
utilize such tax attributes.

                           (i)      General Section 382 Limitation

                 In general, the amount of the annual limitation to which a corporation that
undergoes an ownership change would be subject is equal to the product of (a) the fair market
value of the stock of the corporation immediately before the ownership change (with certain
adjustments), and (b) the “long-term tax-exempt rate” (which is the highest of the adjusted
federal long-term rates in effect for any month in the 3-calendar-month period ending with the
calendar month in which the ownership change occurs, or 3.37 percent for an ownership change
during April 2024). The annual limitation may be increased to the extent that the Tax Group
recognizes certain built-in gains in its assets during the five-year period following the ownership
change, or is treated as recognizing built-in gains pursuant to the safe harbors provided in IRS
Notice 2003-65, but only to the extent that the Tax Group had a “net unrecognized built-in gain”
overall in its assets at the time of the ownership change. Section 383 of the IRC applies a similar
limitation to capital loss carryforwards and tax credits. Any unused limitation may be carried
forward, thereby increasing the annual limitation in the subsequent taxable year.

                If the corporation or consolidated group does not continue its historic business or
use a significant portion of its historic assets in a new business for at least two years after the
ownership change, the annual limitation resulting from the ownership change is generally
reduced to zero, thereby precluding any utilization of the Pre-Change Losses (absent any
increases due to recognized built-in gains).

               Notwithstanding the above and as discussed below, special rules may apply in the
case of a corporation that experiences an ownership change as the result of a bankruptcy
proceeding.

                           (ii)     Abandonment of SVB Stock

                The Debtor anticipates that it (i) has a substantial tax basis in its stock investment
in SVB32 and (ii) will claim a worthless stock deduction (the “Stock Loss”) at a time when the
Debtor believes that such stock investment is worthless. In order for the Debtor to claim the
Stock Loss with respect to the SVB stock, the stock investment in SVB must be worthless and
certain other conditions must be met, such as SVB ceasing to be a member of the Tax Group, at
which point the Tax Group’s consolidated NOL attributable to SVB (as determined under the
relevant Treasury Regulations, at the end of the taxable year, after taking into account the Tax
Group’s income for such year) would no longer be available to the Tax Group. The Stock Loss
(subject to the receipt of a favorable ruling discussed below), along with other possible
deductions incurred in the same taxable year, is anticipated to result in a substantial NOL for the
taxable year in which the Effective Date occurs. The Debtor has requested a private letter ruling
from the IRS that the character of the Stock Loss is ordinary. There can be no assurance that a

32
     Solely for purposes of the discussion of the U.S. federal income tax consequences herein, references to SVB
     includes references to certain entities treated as successors to SVB for U.S. federal income tax purposes.



                                                       -138-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 152 of 410



favorable ruling will be obtained, and the consummation of the Plan is not conditioned upon the
issuance of such a ruling. Moreover, the private letter ruling will rely on certain facts,
assumptions, representations and undertakings from the Debtor, which, if incorrect or inaccurate,
may jeopardize the Debtor’s ability to rely on such private letter ruling. If the character of the
Stock Loss is capital rather than ordinary, then such capital loss generally would only be
available to offset capital gains.

                The Debtor currently anticipates realizing the Stock Loss by abandoning its stock
investment in SVB prior to (but in the same taxable year as) the Effective Date. If the Debtor
abandons its stock investment in SVB prior to (but in the same taxable year as) the Effective
Date, a portion of the NOL may not be subject to the annual limitation resulting from the
implementation of the Plan, even if a change in ownership occurs on the Effective Date of the
Plan, because the resulting NOL (determined after taking into account other activities occurring
in the taxable year that includes the Effective Date) would be pro-rated between the pre- and
post-change portions of the taxable year, such that the post-change portion would not be treated
as a Pre-Change Loss described above.

                However, based on facts and circumstances not yet known to the Debtor as of the
date of this Disclosure Statement (including whether the Debtor has a NUBIL as of the Effective
Date), the Debtor may, subject to any applicable consent rights set forth in the RSA to amend the
Plan, abandon its stock investment in SVB after the Effective Date, in which case the NOL
resulting from a post-Effective Date abandonment may be treated as a post-change loss. Such
determination is subject to significant uncertainties, including with respect to facts relating to the
activities of SVB after the commencement of the receivership. Accordingly, even if the Debtor
were to abandon its stock investment in SVB after the Effective Date and treat the Stock Loss as
a post-change loss, there can be no assurance that the IRS will not assert that such Stock Loss
will be subject to section 382 limitations. Irrespective of whether the abandonment occurs
before or after the Effective Date, the availability of the NOL attributable to the Stock Loss
described above, would be subject to, among other things, (i) reduction under the tax rules
applicable to COD Income, and (ii) any applicable limitations imposed by the ownership change
rules of the IRC such as those discussed above, and may be further limited to the extent that the
Debtor had undergone an ownership change prior to the Effective Date.

                       (iii)   Special Bankruptcy Exception

               With respect to the possible ownership change that could occur on the Effective
Date, an exception to the foregoing annual limitation rules generally applies when so-called
“qualified creditors,” together with certain pre-change shareholders, of a debtor corporation in
chapter 11 receive, in respect of their Claims, at least 50 percent of the vote and value of the
stock of the debtor corporation (or a controlling corporation if also in chapter 11) as reorganized
pursuant to a confirmed chapter 11 plan (the “382(l)(5) Exception”). If the requirements of the
382(l)(5) Exception are satisfied, the ownership change resulting from the consummation of the
Plan would not result in a limitation on the Debtor’s Pre-Change Losses, but, instead, NOL
carryforwards and section 163(j) carryforwards would be reduced as if no deductions were
claimed for interest paid or accrued by the Debtor, with respect to indebtedness that was satisfied
with NewCo Common Stock pursuant to the Plan, during any taxable year ending during the
three-year period preceding the taxable year in which the Effective Date occurs and during the


                                                -139-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 153 of 410



part of the taxable year prior to and including the Effective Date. If the 382(l)(5) Exception
applies and the Debtor undergoes another ownership change within two years after the Effective
Date, then the Debtor’s Pre-Change Losses as of the second ownership change would be
effectively eliminated in their entirety.

                 Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy
(either because the debtor corporation does not qualify for it or the debtor corporation otherwise
elects not to utilize the 382(l)(5) Exception), another exception will generally apply (the
“382(l)(6) Exception”) with respect to the ownership change resulting from the consummation of
the chapter 11 plan. Under the 382(l)(6) Exception, the annual limitation on the Debtor’s Pre-
Change Losses will be calculated by multiplying the applicable “long-term tax-exempt rate” by
the lesser of (a) the value of the NewCo Common Stock (with certain adjustments) immediately
after the ownership change or (b) the value of the Debtor’s assets (determined without regard to
liabilities) immediately before the ownership change. This differs from the ordinary rule that
requires the fair market value of a debtor corporation that undergoes an ownership change to be
determined before the events giving rise to the change. The 382(l)(6) Exception also differs
from the 382(l)(5) Exception in that a debtor corporation is not required to reduce its NOL
carryforwards and section 163(j) carryforwards as under the 382(l)(5) Exception. Additionally, a
debtor corporation may undergo a subsequent change of ownership within two years without
automatically triggering the elimination of its Pre-Change Losses, in which case the resulting
limitation from a subsequent ownership change would be determined under the regular rules for
ownership changes.

                Whether the Plan qualifies for the 382(l)(5) Exception is unclear and depends on a
number of factors that are not yet known, including the existence of any rights offering or a
similar transaction as part of a NewCo Transaction, and may require the receipt of one or more
additional rulings from the IRS. Moreover, it is possible that the Restructuring Transactions,
when finally determined if implemented as part of the Plan, will not be consistent with the
382(l)(5) Exception. Finally, even if the Debtor does qualify, the Debtor may, if it so desires,
elect not to have the exception apply and instead apply the 382(l)(6) Exception.

                      (iv)    Risk of Subsequent Ownership Changes

                In an attempt to minimize the likelihood of a subsequent ownership change
occurring after the Effective Date, the charter of NewCo will contain a restriction limiting the
accumulation (and disposition) of shares by persons (and certain groups of persons acting in
concert) who own or would own (actually or constructively) immediately before or after such
acquisition or disposition, 4.99 percent of any class of stock of NewCo (with certain
adjustments), and requiring the approval of the NewCo Board for any such transfers.
Nevertheless, it is possible that NewCo could undergo a subsequent ownership change, either by
events within or outside of the control of the NewCo Board, e.g., indirect changes in the
ownership of persons treated as owning 5 percent or more of the stock of NewCo (by value). In
the event of a subsequent ownership change of NewCo, all or part of the NOL (or other relevant
tax attributes) would become subject to an annual limitation or disallowed entirely, depending
on, among other things, if the 382(l)(5) Exception applies to the Plan and whether such
ownership change occurs within a certain period of time after the Effective Date.



                                              -140-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 154 of 410



               (b)    Other Provisions

               Aside from the objective limitations of section 382 of the IRC, the IRS may
disallow, pursuant to section 269 of the IRC, the subsequent use of a corporation’s losses
following an acquisition of control of a corporation by one or more persons if the principal
purpose of the acquisition is the avoidance or evasion of tax by securing a tax benefit which such
person(s) or the corporation would not otherwise enjoy. Accordingly, if the principal purpose of
any group of persons (including Holders of Claims or Interests in connection with the Plan) in
acquiring control of the Debtor is to obtain the use of the NOL, the IRS could disallow the use of
the full NOL (i.e., which may include both the pre-change portion that would be subject to the
annual section 382 limitation and the post-change unlimited portion). Other provisions of the
IRC may also preclude the use of a corporation’s NOL and certain tax attributes in other ways
under certain circumstances.

               Other Income and Uncertainty of Debtor’s Tax Treatment

                The Debtor may incur other income for U.S. federal income tax purposes in
connection with the Plan that, unlike COD Income, generally will not be excluded from the
Debtor’s U.S. federal taxable income. In addition, the U.S. federal income tax considerations
relating to the Plan are complex and subject to uncertainties. No assurance can be given that the
IRS will agree with the Debtor’s interpretations of the tax rules applicable to, or tax positions
taken with respect to, the transactions undertaken to effectuate the Plan. If the IRS were to
successfully challenge any such interpretation or position, the Debtor may recognize additional
taxable income for U.S. federal income tax purposes, and the Debtor may not have sufficient
deductions, losses or other attributes for U.S. federal income tax purposes to fully offset such
income.

                In addition, until the Debtor abandons the stock of SVB, SVB while under the
receivership of the FDIC generally will continue to be a member of the Tax Group for U.S.
federal income tax purposes, and the actions of SVB while under the FDIC’s effective control
could affect the Debtor’s U.S. federal taxable income as well as the positions taken with respect
to any transactions implemented in connection with the Plan. No assurance can be given that the
FDIC will not take any action with respect to SVB that would adversely affect the tax
consequences described in this Disclosure Statement.

B.     Consequences to U.S. Holders of Certain Claims and Interests

                 Pursuant to the Plan, except to the extent that any Holder of an Allowed Claim or
Interest agrees to less favorable treatment: Holders of Allowed General Unsecured Claims will
receive Class A Trust Units, NewCo Common Stock and/or Cash (subject to certain elections
and adjustments), in complete and final satisfaction of their respective Claims; Holders of
Allowed Subordinated Note Claims will receive Class B Trust Units and Cash sufficient to
satisfy the Subordinated Note Trustee Expenses (subject to certain elections and adjustments), in
complete and final satisfaction of their respective Claims; and Holders of Preferred Equity
Interests will receive Class C Trust Units, in complete and final satisfaction of their respective
Interests.




                                              -141-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 155 of 410



                 As discussed below (see Article XDTax Treatment of the Liquidating Trust and
Holders of Liquidating Trust Interests), it is intended that the Liquidating Trust qualify as a
“grantor trust” for U.S. federal income tax purposes. Accordingly, it is intended that each
Holder of an Allowed Claim or Interest receiving a beneficial interest in the Liquidating Trust
will be treated for U.S. federal income tax purposes as directly receiving, and as a direct owner
of, its respective share of the Liquidating Trust Assets (consistent with its economic rights in the
trust). Pursuant to the Plan, the Liquidating Trust (as provided in the Plan) will in good faith
value the assets transferred to the Liquidating Trust, and all parties to the Liquidating Trust
(including Holders of Claims and Interests receiving Liquidating Trust Interests) must
consistently use such valuation for all U.S. federal income tax purposes. However, the IRS or
another taxing authority may disagree with such valuation and assert a different valuation,
which, if sustained, could result in adverse tax consequences to such parties.

                 The U.S. federal income tax consequences to a Holder of an Allowed Claim who
receives NewCo Common Stock will depend, in part, on whether such Claim constitutes a
“security” of the Debtor for U.S. federal income tax purposes (as discussed in more detail
below). The term “security” is not defined in the IRC or in the Treasury Regulations issued
thereunder and has not been clearly defined by judicial decisions. The determination of whether
a particular debt obligation constitutes a “security” depends on an overall evaluation of the
nature of the debt, including whether the holder of such debt obligation is subject to a material
level of entrepreneurial risk and whether a continuing proprietary interest is intended or not. One
of the most significant factors considered in determining whether a particular debt obligation is a
“security” is its original term. In general, debt obligations issued with a weighted average
maturity at issuance of five years or less (e.g., trade debt and revolving credit obligations) do not
constitute “securities,” whereas debt obligations with a weighted average maturity at issuance of
ten years or more constitute “securities.” Accordingly, certain Allowed Claims may qualify as
“securities” while others may not.

              You are urged to consult your own tax advisor regarding the
characterization as “securities” for U.S. federal income tax purposes of your Claim and
the consequences of such treatment.

               Holders of Senior Note Claims (Class 3(a)) and Other General Unsecured
               Claims (Class 3(b)) and of Subordinated Note Claims (Class 4)

              The below discussion in this Article X.B.1 applies with respect to Holders who
only hold Allowed Claims within a single Class of Claims. For a discussion with respect to
Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.B.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)     Gain or Loss – In General

               If an Allowed Claim is not a “security,” or if a Holder does not receive any
consideration that constitutes stock or a “security” of NewCo in exchange for such Holder’s
Allowed Claim (for example, a Holder that only receives cash in exchange for Allowed Claims),
then the exchanging Holder of such Claim will generally recognize gain or loss (although any
loss with respect to such a Claim might be deferred until all Disputed Claims are resolved) in an


                                               -142-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 156 of 410



amount equal to the difference, between (i) the sum of the amount of any Cash and the fair
market value of all other consideration received (if any), including NewCo Common Stock and
any undivided interest in the Liquidating Trust Assets (other than any amounts received in
respect of any Claim for accrued but unpaid interest) and (ii) the Holder’s adjusted tax basis in
its Claim (other than any tax basis attributable to accrued but unpaid interest). The deduction of
capital losses is subject to certain limitations.

                In the event of a subsequent disallowance of a Disputed Claim, it is possible that a
Holder of a previously Allowed Claim may be taxed, as such Disputed Claims are resolved, and
such Holder effectively becomes entitled to an increased share of the assets held in the
Liquidating Trust or an increased number of shares of NewCo Common Stock. The imputed
interest provisions of the IRC may apply to treat a portion of such increased share or any
additional distributions (e.g., the redistribution among Holders of Allowed Claims of
undeliverable distributions) as imputed interest. In addition, it is possible that any loss realized
by a Holder in satisfaction of an Allowed Claim may be deferred until all Disputed Claims in
such Holder’s class are determined and such Holder’s share can no longer increase, and with
respect to certain Allowed Claims , a portion of any gain realized may be deferred under the
“installment method” of reporting. Holders are urged to consult their tax advisors regarding the
possibility for deferral, and the ability to elect out of the installment method of reporting any
gain realized in respect of their Claims.

                 A Holder’s aggregate tax basis in any NewCo Common Stock and/or undivided
interest in the Liquidating Trust Assets received in satisfaction of a Claim, if any, will equal the
amount taken into account in respect of such notes, stock or undivided interest in determining the
Holder’s amount realized. A Holder’s holding period in such debt, stock or undivided interest
generally will begin the day following the Effective Date.

                The fair market value of the Liquidating Trust Interests is contingent in part on
the outcome of certain Retained Causes of Action included in the Liquidating Trust Assets. It is
therefore plausible that, instead of the treatment described above, a U.S. Holder could treat the
transaction as an “open” transaction for U.S. federal income tax purposes, in which case the
recognition of any gain or loss on the transaction might be deferred pending the determination of
the amount of any recoveries under Retained Causes of Action included in the Liquidating Trust
Assets. The U.S. federal income tax consequences of treating the consummation of the Plan as
an open transaction are uncertain and highly complex, and a U.S. Holder should consult with its
own tax advisor if it believes open transaction treatment might be appropriate.

               (b)     Recapitalization Treatment

                The receipt of any NewCo Common Stock and any other instrument that
constitutes stock or a “security” of the Debtor (such as potentially any Subscription Rights,
discussed further below in Article X.B.1(e)Tax Treatment of the Potential NewCo
Transaction)] by a Holder in partial satisfaction of an Allowed Claim that constitutes a
“security” for U.S. federal income tax purposes generally would qualify as a “recapitalization”
for U.S. federal income tax purposes. In such event, each such Holder generally will not
recognize any loss upon the exchange of its Claim, but will generally recognize a gain (computed
as discussed in the preceding section) to the extent of any Cash and the fair market value of all


                                               -143-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 157 of 410



other consideration received, including its undivided interest in the Liquidating Trust Assets
received (other than to the extent received in respect of a Claim for accrued but unpaid interest,
or attributable to the receipt of any instrument that constitutes stock or a “security” of the Debtor
such as potentially Subscription Rights, if any). The treatment of distributions in respect of a
Claim for accrued but unpaid interest is discussed in the next section.

                In a recapitalization exchange, a Holder’s aggregate tax basis in any NewCo
Common Stock and any other instrument that constitutes stock or a “security” of the Debtor
(such as potentially any Subscription Rights, discussed further below in Article X.B.1(e)Tax
Treatment of the Potential NewCo Transaction) received in respect of an Allowed Claim that
constitutes a “security” will equal the Holder’s adjusted tax basis in such Claim (including any
Claim for accrued but unpaid interest); increased by any gain recognized or interest income
received in respect of such Claim; and decreased by the amount of any Cash and the fair market
value of its undivided interest in the Liquidating Trust Assets received and any deductions
claimed in respect of any previously accrued but unpaid interest. The aggregate tax basis should
be allocated among the stock and “securities” of the Debtor received in accordance with their
relative fair market values as of the Effective Date.

               In a recapitalization exchange, a Holder’s holding period in any NewCo Common
Stock and any other instrument that constitutes stock or a “security” of the Debtor (such as
potentially any Subscription Rights, discussed further below in Article X.B.1(e)Tax Treatment
of the Potential NewCo Transaction) received will include the Holder’s holding period in the
Claim exchanged therefor, except to the extent of its undivided interest in the Liquidating Trust
Assets or any NewCo Common Stock received in respect of a Claim for accrued but unpaid
interest (which will commence a new holding period).

               A Holder’s tax basis in its undivided interest in the Liquidating Trust Assets
(other than any instrument that constitutes a “security” of the Debtor such as potentially
Subscription Rights (as defined below), if any) will equal the fair market value of such interest,
and the Holder’s holding period generally will begin the day following the Effective Date.

               (c)     Consideration Received in Satisfaction of Accrued Interest or OID

                In general, to the extent that any consideration received pursuant to the Plan by a
Holder of an Allowed Claim is received in satisfaction of interest accrued during its holding
period, such amount will be taxable to the Holder as interest income (if not previously included
in the Holder’s gross income). For purposes of this paragraph and related discussions above,
“interest accrued” during a holding period includes original issue discount (“OID”) accrued over
the course of such holding period. Conversely, a Holder may be entitled to recognize a loss to
the extent any accrued interest was previously included in its gross income and is not paid in full.
The Plan provides that consideration received in respect of a Claim is generally allocable first to
the principal amount of the Claim (as determined for U.S. federal income tax purposes) and then,
to the extent of any excess, to any Claim for accrued but unpaid interest. There is no assurance
that the IRS will respect such allocation for U.S. federal income tax purposes. Holders are urged
to consult their tax advisors regarding the allocation of consideration received under the Plan, as
well as the deductibility of accrued but unpaid interest (including OID, if applicable) and the



                                                -144-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 158 of 410



character of any loss claimed with respect to accrued but unpaid interest previously included in
gross income for U.S. federal income tax purposes.

               (d)     Character of Gain or Loss

                 Where gain or loss is recognized by a Holder, the character of such gain or loss as
long-term or short-term capital gain or loss or as ordinary income or loss will be determined by a
number of factors, including the tax status of the Holder, whether the Allowed Claim constitutes
a capital asset in the hands of the Holder, how long the Claim has been held, whether the Claim
was acquired at a market discount, and whether and to what extent the Holder previously claimed
a bad debt deduction. A Holder that purchased its Claims from a prior Holder at a “market
discount” (relative to the principal amount of the Claims at the time of acquisition) may be
subject to the market discount rules of the IRC. In general, a debt instrument is considered to
have been acquired with “market discount” if it is acquired other than on original issue and if the
Holder’s adjusted tax basis in the debt instrument immediately after the acquisition is less than
(a) the sum of all remaining payments to be made on the debt instrument, excluding qualified
stated interest, or (b) in the case of a debt instrument issued with original issue discount, its
revised issue price, in each case, by at least a de minimis amount. The de minimis amount is
equal to 0.25% of the sum of all remaining payments to be made on the debt instrument from the
date of such acquisition, excluding qualified stated interest, multiplied by the number of
remaining whole years to maturity. Under these rules, gain recognized on the exchange of
Claims (other than in respect of a Claim exchanged for accrued but unpaid interest) generally
will be treated as ordinary income to the extent of the market discount accrued (on a straight line
basis or, at the election of the Holder, on a constant yield basis) during the Holder’s period of
ownership, unless the Holder elected to include the market discount in income as it accrued. If a
Holder of Claims did not elect to include market discount in income as it accrued and, thus,
under the market discount rules, was required to defer all or a portion of any deductions for
interest on debt incurred or maintained to purchase or carry its Claims, such deferred amounts
would become deductible at the time of the exchange in the case of a taxable exchange.

                In the case of an exchange of any Claims that qualifies as a recapitalization, any
accrued market discount that is not included in income should be applied to any stock or
“securities” received in the exchange (such as the NewCo Common Stock or Subscription Rights
(as defined below), if applicable), such that any gain recognized by a Holder upon a subsequent
disposition of such stock or “securities” would generally be treated as ordinary income to the
extent of any accrued market discount not previously included in income. If a Holder of such
Claims did not elect to include market discount in income as it accrued and, thus, under the
market discount rules, was required to defer all or a portion of any deductions for interest on debt
incurred or maintained to purchase or carry its Claims, such deferred amounts should be carried
over to the stock or “securities” received in the exchange to the extent that any accrued market
discount is applied to stock or such “securities” and should become deductible upon a subsequent
disposition of such stock or “securities.” To date, specific Treasury Regulations implementing
these rules have not been issued.




                                               -145-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 159 of 410



               (e)     Tax Treatment of the Potential NewCo Transaction

                The characterization of a potential NewCo Transaction will depend on the
ultimate structure of such NewCo Transaction, which has not yet been determined as of the date
of this Disclosure Statement. Moreover, even upon the determination of the final structure of a
particular NewCo Transaction, the tax consequences of such NewCo Transaction may be subject
to uncertainty. For example, if NewCo issues rights to purchase additional NewCo Common
Stock in a rights offering (such rights, “Subscription Rights”), the characterization of such
Subscription Rights and their subsequent exercise for U.S. federal income tax purposes—as
simply the exercise of options to acquire the underlying stock or, alternatively, as an integrated
transaction pursuant to which the underlying stock is acquired directly in partial satisfaction of a
Holder’s Allowed Claim —is uncertain.

                If the Subscription Rights are not disregarded as transitory in an integrated
transaction analysis and are treated as separate property (for example, characterized as options),
then the Holder’s tax basis in the Subscription Rights received depends on whether the receipt of
such Subscription Rights qualifies as a recapitalization. To the extent that both the Subscription
Rights and the Allowed Claims exchanged therefor constitute “securities” of NewCo, then the
Holder’s tax basis and holding period in the Subscription Rights is generally determined as
described above in Article X.B.1(b)Recapitalization Treatment. If either the Holder’s Claims
or the Subscription Rights received in exchange do not constitute “securities,” then the Holder’s
tax basis in the Subscription Rights received should be equal to the fair market value of such
Subscription Rights when received. A Holder’s holding period in the Subscription Rights
generally should commence the day following the Effective Date. A Holder’s holding period in
the additional NewCo Common Stock received upon exercise of a Subscription Right generally
should commence the day following the exercise of the applicable Subscription Right.

                It is uncertain whether a Holder that does not exercise a Subscription Right should
be treated as receiving anything of additional value in respect of its Allowed Claims. If the
Holder is treated as having received a Subscription Right of value (despite its subsequent lapse),
such that it obtains a tax basis in the right, the Holder generally would recognize a loss to the
extent of the Holder’s tax basis in the Subscription Right upon the lapse or expiration of such
right. In general, such loss would be a capital loss, and long-term or short-term, depending upon
whether the requisite holding period was satisfied (taking into account that the receipt of the
Subscription Rights in partial satisfaction of a Claim could be part of a recapitalization exchange,
even if the right goes unexercised, such that the Holder may carry over the holding period in its
Claim).

               If the Subscription Rights are disregarded as transitory in an integrated transaction
analysis and a Holder’s acquisition of NewCo Common Stock in the rights offering is treated as
occurring directly in connection with partial satisfaction of a Holder’s Allowed Claims, the
Holder’s tax treatment also depends on whether such acquisition of NewCo Common Stock in
exchange for Allowed Claims qualifies as a recapitalization. If, in such integrated transaction,
the Holder’s receipt of the NewCo Common Stock is pursuant to a recapitalization, then the
Holder could have a split basis and holding period in the additional NewCo Common Stock
received upon exercise of a Subscription Right (for example, part carryover basis and holding
period, with respect to the portion of the additional NewCo Common Stock attributable to the


                                               -146-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 160 of 410



value of the Subscription Rights, and part new, with respect to the portion of the additional
NewCo Common Stock that is attributable to the exercise price of the Subscription Right). If the
Holder’s receipt of the NewCo Common Stock is not pursuant to a recapitalization (because, for
example, the Holder’s Allowed Claim does not constitute “securities”), then the Holder’s
aggregate tax basis in the NewCo Common Stock received upon exercise of a Subscription Right
should be equal to the sum of (i) the amount paid for the additional NewCo Common Stock and
(ii) the Holder’s tax basis in any additional NewCo Common Stock that is treated as directly
acquired in partial satisfaction of the Holder’s Allowed Claim. A Holder’s holding period in the
NewCo Common Stock received generally should commence the day following the Effective
Date.

                Regardless of whether the Subscription Rights are disregarded or not, however, a
Holder of Subscription Rights generally would not recognize any gain or loss upon the exercise
of such Subscription Rights (beyond the gain or loss recognized in respect of its Claim, as
described above). In addition, if either the Subscription Rights or, under an integrated
transaction analysis, the additional NewCo Common Stock acquired, is treated as received as
part of a recapitalization exchange, any gain recognized upon a subsequent disposition of the
additional NewCo Common Stock may be treated as ordinary income to the extent of any
carryover of accrued market discount not previously included in income (see
Article X.B.1(d)Character of Gain or Loss).

               Holders of Preferred Equity Interests (Class 5)

               The below discussion in this Article X.B.2 applies with respect to Holders who
only hold Preferred Equity Interests and no other Claim or Interest. For a discussion with respect
to Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.B.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)     Gain or Loss – In General

                 The exchanging Holder of Allowed Interests will generally recognize capital gain
or loss (although any loss with respect to such Interest might be deferred until all Disputed
Interests are resolved) in an amount equal to the difference, between (i) the sum of the amount of
any Cash, and the fair market value of all other consideration received, including an undivided
interest in the Liquidating Trust Assets (other than any amounts received in respect of accrued
but unpaid dividends) and (ii) the Holder’s adjusted tax basis in its Interests. Such capital gain
will be long-term capital gain if at the time of the exchange, the U.S. Holder’s holding period of
the Allowed Interests was more than one year. Long-term capital gains of a non-corporate
taxpayer generally are taxed at preferential rates. The deduction of capital losses is subject to
certain limitations.

               In the event of a subsequent disallowance of a Disputed Interest, it is possible that
a Holder of a previously Allowed Interest may be taxed as such Disputed Interests are resolved,
and such Holder effectively becomes entitled to an increased share of the assets held in the
Liquidating Trust. The imputed interest provisions of the IRC may apply to treat a portion of
such increased share or any additional distributions (e.g., the redistribution among Holders of
Allowed Interests of undeliverable distributions) as imputed interest. In addition, it is possible


                                               -147-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 161 of 410



that any loss realized by a Holder in satisfaction of an Allowed Interest may be deferred until all
Disputed Interest in such Holder’s class are determined and such Holder’s share can no longer
increase, and with respect to certain Allowed Interests, a portion of any gain realized may be
deferred under the “installment method” of reporting. Holders are urged to consult their tax
advisors regarding the possibility for deferral, and the ability to elect out of the installment
method of reporting any gain realized in respect of their Interests.

               A Holder’s aggregate tax basis in any undivided interest in the Liquidating Trust
Assets received in satisfaction of an Interest will equal the amount taken into account in respect
of such undivided interest in determining the Holder’s amount realized. A Holder’s holding
period in such undivided interest generally will begin the day following the Effective Date.

                The fair market value of the Liquidating Trust Interests is contingent in part on
the outcome of certain Retained Causes of Action included in the Liquidating Trust Assets. It is
therefore plausible that, instead of the treatment described above, a U.S. Holder could treat the
transaction as an “open” transaction for U.S. federal income tax purposes, in which case the
recognition of any gain or loss on the transaction might be deferred pending the determination of
the amount of any recoveries under Retained Causes of Action included in the Liquidating Trust
Assets. The U.S. federal income tax consequences of treating the consummation of the Plan as
an open transaction are uncertain and highly complex, and a U.S. Holder should consult with its
own tax advisor if it believes open transaction treatment might be appropriate.

               Holders of Multiple Classes of Allowed Claims and Interests

             The below discussion in this Article X.B.3 applies with respect to Holders who
hold Allowed Claims or Interests in more than one Class of Claims or Interests (for example, a
Holder who holds both Senior Notes and Preferred Equity Interests).

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is uncertain. If such
Holder is treated as having separate exchanges for each Class of Claims or Interests for U.S.
federal income tax purposes, the tax treatments described above in Article X.B.1 and
Article X.B.2 would generally apply. However, the U.S. federal income tax treatment for a
Holder of multiple Classes of Claims or Interests may be different from the tax treatment with
respect to Holders who hold Allowed Claims or Interests in only a single Class of Claims or
Interests if such Holder is treated as exchanging all Classes of Claims or Interests for all
consideration received in a single exchange. For example, an exchanging Holder who only holds
Preferred Equity Interests will generally recognize capital gain or loss as described above in
Article X.B.2, subject to the qualifications and limitations therein. However, an exchanging
Holder who holds both Preferred Equity Interests and Senior Notes that are “securities” may be
limited from recognizing any loss if the exchange of Preferred Equity Interests and Senior Notes,
taken as a whole, is treated as a recapitalization for U.S. federal income tax purposes. In
addition, irrespective of whether such exchange of both Preferred Equity Interests and Senior
Notes qualify as a recapitalization, such Holder may also be treated as receiving ordinary income
or dividend income (rather than capital gain), to the extent of (i) consideration received in respect
of a Claim for accrued but unpaid interest, (ii) consideration received in respect of an Interest for
accrued but unpaid dividends or (iii) such Holder’s ratable share of the Debtor’s earnings and


                                               -148-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 162 of 410



profits, if the receipt of property other than NewCo Common Stock is treated as such dividends
under Section 302(d) or Section 356(a)(2) of the IRC.

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is complex and depends
on a number of factors, some of which are unclear under applicable law, including whether any
such Claims being exchanged constitute “securities”, whether such Holder receives any NewCo
Common Stock or Subscription Rights and the extent to which Section 302(d) or Section
356(a)(2) of the IRC applies. Holders that hold Claims or Interests in multiple Classes of Claims
or Interests are urged to consult their tax advisors regarding the appropriate U.S. federal income
tax treatment of the consummation of the Plan.

               Ownership and Disposition of NewCo Common Stock Received Under the
               Plan

               (a)     Distributions on NewCo Common Stock

                Cash distributions with respect to the NewCo Common Stock generally will be
treated as taxable dividends to the extent allocable to NewCo’s current and/or accumulated
earnings and profits as determined under U.S. federal income tax principles (“Earnings and
Profits”) and will be includible in income by the Holder when received. To the extent the
amount of any distribution exceeds available Earnings and Profits with respect to such
distribution, the excess will be applied against and will reduce the Holder’s adjusted tax basis (on
a dollar-for-dollar basis) in respect of the stock as to which the distribution was made, but not
below zero. Any remaining excess will be treated as gain from the sale or exchange of such
stock.

                 Dividends are generally taxed as ordinary income; however, dividends received
by non-corporate Holders may qualify for taxation at lower rates applicable to long-term capital
gains, provided certain holding period and other requirements are satisfied. The length of time
that a shareholder has held stock is reduced for any period during which the shareholder’s risk of
loss with respect to the stock is diminished by reason of the existence of certain options,
contracts to sell, short sales or similar transactions. Non-corporate Holders are urged to consult
their own tax advisors regarding the applicability of such lower rates under their particular
factual situation. Subject to applicable limitations, a distribution to a corporate shareholder that
is treated as a dividend for U.S. federal income tax purposes may qualify for the dividends
received deduction. No assurance can be given that NewCo will have sufficient Earnings and
Profits (as determined for U.S. federal income tax purposes) to cause distributions to be treated
as dividends and thus eligible for a dividends received deduction. Corporate Holders may be
eligible for the dividends received deduction if certain holding period and taxable income
requirements are satisfied, in which case the amount of the deduction is dependent on the percent
of NewCo (by vote and value) that the corporate Holder owns. In addition, to the extent that a
corporation incurs indebtedness that is directly attributable to an investment in the stock on
which the dividend is paid, all or a portion of the dividends received deduction may be
disallowed. Finally, the tax consequences of the receipt of a dividend by a corporate Holder may
be different if the dividend is treated as an “extraordinary dividend” under applicable rules.



                                               -149-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 163 of 410



               (b)    Sale, Redemption, or Repurchase of NewCo Common Stock

                Unless a non-recognition provision applies, U.S. Holders generally will recognize
capital gain or loss upon the sale, redemption (other than a redemption treated as a distribution
for U.S. federal income tax purposes under section 302(d) of the IRC, in which case the
consequences described above under “Distributions on NewCo Common Stock” would generally
apply), or other taxable disposition of the NewCo Common Stock. Such capital gain will be
long-term capital gain if at the time of the sale, exchange, retirement, or other taxable
disposition, the U.S. Holder’s holding period of the sold NewCo Common Stock was more than
one year. Long-term capital gains of a non-corporate taxpayer generally are taxed at preferential
rates. The deductibility of capital losses is subject to limitations.

                 Notwithstanding the foregoing, any gain recognized by a Holder upon a
subsequent taxable disposition of any NewCo Common Stock received in respect of an Allowed
Claim against the Debtor (or any stock or property received for such stock in a later tax-free
exchange) would be treated as ordinary income for U.S. federal income tax purposes to the
extent of (i) any bad debt deductions (or additions to a bad debt reserve) claimed with respect to
the Claim or any ordinary loss allowed to the Holder upon satisfaction of the Claim for which
NewCo Common Stock was received, less any income (other than interest income) recognized
by the Holder upon satisfaction of the Claim, and (ii) with respect to a cash-basis Holder, also
any amounts which would have been included in its gross income if the Holder’s Claim had been
satisfied in full but which was not included by reason of the cash method of accounting.

                In addition, as discussed above, in the event of an exchange of Allowed Claims
that qualifies as a recapitalization for U.S. federal income tax purposes, a portion of any gain
recognized upon a subsequent disposition of any NewCo Common Stock received may be
treated as ordinary income to the extent of any carryover of accrued market discount not
previously included in income.

C.     Consequences to the Non-U.S. Holders of Certain Claims and Interests

                As discussed above, it is intended that each Holder of an Allowed Claim or
Interest receiving a beneficial interest in the Liquidating Trust will be treated for U.S. federal
income tax purposes as directly receiving, and as a direct owner of, its respective share of the
Liquidating Trust Assets (consistent with its economic rights in the trust). This Article X.C
describes certain U.S. federal income tax consequences of the Plan to the Non-U.S. Holders of
certain Claims and Interests. The same general considerations discussed above at the beginning
of Article X.B—Consequences to U.S. Holders of Certain Claims and Interests, prior to the
discussion in Article X.B.1—Holders of Senior Note Claims (Class 3(a)) and Other General
Unsecured Claims (Class 3(b)) and of Subordinated Note Claims (Class 4), apply to Non-U.S.
Holders. Further, the amount and character of each item of income, deduction, gain, or loss is
generally determined in the same manner as set forth above in connection with U.S. Holders.
However, as discussed in greater detail below, the Non-U.S. Holders may be subject to U.S.
federal income tax rules that specifically apply to non-U.S. persons. For example, special rules
may apply to non-U.S. Holders of a U.S. real property holding corporation (“USRPHC”). The
Debtor does not believe that it is, and does not believe NewCo will be, a USRPHC, in light of the
nature of its assets and business operations, but no formal study has been or will be conducted


                                              -150-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 164 of 410



and no assurance can be given in this regard. Unless indicated otherwise, the remainder of this
discussion assumes that the Debtor has not been, and NewCo will not be, a USRPHC.

                Generally, unless a documented exception applies, a Non-U.S. Holder of an
Allowed Claim or Interest may be subject to a 30 percent withholding tax on the gross amount of
certain U.S. source income and gain received in connection with the Plan, or in connection with
such Holder’s ownership of any NewCo Common Stock or Liquidating Trust Interests. A Non-
U.S. Holder may be eligible for a reduction of, or exemption from, withholding tax if such holder
qualifies for benefits under a U.S. tax treaty and provides the withholding agent with the
documentation necessary to make such treaty claim (i.e., an IRS Form W-8BEN or W-8BEN-E
or other applicable documentation, signed under the penalties of perjury) (a “Valid Treaty
Claim”). Additionally, a Non-U.S. Holder may be exempt from withholding if such income is
effectively connected with a United States trade or business of the Non-U.S. Holder (“ECI”) and
the Non-U.S. Holder provides the withholding agent with a properly executed IRS Form W-
8ECI (“Valid ECI Withholding Exemption”). The result of a Valid ECI Withholding Exemption
is that the Non-U.S. Holder will be subject to tax on its U.S. source income on a net basis. Non-
U.S. Holders are urged to consult their tax advisors regarding the availability of making a Valid
Treaty Claim or Valid ECI Withholding Exemption.

                Non-U.S. Holders must provide the certifications described above (e.g., IRS
Forms W-8BEN, W-8BEN-E, and W-8ECI) to the applicable withholding agent prior to
receiving a payment that would be subject to U.S. withholding tax and must update such
certifications periodically. Non-U.S. Holders that do not timely provide the applicable
withholding agent with the required certification, but that qualify for an exemption or a reduced
rate under an applicable income tax treaty, may obtain a refund of any excess amounts withheld
by timely filing an appropriate claim for refund with the IRS. The reporting obligations of the
Liquidating Trust and Liquidating Trust Beneficiaries with respect to the Non-U.S. Holders is
discussed below in Article XD.3—General Tax Reporting by the Liquidating Trust and
Liquidating Trust Beneficiaries.

               Holders of Senior Note Claims (Class 3(a)) and Other General Unsecured
               Claims (Class 3(b)) and of Subordinated Note Claims (Class 4)

              The below discussion in this Article X.C.1 applies with respect to Holders who
only hold Allowed Claims within a single Class of Claims. For a discussion with respect to
Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.C.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)    Gain or Loss on the Exchange

              Whether a Non-U.S. Holder realizes gain or loss pursuant to the transactions
undertaken as part of the Plan and the amount and character of such gain or loss is generally
determined in the same manner as set forth above in connection with U.S. Holders as
discussed in Article X.B.1(a)Gain or Loss – In General, Article X.B.1(b)Recapitalization
Treatment, and Article X.B.1(d)Character of Gain or Loss above.




                                              -151-
23-10367-mg     Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                          Pg 165 of 410



               Subject to the discussion below with respect to accrued interest and OID, any
gain realized by a Non-U.S. Holder on the exchange of its Claim generally will not be
subject to U.S. federal income taxation unless:

                     1. the Non-U.S. Holder is a nonresident alien individual who was present in
                        the United States for 183 days or more during the individual’s taxable year
                        within which the Effective Date occurs and certain other conditions are
                        met;

                     2. such gain is ECI (and, if an applicable U.S. income tax treaty applies, such
                        gain is attributable to a permanent establishment of such Non-U.S. Holder
                        in the United States); or

                     3. such gain is realized by a Non-U.S. Holder on the exchange of an Interest
                        as part of the Plan, and the Debtor is or has been a USRPHC and certain
                        conditions are met.

               If the first exception applies, to the extent that any gain is taxable, the Non-U.S.
Holder generally will be subject to U.S. federal income tax at a rate of 30 percent (or at a
reduced rate or exemption from tax under an applicable income tax treaty if a Valid Treaty Claim
is made) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of the exchange.

                 If the second exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax with respect to any gain realized on the exchange in the same manner as
a U.S. Holder. A Valid ECI Withholding Exemption can be made to exempt the Non-U.S.
Holder from withholding tax. In addition, if such Non-U.S. Holder is a corporation, it may be
subject to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable
treaty) of its dividend equivalent amount as defined in section 884(a) of the IRC.

               If the third exception applies, although as discussed above, the Debtor believes
NewCo has not been or will be a USRPHC, the Non-U.S. Holder generally will be subject to
U.S. federal income tax to the extent of any gain realized, and withholding at a rate of 15 percent
on the gross amount realized, on the exchange of an Interest that is not characterized as a
dividend for U.S. federal income tax purposes, unless certain exceptions apply.

               (b)      Consideration Received in Satisfaction of Accrued Interest or OID

                The treatment of any consideration received pursuant to the Plan by a Non-U.S.
Holder of an Allowed Claim that is received in satisfaction of interest accrued during its holding
period (including any OID, in the case of a Claim) is generally determined in the same manner as
set forth above in connection with a U.S. Holder in Article X.B.1(c)Consideration Received in
Satisfaction of Accrued Interest or OID. Such payments to a Non-U.S. Holder generally will not
be subject to U.S. federal income or withholding tax, provided that the withholding agent has
received or receives, prior to payment, appropriate documentation (generally a properly executed
IRS Form W-8BEN or W-8BEN-E, although a U.S. taxpayer identification number and
documentary evidence issued by foreign governmental authorities to prove residence in the



                                                -152-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                          Pg 166 of 410



foreign country, may also be required) establishing that the Non-U.S. Holder is not a U.S.
person, unless:

                        the Non-U.S. Holder actually or constructively owns 10 percent or more
                         of the total combined voting power of all classes of stock of the Debtor;

                        the Non-U.S. Holder is a “controlled foreign corporation” that is a “related
                         person” with respect to the Debtor (each, within the meaning of the IRC);

                        the Non-U.S. Holder is a bank receiving interest described in section
                         881(c)(3)(A) of the IRC; or

                        such accrued interest or OID is ECI (in which case, provided the Non-U.S.
                         Holder provides a properly executed IRS Form W-8ECI (or successor
                         form) to the withholding agent, the Non-U.S. Holder (x) generally will not
                         be subject to withholding tax, but (y) will be subject to U.S. federal
                         income tax in the same manner as a U.S. Holder (unless an applicable
                         income tax treaty provides otherwise), and a Non-U.S. Holder that is a
                         corporation for U.S. federal income tax purposes may also be subject to a
                         branch profits tax with respect to such Non-U.S. Holder’s effectively
                         connected Earnings and Profits that are attributable to the accrued but
                         unpaid interest at a rate of 30 percent (or at a reduced rate or exemption
                         from tax under an applicable income tax treaty)).

                 A Non-U.S. Holder that does not qualify for an exemption from withholding tax
with respect to interest that is not ECI generally will be subject to withholding of U.S. federal tax
at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax
treaty) on payments that are attributable to accrued but unpaid interest on such Non-U.S.
Holder’s Claims. For purposes of providing a properly executed IRS Form W-8BEN or W-
8BEN-E, special procedures are provided under applicable Treasury Regulations for payments
through qualified foreign intermediaries or certain financial institutions that hold customers’
securities in the ordinary course of their trade or business.

               (c)       Tax Treatment of the Potential NewCo Transaction

               The rules described above under Article X.B.1(e)Tax Treatment of the
Potential NewCo Transaction, generally apply with respect to a Non-U.S. Holder. However, on
lapse or disposition of a Subscription Right, any gain or loss would not be subject to U.S. federal
income tax unless (a) the Non-U.S. Holder is a nonresident alien individual who was present in
the United States for 183 days or more during the individual’s taxable year within which the
lapse or disposition and certain other requirements are met, (b) such gain or loss is ECI or (c)
NewCo is or has been a USRPHC and certain conditions are met. As discussed above, the
Debtor does not believe that NewCo has been or will be a USRPHC.




                                                -153-
23-10367-mg     Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                          Pg 167 of 410



               Holders of Preferred Equity Interests (Class 5)

               The below discussion in this Article X.C.2 applies with respect to Holders who
only hold Preferred Equity Interests and no other Claim or Interest. For a discussion with respect
to Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.C.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)       Gain or Loss on the Exchange

              Whether a Non-U.S. Holder realizes gain or loss pursuant to the transactions
undertaken as part of the Plan and the amount and character of such gain or loss is generally
determined in the same manner as set forth above in connection with U.S. Holders as
discussed above in Article X.B.2(a)Gain or Loss – In General.

               Any gain realized by a Non-U.S. Holder on the exchange of its Interests
generally will not be subject to U.S. federal income taxation unless:

                        the Non-U.S. Holder is a nonresident alien individual who was present in
                         the United States for 183 days or more during the individual’s taxable year
                         within which the Effective Date occurs and certain other conditions are
                         met;

                        such gain is ECI (and, if an applicable U.S. income tax treaty applies, such
                         gain is attributable to a permanent establishment of such Non-U.S. Holder
                         in the United States); or

                        such gain is realized by a Non-U.S. Holder on the exchange of an Interest
                         as part of the Plan, and the Debtor is or has been a USRPHC and certain
                         conditions are met.

               If the first exception applies, to the extent that any gain is taxable, the Non-U.S.
Holder generally will be subject to U.S. federal income tax at a rate of 30 percent (or at a
reduced rate or exemption from tax under an applicable income tax treaty if a Valid Treaty Claim
is made) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of the exchange.

                 If the second exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax with respect to any gain realized on the exchange in the same manner as
a U.S. Holder. A Valid ECI Withholding Exemption can be made to exempt the Non-U.S.
Holder from withholding tax. In addition, if such Non-U.S. Holder is a corporation, it may be
subject to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable
treaty) of its dividend equivalent amount as defined in section 884(a) of the IRC.

               If the third exception applies, although as discussed above, the Debtor believes
the NewCo has not been or will be a USRPHC, the Non-U.S. Holder generally will be subject to
U.S. federal income tax to the extent of any gain realized, and withholding at a rate of 15 percent
on the gross amount realized, on the exchange of an Interest that is not characterized as a
dividend for U.S. federal income tax purposes, unless certain exceptions apply.


                                                -154-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 168 of 410



               Holders of Multiple Classes of Allowed Claims and Interests

             The below discussion in this Article X.C.3 applies with respect to Holders who
hold Allowed Claims or Interests in more than one Class of Claims or Interests (for example, a
Holder who holds both Senior Notes and Preferred Equity Interests).

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is uncertain. If such
Holder is treated as having separate exchanges for each Class of Claims or Interests for U.S.
federal income tax purposes, the tax treatments described above in Article X.C.1 and
Article X.C.2 would generally apply. However, the U.S. federal income tax treatment for a
Holder of multiple Classes of Claims or Interests may be different from the tax treatment with
respect to Holders who hold Allowed Claims or Interests in only a single Class of Claims or
Interests if such Holder is treated as exchanging all Classes of Claims or Interests for all
consideration received in a single exchange. For example, an exchanging Holder who only holds
Preferred Equity Interests will generally recognize capital gain or loss as described above in
Article X.C.2—Holders of Preferred Equity Interests (Class 5), subject to the qualifications and
limitations therein. However, an exchanging Holder who holds both Preferred Equity Interests
and Senior Notes that are “securities” may be limited from recognizing any loss if the exchange
of Preferred Equity Interests and Senior Notes, taken as a whole, is treated as a recapitalization
for U.S. federal income tax purposes. In addition, irrespective of whether such exchange of both
Preferred Equity Interests and Senior Notes qualify as a recapitalization, such Holder may also
be treated as receiving ordinary dividend income (rather than capital gain), to the extent of (i)
consideration received in respect of a Claim for accrued but unpaid interest, (ii) consideration
received in respect of an Interest for accrued but unpaid dividends or (iii) such Holder’s ratable
share of the Debtor’s earnings and profits, if the receipt of property other than NewCo Common
Stock is treated as dividends such under Section 302(d) or Section 356(a)(2) of the IRC. In such
cases, such amounts treated as interest or dividends may be subject to U.S. federal withholding
tax or branch profits tax in a manner similar to such taxes imposed on consideration received in
satisfaction of accrued but unpaid interest described above in Article X.C.1(b)—Consideration
Received in Satisfaction of Accrued Interest or OID or imposed on dividends paid with respect to
NewCo Common Stock described below in Article X.C.4(a)—Distributions on NewCo Common
Stock.

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is complex and depends
on a number of factors, some of which are unclear under applicable law, including whether any
such Claims being exchanged constitute “securities” and whether such Holder receives any
NewCo Common Stock or Subscription Rights and the extent to which Section 302(d) or Section
356(a)(2) of the IRC applies. Holders that hold Claims or Interests in multiple Classes of Claims
or Interests are urged to consult their tax advisors regarding the appropriate U.S. federal income
tax treatment of the consummation of the Plan.




                                              -155-
23-10367-mg     Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                         Pg 169 of 410



               Ownership and Disposition of NewCo Common Stock Received Under the
               Plan

               (a)       Distributions on NewCo Common Stock

                 The treatment of distributions with respect to the NewCo Common Stock is
generally determined in the same manner as set forth above in connection with U.S. Holders as
discussed above in Article X.B.4(a)Distributions on NewCo Common Stock. Except as
described below, dividends paid with respect to NewCo Common Stock held by a Non-U.S.
Holder that are not eligible for a Valid ECI Withholding Exemption will be subject to U.S.
federal withholding tax at a rate of 30 percent (or at a reduced rate or exemption from tax under
an applicable income tax treaty if a Valid Treaty Claim is made). In addition, a Non-U.S. Holder
that is a corporation for U.S. federal income tax purposes may also be subject to a branch profits
tax with respect to such Non-U.S. Holder’s effectively connected Earnings and Profits that are
attributable to the dividends at a rate of 30 percent (or at a reduced rate or exemption from tax
under an applicable income tax treaty).As discussed above, although the Debtor believes NewCo
has not been nor will be a USRPHC, if NewCo is a USRPHC, distributions to a Non-U.S. Holder
that are not treated as dividends may be subject to U.S. federal income tax and will generally be
subject to withholding by NewCo at a rate of 15 percent to the extent they are not treated as
dividends, unless certain exceptions apply.

               (b)       Sale, Redemption, or Repurchase of NewCo Common Stock

               The treatment of sale, redemption or repurchase of NewCo Common Stock is
generally determined in the same manner as set forth above in connection with U.S. Holders as
discussed above in Article X.B.4(b)Sale, Redemption, or Repurchase of NewCo Common
Stock. A Non-U.S. Holder generally will not be subject to U.S. federal income tax with
respect to any gain realized on the sale or other taxable disposition (including a Cash
redemption) of NewCo Common Stock unless:

                        such Non-U.S. Holder is a nonresident alien individual who was
                         present in the United States for 183 days or more during the
                         individual’s taxable year within which the disposition occurs;

                        a Valid ECI Withholding Exemption is made with respect to such gain;
                         or

                        the issuer of such NewCo Common Stock is or has been a USRPHC
                         and certain conditions are met.

               If the first exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax at a rate of 30 percent (or at a reduced rate or exemption from tax
under an applicable income tax treaty if a Valid Treaty Claim is made) on the amount by
which such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital losses
allocable to U.S. sources during the taxable year of disposition of New Equity Interests.




                                              -156-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 170 of 410



               If the second exception applies, the Non-U.S. Holder generally will be subject
to U.S. federal income tax with respect to such gain in the same manner as a U.S. Holder,
and a Non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also
be subject to a branch profits tax with respect to Earnings and Profits effectively connected
with a U.S. trade or business that is attributable to such gains at a rate of 30 percent (or at a
reduced rate or exemption from tax under an applicable income tax treaty).

           As discussed above, the Debtor does not believe that NewCo has been or will
be a USRPHC.

D.      Tax Treatment of the Liquidating Trust and Holders of Liquidating Trust Interests

       1.      Tax Classification of the Liquidating Trust

                As described above, the Liquidating Trust is intended to qualify as a “liquidating
trust” for U.S. federal income tax purposes. In general, a liquidating trust is not a separate
taxable entity, but rather is treated for U.S. federal income tax purposes as a “grantor trust” (i.e.,
the Liquidating Trust Beneficiaries are deemed to own the assets of the trust, and all of the trust’s
income and loss is taxed directly to the Liquidating Trust Beneficiaries). Pursuant to the Plan, all
parties (including, without limitation, the Debtor, the Liquidating Trust Board, the Liquidating
Trust and the Liquidating Trust Beneficiaries) will be required to treat, for U.S. federal income
tax purposes, the Liquidating Trust as a grantor trust of which the Liquidating Trust
Beneficiaries are the owners and grantors. The following discussion assumes that the
Liquidating Trust will be so respected for U.S. federal income tax purposes. However, merely
establishing a trust as a liquidating trust does not ensure that it will be treated as a grantor trust
for U.S. federal income tax purposes. Although the Liquidating Trust will be structured with the
intention of complying with guidelines established by the IRS in Revenue Procedure 94-45,
1994-2 C.B. 684, for the formation of liquidating trusts, no opinion of counsel has been
requested, and the Liquidating Trust may or may not obtain a ruling from the IRS, concerning
the tax status of the Liquidating Trust as a grantor trust. Accordingly, there can be no assurance
that the IRS would not take a contrary position. If the IRS were to successfully challenge the
classification of the Liquidating Trust, the U.S. federal income tax consequences to the
Liquidating Trust and/or the Holders of Allowed Claims or Interests could vary from those
discussed herein (including the potential for imposition of tax on the net income of the
Liquidating Trust at the entity level, in addition to taxation at the level of the Liquidating Trust
Beneficiaries).

       2.      Tax Treatment of the Disputed Claims Reserve

                Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt by the Liquidating Trust of a private letter ruling if the
Liquidating Trust so requests one, or the receipt of an adverse determination by the IRS upon
audit if not contested by the Liquidating Trust Board), the Liquidating Trust will (A) timely elect
to treat any Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
Regulation section 1.468B-9 (a “DOF”), and (B) to the extent permitted by applicable law, report
consistently with the foregoing for state and local income tax purposes. If the Liquidating Trust
properly files a tax election to treat a Disputed Claims Reserve as a DOF, then the DOF may be


                                                -157-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 171 of 410



treated as a separate taxable entity for U.S. federal income tax purposes (rather than a pass-
through tax entity) and will be treated as the owner of all assets that it holds for U.S. federal
income tax purposes. A DOF will generally be taxed for U.S. federal income tax purposes as
either (a) a C corporation, unless all the assets transferred to the DOF by or on behalf of any
transferors are passive investments assets, or (b) a “qualified settlement fund” within the
meaning of section 468B of the IRC and the applicable Treasury Regulations thereunder (a
“QSF”), if all the assets transferred to the DOF by or on behalf of any transferors are passive
investment assets. A DOF that is taxable as a QSF is generally subject to taxation at the
maximum rate applicable to estates and trusts under section l(e) of the IRC (which is currently
37% for taxable years beginning before January 1, 2026, and 39.6% thereafter) on its “modified
gross income.” The “modified gross income” is the QSF’s gross income under section 61 of the
IRC as modified by the rules detailed in Treasury Regulation sections 1.468B-2(b) and 1.468B-9.
It is anticipated that any NewCo Disputed Claims Reserve will be treated as a DOF that is
taxable as a QSF. Any Liquidating Trust Disputed Claims Reserve and any Liquidating Trust
Disputed Interests Reserve may also be treated as a DOF taxable as a QSF, depending on facts
and circumstances not yet determined as of the date of this Disclosure Statement, including the
specific nature of the assets transferred to any such reserve.

                The Liquidating Trust will be responsible for payment, out of the Liquidating
Trust Assets, of any Taxes imposed on the Liquidating Trust or the Liquidating Trust Assets,
including any Disputed Claims Reserve (which is required under the Plan to bear all Taxes
attributable to such Disputed Claims Reserve). In the event, and to the extent, any Cash retained
on account of Disputed Claims in a Disputed Claims Reserve is insufficient to pay the portion of
any such Taxes attributable to the taxable income arising from the assets allocable to, or retained
on account of, such Disputed Claims (including any income that may arise upon any distribution
of the assets of the applicable Disputed Claims Reserve), such Taxes may be (i) reimbursed from
any subsequent Cash amounts retained on account of Disputed Claims, (ii) paid with the
proceeds from a sale of the assets of the applicable Disputed Claims Reserve or (iii) to the extent
such Disputed Claims have subsequently been resolved, deducted from any amounts otherwise
distributable by the Liquidating Trust as a result of the resolution of such Disputed Claims.
Therefore, the tax liability of a Disputed Claims Reserve may reduce the amount of property
otherwise distributable upon the resolution of any Disputed Claims.

       3.      General Tax Reporting by the Liquidating Trust and Liquidating Trust
               Beneficiaries

                Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt of an adverse determination by the IRS upon audit if not
contested by the Liquidating Trust Board), for all U.S. federal income tax purposes, all parties
(including, without limitation, the Debtor, the Liquidating Trust, the Liquidating Trust Board and
the Liquidating Trust Beneficiaries) must treat the transfer of the Liquidating Trust Assets to the
Liquidating Trust as (i) a transfer of the Liquidating Trust Assets (subject to any obligations
relating to those assets) directly to the Liquidating Trust Beneficiaries (other than to the extent
Liquidating Trust Assets are allocable to any Disputed Claims Reserve), followed by (ii) the
transfer by the Liquidating Trust Beneficiaries to the Liquidating Trust of the Liquidating Trust
Assets (other than to the extent Liquidating Trust Assets are allocable to any Disputed Claims
Reserve) in exchange for Liquidating Trust Interests. Accordingly, all parties must treat the


                                              -158-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 172 of 410



Liquidating Trust as a grantor trust of which the Liquidating Trust Beneficiaries are the owners
and grantors, and treat the Liquidating Trust Beneficiaries as the direct owners of an undivided
interest in the Liquidating Trust Assets (other than the Liquidating Trust Assets allocable to any
Disputed Claims Reserve), consistent with their economic interests therein, for all U.S. federal
income tax purposes. Holders are urged to consult their tax advisor regarding any subsequent
year’s adjustments for the elimination of obligations to Holders of Disputed Claims and their
replacement with a smaller amount of Allowed Claims that are then paid out of the Liquidating
Trust Assets and for any increase in the economic interests in the Liquidating Trust Assets to the
Liquidating Trust Beneficiaries as a result of any accretion to the distribution preference on
certain Liquidating Trust Interests or increases in the value of the Liquidating Trust Assets
distributable to certain Liquidating Trust Beneficiaries, the treatment of which is unclear. For
example, it is possible that an accretion to the distribution preference on certain Liquidating
Trust Interests may, in certain situations, be viewed as a shift in the deemed ownership of the
underlying Liquidating Trust Assets that could give rise to income to the Holders of such
Liquidating Trust Interests for U.S. federal income tax purposes. As soon as reasonably
practicable after the Liquidating Trust Assets are transferred to the Liquidating Trust, the
Liquidating Trust shall make a good faith valuation of the Liquidating Trust Assets, and shall
make all such values available from time to time, to the extent relevant, and such values shall be
used consistently by all parties to the Liquidating Trust (including, without limitation, the
Debtor, the Liquidating Trust, the Liquidating Trust Board and the Liquidating Trust
Beneficiaries) for all U.S. federal income tax purposes.

                Allocations of Liquidating Trust taxable income among the Liquidating Trust
Beneficiaries (other than to the extent Liquidating Trust Assets are allocable to any Disputed
Claims Reserve) shall be determined by reference to the manner in which an amount of Cash
representing such taxable income would be distributed (were such Cash permitted to be
distributed at such time) if, immediately prior to such deemed distribution, the Liquidating Trust
had distributed all its assets (valued at their tax book value, other than assets allocable to any
Disputed Claims Reserve) to the Holders of the Liquidating Trust Interests, adjusted for prior
taxable income and loss and taking into account all prior and concurrent distributions from the
Liquidating Trust. Similarly, taxable loss of the Liquidating Trust shall be allocated by reference
to the manner in which an economic loss would be borne immediately after a hypothetical
liquidating distribution of the remaining Liquidating Trust Assets . The tax book value of the
Liquidating Trust Assets for purposes of this paragraph shall equal their fair market value on the
Effective Date, adjusted in accordance with tax accounting principles prescribed by the IRC, the
applicable Treasury Regulations, and other applicable administrative and judicial authorities and
pronouncements.

                Taxable income or loss allocated to Liquidating Trust Beneficiaries will generally
be treated as income or loss with respect to such Holder’s undivided interest in the Liquidating
Trust Assets , and not as income or loss with respect to its prior Allowed Claim or Interest. The
character of any income and the character and ability to use any loss will depend on the
Liquidating Trust Assets and the particular situation of the Liquidating Trust Beneficiary. With
respect to any Liquidating Trust Beneficiary that is a Non-U.S. Holder, the Liquidating
Trust may be required to withhold up to 30% of the income or proceeds allocable to such
persons, depending on the circumstances (including whether the type of income is subject to
a lower treaty rate and whether the Non-U.S. Holder has timely delivered a Valid Treaty


                                              -159-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 173 of 410



Claim or a Valid ECI Withholding Exemption), subject to the discussions regarding
withholding above in Article X.CConsequences to the Non-U.S. Holders of Certain Claims
and Interests.

                Whether the Liquidating Trust Beneficiaries would be treated as holding any
rights regarding FDIC Proceedings (or similar lawsuits regarding the FDIC Claims) as capital
assets and the timing and character of any income, gain or loss recognized upon recovery from
the FDIC Proceedings (or similar lawsuits regarding the FDIC Claims) is subject to some
uncertainty. While not free from doubt, the Debtor expects such income, gain or loss be treated
as capital gain or loss to the Liquidating Trust Beneficiaries. However, such position is not
binding upon the IRS or the courts and no assurance can be given that the IRS would not assert,
or that a court would not sustain, a different characterization. Depending on the specific nature
of the Liquidating Trust Assets and the particular Liquidating Trust Beneficiary’s individual
circumstances, the character of any income or gain recognized with respect to such Liquidating
Trust Beneficiary’s undivided interest in the Liquidating Trust Assets may be ordinary or capital,
and such Liquidating Trust Beneficiary’s ability to use losses (if any) from the implementation of
the Plan may be limited (for example, if the Plan gives rise to capital losses to a Holder as
discussed above in Article X.B.1(a)—Gain or Loss – In General, then the ability to use such
capital losses to offset ordinary income arising from Liquidating Trust Assets would be limited).

                The U.S. federal income tax obligations of a Holder that is subject to U.S. federal
income tax with respect to its Liquidating Trust Interest are not dependent on the Liquidating
Trust distributing any Cash or other proceeds. Thus, such a Holder may incur a U.S. federal
income tax liability with respect to its allocable share of the Liquidating Trust’s income even if
the Liquidating Trust does not make a concurrent distribution to the Holder. In general, other
than in respect of Cash retained on account of Disputed Claims and distributions resulting from
undeliverable distributions (the subsequent distribution of which still relates to a Holder’s
Allowed Claim or Interest), a Distribution of Cash by the Liquidating Trust will not be separately
taxable to a Liquidating Trust Beneficiary since the beneficiary is already regarded for U.S.
federal income tax purposes as owning the underlying assets (and was taxed at the time the Cash
was earned or received by the Liquidating Trust). Holders are urged to consult their tax advisors
regarding the appropriate U.S. federal income tax treatment of any subsequent distributions of
Cash originally retained by the Liquidating Trust on account of Disputed Claims.

                In addition, a Non-U.S. Holder may determine that some of the taxable income or
loss allocated to such Non-U.S. Holder from the Liquidating Trust is properly treated as ECI. In
such case, provided that the Non-U.S. Holder timely delivers a Valid ECI Withholding
Exemption to the withholding agent, such Non-U.S. Holder will generally be taxed on such ECI
under the graduated U.S. federal income tax rates that are applicable to U.S. Holders and, if the
Non-U.S. Holder is a foreign corporation, it may also be subject to the branch profits tax
described above. As discussed above in Article IV.B.3Liquidating Trust Assets, the
Liquidating Trust may, in its reasonable discretion, contribute all or a portion of the Liquidating
Trust Assets, including such assets that may generate such ECI, to a Blocker Corporation in
order to avoid such ECI from being allocated to Liquidating Trust Beneficiaries. However, no
assurance can be provided that a Liquidating Trust Beneficiary will not be allocated any ECI.




                                               -160-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 174 of 410



                The Liquidating Trust will comply with all applicable governmental withholding
requirements. Thus, as noted above, in the case of any Liquidating Trust Beneficiaries that are
not U.S. persons, the Liquidating Trust may be required to withhold up to 30 percent of the
income or proceeds allocable to such persons, depending on the circumstances (including
whether the type of income is subject to a lower treaty rate or exemption pursuant to an
applicable income tax treaty and if the Non-U.S. Holder timely delivers a Valid Treaty Claim).
Significantly, as discussed above, a Liquidating Trust Beneficiary is treated for U.S. federal
income tax purposes as holding an undivided interest in the underlying assets of the Liquidating
Trust. Accordingly, any amounts received by the Liquidating Trust, the economic benefit of
which inures to a Liquidating Trust Beneficiary on the basis described above with respect to the
allocation of income, is treated as received by the beneficiary in respect of the underlying asset,
and not in respect of its Allowed Claim or Interest.

                The Liquidating Trust is subject to certain tax return and reporting requirements,
and the Liquidating Trust Board (which shall act as the Liquidating Trust trustee under Revenue
Procedure 94-45) is generally expected to furnish to each Liquidating Trust Beneficiary a tax
information statement following the end of each taxable year. A Liquidating Trust Beneficiary
that takes a reporting position on its U.S. federal income tax return that is different from any
position reflected in the information return filed by the Liquidating Trust Board, including the
aforementioned tax information statement provided to the Liquidating Trust Beneficiary, may be
required to notify the IRS of such inconsistency. Holders should consult their tax advisors with
respect to the U.S. federal income tax consequences of taking a different position than is reported
by the Liquidating Trust Board.

             Holders should consult their tax advisors with respect to the U.S. federal
income tax consequences of the Plan, including owning an interest in the Liquidating
Trust.

E.     FATCA

                Pursuant to sections 1471 through 1474 of the IRC (commonly referred to as
“FATCA”), foreign financial institutions (which term includes most foreign hedge funds,
private equity funds, mutual funds, securitization vehicles and other investment vehicles)
and certain other non-financial foreign entities who do not comply with certain information
reporting rules with respect to their U.S. account holders, investors or owners may be
subject to a 30% withholding tax with respect to any payments of U.S.-source interest or
dividends (which may include dividends on shares of NewCo Common Stock). Foreign
financial institutions and non-financial foreign entities subject to the FATCA regime located
in jurisdictions that have an intergovernmental agreement with the United States governing
FATCA may be subject to different rules. Under certain circumstances, a U.S. Holder or
Non-U.S. Holder might be eligible for refunds or credits of such taxes. U.S. Holders and
Non-U.S. Holders are urged to consult with their own tax advisors regarding the effect, if
any, of the FATCA provisions to them based on their particular circumstances.




                                               -161-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 175 of 410



F.     Withholding on Distributions and Information Reporting

                Payments of interest or dividends and any other reportable payments, possibly
including amounts received pursuant to the Plan and payments of proceeds from the sale,
retirement or other disposition of the Liquidating Trust Assets or NewCo Common Stock may be
subject to “backup withholding” if a recipient of those payments fails to furnish to the payor
certain identifying information and, in some cases, a certification that the recipient is not subject
to backup withholding. Backup withholding is not an additional tax. Any amounts deducted and
withheld generally should be allowed as a refund or credit against that recipient’s U.S. federal
income tax, provided that appropriate proof is timely provided under rules established by the
IRS. Furthermore, certain penalties may be imposed by the IRS on a recipient of payments who
is required to supply information but who does not do so in the proper manner. Backup
withholding generally should not apply with respect to payments made to certain exempt
recipients, such as corporations and financial institutions. Information may also be required to
be provided to the IRS concerning payments, unless an exemption applies. Holders of Claims
and Interests should consult their tax advisors regarding their qualification for exemption from
backup withholding and information reporting and the procedures for obtaining such an
exemption. The Treasury Regulations generally require disclosure by a taxpayer on its U.S.
federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s
claiming a loss in excess of certain thresholds. Holders of Claims and Interests should consult
their tax advisors regarding these regulations and whether the contemplated transactions under
the Plan would be subject to these regulations and require disclosure on their tax returns.

           THE FOREGOING SUMMARY HAS BEEN PROVIDED FOR
INFORMATIONAL PURPOSES ONLY AND DOES NOT DISCUSS ALL ASPECTS OF
U.S. FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR
HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF
CLAIMS OR INTERESTS ARE URGED TO CONSULT THEIR TAX ADVISORS
CONCERNING THE U.S. FEDERAL, STATE, LOCAL, AND OTHER TAX
CONSEQUENCES APPLICABLE UNDER THE PLAN.

                                          ARTICLE XI.

                                     RECOMMENDATION

               In the opinion of the Debtor, the Plan is preferable to the alternatives described
herein. Therefore, the Debtor recommends that Holders of Claims and Interests entitled to vote
on the Plan vote to accept it.




                                               -162-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                        Pg 176 of 410



Dated: [•], 2024


                                          Respectfully submitted,


                                          SVB Financial Group.


                                          By:
                                                 Name:
                                                 Title:
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 177 of 410



                                   Appendix A

                  Debtor’s First Amended Plan of Reorganization
                    under Chapter 11 of the Bankruptcy Code
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 178 of 410



                                   Appendix B

                               Liquidation Analysis
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 179 of 410



                                   Appendix C

                           Solicitation Procedures Order

                                    [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 180 of 410



                                   Appendix D

                               Financial Projections
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 181 of 410



                                   Appendix E

                         Restructuring Support Agreement
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 182 of 410



                                   Appendix F

                NewCo Value Overview and Liquidating Trust Assets
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 183 of 410



                                    Exhibit A

                         Debtor’s Organizational Structure

                                    [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02      Main Document
                                   Pg 184 of 410



                                     Exhibit B

                Illustrative Post-Emergence Organizational Structure

                                     [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 185 of 410



                                    Exhibit C

                                Committee Letter
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 186 of 410



                                   EXHIBIT B

                                    Blackline
23-10367-mg          Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                               Pg 187 of 410



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________________ x
                                             :                              Chapter 11
In re                                        :
                                             :                              Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                        :
                                             :
                             Debtor.         :
____________________________________________ :
                                             x

        DISCLOSURE STATEMENT FOR DEBTOR’S FIRST AMENDED PLAN OF
        REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

    James L. Bromley
    Andrew G. Dietderich
    Christian P. Jensen
    SULLIVAN & CROMWELL LLP
    125 Broad Street
    New York, New York 10004
    Telephone: (212) 558-4000
    Facsimile:     (212) 558-3588
    E-mail:        bromleyj@sullcrom.com
                   dietdericha@sullcrom.com
                   jensenc@sullcrom.com

Dated: February 7May 3, 2024

    THIS IS NOT A SOLICITATION OF VOTES OF ACCEPTANCE OR REJECTION
    OF THE PLAN. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR
    APPROVAL BUT HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT.
    ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
    DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
    COURT. THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT


          A SOLICITATION OF VOTES IS BEING CONDUCTED TO OBTAIN
SUFFICIENT ACCEPTANCES OF SVB FINANCIAL GROUP’S CHAPTER 11 PLAN.




1
      The last four digits of SVB Financial Group’s tax identification number are 2278.
23-10367-mg            Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02 Main Document
                                            Pg 188 of 410
                                                                S&C Draft of February 1, 2024
                                                          PRIVILEGED AND CONFIDENTIAL


 UNLESS EXTENDED BY THE DEBTOR (SUBJECT TO ANY CONSENT RIGHTS
 OF THE UCC AND THE REQUIRED AD HOC SENIOR NOTEHOLDER PARTIES),
 THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 5:00 P.M.,
 EASTERN TIME, ON APRILJUNE [2513], 2024 (THE “VOTING DEADLINE”).

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY
 VOTE ON THE PLAN IS 4:00 P.M. ON MARCH [15MAY [14], 2024 (THE “VOTING
 RECORD DATE”).


                        RECOMMENDATION BY THE DEBTOR
 The Restructuring Committee of the Board of Directors of SVB Financial Group has
 approved the transactions contemplated by the Plan (as defined herein) and believes that
 confirmation and consummation of the Plan is in the best interests of the Debtor’s Estate
 and Holders of Claims and Interests. Accordingly, the Restructuring Committee of the
 Board of Directors of SVB Financial Group recommends that all Holders of Claims and
 Interests whose votes are being solicited submit ballots to accept the Plan.


          THE RESTRUCTURING COMMITTEE OF THE DEBTOR’S BOARD OF
DIRECTORS HAS APPROVED THE SOLICITATION OF VOTES TO ACCEPT OR
REJECT THE PLAN AND THE TRANSACTIONS CONTEMPLATED AND
DESCRIBED HEREIN.

           THIS DISCLOSURE STATEMENT HAS BEEN PREPARED FOR THE
PURPOSE OF SOLICITING VOTES TO ACCEPT OR REJECT THE CHAPTER 11
PLAN IT DESCRIBES HEREIN. NO PERSON SHOULD USE OR RELY ON THIS
DISCLOSURE STATEMENT FOR ANY OTHER PURPOSE.

           THIS DISCLOSURE STATEMENT IS BEING DISTRIBUTED TO
PARTIES-IN-INTEREST AS A SETTLEMENT PROPOSAL AND IS THEREFORE
SUBJECT TO FEDERAL RULE OF EVIDENCE 408 AND OTHER APPLICABLE
RULES, AND DOES NOT CONSTITUTE AND MAY NOT BE CONSTRUED AS AN
ADMISSION OF FACT, LIABILITY, STIPULATION OR WAIVER IN CONNECTION
WITH ANY PENDING, THREATENED AND POTENTIAL LITIGATION,
ARBITRATIONS OR DISPUTES. THE DEBTOR AND ANY OTHER AUTHORIZED
PARTY MAY SEEK TO INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND
MAY OBJECT TO CLAIMS OR INTERESTS AFTER THE CONFIRMATION OR
EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF WHETHER THIS
DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR OBJECTIONS
TO CLAIMS OR INTERESTS.

          IF THE BANKRUPTCY COURT DOES NOT CONFIRM THE CHAPTER
11 PLAN AND/OR THE CHAPTER 11 PLAN DOES NOT BECOME EFFECTIVE, NO




4882-9472-4471 v.6.1
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 189 of 410



PORTION OF THE CHAPTER 11 PLAN, INCLUDING ANY SETTLEMENTS, WILL
BECOME EFFECTIVE.

           THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN
PROVISIONS OF THE PLAN AND DOCUMENTS RELATED THERETO,
STATUTORY PROVISIONS RELEVANT TO CONFIRMATION OF THE PLAN,
EVENTS IN THIS CHAPTER 11 CASE AND FINANCIAL INFORMATION RELATED
TO THE DEBTOR, NEWCO AND THE LIQUIDATING TRUST. ALTHOUGH THE
DEBTOR BELIEVES SUCH SUMMARIES ARE FAIR AND ACCURATE, THEY ARE
QUALIFIED IN THEIR ENTIRETY BY SUCH DOCUMENTS AND STATUTORY
PROVISIONS TO THE EXTENT THAT THEY DO NOT SET FORTH THE ENTIRETY
OF SUCH DOCUMENTS OR STATUTORY PROVISIONS. IN THE EVENT OF ANY
INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS
DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN
OR ANY OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE
PLAN OR SUCH OTHER DOCUMENTS WILL GOVERN FOR ALL PURPOSES.

         FACTUAL INFORMATION INCLUDED IN THIS DISCLOSURE
STATEMENT HAS BEEN PROVIDED BY THE DEBTOR’S MANAGEMENT, EXCEPT
WHERE OTHERWISE SPECIFICALLY NOTED.

           THE DEBTOR IS MAKING THE STATEMENTS AND PROVIDING THE
FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS
OF THE DATE HEREOF, UNLESS OTHERWISE SPECIFICALLY NOTED.
ALTHOUGH THE DEBTOR MAY SUBSEQUENTLY UPDATE THE INFORMATION
IN THIS DISCLOSURE STATEMENT, THE DEBTOR HAS NO AFFIRMATIVE DUTY
TO DO SO. HOLDERS OF CLAIMS OR INTERESTS REVIEWING THIS
DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR
REVIEW, THE FACTS SET FORTH HEREIN HAVE NOT CHANGED MATERIALLY
SINCE THIS DISCLOSURE STATEMENT WAS FILED. SUBJECT TO THE
CONSENT RIGHTS SET FORTH IN THE RSA, THE DEBTOR RESERVES THE
RIGHT TO FILE AN AMENDED DISCLOSURE STATEMENT FROM TIME TO
TIME.

          THE FINANCIAL PROJECTIONS PROVIDED IN THIS DISCLOSURE
STATEMENT HAVE BEEN PREPARED BY THE DEBTOR’S MANAGEMENT WITH
THE ASSISTANCE OF THEIR FINANCIAL AND RESTRUCTURING ADVISORS.
THESE FINANCIAL PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS THAT, ALTHOUGH CONSIDERED REASONABLE BY
MANAGEMENT, MAY NOT BE REALIZED AND ARE INHERENTLY SUBJECT TO
SIGNIFICANT BUSINESS, ECONOMIC, COMPETITIVE, INDUSTRY,
REGULATORY, MARKET AND FINANCIAL UNCERTAINTIES AND
CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTOR’S CONTROL.
THE DEBTOR CAUTIONS THAT NO REPRESENTATIONS CAN BE MADE AS TO
THE ACCURACY OF THESE FINANCIAL PROJECTIONS OR THE ABILITY TO
ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL


                                       -ii-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 190 of 410



NOT MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THESE FINANCIAL PROJECTIONS
WERE PREPARED MAY BE DIFFERENT FROM THOSE ASSUMED AND/OR MAY
HAVE BEEN UNANTICIPATED, AND THUS THE OCCURRENCE OF THESE
EVENTS MAY AFFECT FINANCIAL RESULTS IN A MATERIALLY ADVERSE OR
MATERIALLY BENEFICIAL MANNER. THE FINANCIAL PROJECTIONS,
THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTEE OR OTHER
ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

         NO PERSON SHOULD RELY ON ANY OTHER INFORMATION THAN
THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR
INCORPORATED BY REFERENCE HEREIN. THE DEBTOR HAS NOT
AUTHORIZED ANYONE TO PROVIDE ANY INFORMATION ABOUT OR
CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
DISCLOSURE STATEMENT.

          EACH HOLDER OF A CLAIM OR INTEREST ENTITLED TO VOTE ON
THE PLAN SHOULD CAREFULLY REVIEW THE PLAN AND THIS DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE CASTING A BALLOT. THIS
DISCLOSURE STATEMENT DOES NOT CONSTITUTE LEGAL, BUSINESS,
FINANCIAL OR TAX ADVICE. ANY PERSONS DESIRING ANY SUCH ADVICE OR
OTHER ADVICE SHOULD CONSULT WITH THEIR OWN ADVISORS.

           UPON CONFIRMATION OF THE PLAN, CERTAIN OF THE
SECURITIES DESCRIBED HEREIN WILL BE ISSUED WITHOUT REGISTRATION
UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED (THE
“SECURITIES ACT”), OR ANY SIMILAR FEDERAL, STATE OR LOCAL LAW, IN
RELIANCE ON THE EXEMPTIONS SET FORTH IN SECTION 1145 OF THE
BANKRUPTCY CODE TO THE EXTENT SUCH EXEMPTIONS ARE AVAILABLE.
OTHER SECURITIES MAY BE ISSUED PURSUANT TO OTHER APPLICABLE
EXEMPTIONS UNDER THE FEDERAL SECURITIES LAWS TO THE EXTENT SUCH
EXEMPTIONS ARE AVAILABLE. IN ACCORDANCE WITH SECTION 1125(e) OF
THE BANKRUPTCY CODE, A DEBTOR OR ANY OF ITS AGENTS THAT
PARTICIPATES, IN GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE
PROVISIONS OF THE BANKRUPTCY CODE, IN THE OFFER, ISSUANCE, SALE, OR
PURCHASE OF A SECURITY, OFFERED OR SOLD UNDER THE PLAN, OF THE
DEBTOR, OF AN AFFILIATE PARTICIPATING IN A JOINT PLAN WITH THE
DEBTOR, OR OF A NEWLY ORGANIZED SUCCESSOR TO THE DEBTOR UNDER
THE PLAN, IS NOT LIABLE, ON ACCOUNT OF SUCH PARTICIPATION, FOR
VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION GOVERNING
THE OFFER, ISSUANCE, SALE, OR PURCHASE OF SECURITIES.

          THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN
ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND
BANKRUPTCY RULE 3016(b) AND NOT IN ACCORDANCE WITH FEDERAL OR
STATE SECURITIES LAWS OR OTHER NON-APPLICABLE BANKRUPTCY LAWS.
THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR DISAPPROVED


                                       -iii-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 191 of 410



BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION (THE
“SEC”), NOR HAS THE SEC PASSED UPON THE ACCURACY OR ADEQUACY OF
THE STATEMENTS CONTAINED HEREIN. ANY REPRESENTATION TO THE
CONTRARY IS A CRIMINAL OFFENSE. THIS DISCLOSURE STATEMENT IS NOT
AN OFFER TO SELL ANY SECURITIES AND IS NOT SOLICITING AN OFFER TO
BUY ANY SECURITIES.

           THE DEBTOR MAKES STATEMENTS IN THIS DISCLOSURE
STATEMENT THAT ARE CONSIDERED FORWARD-LOOKING STATEMENTS
WITHIN THE MEANING OF THE PRIVATE SECURITIES LITIGATION REFORM
ACT OF 1995, AS AMENDED. THE DEBTOR CONSIDERS ALL STATEMENTS
REGARDING ANTICIPATED OR FUTURE MATTERS TO BE FORWARD-LOOKING
STATEMENTS. FORWARD-LOOKING STATEMENTS REPRESENT THE
DEBTOR’S ESTIMATES AND ASSUMPTIONS ONLY AS OF THE DATE SUCH
STATEMENTS WERE MADE. THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE DEBTOR’S ACTUAL
PERFORMANCE OR ACHIEVEMENTS TO BE MATERIALLY DIFFERENT FROM
THOSE IT MAY PROJECT, AND THE DEBTOR UNDERTAKES NO OBLIGATION
TO UPDATE ANY SUCH STATEMENT. THE DEBTOR EXPRESSLY CAUTIONS
READERS NOT TO PLACE UNDUE RELIANCE ON ANY FORWARD-LOOKING
STATEMENTS CONTAINED HEREIN.

          STATEMENTS CONCERNING THESE AND OTHER MATTERS ARE
NOT GUARANTEES OF SUCCESS OR THE DEBTOR’S ABILITY TO SATISFY ALL
CLAIMS OR INTERESTS TO BE PAID UNDER THE PLAN. THERE ARE RISKS,
UNCERTAINTIES, AND OTHER IMPORTANT FACTORS THAT NEED TO BE
CONSIDERED. SEE ARTICLE IX OF THIS DISCLOSURE STATEMENT, ENTITLED
“CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING,” FOR A
DISCUSSION OF CERTAIN CONSIDERATIONS IN CONNECTION WITH A
DECISION BY A HOLDER OF AN IMPAIRED CLAIM OR INTEREST TO ACCEPT
THE PLAN.




                                       -iv-
23-10367-mg           Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                           Pg 192 of 410



                                     TABLE OF CONTENTS

                                                                                    Page

ARTICLE I. EXECUTIVE SUMMARY                                                           1
     A.    Purpose of this Disclosure Statement                                        2
     B.    Recovery Analysis and Treatment of Claims and Interests                     3
     C.    Voting on the Plan                                                        610
     D.    Confirmation of the Plan                                                  812

ARTICLE II. BACKGROUND                                                               912
     A.     Overview of the Debtor’s Businesses                                      912
     B.     The Debtor’s Corporate Structure and Global Operations                   913
     C.     Summary of the Debtor’s Assets and Operations                           1015
     D.     Liabilities – The Debtor’s Prepetition Funded Indebtedness              1217
     E.     Existing Preferred Stock                                                1418
     F.     Existing Common Stock                                                   1419
     G.     Factors Leading to the Commencement of This Chapter 11 Case             1519

ARTICLE III. SIGNIFICANT EVENTS AND INITIATIVES IN THIS CHAPTER
     11 CASE                                                               1721
     A.    Commencement of the Chapter 11 Case                             1721
     B.    First Day Relief                                                1721
     C.    Appointment of the UCC                                          1823
     D.    The Ad Hoc Group of Senior Noteholders                          1923
     E.    The Ad Hoc Cross-Holder Group                                   1923
     F.    Retention of Debtor Professionals                               1924
     G.    Schedules and Statements and 341 Meeting                        2024
     H.    Bar Dates and Claims Process                                    2024
     I.    Assumption and Assignment of Executory Contracts to FCB and
           Non-debtor Subsidiaries                                         2025
     J.    Investigation of Potential Estate Claims and Causes of Action     21
     KJ. Claims Against the FDIC                                           2226
     LK. SVB Securities Sale                                               2429
     ML. SVB Capital Reorganization and Strategic Alternatives Review    25Sale             30
     M.    SVB India Sale                                                    32
     N.    The Restructuring Support Agreement                             2633
     O.    Securities Lawsuits                                               34
     P.    Investigation of Potential Estate Claims and Causes of Action     35

ARTICLE IV. SUMMARY OF THE PLAN                                                     2737
     A.   Classification, Treatment and Voting of Claims and Interests              2838
     B.   The Liquidating Trust                                                     3045
     C.   Implementation of the Plan                                                4056
     D.   Provisions Regarding Governance of NewCo                                  4864
     E.   Executory Contracts and Unexpired Leases                                  5066
     F.   Provisions Governing Distributions                                        5269

                                                i
4882-9472-4471 v.14
23-10367-mg            Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                             Pg 193 of 410



         G.           Settlement, Release, Injunction and Related Plan Provisions           5976
         H.           Conditions Precedent                                                  6886

ARTICLE V. STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE
     PLAN                                                                    7087
     A.    The Confirmation Hearing                                          7088
     B.    Confirmation Standards                                            7188
     C.    Best Interests Test                                               7290
     D.    Financial Feasibility                                             7593
     E.    Acceptance by Impaired Classes                                    7593
     F.    Confirmation Without Acceptance by All Impaired Classes           7694
     G.    MoffettNathanson Valuation78 and NewCo and Liquidating Trust Asset Overviews 96
     H.    Classification                                                    7896

ARTICLE VI. VOTING PROCEDURES                                                               7896
     A.   Parties-in-Interest Entitled to Vote                                              8099
     B.   Classes under the Plan                                                            8199
     C.   Form, Content, and Manner of Notices                                             82100
     D.   Voluntary Releases under the Plan                                                83101
     E.   Voting Procedures                                                                85104

ARTICLE VII. EFFECT OF CONFIRMATION                                                        88107
     A.   Binding Effect of Confirmation                                                   88107
     B.   Good Faith                                                                       88107

ARTICLE VIII. SECURITIES LAW MATTERS                                                       88107
     A.   Bankruptcy Code Exemptions from Registration Requirements                        88107
     B.   Private Placement Exemptions                                                     91109

ARTICLE IX. CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO
     VOTING                                                                                93112
     A.   Certain Bankruptcy Law Considerations                                            94112
     B.   Risks Related to the Debtor’s Ongoing Operations during the
          Chapter 11 Case                                                                  99119
     C.   Risk Factors Relating to the SVB Capital Sale                                      121
     CD. Risk Factors Relating to a NewCo Transaction                                     101122
     DE. Risk Factors Relating to NewCo Common Stock to Be Issued Under
          the Plan                                                                        102122
     EF. Operational Risks for NewCo                                                      104125
     FG. Risk Factors Relating to Liquidating Trust Interests to Be Issued
          Under the Plan                                                                  106127
     GH. Operational Risks for the Liquidating Trust                                      107129
     HI.  Additional Risk Factors                                                         109131

ARTICLE X. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF
     THE PLAN                                                                             112133
     A.    Consequences to the Debtor                                                     114136


                                                    ii
4882-9472-4471 v.14
23-10367-mg            Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02    Main Document
                                             Pg 194 of 410



         B.           Consequences to U.S. Holders of Certain Claims and Interests      121141
         C.           Consequences to the Non-U.S. Holders of Certain Claims and
                      Interests                                                            150
         CD.          Tax Treatment of the Liquidating Trust and Holders of Liquidating
                      Trust Interests                                                   130157
         DF.          Withholding on Distributions and Information Reporting            134162

ARTICLE XI. RECOMMENDATION                                                             135162




                                                  iii
4882-9472-4471 v.14
23-10367-mg           Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02                Main Document
                                             Pg 195 of 410




                                          Appendices and Exhibits

Appendix A                Debtor’s Plan of Reorganization under Chapter 11 of the Bankruptcy Code
Appendix B                Liquidation Analysis
Appendix C                Solicitation Procedures Order
Appendix D                Financial Projections
Appendix E                Restructuring Support Agreement
Appendix F                NewCo Value Overview and Liquidating Trust Assets


[Exhibit A]               [Debtor’s Organizational Structure]2

[Exhibit B]               [Illustrative Post-Emergence Organizational Structure]3

[Exhibit C]               [Committee Letter]2




2
    [NTD: To be filed with the Court in advance of Disclosure Statement hearing.]
3
    [NTD: To be filed with the Court in advance of Disclosure Statement hearing.]
2
    [NTD: Letter to be filed with the Court in advance of Disclosure Statement hearing.]


                                                        iv
4882-9472-4471 v.14
23-10367-mg           Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                           Pg 196 of 410



                                     ARTICLE I.ARTICLE I

                                    EXECUTIVE SUMMARY

                On March 17, 2023 (the “Petition Date”), SVB Financial Group (the “Debtor”)
filed with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) a voluntary petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) (the “Chapter 11 Case”).

               On January 26, 2024Simultaneous with the filing of this Disclosure Statement, the
Debtor filed the Debtor’s First Amended Plan of Reorganization under Chapter 11 of the
Bankruptcy Code (as may be further amended, supplemented or modified from time to time,
including the Plan Supplement and all other exhibits and schedules thereto, in each case, as they
may be further amended, modified or supplemented from time to time, the “Plan”) [D.I.
8261086]. The Plan is annexed hereto as Appendix A and is incorporated herein by reference.

                 The Plan provides for the formation of a liquidating trust (the “Liquidating
Trust”), to which the Debtor will contribute certain assets, including but not limited to certain
claims, causes of action, investment securities, limited partnerpartnership interests, and cash, as
agreed upon by the Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties under
the terms of the Plan and Restructuring Support Agreement (the “RSA”). Upon the Effective
Date, the Liquidating Trust will issue three classes of Liquidating Trust Interests and, subject to
certain conditions described in the Plan, Holders of certain Classes of Claims and Interests will
receive certain Liquidating Trust Interests in accordance with the priority of their Claims. In
addition, the Plan provides that the Debtor may undertake certain restructuring transactions
which, if effected, will result in a newly-formed Delaware corporation (or other business form as
agreed upon under the terms of the Plan) owning, directly or indirectly, 100% of the equity
interests in the Debtor. For purposes of the Plan and this Disclosure Statement, “NewCo” shall
refer to, as applicable, (i) the Debtor as reorganized pursuant to and under the Plan and any
successor thereto, by merger, consolidation or otherwise, on or after the Effective Date or (ii) a
newly-formed Delaware corporation (or other business form as agreed upon under the terms of
the Plan) that owns or will own, directly or indirectly, 100% of the equity interests in the Debtor.
NewCo will retain assets of the Debtor not otherwise contributed to the Liquidating Trust,
including the equity interests in certain non-Debtor subsidiaries. NewCo or one of its wholly
owned subsidiaries will issue debt to the Liquidating Trust and NewCo will issue 100% of its
new common equity interests to certain Holders of Allowed General Unsecured Claims, subject
to dilution by any NewCo Transaction (as defined below).

                The Plan and this Disclosure Statement are the result of extensive good faith and
arms-length discussions and negotiations among the Debtor, the UCC and the Ad Hoc Group of
Senior Noteholders (all terms as defined below). The Plan is a direct product of the RSA among
the Debtor, the UCC and the Ad Hoc Group of Senior Noteholders, which RSA is attached
hereto as Appendix E. The Debtor believes that the Plan will provide the highest and best
recovery to Holders of Claims and Interests in the most efficient and expeditious manner
possible. The Debtor submits that (i) through the Plan, Holders of Allowed Claims and Interests
will obtain a recovery from the Debtor’s Estate equal to or greater than the recovery that they
would receive if the Debtor’s assets were liquidated under chapter 7 of the Bankruptcy Code and


4882-9472-4471 v.14
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 197 of 410



(ii) consummation of the Plan will maximize the recovery of the Holders of Allowed Claims and
Interests.

               Capitalized terms used but not otherwise defined herein have the meanings
ascribed to such terms in the Plan; provided, that any capitalized term used herein that is not
defined herein or in the Plan, but is defined in the Bankruptcy Code or the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”), will have the meaning ascribed to such term in
the Bankruptcy Code or the Bankruptcy Rules, as applicable.

A.     Purpose of this Disclosure Statement

                Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
reorganization. Chapter 11 helps a company maximize recovery to all stakeholders. The
consummation of a plan is the principal objective of a chapter 11 case. A plan sets forth the
means for satisfying claims against, and interests in, the debtor. Confirmation of a plan by a
bankruptcy court binds the debtor and any creditor or interest holder of the debtor. Subject to
certain limited exceptions, the order approving confirmation of a plan enjoins parties from
enforcing any debt that arose prior to the date of confirmation of the plan or from bringing any
causes of action against the debtor in connection with such debt.

                In general, a plan (a) divides claims and interests into separate classes,
(b) specifies the property or other distributions that each class is to receive under the plan and
(c) contains provisions necessary to implement the plan. Under the Bankruptcy Code, “claims”
and “interests,” rather than “creditors” and “equity holders,” are classified because creditors and
equity holders may hold claims and interests in more than one class.

                The Debtor submits this Disclosure Statement for Debtor’s First Amended Plan
of Reorganization under Chapter 11 of the Bankruptcy Code (this “Disclosure Statement”)
pursuant to section 1125 of the Bankruptcy Code for the purpose of soliciting votes on the
proposed Plan. The purpose of this Disclosure Statement is to provide the Holders of Claims
and Interests who are entitled, and will be solicited, to vote on the Plan with information of a
kind and in sufficient detail, to make an informed decision on whether to accept or reject the
Plan. Pursuant to section 1125 of the Bankruptcy Code, acceptances of a chapter 11 plan may be
solicited only after a Bankruptcy Court-approved written disclosure statement has been provided
to each creditor or interest holder who is entitled to vote on the plan.

                This Disclosure Statement includes, among other things, information pertaining to
the Debtor’s prepetition business operations and financial history and the events leading up to
the Chapter 11 Case. In addition, an overview of the Plan is included, which overview sets forth
certain terms and provisions of the Plan, the effects of Confirmation of the Plan, certain risk
factors associated with the Plan and the manner in which distributions will be made under the
Plan. This Disclosure Statement also discusses the Confirmation process and the procedures for
voting, which procedures must be followed by the Holders of Claims and Interests entitled to
vote under the Plan for their votes to be counted.




                                                -2-
23-10367-mg           Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                              Pg 198 of 410



B.          Recovery Analysis and Treatment of Claims and Interests

                Your ability to vote on, and your distribution (if any) under, the Plan depends on
what type of Claim or Interest you hold. Each category of Holders of Claims or Interests, as set
forth in Section 4 of the Plan pursuant to section 1122(a) of the Bankruptcy Code, is referred to
as a “Class.” For each Class, the Plan describes (a) the underlying Claim or Interest, (b) the
recovery available to the Holders of Claims or Interests in that Class under the Plan, (c) whether
the Class is Impaired under the Plan, meaning that each Holder will receive less than full value
on account of its Claim or Interest or that the rights of Holders under law will be altered in some
way and (d) the form of any consideration (e.g., Cash, Liquidating Trust Interests, NewCo
Common Stock or a combination thereof) that Holders will receive on account of their respective
Claims or Interests.

                 Subject to the terms set forth in Section 4 of the Plan and as further described in
Article IV.C.5—NewCo Common Stock below, Holders of Claims in Classes 3(a) and 3(b) may
be entitled to receive (a) to the extent such Holder certifies that it is a Qualified Holder, NewCo
Common Stock or (b) to the extent that such Holder Certifies that it is a Non-Qualified Holder,
Cash equal to the value of the NewCo Common Stock that such Holder would have received if
such Holder were a Qualified Holder. Accordingly, each such Holder must provide a
certification as to its status as (x) a Qualified Holder or (y) a Non-Qualified Holder in order to
receive its distribution as described in clause (a) or (b) of the previous sentence, respectively.
The procedures for providing such certification are described further in Article IV.C.5—NewCo
Common Stock below.

               In accordance with section 1123(a)(1) of the Bankruptcy Code, the Plan does not
classify Other Administrative Claims, Ad Hoc Noteholder Group Expenses, Senior Note Trustee
Expenses, Subordinated Note Trustee Expenses, Professional Fee Claims and Priority Tax
Claims, which will generally be paid in Cash when approved by the Bankruptcy Court or in the
ordinary course on or after the Effective Date.

            1.       Classification of Claims and Interests

                     The classification of Claims and Interests pursuant to the Plan is as follows:

 Class           Designation                                Status              Voting Rights
   1             Other Secured Claims                       Unimpaired          Not Entitled to Vote
                                                                                (Presumed to Accept)
      2          Other Priority Claims                      Unimpaired          Not Entitled to Vote
                                                                                (Presumed to Accept)
     3(a)        Senior Note Claims                         Impaired            Entitled to Vote
     3(b)        Senior Note Claims and Other General       Impaired            Entitled to Vote
                 Unsecured Claims
      4          Subordinated Note Claims                   Impaired            Entitled to Vote
      5          Preferred Equity Interests                 Impaired            Entitled to Vote
      6          Common Equity Interests                    Impaired            Not Entitled to Vote
                                                                                (Deemed to Reject)



                                                      -3-
23-10367-mg        Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                         Pg 199 of 410



 Class        Designation                             Status            Voting Rights
   7          Section 510(b) Claims                   Impaired          Not Entitled to Vote
                                                                        (Deemed to Reject)
    8         Intercompany Claims and Intercompany    Impaired or       Not Entitled to Vote
              Interests                               Unimpaired        (Presumed to Accept or
                                                                        Deemed to Reject)

         2.      Recovery Analysis Summary

                 The table below provides a summary of the classification, treatment and estimated
recoveries of Claims and Interests under the Plan. This information is provided in summary
form for illustrative purposes only, is subject to material change based on contingencies related
to the claims reconciliation process, recoveries obtained by the Liquidating Trust in liquidating
the Liquidating Trust Assets and the post-Effective Date financial performance of NewCo, and is
qualified in its entirety by reference to the provisions of the Plan. Amounts assumed for
purposes of projected recoveries are estimates only. Actual recoveries received under the Plan
may differ materially from the projected recoveries. For a more detailed description of the
treatment of Claims and Interests under the Plan, see Article IV belowSummary of the Plan.
To the extent any inconsistency exists between the summaries contained in this Disclosure
Statement and the Plan, the terms of the Plan shall govern. For a complete description of the
Debtor’s classification and treatment of Claims and Interests, reference should be made to the
Plan.

          THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND ARE THEREFORE SUBJECT TO CHANGE.

          SUMMARY OF TREATMENT OF CLAIMS AND INTERESTS AND
ESTIMATED RECOVERIES




                                               -4-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 200 of 410



                                                                 ESTIMATED
                                                                                      ESTIMATED PERCENT
    CLASS                      TREATMENT                         ALLOWED
                                                                                       RECOVERY RANGE5
                                                                  CLAIMS4
                                                                                       Plan         Liquidation
      1        EachExcept to the extent that a Holder                 [•]N/A          100%             [•]100%
               of an Allowed Other Secured Claim
               agrees to less favorable treatment, in
               full and final satisfaction,
               compromise, settlement, release, and
               discharge of and in exchange for its
               Allowed Other Secured Claim, each
               Holder of an Allowed Other Secured
               Claim will receive, at the Debtor’s
               option (with the consent of the UCC
               and the Required Ad Hoc Senior
               Noteholder Parties, not to be
               unreasonably withheld, conditioned or
               delayed): (a) payment in full in Cash;
               (b) delivery of the collateral securing
               its Allowed Other Secured Claim and
               payment of any interest required under
               section 506(b) of the Bankruptcy
               Code; (c) Reinstatement of its
               Allowed Other Secured Claim; or
               (d) such other treatment rendering its
               Allowed Other Secured Claim
               Unimpaired in accordance with




4
     Estimated Allowed Claims dollar amounts reflected in millions.
5
     Estimated percent recovery ranges reflect the estimated recovery range for each class under the Plan and
     liquidation scenarios. The estimated recovery ranges provided in this table reflect the low and high ends of
     projected recoveries under “Scenario A,” “Scenario B” and “Scenario C” as set forth in the Liquidation
     Analysis (as defined below) set forth on Appendix B to this Disclosure Statement. Scenarios A, B and C reflect
     a range of outcomes of the Debtor’s ongoing litigation with the FDIC (as defined below). For additional
     information, please refer to Article V.C.2–The Debtor’s Liquidation Analysis.



                                                        -5-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 201 of 410



                                                                 ESTIMATED
                                                                                         ESTIMATED PERCENT
    CLASS                      TREATMENT                         ALLOWED
                                                                                          RECOVERY RANGE5
                                                                  CLAIMS4
                                                                                         Plan     Liquidation
               section 1124 of the Bankruptcy Code.

      2        EachExcept to the extent that a Holder              [•]$0.06              100%       [•]100%
               of an Allowed Other Priority Claim
               agrees to a less favorable treatment, in
               full and final satisfaction, settlement,
               release, and discharge of and in
               exchange for its Allowed Other
               Priority Claim, each Holder of an
               Allowed Other Priority Claim will
               receive treatment in a manner
               consistent with section 1129(a)(9) of
               the Bankruptcy Code.

    3(a)       EachExcept to the extent that a Holder            [•]$3,329.0       [•]41%–96       [•]30%–85
               of an Allowed General                                                   %               %
               UnsecuredSenior Note Claim agrees to
               a less favorable treatment (with the
               consent of the UCC and the Required
               Ad Hoc Senior Noteholder Parties, not
               to be unreasonably withheld,
               conditioned or delayed), in full and
               final satisfaction, settlement, release
               and discharge of and in exchange for
               its Allowed Senior Note Claim, each
               Holder of an Allowed Senior Note
               Claim will receive (a)(i) if and solely
               to the extent such Holder is a
               Qualified Holder, its Pro Rata share of
               (a) 100%together with all Holders
               receiving Distributions in NewCo
               Common Stock) of the NewCo
               Common Stock subject to dilution by
               any NewCo Transaction, (b) 100% or
               (ii) if and solely to the extent such
               Holder is a Non-Qualified Holder,




6
     The Estimated Allowed Claims in Class 2 are less than $1,000.00 in the aggregate.



                                                        -6-
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                   Main Document
                                             Pg 202 of 410



                                                                ESTIMATED
                                                                                    ESTIMATED PERCENT
    CLASS                     TREATMENT                         ALLOWED
                                                                                     RECOVERY RANGE5
                                                                 CLAIMS4
                                                                                     Plan         Liquidation
               Cash in an amount equal to the value
               of the NewCo Common Stock it
               would be entitled to receive if it were
               a Qualified Holder, (b) its Pro Rata
               share (together with all Holders
               receiving Distributions of the Class A
               Trust Units) of the Class A Trust Units
               and (c) payment by the Debtor in Cash
               sufficient to satisfyof the Senior Note
               Trustee Expenses, to the extent not
               otherwise paid by the Debtor;
               [provided, that in lieu of the foregoing,
               Holders of Allowed General Unsecured
               Claims will have the ability to elect to
               receive Cash in lieu of the foregoing
               distributions in an amount and on terms to
               be agreed to by the Debtor, the UCC and
               the Required Ad Hoc Senior Noteholder
               Parties (the “GUC Cash-Out”).]3 under
               the Plan.

    3(b)       Except to the extent that a Holder of              $180.4          41%–96%          30%–85%
               an Allowed Other General Unsecured
               Claim agrees to a less favorable
               treatment (with the consent of the
               UCC and the Required Ad Hoc Senior
               Noteholder Parties, not to be
               unreasonably withheld, conditioned or
               delayed), in full and final satisfaction,
               settlement, release and discharge of
               and in exchange for its Allowed Other
               General Unsecured Claim, each
               Holder of an Allowed Other General
               Unsecured Claim will receive:




3
     The Debtor, the UCC and the Required Ad Hoc Senior Noteholder Parties intend for the terms and amount of
     the GUC Cash-Out to be agreed and disclosed prior to the hearing on approval of the Disclosure Statement.



                                                       -7-
23-10367-mg   Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02       Main Document
                                      Pg 203 of 410



                                                       ESTIMATED
                                                                   ESTIMATED PERCENT
  CLASS                 TREATMENT                      ALLOWED
                                                                    RECOVERY RANGE5
                                                        CLAIMS4
                                                                   Plan      Liquidation
                (a) (i)(A) if and solely to the
                extent such Holder is a Qualified
                Holder, its Pro Rata share
                (together with all Holders
                receiving Distributions in
                NewCo Common Stock) of the
                NewCo Common Stock subject
                to dilution by any NewCo
                Transaction or (B) if and solely
                to the extent such Holder is a
                Non-Qualified Holder, Cash in
                an amount equal to the value of
                the NewCo Common Stock it
                would be entitled to receive if it
                were a Qualified Holder, and
                (ii) its Pro Rata share (together
                with all Holders receiving
                Distributions of the Class A
                Trust Units) of the Class A Trust
                Units; or
                (b) if such Holder elects on the
                applicable ballot, the GUC
                Cash-Out with respect such
                Claim.

    4     EachExcept to the extent that a Holder       [•]$104.5   [•]0%        [•]0%
          of an Allowed Subordinated Note
          Claim agrees to a less favorable
          treatment, in full and final satisfaction,
          settlement, release and discharge of
          and in exchange for its Allowed
          Subordinated Note Claim, each Holder
          of an Allowed Subordinated Note
          Claim will receive its Pro Rata share
          of (a) 100% of the Class B Trust Units
          in an aggregate amount equal to such
          Holder’s Allowed Subordinated Note
          Claim and (b) payment by the Debtor
          in Cash sufficient to satisfyof the
          Subordinated Note Trustee Expenses,
          to the extent not otherwise paid by the


                                               -8-
23-10367-mg   Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                      Pg 204 of 410



                                                       ESTIMATED
                                                                     ESTIMATED PERCENT
  CLASS                 TREATMENT                      ALLOWED
                                                                      RECOVERY RANGE5
                                                        CLAIMS4
                                                                     Plan      Liquidation
          Debtor under the Plan.

    5     EachExcept to the extent that a Holder       [•]$3,700.0   [•]0%        [•]0%
          of an Allowed Preferred Equity
          Interest agrees to a less favorable
          treatment, in full and final satisfaction,
          settlement, release and discharge of
          and in exchange for its Allowed
          Preferred Equity Interest, each Holder
          of an Allowed Preferred Equity
          Interest will receive its Pro Rata share
          of 100% of the Class C Trust Units.

    6     AllNo Holder of a Common Equity                [•]N/A      [•]0%        [•]0%
          Interest will receive any Distributions
          on account of its Common Equity
          Interest. On and after the Effective
          Date, all Common Equity Interests
          will be canceled, released, discharged,
          and extinguished and will be of no
          further force or effect, and Holders of
          such Interests will not receive or retain
          any distribution, property, or other
          value on account of such Interests.

    7     AllNo Holder of a Section 510(b)               [•]N/A      [•]0%        [•]0%
          Claim will receive any Distributions
          on account of its Section 510(b)
          Claim. On and after the Effective
          Date, all Section 510(b) Claims will
          be canceled, released, discharged, and
          extinguished and will be of no further
          force or effect, and Holders of
          Section 510(b) Claims will not receive
          or retain any distribution, property, or
          other value on account of such Claims.




                                               -9-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                              Pg 205 of 410



                                                                   ESTIMATED
                                                                                        ESTIMATED PERCENT
    CLASS                       TREATMENT                          ALLOWED
                                                                                         RECOVERY RANGE5
                                                                    CLAIMS4
                                                                                         Plan         Liquidation
      8         EachOn and after the Effective Date,                 [•]N/A7            [•]0%              [•]0%
                each Intercompany Claim and each
                Intercompany Interest will be
                (a) canceled, released, and discharged,
                (b) Reinstated, (c) converted to equity,
                or (d) otherwise set off, settled, or
                distributed, in each case at the option
                of the Debtor with the consent of the
                UCC and the Required Ad Hoc Senior
                Noteholder Parties, not to be
                unreasonably withheld, conditioned or
                delayed.

          3.      GUC Cash-Out

                 As set forth in Section 4.2 of the Plan, certain Holders of Other General
Unsecured Claim are eligible to elect to receive the “GUC Cash-Out.” The GUC Cash-Out
provides each Holder of an Allowed Other General Unsecured Claim with an option to elect to
receive its Distribution in Cash in an amount equal to 45% of (i) the Allowed value of such
Claim or (ii) $11,000,000 of such Claim, if such Claim exceeds $11,000,000, in either case, in
full satisfaction of such Claim. To the extent that the Holder of an Allowed Other General
Unsecured Claim that exceeds $11,000,000 elects to receive the GUC Cash-Out, such Holder
agrees to reduce such Claim to $11,000,000.

               To receive the GUC Cash-Out, each eligible Holder of an Other General
Unsecured Claim must complete Item 3 on the applicable ballot and return such ballot in
accordance with the procedures set forth in the Solicitation Procedures Order (as defined
below), as further described in Article VI—Voting Procedures below. If an eligible Holder
of an Other General Unsecured Claim fails to complete the GUC Cash-Out election, set
forth on Item 3 of the applicable Ballot, or fails to return such Ballot in accordance with
the procedures set forth in the Solicitation Procedures Order by the deadlines provided
therein, such Holder will be deemed to have irrevocably relinquished and waived its right
to receive the GUC Cash-Out. All eligible Holders of Other General Unsecured Claims
should carefully review the procedures set forth in the Solicitation Procedures Order.




7
     As of the date of this Disclosure Statement, certain of the Debtor’s foreign subsidiaries are in the process of
     being wound down under applicable law. In connection with such wind down processes, certain de minimis
     Intercompany Claims held by the Debtor’s foreign subsidiaries are expected to be settled prior to the Effective
     Date.


                                                         -10-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                         Pg 206 of 410



C.     Voting on the Plan

       1.      Parties-in-Interest Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless: (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or interest entitles the holder thereof; or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

                 In general, under section 1126(a) of the Bankruptcy Code, the holder of a claim or
interest that is allowed under a plan is entitled to vote to accept or reject the plan if such claim or
interest is impaired under the plan. Under section 1126(f) of the Bankruptcy Code, the holder of
a claim that is not impaired under a plan is conclusively presumed to have accepted the plan, and
the plan proponent need not solicit such holder’s vote. Under section 1126(g) of the Bankruptcy
Code, the holder of an impaired claim or impaired interest that will not receive any distribution
under the plan in respect of such claim or interest is deemed to have rejected the plan and is not
entitled to vote on the plan. For a detailed description of the treatment of Claims and Interests
under the Plan, refer to Article IV belowSummary of the Plan.

               Classes 1 and 2 are Unimpaired under, and conclusively presumed under section
1126(f) of the Bankruptcy Code to have accepted, the Plan.

                Classes 3-53(a), 3(b), 4 and 5 are Impaired under, and entitled to vote to accept or
reject, the Plan.

             Classes 6 and 7 are Impaired under, and deemed under section 1126(g) of the
Bankruptcy Code to have rejected, the Plan.

               Class 8 is Impaired or Unimpaired under, and deemed under section 1126(f) or
1126(g) of the Bankruptcy Code, as applicable, to have accepted or rejected the Plan.

                 Except as described in Article V belowStatutory Requirements for
Confirmation of the Plan, the Bankruptcy Code requires, as a condition to confirmation of the
Plan, that each Impaired Class accept the Plan. Section 1126(c) of the Bankruptcy Code defines
acceptance of a plan by a class of claims as acceptance by holders of at least two-thirds in dollar
amount and more than one-half in number of claims in such class that have voted to accept or
reject the plan. Section 1126(d) of the Bankruptcy Code defines acceptance of a plan by a class
of interests as acceptance by holders of at least two-thirds in dollar amount of interests in such
class that have voted to accept or reject the plan. Holders of claims or interests who fail to vote
are deemed neither to accept nor to reject the Plan. For a more detailed description of the
requirements for confirmation of the Plan, refer to Article V belowStatutory Requirements for
Confirmation of the Plan.

              Even if the Plan has not been accepted by all Impaired Classes entitled to vote,
section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm the Plan,


                                                  -11-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 207 of 410



provided that the Plan has been accepted by at least one Impaired Class of creditors.
Notwithstanding the failure of an Impaired Class to accept the Plan, the Plan can be confirmed
by a procedure commonly known as cram-down, provided the Plan does not “discriminate
unfairly” and is “fair and equitable,” for the purposes of the Bankruptcy Code, with respect to
each Class of Claims or Interests that is Impaired under, and has not accepted, the Plan. For a
more detailed description of the requirements for confirmation of a nonconsensual plan, refer to
Article V belowStatutory Requirements for Confirmation of the Plan.

         2.       Submitting a Ballot

                If you are the record Holder of a Claim or Interest in a Class entitled to vote on
the Plan, accompanying this Disclosure Statement is a ballot (the “Ballot”) for voting to accept
or reject the Plan.

                Classes 3(a), 3(b), 4 and 5 are entitled to, or are being solicited to, vote to accept
or reject the Plan. If you are entitled to or are being solicited to vote, you should carefully review
this Disclosure Statement, including the attached appendices and the instructions accompanying
your Ballot or Ballots. Then, indicate your acceptance or rejection of the Plan by voting for or
against the Plan on the enclosed Ballot or Ballots and return the Ballot or Ballots to Kroll
Restructuring Administration LLC (the “Solicitation Agent” or “Kroll”) or by submitting a
Ballot or Ballots through the online electronic ballot portal (as described on the Ballot)
maintained by Kroll. If you are a Beneficial Holder48 of Claims or Interests in Classes 3(a), 4 or
5 and received a Ballot for Beneficial Holders (a “Beneficial Holder Ballot”), you must return the
Beneficial Holder Ballot to your broker or other nominee, or the agent of a broker or other
nominee (each of the foregoing, a “Nominee”), in accordance with the instructions provided by
your Nominee, who will then submit a master ballot on your behalf.

               As described herein, the Ballot or Election Form (as defined below), as
applicable, contains an election for a Holder who rejects the Plan, a Holder abstaining from
voting on the Plan, or a Holder deemed to accept the Plan, to opt out of the third-party releases
contained in Section 12.9 of the Plan. If applicable, each Holder of a Claim or Interest that does
not timely make the opt-out election on its Ballot or Election Form will be deemed to have
expressly, unconditionally, generally, individually, and collectively released and discharged all
claims and causes of action against the Released Parties.

                The notices of non-voting status for Holders of Claims or Interests that are
deemed to reject the Plan contain an election to opt in to the third-party releases contained in
Section 12.9 of the Plan. Holders of Claims or Interests that are deemed to reject the Plan but
who affirmatively opt in to the third-party releases provided by the Plan by checking the box on
the applicable Election Form indicating that they opt in to grant the third-party releases provided
in the Plan will be deemed to have expressly, unconditionally, generally, individually, and
collectively released and discharged all claims and causes of action against the Released Parties.


48
     A “Beneficial Holder” means a beneficial owner of publicly traded securities whose Claims or Interests have not
     been satisfied prior to the Record Date pursuant to Court order or otherwise, as reflected in the records
     maintained by the Nominees holding through the respective indenture trustee or transfer agent (as applicable).



                                                        -12-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 208 of 410



For further information, refer to Article VI belowVoting Procedures below, and the
Solicitation Procedures Order attached hereto as Appendix C.

               Ballots cast by Holders in Classes entitled to vote must be actually received by the
Solicitation Agent by 5:00 p.m. Eastern Time on AprilJune [2517], 2024. Ballots received after
the Voting Deadline will not be counted or considered for any purpose in determining whether
the Plan has been accepted or rejected.

               For further information, refer to Article VI belowVoting Procedures below.

       3.      Recommendation

               The Debtor believes that confirmation and consummation of the Plan is in
the best interests of the Debtor’s Estate and Holders of Claims and Interests. Accordingly,
the Debtor recommends that Holders of Claims and Interests entitled to vote on the Plan
vote to accept it.

D.     Confirmation of the Plan

       1.      Plan Objection Deadline

                Objections to Confirmation of the Plan must be filed with the Bankruptcy Court
and served so as to be actually received on or before 4:00 p.m., Eastern Time on AprilJune
[3018], 2024. Unless objections to the Confirmation are timely served and filed in compliance
with the Solicitation Procedures Order, they will not be considered by the Bankruptcy Court.

       2.      Confirmation Hearing

                The Bankruptcy Court has scheduled the hearing to consider confirmation (the
“Confirmation”) of the Plan (the “Confirmation Hearing”) at [10]:00 a.m10:00 a.m. on MayJune
[725], 2024, Eastern Time. The Confirmation Hearing may be adjourned by the Bankruptcy
Court or the Debtor without further notice other than by announcement in open court and/or
notice(s) of adjournment filed on the docket with the Bankruptcy Court’s permission.

                                   ARTICLE II.ARTICLE II

                                        BACKGROUND

A.     Overview of the Debtor’s Businesses

               The principal business of the Debtor is diversified financial services with a focus
on the innovation economy. Through the Debtor’s various subsidiaries and divisions, the Debtor
has long offered a diverse set of banking and financial products and services to clients across the
United States and in key international innovation markets. Prior to March 10, 2023, the Debtor
owned and operated Silicon Valley Bank (“SVB”), a California-chartered bank, through which
the Debtor offered commercial and private banking products and services. On March 10, 2023,
the California banking authorities closed SVB and appointed the Federal Deposit Insurance



                                                -13-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                       Pg 209 of 410



Corporation (the “FDIC”) as receiver (“FDIC-R1”). The circumstances leading to the
receivership are described in more detail below.

                Following the closure of SVB, the Debtor’s primary business lines were SVB
Capital, the venture capital and credit investment arm of the Debtor, which focuses on funds
management on behalf of third-party limited partner investors and the Debtor and SVB
Securities LLC (“SVB Securities”), an investment bank. SVB Securities provided investment
banking services and provided equity research coverage, especially with respect to healthcare
and technology companies. On October 2, 2023, the Debtor consummated a sale of SVB
Securities to a bidder group led by members of SVB Securities management, the circumstances
of which are described in more detail below.

B.     The Debtor’s Corporate Structure and Global Operations

       1.     Silicon Valley Bank

                Prior to March 10, 2023, the Debtor operated SVB. SVB was a commercial bank
that offered credit, treasury management, foreign exchange, trade finance, and other services to
clients in key innovation markets. SVB was the Debtor’s primary operating subsidiary and a
core element of the Debtor’s business. SVB directly employed all of the Debtor’s personnel,
who provided services to the Debtor and its various businesses via intercompany services
arrangements (the “Services Agreement”). SVB was also custodian of most of the books,
records, and other data related to the Debtor’s business.

                On March 10, 2023, the California Department of Financial Protection and
Innovation (the “CA DFPI”) closed SVB and appointed the FDIC-R1 as receiver. The FDIC-R1
subsequently transferred all deposits and substantially all assets of SVB to a newly created,
FDIC-operated bridge bank, Silicon Valley Bridge Bank, National Association (the “Bridge
Bank”). On March 27, 2023, the Office of the Comptroller of the Currency closed Bridge Bank
and appointed the FDIC as receiver for Bridge Bank (“FDIC-R2”), and First Citizens
BancShares, Inc. (“FCB Parent”) announced that it had entered into an agreement with FDIC-R2
and the FDIC in its corporate capacity (“FDIC-C”) to assume all remaining deposit liabilities of
Bridge Bank and to purchase approximately $72 billion of assets from Bridge Bank at a discount
of $16.5 billion. As of the time of this Disclosure Statement, the legacy banking business of
SVB is now operated as a division of FCB Parent’s subsidiary bank, First-Citizens Bank & Trust
Company (“FCB”).

       2.     SVB Capital

                SVB Capital is the venture capital and credit investment arm of the Debtor. SVB
Capital focuses primarily on funds management and, as of the Petition Date, managed over
$[9.5]9.8 billion of funds on behalf of third-party limited partner investors and, on a more
limited basis, the Debtor. The SVB Capital family of funds is comprised of pooled investment
vehicles such as direct venture funds that invest in companies and funds of funds that invest in
other venture capital funds, as well as debt funds that provide lending and other financing
solutions. SVB Capital generates income for the Debtor primarily through investment returns
and management fees.



                                               -14-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 210 of 410



                Historically and as of the Petition Date, SVB Capital operated as a “virtual”
subsidiary for the Debtor, without a singular non-debtor subsidiary legal entity. To continue
operating this business in the ordinary course, the Debtor took steps to consolidate the various
operations that comprise SVB Capital in new legal entities, as explained in more detail below.

                On May 2, 2024, the Debtor announced that it had entered into an agreement to
sell SVB Capital to Pinegrove Sierra HoldCo LLC (“SVBC Designated Buyer”). As explained
in more detail in Article III.L.2 below, on May 2, 2024, the Debtor filed a motion seeking
approval from the Bankruptcy Court for this sale, and as of the date of this Disclosure Statement,
the sale of SVB Capital remains pending.

       3.      SVB Securities LLC

                SVB Securities was an investment bank focused on the innovation market and, as
of the Petition Date, operated as a wholly owned subsidiary of the Debtor held by the
intermediate holding company, SVB Securities Holdings. SVB Securities provided investment
banking services across the healthcare and technology sectors. SVB Securities also provided
equity research coverage of over 360 healthcare and technology companies through another SVB
Securities Holdings subsidiary, MoffettNathanson LLC. SVB Securities focused on product and
service offerings in capital raising, M&A advisory, structured finance, equity research, sales and
trading.

               On June 18, 2023, the Debtor announced that it had entered into an agreement to
sell SVB Securities (excluding MoffettNathanson LLC) to its management group. As explained
in more detail below, on July 5, 2023, the Bankruptcy Court approved this sale, and the sale of
SVB Securities closed on October 2, 2023. The Debtor continues to own the equity interests in
MoffettNathanson LLC, a non-debtor subsidiary.

       4.      SVB Global Services India LLP

                SVB Global Services India LLP (“SVB India”), was an IT and operations services
provider for Silicon Valley Bank and its Affiliates, including the Debtor, based in Bangalore,
India and, as of the Petition Date, operated as a wholly owned subsidiary of the Debtor. Prior to
the commencement of this Chapter 11 Case, SVB India developed technology projects and
services, and engaged in development and support for core functional areas of the Debtor
including technology, human resources, finance and loan operations. After the placement of
SVB into receivership and the commencement of this Chapter 11 Case, SVB India continued to
provide back-office functions primarily to Bridge Bank, and later to FCB as the purchaser of
legacy SVB assets.

               On March 20, 2024, the Debtor announced that it had entered into an agreement
to sell SVB India to affiliates of FCB. As explained in more detail below, on April 10, 2024, the
Bankruptcy Court approved this sale, and the sale of SVB India is expected to close in the
second quarter of 2024.

C.     Summary of the Debtor’s Assets and Operations




                                                -15-
23-10367-mg        Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02       Main Document
                                              Pg 211 of 410



        1.       Assets9

                In addition to the businesses described above, the Debtor holds a variety of other
assets, including (i) investment securities, warrants and investments in SVB Capital funds
(ii) Cash and (iii) certain Retained Causes of Action including Claims and Causes of Action
against the FDIC-C and the FDIC-Rs (as defined below) and potential Claims and Causes of
Action against the Debtor’s Related Parties.

                 (a)       Investment Securities

               The Debtor holds certain direct equity investments in a variety of public and
private companies, with a total book value of approximately $231.7240.1 million and certain
limited partner interests across over 130 funds of approximately $124.9 million.118.4 million.
Certain of the Debtor’s direct investments are held indirectly through its wholly-owned
subsidiary, SVB Investments Holdings, Inc.

                 (b)       Warrants

               The Debtor holds certain warrants and other derivative investments in a variety of
public and private companies. The warrant portfolio includes over 4,8004,700 warrant positions
representing over 3,1003,000 issuers, with a total book value of approximately
$316.6311.2 million. The Debtor’s 50 largest warrant issuers account for approximately
$141.8142.6 million of the Debtor’s total warrant portfolio. The derivative investments
represent conversion rights with a book value of approximately $12.710.9 million.

                 (c)       Investments in SVB Capital Funds

                The Debtor holds capital and carried interest positions in certain Fund of Funds,
Creditfund of funds, credit funds and Directdirect funds managed by SVB Capital with a total
book value of approximately $462.5496.4 million. The book value of these interests are
$377.7412.3 million, $50.754.5 million and $34.129.6 million for Fund of Funds, CreditSVB
Capital’s fund of funds, credit funds and Directdirect funds, respectively. As described below in
Article III.L—SVB Capital Reorganization and Sale, as of the date of this Disclosure Statement,
the SVB Capital Sale (defined below) remains pending, and the consummation of the SVB
Capital Sale would impact the value retained by the Debtor in the SVB Capital funds described
in this paragraph.

                 (d) Other Assets

                 (d)       Other Assets

               As of the date of this Disclosure Statement, theThe Debtor and its non-debtor
subsidiaries collectively heldhold approximately $320264.5 million in Cash. The Debtor also
indirectly holds equity interests in a number of foreign entities through its wholly-owned



9
    Asset values in this Article II.C.1 are reflected as of March 31, 2024.



                                                         -16-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 212 of 410



subsidiary, SVB Global Financial, Inc. These indirect foreign subsidiaries are in the process of
being wound down under applicable local law.

               Additionally, as discussed in further detail below, the Debtor has certain Claims
and Causes of Action against the FDIC-C and the FDIC-Rs (as defined below), pursuant to
which the Debtor may seek to recover the approximately $1.93 billion in funds that were on
deposit at SVB at the time that SVB was placed into receivership. Further, the Debtor and the
UCC have been investigating potential Claims and Causes of Action against the Debtor’s
Related Parties relating to the closure of SVB.

          2.       The Debtor’s Board of Directors

               The following table lists the Debtor’s directors and their respective positions on
the Petition Date.

 Name                                      Position
 Beverly Kay Matthews                      Chair of the Board of Directors and Director
 Greg Becker510                            President, Chief Executive Officer and Director
 Eric A. Benhamou                          Director
 Elizabeth Burr                            Director
 Richard D. Daniels                        Director
 Alison Davis                              Director
 Joel P. Friedman                          Director
 Thomas King                               Director
 Jeffrey N. Maggioncalda                   Director
 Mary J. Miller                            Director
 Kate D. Mitchell                          Director
 Garen K. Staglin                          Director

                   (a)     Restructuring Committee

               On March 13, 2023, the Debtor announced that its board of directors (the
“Board”) appointed a restructuring committee (the “Restructuring Committee”) consisting of
five (5) independent directors to explore strategic alternatives for the Debtor and its various
businesses, assets and investments. The Restructuring Committee was delegated certain
authority with respect to the restructuring of the Debtor, and the Restructuring Committee’s
initial members were Eric Benhamou, Tom King, Kay Matthews, Mary Miller and Kate
Mitchell. Joel Friedman was appointed to the Restructuring Committee after the Petition Date.

                   (b)     Director Appointments and the Special Committee

              On July 13, 2023, the Board increased the number of directors from 11 to 13 and
appointed Steven G. Panagos and C. Allen Parker as directors. The Board determined that


510
      On April 19, 2023, Mr. Becker resigned from the Debtor’s Board and from his positions as President and Chief
      Executive Officer.



                                                        -17-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                        Pg 213 of 410



Mr. Panagos and Mr. Parker are independent directors as defined by the listing standards of
NASDAQ. On July 13, 2023, the Board also formed a special committee (the “Special
Committee”), which would be initially comprised of Mr. Panagos and Mr. Parker. The Special
Committee was delegated authority to consider all matters brought to the Board for which a
majority of the directors are conflicted. In addition, Mr. Panagos and Mr. Parker were
contemporaneously appointed to the Restructuring Committee.

       3.     Debtor Employees

                As of the Petition Date, the Debtor did not directly employ any individual.
Instead, services were performed for the Debtor by employees and other service providers of the
former Bridge Bank in accordance with the Services Agreement. Since the Petition Date, the
Debtor has hired a number of employees to provide ordinary course services to the Debtor
through its wholly owned direct subsidiary SVBFG Employee Holdco LLC (“EmployeeCo”).
As of the date of this Disclosure Statement, EmployeeCo has six (6) employees.

D.     Liabilities – The Debtor’s Prepetition Funded Indebtedness

               As of the Petition Date, the Debtor had approximately $3.37 billion in aggregate
outstanding funded indebtedness. All of the Debtor funded indebtedness is unsecured.

       1.     The Senior Notes

                On September 10, 2020, the Debtor entered into an indenture (the “Base
Indenture”) with U.S. Bank National Association, as trustee (the “Senior Notes Trustee”),
pursuant to which the Debtor has from time to time issued various series of unsecured notes (the
“Senior Notes”). On April 28, 2022, the Debtor and the Senior Notes Trustee entered into a first
supplemental indenture, supplementing and amending the Base Indenture (together with the Base
Indenture, the “Indenture”). The outstanding Senior Notes include the following:

              i.       On January 29, 2015, the Debtor issued $350 million in principal amount
                       of 3.50% Senior Notes due in January 2025.

              ii.      On June 5, 2020, the Debtor issued $500 million in principal amount of
                       3.125% Senior Notes due in June 2030.

              iii.     On February 2, 2021, the Debtor issued $500 million in principal amount
                       of 1.800% Senior Notes due February 2031.

              iv.      On May 13, 2021, the Debtor issued $500 million in principal amount of
                       2.100% Senior Notes due May 2028.

              v.       On October 28, 2021, the Debtor issued $650 million in principal amount
                       of 1.800% Senior Notes due October 2026.

              vi.      On April 29, 2022, the Debtor issued $350 million in principal amount of
                       4.435% Senior Fixed Rate/Floating Rate Notes due April 2028.



                                               -18-
23-10367-mg          Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 214 of 410



                   vii.     On April 29, 2022, the Debtor issued $450 million in principal amount of
                            4.570% Senior Fixed Rate/Floating Rate Notes due April 2033.

                   The Senior Notes remained outstanding as of the Petition Date.

          2.       Boston Private Trusts

                On July 1, 2021, the Debtor acquired Boston Private Financial Holdings, Inc.
(“Boston Private Holdings”), and assumed certain liabilities related to its assumption of two
statutory trusts (the “Trusts”) in connection with the transaction. The Trusts, Boston Private
Capital Trust I (“Trust I”) and Boston Private Capital Trust II (“Trust II”) were formed for the
purpose of issuing trust preferred securities and investing the proceeds in junior subordinated
debentures issued by Boston Private Holdings. The Trusts’ only assets are the junior
subordinated debentures issued to each Trust by Boston Private Holdings.

                 In connection with the Debtor’s acquisition of Boston Private Holdings and the
Trusts, the Debtor also assumed Boston Private Holdings’ obligations under certain guarantee
agreements, providing that the Debtor would serve as guarantor with respect to the trust
preferred securities issued by the Trusts. With respect to Trust I, as of the Petition Date, there
were less than $1 million of trust preferred securities outstanding. With respect to Trust II, as of
the Petition Date, there were approximately $103 million of trust preferred securities
outstanding. The trust preferred securities issued by Trust I pay interest quarterly and have a
fixed distribution rate of 4.875%. The quarterly distributions are cumulative. The effective
interest rate for the junior subordinated debentures was 4.875%. The junior subordinated
convertible debentures mature on October 1, 2034. The trust preferred securities issued by Trust
II pay interest quarterly based on a floating three-month rate of LIBOR plus 1.68% which are
cumulative. The effective interest rate on the junior subordinated debentures was 2.676%. The
junior subordinated debentures mature on December 30, 2035.

E.        Existing Preferred Stock

               The Debtor is authorized to issue 20 million shares of $0.001 par value preferred
stock. As of the Petition Date, the Debtor had issued approximately 350,000 shares of Series A
Preferred Stock,611 7,500 shares of Series B Preferred Stock,712 10,000 shares of Series C




611
      “Series A Preferred Stock” means the 5.250% fixed-rate series A non-cumulative perpetual preferred stock of
      SVBFG having the terms set forth in the Series A Certificate of Designation dated December 9, 2019.
712
      “Series B Preferred Stock” means the 4.100% Fixed-to-Reset series B non-cumulative perpetual preferred stock
      of SVBFG having the terms set forth in the Series B Certificate of Designation dated February 2, 2021.



                                                         -19-
23-10367-mg           Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                                Pg 215 of 410



Preferred Stock,813 10,000 shares of Series D Preferred Stock914 and 6,000 shares of Series E
Preferred Stock.1015

               On March 10, 2023, NASDAQ halted trading in the Debtor’s depositary shares,
each representing a 1/40th interest in a share of the Series A Preferred Stock of which
approximately 14,000,000 were issued as of the Petition Date, which were traded on NASDAQ
under the ticker “SIVBP”.

F.         Existing Common Stock

                The Debtor is authorized to issue 150 million shares of $0.001 par value stock
common stock (“Existing Common Stock”), of which approximately 59,200,925 shares were
issued as of the Petition Date. Prior to March 10, 2023, the Debtor traded on NASDAQ under
the ticker “SIVB”. On March 10, 2023, NASDAQ halted trading in the Debtor’s Existing
Common Stock. NASDAQ later removed the Debtor’s Existing Common Stock and Series A
Preferred Stock from listing, effective as of March 28, 2023. NASDAQ’s determination was
based on the following factors: (1) the events described in Article III—Significant Events and
Initiatives in This Chapter 11 Case; (2) concerns regarding the residual equity interest of the
existing listed securities holders; and (3) concerns about the Debtor’s ability to sustain
compliance with all requirements for continued listing on NASDAQ. The Debtor did not appeal
NASDAQ’s decision.

               Following the removal of the Debtor’s Existing Common Stock and Series A
Preferred Stock from NASDAQ, equity in the Debtor became eligible to be quoted on the OTC
Pink quotation system. To be quoted on this system, a market maker must sponsor the security
and comply with SEC Rule 15c2-11 before it can initiate a quote in a specific security. Since
March 28, 2023, the Debtor’s Existing Common Stock and Series A Preferred Stock have been
trading on the OTC Pink Market under the tickers “SIVBQ” and “SIVPQ” respectively.

G.         Factors Leading to the Commencement of This Chapter 11 Case

           1.       Silicon Valley Bank

               For many years, SVB was a premier bank for the emerging technologies sector.
The end of 2020 marked a period of significant cash inflow for this sector, with record rates of
venture investment and private financings, high levels of IPO and M&A activity and inflows
from the federal “Paycheck Protection Program”, all of which contributed to a flood of deposits
into SVB. SVB invested a portion of those deposits in U.S. Treasuries and long-dated
mortgage-backed securities. In the several years before 2022, interest rates remained low: the


813
       “Series C Preferred Stock” means the 4.000% Fixed-to-Reset series C non-cumulative perpetual preferred stock
       of SVBFG having the terms set forth in the Series C Certificate of Designation dated May 13, 2021.
914
       “Series D Preferred Stock” means the 4.250% Fixed-to-Reset series D non-cumulative perpetual preferred stock
       of SVBFG having the terms set forth in the Series D Certificate of Designation dated October 28, 2021.
1015
       “Series E Preferred Stock” means the 4.7000% Fixed-to-Reset series D non-cumulative perpetual preferred
       stock of SVBFG having the terms set forth in the Series E Certificate of Designation dated October 28, 2021.



                                                          -20-
23-10367-mg           Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                               Pg 216 of 410



benchmark interest rate was near zero, and the Federal Reserve Board of Governors (the “Federal
Reserve”) had not raised it since 2018.

                That trend ended in early 2022. In March 2022, rising inflation led to the Federal
Reserve’s decision to raise the federal interest rate by 25 basis points. In the twelve month
period after March 2022, the Federal Reserve hiked interest rates seven more times. By March
2023, the benchmark interest rate had nearly broken 5%. As interest rates rose, the rates of
investment activity seen in 2020 slowed, bond prices fell, and the market value of SVB’s
investment portfolio dropped. At the same time, SVB began to experience a meaningful
decrease in deposit levels and a shift in deposit mix as customers burned through cash and
sought higher interest products while investment and exit opportunities were very limited,
resulting in lower inflows and increased rate of withdrawals.

                On March 8, 2023, working with outside advisors, SVB announced the sale of
substantially all of its “Available for Sale” securities portfolio, resulting in an after-tax loss of
$1.8 billion. Although the sale replaced long dated securities with low interest rates with short
term securities with higher interest rates, and SVB announced plans to simultaneously raise
capital, the market reacted negatively. After the announcement, on March 9, 2023, the Debtor’s
stock price dropped significantly and SVB’s customers scrambled to withdraw their money,
resulting in a bank run where nearly 25% of deposits were withdrawn in a single day. The next
day, the CA DFPI closed SVB and appointed the FDIC-R1.

                This Disclosure Statement is not intended to contain a complete or definite
statement respecting SVB’s closure, or to bind any person or party. The cause(s) of SVB’s
closure and receivership have been and continue to be the subject of government investigations
and reports1116, congressional testimony1217, certain previously filed securities class action



1116
       See, e.g., Michael S. Barr, Board of Governors of the Federal Reserve System, Review of the Federal Reserve’s
       Supervision and Regulation of Silicon Valley Bank (Apr. 28, 2023),
       https://www.federalreserve.gov/publications/files/svb-review-20230428.pdf; U.S. Government Accountability
       Office, GAO-23-106736; Bank Regulation: Preliminary Review of Agency Actions Related to March 2023
       Bank Failures (Apr. 28, 2023), https://www.gao.gov/assets/gao-23-106736.pdf; Department of Financial
       Protection & Innovation, Review of DFPI’s Oversight and Regulation of Silicon Valley Bank (May 8, 2023),
       https://dfpi.ca.gov/wp-content/uploads/sites/337/2023/05/Review-of-DFPIs-Oversight-and-Regulation-of-Silico
       n-Valley-Bank.pdf; Office of Inspector General, Board of Governors of the Federal Reserve System,
       2023-SR-B-013, Material Loss Review of Silicon Valley Bank (Sept. 25, 2023),
       https://oig.federalreserve.gov/reports/board-material-loss-review-silicon-valley-bank-sep2023.pdf.
1217
       See, e.g., Examining the Failures of Silicon Valley Bank and Signature Bank, Hearing before U.S. Senate
       Committee on Banking, Housing, and Urban Affairs (2023) (testimony of Gregory W. Becker, former CEO of
       Silicon Valley Bank; Scott A. Shay, co-founder and former Chairman of Signature Bank; and Eric R. Howell,
       former President of Signature Bank),
       https://www.banking.senate.gov/hearings/examining-the-failures-of-silicon-valley-bank-and-signature-bank;
       Continued Oversight Over Regional Bank Failures, Hearing before U.S. House of Representatives
       Subcommittees on Financial Services and Monetary Policy and Oversight and Investigations (2023) (testimony
       of Gregory Becker, former CEO of Silicon Valley Bank; Scott Shay, co-founder and former Chairman of
       Signature Bank; Michael Roffler, former CEO and President of First Republic Bank; The Honorable Adrienne
       Harris, Superintendent of New York Department of Financial Services; and The Honorable Clothilde Hewlett,
       Commissioner of Department of Financial Protection and Innovation),


                                                          -21-
23-10367-mg        Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02                  Main Document
                                            Pg 217 of 410



complaints13lawsuits18, and may be the subject of further post-confirmation litigation
proceedings. The Debtor takes no position herein on the foregoing statements and allegations
made or to be made.

         2.      Restructuring Discussions and Decision to File for Chapter 11

                The SVB receivership had two important consequences for the Debtor. First, the
receivership removed the Debtor’s primary operating subsidiary, depriving the Debtor of a key
source of liquidity, business infrastructure and personnel. Second, the receivership triggered
default clauses under certain of the Debtor’s debt documents. These circumstances led the
Debtor to start contingency planning and evaluation of strategic alternatives.

                On March 13, 2023, the Debtor’s Board announced its appointment of the
Restructuring Committee. That same day, the Restructuring Committee appointed as Chief
Restructuring Officer William Kosturos, Managing Director and Vice-Chair of the Alvarez &
Marsal U.S. Restructuring Practice. Over the course of several days, the Board received and
reviewed the recommendations of management and of its various advisors regarding the Debtor’s
available strategic alternatives, including a bankruptcy proceeding under the provisions of the
Bankruptcy Code. After review and discussion of the information presented, the Board
determined that it was in the best interests of the Debtor, its creditors and other stakeholders to
prepare to file for chapter 11 protection.




     https://democrats-financialservices.house.gov/events/eventsingle.aspx?EventID=410427#Webcast; Bank
     Regulation: Preliminary Review of Agency Actions Related to March 2023 Bank Failures, Hearing before U.S.
     House of Representatives Subcommittee on Oversight and Investigations, Committee on Financial Services
     (2023) (statement of Michael E. Clements, director of Financial Markets and Community Investment, U.S.
     Government Accountability Office),
     https://www.c-span.org/video/?528024-1/governmentaccountability-office-official-testifies-bank-failures.
13
     See In re SVB Financial Group Securities Litigation, Case No. 3:23-cv-01097-JD (N.D. Cal. Filed as
     Vanipenta v. SVB Financial Group on Mar. 13, 2023); Snook v. SVB Financial Group, Case No.
     3:23-cv-01173-VC (N.D. Cal. Filed Mar. 15, 2023); Siddiqui v. Becker, Case No. 4:23-cv-01228-HSG (N.D.
     Cal. Filed Mar. 17, 2023); City of Hialeah Employees Retirement System v. Becker, Case No.
     3:23-cv-01697-JD (N.D. Cal. Filed Apr. 7, 2023); International Union of Operating Engineers Local 132
     Pension Fund v. SVB Financial Group, Case No. 3:23-cv-01962-TLT (N.D. Cal. Filed Apr. 24, 2023);
     Stevenson v. Becker, 4:23-cv-02277-HSG (N.D. Cal. Filed May 10, 2023); Rossi v. Becker, Case No.
     4:23-cv-02335-HSG (N.D. Cal. Filed May 12, 2023); TIAA-CREF Inv. Mgmt., LLC v. Becker, No.
     3:24-cv-00478-CRB (N.D. Cal. Filed Jan. 25, 2024).
18
     See In re SVB Financial Group Securities Litigation, Case No. 3:23-cv-01097-JD (N.D. Cal. Filed as
     Vanipenta v. SVB Financial Group on Mar. 13, 2023); Snook v. SVB Financial Group, Case No.
     3:23-cv-01173-VC (N.D. Cal. Filed Mar. 15, 2023); Siddiqui v. Becker, Case No. 4:23-cv-01228-HSG (N.D.
     Cal. Filed Mar. 17, 2023); City of Hialeah Employees Retirement System v. Becker, Case No.
     3:23-cv-01697-JD (N.D. Cal. Filed Apr. 7, 2023); International Union of Operating Engineers Local 132
     Pension Fund v. SVB Financial Group, Case No. 3:23-cv-01962-TLT (N.D. Cal. Filed Apr. 24, 2023);
     Stevenson v. Becker, 4:23-cv-02277-HSG (N.D. Cal. Filed May 10, 2023); Rossi v. Becker, Case No.
     4:23-cv-02335-HSG (N.D. Cal. Filed May 12, 2023); Lodato v. Becker, No. 3:23-cv-4551 (N.D. Cal. Filed
     Sept. 5, 2023); TIAA-CREF Inv. Mgmt., LLC v. Becker, No. 3:24-cv-00478-CRB (N.D. Cal. Filed Jan. 25,
     2024).



                                                      -22-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 218 of 410



                On the evening of March 16, 2023, the Board voted to commence this Chapter 11
Case on an emergency basis. Early the next morning, the Debtor filed a voluntary petition for
relief under the Bankruptcy Code.

                                  ARTICLE III.ARTICLE III

       SIGNIFICANT EVENTS AND INITIATIVES IN THIS CHAPTER 11 CASE

               The following is a general summary of significant events since the Petition Date,
including a discussion of the Debtor’s restructuring and business initiatives.

A.     Commencement of the Chapter 11 Case

                The commencement of a chapter 11 case creates an estate that is composed of all
of the legal and equitable interests of the debtor as of that date. The Bankruptcy Code provides
that the debtor may continue to operate its business and remain in possession of its property as a
“debtor in possession.” Following the Petition Date, the Debtor continues to operate its
businesses as debtor and debtor-in-possession.

B.     First Day Relief

                On the Petition Date, the Debtor filed a number of “first day” motions and
applications designed to ease the Debtor’s transition into Chapter 11, maximize the value of the
Debtor’s assets and minimize the effects of the commencement of the Chapter 11 Case. On
March 22 and 24, 2023, the Bankruptcy Court entered orders granting the first-day motions,
allowing the Debtor to continue certain normal business activities not specifically authorized
under the Bankruptcy Code or as to which the Bankruptcy Code requires prior court approval. In
particular, the Bankruptcy Court entered orders:

                      on an interim basis, (i) authorizing, but not directing, the Debtor, in its
                       sole discretion, to (a) continue to use its cash management system,
                       including existing bank accounts, (b) pay or honor certain prepetition
                       obligations related thereto and (c) continue to use existing business
                       letterhead, purchase orders, invoices, envelopes, promotional materials
                       and other business forms and correspondence and (ii) authorizing, but not
                       directing, the Debtor to continue to perform investment activities with its
                       affiliates and third parties on a post-petitionpostpetition basis in the
                       ordinary course of business and consistent with historical practice; and
                       (d) extending the time to comply with the requirements of section 345(b)
                       of the Bankruptcy Code [D.I. 70];

                      (i) authorizing, but not directing, the Debtor, in its sole discretion, to
                       maintain a list of creditors in lieu of submitting a formatted mailing matrix
                       and (ii) establishing procedures for notifying parties of the commencement
                       of this Chapter 11 Case [D.I. 55];




                                                -23-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 219 of 410



                      (i) extending the time for the Debtor to file its schedules and statements by
                       20 days, (ii) extending the time for the Debtor to file its 2015.3 report to
                       the date that is two days from the initial date set for the meeting of
                       creditors to be held pursuant to section 341 of the Bankruptcy Code and
                       (iii) modifying the requirements to file the list of equity security holders
                       and serve notice of commencement on all equity holders [D.I. 53];

                      on an interim basis, authorizing, but not directing, the Debtor, in its sole
                       discretion, to (i) pay the prepetition compensation and benefits obligations
                       and (ii) maintain the employee compensation and benefits and pay related
                       administrative obligations [D.I. 71];

                      on an interim basis, (i) establishing notice and objection procedures
                       related to certain transfers of equity securities and declarations of
                       worthlessness for federal or state tax purposes with respect existing
                       common or preferred stock or any beneficial ownership thereof; and
                       (ii) directing that any purchase, sale, or other transfer of common or
                       preferred stock in violation of the procedures set forth will be null and
                       void ab initio [D.I. 57]; and

                      authorizing the retention and appointment of Kroll as claims and noticing
                       agent and administrative advisor [D.I.s 54, 135].

               On April 27, 2023, the Bankruptcy Court also entered final orders with respect to
the Debtor’s cash management system [D.I. 132] and treatment of the Debtor’s net operating
losses [D.I. 136]. On June 29, 2023, the Bankruptcy Court also entered a final order with
authorizing payment of certain prepetition employee compensation and benefit programs [D.I.
372].

               In addition, the commencement of the Debtor’s Chapter 11 Case triggered the
automatic stay under section 362 of the Bankruptcy Code, which, with limited exceptions,
enjoined all collection efforts and actions by creditors, the enforcement of all liens against
property of the Debtor and the commencement or continuation of prepetition litigation against
the Debtor. Subject to limited exceptions, the automatic stay will remain in effect until the
Effective Date of the Plan.

C.     Appointment of the UCC

              On March 28, 2023, the Official Committee of Unsecured Creditors (the “UCC”)
was appointed by William K. Harrington, the United States Trustee for Region 2 (the
“U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code to represent the interests of
unsecured creditors in the Chapter 11 Case [D.I. 72]. The initial members of the UCC were Tata
Consultancy Services Limited, U.S. Bank National Association (as Indenture Trustee),
Wilmington Trust Company (as Indenture Trustee), Satagopan Rajagopalan and Cousins Fund II
Phoenix I, LLC. On September 19, 2023, the UCC was reconstituted to four members: U.S.




                                                -24-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 220 of 410



Bank National Association (as Indenture Trustee), Wilmington Trust Company (as Indenture
Trustee), Satagopan Rajagopalan and Cousins Fund II Phoenix I, LLC.

               The UCC selected Akin Gump Strauss Hauer & Feld LLP as its legal counsel,
Cole Schotz, P.C. as efficiency and conflicts counsel, Berkeley Research Group, LLC as its
financial advisor and Lazard Frères & Co. LLC as its investment banker. The Bankruptcy Court
approved the UCC’s retentions of these professional advisors [D.I. 295, 296, 338, 499].

               The UCC is a party to the RSA and has agreed to support the Plan.

D.     The Ad Hoc Group of Senior Noteholders

               On May 3, 2023, a group of certain holders, or investment advisors managing or
acting on behalf of holders of certain Senior Notes and Preferred Stock issued by the Debtor (the
“Ad Hoc Group of Senior Noteholders”) filed a verified statement pursuant to Bankruptcy Rule
2019 [D.I. 149]. On July 21, 2023, the Ad Hoc Group of Senior Noteholders filed a first
supplemental verified statement pursuant to Bankruptcy Rule 2019 [D.I. 434]. The Ad Hoc
Group of Senior Noteholders retained Davis Polk & Wardwell LLP as counsel.

E.     The Ad Hoc Cross-Holder Group

              On April 28, 2023, a group of holders, or investment advisors, sub-advisors, or
managers of holders, of certain Senior Notes and preferred stock issued by the Debtor (the “Ad
Hoc Cross-Holder Group”) filed a verified statement pursuant to Bankruptcy Rule 2019 [D.I.
142]. On July 20, 2023, the Ad Hoc Cross-Holder Group filed a first amended verified statement
pursuant to Bankruptcy Rule 2019 [D.I. 432]. The Ad Hoc Cross-Holder Group retained
White & Case LLP as counsel.

F.     Retention of Debtor Professionals

                The Debtor retained, and the Bankruptcy Court approved the retentions of, the
following advisors in the Chapter 11 Case, among others: (i) Sullivan & Cromwell LLP, as legal
counsel to the Debtor; (ii) Alvarez & Marsal North America, LLC, to provide the Debtor a chief
restructuring officer and certain additional personnel; (iii) Centerview Partners LLC
(“Centerview”), as investment banker; (iv) Jenner & Block LLP as conflicts counsel; (v) Kroll,
as claims and noticing agent and administrative advisor; (vi) Huron Consulting Services, LLC as
financial advisor; and (vii) Lincoln Partners Advisors LLC, as valuation advisor; and (vii) Ernst
& Young LLP, as tax advisor [D.I. 54, 80, 81, 83, 110, 135, 138, 246, 248, 304, 591, 664, 759,
763]. The Debtor proposed the retention of Ernst & Young LLP as its tax advisor, but as of the
date of this Disclosure Statement, this retention has not yet been approved., 853].

              On April 5, 2023, the Debtor filed with the Bankruptcy Court the Debtor’s
Motion for Entry of an Order Pursuant to Sections 105(a) and 331 of the Bankruptcy Code,
Bankruptcy Rule 2016 and Local Rule 2016-1 Establishing Procedures for Monthly
Compensation and Reimbursement of Expenses of Professionals [D.I. 85] (the “Interim
Compensation Motion”). The Interim Compensation Motion was approved by the Bankruptcy
Court on April 27, 2023 [D.I. 134]. In approving the Interim Compensation Motion, the



                                               -25-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                        Pg 221 of 410



Bankruptcy Court established procedures for the fee application process and payment of
professionals retained by the Debtor and any statutory committees appointed in the case.

               On April 5, 2023, the Debtor filed with the Bankruptcy Court the Debtor’s
Motion for Entry of an Order Implementing Certain Procedures to Retain, Compensate and
Reimburse Professionals Utilized in the Ordinary Course of Business [D.I. 86] (the “Ordinary
Course Professionals Motion”). The Ordinary Course Professionals Motion was approved by the
Bankruptcy Court on April 28, 2023 [D.I. 139]. In so doing, the Bankruptcy Court established
procedures for the employment and compensation of certain ordinary course professionals used
by the Debtor in connection with ongoing business operations.

G.     Schedules and Statements and 341 Meeting

                 Pursuant to section 521 of the Bankruptcy Code, Bankruptcy Rule 1007(c), and
orders of the Bankruptcy Court granting extensions of time, on May 22, 2023, the Debtor filed (i)
schedules of assets and liabilities, (ii) a schedule of executory contracts and unexpired leases,
and (iii) a statement of financial affairs (collectively, the “Schedules”) [D.I.s 261, 262].

               On May 31, 2023, the U.S. Trustee conducted a meeting of creditors pursuant to
section 341 of the Bankruptcy Code (the “341 Meeting”).

H.     Bar Dates and Claims Process

                 On June 29, 2023, the Bankruptcy Court entered an order, which, among other
things, (i) established August 11, 2023, at 4:00 p.m., Eastern Time, as the deadline for all
non-governmental units (as defined in section 101(27) of the Bankruptcy Code), including claims
pursuant to section 503(b)(9) of the Bankruptcy Code (the “General Bar Date”); (ii) established
September 14, 2023, at 4:00 p.m., Eastern Time, as the deadline for all governmental units (as
defined in section 101(27) of the Bankruptcy Code) (the “Governmental Bar Date”) to file proofs
of claim (such date, together with the General Bar Date, the “Bar Dates”); (iii) established the
later of (a) the General Bar Date and (b) 4:00 p.m., Eastern Time, on the date that is 30 days
from the date that notice of the applicable amendment or supplement to the applicable schedules
is served on such entity as the amended bar date and (iv) approved the form and manner of notice
of the Bar Dates [D.I. 373].

               To facilitate the claims reconciliation process, on November 13, 2023, the Debtor
filed a motion (the “Claims Objections Procedures Motion”) for leave to file omnibus objections
to claims and establishing related procedures [D.I. 672]. On November 30, 2023, the
Bankruptcy Court entered an order granting the Claims Objections Procedures Motion,
authorizing the Debtor to file omnibus claims objections on various grounds [D.I. 713].

                The Debtor received 1,274 proofs of claim, totaling approximately $5.5 billion,
timely filed by the General Bar Date. In addition, the Debtor received 20 proofs of claim by
governmental units totaling approximately $1.7 billion timely filed by the Governmental Bar
Date. As of the date of this Disclosure Statement, the Debtor has filed four (4) omnibus claims
objections [D.I.s 768, 812, 908, 1021]. The Bankruptcy Court has entered three (3) orders
sustaining certain of the Debtor’s omnibus claims objections [D.I.s 817, 897, 1029].



                                               -26-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 222 of 410



I.     Assumption and Assignment of Executory Contracts to FCB and Non-debtor
       Subsidiaries

                 Since the Petition Date, the Debtor and its advisors have engaged in a process to
collect, review and analyze the contracts to which the Debtor was a party. The Debtor and its
advisors have determined that many of those agreements do not relate to the operations of the
Debtor or its non-debtor subsidiaries. Specifically, a significant volume of those contracts
concern operations solely relevant to the former SVB, now operated by FCB, as successor in
interest to the relevant businesses of SVB. The Debtor has consulted with FCB to determine
which contracts are expected to be used in the respective ongoing operations of FCB and the
Debtor. During that process, the Debtor has considered, among other things, the ongoing value
and projected costs of maintaining such contracts.

               Ultimately, the Debtor determined in its business judgment that its continuing
operations do not depend on nor derive value from hundreds of contracts that involved products
and services entirely related to the operations of the former SVB. Accordingly, the Debtor has
assumed and assigned approximately 550890 executory contracts related to the operations of the
former SVB to FCB. Likewise, the Debtor determined in its business judgment that its
continuing operations did not depend on nor derive value from the premises of certain leases.
Therefore, the Debtor moved to assume and assign, and the Bankruptcy Court approved the
assumption and assignment of, hundreds of executory contracts and over 40 leases to FCB,
thereby conserving the Debtor’s resources, streamlining its operations and avoiding unnecessary
obligations [D.I.s 330, 369, 386, 426, 466, 492, 501, 534, 554, 568, 570, 588, 592, 609, 640, 641,
643, 644, 670, 676, 706, 707, 714, 715, 764, 765, 783, 784, 785, 813, 814, 815, 858, 859, 860,
861, 892, 894, 895, 896, 898, 944, 1030].

               Where the Debtor has determined that it does not require or derive value from
certain contracts, and FCB does not desire for such contracts to be assumed and assigned, the
Debtor has moved to reject such contracts in order to avoid incurring unnecessary administrative
expenses during the pendency of the Chapter 11 Case. To date, the Debtor has rejected
approximately 320400 executory contracts [D.I.s 253, 370, 500, 569, 571, 642, 716, 762, 816,
893, 945, 1031].

                Finally, the Debtor has also determined that certain of the Debtor’s contracts are
required for the operations of its non-debtor subsidiaries and affiliates, including SVB Capital.
In such cases, the Debtor has moved to assume and assign such contracts to the applicable
non-debtor subsidiaries, including SVBC ManCo, as discussed in further detail below. To date,
the Debtor has assumed and assigned approximately 70 contracts and unexpired leases to its
current and former non-Debtor subsidiaries, including approximately 25 contracts to SVB
Securities before the sale of the SVB Securities business (described in more detail below).
[D.I.s 426, 534, 570, 588, 643, 783, 813].

J. Investigation of Potential Estate Claims and Causes of Action

              The UCC has coordinated with the Debtor (acting at the direction of the Special
Committee) to conduct an investigation into the prepetition conduct and events that led to the
Debtor’s Chapter 11 Case. In connection with that investigation, the UCC obtained documents


                                                -27-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 223 of 410



from the Debtor on a consensual basis, and the UCC and Debtor obtained permission from the
Bankruptcy Court to seek discovery under Bankruptcy Rule 2004 from forty-one (41) current or
former directors, officers and employees of the Debtor, six advisors and other third parties, and
First Citizens Bank, which is in possession of the majority of the Debtor’s prepetition books and
records, among other parties [D.I. 345, 346, 659]. In connection with these requests, the UCC
and Debtor also obtained permission to receive confidential supervisory information from the
Federal Reserve, the CA DFPI, and the Federal Reserve Bank of San Francisco. The
investigation also included the review and analysis of publicly available information concerning
SVB, including reports from the Federal Reserve and the U.S. Government Accountability
Office surrounding the closure and receivership of SVB, as well as documents and
communications that have been made publicly available in connection with those reports, and
public testimony from relevant personnel. The UCC has also coordinated with the Special
Committee to conduct informal interviews of certain relevant individuals.

                In connection with their investigation, the UCC and Debtor (acting at the
direction of the Special Committee) are analyzing potentially valuable claims and causes of
action that may be brought for the benefit of the Debtor’s estate. Potential claims, other than
those that are subject to a release as set forth on Exhibit [•] to the Plan, are preserved under the
Plan and shall be transferred to the Liquidating Trust, as set forth in Article IV—Summary of the
Plan below.

J.     K. Claims Against the FDIC

                As discussed above, on Friday, March 10, 2023, the CA DFPI ordered that SVB
be closed and requested that the FDIC be appointed as receiver of SVB. On that date, the FDIC
agreed to act as receiver of SVB. At the opening of business on March 10, 2023, the Debtor had
on deposit with SVB approximately $2.1 billion in cash residing in three separate deposit
accounts (the “Deposit Accounts”). Those funds constituted the substantial majority of the
Debtor’s cash. As of March 10, 2023, the deposits at SVB were insured through the FDIC’s
deposit insurance fund (the “Deposit Insurance Fund”) to a maximum of $250,000 (the “FDIC
Insurance Cap”). On March 12, 2023, the Secretary of the Treasury, upon the written
recommendation of the Board of Governors of the Federal Reserve and the Board of Directors of
the FDIC and after consultation with the President of the United States, invoked the systemic
risk exception (“SRE”) under the Federal Deposit Insurance Act to guarantee payment of all
deposits at SVB – over and above the FDIC Insurance Cap – in consideration of the systemic risk
facing the nation’s banking system.

                 Consistent with the March 12, 2023 invocation of the SRE, from Monday,
March 13, 2023 through midday on Thursday, March 16, 2023, the Debtor had access to its
accounts and deposits, which had been transferred by the FDIC-R1 to the Bridge Bank. On
March 15, 2023 and the morning of March 16, 2023, the Debtor initiated over $150 million in
wire transfers from its accounts, which wire transfers were honored by the Bridge Bank. Wire
transfers initiated by the Debtor during the afternoon of March 16, 2023 and on March 17, 2023,
however, were denied by the Bridge Bank at the instruction of FDIC-R1. No explanation was
given to the Debtor for the denial of such wires.




                                                 -28-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 224 of 410



               On the morning of Friday, March 17, 2023, the Debtor commenced its chapter 11
proceeding by filing a voluntary petition with the Bankruptcy Court. Shortly after the Petition
Date, the FDIC-R1 informed the Debtor that pursuant to 12 U.S.C. § 1822(d), which authorizes
the FDIC to withhold a portion of a deposit up to the $250,000 FDIC Insurance Cap as may be
required to pay a liability of the depositor, the Deposit Accounts had been put on hold by
FDIC-R1. The FDIC-R1 subsequently informed the Debtor that the Debtor would have to file a
proof of claim in the receivership proceeding to recover any of the $1.93 billion that was present
in the Deposit Accounts at the time the Debtor’s access to the accounts was
denied—notwithstanding the prior invocation of the SRE.

       1.      The Adversary Proceeding

                 On July 9, 2023, the Debtor commenced an adversary proceeding against the
FDIC (i) in its capacity as FDIC-C, (ii) in its capacity as FDIC-R1 and (iii) in its capacity as
FDIC-R2 (the FDIC-R1 and FDIC-R2 together, the “FDIC-Rs”) (the “Adversary Proceeding”).
See SVB Financial Group v. Federal Deposit Insurance Corp., et al., No. 23-01137 (MG)
(Bankr. S.D.N.Y.). As against the FDIC-C, the Debtor asserts a turnover claim pursuant to
section 542 of the Bankruptcy Code and Bankruptcy Rule 7001, seeking to compel the FDIC-C
to turn over the approximately $1.93 billion on deposit in the Debtor’s accounts at Bridge Bank
(the “Account Funds”) from the Deposit Insurance Fund, as well as other related relief. The
Debtor also asserts claims in the alternative against FDIC-R1 and FDIC-R2 for turnover of the
Debtor’s Account Funds pursuant to section 542 of the Bankruptcy Code and Bankruptcy Rule
7001. Against all three FDIC entities, the Debtor asserts claims for violation of the automatic
stay under section 362(a) of the Bankruptcy Code and for declaratory judgment pursuant to 28
U.S.C. § 2201 et seq., requesting a declaration that neither the FDIC-C nor either of the FDIC-Rs
has a right of setoff against the amount of the Account Funds, or in the alternative, that any right
of setoff is limited to amounts for which there is mutuality of obligation between the Debtor and
the FDIC-C, FDIC-R1, or FDIC-R2, respectively.

               On August 11, 2023, all three FDIC entities filed motions under Rule 12(b)(1)
and 12(b)(6) of the Federal Rules of Civil Procedure, seeking to dismiss the Adversary
Proceeding. On the same day, the FDIC-R1 filed a motion to withdraw the reference from the
Bankruptcy Court pursuant to 28 U.S.C. § 157(d). That motion; that motion was subsequently
joined by the FDIC-C and FDIC-R2. The motion to withdraw the reference was docketed in the
United States District Court for the Southern District of New York and assigned to Judge John P.
Cronan on August 15, 2023. See SVB Fin. Grp. v. FDIC, No. 23-cv-07218 (JPC) (S.D.N.Y.). In
light of the motion to withdraw the reference, on September 14, 2023, the Bankruptcy Court
adjourned sine die a hearing on all pending motions in the Adversary Proceeding. On
December 13, 2023, Judge Cronan granted the motion to withdraw the reference. To date, no
court has ruled on the FDIC’s motions to dismiss. On January 15, 2024, the Debtor submitted a
letter—joined by the UCC, the Ad Hoc Group of Senior Noteholders, and the Ad Hoc
Cross-Holder Group—requesting that Judge Cronan stay the Adversary Proceeding pending
further developments in the Debtor’s parallel actions against the FDIC. On January 25, 2024,
Judge Cronan adjourned sine die the oral argument on the pending motions to dismiss and
directed the parties to provide the court with updates on any material developments in the
Adversary Proceeding, including, by no later than March 10, 2024, an update on any other
proceedings by the Debtor against the FDIC-C or either of the FDIC-Rs. The Debtor—again


                                                -29-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 225 of 410



joined by the UCC, the Ad Hoc Group of Senior Noteholders, and the Ad Hoc Cross-Holder
Group—submitted a Letter Motion to Judge Cronan on March 10, 2024, providing updates on
actions the Debtor initiated against the FDIC-C and FDIC-Rs in the United States District Court
for the Northern District of California (discussed below). The Letter Motion also requested that
Judge Cronan stay the action for 180 days. As of the date of this Disclosure Statement, the
Debtor’s request for a stay remains pending.

       2.      FDIC-C Proceedings

                  On June 26, 2023, the Debtor sent a letter to the FDIC-C demanding access to, or
payment of, its $1.93 billion Account Funds as required by the Treasury Secretary’s invocation
of the systemic risk exception. On September 19, 2023, the FDIC-C sent the Debtor a letter
stating that it intended to treat the Debtor’s June 26 letter as a deposit claim under 12 U.S.C.
§ 1821(f), and on October 20, 2023, the FDIC-C denied the Debtor’s claim for its Account
Funds. On December 19, 2023, the

                The Debtor commenced an actionfiled a complaint against the FDIC-C in the
United States District Court for the Northern District of California on December 19, 2023, to
seek relief from the FDIC-C’s withholding of the Account Funds and to protect the Debtor’s
rights in the event that section 1821(f) is found to apply to the Debtor’s claims against the
FDIC-C. That action is currently pending before Judge Beth Labson Freeman at SVB Financial
Group v. Federal Deposit Insurance Corporation, in Its Corporate Capacity, No. 23-cv-06543
(BLF) (N.D. Cal.). As of the date of this Disclosure Statement, the FDIC-C has not answered or
otherwise responded to the Debtor’s complaint in that action. (the “FDIC-C Action”). In the
FDIC-C Action, Debtor brings eight claims for, inter alia, Administrative Procedures Act
(“APA”) review of the FDIC-C’s wrongful denial of Debtor’s claim for its $1.93 billion in
account funds, declaratory judgment, turnover of Debtor’s Account Funds, violation of the
automatic stay of section 362(a) of the Bankruptcy Code, violations of the Debtor’s due process
rights, and violation of the Freedom of Information Act (“FOIA”).

               On March 4, 2024, the FDIC-C filed a partial motion to dismiss Counts I, II, III,
IV, V, VII, and VIII of Debtor’s complaint. The Debtor’s opposition to the partial motion to
dismiss is due on May 20, 2024. The hearing on the FDIC-C’s partial motion to dismiss is set
for July 11, 2024. On March 21, 2024, the parties participated in a case management conference
before Judge Freeman. Following the case management conference, Judge Freeman stayed
summary judgment briefing on Count VI of Debtor’s complaint until after the Court rules on the
pending partial motion to dismiss the complaint’s other counts. On April 1, 2024, FDIC-C
served the Debtor with the purported administrative record underlying its October 20, 2023
denial of the Debtor’s claim for the Account Funds. On April 2, 2024, the FDIC-C filed a
motion to stay discovery pending resolution of the partial motion to dismiss, which the Debtor
opposed on April 16, 2024. On April 29, 2024, the Court denied the FDIC-C’s motion to stay
discovery.

       3.      Proceedings with the FDIC-Rs

             On July 11, 2023, the Debtor filed a protective proof of claim with each of the
FDIC-R1 and FDIC-R2 regarding the Account Funds, which the FDIC-Rs each separately


                                                -30-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 226 of 410



disallowed on January 5, 2024. The Notice of Disallowance of Claim received by the Debtor
from the FDIC-R1 states that “[t]he deposit claim is denied as not proven to the satisfaction of
the receiver due to the receiver’s defenses. All other claims are denied as speculative,
unsupportable, or otherwise not proven to the satisfaction of the receiver.” [D.I. 800]. The
Notice of Disallowance of Claim received by the Debtor from the FDIC-R2 states that “[t]he
deposit claim is denied as not proven to the satisfaction of the receiver because it is not a liability
of the FDIC as receiver for Silicon Valley Bridge Bank. All other claims are denied as
speculative, unsupportable, or otherwise not proven to the satisfaction of the receiver.”
[D.I. 800]. Under 12 U.S.C. § 1821(d)(6)(A), the Debtor may “file suit on [its] claim” within 60
days of “the date of any notice of disallowance” in either the United States District Court for the
Northern District of California or the United States District Court for the District of Columbia.
That deadline falls on March 5, 2024.

                On March 5, 2024, the Debtor filed a complaint against the FDIC-R1 and
FDIC-R2 in the United States District Court for the Northern District of California. Shortly
thereafter, the Debtor moved in the FDIC-C Action to have the two cases related. Judge
Freeman granted the motion on March 21, 2024. The action against the FDIC-Rs is now pending
before Judge Freeman at SVB Financial Group v. Federal Deposit Insurance Corporation, as
Receiver for Silicon Valley Bank et al, No. 24-cv-01321 (BLF) (N.D. Cal.) (the “FDIC-R
Action”). In the FDIC-R Action, the Debtor asserts twelve claims for, inter alia, breach of
contract, estoppel, conversion, turnover of the Debtor’s Account Funds, violation of the
automatic stay of section 362(a) of the Bankruptcy Code, violations of certain provisions of the
California Financial Code and of the National Bank Act, declaratory judgment, and violations of
the Debtor’s due process rights. The FDIC-Rs’ deadline to answer, move to dismiss, or
otherwise respond to the complaint is May 7, 2024.

K.     L. SVB Securities Sale

       1.      SVB Securities Bidding Procedures

                The Debtor and its advisors developed bidding and auction procedures for the
marketing and sale of certain assets in this Chapter 11 Case in an orderly and value maximizing
manner (the “Bidding Procedures”). On April 27, 2023, the Debtor filed the Debtor’s Motion for
Entry of Orders (I)(A) Approving Bid Procedures and the Form and Manner of Notices for the
Sale of SVB Securities and (B) Scheduling Auction(s) and Sale Hearing(s), (II) Approving the
Sale(s) Free and Clear of Liens, Claims, Interests and Encumbrances and (III) Granting Related
Relief [D.I. 137] (the “SVB Securities Bidding Procedures Motion”). On May 17, 2023, the
Bankruptcy Court entered the Order (A) Approving Bid Procedures and the Form and Manner of
Notices for the Sale of SVB Securities, (B) Scheduling Auction(s) and Sale Hearing(s) and (C)
Granting Related Relief [D.I. 250] (the “Bidding Procedures Order”), approving the SVB
Securities Bidding Procedures Motion.

       2.      Post-PetitionPostpetition Marketing Process for SVB Securities

               Following the Petition Date and in accordance with the Bidding Procedures
Order, the Debtor and its advisors engaged in discussions with various interested parties
regarding a sale of the SVB Securities business. The Debtor and its advisors conducted an


                                                  -31-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 227 of 410



extensive marketing process of the SVB Securities business, including, among other things,
engaging with twenty-nine (29) interested parties. Seven of these parties executed
non-disclosure agreements and were granted access to a virtual data room with an overview of
information regarding the SVB Securities business. The Debtor’s management gave five (5)
management presentations to interested parties and, along with the Debtor’s advisors,
participated in numerous calls with interested parties to address diligence and related topics.

               Two bidders submitted non-binding indications of interest for the SVB Securities
business or portions thereof and were provided with access to additional diligence materials
through a virtual data room. The Debtor’s marketing process ultimately yielded one binding bid
(the “SVBS Bid”) from Saffron Buyer LLC (“SVBS Buyer”), an acquisition vehicle established
by certain members of the senior management team of SVB Securities and certain funds
managed by The Baupost Group, L.L.C.

       3.      SVBS Bid

               On June 2, 2023, the Debtor adjourned the scheduled auction and sale hearing as
permitted under the Bidding Procedures Order [D.I. 307], and during the additional time afforded
by such adjournment, the Debtor sought to improve the terms of the SVBS Bid. The Debtor
successfully negotiated for meaningful improvements in the terms of SVBS Buyer’s bid, and
after thoroughly considering SVBS Buyer’s improved bid against alternatives, in consultation
with the Debtor’s advisors, the Debtor determined that the bid from SVBS Buyer was the highest
or otherwise best bid for the SVB Securities business, cancelled the auction and declared SVBS
Buyer as the successful bidder [D.I. 335].

                As set forth in the purchase agreement for the SVBS Bid, the consideration for the
SVB Securities business consisted of (i) a cash purchase price of $55 million, (ii) a payoff of
certain subordinated debt held by SVB Securities (in the approximate amount of $26 million),
(iii) the assumption of certain transferred liabilities, including significant deferred compensation
obligations, (iv) a synthetic equity instrument initially representing a 5% equity interest in the
direct parent of SVBS Buyer and (v) certain other payments payable at closing (subject to certain
adjustments). On July 5, 2023, the Bankruptcy Court approved the sale of the SVB Securities
business to SVBS Buyer and entered the Order (I) Authorizing the Debtor to Sell the SVB
Securities Business by (A) Causing Non-Debtor Subsidiary to Sell Membership Interests in
Certain Non-Debtor Entities that Operate the SVB Securities Business and Certain Related
Assets and (B) Selling Certain Related Assets of the Debtor Free and Clear of All Liens, Claims,
Interests and Encumbrances and (II) Granting Related Relief [D.I. 393]. The sale closed on
October 2, 2023 [D.I. 583].

                MoffettNathanson LLC was not included in the sale, and the Debtor continues to
own the equity interests in that entity. The Plan contemplates that MoffettNathanson LLC will
be a direct or indirect subsidiary of NewCo upon the Effective Date.




                                                -32-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 228 of 410



L.     M. SVB Capital Reorganization and Sale

       1.      SVB Capital Strategic Alternatives Review

               As noted above, SVB Capital historically operated as a “virtual” subsidiary for the
Debtor, without a formal non-debtor subsidiary legal entity. Since the Petition Date, in order to
continue operating this business in the ordinary course, the Debtor took several steps to
consolidate the various operations that comprise SVB Capital (collectively, the “SVB Capital
Reorganization”). The Debtor formed a new direct subsidiary, SVB Capital Holdco, LLC
(“SVBC Holdco”) to house the various operations of SVB Capital. The Debtor also formed a
wholly owned direct subsidiary of SVBC Holdco, SVB Capital Management, LLC (“SVBC
ManCo”) to serve as the investment advisor for SVB Capital funds and to directly employ all
SVB Capital employees. On August 29, 2023, the Debtor moved for entry of an order approving
the assumption and assignment of investment advisory contracts (the “Advisory Contracts”) to
SVBC ManCo and to contribute certain non-economic non-member manager interests in SVB
Capital’s Qualified Investor Funds (the “Manager Interests”) [D.I. 534]. The Bankruptcy Court
approved this motion on September 20, 2023 [D.I. 570], and on October 1, 2023, the Debtor
assigned the Advisory Contracts and Manager Interests to SVBC ManCo. Upon such
assignment, SVBC ManCo became the registered investment adviser for SVB Capital funds.

                In parallel with the SVB Capital Reorganization, the Debtor and its advisors
considered a range of strategic alternatives with respect to SVB Capital and conducted an
extensive marketing process of the SVB Capital business. On during the summer and fall of
2023 (the “SVB Capital Marketing Process”). The Debtor and its advisors engaged in
discussions with many interested parties regarding a sale of the SVB Capital business. [•] of
these parties (the “Potential Bidders”) executed non-disclosure agreements and were granted
access to a virtual data room with an overview of information regarding the SVB Capital
business. In the fall of 2023, the Debtor negotiated substantive bids received from two interested
parties (the “2023 Bids”), but determined that neither bid exceeded the net present value of the
Debtor continuing to operate the SVB Capital business.

               As a result, on January 9, 2024, the Debtor announced that it had determined, in
consultation with its advisors and creditor constituencies, that retaining the SVB Capital business
would result in superior value creation opportunities, and created a new operating committee to
oversee all aspects of the business. The SVB Capital business is currently overseen by its
operating committee and operates through SVBC ManCo, SVB Capital’s registered investment
adviser and the Debtor’s indirect subsidiary.

                The Plan contemplates that SVBC Holdco and SVBC ManCo will be direct or
indirect subsidiaries of NewCo upon the Effective Date.

       2.      SVB Capital Sale

               Following the Debtor’s announcement of its intention to retain the SVB Capital
business, multiple Potential Bidders provided the Debtor with new offers for the SVB Capital
business (the “2024 Bids”). The Debtor evaluated the 2024 Bids, and the Debtor thereafter
sought to improve the terms of certain of the 2024 Bids. The Debtor successfully negotiated for



                                                -33-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 229 of 410



meaningful improvements in the terms of an offer received from SVBC Designated Buyer, and
after thoroughly considering SVBC Designated Buyer’s improved bid against alternatives,
including (i) the other 2024 Bids, (ii) the 2023 Bids and (iii) the value of continuing to operate
the SVB Capital business, the Debtor, in consultation with its advisors and key creditor
constituencies, determined that the bid from SVBC Designated Buyer was the highest or
otherwise best offer for the SVB Capital business.

                Accordingly, on May 2, 2024, the Debtor and SVBC Designated Buyer entered
into an interest purchase agreement (the “SVBC Purchase Agreement”), providing for the sale of
the SVB Capital business (the “SVB Capital Sale”) to SVBC Designated Buyer, subject to
certain terms and conditions.

                As set forth in the SVBC Purchase Agreement, the consideration for the SVB
Capital business currently consists of cash consideration of $340 million, subject to certain
adjustments as set forth in the SVBC Purchase Agreement, along with ongoing economic
participation rights and a cash earn-out. On May 2, 2024, the Debtor filed the Debtor’s Motion
for Entry of Orders (I)(A) Approving Buyer Protections, (B) Scheduling a Sale Hearing,
(C) Approving Form and Manner of Notices for Sale of the SVB Capital Business, (D) Approving
the Assumption and Assignment Procedures, and (E) Granting Related Relief, and
(II)(A) Approving the SVB Capital Purchase Agreement, (B) Approving the Sale of the SVB
Capital Business Free and Clear of Liens, Claims, Interests and Encumbrances, (C) Authorizing
the Assumption and Assignment of Executory Contracts and (D) Granting Related Relief [D.I.
1082] (the “SVB Capital Sale Motion”). The Capital Sale Motion seeks, among other things:
(i) approval of the Debtor’s entry into the SVBC Purchase Agreement, (ii) approval of certain
buyer protections for SVBC Designated Buyer and (iii) approval of the procedures relating to the
SVB Capital Sale and the related sale hearing.

                As of the date of this Disclosure Statement, the SVB Capital Sale remains
pending. Hearings to approve the buyer protections set forth in the SVB Capital Sale Motion for
SVBC Designated Buyer and the SVB Capital Sale are expected to occur in May and June 2024
and prior to a hearing on confirmation of the Plan. Additional information relating to the
pending SVB Capital Sale can be found at https://restructuring.ra.kroll.com/svbfg/.

M.     SVB India Sale

                 In June 2023, following its acquisition of certain assets of Bridge Bank, FCB
notified the Debtor of its interest in purchasing SVB India to achieve synergies with the SVB
business that SVB India had serviced and that continued to account for a substantial majority of
SVB India’s operations. Over the following months, the Debtor engaged in conversations with
FCB about a potential sale of SVB India and also reached out to and held discussions with other
potential strategic buyers in an effort to obtain a higher or otherwise better offer for SVB India.
The Debtor, however, did not receive any indications of interest from those other parties.

               In August 2023, First Citizens Global I, Inc., First Citizens Global II, Inc. and
FCB Parent (together, the “SVB India Buyers”) submitted an offer to purchase SVB India. In the
subsequent several months, the Debtor engaged in arm’s-length, good-faith negotiations with
SVB India Buyers regarding the terms of a sale of SVB India. The Debtor, in consultation with


                                                -34-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 230 of 410



the Restructuring Committee, considered SVB India Buyers’ seriousness of interest in acquiring,
and financial capacity to acquire, SVB India, SVB India Buyers’ positioning as the most logical
acquiror for a business that currently predominantly services SVB India Buyers’ and its affiliates,
the purchase price offered and strategic alternatives for SVB India. Ultimately, the Debtor, in
the exercise of its business judgment and upon the approval and recommendation of the
Restructuring Committee, concluded that a sale to SVB India Buyers would maximize the value
of SVB India for the Debtor’s estate.

                As set forth in the purchase agreement for SVB India, the consideration for SVB
India was $21.8 million in cash, subject to deduction of up to $8.9 million for outstanding
postpetition obligations owed by the Debtor and its Affiliates to FCB as of the closing date and a
holdback of $2 million for an indemnity escrow fund and $3 million for a repatriation escrow
fund. On March 3, 2024, the Debtor filed the Debtor’s Motion for Entry of an Order (I)
Authorizing the Debtor to Sell SVB India by (A) Selling Partnership Interests in SVB India Free
and Clear of All Liens, Claims, Interests and Encumbrances and (B) Causing Non-Debtor
Subsidiary to Sell Partnership Interests in SVB India; (II) Approving the Debtor’s Entry Into,
and Performance Under, the Purchase and Sale Agreement; (III) Authorizing Assumption and
Assignment of Certain Contracts; and (IV) Granting Related Relief [D.I. 929]. On April 10,
2024, the Bankruptcy Court entered the Order (I) Authorizing the Debtor to Sell SVB India by
(A) Selling Partnership Interests in SVB India Free and Clear of All Liens, Claims, Interests and
Encumbrances and (B) Causing Non-Debtor Subsidiary to Sell Partnership Interests in SVB
India; (II) Approving the Debtor’s Entry Into, and Performance Under, the Purchase and Sale
Agreement; (III) Authorizing Assumption and Assignment of Certain Contracts; and (IV)
Granting Related Relief [D.I. 1028].

N.     The Restructuring Support Agreement

                Throughout the Chapter 11 Case, the Debtor has worked tirelessly to build
consensus among key creditor constituencies on the terms of a plan of reorganization. Sustained,
substantive engagement with the UCC, the Ad Hoc Group of Senior Noteholders and the Ad Hoc
Cross-Holder Group has allowed the Debtor to drive significant progress in this case to date.
After months of hard-fought negotiations, the Debtor was able to reach resolution with two of
these constituencies: the UCC and the Ad Hoc Group of Senior Noteholders. On January 9,
2024, the Debtor announced that it had entered into the RSA with the UCC and members of the
Ad Hoc Group of Senior Noteholders then holding 48.7% of the aggregate outstanding principal
amount of the Senior Notes [D.I. 798] (collectively, the “RSA Parties”). As of the date of this
Disclosure Statement, members of the Ad Hoc Group of Senior Noteholders holding in excess of
65.19% of the Senior Notes Claims have executed the RSA. Appended to the RSA was a term
sheet for a proposed plan of reorganization (“Plan Term Sheet”).

                The RSA provides for a fair and confirmable plan that the Debtor believes will
lead to a swift and consensual resolution of the Chapter 11 Case and represents the RSA Parties’
mutual support and commitment with respect to the Debtor’s proposed Plan to facilitate the
consensual emergence of the Debtor from chapter 11. The RSA provides that the Debtor will
implement the Restructuring Transactions in accordance with certain milestones by which,
absent extension or waiver in writing, and subject to the Bankruptcy Court’s availability, (a) the
Debtor must file the Plan and Disclosure Statement; (b) holders of more than two-thirds of the


                                                -35-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                               Pg 231 of 410



aggregate outstanding principal amount of the Senior Notes must become party to the RSA; (c)
the Bankruptcy Court shall have entered an order to pay certain professional fees and expenses,
subject to the terms of the RSA; (d) the Bankruptcy Court shall have entered the Disclosure
Statement Order; (e) the Bankruptcy Court shall have entered the Confirmation Order; and (f) the
Effective Date shall have occurred.

                 Pursuant to the terms of the RSA, the RSA Parties also made various
commitments to continue support of the Debtor’s emergence from chapter 11. For instance, the
RSA Parties mutually committed to using commercially reasonable efforts to support the
consummation and implementation of the Restructuring Transactions (as defined below), among
other affirmative and negative covenants. Second, the terms of the RSA outline various consent
rights to facilitate consensus building among the RSA Parties, such as consent rights related to
any change in the Debtor’s tax election and related decisions, the Debtor’s interactions with the
Internal Revenue Service (the “IRS”), and matters regarding the claims and Causes of Action of
the Debtor against certain related parties of the Debtor and against the FDIC-R1, FDIC-R2 and
FDIC-C. Finally, the Plan Term Sheet represented consensus on several key terms of the Plan,
including, for instance: the classification and treatment of Claims and Interests, and the
formation of NewCo and the Liquidating Trust, and the issuance of NewCo Debt. The foregoing
summary of the RSA is qualified in its entirety by reference to the RSA, attached hereto as
Appendix E.

O.       Securities Lawsuits

                Following the Petition Date, at least seven class-action lawsuits have been filed
asserting violations of the Exchange Act and/or the Securities Act by the Debtor, certain of the
Debtor’s current and former directors and officers, underwriters of certain of the Debtor’s
securities offerings, the Debtor’s former auditor, and/or certain director-controlled entities.19

               On November 30, 2023, the U.S. District Court for the Northern District of
California entered an order consolidating five class-action lawsuits (Vanipenta, Snook, Siddiqui,
City of Hialeah Employees Retirement System, and IUOE Local 132) under the caption In re SVB
Financial Group Securities Litigation, No. 3:23-cv-01097 (N.D. Cal.) (“Norges”) and appointing
Norges Bank and Sjunde AP-Fonden as lead plaintiffs [Norges, D.I. 82].20 On January 16, 2024,


19
     The class-action lawsuits are Vanipenta v. SVB Financial Group, Case No. 3:23-cv-01097-JD (N.D. Cal. filed
     Mar. 13, 2023); Snook v. SVB Financial Group, Case No. 3:23-cv-01173-VC (N.D. Cal. Filed Mar. 15, 2023);
     Siddiqui v. Becker, Case No. 4:23-cv-01228-HSG (N.D. Cal. Filed Mar. 17, 2023); City of Hialeah Employees
     Retirement System v. Becker, Case No. 3:23-cv-01697-JD (N.D. Cal. Filed Apr. 7, 2023); Int’l Union of
     Operating Engineers Local 132 Pension Fund v. SVB Financial Group, Case No. 3:23-cv-01962-TLT (N.D.
     Cal. Filed Apr. 24, 2023); Stevenson v. Becker, 4:23-cv-02277-HSG (N.D. Cal. Filed May 10, 2023); Rossi v.
     Becker, Case No. 4:23-cv-02335-HSG (N.D. Cal. Filed May 12, 2023) (“Rossi I”); and Rossi v. DeChellis,
     4:24-cv-01674-HSG (N.D. Cal. Filed Mar. 18, 2024) (“Rossi II”) (collectively, the “Class Action Lawsuits”).
20
     The Norges court declined to consolidate two class action lawsuits, Stevenson and Rossi I, which had been
     removed from state court and were the subject of pending motions to remand. On March 28, 2024, the U.S.
     District Court for the Northern District of California entered an order denying the motions to remand the
     Stevenson and Rossi I litigation. On April 11, 2024, the District Court entered a stipulation and order certifying
     an interlocutory appeal of its March 28 remand order to the U.S. Court of Appeals for the Ninth Circuit under
     28 U.S.C. § 1292(b) and staying the proceedings in district court in the Stevenson and Rossi I litigation while


                                                          -36-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 232 of 410



the Norges plaintiffs filed a six-count, 290-page amended complaint (which also attaches over
100 pages of exhibits) asserting claims under the Securities Act and/or the Exchange Act against
certain of the Debtor’s directors and officers, underwriters, and auditor [Norges, D.I. 88].
Briefing on the defendants’ motions to dismiss the amended complaint is scheduled to be
completed by May 24, 2024.

               On August 1, 2023, individual plaintiff Jane Lodato filed a complaint in the
Superior Court of the State of California, County of San Mateo, asserting fraud and breach of
fiduciary duty claims against certain of the Debtor’s directors and officers. On September 5,
2023, the action was removed to the Northern District of California. Lodato v. Becker, No.
3:23-cv-04551 (N.D. Cal. 2023). A hearing on plaintiff’s motion to remand the lawsuit to state
court is scheduled for June 6, 2024.

                On January 25, 2024, Teachers Insurance and Annuity Association of America
and certain of its subsidiaries, funds and accounts filed a complaint asserting Exchange Act
and/or Securities Act claims against certain of the Debtor’s directors and officers, and
underwriters. TIAA-CREF Inv. Mgmt., LLC v. Becker, No. 3:24-cv-00478 (N.D. Cal.) (together
with the aforementioned class action lawsuits and Lodato, the “Securities Lawsuits”). By
stipulation of the parties, the TIAA-CREF action is stayed pending a ruling on the motions to
dismiss the Norges amended complaint.

               The insurers under the Debtor’s D&O Insurance Policies are currently
reimbursing some of these defendants for their costs of defense, and (subject to policy defenses
and other claims against the D&O Insurance Policies as described below) the insurers may be
responsible for payment of future settlements or liabilities (if any) established in the Securities
Lawsuits.

P.       Investigation of Potential Estate Claims and Causes of Action

                As described in Article II.G.1 above, the causes of SVB’s closure and
receivership, including whether its closure and receivership were preventable and/or foreseeable,
have been the subject of several publicly released governmental investigations and reports, as
well as multiple instances of Congressional testimony. The Debtor, acting at the direction of the
Special Committee, has been conducting an extensive evaluation of the factors, prepetition
conduct, and events that led to SVB’s closure and the Debtor’s Chapter 11 Case. The UCC also
has been conducting an extensive investigation into the factors, prepetition conduct, and events
that led to the Debtor’s Chapter 11 Case. The Debtor’s and the UCC’s evaluations continue.
The UCC and the Debtor have coordinated numerous aspects of their respective investigations
and evaluations, including joint interviews of a significant number of witnesses, in an effort to
protect the Debtor’s estate.




     the appeal is pending. On April 22, 2024, the Plaintiffs in Stevenson and Rossi I sought permission to proceed
     with an interlocutory appeal from the U.S. Court of Appeals for the Ninth Circuit, which request is currently
     pending. Under an April 16, 2024 stipulation and order, the March 28 remand order and April 11 order were
     extended to the Rossi II litigation.



                                                        -37-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 233 of 410



               In connection with their respective investigations and evaluations, the UCC and
the Debtor obtained permission from the Bankruptcy Court to seek discovery under Bankruptcy
Rule 2004 from, among others, forty-one current or former directors, officers, and employees of
the Debtor, six advisors and other third parties, and First Citizens Bank, which is in possession
of the majority of the Debtor’s prepetition books and records [D.I. 345, 346, 659]. In connection
with these requests, the UCC and the Debtor also obtained permission to receive confidential
supervisory information from the Federal Reserve, the CA DFPI, the Federal Reserve Bank of
San Francisco, and the FDIC-C.

                The evaluation and investigation included a review and analysis of publicly
available information concerning SVB, including reports from the Federal Reserve and the U.S.
Government Accountability Office surrounding the closure and receivership of SVB, documents
and communications that have been made publicly available in connection with those reports,
and public testimony from relevant personnel. The UCC also obtained access to certain
documents from the Debtor on a consensual basis, and the Debtor and UCC received (and
continue to receive) numerous productions of documents from First Citizens Bank, from certain
current and former employees, officers and directors of the Debtor, and from McKinsey & Co.,
BlackRock, Goldman Sachs, Curinos, KPMG, and Ernst & Young, entities that provided
prepetition services to the Debtor and/or SVB. In addition, the Debtor has access to more than
10 million pages of documents provided by First Citizens Bank, which the Debtor has been able
to review in connection with its evaluation, but as to which its ability to share or use those
documents presently remains limited by the FDIC and/or other governmental entities.

                As described in more detail in Article III.J above, the FDIC in each of its
capacities has taken the position that the Debtor’s $1.93 billion claim for its Account Funds need
not be honored by the FDIC in each such capacity. For example, among other arguments, the
FDIC-R1 has asserted that, pursuant to 12 U.S.C. § 1822(d) and common law, it has a right to
setoff against the Debtor’s Account Funds claim for any amounts owed to SVB by the Debtor
[D.I. 145].21 On May 2, 2024, the FDIC-R1 filed a Statement Regarding Its Defensive Setoff
Rights Against SVB Financial Group in the FDIC-R Action (“Setoff Statement”),22 which asserts
defensive rights to setoff against the Debtor’s Account Fund claim based on allegations that the
Debtor (1) aided, abetted and conspired in various breaches of fiduciary duty by SVB’s directors
and officers, resulting in billions of dollars of damages that exceed the amount of the Debtor’s
Account Funds claim; (2) is liable for unjust enrichment, breach of California Corporate Code
§§ 500-501, and fraudulent transfer with respect to (i) dividends by SVB to SVBFG when SVB
was experiencing financial distress and was in need of liquidity, resulting in damages of $294
million, and (ii) a sale of equity warrants by SVB to SVBFG at below fair market value prices,
resulting in damages of $130 million; and (3) failed to turn over to the FDIC-R1 an unspecified
amount of tax refunds held in trust under a tax sharing agreement and applicable law. The


21
     The Debtor has previously challenged the existence of mutuality necessary for setoff, arguing that FDIC-R1
     cannot exercise a setoff claim against amounts that are owed to the Debtor by the FDIC-C, a separate juridical
     entity. See SVB Fin. Group v. FDIC, Adv. 23-1137, D.I. 1 ¶¶ 12, 54. The FDIC-R2 has affirmatively
     disclaimed any right to setoff. See SVB Fin. Group v. FDIC, Adv. 23-1137, D.I. 71 at 5 (“FDIC-R2 has no right
     of setoff against the Deposit Account liabilities nor has it asserted a right of setoff.”).
22
     FDIC-R Action [D.I. 29]. A notice of the Setoff Statement was also filed in the Chapter 11 Case [D.I. 1081].



                                                        -38-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 234 of 410



Debtor (acting through the Special Committee) has evaluated and will continue to evaluate the
basis for the FDIC-R1’s claims. To date, the Debtor has not identified any conduct on the part of
the Debtor or its officers, directors, or employees that would give rise to a setoff right against the
Debtor’s Account Funds claim, and the Debtor intends to vigorously oppose the FDIC-R1’s
claims on any and all supportable grounds.

                The UCC and Debtor are each still evaluating whether colorable causes of action
may exist against one or more prepetition officers or directors of the Debtor, as well as against
certain third parties. The UCC and Debtor continue to evaluate the strengths and weaknesses of
any potential claims, as well as anticipated defenses.

                The primary source of any recovery on claims against any prepetition officers or
directors of the Debtor is expected to be the Debtor’s D&O Insurance Policies, whose policy
limits aggregated to roughly $210 million as of the Petition Date. It must be noted, however, that
the Debtor shared the coverage under its D&O Insurance Policies with SVB, and the FDIC has
indicated that it also may pursue claims that would be covered by the D&O Insurance Policies.
In addition, the plaintiffs in the Securities Lawsuits are pursuing claims that may be covered by
the D&O Insurance Policies, and the value of the D&O Insurance Policies has been and
continues to be eroded by the payment of defense costs. As a result of the eroding value of the
D&O Insurance Policies and what are expected to be significant competing claims for coverage,
the Debtor cannot estimate with any level of precision the amount of insurance proceeds that
could be expected to be available to pay any of the estate’s claims against any covered parties,
should any such claims exist.

                As governmental investigations are continuing and information continues to be
developed and the Debtor continues its own evaluation, the Debtor (acting at the direction of the
Special Committee) is not in a position at this time to recommend a release of any claims against
any prepetition officers or directors, or third parties, arising from prepetition conduct. As a result
of the foregoing, it is expected that with the exception of any Claims that are subject to a release
described in Article IV.G below, all potential claims will be preserved under the Plan and will be
transferred to the Liquidating Trust, as described in Article IV.B below.

                                   ARTICLE IV.ARTICLE IV

                                   SUMMARY OF THE PLAN

                 The consummation of a plan is the principal objective of a chapter 11 case. A
plan sets forth the means for satisfying Claims against, and Interests in, a debtor. Confirmation
of a plan makes the plan binding upon the debtor, any issuer of securities under the plan and any
creditor of, or equity Holder in, the debtor, whether or not such creditor or equity Holder (i) is
impaired under or has accepted the plan or (ii) receives or retains any property under the plan.
Subject to certain limited exceptions and other than as provided in the plan itself or the
confirmation order, a confirmation order discharges the debtor from any debt that arose prior to
the effective date of the plan and substitutes therefor the obligations specified under the
confirmed plan.




                                                 -39-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 235 of 410



                A chapter 11 plan may specify that the legal, contractual and equitable rights of
the Holders of Claims or Interests in certain classes are to remain unaltered by the reorganization
effectuated by the plan. Such classes are referred to as “unimpaired” and, because of such
favorable treatment, are conclusively presumed to accept the plan. Accordingly, a debtor need
not solicit votes from the Holders of Claims or Interests in such classes. A chapter 11 plan may
also specify that certain classes will not receive any distribution of property or retain any Claim
against a debtor. Such classes are deemed not to accept the plan and, therefore, need not be
solicited to vote to accept or reject the plan. Any classes that are receiving a distribution of
property under the plan but are impaired will be solicited to vote to accept or reject the plan.

                Prior to soliciting acceptances of the proposed plan, section 1125 of the
Bankruptcy Code requires a debtor to prepare a disclosure statement containing adequate
information of a kind, and in sufficient detail, to enable a hypothetical reasonable investor to
make an informed judgment regarding the plan. To satisfy the requirements of section 1125 of
the Bankruptcy Code, the Debtor is submitting this Disclosure Statement to Holders of Claims
and Interests against the Debtor who are entitled to vote to accept or reject the Plan.

               The classification and treatment of Claims and Interests; implementation of the
Plan; provisions governing Distributions; effect of Confirmation, including the release,
injunction and related provisions; and treatment of Executory Contracts and Unexpired Leases
are summarized below. For all other provisions relating to the Plan, including among other
things, acceptance or rejection of the Plan, conditions precedent to effectiveness of the Plan,
modification, revocation or withdrawal of the Plan, and retention of jurisdiction, please refer to
the Plan attached hereto as Appendix A.

           THE REMAINDER OF THIS SECTION PROVIDES A SUMMARY OF THE
STRUCTURE AND MEANS FOR IMPLEMENTATION OF THE PLAN AND THE
CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS UNDER THE
PLAN. THIS SECTION IS QUALIFIED IN ITS ENTIRETY BY AND IS SUBJECT TO THE
PLAN AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN.

          THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
INCLUDE SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN
DOCUMENTS REFERRED TO THEREIN. THE STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT DO NOT PURPORT TO BE PRECISE OR COMPLETE
STATEMENTS OF ALL THE TERMS AND PROVISIONS OF THE PLAN OR
DOCUMENTS REFERRED TO THEREIN. REFERENCE IS MADE TO THE PLAN AND
TO SUCH DOCUMENTS FOR THE FULL AND COMPLETE STATEMENTS OF SUCH
TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO THEREIN.

           THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN
CONTROL THE ACTUAL TREATMENT OF CLAIMS AGAINST AND INTERESTS IN
THE DEBTOR UNDER THE PLAN. UPON THE OCCURRENCE OF THE EFFECTIVE
DATE, THE PLAN AND ALL SUCH DOCUMENTS WILL BE BINDING UPON ALL
HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTOR AND ITS ESTATE
AND ALL OTHER PARTIES-IN-INTEREST. IN THE EVENT OF ANY CONFLICT
BETWEEN THIS DISCLOSURE STATEMENT, ON THE ONE HAND, AND THE PLAN OR


                                                -40-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                         Pg 236 of 410



ANY OTHER OPERATIVE DOCUMENT, ON THE OTHER HAND, THE TERMS OF THE
PLAN AND SUCH OTHER OPERATIVE DOCUMENT SHALL CONTROL.

           STATEMENTS AS TO THE RATIONALE UNDERLYING THE
TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN ARE NOT INTENDED
TO, AND SHALL NOT, WAIVE, COMPROMISE OR LIMIT ANY RIGHTS, CLAIMS OR
CAUSES OF ACTION IN THE EVENT THE PLAN IS NOT CONFIRMED.

A.     Classification, Treatment and Voting of Claims and Interests

                Section 1123 of the Bankruptcy Code provides that a plan must classify the
claims and interests of a debtor’s creditors and equity interest holders. In accordance with
section 1123 of the Bankruptcy Code, the Plan divides claims and interests into Classes and sets
forth the treatment for each Class (other than administrative expense claims, which, pursuant to
section 1123(a)(1) of the Bankruptcy Code, need not be and have not been classified). The
Debtor is also required, under section 1122 of the Bankruptcy Code, to classify claims against
and interests in the Debtor into Classes that contain claims and interests that are substantially
similar to the other claims and interests in such Class.

                The Bankruptcy Code also requires that a plan provide the same treatment for
each claim or interest of a particular class unless the claim holder or interest holder agrees to a
less favorable treatment of its claim or interest. The Debtor believes that it has complied with
such standard. If the Bankruptcy Court finds otherwise, however, it could deny Confirmation of
the Plan if the holders of claims and interests affected do not consent to the treatment afforded
them under the Plan.

                 A Claim or Interest is placed in a particular Class only to the extent that the Claim
or Interest falls within the description of that Class and is classified in other Classes to the extent
that any portion of the Claim or Interest falls within the description of such other Classes. A
Claim or Interest also is placed in a particular Class for the purpose of receiving distributions
pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim in that
Class and such Claim or Interest has not been paid, released or otherwise settled prior to the
Effective Date.

                 The Debtor believes that the Plan has classified all Claims and Interests in
compliance with the provisions of section 1122 of the Bankruptcy Code and applicable case law.
It is possible that a Holder of a Claim or Interest may challenge the Debtor’s classification of
Claims and Interests and that the Bankruptcy Court may find that a different classification is
required for the Plan to be confirmed. If such a situation develops, the Debtor intends, in
accordance with the terms of the Plan and the RSA, to make such permissible modifications to
the Plan as may be necessary to permit its Confirmation. Any such reclassification could
materially adversely affect Holders of Claims and Interests by changing the composition of one
or more Classes and the vote required of such Class or Classes for approval of the Plan.
EXCEPT AS SET FORTH IN THE PLAN AND THE RSA, UNLESS SUCH MODIFICATION
OF CLASSIFICATION MATERIALLY ADVERSELY AFFECTS THE TREATMENT OF A
HOLDER OF A CLAIM OR INTERESTS AND REQUIRES RESOLICITATION,
ACCEPTANCE OF THE PLAN BY ANY HOLDER OF A CLAIM OR INTEREST


                                                  -41-
23-10367-mg         Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                       Main Document
                                               Pg 237 of 410



PURSUANT TO THIS SOLICITATION WILL BE DEEMED TO BE A CONSENT TO THE
PLAN’S TREATMENT OF SUCH HOLDER OF A CLAIM OR INTEREST REGARDLESS
OF THE CLASS AS TO WHICH SUCH HOLDER ULTIMATELY IS DEEMED TO BE A
MEMBER.

                Any changes to any of the assumptions underlying the estimated Allowed
amounts could result in material adjustments to recovery estimates provided herein and/or the
actual distribution received by Creditors. The projected recoveries are based on information
available to the Debtor as of the date hereof and reflect the Debtor’s views as of the date hereof
only.

                The classification of Claims and Interests and the nature of distributions to
members of each Class are summarized below. The Debtor believes that the consideration, if
any, provided under the Plan to Holders of Claims and Interests reflects an appropriate resolution
of their Claims and Interests, taking into account the differing nature and priority (including
applicable contractual subordination) of such Claims and Interests. The Bankruptcy Court must
find, however, that a number of statutory tests are met before it may confirm the Plan. Many of
these tests are designed to protect the interests of Holders of Claims or Interests who are not
entitled to vote on the Plan, or do not vote to accept the Plan, but who will be bound by the
provisions of the Plan if it is confirmed by the Bankruptcy Court.

         1.       Claims Classification and Voting Status

                  The classification of Claims and Interests pursuant to the Plan is as follows:

                All Claims and Interests, except for certain Claims addressed in Section 3 of the
Plan, are classified as set forth in Section 4 of the Plan, which is summarized below. In
accordance with section 1123(a)(1) of the Bankruptcy Code, and as set forth in Section 3 of the
Plan, the Plan does not classify Other Administrative Claims, Ad Hoc Noteholder Group
Expenses, Senior Note Trustee Expenses, Subordinated Note Trustee Expenses, Professional Fee
Claims and Priority Tax Claims, and such Claims will be paid in accordance with the procedures
set forth in Section 3 of the Plan.

                The following table designates the Classes of Claims against and Interests in the
Debtor, as applicable, and specifies which of those Classes are (i) Impaired or Unimpaired by the
Plan and (ii) entitled to vote to accept or reject the Plan in accordance with section 1126 of the
Bankruptcy Code or presumed to accept or deemed to reject the Plan.23 Each Holder of a Claim
or Interest in an Impaired Class that is entitled to vote on the Plan as of the Voting Record Date
pursuant to Section 4 of the Plan shall be entitled to vote to accept or reject the Plan. The
classification of Claims and Interests pursuant to the Plan is as follows:

 Class        Claims and Interests                                Status                 Voting Rights
   1          Other Secured Claims                                Unimpaired             Not Entitled to Vote
                                                                                         (Presumed to Accept)

23
     The information in the table is provided in summary form, and is qualified in its entirety by Section 4.2 of the
     Plan.



                                                          -42-
23-10367-mg        Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 238 of 410



 Class        Claims and Interests                         Status            Voting Rights
   2          Other Priority Claims                        Unimpaired        Not Entitled to Vote
                                                                             (Presumed to Accept)
  3(a)        Senior Note Claims                           Impaired          Entitled to Vote
  3(b)        Senior Note Claims and Other General         Impaired          Entitled to Vote
              Unsecured Claims
   4          Subordinated Note Claims                     Impaired          Entitled to Vote
   5          Preferred Equity Interests                   Impaired          Entitled to Vote
   6          Common Equity Interests                      Impaired          Not Entitled to Vote
                                                                             (Deemed to Reject)
   7          Section 510(b) Claims                        Impaired          Not Entitled to Vote
                                                                             (Deemed to Reject)
   8          Intercompany Claims and Intercompany         Impaired or       Not Entitled to Vote
              Interests                                    Unimpaired        (Presumed to Accept or
                                                                             Deemed to Reject)

         2.       Treatment of Claims and Interests

                  Class 1 – Other Secured Claims

                  (a)    Classification: Class 1 consists of all Other Secured Claims.

                  (b)    Treatment: Except to the extent that a Holder of an Allowed Other
                         Secured Claim agrees to less favorable treatment, in full and final
                         satisfaction, compromise, settlement, release, and discharge of and in
                         exchange for its Allowed Other Secured Claim, each Holder of an
                         Allowed Other Secured Claim will receive, at the Debtor’s option (with
                         the consent of the UCC and the Required Ad Hoc Senior Noteholder
                         Parties, not to be unreasonably withheld, conditioned or delayed):
                         (a) payment in full in Cash; (b) delivery of the collateral securing its
                         Allowed Other Secured Claim and payment of any interest required under
                         section 506(b) of the Bankruptcy Code; (c) Reinstatement of its Allowed
                         Other Secured Claim; or (d) such other treatment rendering its Allowed
                         Other Secured Claim Unimpaired in accordance with section 1124 of the
                         Bankruptcy Code.

                  (c)    Voting: Claims in Class 1 are Unimpaired. Each Holder of an Other
                         Secured Claim is conclusively presumed to have accepted the Plan
                         pursuant to section 1126(f) of the Bankruptcy Code. No Holder of Other
                         Secured Claims is entitled to vote to accept or reject the Plan.

                  Class 2 – Other Priority Claims

                  (a)    Classification: Class 2 consists of all Other Priority Claims.

                  (b)    Treatment: Except to the extent that a Holder of an Allowed Other
                         Priority Claim agrees to a less favorable treatment, in full and final


                                                    -43-
23-10367-mg    Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                      Pg 239 of 410



                     satisfaction, settlement, release, and discharge of and in exchange for its
                     Allowed Other Priority Claim, each Holder of an Allowed Other Priority
                     Claim will receive treatment in a manner consistent with
                     section 1129(a)(9) of the Bankruptcy Code.

              (c)    Voting: Claims in Class 2 are Unimpaired. Each Holder of an Other
                     Priority Claim is conclusively presumed to have accepted the Plan
                     pursuant to section 1126(f) of the Bankruptcy Code. No Holder of an
                     Other Priority Claim is entitled to vote to accept or reject the Plan.

              Class 3(a) – Senior Note Claims

              (a)    Classification: Class 3(a) consists of all Senior Note Claims.

              (b)    Allowance: Senior Note Claims will be Allowed in the aggregate
                     outstanding principal amount of $[3,300,000,000.00], plus accrued and
                     unpaid interest to and including the Petition Date at the non-default
                     contract rate.

              (c)    Treatment: Except to the extent that a Holder of an Allowed Senior Note
                     Claim agrees to a less favorable treatment (with the consent of the UCC
                     and the Required Ad Hoc Senior Noteholder Parties, not to be
                     unreasonably withheld, conditioned or delayed), in full and final
                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Senior Note Claim, each Holder of an Allowed Senior Note
                     Claim will receive (a)(i) if and solely to the extent such Holder is a
                     Qualified Holder, its Pro Rata share (together with all Holders receiving
                     Distributions in NewCo Common Stock) of the NewCo Common Stock
                     subject to dilution by any NewCo Transaction or (ii) if and solely to the
                     extent such Holder is a Non-Qualified Holder, Cash in an amount equal to
                     the value of the NewCo Common Stock it would be entitled to receive if it
                     were a Qualified Holder, (b) its Pro Rata share (together with all Holders
                     receiving Distributions of the Class A Trust Units) of the Class A Trust
                     Units and (c) payment by the Debtor in Cash of the Senior Note Trustee
                     Expenses, to the extent not otherwise paid by the Debtor under the Plan.

              (d)    Voting: Claims in Class 3(a) are Impaired. Each Holder of an Allowed
                     Senior Note Claim is entitled to vote to accept or reject the Plan.

              Class 3(b) – Other General Unsecured Claims

              (a)    Classification: Class 3(b) consists of all Other General Unsecured
                     Claims.

              (b)    Treatment: Except to the extent that a Holder of an Allowed Other
                     General Unsecured Claim agrees to a less favorable treatment (with the
                     consent of the UCC and the Required Ad Hoc Senior Noteholder Parties,
                     not to be unreasonably withheld, conditioned or delayed), in full and final


                                                -44-
23-10367-mg    Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                       Pg 240 of 410



                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Other General Unsecured Claim, each Holder of an Allowed
                     Other General Unsecured Claim will receive:

                             (a) (i)(A) if and solely to the extent such Holder is a Qualified
                                      Holder, its Pro Rata share (together with all Holders
                                      receiving Distributions in NewCo Common Stock) of the
                                      NewCo Common Stock subject to dilution by any NewCo
                                      Transaction or (B) if and solely to the extent such Holder is
                                      a Non-Qualified Holder, Cash in an amount equal to the
                                      value of the NewCo Common Stock it would be entitled to
                                      receive if it were a Qualified Holder, and (ii) its Pro Rata
                                      share (together with all Holders receiving Distributions of
                                      the Class A Trust Units) of the Class A Trust Units; or

                             (b) if such Holder elects on the applicable ballot, the GUC
                                      Cash-Out with respect such Claim.

              (c)    Voting: Claims in Class 3(b) are Impaired. Each Holder of an Allowed
                     Other General Unsecured Claim is entitled to vote to accept or reject the
                     Plan.

              Class 4 – Subordinated Note Claims

              (a)    Classification: Class 4 consists of all Subordinated Note Claims.

              (b)    Allowance: Subordinated Note Claims will be Allowed in the aggregate
                     outstanding principal amount of $[104,492,871.02], plus accrued and
                     unpaid interest to and including the Petition Date at the non-default
                     contract rate.

              (c)    Treatment: Except to the extent that a Holder of an Allowed Subordinated
                     Note Claim agrees to a less favorable treatment, in full and final
                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Subordinated Note Claim, each Holder of an Allowed
                     Subordinated Note Claim will receive its Pro Rata share of (a) the Class B
                     Trust Units in an aggregate amount equal to such Holder’s Allowed
                     Subordinated Note Claim and (b) payment by the Debtor in Cash of the
                     Subordinated Note Trustee Expenses, to the extent not otherwise paid by
                     the Debtor under the Plan.

              (d)    Voting: Claims in Class 4 are Impaired. Each Holder of an Allowed
                     Subordinated Note Claim is entitled to vote to accept or reject the Plan.

              Class 5 – Preferred Equity Interests

              (a)    Classification: Class 5 consists of all Preferred Equity Interests.



                                               -45-
23-10367-mg    Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                       Pg 241 of 410



              (b)    Allowance: Preferred Equity Interests will be Allowed in an amount equal
                     to the Liquidation Preference per share, together with an amount equal to
                     all dividends (if any) that have been declared but not paid prior to the date
                     of distributions (but without regard to any undeclared dividends).

              (c)    Treatment: Except to the extent that a Holder of an Allowed Preferred
                     Equity Interest agrees to a less favorable treatment, in full and final
                     satisfaction, settlement, release and discharge of and in exchange for its
                     Allowed Preferred Equity Interest, each Holder of an Allowed Preferred
                     Equity Interest will receive its Pro Rata share of the Class C Trust Units.

              (d)    Voting: Claims in Class 5 are Impaired. Each Holder of an Allowed
                     Preferred Equity Interest is entitled to vote to accept or reject the Plan.

              Class 6 – Common Equity Interests

              (a)    Classification: Class 6 consists of all Common Equity Interests.

              (b)    Treatment: No Holder of a Common Equity Interest will receive any
                     Distributions on account of its Common Equity Interest. On and after the
                     Effective Date, all Common Equity Interests will be canceled, released,
                     discharged, and extinguished and will be of no further force or effect, and
                     Holders of such Interests will not receive or retain any distribution,
                     property, or other value on account of such Interests.

              (c)    Voting: Interests in Class 6 are Impaired. Each Holder of a Common
                     Equity Interest is conclusively deemed to have rejected the Plan pursuant
                     to section 1126(g) of the Bankruptcy Code. No Holder of a Common
                     Equity Interest is entitled to vote to accept or reject the Plan.

              Class 7 – Section 510(b) Claims

              (a)    Classification: Class 7 consists of all Section 510(b) Claims.

              (b)    Treatment: No Holder of a Section 510(b) Claim will receive any
                     Distributions on account of its Section 510(b) Claim. On and after the
                     Effective Date, all Section 510(b) Claims will be canceled, released,
                     discharged, and extinguished and will be of no further force or effect, and
                     Holders of Section 510(b) Claims will not receive or retain any
                     distribution, property, or other value on account of such Claims.

              (c)    Voting: Claims in Class 7 are Impaired. Each Holder of a Section 510(b)
                     Claim is conclusively deemed to have rejected the Plan pursuant to
                     section 1126(g) of the Bankruptcy Code. No Holder of a Section 510(b)
                     Claim is entitled to vote to accept or reject the Plan.




                                                -46-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 242 of 410



               Class 8 – Intercompany Claims and Intercompany Interests

               (a)     Classification: Class 8 consists of all Intercompany Claims and
                       Intercompany Interests.

               (b)     Treatment: On and after the Effective Date, each Intercompany Claim and
                       each Intercompany Interest will be (a) canceled, released, and discharged,
                       (b) Reinstated, (c) converted to equity, or (d) otherwise set off, settled, or
                       distributed, in each case at the option of the Debtor with the consent of the
                       UCC and the Required Ad Hoc Senior Noteholder Parties, not to be
                       unreasonably withheld, conditioned or delayed.

               (c)     Voting: Claims and Interests in Class 8 are Impaired or Unimpaired. Each
                       Holder of an Intercompany Claim or an Intercompany Interest is
                       conclusively deemed to have accepted or rejected the Plan pursuant to
                       section 1126(f) or 1126(g) of the Bankruptcy Code. No Holder of an
                       Intercompany Claim or an Intercompany Interest is entitled to vote to
                       accept or reject the Plan.

       3.      Acceptance by Impaired Classes

                Pursuant to sections 1126(c) and (d) of the Bankruptcy Code, and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (i) an Impaired Class of Claims
will have accepted the Plan if the Holders of at least two-thirds in dollar amount and more than
one-half in number of the Claims of such Class entitled to vote that actually vote on the Plan
have voted to accept the Plan and (ii) an Impaired Class of Interests will have accepted the Plan
if the Holders of at least two-thirds in dollar amount of such Class entitled to vote that actually
vote on the Plan have voted to accept the Plan.

                 If Holders of Claims or Interests in a particular Impaired Class of Claims or
Interests were given the opportunity to vote to accept or reject the Plan, but no Holders of Claims
or Interests in such Impaired Class voted to accept or reject the Plan, then such Class will be
deemed to have accepted the Plan.

       4.      Elimination of Vacant Classes

                Any Class of Claims or Interests that does not have a Holder of an Allowed Claim
or Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court solely
for voting purposes as of the date of the Confirmation Hearing will be deemed eliminated from
the Plan solely for purposes of (i) voting to accept or reject the Plan and (ii) determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the
Bankruptcy Code.

       5.      Special Provisions Regarding Unimpaired Claims

                Except as otherwise specifically provided in the Plan, the Liquidating Trust will
have, retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff,
and other legal or equitable defenses which the Debtor now has or had immediately prior to the


                                                  -47-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 243 of 410



Petition Date as if the Chapter 11 Case had not been commenced, and all of the Liquidating
Trust’s legal and equitable rights with respect to any Reinstated Claim or Claim that is
Unimpaired by this Plan may be asserted after the Confirmation Date and the Effective Date to
the same extent as if the Chapter 11 Case had not been commenced. Unless Allowed, Claims
that are Unimpaired will remain as Disputed Claims under the Plan.

       6.      Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

               If there is one or more rejecting Class of Claims or Interests, the Debtor will seek
Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any such
rejecting Class or Classes. Subject to Sections 14 and 16.4 of the Plan, the Debtor reserves the
right to amend the Plan to the extent that Confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules.

B.     The Liquidating Trust

       1.      The Liquidating Trust Agreement

                On or before the Effective Date, the Liquidating Trust will be established
pursuant to the Liquidating Trust Agreement. The Liquidating Trust Agreement may provide
powers, duties, and authorities in addition to those explicitly stated herein, but only to the extent
that such powers, duties and authorities do not affect the status of the Liquidating Trust as a
“liquidating trust” for United States federal income tax purposes. Notwithstanding anything in
the Liquidating Trust Agreement to the contrary, the Liquidating Trust will be structured and
operate in a manner that does not require registration of the Liquidating Trust under the
Investment Company Act of 1940 or render it subject to the SEC reporting requirements under
Sections 12 or 15 of the Exchange Act.

       2.      Purpose of the Liquidating Trust

                The Liquidating Trust will be established for the sole purpose of liquidating and
distributing the Liquidating Trust Assets, in accordance with section 301.7701-4(d) of the U.S.
Treasury regulations (the “Treasury Regulations”), with no objective to continue or engage in the
conduct of a trade or business, except to the extent reasonably necessary to, and consistent with,
the liquidating purpose of the Liquidating Trust. The Liquidating Trust will be deemed a
successor-in-interest of the Debtor to the maximum extent necessary for the Liquidating Trust to
execute its purpose, and will not otherwise be deemed a successor-in-interest to the Debtor for
any purpose other than as specifically set forth in the Plan or in the Liquidating Trust Agreement.

       3.      Liquidating Trust Assets

                On the Effective Date, the Liquidating Trust Assets will be deemed irrevocably
transferred to the Liquidating Trust or entities to be formed by the Liquidating Trust, in each case
in accordance with the Restructuring Transactions Memorandum and without any further action
of NewCo, the Debtor or its subsidiaries or any of their respective managers, employees,
officers, directors, members, partners, shareholders, agents, advisors, or representatives. The


                                                 -48-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 244 of 410



Liquidating Trust Assets will vest in the Liquidating Trust, free and clear of all Liens, Claims,
charges, rights, or other encumbrances subject to and in accordance with the Plan and the
Liquidating Trust Agreement. For purposes of section 553 of the Bankruptcy Code, the transfer
of the Liquidating Trust Assets to the Liquidating Trust will not affect the mutuality of
obligations that otherwise may have existed prior to the effectuation of such transfer. Such
transfer will be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or
other similar Tax, pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the
Liquidating Trust Assets to the Liquidating Trust, the Debtor and its predecessors, successors
and assigns, and each other Entity released pursuant to Section 12.9 of the Plan will be
discharged and released from all liability with respect to the delivery of such distributions. Upon
the transfer of the Liquidating Trust Assets and pursuant to the Liquidating Trust Agreement, the
Debtor will have no reversionary or further interest in or with respect to the Liquidating Trust
Assets.

                After the Effective Date, the Liquidating Trust may, in its reasonable discretion,
contribute all or a portion of the Liquidating Trust Assets to one or more entitiesan entity
(i) wholly owned by the Liquidating Trust and (ii) treated as corporations for U.S. federal income
tax purposes (each such entity, a “Blocker Corporation”); provided that, the Liquidating Trust
will evaluate any such transfer based on the relative tax costs and other tax consequences to the
Liquidating Trust Beneficiaries of contributing such assets as compared to if such assets were
not contributed to a Blocker Corporation.

               To the extent that any cash refunds of Taxes transferred by NewCo to the
Liquidating Trust is subsequently disallowed or required to be returned to the applicable Tax
Authority, the Liquidating Trust will be liable for any amounts payable by NewCo to the
applicable Tax Authority as a result of such disallowance or requirement and will promptly
repay, or cause to be repaid, the amount of such refund, together with any interest, penalties or
other additional amounts imposed by such Tax Authority, to NewCo.

       4.      Administration of the Liquidating Trust

                The business and affairs of the Liquidating Trust will be managed by or under the
direction of the Liquidating Trust Board. On the Effective Date, the Liquidating Trust Board
will be appointed by the Required Ad Hoc Senior Noteholder Parties in a manner reasonably
acceptable to the UCC. Following the Effective Date, the appointment and removal of the
members of the Liquidating Trust Board will be governed by the Liquidating Trust Agreement.

                 The Liquidating Trust will have all the rights, powers and duties necessary to
carry out its responsibilities under the Plan and the Confirmation Order. For the avoidance of
doubt, these powers will include, to the extent applicable, the power to assert, enforce, release, or
waive any privilege or any defense (including as to any privilege that the Debtor held prior to the
Effective Date). The Liquidating Trust will be the exclusive representative of the Debtor’s
Estate for the purposes of 31 U.S.C. § 3713(b) and section 1123(b)(3)(B) of the Bankruptcy
Code and receiver, trustee or assignee of all or substantially all the property or business pursuant
to 26 U.S.C. § 6012(b)(3).




                                                 -49-
23-10367-mg         Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 245 of 410



                 In furtherance of and consistent with the purpose of the Liquidating Trust and the
Plan, and subject to the terms of the Confirmation Order, the Plan and the Liquidating Trust
Agreement, the Liquidating Trust will, among other things, have the following rights and
powers: (i) to hold, manage, convert to Cash, and distribute the Liquidating Trust Assets to
holders of Liquidating Trust Interests, including (x) prosecuting and resolving the claims and
Retained Causes of Action belonging to the Liquidating Trust and (y) reducing, from time to
time, the amount of Liquidating Trust Assets held in the Disputed Claims Reserves and returning
such amounts to the Liquidating Trust, provided, for the avoidance of doubt, that any investment
powers of the Liquidating Trust, other than those reasonably necessary to maintain the value of
the assets and to further the liquidating purpose of the trust, must be limited to powers to invest
in demand and time deposits, such as short-term certificates of deposit, in banks or other savings
institutions, or other temporary, liquid investments, such as Treasury bills, (ii) to sell, transfer,
lease, encumber, or otherwise dispose of the Liquidating Trust Assets, (iii) to investigate,
prosecute, settle and/or abandon rights, causes of action, or litigation of the Liquidating Trust,
including Avoidance Actions, (iv) to disburse funds in the Professional Fee Reserve, the
Liquidating Trust Disputed Claims Reserve, and the Liquidating Trust Disputed GUC Cash-Out
Claims Reserve in accordance with the Liquidating Trust Agreement, which will be consistent
with the Plan, (v) to distribute Liquidating Trust Interest from the Liquidating Trust Disputed
Interests Reserve in accordance with the Liquidating Trust Agreement, which will be consistent
with the Plan, (vi) to distribute NewCo Common Stock from the NewCo Disputed Claims
Reserve in accordance with the Shared Services Agreement and the Liquidating Trust
Agreement, as applicable, which will be consistent with the Plan, (vii) to file all Tax Returns and
tax and regulatory forms, returns, reports, and other documents required with respect to the
Liquidating Trust and any Disputed Claims Reserve, (viii) to object to Claims, and manage,
control, prosecute, and/or settle on behalf of the Liquidating Trust, objections to Claims on
account of which the Distribution Agent will be responsible (if Allowed) for making
distributions under the Plan, (ix) to take all actions necessary and create any document necessary
to implement the Plan, (x) to act as a signatory to the Debtor for all purposes, including those
associated with the novation of contracts or other obligations arising out of the sales of the
Debtor’s assets, and (xi) to take all necessary actions and file all appropriate motions to obtain an
order closing the Chapter 11 Case. Under no circumstance may any person on the Liquidating
Trust Board serve on the board of directors of any Affiliate of the Liquidating Trust.

       5.      Substitution in Pending Legal Actions

                On the Effective Date, the Liquidating Trust will be deemed to be substituted as
the party to any pending litigation of a Retained Cause of Action in which the Debtor is a party
and will be authorized, but not required, to file notices or other pleadings in such actions to
effectuate its substitution for the Debtor. Such substitution will not result in holders of Claims,
including litigation Claims, against the Debtor receiving greater rights in or against the
Liquidating Trust than they are otherwise entitled to under the Plan and Liquidating Trust
Agreement on account of such Claims.

       6.      Distribution of Liquidating Trust Assets

               i.       From time to time (but no less frequently than annually), the Liquidating
                        Trust will distribute to the Liquidating Trust Beneficiaries on account of


                                                 -50-
23-10367-mg           Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                                Pg 246 of 410



                             their Liquidating Trust Interests in accordance with Section 5.6 of the Plan
                             all unrestricted Cash on hand; provided, that in no event will the
                             Liquidating Trust be required to distribute amounts reasonably necessary
                             to (A) meet contingent liabilities and to maintain the value of the
                             Liquidating Trust Assets during liquidation, (B) pay reasonable incurred
                             or anticipated expenses (including, but not limited to, any Taxes imposed
                             on or payable by the Liquidating Trust or in respect of the Liquidating
                             Trust Assets), or (C) satisfy other liabilities incurred or anticipated by the
                             Liquidating Trust in accordance with the Plan or the Liquidating Trust
                             Agreement.

                    ii.      The Liquidating Trust will issue class A trust units (the “Class A Trust
                             Units”), class B trust units (the “Class B Trust Units”) and class C trust
                             units (the “Class C Trust Units”) to Holders of Claims and Interests in
                             accordance with Sections 4.2Error! Reference source not found. and
                             11.8 of the Plan.

                    iii.     The Class A Trust Units will be issued to Holders of Allowed General
                             Unsecured Claims (other than Holders of Allowed General Unsecured
                             Claims that elect to participate inreceive the GUC Cash-Out) with an
                             initial distribution preference of $[•],1424 which will accrete at an annual
                             rate of 12%. The Class B Trust Units and the Class C Trust Units will
                             receive no distributions until the distribution preference (including, for the
                             avoidance of doubt, any accretion thereto) of the Class A Trust Units has
                             been satisfied in full.

                    iv.      The Class B Trust Units will be issued to Holders of Allowed
                             Subordinated Note Claims with an initial distribution preference to be
                             calculated at the face amount of the Allowed Subordinated Note Claims,
                             which Class B Trust Units will accrete at an annual rate of 12%.

                    v.       The Class C Trust Units will be issued to Holders of Allowed Preferred
                             Equity Interests and will receive no distributions until the distribution
                             preference (including, for the avoidance of doubt, any accretion thereto) of
                             the Class B Trust Units has been satisfied in full.



1424
       [NTD: To be calculated at the face amount (including accrued and unpaid interest on the Senior Notes as of the
       Petition Date) of theall Allowed General Unsecured Claims receiving Class A Trust Units,minus amount of the
       Allowed General Unsecured Claims satisfied by the GUC Cash-Out and minus the value of NewCo Common
       Stock distributed to Holders of Allowed General Unsecured Claimsdistributable to Classes 3(a) and 3(b) under
       the Plan (taking into the effect of any NewCo Transactions); provided that the determination of such value
       willshall be acceptable to the Debtor, the UCC, and the Required Ad Hoc Senior Noteholder Parties and
       willshall take into account any NewCo Transaction(s)Transactions to be consummated on or prior to the
       Effective Date. Calculation of the Class A distribution preference and determination of value of NewCo
       Common Stock to be included in an updated version of the Disclosure Statement filed with the Court in advance
       of the Disclosure Statement hearing.]



                                                          -51-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 247 of 410



               vi.    After satisfaction of the Class A and Class B Trust Units in full, the Class
                      C Trust Units will be entitled to 100% of Liquidating Trust distributions.

       7.      Costs and Expenses of the Liquidating Trust

                The individuals serving as or comprising the Liquidating Trust Board will be
entitled to reasonable compensation in an amount consistent with that of similar functionaries in
similar roles and paid out of the Liquidating Trust Assets. The fees and expenses incurred by the
Liquidating Trust Board on or after the Effective Date and any reasonable compensation and
expense reimbursement claims (including attorney fees and expenses) made by the Liquidating
Trust Board in connection with such Liquidating Trust Board’s duties will be paid without any
further notice to, or action, order, or approval of, the Bankruptcy Court in Cash from the
Liquidating Trust Assets. Fees and expenses incurred in connection with the prosecution and
settlement of any Claims will be considered costs and expenses of the Liquidating Trust.

                The Debtor, NewCo, the Delaware Trustee and the Liquidating Trust Board, as
applicable, will not be required to give any bond or surety or other security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court. In the event that the Delaware
Trustee or the Liquidating Trust Board is so ordered after the Effective Date, all costs and
expenses of procuring any such bond or surety will be paid for with Cash from the Liquidating
Trust Assets.

       8.      Retention of Professionals/Employees by the Liquidating Trust Board

               The Liquidating Trust Board may appoint officers or other representative agents
of the Liquidating Trust, including a Liquidating Trust manager and a secretary, to serve as
agents to the Liquidating Trust and carry out the purpose of the Liquidating Trust. The
Liquidating Trust Board will have the right to hire employees and retain the services of attorneys,
accountants, and other professionals, subject to any limitations imposed by the Liquidating Trust
Board, that are necessary to assist the Liquidating Trust Board in the performance of their duties
without Bankruptcy Court approval. Without limiting the foregoing, the Liquidating Trust Board
may retain any professional that represented parties in interest in the Chapter 11 Case.

       9.      Liquidating Trust Disputed Claims Reserve

                On or after the Effective Date, the Liquidating Trust will be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Claims Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan, in the same proportions and amounts as provided for in the Plan,
in the Liquidating Trust Disputed Claims Reserve in trust for the benefit of the Holders of
Disputed Administrative Expense Claims, Disputed Priority Tax Claims, Disputed Other Priority
Claims and, Disputed Other Secured Claims and Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust will use reasonable effort to allocate sufficient property for
the Liquidating Trust Disputed Claims Reserves. The Liquidating Trust will distribute such
amounts (net of any expenses, including any taxesTaxes relating thereto or otherwise payable by
the Liquidating Trust Disputed Claims Reserve), as provided under the Plan, as such Claims are



                                                -52-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 248 of 410



resolved by a Final Order or agreed to by settlement, and such amounts will be distributable on
account of such Claims as such amounts would have been distributable had such Claims been
Allowed Claims as of the Effective Date. Amounts remaining in the Liquidating Trust Disputed
Claims Reserve, if any, after the resolution of all applicable Disputed Claims and the satisfaction
of all applicable Allowed Disputed Claims will promptly be transferred to the Liquidating Trust,
without any further notice to, action, order, or approval of the Bankruptcy Court or by any other
Entity.

       10.     Liquidating Trust Disputed GUC Cash-Out Claims Reserve

                On or after the Effective Date, the Liquidating Trust will establish the Liquidating
Trust Disputed GUC Cash-Out Claims Reserve. On or after the Effective Date, the Liquidating
Trust will place Cash in the Liquidating Trust Disputed GUC Cash-Out Claims Reserve in trust
for the benefit of the Holders of Disputed GUC Cash-Out Claims ultimately determined to be
Allowed after the Effective Date, in an amount, as reasonably determined by the Liquidating
Trust (and with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties),
sufficient to satisfy the GUC Cash-Out for such GUC Cash-Out Claims to the extent such
Claims are Allowed after the Effective Date. The Liquidating Trust will distribute such amounts
(net of any expenses, including any Taxes relating thereto or otherwise payable by the
Liquidating Trust Disputed GUC Cash-Out Claims Reserve), as provided herein, as such Claims
are resolved by a Final Order or agreed to by settlement, and such amounts will be distributable
on account of such Claims as such amounts would have been distributable had such Claims been
Allowed Claims as of the Effective Date; provided that, to the extent the Cash held in such
Liquidating Trust Disputed GUC Cash-Out Claims Reserve is insufficient to fund the GUC
Cash-Out for any GUC Cash-Out Claim when Allowed, such GUC Cash-Out Claim will receive
its Distribution in accordance with Section 4.2.4(ii)(a) of the Plan as though it had not elected the
GUC Cash-Out; provided further that Cash remaining in the Liquidating Trust Disputed GUC
Cash-Out Claims Reserve, if any, after the resolution of all applicable Disputed GUC Cash-Out
Claims and the satisfaction of all applicable Allowed Disputed GUC Cash-Out Claims will
promptly be transferred to the Liquidating Trust, without any further notice to, action, order, or
approval of the Bankruptcy Court or by any other Entity.

       11.     10. Liquidating Trust Disputed Interests Reserve

                On or after the Effective Date, the Liquidating Trust will be authorized, but not
directed, to establish one or more Liquidating Trust Disputed Interests Reserves. After the
Effective Date, the Liquidating Trust may, in its sole discretion, hold any property to be
distributed pursuant to the Plan (other than NewCo Common Stock), in the same proportions and
amounts as provided for in the Plan, in the Liquidating Trust Disputed Interests Reserve in trust
for the benefit of the Holders of Disputed General Unsecured Claims (other than Disputed GUC
Cash-Out Claims), Disputed Subordinated Note Claims and Disputed Preferred Equity Interests
ultimately determined to be Allowed after the Effective Date; provided that the Liquidating Trust
will use reasonable effort to allocate sufficient property for the Liquidating Trust Disputed
Interests Reserves. The Liquidating Trust will distribute such amounts (net of any expenses,
including any taxesTaxes relating thereto or otherwise payable by the Liquidating Trust Disputed
Interests Reserve), as provided under the Plan, as such Claims or Interests are resolved by a Final
Order or agreed to by settlement, and such amounts will be distributable on account of such


                                                 -53-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 249 of 410



Claims or Interests as such amounts would have been distributable had such Claims or Interests
been Allowed Claims or Interests as of the Effective Date. Amounts remaining in the
Liquidating Trust Disputed Interests Reserve, if any, after the resolution of all applicable
Disputed Claims or Interests and the satisfaction of all applicable Allowed Disputed Claims and
Interests, if any, will promptly be transferred to the Liquidating Trust, without any further notice
to, action, order, or approval of the Bankruptcy Court or by any other Entity.

       12.     11. NewCo Disputed Claims Reserve

                 On or after the Effective Date, the Liquidating Trust will be authorized, but not
directed, to establish one or more NewCo Disputed Claims Reserves, and such NewCo Disputed
Claims Reserves will be deemed transferred to the Liquidating Trust or entities to be formed by
the Liquidating Trust, in each case in accordance with the Restructuring Transactions
Memorandum and without any further action of NewCo, the Debtor or its subsidiaries or any of
their respective managers, employees, officers, directors, members, partners, shareholders,
agents, advisors, or representatives. After the Effective Date, the Liquidating Trust may, in its
sole discretion, hold any NewCo Common Stock to be distributed pursuant to the Plan, in the
same proportions and amounts as provided for in the Plan, in the NewCo Disputed Claims
Reserve in trust for the benefit of the Holders of Disputed General Unsecured Claims (other than
Disputed GUC Cash-Out Claims) ultimately determined to be Allowed after the Effective Date;
provided that the Liquidating Trust will use reasonable effort to allocate sufficient property for
the NewCo Disputed Claims Reserves. The Liquidating Trust will distribute such amounts (net
of any expenses, including any taxesTaxes relating thereto or otherwise payable by the NewCo
Disputed Claims Reserve), as provided under the Plan, as such Claims are resolved by a Final
Order or agreed to by settlement, and such amounts will be distributable on account of such
Claims as such amounts would have been distributable had such Claims been Allowed Claims or
Interest as of the Effective Date. Amounts remaining in the NewCo Disputed Claims Reserve, if
any, after the resolution of all applicable Disputed Claims and the satisfaction of all applicable
Allowed Disputed Claims, if any, will promptly be transferred to NewCo, without any further
notice to, action, order, or approval of the Bankruptcy Court or by any other Entity.

       13.     12. Federal Income Tax Treatment of the Liquidating Trust

               (a)     Liquidating Trust Assets Treated as Owned by Creditors

                 Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt of an adverse determination by the IRS upon audit if not
contested by the Liquidating Trust Board), for all United States federal income tax purposes, all
parties (including the Debtor, the Liquidating Trust Board and the Liquidating Trust
Beneficiaries) will treat the transfer of the Liquidating Trust Assets to the Liquidating Trust as
(i) a transfer of the Liquidating Trust Assets (subject to any obligations relating to those assets)
directly to the Liquidating Trust Beneficiaries (other than to the extent Liquidating Trust Assets
are allocable to Disputed Claims or Interests, which will be treated as transferred to the
applicable Disputed Claims Reserve), followed by (ii) the transfer by such beneficiaries to the
Liquidating Trust of the Liquidating Trust Assets (other than to the extent Liquidating Trust
Assets are allocable to any Disputed Claims Reserve) in exchange for Liquidating Trust
Interests. Accordingly, the Liquidating Trust Beneficiaries will be treated for United States


                                                 -54-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                        Pg 250 of 410



federal income tax purposes as the grantors and deemed owners of their respective share of the
Liquidating Trust Assets (other than such Liquidating Trust Assets as are allocable to any
Disputed Claims Reserve, discussed below). The foregoing treatment will also apply, to the
extent permitted by applicable law, for state and local income tax purposes.

                However, there can be no assurance that the IRS or other applicable government
entities would not take a contrary position. If the IRS or other applicable government entities
were to challenge successfully the classification of the Liquidating Trust, the U.S. federal (and
applicable state and local) income tax consequences to the Liquidating Trust could vary from
those discussed herein. See Article X belowCertain U.S. Federal Income Tax Consequences of
the Plan.

              (b)      Tax Reporting

              i.       The Liquidating Trust Board will file Tax Returns for the Liquidating
                       Trust treating the Liquidating Trust as a grantor trust pursuant to Treasury
                       Regulation section 1.671-4(a) (excluding any Disputed Claims Reserve,
                       which will be reported in accordance with Section 5.12.25.13.2.iv of the
                       Plan) and in accordance with Section 5.125.13 of the Plan. The
                       Liquidating Trust Board also will annually send to each holder of a
                       Liquidating Trust Interest a separate statement regarding the receipts and
                       expenditures of the Liquidating Trust as relevant for U.S. federal income
                       tax purposes and will instruct all such holders to use such information in
                       preparing their U.S. federal income tax returnsTax Returns or to forward
                       the appropriate information to such holder’s underlying beneficial holders
                       with instructions to utilize such information in preparing their U.S. federal
                       income tax returnsTax Returns. The Liquidating Trust Board will also file
                       (or cause to be filed) any other statement, return or disclosure relating to
                       the Liquidating Trust or any Disputed Claims Reserve that is required by
                       any Governmental Unit.

              ii.      As soon as reasonably practicable after Liquidating Trust Assets are
                       transferred to the Liquidating Trust, the Liquidating Trust Board will make
                       a good faith valuation of Liquidating Trust Assets, and will make all such
                       values available from time to time, to the extent relevant, and such values
                       will be used consistently by all parties to the Liquidating Trust (including
                       the Debtor, the Liquidating Trust Board and Liquidating Trust
                       Beneficiaries) for all United States federal income tax purposes.

              iii.     Allocations of Liquidating Trust taxable income among the Liquidating
                       Trust Beneficiaries (other than to the extent such taxable income is
                       allocable to any Disputed Claims Reserve) will be determined by
                       reference to the manner in which an amount of cash representing such
                       taxable income would be distributed (were such cash permitted to be
                       distributed at such time) if, immediately prior to such deemed distribution,
                       the Liquidating Trust had distributed all its assets (valued at their tax book
                       value, other than assets allocable to any Disputed Claims Reserve) to the


                                                -55-
23-10367-mg    Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                     Pg 251 of 410



                    holders of the Liquidating Trust Interests, adjusted for prior taxable
                    income and loss and taking into account all prior and concurrent
                    distributions from the Liquidating Trust. Similarly, taxable loss of the
                    Liquidating Trust will be allocated by reference to the manner in which an
                    economic loss would be borne inimmediately after a hypothetical
                    liquidating distribution of the remaining Liquidating Trust Assets (other
                    than the assets allocable to any Disputed Claims Reserve). The tax book
                    value of the Liquidating Trust Assets for purpose of this paragraph will
                    equal their fair market value on the Effective Date, adjusted in accordance
                    with tax accounting principles prescribed by the Tax CodeIRC, the
                    applicable Treasury Regulations, and other applicable administrative and
                    judicial authorities and pronouncements.

              iv.   Subject to definitive guidance from the IRS or a court of competent
                    jurisdiction to the contrary (including the receipt by the Liquidating Trust
                    Board of a private letter ruling if the Liquidating Trust Board so requests
                    one, or the receipt of an adverse determination by the IRS upon audit if not
                    contested by the Liquidating Trust Board), the Liquidating Trust Board
                    will (A) timely elect to treat any Disputed Claims Reserve as a “disputed
                    ownership fund” governed by Treasury Regulation section 1.468B-9, and
                    (B) to the extent permitted by applicable law, report consistently with the
                    foregoing for state and local income tax purposes. All parties (including
                    the Liquidating Trust Board, the Debtor, and the Liquidating Trust
                    Beneficiaries) will report for United States federal, state and local income
                    tax purposes consistently with the foregoing.

              v.    The Liquidating Trust Board will be responsible for payment, out of the
                    Liquidating Trust Assets, of any Taxes imposed on the trust or its assets,
                    including any Disputed Claims Reserve; provided that, any Disputed
                    Claims Reserve will bear all Taxes allocable to such Disputed Claims
                    Reserve. In the event, and to the extent, any Cash retained on account of
                    Disputed Claims or Interests in any Disputed Claims Reserve is
                    insufficient to pay the portion of any such Taxes attributable to the taxable
                    income arising from the assets allocable to, or retained on account of,
                    Disputed Claims or Interests (including any income that may arise upon
                    the distribution of the assets of any Disputed Claims Reserve), such Taxes
                    may be (i) reimbursed from any subsequent Cash amounts retained on
                    account of such Disputed Claims or Interests, (ii) paid with the proceeds
                    from a sale of the assets of the applicable Disputed Claims Reserve or
                    (iii) to the extent such Disputed Claims or Interests have subsequently
                    been resolved, deducted from any amounts otherwise distributable by the
                    Liquidating Trust Board as a result of the resolution of such Disputed
                    Claims or Interests.

              vi.   The Liquidating Trust Board may request an expedited determination of
                    Taxes of the Liquidating Trust, any Disputed Claims Reserve, or the
                    Debtor under section 505(b) of the Bankruptcy Code for all Tax Returns


                                             -56-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 252 of 410



                       filed for, or on behalf of, the Liquidating Trust for all taxable periods
                       through the dissolution of the Liquidating Trust.

               (c)     Tax Withholdings by Liquidating Trust Board

                 The Liquidating Trust Board may withhold and pay to the appropriate Tax
Authority all amounts required to be withheld pursuant to the Tax CodeIRC or any provision of
any foreign, state or local tax law with respect to any payment or distribution to the holders of
Liquidating Trust Interests. All such amounts withheld and paid to the appropriate Tax
Authority (or placed in escrow pending resolution of the need to withhold) will be treated as
amounts distributed to such holders of Liquidating Trust Interests for all purposes of the
Liquidating Trust Agreement; provided that any amount placed in escrow pending resolution of
the need to withhold that is deemed to exceed the amount required to be withheld will be
distributed to the applicable holders of Liquidating Trust Interests as soon as reasonably
practicable following the determination of the withholding requirement. The Liquidating Trust
Board will be authorized to collect such tax information from the holders of Liquidating Trust
Interests (including social security numbers or other tax identification numbers) as in its sole
discretion the Liquidating Trust Board deems necessary to effectuate the Plan, the Confirmation
Order, and the Liquidating Trust Agreement. In order to receive distributions under the Plan, all
holders of Liquidating Trust Interests (including holders of Allowed Senior Note Claims,
Allowed Other General Unsecured Claims, Allowed Subordinated Note Claims and Allowed
Preferred Equity Interests, who, in each case, deliver a release in accordance with the provisions
of Section 12.9 of the Plan) will be required to identify themselves to the Liquidating Trust
Board and provide tax information and the specifics of their holdings, to the extent the
Liquidating Trust Board deems appropriate in the manner and in accordance with the procedures
from time to time established by the Liquidating Trust Board for these purposes. This
identification requirement generally applies to all holders, including those who hold their
securities in street name. The Liquidating Trust Board may refuse to make a distribution to any
holder of a Liquidating Trust Interest that fails to furnish such information in a timely fashion,
and until such information is delivered, and may treat such holder’s Liquidating Trust Interests as
disputed; provided, however, that, if such information is not furnished to the Liquidating Trust
Board within six (6) months of the original request to furnish such information, no further
distributions will be made to the holder of such Liquidating Trust Interest; and, provided, further,
that, upon the delivery of such information by a holder of a Liquidating Trust Interest, the
Liquidating Trust Board will make such distribution to which the holder of the Liquidating Trust
Interest is entitled, without additional interest occasioned by such holder’s delay in providing tax
information; and, provided, further, that if the Liquidating Trust Board fails to withhold in
respect of amounts received or distributable with respect to any such holder and the Liquidating
Trust Board is later held liable for the amount of such withholding, such holder will reimburse
the Liquidating Trust Board for such liability (to the extent such amounts were actually
distributed to such holder).

               (d)     Dissolution

                The Liquidating Trust Board and the Liquidating Trust will be discharged or
dissolved, as the case may be, upon the earlier to occur of (i) all distributions required to be made
byof the Liquidating Trust Board underAssets have been distributed pursuant to the Plan and the


                                                 -57-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 253 of 410



Liquidating Trust Agreement have been made, and (ii) the Liquidating Trust Board determines
that the administration of any remaining Liquidating Trust Assets is not likely to yield sufficient
additional Liquidating Trust proceeds to justify further pursuit and (iii) all distributions required
to be made by the Liquidating Trust Board under the Plan and the Liquidating Trust Agreement
having been made; provided, however, in no event will the Liquidating Trust be dissolved later
than five (5) years from the Effective Date unless the Bankruptcy Court, upon motion within the
six-month period prior to the fifth (5th) anniversary (or within the six-month period prior to the
end of an extension period), determines that a fixed period extension (not to exceed three (3)
years, together with any prior extensions, without a favorable private letter ruling from the IRS
or an opinion of counsel satisfactory to the Liquidating Trust Board that any further extension
would not adversely affect the status of the trust as a liquidating trust for United States federal
income tax purposes) is necessary to facilitate or complete the recovery and liquidation of the
Liquidating Trust Assets. If at any time the Liquidating Trust Board determines, in reliance upon
such professionals as the Liquidating Trust Board may retain, that the expense of administering
the Liquidating Trust (and any Disputed Claims Reserve) so as to make a final distribution to its
beneficiaries is likely to exceed the value of the assets remaining in the Liquidating Trust, the
Liquidating Trust Board may apply to the Bankruptcy Court for authority to (a) reserve any
amount necessary to dissolve the Liquidating Trust (and any Disputed Claims Reserve),
(b) donate any balance to a charitable organization (A) described in section 501(c)(3) of the Tax
CodeIRC, (B) exempt from United States federal income tax under section 501(a) of the Tax
CodeIRC, (C) not a “private foundation”, as defined in section 509(a) of the Tax CodeIRC, and
(D) that is unrelated to the Debtor, NewCo, the Liquidating Trust and any insider of the
foregoing and (c) dissolve the Liquidating Trust (and any Disputed Claims Reserve).

       14.     (e) Indemnification of Liquidating Trust Board

               The Liquidating Trust Agreement will provide for the indemnification of the
Liquidating Trust Board, the individual(s) comprising the Liquidating Trust Board, the Delaware
Trustee and certain other individuals as may be set forth therein. Any indemnification claim of
the Liquidating Trust Board (and the other parties entitled to indemnification under this
subsection) will be satisfied solely from the Liquidating Trust Assets. The Liquidating Trust
may obtain, at the expense of the Liquidating Trust and with funds from the Liquidating Trust
Assets, commercially reasonable liability or other appropriate insurance with respect to the
indemnification obligations of the Liquidating Trust Board or any employees of the Liquidating
Trust.

       15.     (f) Exculpation Relating to the Liquidating Trust

               No Holder of a Claim or Interest or any other party in interest will have, or
otherwise pursue, any Claim or Cause of Action against the Liquidating Trust Board, the
Liquidating Trust, or the consultants or professionals thereof (for each of the foregoing, solely in
the performance of their duties) for making payments and distributions in accordance with the
Plan and the Liquidating Trust Agreement or for fulfilling any functions incidental to
implementing the provisions of the Plan or the Liquidating Trust Agreement, except for any acts
or omissions that are the result of fraud, gross negligence or willful misconduct.




                                                 -58-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 254 of 410



       16.     (g) Abandonment of Liquidating Trust Assets

              Subject to the Liquidating Trust Agreement, after the Effective Date, the
Liquidating Trust Board may abandon any Liquidating Trust Assets which the Liquidating Trust
Board determines in its reasonable discretion to be of de minimis value or burdensome to the
Liquidating Trust.

C.     Implementation of the Plan

       1.      Operations Between the Confirmation Date and Effective Date

               During the period from the Confirmation Date through and until the Effective
Date the Debtor may continue to operate its businesses as debtor-in-possession in the ordinary
course in a manner consistent with past practice in all material respects, and as otherwise
necessary to consummate the Plan, subject to the terms and conditions of the RSA and all
applicable orders of the Bankruptcy Court and the consent rights set forth in the RSA, the Plan
and any other Definitive Documents.

       2.      Sources of Cash for Plan Distributions

                Cash payments or cash distributions to be made hereunder on the Effective Date
will be funded from the existing Cash of the Debtor and the Cash proceeds of a NewCo
Transaction, if anyas applicable.

       3.      NewCo Transaction

                If at any time prior to the Effective Date, the Debtor determines in good faith and
consistent with its fiduciary duties (and with the consent of the UCC and the Required Ad Hoc
Senior Noteholder Parties) that a sale, private placement or rights offering of some or all of the
assets or equity of NewCo to one or more third parties, including through a Plan Sponsor
Transaction, pursuant to sections 1129 and 363 of the Bankruptcy Code (any such transaction, a
“NewCo Transaction”), will maximize the value of NewCo and is in the best interests of the
Estate, such NewCo Transaction will be consummated pursuant to the Plan, subject to approval
by the Bankruptcy Court pursuant to the Confirmation Order or another order of the Bankruptcy
Court; provided that the Debtor may only enter into a NewCo Transaction that results in the
Debtor receiving proceeds from such NewCo Transaction with a value no less than the value
attributed by the Plan to the NewCo equity or assets that are subject to such NewCo Transaction.

               The Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC will
continue to work together in good faith to evaluate opportunities to maximize the value of all or
some of the assets or equity of NewCo, including through a rights offering, marketing process,
private placement, or otherwise (any such transaction, a “NewCo Transaction”). The terms of
any such NewCo Transaction will be acceptable to each of the Debtor, the Required Ad Hoc
Senior Noteholder Parties and the UCC. Following Confirmation, without further order or
approval of the Bankruptcy Court and subject to any applicable consent rights set forth in the
RSARestructuring Support Agreement, the Debtor may in good faith make modifications to the
Plan to maximize the value of all or some of the assets or equity of NewCo in connection with a
NewCo Transaction (if any); provided that such modifications do not materially and adversely


                                                -59-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 255 of 410



affect the treatment of Holders of Claims or Interests and are otherwise permitted under section
1127(b) of the Bankruptcy Code.

       4.      Exemption from Registration

               The Debtor believes that, subject to certain exceptions described below, various
provisions of the Securities Act, the Bankruptcy Code and applicable state securities laws (“Blue
Sky Laws”) exempt from federal and state securities registration requirements (i) the offering,
issuance, exchange, distribution or sale of securities pursuant to the Definitive Documents and
(ii) subsequent transfers of such securities.

               The Liquidating Trust Interests to be distributed to the Liquidating Trust
Beneficiaries pursuant to the Plan will be transferrable as set forth in the Liquidating Trust
Agreement. The Liquidating Trust Interests will not be listed on any national exchange and will
have the consent and voting rights provided in the Liquidating Trust Agreement. The
Liquidating Trust and the Liquidating Trust Board will not take any steps to facilitate the
development of a trading market in the Liquidating Trust Interests.

               (a)     Section 1145

               Except with respect to any Person that is an underwriter as defined in
section 1145(b) of the Bankruptcy Code, the issuance of the Liquidating Trust Interests to
Liquidating Trust Beneficiaries under the Plan and the issuance of NewCo Common Stock to
Holders of Allowed General Unsecured Claims under the Plan shallwill be exempt from
registration under Section 5 of the Securities Act (and any applicable Blue Sky Laws) under
section 1145(a)(1) of the Bankruptcy Code.

                 Section 1145(a)(1) of the Bankruptcy Code exempts the issuance, offer, sale, and
distribution of securities under a plan of reorganization from registration under section 5 of the
Securities Act and state or local securities laws if the following three principal requirements are
satisfied: (a) the securities must be offered and sold under a plan of reorganization and must be
securities of the debtor, of an affiliate participating in a joint plan with the debtor, or of a
successor to the debtor under the plan; (b) the recipients of the securities must hold prepetition or
administrative expense claims against the debtor or interests in the debtor; and (c) the securities
must be issued entirely in exchange for the recipient’s claim against or interest in the debtor, or
principally in exchange for such claim or interest and partly for cash or property.

                 The issuance and distribution of the NewCo Common Stock and the Liquidating
Trust Interests satisfies the requirements of section 1145 of the Bankruptcy Code and, therefore,
such issuance and distribution are exempt from registration under the Securities Act and any
state or local law requiring registration. To the extent any “offer or sale” of NewCo Common
Stock may be deemed to have occurred, such offer or sale is made under the Plan and in
exchange for Claims against the Debtor, or principally in exchange for such Claims and partly
for cash or property, within the meaning of section 1145(a)(1) of the Bankruptcy Code. The
availability of the exemptions under section 1145 of the Bankruptcy Code or any other applicable
securities laws will not be a condition to occurrence of the Effective Date of the Plan. To the
extent section 1145 of the Bankruptcy Code is applicable, the securities to be issued under the



                                                 -60-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 256 of 410



Plan (a) are not “restricted securities” as defined in Rule 144(a)(3) under the Securities Act, and
(b) in general are freely tradable and transferable by any initial recipient thereof that (i) is not an
“affiliate” of the Debtor as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been
such an “affiliate” within 90 days of such transfer, and (iii) is not an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code relating to the definition of
an underwriter in section 2(a)(11) of the Securities Act. In addition, securities governed by
section 1145 of the Bankruptcy Code generally may be able to be resold without registration
under applicable Blue Sky Laws pursuant to various exemptions provided by the respective Blue
Sky Laws of the various states; however, the availability of such exemptions cannot be known
unless individual states’ Blue Sky Laws are examined, and recipients of securities are advised to
consult with their own legal advisors as to the availability of any such exemption from
registration in any given instance.

                Notwithstanding the foregoing, any securities or instruments issued under the
Plan in reliance on section 1145(a) of the Bankruptcy Code remain subject to: (x) compliance
with any rules and regulations of the SEC, if any, applicable at the time of any future transfer of
such securities or instruments; (y) the restrictions in the applicable NewCo Organizational
Documents and the Liquidating Trust Agreement, as applicable, on the transferability of such
securities and instruments and (z) any other applicable regulatory approval. Specifically, in an
attempt to minimize the likelihood of an additional ownership change occurring after the
Effective Date, the charter of NewCo will contain a restriction limiting the accumulation (and
disposition) of shares by persons (and certain groups of persons acting in concert) owning
(actually or constructively), or who would own (immediately before or after such acquisition),
4.99 percent of any class of stock of NewCo (with certain adjustments), and requiring approval
of NewCo’s Board for any such transfers.

                (b)     [Section 4(a)(2)]

                [To the extent securities are issued pursuant to the Plan or the other Definitive
Documents in reliance on section 4(a)(2) of the Securities Act (“Section 4(a)(2)”), the offering,
issuance, exchange, or distribution of such securities pursuant to the Plan or the other Definitive
Documents will be conducted in a manner that is exempt from, among other things, the
registration requirements of section 5 of the Securities Act. Section 4(a)(2) exempts from
section 5’s registration requirements transactions not involving a public offering, and Regulation
D under the Securities Act (“Regulation D”) provides a safe harbor under Section 4(a)(2) for
transactions that meet certain requirements, including that the investors participating therein
qualify as “accredited investors” within the meaning of Rule 501 under Regulation D
(“Accredited Investors”). Such offering, issuance, exchange or distribution will be structured to
be available only to Holders who certify that they are Accredited Investors and who submit
documentation allowing verification of their status as Accredited Investors. Any such securities
will be “restricted securities” as defined in Rule 144(a)(3) under the Securities Act and will only
be transferable if registered under the Securities Act or if transferred pursuant to an exemption
from the registration requirements of the Securities Act and other applicable securities laws.]




                                                  -61-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                              Pg 257 of 410



                  (c)      DTC

                Should NewCo and/or the Liquidating Trust elect on or after the Effective Date to
reflect any ownership of the NewCo Common Stock or the Liquidating Trust Interests, as
applicable, through the facilities of DTC, such Entity need not provide any further evidence other
than the Plan or the Confirmation Order with respect to the treatment of transfers, exercise,
removal of restrictions, or conversion of NewCo Common Stock or the Liquidating Trust
Interests, as applicable, under applicable U.S. federal, state or local securities laws.

               DTC shallwill be required to accept and conclusively rely upon the Plan and
Confirmation Order in lieu of a legal opinion regarding whether the NewCo Common Stock or
the Liquidating Trust Interests, as applicable, are exempt from registration and/or eligible for
DTC book-entry delivery, settlement and depository services.

               Notwithstanding anything to the contrary in the Plan, no Entity (including, for the
avoidance of doubt, DTC) may require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including, for the avoidance of doubt, whether the NewCo Common
Stock or the Liquidating Trust Interests, as applicable, are exempt from registration and/or
eligible for DTC book-entry delivery, settlement and depository services.

         5. NewCo Debt

               On the Effective Date, unless otherwise agreed by the Required Ad Hoc Senior
Noteholder Parties in connection with a NewCo Transaction, NewCo or its direct or indirect
subsidiary will issue debt (the “NewCo Debt”) to the Liquidating Trust in an aggregate principal
amount equal to $[•].15Without limiting the foregoing, the issuer of NewCo Debt will pay, as and
when due, all fees, expenses, losses, damages, indemnities and other amounts provided under the
NewCo Debt Documents. The principal terms of the NewCo Debt will be set forth in the Plan
Supplement.

                Confirmation of the Plan will be deemed (a) approval of the NewCo Debt and all
transactions contemplated hereby and thereby, and all actions to be taken, undertakings to be
made, and obligations to be incurred by the issuer of NewCo Debt in connection therewith,
including the payment of all fees, expenses, losses, damages, indemnities and other amounts
provided for by the NewCo Debt Documents and the granting of liens or provision of guarantees
by the issuer of NewCo Debt, its direct or indirect parents or any of its subsidiaries to secure the
NewCo Debt and (b) authorization for the issuer of NewCo Debt and the Liquidating Trust to
enter into and perform under the NewCo Debt Documents. The NewCo Debt Documents will
constitute legal, valid, binding and authorized obligations of the issuer of NewCo Debt,
enforceable in accordance with their terms. The financial accommodations to be extended
pursuant to the NewCo Debt Documents are being extended, and will be deemed to have been
extended, in good faith, for legitimate business purposes, are reasonable, will not be subject to
avoidance, recharacterization or subordination (including equitable subordination) for any

15
     [NTD: Aggregate principal amount to be agreed by the Debtor, the UCC, and the Required Ad Hoc Senior
     Noteholder Parties reflecting 70-80% of the total enterprise value of NewCo, or a lesser amount agreed by the
     Debtor, the UCC, and the Required Ad Hoc Senior Noteholder Parties.]



                                                        -62-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                       Pg 258 of 410



purposes whatsoever, and will not constitute preferential transfers, fraudulent conveyances or
other voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy law.

       5.     6. NewCo Common Stock

                On the Effective Date, NewCo will issue 100% of the NewCo Common Stock to
Holders of Allowed General Unsecured Claims and the NewCo Disputed Claims Reserve,
subject to dilution by any NewCo Transaction.

                All of the NewCo Common Stock issued pursuant to the Plan will be duly
authorized, validly issued, fully paid, and non-assessable. Each distribution and issuance of
NewCo Common Stock under the Plan will be governed by the terms and conditions set forth in
the Plan applicable to such distribution or issuance and by the terms and conditions of the
NewCo Organizational Documents and other instruments evidencing or relating to such
distribution or issuance, as applicable, which terms and conditions will bind each Entity
receiving such distribution or issuance. For the avoidance of doubt, the acceptance of NewCo
Common Stock by any Holder of any Claim or Interest will be deemed as such Holder’s
agreement to the NewCo Organizational Documents, as may be amended or modified from time
to time following the Effective Date in accordance with their terms.

                To the extent practicable, as determined in good faith by the Debtor and the
Required Ad Hoc Senior Noteholder Parties, NewCo will: (a) emerge from this Chapter 11 Case
as a non-publicly reporting company on the Effective Date and not be subject to SEC reporting
requirements under Sections 12 or 15 of the Exchange Act, or otherwise; (b) not be voluntarily
subjected to any reporting requirements promulgated by the SEC; except, in each case, as
otherwise may be required pursuant to the applicable organizational documents or applicable
law; (c) not be required to list the NewCo Common Stock on a U.S. stock exchange; (d) timely
file or otherwise provide all required filings and documentation to allow for the termination
and/or suspension of registration with respect to SEC reporting requirements under the Exchange
Act prior to the Effective Date; and, (e) to the extent requested by the Required Ad Hoc Senior
Noteholder Parties, make good faith efforts to ensure DTC eligibility of securities issued by
NewCo in connection with the Plan (other than any securities required by the terms of any
agreement to be held on the books of an agent and not in DTC).

              (a)     NewCo Common Stock Cash-Out

               As set forth in the Plan, certain Holders of Senior Note Claims and Other General
Unsecured Claims that are Non-Qualified Holders will be entitled to receive, in lieu of NewCo
Common Stock, Cash Distributions in an amount equal to the value of the NewCo Common
Stock such Holders would be entitled to if such Holder were a Qualified Holder; provided that
any such Non-Qualified Holder must provide a certification of its status as a Non-Qualified
Holder in order to receive any such Distribution.

              (b)     NewCo Common Stock Cash-Out Certification

               Prior to the Distribution to any Holder of a Senior Note Claim or Other General
Unsecured Claim of, as applicable, (a) NewCo Common Stock or (b) Cash (not including any
Cash Distribution in connection with the GUC Cash-Out) in an amount equal to the value of the


                                              -63-
23-10367-mg           Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02       Main Document
                                                 Pg 259 of 410



NewCo Common Stock it would be entitled to if it were a Qualified Holder (such Distributions
described in the preceding clause (a) or (b), as applicable, a “NewCo Distribution”), such Holder
will be required to deliver to the Distribution Agent, [within 60 days] following the Distribution
Agent’s request (or such longer period as the Distribution Agent may determine in its reasonable
discretion (with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not
to be unreasonably withheld, conditioned or delayed)), a certification that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder (such request, the “Qualified Holder
Certification Request”). If a Holder entitled to receive a NewCo Distribution fails to provide
such certification [within 60 days] of receiving the Qualified Holder Certification Request, such
Holder’s NewCo Distribution will be deemed to be an Unclaimed Distribution and such Holder’s
Claim may be canceled, discharged and forever barred in accordance with Section 10.5 of the
Plan, notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property
laws to the contrary.

               To the extent that, during the six (6) month period following the designation of
any NewCo Distribution as an Unclaimed Distribution, the Holder entitled to receive such
NewCo Distribution provides a certification to the Distribution Agent that such Holder (x) is a
Qualified Holder or (y) is a Non-Qualified Holder, such Holder may thereafter receive its
distribution pursuant to the terms of the Plan.

           6.       7. Deemed Holders of Subordinated Note Claims

               The BP Trust I Declaration of Trust provides that BP Trust I will automatically
terminate upon the bankruptcy of SVBFG, as successor by merger to BPFH.1625 Upon such
termination of BP Trust I, the terms of the BP Trust I Preferred Securities require the
administrative trustee of the trust to distribute to holders of the BP Trust I Preferred Securities
the BP Trust I Junior Subordinated Debentures having a principal amount equal to the
liquidation amount per security plus accumulated and unpaid distributions thereon to the date of
payment, after satisfaction of liabilities to creditors of BP Trust I as provided by applicable
law.1726 For purposes of the Plan, holders of the BP Trust I Preferred Securities will be deemed
to hold the BP Trust I Junior Subordinated Debentures and thus such holders will be deemed to
hold the BP Trust I Claims.

                 The BP Trust II Declaration of Trust provides that BP Trust II will dissolve upon
the bankruptcy of SVBFG, as successor by merger to BPFH.1827 Upon such dissolution of BP
Trust II, the terms of the BP Trust II Capital Securities require the institutional trustee of the trust
to distribute to holders of the BP Trust II Capital Securities the BP Trust II Junior Subordinated
Debentures on a pro rata basis, after satisfaction of liabilities to creditors of BP Trust II as
provided by applicable law.1928 For purposes of the Plan, holders of the BP Trust II Capital



1625
       See Section 8.1(a)(i) of the BP Trust I Declaration of Trust.
1726
       See Annex I, Section 3 of the BP Trust I Declaration of Trust.
1827
       See Section 7.1(a)(ii) of the BP Trust II Declaration of Trust.
1928
       See Annex I, Section 3 of the BP Trust II Declaration of Trust.



                                                            -64-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 260 of 410



Securities will be deemed to hold the BP Trust II Junior Subordinated Debentures and thus such
holders will be deemed to hold the BP Trust II Claims.

       7.      8. Organizational Existence

               Except as otherwise provided in the Plan and the Restructuring Transactions
Memorandum, the Debtor will, or as a subsidiary of NewCo will,or as NewCo, as applicable,
continue to exist after the Effective Date as a separate legal Entity, with all the powers of a
corporation or other form of organization, as applicable, under the laws of its jurisdiction of
organization and without prejudice to any right to alter or terminate such existence (whether by
merger or otherwise) under the law of the applicable state or other jurisdiction.

       8.      9. Cancellation of Existing Interests, Existing Indebtedness and Related
               Agreements

                On the Effective Date, except as otherwise specifically provided for in the Plan,
all rights of any Holder of Interests in the Debtor, including options or warrants to purchase
Interests, or obligating the Debtor to issue, transfer or sell Interests of the Debtor, will be
canceled.

                Upon the indefeasible payment in full in Cash of all Allowed Other Secured
Claims, or promptly thereafter, Holders of such Allowed Claims will deliver to the Debtor or,
after the Effective Date, the Liquidating Trust, any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Claim that may
reasonably be required in order to terminate any related financing statements, mortgages,
mechanic’s liens, or lis pendens, and take any and all other steps reasonably requested by the
Debtor or, after the Effective Date, the Liquidating Trust, that are necessary to cancel and/or
extinguish any Liens or security interests securing such Holder’s Claim; provided, however, that
the Debtor or the Liquidating Trust, as applicable, will be solely responsible for all costs and
expenses associated with any of the foregoing actions or requests.

                 On the Effective Date, except as otherwise provided in the Plan, the obligations of
the Debtor under the respective Indentures, and any certificate, share, bond, purchase right,
option, warrant, or other instrument or document, directly or indirectly, evidencing or creating
any indebtedness or obligation of the Debtor giving rise to any Claim or Interest will be
canceled, without any need for a Holder to take further action with respect thereto, and the
Debtor and the Liquidating Trust will not have any continuing obligations thereunder; provided,
that notwithstanding Confirmation or the occurrence of the Effective Date, any such agreement
that governs the rights of the Holder of an Allowed Claim or Interest will continue in effect
solely for (i) purposes of enabling such Holder to receive distributions under the Plan on account
of such Allowed Claim or Interest as provided in the Plan; and (ii) permit the Indenture Trustees
to make or assist in making, as applicable, distributions pursuant to the Plan and deduct
therefrom such reasonable compensation, fees and expenses (a) due to the Indenture Trustees, or
(b) incurred by the Indenture Trustees in making such distributions. Except as provided in the
Plan, on the Effective Date, the Indenture Trustees and their respective agents, successors and
assigns will be automatically and fully discharged of their duties and obligations associated with
the respective Indentures. The commitments and obligations of the Holders of the Senior Note


                                                -65-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 261 of 410



Claims and Subordinated Note Claims to extend any further or future credit or financial
accommodations to the Debtor, its subsidiaries or assigns under the Indentures, respectively, will
fully terminate and be of no further force or effect on the Effective Date.

       9.      10. Additional Implementing Transactions

                 On or prior to the Effective Date, the Debtor and the Liquidating Trust will, in
accordance with the RSA and subject to any applicable consent rights thereunder, enter into any
transaction and will take any actions as may be necessary or appropriate to effect the transactions
described herein, including, as applicable, the issuance of all securities, notes, instruments,
certificates and other documents required to be issued pursuant to the Plan, one or more
intercompany mergers, consolidations, amalgamations, arrangements, continuances,
restructurings, conversions, dispositions, dissolutions, entity formations, transfers, liquidations,
spinoffs, intercompany sales, purchases, or other corporate transactions, including any
restructuring transaction contemplated by the RSA, including any NewCo Transaction
(collectively, the “Restructuring Transactions”).

                 The Confirmation Order will, and will be deemed to, pursuant to sections 105,
363 and, 1123 and 1141 of the Bankruptcy Code, authorize, among other things, all actions as
may be necessary or appropriate to effect any transaction described in, contemplated by, or
necessary to effectuate the Plan, including any NewCo Transaction.

       10.     11. Section 1146 Exemption from Certain Transfer Taxes and Recording
               Fees

                  Pursuant to, and to the fullest extent permitted by, section 1146(a) of the
Bankruptcy Code, any transfers from the Debtor to NewCo, the Liquidating Trust or to any other
Entity, pursuant to, in contemplation of, or in connection with the Plan (including any transfer
pursuant to: (i) the issuance, distribution, transfer, or exchange of any debt, equity security, or
other interest in the Debtor, the Liquidating Trust, NewCo or Affiliates of NewCo, including,
without limitation, the NewCo Common Stock, NewCo Debt and the Liquidating Trust
Interests; (ii) the creation, modification, consolidation, assumption, termination, refinancing
and/or recording of any mortgage, deed of trust or other security interest, or the securing of
additional indebtedness by such or other means; (iii) the making, assignment or recording of any
lease or sublease; (iv) the grant of collateral as security for the NewCo Debt; or (v) the making,
delivery or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including any deeds, bills of sale, assignments or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan) will not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal
property transfer tax, sales or use tax, mortgage recording tax, Uniform Commercial Code filing
or recording fee, regulatory filing or recording fee, or other similar tax or governmental
assessment, and the appropriate state or local government officials or agents will, and will be
directed to, forgo the collection of any such tax, recordation fee or government assessment and to
accept for filing and recordation any of the foregoing instruments or other documents without the




                                                -66-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 262 of 410



payment of any such tax, recordation fee or government assessment. The Bankruptcy Court will
retain specific jurisdiction with respect to these matters.

       11.     12. Effectuating Documents and Further Transactions

                The Debtor or, after the Effective Date, the Liquidating Trust and NewCo, as
applicable, may take all actions to execute, deliver, file or record such contracts, instruments,
releases and other agreements or documents, and take such actions as may be necessary or
appropriate to effectuate and implement the provisions of the Plan. The secretary and any
assistant secretary of the Debtor, NewCo or the Liquidating Trust will be authorized to certify or
attest to any of the foregoing actions.

                Prior to, on or after the Effective Date (as appropriate), all matters provided for
pursuant to the Plan that would otherwise require approval of the shareholders, directors or
members of the Debtor will be deemed to have been so approved and will be in effect prior to,
on or after the Effective Date (as appropriate), pursuant to applicable law, and without any
requirement of further action by the shareholders, directors, managers or partners of the Debtor,
or the need for any approvals, authorizations, actions or consents.

                On the Effective Date, the Liquidating Trust Agreement, any other organizational
document of the Liquidating Trust and the NewCo Organizational Documents will become
effective and deemed binding without further action from any Person or Entity (other than the
relevant consents required by under the RSA) and will be binding and enforceable upon each of
the parties thereto.

       12.     13. Abandonment of SVB Stock

                AtUnless otherwise agreed in writing by the UCC and the Ad Hoc Group of
Senior Noteholders, at least one day prior to the Effective Date, the Debtor will abandon all of its
equity interests in, including all of the common stock of, Silicon Valley Bank (and all entities
and arrangements that are treated as a single entity with successor(s) to Silicon Valley Bank for
U.S. federal income tax purposes) and take a corresponding worthless stock deduction for U.S.
federal income tax and all applicable state and local tax purposes pursuant to a court order
permitting the Debtor to abandon such equity interests that the Debtor will request in advance of
the Effective Date.

       13.     14. Preservation of Retained Causes of Action

               Except as provided in the Plan, the Confirmation Order, or in any contract,
instrument, release or other agreement entered into or delivered in connection with the Plan, in
accordance with section 1123(b) of the Bankruptcy Code, the Liquidating Trust or NewCo, as
applicable, will retain and may enforce any Retained Causes of Action that the Estate may hold
against any Entity. The Liquidating Trust or NewCo, as applicable, may pursue any such
Retained Causes of Action in accordance with the Plan and the Liquidating Trust Agreement, as
applicable. The Debtor’s inclusion or failure to include or describe with sufficient specificity
any Retained Causes of Action in the Plan or in the Plan Supplement will not be deemed an
admission, denial or waiver of any Retained Causes of Action that the Debtor or the Estate may
hold. The Debtor intends to preserve all Retained Causes of Action. No preclusion doctrine,


                                                 -67-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 263 of 410



including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
waiver, estoppel (judicial, equitable or otherwise) or laches will apply to the Retained Causes of
Action upon or after entry of the Confirmation Order on the Effective Date of the Plan based on
the Plan or the Confirmation Order, including any argument of waiver on account of the failure
to include or describe with sufficient specificity any Retained Causes of Action in the Plan or in
the Plan Supplement.

D.     Provisions Regarding Governance of NewCo

       1.      Organizational Action

                On and after the Effective Date, the adoption, filing, approval, and ratification, as
necessary, of all corporate, or related actions contemplated hereby for NewCo will be deemed
authorized and approved in all respects. Without limiting the foregoing, such actions may
include: (i) the adoption of the NewCo Organizational Documents, (ii) the nomination, election,
or appointment, as the case may be, of officers, directors and managers for NewCo, (iii) the
issuance of the securities contemplated by the Plan or other Definitive Documents and (iv) the
Restructuring Transactions to be effectuated pursuant to the Plan and the RSA.

               Upon the occurrence of the Effective Date, all matters provided for in the Plan
involving the organizational structure of the Debtor or NewCo, or any corporate action required
by the Debtor or NewCo in connection with the Plan, will be deemed to have occurred in
accordance with the Restructuring Transactions Memorandum and will be in effect, without any
requirement of further action by the security holders or directors of the Debtor or NewCo or by
any other stakeholder or any other corporate action.

                On and after the Effective Date, the appropriate officers of NewCo and members
of the board of directors of NewCo are authorized and directed to issue, execute, deliver, file,
and record any and all agreements, documents, securities, deeds, bills of sale, conveyances,
releases, and instruments contemplated by the Plan in the name of and on behalf of NewCo and
to take such actions as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of the Plan.

       2.      NewCo Organizational Documents

                On the Effective Date, the NewCo Organizational Documents will be adopted
automatically by NewCo and its subsidiaries. On or promptly after the Effective Date, NewCo
and its subsidiaries may file their respective NewCo Organizational Documents and other
applicable agreements with the applicable Secretaries of State or other applicable authorities in
their respective states, provinces, or countries of incorporation or formation in accordance with
the corporate laws of the respective states, provinces, or countries of incorporation or formation.

                 After the Effective Date, NewCo and each of its subsidiaries may amend and
restate its limited liability company agreement, certificate of incorporation, limited partnership
agreement, and other formation and constituent documents as permitted by the laws of its
respective jurisdiction of formation and the terms of the NewCo Organizational Documents, as
applicable.



                                                 -68-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 264 of 410



                In addition, from and after the Effective Date, the NewCo Organizational
Documents will contain certain transfer restrictions in relation to the transfer of NewCo
Common Stock. Specifically, the NewCo Organizational Documents will provide that, without
the approval of the NewCo Board, (i) no Person will be permitted to acquire, whether directly or
indirectly, and whether in one transaction or a series of transactions, NewCo Common Stock, to
the extent that after giving effect to such purported acquisition the purported acquirer or any
other Person by reason of the purported acquirer'sacquirer’s acquisition would become a
Substantial Holder (as defined below) of any class of stock of NewCo; (ii) no Substantial Holder
may acquire, directly or indirectly, any shares of NewCo stock without the consent of a majority
of the NewCo Board; and (iii) no Substantial Holder may dispose, directly or indirectly, of any
shares of NewCo stock without the consent of a majority of the NewCo Board. A “Substantial
Holder” is a person that owns (as determined for applicable U.S. federal income tax purposes)
4.99 percent of any class of stock of NewCo, including any instrument treated as stock for the
applicable U.S. federal income tax purposes.

       3.      Shared Services Agreement

               Upon the Effective Date, NewCo and the Liquidating Trust may enter into a
Shared Services Agreement. The terms of the Shared Services Agreement (if any) will be
acceptable to each of the Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC.
Confirmation of the Plan will be deemed (a) approval of the Shared Services Agreement (if any),
and (b) authorization for NewCo and the Liquidating Trust to enter into and perform under the
Shared Services Agreement (if any).

       4.      Directors and Officers of NewCo

              On the Effective Date, the management, control and operation of NewCo will
become the general responsibility of the board of directors of NewCo or such other governing
body as provided in the NewCo Organizational Documents.

                On the Effective Date, the term of the Current Directors and other governing
bodies of the Debtor will be deemed to have resigned, such Current Directors will cease to hold
office or have any authority from or after such time, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization, or approval of any Person or Entity, and such Current Directors will
be replaced by the NewCo Board (or, if the reorganized Debtor is not governed by a board, will
be governed and managed as set forth in its applicable NewCo Organizational Documents).

              The classification and composition of the NewCo Board will be consistent with
applicable non-bankruptcy law and the terms of the NewCo Organizational Documents. In the
Plan Supplement, to the extent known, the Debtor will disclose, pursuant to section 1129(a)(5) of
the Bankruptcy Code, the identity and affiliations of the Persons proposed to serve on the
NewCo Board. The NewCo Board members will serve from and after the Effective Date in
accordance with applicable non-bankruptcy law and the terms of the NewCo Organizational
Documents.




                                                -69-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                         Pg 265 of 410



                Notwithstanding anything to the contrary contained in the Plan, confirmation of
the Plan will not discharge, impair or otherwise modify any advancement, indemnity or other
obligations arising under the D&O Insurance Policies. In addition, after the Effective Date, none
of the Debtor,neither the Liquidating Trust ornor NewCo will terminate or otherwise reduceall or
any portion of the coverage under the D&O Insurance Policies with respect to conduct occurring
prior to the Effective Date, and subject to and in accordance in all respects with the terms of the
D&O Liability Insurance Policies, all directors and officers of the Debtor who served in such
capacity at any time prior to the Effective Date will be entitled from the insurers to the full
benefits of any such policyD&O Liability Insurance Policy, if any, including any prepaid
extended reporting period, regardless of whether such directors and officers remain in such
positions after the Effective Date.

               As of the Effective Date, NewCo will be authorized to procure and maintain
directors’ and officers’ liability insurance policies for the benefit of its directors, officers,
members, trustees and managers in the ordinary course of business.

E.     Executory Contracts and Unexpired Leases

       1.      Assumption and Rejection of Executory Contracts and Unexpired Leases

                Except as otherwise provided herein, all Executory Contracts and Unexpired
Leases will be deemed automatically rejected as of the Effective Date in accordance with
sections 365 and 1123 of the Bankruptcy Code, other than (a) Executory Contracts or Unexpired
Leases that, as of the Effective Date, are the subject of a pending motion to assume, or for which
a notice of assumption has been filed pursuant to the assumption and assignment procedures
approved by the Bankruptcy Court, (b) any Executory Contract or Unexpired Leases listed in the
Schedule of Assumed Executory Contracts and Unexpired Leases, or (c) have been previously
assumed, assumed and assigned or rejected by the Debtor.

               Entry of the Confirmation Order by the Bankruptcy Court will constitute an order
approving the assumptions, assumption and assignment, or rejections, as applicable, of such
Executory Contracts and Unexpired Leases as set forth in the Plan, all pursuant to sections
365(a) and 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

                Executory Contracts and Unexpired Leases assumed pursuant to the Plan or by
Bankruptcy Court order will revest in and be fully enforceable by NewCo or the Liquidating
Trust in accordance with their terms, except as such terms may have been modified by the
Debtor and the applicable counterparty, or by order of the Bankruptcy Court. To the maximum
extent permitted by Law, the transactions contemplated by the Plan will not constitute a “change
of control” or “assignment” (or terms with similar effect) under any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan, or any other
transaction, event, or matter that would (a) result in a violation, breach or default under such
Executory Contract or Unexpired Lease, (b) increase, accelerate or otherwise alter any
obligations, rights or liabilities of the Debtor, the Liquidating Trust or NewCo, as applicable,
under such Executory Contract or Unexpired Lease, or (c) result in the creation or imposition of
a Lien upon any property or asset of the Debtor, the Liquidating Trust or NewCo, as applicable,
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance


                                                  -70-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 266 of 410



notice required under such Executory Contract or Unexpired Lease in connection with
assumption or assumption and assignment thereof will be deemed satisfied by Confirmation.
Any provision of any Executory Contract or Unexpired Lease assumed or assumed and assigned
pursuant to the Plan that requires (i) the consent or approval of one or more lessors or other
parties, or (ii) the payment of any fees or obligations, in order for the Debtor to pledge, grant,
sell, assign, or otherwise transfer any such Executory Contract or Unexpired Lease, or the
proceeds thereof, or other collateral related thereto, will be deemed to be inconsistent with the
applicable provisions of the Bankruptcy Code. Any such provisions of any such Executory
Contracts or Unexpired Leases will have no force and effect with respect to the pledge, grant,
sale, assignment, or other transfer thereof, or the proceeds thereof, or other collateral related
thereto, in accordance with the terms of the Plan.

               In connection with the transfer and vesting of any Debtor’s investments assets in
the Liquidating Trust (or any entity formed by the Liquidating Trust) or NewCo (or its
subsidiary), any related investment agreements, including shareholder and lockup agreements,
will be deemed assumed and assigned to the applicable transferee and deemed listed as an
Executory Contract on the Schedule of Assumed Executory Contracts and Unexpired Leases.

               The Debtor or the Liquidating Trust, as applicable, reserves the right to alter,
amend, modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired
Leases, including to add or remove any Executory Contracts and Unexpired Leases, at any time
up to and including forty-five (45) days after the Effective Date upon notice to the affected
counterparty.

       2.      Objections to and Cure of Defaults for Assumed Executory Contracts and
               Unexpired Leases

                 To the extent a monetary default exists under an Executory Contract or Unexpired
Lease proposed to be assumed or assumed and assigned pursuant to the Plan, such monetary
default will be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of
the applicable Cure Cost by the Debtor, NewCo or the Liquidating Trust, as applicable, on the
Effective Date or promptly thereafter, in the ordinary course of business, or on such other terms
as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

               Objections to the assumption of any Executory Contract or Unexpired Lease or
any applicable Cure Cost will be made in accordance with the Solicitation Procedures Order.

                Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan
or otherwise will result in the full release and satisfaction of any Claims held by the non-Debtor
Entity party thereto against, or defaults, including bankruptcy-related defaults, by, the Debtor
arising under any assumed Executory Contract or Unexpired Lease at any time prior to the
effective date of the assumption; provided, however, that the counterparty to such Executory
Contract or Unexpired Lease may seek additional amount(s) on account of any defaults occurring
between the filing of the notice of assumption and the occurrence of the Effective Date of the
Plan.




                                                -71-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 267 of 410



                Any Proofs of Claim filed with respect to an Executory Contract or Unexpired
Lease that has been assumed will be deemed disallowed and expunged, without further notice to
or action, order, or approval of the Bankruptcy Court.

       3.      Modifications, Amendments, Supplements, Restatements or Other
               Agreements

                Unless otherwise provided in the Plan, each Executory Contract or Unexpired
Lease that is assumed, assumed and assigned, or rejected will include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, including easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal and any other interests, unless any of the
foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

              Modifications, amendments, supplements, and restatements to prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtor during the
Chapter 11 Case will not be deemed to alter the prepetition nature of the Executory Contract or
Unexpired Lease, or the validity, priority or amount of any Claims or Interests that may arise in
connection therewith.

       4.      Reservation of Rights

                 Nothing contained in the Plan, nor the Debtor’s delivery of a notice of proposed
assumption of a contract or lease to the applicable contract and lease counterparties, will
constitute an admission by the Debtor that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any Debtor, NewCo or the Liquidating Trust would have
any liability thereunder.

               Notwithstanding any non-bankruptcy law to the contrary, the Debtor, NewCo or
the Liquidating Trust expressly reserves and does not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations on goods previously purchased, or services previously received, by the Debtor from
counterparties to rejected Executory Contracts or Unexpired Leases.

F.     Provisions Governing Distributions

       1.      Distribution Agents

                 The Debtor, in its reasonable discretion (with the consent of the UCC and the
Required Ad Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or
delayed), or, after the Effective Date, the Liquidating Trust (and, with respect to the distribution
of NewCo Common Stock, NewCo), in their respective sole discretion, will have the authority,
to enter into agreements with one or more Distribution Agents to facilitate the distributions
required hereunder. To the extent the Debtor or the Liquidating Trust, as applicable, determines
to utilize a Distribution Agent to facilitate any distributions, such Distribution Agent would first
be required to: (i) affirm its obligation to facilitate the prompt distribution of any documents,
(ii) affirm its obligation to facilitate the prompt distribution of any recoveries or distributions


                                                 -72-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 268 of 410



required under the Plan and (iii) waive any right or ability to set off, deduct from or assert any
Lien or other encumbrance against the distributions required under the Plan to be distributed by
such Distribution Agent.

                Notwithstanding any provision in the Plan to the contrary, distributions to the
Holders of Senior Note Claims and Subordinated Note Claims will be made to or at the direction
of the respective Indenture Trustees, which will act as Distribution Agent (or direct the
Distribution Agent) for distributions to the Holders of Senior Note Claims and Subordinated
Note Claims, respectively, in accordance with the Plan and the applicable Indentures.

                The Debtor or the Liquidating Trust, as applicable, may pay to the Distribution
Agents all of their reasonable and documented fees and expenses without the need for any
approvals, authorizations, actions or consents of the Bankruptcy Court or otherwise. At the
request of counsel to the Debtor or the Liquidating Trust, as applicable, Distribution Agents will
submit detailed invoices to counsel to the Debtor or the Liquidating Trust for all fees and
expenses for which the Distribution Agents seek reimbursement, and the Debtor or the
Liquidating Trust, as applicable, will pay those amounts that it, in its sole discretion, deems
reasonable, and will object in writing to those fees and expenses, if any, that the Debtor or the
Liquidating Trust, as applicable, deem to be unreasonable. In the event that the Debtor or the
Liquidating Trust, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Distribution Agent’s invoice, the Debtor or the Liquidating Trust, as applicable,
and such Distribution Agent will endeavor, in good faith, to reach mutual agreement on the
amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtor or the Liquidating Trust, as applicable, and a Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party will be authorized to move to have
such dispute heard by the Bankruptcy Court.

               (a)     Powers of the Distribution Agent

                 The Distribution Agent will be empowered to: (i) effect all actions and execute
all agreements, instruments and other documents necessary to perform its duties under the Plan,
(ii) make all distributions contemplated hereby, (iii) employ professionals to represent it with
respect to its responsibilities and (iv) exercise such other powers as may be vested in the
Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Distribution Agent to be necessary and proper to implement the provisions hereof.

       2.      Timing and Delivery of Distributions

               (a)     Timing

               Except as otherwise expressly provided herein, distributions to be made under the
Plan will be made on (i) the later of (a) the Effective Date and (b) the date that a Claim or
Interest becomes an Allowed Claim or Interest, or (ii) such other date that is determined by the
Debtor (with the consent of the UCC and the Required Ad Hoc Senior Noteholder Parties, not to
be unreasonably withheld, conditioned or delayed) or, after the Effective Date, the Liquidating
Trust, in accordance with the Plan. The Liquidating Trust may commence distributions to




                                                -73-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 269 of 410



beneficiaries of the Estate at any time after the Effective Date, subject to the terms of the Plan,
the Liquidating Trust Agreement and the Confirmation Order.

               (b)     De Minimis Distributions

                Notwithstanding any other provision of the Plan, neithernone of the Debtor, the
Liquidating Trust noror any Distribution Agent will have any obligation to make any
distributions under the Plan with a value of less than $50, unless a written request therefor is
received by the Distribution Agent from the relevant recipient within 120 days after the later of
(i) the Effective Date and (ii) the date such Claim or Interest becomes an Allowed Claim or
Interest. Such undistributed amounts will revert to the Debtor or the Liquidating Trust, as
applicable. Upon such reversion, the relevant Allowed Claim or Interest of less than $50 (and
any Claim or Interest on account of such de minimis distributions) will be automatically deemed
satisfied, discharged, and forever barred, notwithstanding any federal or state escheat laws to the
contrary. For the avoidance of doubt, Section 10.2.2 of the Plan will not apply to Distributions
to any Holder of an Allowed General Unsecured Claim who timely exercises itselects to receive
the GUC Cash-Out option.

               (c)     Record Date and Delivery of Distributions

                 Distributions will only be made to the record holders of Allowed Claims and
Interests as of the Confirmation Date (the “Distribution Record Date”). On the Confirmation
Date, the Claims Register and Stock Register will be closed and the Distribution Agent will be
authorized and entitled to recognize only those Holders of Claims and Interests listed on the
Claims Register and Stock Register as of the close of business on the Confirmation Date.
Notwithstanding the foregoing, if a Claim or Interest is transferred twenty (20) or fewer days
before the Confirmation Date, the Distribution Agent, at the direction of the Debtor or, after the
Effective Date, the Liquidating Trust, will make distributions to the transferee (rather than the
transferor) only to the extent practical, and, in any event, only if the relevant transfer form
contains an unconditional and explicit certification and waiver of any objection to the transfer by
the transferor. The Distribution Record Date will not apply to publicly held securities deposited
with DTC and, in connection with any Distribution under the Plan to be effected through the
facilities of DTC (whether by means of book-entry exchange, free delivery, or otherwise), the
Debtor, NewCo or the Liquidating Trust, as applicable, will be entitled to recognize and deal for
all purposes under the Plan with Holders of Claims and Interests in each Class to the extent
consistent with the customary practices of DTC used in connection with such distributions.

                 If any dispute arises as to the identity of a Holder of an Allowed Claim or Interest
that is entitled to receive a distribution pursuant to the Plan, the Distribution Agent may, in lieu
of making such distribution to such Entity, make the distribution into an escrow account until the
disposition thereof is determined by Final Order or by written agreement among the interested
parties to such dispute. Distributions made after the Confirmation Date to Holders of Disputed
Claims or Interests that are not Allowed Claims or Interests as of the Confirmation Date, but
which later become Allowed Claims or Interests, will be deemed to have been made on the
Confirmation Date.




                                                 -74-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 270 of 410



                Except as otherwise provided herein, the Distribution Agent, at the direction of
the Debtor or the Liquidating Trust, as applicable, will make all Distributions required under the
Plan to Holders of Allowed Claims or Interests. Except as otherwise provided herein, and
notwithstanding any authority to the contrary, Distributions to Holders of Allowed Claims or
Interests will be made to Holders of record as of the Confirmation Date by the Distribution
Agent, as appropriate: (i) to the signatory set forth on any Proof of Claim filed by such Holder or
other representative identified therein (or at the last known address of such Holder if no Proof of
Claim is filed or if the Debtor, the Liquidating Trust or the Distribution Agent have been notified
in writing of a change of address) or (ii) at the address set forth in any written notice of change of
address delivered to the Notice and Claims Agent. The Distribution Agent and the Notice and
Claims Agent will not incur any liability whatsoever on account of the delivery of any
Distributions under the Plan.

       3.      Manner of Payment Under the Plan

               (a)     Cash Payments

                At the Distribution Agent’s option, any Cash payment may be made by check,
wire transfer or any other customary payment method.

               (b)     Notes Distribution

                As applicable, the Indenture Trustees may transfer or direct the transfer of such
Distributions directly through the facilities of DTC (whether by means of book-entry exchange,
free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the
Plan with the respective Holders of such Claims to the extent consistent with the customary
practices of DTC.

                For the avoidance of doubt, DTC will be considered a single Holder with respect
to Distributions made on account of the Senior Note Claims and Subordinated Note Claims. The
Indenture Trustees will have no duties, responsibilities, or liability relating to any form of
Distribution that is not DTC eligible, provided that the Indenture Trustees will use commercially
reasonable efforts to cooperate with the Debtor, the Liquidating Trust, or NewCo, as applicable,
to the extent that a Distribution is not DTC eligible.

                 Notwithstanding anything to the contrary herein, such Distributions will be
subject in all respect to any rights of the Indenture Trustees to assert a charging lien against such
Distributions. All Distributions to be made to Holders of Senior Note Claims and Subordinated
Note Claims through DTC will be made eligible for Distributions through the facilities of DTC
and, for the avoidance of doubt, under no circumstances will the Indenture Trustees be
responsible for making or required to make any Distribution under the Plan to Holders of Senior
Note Claims and Subordinated Note Claims if such Distribution is not eligible to be distributed
through the facilities of DTC.

               Upon the final distribution on account of the Senior Note Claims or Subordinated
Note Claims, (i) the Senior Notes or Subordinated Notes, as applicable, will thereafter be
deemed to be worthless, and (ii) at the request of the respective Indenture Trustee, DTC will take
down the relevant position relating to the Senior Notes or Subordinated Notes, as applicable,


                                                 -75-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 271 of 410



without any requirement of indemnification or security on the part of the Debtor, the Liquidating
Trust, NewCo, or the Indenture Trustees.

               (c)     Allocation of Plan Distributions Between Principal and Interest

                 To the extent that any Claim entitled to a distribution under the Plan is based
upon any obligation or instrument that is treated for U.S. federal income tax purposes as
indebtedness of the Debtor and accrued but unpaid interest thereon, such distribution will be
allocated first to the principal amount of the Claim (as determined for federal income tax
purposes) and then, to the extent the consideration exceeds the principal amount of the Claim, to
accrued but unpaid interest.

               (d)     Compliance Matters

                In connection with the Plan, to the extent applicable, the Debtor, NewCo, the
Liquidating Trust and the Distribution Agent will comply with all Tax withholding and reporting
requirements imposed on them by any federal, state, local or foreign Tax law, and all
distributions pursuant hereto will be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Debtor, NewCo, the Liquidating
Trust and the Distribution Agent will be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including withholding in kind,
liquidating a portion of the distributions to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are
reasonable and appropriate. For purposes of the Plan, any withheld amount (or property) paid to
the applicable Tax Authority will be treated as if paid to the applicable claimant. The
Liquidating Trust reserves the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal
awards, liens and encumbrances. Distributions in full or partial satisfaction of Allowed Claims
will be allocated first to trust fund-type taxes, then to other taxes, and then to the principal
amount of Allowed Claims, with any excess allocated to unpaid interest that has accrued on such
Claims. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity
that receives a Distribution pursuant to the Plan will have responsibility for any Taxes imposed
by any Governmental Unit, including income, withholding, and other Taxes, on account of such
Distribution. Any party issuing any instrument or making any Distribution pursuant to the Plan
has the right, but not the obligation, not to make a Distribution until such holder has made
arrangements satisfactory to such issuing or disbursing party for payment of any such Tax
obligations and, if any party issuing any instrument or making any distribution under the Plan
fails to withhold with respect to any such holder’s distribution, and is later held liable for the
amount of such withholding, the holder will reimburse such party. The Distribution Agent may
require, as a condition to the receipt of a distribution, that the holder complete the appropriate
Form W-8 or Form W-9, as applicable to each holder. If the holder fails to comply with such a
request within one hundred and eighty (180) days after the request is made, the amount of such
Distribution will irrevocably revert to the Debtor or the Liquidating Trust and any Claim in
respect of such Distribution will be discharged and forever barred from assertion against the
Debtor, the Liquidating Trust or its respective property.



                                                -76-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 272 of 410



               (e)     Foreign Currency Exchange Rate

                Except as otherwise provided herein or in an order of the Bankruptcy Court, or as
agreed to by any Holder and either the Debtor (with the consent of the UCC and the Required Ad
Hoc Senior Noteholder Parties, not to be unreasonably withheld, conditioned or delayed) or, after
the Effective Date, the Liquidating Trust, any Claim or Interest asserted in a currency other than
U.S. dollars will be automatically deemed converted, as of the Effective Date, to the equivalent
U.S. dollar value using the exchange rate on the first Business Day prior to the Petition Date, as
quoted at 4:00 p.m. (New York time), at the mid-range spot rate of exchange for the applicable
foreign currency as published in The Wall Street Journal, National Edition, on the first Business
Day after the Petition Date; provided that instead of such automatic conversion, the Debtor may
instead elect, subject to the consent of the UCC and the Required Ad Hoc Senior Noteholder
Parties (not to be unreasonably withheld, conditioned or delayed) to make payments on account
of any such Claim or Interest pursuant to the Plan in the applicable foreign currency.

               (f)     Fractional Payments and Distributions

               Whenever the Plan would otherwise call for, with respect to a particular Entity,
payment of a fraction of a dollar, the actual payment will reflect a rounding of such fraction to
the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
Cash to be distributed under the Plan remain undistributed as a result of the aforementioned
rounding, such Cash will be treated as an Unclaimed Distribution.

               (g)     Fractional Shares or Units

                No fractional shares of NewCo Common Stock or fractional units of Liquidating
Trust Interest will be distributed under the Plan. When any distribution pursuant to the Plan on
account of an Allowed Claim or Interest would otherwise result in the issuance or delivery of a
number of shares of NewCo Common Stock or a number of units of Liquidating Trust Interest
that is not a whole number, the actual distribution of shares of NewCo Common Stock or units of
Liquidating Trust Interest will be rounded to the next lower whole number with no further
payment or other distribution therefor (i.e., no consideration will be provided in lieu of fractional
shares of NewCo Common Stock or fractional units of Liquidating Trust Interests that are
rounded down). The total number of shares of NewCo Common Stock or units of Liquidating
Trust Interest to be distributed to holders of Allowed Claims and Interests will be adjusted
downward as necessary to account for the rounding provided in Section 10.3.7 of the Plan. For
distribution purposes, including rounding, DTC will be treated as a single Holder.

       4.      Undeliverable Distributions

                If any distribution is returned as undeliverable, (i) the Debtor or the Liquidating
Trust, as applicable, may, but will not be required to, make reasonable efforts to determine the
address for such Holder and (ii) no further distribution to such Holder will be made unless and
until the Liquidating Trust or the Distribution Agent is notified in writing of the then-current
address of such Holder, at which time such distribution will be made to such Holder not less than
30 days thereafter. Undeliverable distributions will remain in the possession of the Liquidating
Trust or the Distribution Agent until such time as such distribution becomes deliverable or such



                                                 -77-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 273 of 410



distribution reverts to the Liquidating Trust, or is canceled pursuant to Section 10.5 of the Plan,
and will not be supplemented with any interest, dividends or other accruals of any kind.

       5.      Reversion

                Any distribution under the Plan that is an Unclaimed Distribution for a period of
six months thereafter, will be deemed unclaimed property under section 347(b) of the
Bankruptcy Code, and such Unclaimed Distribution will revest in the Liquidating Trust;
provided, however, that any Unclaimed Distributions consisting of NewCo Common Stock shall,
after such six month period, promptly be transferred to NewCo, without any further notice to,
action, order or approval of the Bankruptcy Court or by any other Entity. Upon such revesting or
such transfer, the Claim or Interest of any Holder or its successors and assigns with respect to
such property will be canceled, discharged and forever barred, notwithstanding any applicable
federal or state escheat, abandoned, or unclaimed property laws to the contrary. The provisions
of the Plan regarding undeliverable distributions and Unclaimed Distributions will apply with
equal force to distributions that are issued by the Liquidating Trust, NewCo or the Distribution
Agent made pursuant to any indenture or Certificate, notwithstanding any provision in such
indenture or Certificate to the contrary and notwithstanding any otherwise applicable federal or
state escheat, abandoned or unclaimed property law.

       6.      Claims or Interests Paid by Third Parties

               No distributions under the Plan will be made on account of an Allowed Claim that
is payable under one of the Debtor’s Insurance Policies until the Holder of such Allowed Claim
has exhausted all remedies with respect to such Insurance Policy.

               Except as otherwise provided in the Plan, payments to Holders of Claims covered
by an Insurance Policy and otherwise payable under the Plan will be made from the proceeds of
such Insurance Policy in accordance with the provisions of any such applicable Insurance Policy.
Nothing contained in the Plan will constitute or be deemed a waiver of any Cause of Action that
the Debtor or any Entity may hold against any other Entity, including Insurers, nor will anything
contained herein constitute or be deemed a waiver by such insurers of any rights or defenses,
including coverage defenses, held by Insurers.

                To the extent a Creditor receives a payment on account of a Claim from a party
that is not the Debtor, the Liquidating Trust, NewCo or a Distribution Agent on account of such
Claim, the Debtor or the Liquidating Trust, as applicable, will be authorized to reduce, for the
purposes of Distribution, the Allowed amount of such Claim by the amount of the third-party
payment, and such Claim will be disallowed or deemed satisfied, as applicable, to the extent of
such third-party payment without an objection having to be filed, but subject to the filing of a
notice with the Bankruptcy Court and service of such notice on any affected Creditor. Any
Creditor that receives full or partial payment on account of such Claim from an Entity that is not
the Debtor, the Liquidating Trust, NewCo or a Distribution Agent will provide notice of the date
and amount of such payment to the Debtor or, after the Effective Date, the Liquidating Trust and
NewCo within five (5) Business Days of receipt of such payment. Such Creditor will repay
and/or return to the Debtor or, after the Effective Date, the Liquidating Trust or NewCo any




                                                 -78-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 274 of 410



Distribution received on account of the portion of its Claim that was satisfied by such third-party
payment within thirty (30) days.

       7.      Setoffs

                Except as otherwise provided herein, a Final Order of the Bankruptcy Court, or as
agreed to by the Holder and the Liquidating Trust or NewCo, each as applicable, pursuant to the
Bankruptcy Code (including section 553 thereof), applicable non-bankruptcy law, or such terms
as may be agreed to by the Holder and the Liquidating Trust or NewCo, as applicable, the
Liquidating Trust or NewCo, as applicable, may, without any further notice to, or action, order or
approval of the Bankruptcy Court, set off against any Allowed Claim or Interest and the
distributions to be made on account of such Allowed Claim or Interest (before any distribution is
made on account of such Allowed Claim or Interest), any claim, right and Cause of Action of any
nature that the Liquidating Trust or NewCo, as applicable, may hold against the Holder of such
Allowed Claim or Interest, to the extent such claim, right or Cause of Action against such Holder
has not been otherwise compromised or settled on or prior to the Effective Date (whether
pursuant to the Plan or otherwise); provided that neither the failure to effect such a setoff nor the
allowance of any Claim or Interest pursuant to the Plan will constitute a waiver or release by the
Debtor, the Liquidating Trust or NewCo, as applicable, of any such Claims or Interests, rights
and Causes of Action that the Debtor or the Liquidating Trust may possess against or in such
Holder. In no event will any Person or Entity be entitled to set off any Claim or Interest against
any Claim or Interest, right, or Cause of Action of the Debtor, the Liquidating Trust or NewCo,
as applicable, in any judicial or administrative proceeding, unless such Person or Entity has filed
a Proof of Claim in this Chapter 11 Case preserving such setoff and a Final Order of the
Bankruptcy Court has been entered, authorizing and approving such setoff.

       8.      No Postpetition Interest on Claims

                Unless otherwise specifically provided for in the Plan or the Confirmation Order,
required by applicable law, or agreed to by the Debtor or, after the Effective Date, the
Liquidating Trust or NewCo, as applicable, no Holder of a Claim or Interest against the Debtor
will be entitled to interest accruing on or after the Petition Date with respect to such Claim or
Interest, notwithstanding any dispute or other delay with respect to any distribution. For the
avoidance of doubt, the foregoing does not apply to any interest accretion on the Liquidating
Trust Interests provided under the Plan.

       9.      No Payment Over the Full Amount; Single Satisfaction

                In no event will a Holder of a Claim or Interest receive more than the full payment
of such Claim or Interest. To the extent any Holder has received payment in full with respect to
a Claim or Interest, such Claim or Interest will be expunged without an objection to such Claim
or Interest having been filed and without any further notice to or action, order or approval of the
Bankruptcy Court.




                                                 -79-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 275 of 410



G.     Settlement, Release, Injunction and Related Plan Provisions

       1.      Vesting of Assets

                Except as otherwise provided in the Plan or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or in the Confirmation Order, upon the
Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all property of the
Debtor will vest in NewCo or its subsidiaries or the Liquidating Trust (or entities to be formed
by the Liquidating Trust), as applicable, in accordance with the Plan and the Restructuring
Transactions Memorandum, free and clear of all Claims, Liens, encumbrances, charges and
Interests. All Liens, Claims, encumbrances, charges and Interests will be deemed fully released
and discharged as of the Effective Date, except as otherwise provided in the Plan or the
Confirmation Order. Except as otherwise provided in the Plan or the Confirmation Order, as of
the Effective Date, each of NewCo and the Liquidating Trust may, as applicable, operate its
businesses and may use, acquire, and dispose of property and the Liquidating Trust may settle
and compromise Claims and Interests, in each case without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code, the Bankruptcy Rules, and
the Local Rules and in all respects as if there were no pending cases under any chapter or
provision of the Bankruptcy Code with respect to the Debtor.

                The transfer of information to the Liquidating Trust will not result in the
destruction or waiver of any applicable work product, attorney-client, or other applicable
privilege (the “Privileges”). Further, with respect to any Privileges: (i) Privileges are transferred
to the Liquidating Trust to the extent necessary to enable the Liquidating Trust Board to perform
its duties to administer the Liquidating Trust and for no other reason, (ii) such Privileges will be
preserved and not waived (except as the Liquidating Trust Board may affirmatively elect to
waive such Privileges), and (iii) no information subject to a Privilege will be publicly disclosed
by the Liquidating Trust or communicated to any Person not entitled to receive such information
or in a manner that would diminish the protected status of any such information, except
following a waiver of such Privilege pursuant to (ii) above or pursuant to the specific terms of
the Plan and the Confirmation Order and the Liquidating Trust Agreement.

       2.      Compromise and Settlement of Claims and Controversies

                Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019, and in consideration for the distributions, releases and other benefits provided
pursuant to the Plan, upon the Effective Date, the provisions of the Plan will constitute a
good-faith compromise of all Claims, Interests, Causes of Action and controversies relating to
the contractual, legal and subordination rights that a Holder of an Allowed Claim or Interest may
have against the Debtor, or any distribution to be made on account of such an Allowed Claim or
Interest. The entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of
the compromise or settlement of all such Claims, Interests or controversies and the Bankruptcy
Court’s finding that such compromise or settlement is in the best interests of the Debtor and its
Estate and is fair, equitable and reasonable. In accordance with the provisions of the Plan,
pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019(a),
without any further notice or action, order or approval of the Bankruptcy Court, after the



                                                 -80-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 276 of 410



Effective Date, the Liquidating Trust may compromise and settle Claims against it and Causes of
Action against other entities.

       3.      Subordinated Claims

                 The allowance, classification and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Plan take into account, conform to, and
satisfy the relative priority and rights of the Claims and Interests in each Class in connection with
any contractual, legal and equitable subordination rights relating thereto; provided, however, that
the Debtor and the Liquidating Trust reserve the right to reclassify or modify the treatment of any
Allowed Claim or Interest in accordance with any contractual, legal, or equitable subordination
relating thereto, unless otherwise provided in a settlement agreement concerning such Allowed
Claim or Interest. For the avoidance of doubt, the Distributions to the Holders of Subordinated
Note Claims under the Plan are in settlement and compromise of any contractual, legal and
equitable subordination rights relating to such Subordinated Note Claims, and all claims to
turnover, release or payment of such Distributions are expressly waived hereby.

       4.      Release of Liens

                 Except as otherwise provided in the Plan, or in any contract, instrument, release or
other agreement or document created pursuant to the Plan or the Confirmation Order, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and,
in the case of a Secured Claim, indefeasible payment and satisfaction in full in cash of the
portion of the Secured Claim that is Allowed as of the Effective Date in accordance with the
Plan, all mortgages, deeds of trust, Liens, pledges or other security interests against any property
of the Estate will be fully released, settled, discharged and compromised, and all rights, titles and
interests of any holder of such mortgages, deeds of trust, Liens, pledges or other security
interests against any property of the Estate will revert to the Debtor and its successors and
assigns, in each case, without any further approval of the Bankruptcy Court and without any
action or filing being required to be made by the Debtor. The Debtor, or after the Effective Date,
the Liquidating Trust will be authorized to file any necessary or desirable documents to evidence
such release in the name of the party secured by such pre-Effective Date mortgages, deeds of
trust, Liens, pledges or other security interests. The presentation or filing of the Confirmation
Order to or with any federal, state, provincial, or local agency, records office, or department will
constitute good and sufficient evidence of, but will not be required to effect, the termination of
such Liens.

       5.      Discharge

                Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan or the Restructuring Transactions Memorandum, the
Confirmation Order or in any contract, instrument, or other agreement or document created
pursuant to the Plan or the Confirmation Order, the distributions, rights, and treatments that are
provided in the Plan or the Confirmation Order shallwill be in complete satisfaction, discharge,
and release, effective as of the Effective Date, of Claims against, Interests in, and Causes of
Action against the Debtor, NewCo and the Liquidating Trust of any nature whatsoever, including
any interest accrued on Claims or Interests from and after the Petition Date, whether known or


                                                 -81-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 277 of 410



unknown, against Liabilities of, Liens on, obligations of, rights against, and interests in, the
Debtor or any of its assets or properties, regardless of whether any property shallwill have been
distributed or retained pursuant to the Plan and the Confirmation Order on account of such
Claims or Interests, including demands, Liabilities and Causes of Action that arose before the
Effective Date, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in
sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case, whether or not (1) a
Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of
the Bankruptcy Code, (2) a Claim or Interest based upon such debt, right, or Interest is Allowed
pursuant to section 502 of the Bankruptcy Code, or (3) the Holder of such a Claim or Interest has
accepted the Plan. Any default or “event of default” by the Debtor or Affiliates with respect to
any Claim or Interest that existed immediately before or on account of the filing of the chapter 11
cases shallwill be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shallwill be a judicial determination of the discharge of all Claims against,
Causes of Action against, and Interests in the Debtor, NewCo or the Liquidating Trust, subject to
the occurrence of the Effective Date.

       6.      Term of Injunction or Stays

               Unless otherwise provided herein, any injunction or stay arising under or entered
during the Chapter 11 Case under section 105 or 362 of the Bankruptcy Code or otherwise that is
in existence on the Confirmation Date (excluding any injunctions or stays contained in the Plan
or the Confirmation Order) will remain in full force and effect until the later of the Effective
Date and the date indicated in the order providing for such injunction or stay. All injunctions or
stays contained in the Plan or the Confirmation Order will remain in full force and effect in
accordance with their terms.

       7.      Release by the Debtor

               For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case and the implementation of the transactions contemplated by the Plan,
on and after the Effective Date, each of the Released Parties including the Debtor Released
Parties but excluding each other Related Party of the Debtor will be conclusively,
absolutely, unconditionally, irrevocably, fully, finally, forever, and permanently released
and discharged by the Debtor, NewCo, the Liquidating Trust and the Debtor’s Estate,
including any successor and assign to the Debtor, NewCo, the Liquidating Trust or any
Estate representative, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other Entities who may purport to assert any
Claim or Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, from all claims, obligations, rights, suits, damages, causes of action,
remedies and liabilities whatsoever, including any derivative claims, in each case asserted
or assertable on behalf of the Debtor, NewCo or the Liquidating Trust, and their respective
successors, assigns, and representatives, or that any Entity or party claiming under or
through the Debtor or its Estate, whether known or unknown, foreseen or unforeseen,
liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in law, at
equity or otherwise, whether for indemnification, tort, contract, violations of federal or


                                                -82-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                       Pg 278 of 410



state securities laws or otherwise, including those that any of the Debtor, NewCo, the
Liquidating Trust or the Debtor’s Estate would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the holderHolder of any
Claim or Interest or any other PersonEntity, based on or relating to, or in any manner
arising from, in whole or in part, the Debtor, NewCo, the Liquidating Trust, the Estate, the
conduct of the businesses of the Debtor, the Chapter 11 Case, the purchase, sale or
rescission of the purchase or sale of any security of the Debtor, NewCo or the Liquidating
Trust, the release or discharge of any mortgage, lien or security interest, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the
Plan, the administration of Claims and Interests prior to or during the Chapter 11 Case,
the negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the RSA (and each prior version thereof), the Plan, any
plan supplement, any disclosure statement or, in each case, related agreements,
instruments or other documents, any action or omission with respect to intercompany
claims and intercompany settlements, any action or omission as an officer, director, agent,
representative, fiduciary, controlling Person, member, manager, affiliate or responsible
party, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date of the Plan, other than claims or
liabilities arising out of or relating to any act or omission of such Released Party to the
extent such act or omission is determined by a final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud, or a criminal
act. Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any obligations arising on or after the Effective Date of any party or Entity
under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the
Plan.

                Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the Debtor Releases in Section 12.7 of the
Plan, which includes by reference each of the related provisions and definitions contained
in the Plan and, further, will constitute the Bankruptcy Court’s finding that the Debtor
Release in Section 12.7 of the Plan is: (a) given in exchange for good and valuable
consideration provided by the applicable Released Parties, including the applicable
Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (b) a good-faith settlement and compromise of the Claims released
by the Debtor Release; (c) in the best interests of the Debtor and all Holders of Claims and
Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and
opportunity for hearing; (f) a bar to the assertion by the Debtor, NewCo, the Liquidating
Trust, or the Debtor’s Estate of any claim or Cause of Action of any kind whatsoever
released pursuant to the Debtor Release; (g) essential to the Confirmation of the Plan; and
(h) a prudent exercise of the Debtor’s business judgment.

               Notwithstanding the foregoing, nothing contained in Section 12.7 of the Plan
will be deemed to release any Retained Causes of Action, including any Claims and Causes
of Action against any Debtor Related Parties other than those Debtor Related Parties
identified on Exhibit [•] to the Plan.



                                             -83-
23-10367-mg    Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                      Pg 279 of 410



       8.     Exculpation

               Upon entry of the Confirmation Order, each of the Exculpated Parties will
be deemed to have acted in “good faith” within the meaning of section 1125(e) of the
Bankruptcy Code and in compliance with the applicable provisions of the Bankruptcy
Code and in a manner consistent with the Disclosure Statement, the Plan, the Bankruptcy
Code, the Bankruptcy Rules, and all other applicable rules, laws, and regulations in
connection with all of their respective activities relating to support and consummation of
the Plan, including the negotiation, execution, delivery, and performance of the RSA and
are entitled to the protections of section 1125(e) of the Bankruptcy Code and all other
applicable protections and rights provided in the Plan. Without limiting the generality of
the foregoing, upon entry of the Confirmation Order, the Debtor and its directors, officers,
employees, attorneys, investment bankers, financial advisors, restructuring advisors and
other professional advisors, representatives and agents will be deemed to have solicited
acceptances of the Plan in good faith and in compliance with the applicable provisions of
the Bankruptcy Code, including section 1125(e) of the Bankruptcy Code and any
applicable non-bankruptcy law, rule or regulation governing the adequacy of disclosure in
connection with the solicitation.

                As of the Effective Date, to the fullest extent permissible under any
applicable laws and without affecting, expanding or limiting the releases contained in
Section 12 of the Plan, and except as otherwise provided herein, the Exculpated Parties will
neither have nor incur any liability arising on or after the Petition Date to any Entity for
any act or omission in connection with, relating to or arising out of (i) this Chapter 11
Case; (ii) the formulation, negotiation, preparation, dissemination, implementation,
administration, confirmation and/or consummation of the RSA (and each prior version
thereof), any disclosure statement, the Plan, any plan supplement, and any related
contract, instrument, release or other agreement or document created or entered into in
connection therewith (including the solicitation of votes for the Plan or other actions taken
in furtherance of confirmation or consummation of the Plan, including the issuance of any
securities under or in connection with the Plan) or in connection with any other obligations
arising under the Plan or the obligations assumed hereunder; or (iii) the settlement of
Claims or renegotiation of Executory Contracts or Unexpired Leases, other than liability
resulting from any act or omission that is determined by final order in a court of competent
jurisdiction to have constituted gross negligence, willful misconduct, fraud or a criminal
act. In all respects, such Entities will be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan; provided,
however, that nothing in the Plan or Confirmation Order will relieve the Exculpated
Parties from their obligations under postpetition transactions, agreements or instruments
that have not been expressly canceled by the Plan.

               Notwithstanding the foregoing, nothing contained in Section 12.8 of the Plan
will be deemed to exculpate any party from liability with respect to any Retained Causes of
Action or other Claims or Causes of Action related to actions or inactions occurring prior
to the Petition Date, including any Claims and Causes of Action against any Debtor




                                             -84-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                       Pg 280 of 410



Related Parties other than those Debtor Related Parties identified on Exhibit [•] to the
Plan.

       9.     Voluntary Release by Holders of Claims and Interests

                 For good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate the administration of
the Chapter 11 Case, the implementation of the reorganization contemplated by the Plan,
the release of mortgages, liens and security interests on property of the Estate, and
distributions made pursuant to the Plan, on and after the Effective Date, to the fullest
extent permitted by applicable law, the Releasing Parties (regardless of whether a
Releasing Party is a Released Party), in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may
purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for,
or because of the foregoing Entities, will be deemed to conclusively, absolutely,
unconditionally, irrevocably and forever release, waive and discharge the Released Parties
of any and all claims, obligations, rights, suits, damages, causes of action, remedies and
liabilities whatsoever, including any derivative claims asserted or assertable on behalf of
the Debtor, NewCo or the Liquidating Trust and any of its or their successors, assigns, and
representatives, whether known or unknown, foreseen or unforeseen, liquidated or
unliquidated, contingent or fixed, existing or hereafter arising, in law, at equity or
otherwise, whether for indemnification, tort, contract, violations of federal or state
securities laws or otherwise, including, those that any of the Debtor, NewCo, the
Liquidating Trust or the Estate would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the holder of any Claim or Interest or
any other Person, based on or relating to, or in any manner arising from, in whole or in
part, the Debtor, NewCo, the Liquidating Trust, the Estate, the conduct of the businesses
of the Debtor, this Chapter 11 Case, the purchase, sale or rescission of the purchase or sale
of any security of the Debtor, NewCo or the Liquidating Trust, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
administration of Claims and Interests prior to or during this Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, implementation, administration,
confirmation and/or effectuation of the RSA (and each prior version thereof), the Plan, any
plan supplement, any disclosure statement or, in each case, related agreements,
instruments or other documents, any action or omission with respect to intercompany
claims or intercompany settlements, any action or omission as an officer, director, agent,
representative, fiduciary, controlling Person, member, manager, affiliate or responsible
party, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date of the Plan, other than claims or
liabilities arising out of or relating to any act or omission of a Released Party to the extent
such act or omission is determined by a final order in a court of competent jurisdiction to
have constituted gross negligence, willful misconduct, fraud, or a criminal act.

               Notwithstanding anything to the contrary in the foregoing, the releases set
forth above do not constitute a release by the Debtor of any of its Related Parties other
than the Debtor Released Parties nor will they release any obligations arising on or after
the Effective Date of any party or Entity under the Plan, any Restructuring Transaction,


                                              -85-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                       Pg 281 of 410



or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan as set forth in the Plan.

               Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the releases set forth in Section 12.9 of the
Plan, which includes by reference each of the related provisions and definitions contained
in the Plan, and, further, will constitute the Bankruptcy Court’s finding that the releases
set forth in Section 12.9 of the Plan is: (a) consensual; (b) essential to the Confirmation of
the Plan; (c) given in exchange for the good and valuable consideration provided by the
Released Parties, including the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing the Plan; (d) a good faith settlement and
compromise of the Claims released pursuant to Section 12.9 of the Plan; (e) in the best
interests of the Debtor and its Estate; (f) fair, equitable, and reasonable; (g) given and
made after due notice and opportunity for hearing; and (h) a bar to any of the Releasing
Parties asserting any Claim or Cause of Action of any kind whatsoever released pursuant
to Section 12.9 of the Plan.

              For the avoidance of doubt, notwithstanding anything to the contrary in
Section 12.9 of the Plan, the releases set forth above will not release the rights of Holders of
Allowed Claims to receive the treatment of their Claims as provided in the Plan and
otherwise to enforce the terms of the Plan, all of which rights are fully preserved.

       10.    Injunction

                Except as otherwise specifically provided in the Plan or the Confirmation
Order, all Persons or Entities who have held, hold or may hold (i) Claims or Interests that
arose prior to the Effective Date, (ii) Causes of Action that have been released pursuant to
Sections 12.7 and 12.9 of the Plan or are subject to exculpation pursuant to Section 12.8 of
the Plan (but only to the extent of the exculpation provided in Section 12.8 of the Plan), or
(iii) Claims, Interests or Causes of Action that are otherwise discharged, satisfied, stayed,
or terminated pursuant to the terms of the Plan and all other parties-in-interest seeking to
enforce such Claims, Interests or Causes of Action are permanently enjoined, from and
after the Effective Date, from (a) commencing or continuing in any manner any action or
other proceeding of any kind with respect to any such Claim (including a Section 510(b)
Claim) against or such Interest in the Debtor, NewCo or the Liquidating Trust, or
property of the Debtor, NewCo or the Liquidating Trust, other than to enforce any right to
a distribution pursuant to the Plan, (b) the enforcement, attachment, collection or recovery
by any manner or means of any judgment, award, decree or order against the Debtor,
NewCo or the Liquidating Trust or property of the Debtor, NewCo or the Liquidating
Trust with respect to any such Claim or Interest, other than to enforce any right to a
distribution pursuant to the Plan, (c) creating, perfecting or enforcing any Lien or
encumbrance of any kind against the Debtor, NewCo or the Liquidating Trust, or against
the property or interests in property of the Debtor, NewCo or the Liquidating Trust with
respect to any such Claim or Interest, other than to enforce any right to a distribution
pursuant to the Plan, or (d) asserting any right of setoff (except for setoffs validly exercised
prepetition) or subrogation of any kind against any obligation due from the Debtor,
NewCo or the Liquidating Trust, or against the property or interests in property of the


                                              -86-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                       Pg 282 of 410



Debtor, NewCo or the Liquidating Trust, with respect to any such Claim or Interest. Such
injunction will extend to any successors or assignees of the Debtor, NewCo or the
Liquidating Trust and their respective properties and interests in properties.

                With respect to claims or Causes of Action that have not been released,
discharged, or are not subject to exculpation, no Person or Entity may commence or
pursue a claim or Cause of Action of any kind against the Debtor, NewCo, the Liquidating
Trust, any Exculpated Party, or any Released Party that relates to any act or omission
occurring from the Petition Date to the Effective Date in connection with, relating to, or
arising out of, in whole or in part, the Chapter 11 Case (including the filing and
administration thereof), the Debtor, the governance, management, transactions, ownership,
or operation of the Debtor, the purchase, sale, exchange, issuance, termination, repayment,
extension, amendment, or rescission of any debt instrument or security of the Debtor,
NewCo, or the Liquidating Trust, the subject matter of, or the transactions or events giving
rise to any Claim or Interest that is treated in the Plan, the business or contractual or other
arrangements or other interactions between any Releasing Party and any Released Party
or Exculpated Party, the restructuring of any Claim or Interest before or during the
Chapter 11 Case, any other in- or out-of-court restructuring efforts of the Debtor; any
intercompany transactions, any Restructuring Transaction, the RSA, the formulation,
preparation, dissemination, negotiation, or filing of the RSA and the Definitive Documents,
or any other contract, instrument, release, or other agreement or document created or
entered into in connection with the Disclosure Statement, the Plan, or any of the other
Definitive Documents, the pursuit of Confirmation, the administration and implementation
of the Plan, including the issuance of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement (including, for the avoidance of
doubt, providing any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the
reliance by any Exculpated Party on the Plan or the Confirmation Order in lieu of such
legal opinion), without the Bankruptcy Court (a) first determining, after notice and a
hearing, that such Claim or Cause of Action represents a colorable Claim and
(b) specifically authorizing such Person or Entity to bring such Claim or Cause of Action.
To the extent the Bankruptcy Court would have jurisdiction over such colorable Claim or
Cause of Action, the Bankruptcy Court will have sole and exclusive jurisdiction to
adjudicate such underlying Claim or Cause of Action should it permit such Claim or Cause
of Action to proceed.

       11.    Scope of Releases

               Each Person providing releases under the Plan, including the Debtor,
NewCo, the Liquidating Trust, the Debtor’s Estate and the Releasing Parties, will be
deemed to have granted the releases set forth in the Plan notwithstanding that such Person
may hereafter discover facts in addition to, or different from, those which it now knows or
believes to be true, and without regard to the subsequent discovery or existence of such
different or additional facts, and such Person expressly waives any and all rights that it
may have under any statute or common law principle which would limit the effect of such




                                              -87-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02         Main Document
                                       Pg 283 of 410



releases to those claims or causes of action actually known or suspected to exist at the time
of execution of such release.

               For the avoidance of doubt, nothing herein, including the releases, waivers,
and exculpations provided in Sections 12.7–12.9 of the Plan, will constitute a release,
waiver, discharge, or limitation of any kind of (i) any Retained Causes of Action, including
any Claims or Causes of Action against Debtor Related Parties other than those Debtor
Related Parties identified on Exhibit [•] to the Plan or (ii) any rights, liabilities, or
obligations arising under the Plan or any other agreement, document or instrument
executed in connection with the Plan.

               Notwithstanding any language to the contrary contained in this Disclosure
Statement, the Plan or the Confirmation Order, no provision of the Plan will (i) preclude
the SEC from enforcing its police or regulatory powers or (ii) enjoin, limit, impair or delay
the SEC from commencing or continuing any claims, causes of action, proceeding or
investigations against any non-Debtor (other than NewCo or the Liquidating Trust) in any
forum; provided that the foregoing sentence does not (x) limit the scope of discharge
granted to the Debtor, NewCo or the Liquidating Trust under sections 524 and 1141 of the
Bankruptcy Code or (y) diminish the scope of any exculpation to which any party is
entitled under section 1125(e) of the Bankruptcy Code.

               As to any Specified Governmental Unit, nothing in the Plan or the
Confirmation Order limits or expands the scope of discharge, release or injunction to
which the Debtor, NewCo or the Liquidating Trust are entitled to under the Bankruptcy
Code, if any. The discharge, release, and injunction provisions contained in the Plan and
the Confirmation Order are not intended and should not be construed to bar any Specified
Governmental Unit from, subsequent to the entry of the Confirmation Order, pursuing
any police or regulatory action (except to the extent the applicable Bar Date bars the
Specified Governmental Unit from pursuing prepetition Claims).

                Notwithstanding anything contained in the Plan or the Confirmation Order
to the contrary, nothing in the Plan or the Confirmation Order will discharge, release,
impair or otherwise preclude: (1) any liability to any Specified Governmental Unit that is
not a “claim” within the meaning of section 101(5) of the Bankruptcy Code; (2) any Claim
of any Specified Governmental Unit arising on or after the Effective Date; (3) any valid
right of setoff or recoupment of any Specified Governmental Unit against the Debtor; or
(4) any liability of the Debtor, NewCo or the Liquidating Trust under police or regulatory
statutes or regulations to any Specified Governmental Unit as the owner, lessor, lessee or
operator of property that such Person or Entity owns, operates or leases after the
Confirmation Date. Nor will anything in the Confirmation Order or the Plan: (i) enjoin or
otherwise bar any Specified Governmental Unit from asserting or enforcing, outside the
Bankruptcy Court, any liability described in the preceding sentence; or (ii) divest any
court, commission, or tribunal of jurisdiction to determine whether any liabilities asserted
by any Specified Governmental Unit are discharged or otherwise barred by the
Confirmation Order, the Plan or the Bankruptcy Code.




                                             -88-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 284 of 410



                Moreover, nothing in the Confirmation Order or the Plan will release or
exculpate any non-Debtor, including any Released Parties and/or Exculpated Parties but
excluding the Debtor, NewCo or the Liquidating Trust, from any liability to any Specified
Governmental Unit, including but not limited to any liabilities arising under the IRC, the
environmental laws, or the criminal laws, nor will anything in the Confirmation Order or
the Plan enjoin any Specified Governmental Unit from bringing any claim, suit, action or
other proceeding against any non-Debtor (other than NewCo or the Liquidating Trust) for
any liability whatsoever; provided that the foregoing sentence will not (x) limit the scope of
discharge granted to the Debtor, NewCo or the Liquidating Trust under sections 524 and
1141 of the Bankruptcy Code or (y) diminish the scope of any exculpation to which any
party is entitled under section 1125(e) of the Bankruptcy Code.

               Nothing contained in the Plan or the Confirmation Order will be deemed to
determine the tax liability of any Person or Entity, including but not limited to the Debtor,
NewCo or the Liquidating Trust, nor will the Plan or the Confirmation Order be deemed
to have determined the federal tax treatment of any item, distribution or entity, including
the federal tax consequences of this Plan, nor will any language in the Plan or the
Confirmation Order be deemed to expressly expand or diminish the jurisdiction of the
Bankruptcy Court to make determinations as to federal tax liability and federal tax
treatment under the Bankruptcy Code and 28 U.S.C. §§ 157, 1334.

       12.     Preservation of Causes of Action

                Except as expressly provided in Section 12 of the Plan or the Confirmation Order,
nothing contained in the Plan or the Confirmation Order will be deemed to be a waiver or
relinquishment of any rights or Causes of Action that the Debtor, NewCo or the Liquidating
Trust may have or that the Debtor, NewCo or the Liquidating Trust, as applicable, may choose to
assert on behalf of the Estate under any provision of the Bankruptcy Code or any applicable
non-bankruptcy law, including (i) any and all Causes of Action or Claims against any Person or
Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or claim for
setoff that seeks affirmative relief against the Debtor, NewCo or the Liquidating Trust, and in
each case, its officers, directors or representatives or (ii) the turnover of any property of the
Estate to the Debtor, NewCo or the Liquidating Trust.

                No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement or the Disclosure Statement to any Cause of Action against them as any indication
that the Debtor, NewCo or the Liquidating Trust, as applicable, will not pursue any and all
available Causes of Action against them. The Debtor, NewCo or the Liquidating Trust expressly
reserves all rights to prosecute any and all Causes of Action against any Entity, except as
otherwise expressly provided herein.

                Except as set forth in Section 12 of the Plan or the Confirmation Order, nothing
contained in the Plan or the Confirmation Order will be deemed to be a waiver or relinquishment
of any rights or Causes of Action that the Debtor had immediately prior to the Petition Date or
the Effective Date against or regarding any Claim or Interest left Unimpaired by the Plan. The
Liquidating Trust will have, retain, reserve, and be entitled to assert all such rights and Causes of
Action, including any actions specifically enumerated in the Schedule of Retained Causes of


                                                 -89-
23-10367-mg         Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 285 of 410



Action, as fully as if the Chapter 11 Case had not been commenced, and all of the Liquidating
Trust’s legal and equitable rights respecting any Claim or Interest left Unimpaired by the Plan
may be asserted after the Confirmation Date to the same extent as if the Chapter 11 Case had not
been commenced.

               Except as set forth in Section 12 of the Plan or the Confirmation Order, nothing
contained in the Plan or the Confirmation Order will be deemed to release any post-Effective
Date obligations of any party under the Plan, or any document, instrument or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan.

                Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised or settled in the Plan, including pursuant to Section 12 of the
Plan or a Final Order, the Liquidating Trust expressly reserves all Causes of Action for later
adjudication and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise),
or laches will apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or occurrence of the Effective Date.

H.     Conditions Precedent

               The following are conditions precedent to the occurrence of the Effective Date,
each of which must be satisfied on or prior to the Effective Date or waived in accordance with
Section 13.2 of the Plan:

               i.       The RSA shall not have been terminated, and shall remain in full force
                        and effect, and no event or occurrence shall have occurred that, with the
                        passage of time or the giving of notice, would give rise to the right of the
                        Required Ad Hoc Senior Noteholder Parties or the UCC to terminate the
                        RSA;

               ii.      All Definitive Documents for the Restructuring Transactions contemplated
                        by the RSA to be executed and delivered on or before the Effective Date
                        shall have been executed and delivered and remain in full force and effect;

               iii.     The Bankruptcy Court shall have entered the Confirmation Order which
                        shall be a Final Order;

               iv.      The Debtor shall have filed the final version of the Plan, including all of
                        the schedules, documents, and exhibits contained therein, and the Plan
                        Supplement in a manner consistent in all material respects with the RSA
                        and the Plan;

               v.       The Debtor shall have obtained all applicable authorizations, consents,
                        regulatory approvals, rulings, or documents that are necessary to
                        implement and effectuate the Plan (and all applicable waiting periods have
                        expired);




                                                 -90-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 286 of 410



               vi.     The Debtor shall have implemented the Restructuring Transactions and all
                       other transactions contemplated in the RSA (subject to, and in accordance
                       with, the consent rights set forth therein) and the Plan to be implemented
                       on or before the Effective Date;

               vii.    No governmental entity or federal or state court of competent jurisdiction
                       has enacted, issued, promulgated, enforced or entered any law or order
                       (whether temporary, preliminary or permanent), in any case which is in
                       effect and which prevents or prohibits consummation of the Plan, and no
                       governmental entity has instituted any action or proceeding (which
                       remains pending at what would otherwise be the Effective Date) seeking
                       to enjoin, restrain or otherwise prohibit consummation of the transactions
                       contemplated by the Plan;

               viii.   All Ad Hoc Noteholder Group Expenses, Senior Note Trustee Expenses
                       and Subordinated Note Trustee Expenses have been paid in full in Cash as
                       provided in the RSA;

               ix.     All professional fees and expenses of retained professionals required to be
                       approved by the Bankruptcy Court shall have been paid in full or amounts
                       sufficient to pay such fees and expenses in full after the Effective Date
                       shall have been placed in a professional fee escrow account as set forth in,
                       and in accordance with, the Plan; and

               x.      All Claims asserted by the IRS or any other Tax Authority shall have been
                       resolved in a manner acceptable to the Required Ad Hoc Senior
                       Noteholder Parties and the UCC or estimated by the Bankruptcy Court for
                       the purpose of Plan distributions at an amount acceptable to the Required
                       Ad Hoc Senior Noteholder Parties and the UCC.

                Except as set forth in the Plan and the RSA, the Debtor, with the prior written
consent (e-mail being sufficient) of the Required Ad Hoc Senior Noteholder Parties and the
UCC, may waive any of the conditions set forth in Section 13.1 of the Plan at any time, without
any notice to any other parties-in-interest or the Bankruptcy Court and without any formal action
other than proceeding to confirm and/or consummate the Plan. The failure of the Debtor to
exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
such right shall be deemed an ongoing right, which may be asserted at any time.

                                    ARTICLE V.ARTICLE V

        STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN

                The requirements for Confirmation of the Plan pursuant to section 1129 of the
Bankruptcy Code include: (i) the Plan is accepted by all Impaired Classes of Claims or Interests,
or if rejected by an Impaired Class, the Plan “does not discriminate unfairly” and is “fair and
equitable” as to the rejecting Impaired Class; (ii) the Plan is feasible; and (iii) the Plan is in the
“best interests” of Holders of Claims or Interests.



                                                  -91-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 287 of 410



                At the Confirmation Hearing, the Bankruptcy Court will determine whether the
Plan satisfies all of the requirements of section 1129 of the Bankruptcy Code. The Debtor
believes that: (i) the Plan satisfies, or will satisfy, all of the necessary statutory requirements of
chapter 11 for plan confirmation; (ii) the Debtor has complied, or will have complied, with all of
the necessary requirements of chapter 11 for plan confirmation; and (iii) the Plan has been
proposed in good faith.

              The following is a brief summary of the process of the Confirmation of the Plan.
Holders of Claims and Interests are encouraged to review the relevant provisions of the
Bankruptcy Code and/or consult their own attorneys.

A.     The Confirmation Hearing

                Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after
notice, to hold a hearing at which the Debtor will seek confirmation of the Plan. Section 1128(b)
of the Bankruptcy Code provides that any party-in-interest may object to the Confirmation of the
Plan.

          THE CONFIRMATION HEARING IS SCHEDULED TO BE HELD ON
MAYJUNE [725], 2024 AT [10]:00 A.M. EASTERN TIME, BEFORE THE HONORABLE
MARTIN GLENN, CHIEF UNITED STATES BANKRUPTCY JUDGE. THE
CONFIRMATION HEARING MAY BE ADJOURNED FROM TIME TO TIME BY THE
BANKRUPTCY COURT OR THE DEBTOR WITHOUT FURTHER NOTICE OTHER
THAN BY ANNOUNCEMENT IN OPEN COURT AND/OR NOTICE(S) OF
ADJOURNMENT FILED ON THE DOCKET WITH THE BANKRUPTCY COURT’S
PERMISSION.

           OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE FILED
WITH THE BANKRUPTCY COURT AND SERVED ON THE APPLICABLE PARTIES
SO AS TO BE ACTUALLY RECEIVED ON OR BEFORE 4:00 P.M. EASTERN TIME
ON APRILJUNE [3018], 2024 IN ACCORDANCE WITH THE SOLICITATION
PROCEDURES ORDER. UNLESS OBJECTIONS TO CONFIRMATION ARE TIMELY
SERVED AND FILED IN COMPLIANCE WITH THE SOLICITATION PROCEDURES
ORDER, THEY WILL NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

B.     Confirmation Standards

                To confirm the Plan, the Bankruptcy Court must find that the requirements of
section 1129 of the Bankruptcy Code have been satisfied. The Debtor believes that section 1129
has been satisfied because, among other things:

               a.      the Plan complies with the applicable provisions of the Bankruptcy Code;

               b.      the Debtor, as plan proponent, has complied with the applicable provisions
                       of the Bankruptcy Code;




                                                 -92-
23-10367-mg        Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 288 of 410



              c.       the Plan has been proposed in good faith and not by any means forbidden
                       by law;

              d.       any payment made or promised under the Plan for services or for costs and
                       expenses in or in connection with this Chapter 11 Case, or in connection
                       with the Plan and incident to this Chapter 11 Case, has been approved by,
                       or is subject to the approval of, the Bankruptcy Court as reasonable;

              e.       with respect to each Class of Impaired Claims or Interests, each Holder of
                       a Claim or Interest in such Class has either accepted the Plan or will
                       receive or retain under the Plan on account of such Claim or Interest
                       property of a value, as of the Effective Date of the Plan, that is not less
                       than the amount that such Holder would receive or retain if the Debtor was
                       liquidated on such date under chapter 7 of the Bankruptcy Code (see
                       Article V.CBest Interests Test);

              f.       each Class of Claims or Interests has either accepted the Plan or is not
                       Impaired under the Plan, or the Plan can be confirmed without the
                       approval of such class pursuant to section 1129(b) of the Bankruptcy
                       Code;

              g.       except to the extent that the Holder of a certain Claim under section 3.1.1
                       of the Plan has agreed or will agree to a different treatment of such Claim,
                       the Plan provides that Allowed Administrative Expense Claims will be
                       paid in full in Cash on the Effective Date;

              h.       except to the extent that a holder of an Allowed Other Priority Claim has
                       agreed to a different treatment of such Claim, each such Holder will
                       receive Cash in an amount equal to the Allowed amount of such Claim, or
                       treatment in any other manner so that such Claim will otherwise be
                       rendered Unimpaired, (a) on the Effective Date or as soon as reasonably
                       practicable thereafter; (b) if an Other Priority Claim is Allowed after the
                       Effective Date, on the date such Other Priority Claim is Allowed or as
                       soon as reasonably practicable thereafter; (c) at such time and upon such
                       terms as may be agreed upon by such Holder and the Debtor or (d) at such
                       time and upon such terms as set forth in an order of the Bankruptcy Court;

              i.       except to the extent that the applicable Holder of an Allowed Priority Tax
                       Claim has been paid by the Debtor before the Effective Date, or such
                       Holder agrees to less favorable treatment, each Holder of an Allowed
                       Priority Tax Claim shallwill receive, on account of such Allowed Priority
                       Tax Claim, at the option of the Debtor or, after the Effective Date, the
                       Liquidating Trust (i) payment in full in Cash made (a) on or as soon as
                       reasonably practicable after the Effective Date or (b) on the date such
                       payment is due in the ordinary course of business, (ii) regular installment
                       payments in accordance with section 1129(a)(9)(C) of the Bankruptcy
                       Code, or (iii) such other amounts and in such other manner as may be


                                                -93-
23-10367-mg         Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 289 of 410



                        determined by the Bankruptcy Court to provide the Holder of such
                        Allowed Priority Tax Claim deferred Cash payments having a value, as of
                        the Effective Date, equal to such Allowed Priority Tax Claim;

               j.       at least one Class of Impaired Claims will accept the Plan, determined
                        without including any acceptance of the Plan by any insider holding a
                        Claim of that Class;

               k.       Confirmation of the Plan is not likely to be followed by the liquidation, or
                        the need for further financial reorganization, of the Debtor or any
                        successor to the Debtor under the Plan, unless such liquidation or
                        reorganization is proposed in the Plan (see Article V.DFinancial
                        Feasibility); and

               l.       all fees payable under section 1930 of title 28 of the United States Code
                        will be paid as of the Effective Date of the Plan.

C.     Best Interests Test

       1.      Explanation of the Best Interests Test

                 Pursuant to section 1129(a)(7) of the Bankruptcy Code, Confirmation of the Plan
requires that, with respect to each Class of Impaired Claims or Interests, each Holder of a Claim
or Interest in such Class either (a) accepts the Plan or (b) receives or retains under the Plan, on
account of such Claim or Interest, property of a value, as of the Effective Date, that is not less
than the amount that such Holder would receive or retain if the Debtor was liquidated on such
date under chapter 7 of the Bankruptcy Code (this latter clause is known as the “Best Interests
Test”).

                To determine the probable distribution to Holders of Claims and Interests in each
Impaired Class if the Debtor was liquidated under chapter 7 of the Bankruptcy Code, the
Bankruptcy Court must determine the dollar amount that would be generated from the
liquidation of the Debtor’s assets and properties in the context of a chapter 7 liquidation.

                The Debtor’s chapter 7 liquidation value would consist primarily of the cash held
by the Debtor at the time of the conversion to a chapter 7 liquidation, the proceeds resulting from
the sale of the Debtor’s remaining assets and properties by a chapter 7 trustee and Causes of
Action other than those that are expressly waived, relinquished, exculpated, released,
compromised or settled. The gross cash proceeds available for distribution would be reduced by
the costs and expenses of the chapter 7 liquidation and any additional Administrative Expense
Claims that might arise as a result of the chapter 7 cases. Costs and expenses incurred as a result
of the chapter 7 liquidation would include, among other things, the fees payable to a trustee in
bankruptcy and the fees payable to attorneys and other professionals engaged by such trustee.
Additional Administrative Expense Claims could arise by reason of, among other things, the
breach or rejection of obligations incurred and leases and executory contracts assumed or entered
into by the Debtor during the pendency of the Chapter 11 Case. Such Administrative Expense
Claims and any other Administrative Expense Claims that might arise in a liquidation case or



                                                 -94-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                              Pg 290 of 410



result from this Chapter 11 Case, such as compensation for attorneys, financial advisors and
accountants, would be paid in full from the liquidation proceeds before the balance of those
proceeds would be made available to pay prepetition Claims.

                To determine if the Plan is in the best interests of each Impaired Class, the value
of the distributions from the proceeds of a chapter 7 liquidation of the Debtor’s assets and
properties, after subtracting the amounts attributable to the costs, expenses and Administrative
Expense Claims associated with a chapter 7 liquidation, must be compared with the value
offered to such Impaired Classes under the Plan. If the hypothetical chapter 7 liquidation
distribution to Holders of Claims or Interests in any non-consenting Impaired Class is greater
than the distributions to be received by such parties under the Plan, then the Plan is not in the
best interests of the Holders of Claims or Interests in such Impaired Class.

         2.       The Debtor’s Liquidation Analysis

                Amounts that a Holder of Claims and Interests in Impaired Classes would receive
in a hypothetical chapter 7 liquidation are discussed in the liquidation analysis of the Debtor
prepared by the Debtor’s management with the assistance of their restructuring advisors, and
attached to this Disclosure Statement as Appendix B (the “Liquidation Analysis”).20

               As described in the Liquidation Analysis, underlying this analysis is the extensive
use of estimates and assumptions that, although considered reasonable by the Debtor’s
management, are inherently subject to significant business, economic and competitive
uncertainties and contingencies beyond the Debtor’s control. The Liquidation Analysis is based
on assumptions with regard to liquidation decisions that are subject to change. Actual results
may vary materially from the estimates and projections set forth in the Liquidation Analysis.

               The Liquidation Analysis was developed solely for purposes of the formulation
and negotiation of the Plan and to enable Holders of Claims or Interests entitled to vote under the
Plan to make an informed judgment about the Plan, and should not be used or relied upon for any
other purpose, including the purchase or sale of securities of, or Claims or Interests in, the
Debtor or any of its affiliates.

                Events and circumstances subsequent to the date on which the Liquidation
Analysis was prepared may be different from those assumed, or alternatively, may have been
unanticipated, and thus the occurrence of these events may affect financial results in a materially
adverse or materially beneficial manner. The Debtor does not intend and does not undertake any
obligation to update or otherwise revise the Liquidation Analysis to reflect events or
circumstances existing or arising after the date the Liquidation Analysis is initially filed or to
reflect the occurrence of unanticipated events. Therefore, the Liquidation Analysis may not be
relied upon as a guarantee or other assurance of actual future results.




20
     [NTD: Liquidation analysis to be included in an updated version of the Disclosure Statement filed in advance of
     the Disclosure Statement hearing.]



                                                        -95-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 291 of 410



               In deciding whether to vote to accept or reject the Plan, Holders of Claims or
Interests must make their own determinations as to the reasonableness of any assumptions
underlying the Liquidation Analysis and the reliability of the Liquidation Analysis.

       3.      Application of the Best Interests Test to the Liquidation Analysis of the
               Debtor

                Notwithstanding the difficulties in quantifying with precision the recoveries to
Holders of Claims and Interests, the Debtor believes that, based on a comparison between the
recoveries under the Plan and the Liquidation Analysis, the Debtor’s proposed Plan satisfies the
requirements of the Best Interests Test. [As the Plan and the Liquidation Analysis indicate,
Confirmation of the Plan will provide each Holder of an Allowed Claim or Interest in an
Impaired Class with a recovery that is equal to or greater than the value of distributions to
Holders in such Class if the Chapter 11 Case was converted to a case under chapter 7 of the
Bankruptcy Code. Under the Plan, Holders of Allowed Administrative Expense Claims, Priority
Tax Claims, Other Secured Claims and Other Priority Claims will receive payment in full on
their Claims on the Effective Date or as soon thereafter as their Claims are Allowed. Thus, all
Holders of such Claims are in the same or better position under the Plan as they would be in a
liquidation under chapter 7. Similarly, Holders of Allowed Senior Note Claims and Other
General Unsecured Claims (other than such Holders that timely elect to participate inreceive the
GUC Cash-Out) will receive a combination of Liquidating Trust Interests and NewCo Common
Stock, with an estimated recovery that exceeds the projected recovery to Holders of such Claims
in a chapter 7 liquidation, as set forth in the Liquidation Analysis. Further, Holders of Allowed
Subordinated Note Claims and Preferred Equity Interests will also receive Liquidating Trust
Interests under the Plan, which will enable them to receive distributions from the Liquidating
Trust after the distribution preference (including, for the avoidance of doubt, any accretion
thereto) of the Class A Trust Units has been satisfied in full, and in the case of Holders of
Allowed Preferred Equity Interests, after the distribution preference (including, for the avoidance
of doubt, any accretion thereto) of the Class B Trust Units has also been satisfied in full. As
reflected in the Liquidation Analysis, the recovery to the Holders of such Claims and Interests is
the same or better than the recovery than it would be in a case under chapter 7. Finally, under
either the Plan or in a liquidation under chapter 7, Holders of Common Equity Interests are
expected to receive no recovery on account of their Interests, and accordingly, Holders of such
Common Equity Interests are in the same position as they would be in a case under chapter 7.

                Further, a chapter 7 liquidation would require the Debtor’s Estate to incur
additional costs and expenses, including fees payable to the chapter 7 trustee and fees that may
be payable to attorneys or other professionals retained by the chapter 7 trustee. Such costs and
expenses would be paid in full from the proceeds of the liquidation of the Debtor’s Estate in
chapter 7, if any, before the balance of those proceeds would be made available to Holders of
Allowed Claims and Interests.

                Finally, liquidating the Debtor’s Estate under chapter 7 would not provide a
timely distribution to Holders of Allowed Claims and Interests because of the potential added
time and expense incurred by the chapter 7 trustee and any retained professionals in familiarizing
themselves with the Debtor’s Estate.



                                                -96-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 292 of 410



                Accordingly, the Debtor believes that the Plan will allow the realization of greater
value for their respective Impaired Classes than a hypothetical liquidation.

D.     Financial Feasibility

               Section 1129(a)(11) of the Bankruptcy Code requires, as a condition to
confirmation of the Plan, that the Bankruptcy Court find that confirmation is not likely to be
followed by the liquidation of the Debtor or the need for further financial reorganization, unless
such liquidation or reorganization is contemplated by the Plan.

                To determine whether the Plan meets this feasibility requirement, the Debtor, with
the assistance of its advisors, has analyzed its ability to meet its obligations under the Plan. As
part of this analysis, the Debtor has prepared [projected consolidated balance sheet, income
statement, and statement of cash flows for NewCo and the Liquidating Trust] (the “NewCo
Financial Projections”) which, together with the assumptions on which they are based, are set
forth in Appendix D of this Disclosure Statement. As further described below in
Article V.G—MoffettNathanson Valuation and NewCo and Liquidating Trust Asset Overviews,
the Debtor’s advisors have also prepared valuation analysis for NewCo and the Liquidating
Trust, include a projected balance sheet for the Liquidating Trust. Creditors and other interested
parties should review Article IX—Certain Risk Factors to be Considered Prior to Voting for a
discussion of certain factors that may affect the future financial performance of NewCo and the
Liquidating Trust.

               Based upon the Financial Projections, the Debtor believes that NewCo will be a
viable operation following the Chapter 11 Case, that NewCo and the Liquidating Trust will be
able to make all payments required under the Plan, and that the Plan will meet the feasibility
requirements of the Bankruptcy Code.

E.     Acceptance by Impaired Classes

                Except as described in Article V.F—Confirmation Without Acceptance by All
Impaired Classes, the Bankruptcy Code requires, as a condition to confirmation of the Plan, that
each Impaired Class accept the Plan. A class of claims that is unimpaired under the Plan is
conclusively presumed to have accepted the Plan and, therefore, solicitation of acceptances with
respect to such class is not required. Under section 1124 of the Bankruptcy Code, a class is
impaired under a plan unless (a) the plan leaves unaltered the legal, equitable, and contractual
rights to which such claim or interest entitles the holder thereof or (b) notwithstanding any legal
right to an accelerated payment of such claim or interest, the plan cures all existing defaults
(other than defaults resulting from the occurrence of events of bankruptcy) and reinstates the
maturity of such claim or interest as it existed before the default.

                Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by an
impaired class of claims as acceptance by holders of at least two-thirds in dollar amount and
more than one-half in number of claims in that class; only those holders that actually vote to
accept or reject the plan are counted for purposes of determining whether these dollar and
number thresholds are met. Under section 1126(d) of the Bankruptcy Code, a class of interests
will have voted to accept the plan only if two-thirds in amount of the interests that actually vote



                                                 -97-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 293 of 410



to accept or reject the plan cast their ballots in favor of acceptance. Holders of claims or
interests who fail to vote are deemed neither to accept nor to reject the plan.

                In addition to these voting requirements, section 1129 of the Bankruptcy Code
requires that a plan be accepted by each Holder of a claim or interest in an impaired class or that
the plan otherwise be found by a court to be in the best interests of each Holder of a claim or
interest in such class. See Article V.C—Best Interests Test. Moreover, each impaired class must
accept the plan for the plan to be confirmed without application of the “fair and equitable” and
“unfair discrimination” tests set forth in section 1129(b) of the Bankruptcy Code discussed
below. See Article V.F—Confirmation Without Acceptance by All Impaired Classes below.

F.     Confirmation Without Acceptance by All Impaired Classes

                Section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm
the Plan, provided that the Plan has been accepted by at least one Impaired Class of creditors.
Notwithstanding the failure of an Impaired Class to accept the Plan, the Plan will be confirmed
in a procedure commonly known as cram-down, so long as the Plan does not “discriminate
unfairly” and is “fair and equitable,” for the purposes of the Bankruptcy Code, with respect to
each Class of Claims or Interests that is Impaired under, and has not accepted, the Plan.
Pursuant to Section 6.5 of the Plan, the Debtor reserves the right to seek confirmation under
section 1129(b) of the Bankruptcy Code if necessary.

       1.      Unfair Discrimination

                The Plan does not “discriminate unfairly” for the purposes of section 1129 of the
Bankruptcy Code if the Plan gives substantially equivalent treatment to each Class of equal rank;
in determining whether a plan discriminates unfairly, courts take into account a number of
factors, including the effect of applicable subordination agreements between parties.

       2.      Fair and Equitable

                 The “fair and equitable” test applies to Classes of different priority and status and
includes the general requirement that no Class of Claims or Interests receive more than 100
percent of the amount of the Allowed Claims or Interests in the Class. As to the dissenting Class,
the test sets different standards depending upon the type of Claims or Interests in the Class.

              The condition that the Plan be fair and equitable includes the following
requirements as applicable:

               a.      with respect to a non-accepting Class of Secured Claims, that: (i) the
                       Holders of such Secured Claims retain the Liens securing such Claims to
                       the extent of the Allowed amount of the Secured Claims, whether the
                       property subject to the liens is retained by the Debtor or transferred to
                       another entity under the Plan, (ii) each Holder of a Secured Claim in the
                       Class receives deferred cash payments totaling at least the Allowed
                       amount of such Claim with a present value, as of the Effective Date, at
                       least equivalent to the value of such Secured Claim Holder’s interest in the
                       Debtor’s property subject to the Liens, or (iii) the property securing the


                                                 -98-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 294 of 410



                       Secured Claim is sold free and clear of Liens with such Liens to attach to
                       the proceeds of the sale, and such Liens on proceeds to receive treatment
                       consistent with clause (i) or (ii) above;

               b.      with respect to a non-accepting Class of General Unsecured Claims, that
                       either: (i) the Plan provide that each Claim Holder in such Class receive
                       or retain, on account of such Claim, property of a value, as of the Effective
                       Date, equal to the Allowed amount of such Claim or (ii) no Holder of any
                       Claim or Interest that is junior to the Claims or Interests of such Class
                       receive or retain any property under the Plan on account of such junior
                       Claim or Interest; and

               c.      with respect to a non-accepting Class of Interests, that either: (i) the Plan
                       provide that each Holder of an Interest in such Class receive or retain
                       under the Plan, on account of such Interest, property of a value, as of the
                       Effective Date, equal to the greater of: (1) the Allowed amount of any
                       fixed liquidation preference to which such Holder is entitled; (2) any fixed
                       redemption price to which such Holder is entitled or (3) the value of such
                       Interest or (ii) if the Class does not receive property in the amount required
                       under (i), no Class of Interests junior to the non-accepting Class receive a
                       distribution under the Plan.

       3.      Confirmation of the Plan Pursuant to Section 1129(b)

                 The Debtor may seek Confirmation of the Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any Impaired Class presumed to reject the Plan, and reserves
the right to do so with respect to any other rejecting Class of Claims, and/or modify the Plan
subject to the consent rights set forth in the RSA. Section 1129(a)(10) of the Bankruptcy Code
shall be satisfied for purposes of confirmation of the Plan by the acceptance of the Plan by at
least one Class that is Impaired under the Plan.

               The Debtor submits that the Plan does not “discriminate unfairly” for the
purposes of section 1129(b) of the Bankruptcy Code. The Debtor believes that, under the Plan,
all impaired Classes of Claims and Interests are treated in a manner that is consistent with the
treatment of other Classes of Claims and Interests that are similarly situated, if any, and no class
of Claims or Interests will receive payments or property with an aggregate value greater than the
aggregate value of the Allowed Claims or Allowed Interests in such Class. Accordingly, the
Debtor believes that the Plan does not discriminate unfairly as to any impaired Class of Claims
or Interests.

                The Debtor submits that the Plan is “fair and equitable” for the purposes of
section 1129(b) of the Bankruptcy Code because, as set forth above and in the Plan, the Holders
of Claims in Classes 5 (Preferred Equity Interests), 6 (Common Equity Interests), 7
(Section 510(b) Claims) and 8 (Intercompany Claims and Intercompany Interests) may not
receive a distribution equal to the Allowed amount of their Claims or Interests, as applicable, but




                                                 -99-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                              Pg 295 of 410



no Holders of Claims or Interests junior to these Classes will receive a distribution under the
Plan on account of such junior Claims or Interests.

                 Therefore, the requirements of section 1129(b) of the Bankruptcy Code would be
satisfied in the event that the Debtor is required to cram down.

G.       MoffettNathanson Valuation and NewCo and Liquidating Trust Asset Overviews

                  [•]21

               The Debtor’s advisors have prepared an analysis of the projected assets of NewCo
and the Liquidating Trust as of June 30, 2024 (under the headings “NewCo Value Overview”
and “Liquidating Trust Assets”, respectively, which is attached to this Disclosure Statement as
Appendix F. In addition to the projections with respect to NewCo and Liquidating Trust Assets,
the Debtor’s investment banker, Centerview, has prepared an independent valuation analysis
with respect to the value of MoffettNathanson LLC, which is included in Appendix F under the
heading “MoffettNathanson Valuation Analysis” (the “Valuation Analysis”). The Valuation
Analysis should be considered in conjunction with the Risk Factors discussed in
Article IX–Certain Risk Factors to be Considered Prior to Voting, and the Financial Projections.
Holders of Claims and Interests should carefully review the information in Appendix F in its
entirety.

H.       Classification

                 The Bankruptcy Code requires that, for purposes of treatment and voting, a
chapter 11 plan divides the different claims (excluding administrative claims and certain other
categories of claims) against, and equity interests in, a debtor into separate classes based upon
their legal nature. Pursuant to section 1122 of the Bankruptcy Code, a plan may place a claim or
an interest in a particular class only if such claim or interest is substantially similar to the other
claims or interests of such class. The Debtor believes that the Plan classifies all Claims and
Interests in compliance with the provisions of the Bankruptcy Code because valid business,
factual and legal reasons exist for separately classifying the various Classes of Claims and
Interests created under the Plan. Accordingly, the classification of Claims and Interests in the
Plan complies with section 1122 of the Bankruptcy Code.

                                        ARTICLE VI.ARTICLE VI

                                         VOTING PROCEDURES

                 On [•], the Bankruptcy Court entered an order, among other things, approving this
Disclosure Statement, approving procedures for soliciting votes on the Plan, approving the form
of the solicitation documents and various other notices, setting the Voting Record Date (as
defined below), the Voting Deadline, the Release Election Deadline (as defined below) and the
date of the Confirmation Hearing and establishing the relevant objection deadlines and

21
     [NTD: Valuation description to be included in an updated version of the Disclosure Statement filed with the
     Court in advance of the Disclosure Statement hearing..]



                                                        -100-
23-10367-mg           Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                                 Pg 296 of 410



procedures associated with Confirmation of the Plan, including the proposed assumption or
assumption and assignment of certain of the Debtor’s Executory Contracts and Unexpired Leases
(the “Solicitation Procedures Order”).2229

                If you are entitled to vote to accept or reject the Plan, a Ballot is enclosed for the
purpose of voting on the Plan and make any other elections or representations required pursuant
to the Plan. To ensure your vote is counted, you must complete, date, sign, and promptly mail
the Ballot enclosed with the notice to the Solicitation Agent or complete your Ballot using the
online portal maintained by the Solicitation Agent, or if you are a Beneficial Holder of Claims or
Interests in Classes 3(a), 4 or 5 who has received a Beneficial Holder Ballot, you must return the
Beneficial Holder Ballot to your Nominee, in each case indicating your decision to accept or
reject the Plan in the boxes provided.

               As described in Error! Reference source not found.—Error! Reference source
not found. Article IV.G—Settlement, Release, Injunction and Related Plan Provisions herein
and Section 12 of the Plan, Holders of Claims or Interests that vote to accept the Plan will be
deemed to have expressly, unconditionally, generally, individually, and collectively released and
discharged all claims and causes of action against the Released Parties.

                 The Ballot and Election Forms contain an election for a Holder who rejects the
Plan, a Holder abstaining from voting on the Plan, or a Holder deemed to accept the Plan, to opt
out of the third-party releases contained in Section 12.9 of the Plan. All Holders of Claims or
Interests (i) that vote to reject the Plan or (ii) that abstain from voting on the Plan, and do not
affirmatively opt out of the third-party releases provided by the Plan by checking the box on the
applicable Ballot indicating that they opt not to grant the third-party releases provided in the Plan
will be deemed to have expressly, unconditionally, generally, individually, and collectively
released and discharged all claims and causes of action against the Released Parties. Holders of
Claims or Interests deemed to accept the Plan and who do not affirmatively opt out of the
third-party releases provided by the Plan by checking the box on the applicable notice of
non-voting status indicating that they opt out of the third-party releases provided in the Plan will
be deemed to have expressly, unconditionally, generally, individually, and collectively released
and discharged all claims and causes of action against the Released Parties.

                Holders of Class 3(b) Other General Unsecured Claims may elect to receive the
GUC Cash-Out in an amount equal to 45% of the lesser of (a) the Allowed amount of such
Claim and (b) $11,000,000. To the extent an Other General Unsecured Claim exceeds
$11,000,000, the Holder of such Claim electing to receive the GUC Cash-Out agrees to reduce
such Claim to $11,000,000; provided, however, that an Other General Unsecured Claim
originally Allowed in an amount in excess of $11,000,000 may not be sub-divided into multiple
claims of $11,000,000 or less and receive the GUC Cash-Out; provided further, that a Holder’s
GUC Cash-Out election may not be modified, withdrawn or provided at a later date. A Holder’s
election as set forth on its Ballot shall be binding. In making the GUC Cash-Out election, the
applicable Holder acknowledges that by electing to receive the GUC Cash-Out, such Holder’s


2229
       Capitalized terms in this Article VI not otherwise defined in this Disclosure Statement or the Plan will have the
       meanings ascribed to them in the Solicitation Procedures Order.



                                                            -101-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 297 of 410



treatment is in lieu of any other treatment such Holder may have received as a Holder of a Class
3(b) Other General Unsecured Claim pursuant to Section 4.2.4 of the Plan. If an eligible
Holder of an Other General Unsecured Claim fails to complete the GUC Cash-Out
election, set forth on Item 3 of the applicable Ballot, or fails to return such Ballot in
accordance with the procedures set forth in the Solicitation Procedures Order by the
deadlines provided therein, such Holder will be deemed to have irrevocably relinquished
and waived its right to receive the GUC Cash-Out.

               The notices of non-voting status for Holders of Claims or Interests that are
deemed to reject the Plan contains an election to opt in to the third-party releases contained in
Section 12.9 of the Plan. Holders of Claims or Interests that are deemed to reject the Plan but
who affirmatively opt in to the third-party releases provided by the Plan by checking the box on
the applicable Election Form indicating that they opt in to grant the third-party releases provided
in the Plan.

               The Solicitation Procedures Order, a copy of which is attached hereto as
Appendix C, should be read in conjunction with this Article VIVoting Procedures of this
Disclosure Statement. For the purposes of Article VIVoting Procedures of this Disclosure
Statement, capitalized terms used but not otherwise defined herein have the meanings ascribed to
such terms in the Solicitation Procedures Order.

                 If you have any questions about (i) the procedures for voting your Claim or with
respect to the packet of materials that you have received or (ii) the amount of your Claim, please
contact the Debtor’s Solicitation Agent at https://restructuring.ra.kroll.com/svbfg/. If you wish
to obtain (at no charge) an additional copy of the Plan, this Disclosure Statement or other
solicitation documents, you can obtain them from the Debtor’s case information website (located
at https://restructuring.ra.kroll.com/svbfg/) or by requesting a copy from the Debtor’s Solicitation
Agent, who can be reached at (833) 570-5297 (Domestic, Toll-Free), +1 (646)
440-4782 (International), or by email at svbinfo@ra.kroll.com.

              The Bankruptcy Court may confirm the Plan only if it determines that the Plan
complies with the technical requirements of chapter 11 of the Bankruptcy Code. In addition, the
Bankruptcy Court must determine that the Plan has been proposed in good faith and not by any
means forbidden by law and, under Bankruptcy Rule 3020(b)(2), it may make such a
determination without receiving evidence if no objection is timely filed.

                In particular, and as described in more detail below, the Bankruptcy Code requires
the Bankruptcy Court to find, among other things, that: (a) the Plan has been accepted by the
requisite votes of all Classes of Impaired Claims unless approval will be sought under
section 1129(b) of the Bankruptcy Code in spite of the nonacceptance by one or more such
Classes; (b) the Plan is “feasible,” meaning there is a reasonable probability that the Debtor will
be able to perform its obligations under the Plan; and (c) the Plan is in the “best interests” of all
Holders of Claims and Interests, meaning that all such Holders will receive at least as much
under the Plan as they would receive in a liquidation under chapter 7 of the Bankruptcy Code.

                The Bankruptcy Court must find that all conditions mentioned above are met
before it can confirm the Plan. Thus, even if all classes of Impaired Claims accept the Plan by


                                                 -102-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                         Pg 298 of 410



the requisite votes, the Bankruptcy Court must still make an independent finding that the Plan
satisfies these requirements of the Bankruptcy Code, that the Plan is feasible, and that the Plan is
in the best interests of the Holders of Claims against and Interests in the Debtor.

            UNLESS THE BALLOT BEING FURNISHED IS TIMELY RECEIVED BY
THE SOLICITATION AGENT ON OR PRIOR TO 5:00 P.M. EASTERN TIME ON
APRILJUNE [2517], 2024, TOGETHER WITH ANY OTHER DOCUMENTS REQUIRED TO
BE SUBMITTED WITH SUCH BALLOT, THE DEBTOR WILL REJECT SUCH BALLOT AS
INVALID AND, ACCORDINGLY, DECLINE TO COUNT IT AS AN ACCEPTANCE OR
REJECTION OF THE PLAN; PROVIDED, HOWEVER, THE DEBTOR RESERVES THE
RIGHT, IN ITS SOLE DISCRETION, TO REQUEST THE BANKRUPTCY COURT TO
ALLOW ANY SUCH BALLOTS TO BE COUNTED. IN NO CASE SHOULD A BALLOT
OR ANY OF THE CERTIFICATES BE DELIVERED TO THE DEBTOR OR ANY OF ITS
ADVISORS.

A.     Parties-in-Interest Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless: (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or interest entitles the holder thereof; or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

                 In general, under section 1126(a) of the Bankruptcy Code, the holder of a claim or
interest that is allowed under a plan is entitled to vote to accept or reject the plan if such claim or
interest is impaired under the plan. Under section 1126(f) of the Bankruptcy Code, the holder of
a claim that is not impaired under a plan is conclusively presumed to have accepted the plan, and
the plan proponent need not solicit such holder’s vote. Under section 1126(g) of the Bankruptcy
Code, the holder of an impaired claim or impaired interest that will not receive any distribution
under the plan in respect of such claim or interest is deemed to have rejected the plan and is not
entitled to vote on the plan. For a detailed description of the treatment of Claims and Interests
under the Plan, refer to Article IVSummary of the Plan.

                A vote may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that such vote was not solicited or procured in good
faith or in accordance with the provisions of the Bankruptcy Code. The Solicitation Procedures
Order also sets forth assumptions and procedures for tabulating Ballots, including Ballots that
are not completed fully or correctly.

B.     Classes under the Plan

       1.      Voting Classes

                Classes 3 (a) (Senior Note Claims and ), 3(b) (Other General Unsecured Claims),
4 (Subordinated Notes Claims), and 5 (Preferred Equity Interests) are Impaired and entitled to
receive distributions under the Plan and, thus, are entitled to vote to accept or reject the Plan.



                                                  -103-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 299 of 410



Consistent with the procedures described in the Solicitation Procedures Motion and below in
Article VIDArticle VI.DVoluntary Releases under the Plan, each Holder of a Claim or Interest
in Classes 3(a), 3(b), 4 and 5 that does not vote in favor of the Plan will be given an opportunity
to opt out of the voluntary release in Section 12.9 of the Plan.

       2.      Non-Voting Classes

                Claims in Classes 1 (Other Secured Claims) and 2 (Other Priority Claims), and, to
the extent such Claims or Interests are reinstated, Class 8 (Intercompany Claims and
Intercompany Interests) (such Classes, the “Unimpaired Non-Voting Classes”), are unimpaired
and conclusively presumed under section 1126(f) of the Bankruptcy Code to accept the Plan and,
accordingly, are not entitled to vote. Consistent with the procedures described in the Solicitation
Procedures Motion and below in Article VIDArticle VI.DVoluntary Releases under the Plan,
Holders of Claims or Interest in Unimpaired Non-Voting Classes will be given an opportunity to
opt out of the voluntary, third-party release in Section 12.9 of the Plan or indicate their consent to
such release by abstaining from opting out.

                Claims and Interests in Classes 6 (Common Equity Interests) and
7 (Section 510(b) Claims), and, to the extent such Claims or Interests are not reinstated, Class
8 (Intercompany Claims and Intercompany Interests) (the “Impaired Non-Voting Classes,” and
together with the Unimpaired Non-Voting Classes, the “Non-Voting Classes”), will not receive
any distributions under the Plan and are deemed to reject the Plan under section 1126(g) of the
Bankruptcy Code and, accordingly, are not entitled to vote. Consistent with the procedures
described in the Solicitation Procedures Motion and below in
Article VIDArticle VI.DVoluntary Releases under the Plan, Holders of Claims or Interest in
Impaired Non-Voting Classes will be given an opportunity to opt in to the voluntary third-party
release in Section 12.9 of the Plan.

C.     Form, Content, and Manner of Notices

       1.      Solicitation Packages for Voting Classes

                As set forth in the Solicitation Procedures Order, the Debtor will distribute, or
cause to be distributed, a solicitation package to each Holder of a Claim entitled to vote on the
Plan (a “Solicitation Package”). The Solicitation Packages will contain:

                   a. the cover letter to the Solicitation Package, which describes the contents
                      of the Solicitation Package and recommends all Holders of Claims and
                      Interests in the Voting Classes accept the Plan;

                   b. a letter prepared by the UCC recommending that all Holders of General
                      Unsecured Claims and Subordinated Note Claims vote to accept the Plan,
                      which is attached hereto as Exhibit [C] (the “Committee Letter”);

                   c. the Confirmation Hearing Notice;




                                                 -104-
23-10367-mg           Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                                Pg 300 of 410



                        d. the Solicitation Procedures Order (without accompanying exhibits), as
                           entered;

                        e. instructions detailing how to access copies of the Disclosure Statement
                           and Plan on the Solicitation Agent’s website and how to request hard
                           copies of the Disclosure Statement and Plan;

                        f. the applicable Ballot with detailed voting instructions and a pre-addressed,
                           postage pre-paid return envelope2330; and

                        g. such other materials as the Bankruptcy Court may direct.

           2.       Notices for Non-Voting Classes

                Under section 1126(f) of the Bankruptcy Code, classes that are not impaired under
a plan are deemed to accept the plan. Classes 1 (Secured Claims) and 2 (Other Priority Claims)
are Unimpaired under the Plan and deemed under section 1126(f) of the Bankruptcy Code to
accept the Plan. Classes 6 (Common Equity Interests) and 7 (Section 510(b) Claims) and 8
(Intercompany Claims / Intercompany Interests) are Impaired under the Plan and deemed to
reject the Plan. The votes of these respective Classes to accept or reject the Plan will not be
solicited.

                 As set forth in the Solicitation Procedures Order, in lieu of a Solicitation Package,
such Holders in Unimpaired Classes will only receive, within three business days after the
Solicitation Procedures Order has been entered, (a) the Confirmation Hearing Notice (as defined
in the Solicitation Procedures Order) and (b) a notice of unimpaired status, in each case by
electronic service where possible (the “Notice of Unimpaired Status”). In addition, as set forth
in the Solicitation Procedures Order, in lieu of a Solicitation Package, non-voting Holders in
Classes 6 and 7 will only receive, on or before the Solicitation Mailing Deadline by electronic
mail where possible, (a) the Confirmation Hearing Notice and (b) a notice of impaired
non-voting status, in each case by electronic service where possible (together with the Notice of
Unimpaired Status, the “Non-Voting Notices”).

                 The Non-Voting Notices will provide the applicable Holders with instructions for
viewing or obtaining a copy of the Plan, Disclosure Statement and Order, as required by
Bankruptcy Rule 3017(d). In addition, the Non-Voting Notices will include an election form
annexed to such notice (the “Election Form”) to permit Holders to opt in to or out of the
voluntary, third-party release in Section 12.9 of the Plan, as further described below in
Article VIDArticle VI.DVoluntary Releases under the Plan. The Election Form contains the
full text of the voluntary, third-party release in Section 12.9 of the Plan and provides instructions
for opting in to or out of such release. The deadline for Holders of Claims and Interests to opt in
to or out of the voluntary, third-party release contained in Section 12.9 of the Plan is AprilJune
[2517], 2024 at 5:00 p.m. Eastern Time (the “Release Election Deadline”). The Election Form

2330
       Service of the Solicitation Package by electronic mail to Holders for which email addresses are available, as
       well as to beneficial holders of Class 3(a) Senior Note Claims, Class 4 Subordinated Note Claims and Class 5
       Preferred Equity Interests, will not contain a pre-addressed, postage pre-paid return envelope.



                                                           -105-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 301 of 410



also includes clear instructions regarding how to submit the Election Form and a pre-addressed,
postage pre-paid return envelope.

                Election Forms received after the Release Election Deadline will not be
considered for purposes of determining whether such Holders have elected to opt in to or out of
the voluntary, third-party release contained in Section 12.9 of the Plan.

D.     Voluntary Releases under the Plan

               The voluntary, third-party release and injunction language in Section 12 of the
Plan is described above in Article IVGArticle IV.G of this Disclosure Statement.

          HOLDERS OF CLAIMS OR INTERESTS WILL RECEIVE EITHER A
BALLOT OR ELECTION FORM, IN EACH CASE, TO ALLOW SUCH HOLDER TO
OPT OUT OF OR OPT IN TO THE VOLUNTARY, THIRD-PARTY RELEASE
CONTAINED IN SECTION 12.9 OF THE PLAN BY CLEARLY MARKING THE “OPT
OUT” OR “OPT IN” BOX, AS APPLICABLE, ON THE BALLOT OR ELECTION
FORM PROVIDED TO SUCH HOLDER.

          HOLDERS OF CLAIMS IN CLASSES 1 AND 2 WILL EACH RECEIVE
AN ELECTION FORM ALLOWING SUCH HOLDERS TO OPT OUT OF THE
VOLUNTARY, THIRD-PARTY RELEASE CONTAINED IN SECTION 12.9 OF THE
PLAN BY CLEARLY MARKING THE “OPT OUT” BOX ON THE ELECTION FORM
PROVIDED TO SUCH HOLDER.

            HOLDERS OF CLAIMS OR INTERESTS IN CLASSES 3(A), 3(B), 4 OR 5
WILL EACH RECEIVE A BALLOT, WHICH WILL ALLOW HOLDERS WHO
(I) VOTE TO REJECT THE PLAN OR (II) ABSTAIN FROM VOTING ON THE PLAN,
TO OPT OUT OF THE VOLUNTARY, THIRD-PARTY RELEASE CONTAINED IN
SECTION 12.9 OF THE PLAN BY CLEARLY MARKING THE “OPT OUT” BOX ON
THE BALLOT PROVIDED TO SUCH HOLDER.

          HOLDERS OF CLAIMS OR INTERESTS IN CLASSES 6 AND 7 WILL
EACH RECEIVE AN ELECTION FORM ALLOWING SUCH HOLDERS TO OPT IN
TO THE VOLUNTARY, THIRD-PARTY RELEASE CONTAINED IN SECTION 12.9
OF THE PLAN BY CLEARLY MARKING THE “OPT IN” BOX ON THE ELECTION
FORM PROVIDED TO SUCH HOLDER.

           ALL (I) HOLDERS OF CLAIMS OR INTERESTS IN CLASSES 1 AND 2
WHO DO NOT PROPERLY CHECK THE “OPT-OUT” BOX ON A TIMELY
SUBMITTED ELECTION FORM, (II) HOLDERS OF CLAIMS OR INTERESTS IN
CLASSES 3(A), 3(B), 4 OR 5 WHO (X) VOTE TO REJECT THE PLAN OR
(Y) ABSTAIN FROM VOTING ON THE PLAN AND DO NOT PROPERLY CHECK
THE “OPT OUT” BOX ON A TIMELY SUBMITTED BALLOT, AND (III) HOLDERS
OF CLAIMS OR INTERESTS IN CLASSES 6 AND 7 WHO PROPERLY CHECK THE
“OPT-IN” BOX ON THE APPLICABLE AND TIMELY SUBMITTED ELECTION




                                               -106-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 302 of 410



FORM, WILL BE RELEASING PARTIES FOR PURPOSES OF SECTION 12.9 OF THE
PLAN.

                The Debtor submits that the releases and accompanying opt-out procedures (as
described in this Article VI–Voting Procedures) are consistent with practices of courts in this
jurisdiction. Courts in this jurisdiction often find that releases pursuant to a settlement are
appropriate. See, e.g., In re Garrett Motion Inc., No. 20-12212 (MEW) (Bankr. S.D.N.Y. Apr.
26, 2021), D.I. 1161 (approving releases pursuant to sections 363 and 1123(b)(3) of the
Bankruptcy Code and Bankruptcy Rule 9019); In re Bally Total Fitness Holding Corp., 2007
WL 2779438, at *12 (Bankr. S.D.N.Y. Sept. 17, 2007) (“To the extent that a release or other
provision in the Plan constitutes a compromise of a controversy, this Confirmation Order shall
constitute an order under Bankruptcy Rule 9019 approving such compromise.”); In re Spiegel,
Inc., 2005 WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving releases pursuant to
section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)). Furthermore, the
voluntary, third-party releases and accompanying opt out procedures are consistent with similar
elections that have been approved by courts in this district in similar situations. See, e.g., In re
Avianca Holdings S.A., 632 B.R. 124, 136 n.11 (Bankr. S.D.N.Y. 2021) (approving opt out
procedures with respect to third-party releases) (collecting cases); In re Celsius Network LLC,
No. 22-10964 (MG) (Bankr. S.D.N.Y. Nov. 9, 2023), D.I. 3972 (approving opt out procedures
for certain classes); In re Endo Int’l plc, No. 22-22549 (JLG) (Bankr. S.D.N.Y. Jan. 12, 2024),
D.I. 3549 (conditionally approving opt out procedures for certain classes).

                Likewise, exculpation provisions that extend to non-estate fiduciaries are also
regularly approved. See, e.g., In re Oneida Ltd., 351 B.R. 79, 94 n.22 (Bankr. S.D.N.Y. 2006)
(considering an exculpation provision covering a number of prepetition actors with respect to
certain prepetition actions, as well as postpetition activity); In re Celsius Network LLC, No.
22-10964 (MG) (Bankr. S.D.N.Y. Nov. 9, 2023) [D.I. 3972] (confirming plan which exculpated
certain non-estate fiduciaries); In re All Year Holdings Limited, No. 21-12051 (MG) (Bankr.
S.D.N.Y. Jan. 31, 2023) [D.I. 352] (approving plan exculpation provision providing for
exculpation for certain non-estate fiduciaries); In re Evergreen Garden Mezz LLC, No. 21-10335
(MG) (Bankr. S.D.N.Y. Nov. 5, 2021) [D.I. 222] (same); In re Avianca Holdings S.A., No.
20-11133 (MG) (Bankr. S.D.N.Y. Nov. 2, 2021) [D.I. 2300] (approving exculpation of both
estate fiduciaries and non-estate fiduciaries); In re Residential Cap. LLC, Case No. 12-12020
(MG) 2013 WL 12161584, at *13 (Bankr. S.D.N.Y. Dec. 11, 2013) (approving exculpation for
parties that were “instrumental to the successful prosecution of the Chapter 11 Cases or their
resolution pursuant to the Plan, and/or provided a substantial contribution to the Debtors”); see
also Tr. of Hr’g at 69, In re Celsius Network LLC [D.I. 3999] (“If [non-estate fiduciaries] are
facing the threat of lawsuits by other disgruntled creditors who don'tdon’t agree with what they
did, it makes it very hard to achieve a consensual result. For those reasons, I think what
historically may have been viewed as exculpation just for estate fiduciaries has extended beyond
that to other active participants in the plan process. We may not agree with that, but I mean,
that'sthat’s what I think, where the law has moved”). In approving these provisions, courts
consider a number of factors, including whether the beneficiaries of the exculpation have
participated in good faith in negotiating in the plan and bringing it to fruition, and whether the
provision is integral to the plan. In re Bearing Point, Inc., 435 B.R. 486, 494 (Bankr. S.D.N.Y.
2011) (“Exculpation provisions are included so frequently in chapter 11 plans because
stakeholders all too often blame others for failures to get recoveries they desire; seek vengeance


                                                -107-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 303 of 410



against other parties, or simply wish to second guess the decision makers.”); In re DBSD N. Am.,
Inc., 419 B.R. 179, 217 (Bankr. S.D.N.Y. 2009) (same), aff’d, In re DBSD N. Am., Inc., No.
09-10156, 2010 WL 1223109 (S.D.N.Y. May 24, 2010), aff’d in part, rev’d in part, 634 F.3d 79
(2d Cir. 2011); In re Bally Total Fitness Holding Corp., 2007 WL 2779438, at *8 (Bankr.
S.D.N.Y. Sept. 17, 2007) (finding exculpation, release, and injunction provisions appropriate
because they were fair and equitable, necessary to successful reorganization, and integral to the
plan); In re WorldCom, Inc., No. 02-13533, 2003 WL 23861928, at *28 (Bankr. S.D.N.Y. Oct.
31, 2003) (approving an exculpation provision where it “was an essential element of the [p]lan
formulation process and negotiations”); In re Enron Corp., 326 B.R. 497, 503 (S.D.N.Y. 2005)
(excising similar exculpation provisions would “tend to unravel the entire fabric of the Plan, and
would be inequitable to all those who participated in good faith to bring it into fruition”).

E.     Voting Procedures

       1.      Ballots

              The record date for voting on the Plan is 4:00 p.m. Eastern Time on March [15May
[14], 2024 (the “Voting Record Date”). Accordingly, only Holders of Claims or Interests who
have timely filed a Proof of Claim as of the Voting Record Date and that are otherwise entitled
to vote under the Plan will receive a Ballot and may vote on the Plan.

               In voting for or against the Plan, please use (i) only the Ballot sent to you with this
Disclosure Statement or (ii) the online electronic ballot portal. If you are a Holder of a Claim in
Class 3(a), 3(b), 4, or 5 and did not receive a Ballot, if your Ballot is damaged or lost or if you
have any questions concerning voting procedures, please contact the Solicitation Agent at (833)
570-5297 (Domestic, Toll-Free), +1 (646) 440-4782 (International), or by email at
svbinfo@ra.kroll.com.

               If you are a Holder of an Other General Unsecured Claim in Class 3(b), you will
receive a Ballot that includes an election option (in Item 3, titled “GUC Cash-Out Election”) to
elect to receive the GUC Cash-Out in an amount equal to 45% of the lesser of (a) the Allowed
amount of such Claim and (b) $11,000,000. To the extent the Other General Unsecured Claim
amount listed in Item 1 of the Ballot exceeds $11,000,000, a Holder of such Claim may, by
making the GUC Cash-Out election, agree to reduce such Claim to $11,000,000. In making the
GUC Cash-Out election, the applicable Holder acknowledges that by electing to receive the
GUC Cash-Out, such Holder’s treatment is in lieu of any other treatment that such Holder
may have received as a Holder of a Class 3(b) Other General Unsecured Claim pursuant to
Section 4.2.4 of the Plan.

       2.      Submitting Ballots

              If you are entitled to vote to accept or reject the Plan, you should read carefully,
complete and submit your Ballot in accordance with the instructions in your Ballot.

                 To be counted, all Ballots must be properly executed, completed and delivered by:
(i) first-class mail (using the reply envelope provided in the Solicitation Package or otherwise),
(ii) overnight mail, (iii) hand delivery or (iv) the online electronic ballot portal (as described on
the Ballot), in each case so that they are actually received NO LATER THAN 5:00 P.M.


                                                  -108-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 304 of 410



EASTERN TIME ON APRILJUNE [2517], 2024 by the Solicitation Agent. If you are
submitting a Ballot via first-class mail, it should be sent to:

                          SVB Financial Group Ballot Processing Center
                           c/o Kroll Restructuring Administration LLC
                                  850 Third Avenue, Suite 412
                                      Brooklyn, NY 11233

               If you are submitting a Ballot via hand delivery or overnight mail, it should be
sent to:

                          SVB Financial Group Ballot Processing Center
                           c/o Kroll Restructuring Administration LLC
                                  850 Third Avenue, Suite 412
                                      Brooklyn, NY 11233

                If you are submitting a Ballot via the online electronic ballot portal:
Visit the Solicitation Agent’s website at https://restructuring.ra.kroll.com/svbfg/, click on the
[“Submit E-Ballot, Opt Out or Opt In Form”] section of the Debtor’s website and follow the
instructions to submit your electronic Ballot.

               If you are a Beneficial Holder of Claims or Interests in Classes 3(a), 4 or 5 and
received a Beneficial Holder Ballot, you must return the Beneficial Holder Ballot to your
Nominee, in accordance with the instructions provided by your Nominee, who will then submit a
master ballot on your behalf. Return the Beneficial Holder Ballot to your Nominee as promptly
as possible and in sufficient time to allow such Nominee to process your instructions and return a
completed master ballot to the Notice and Claims Agent by the Voting Deadline.

EACH NOMINEE SHOULD ADVISE ITS APPLICABLE HOLDERS TO RETURN THEIR
BENEFICIAL HOLDER BALLOTS TO THE NOMINEE BY A DATE CALCULATED BY
THE NOMINEE TO ALLOW THE NOMINEE TO PREPARE AND RETURN THE MASTER
BALLOT TO THE NOTICE AND CLAIMS AGENT SO THAT IT IS ACTUALLY
RECEIVED BY THE NOTICE AND CLAIMS AGENT ON OR BEFORE THE VOTING
DEADLINE.

                The method of delivery of Ballots to be sent to the Solicitation Agent is at the
election and risk of each Holder of a Claim or Interest. Except as otherwise provided in the Plan,
such delivery will be deemed made only when Debtor’s Solicitation Agent actually receives the
original executed Ballot. In all cases, sufficient time should be allowed to assure timely delivery.
For submissions via first-class mail, overnight courier or hand delivery, original, executed
Ballots are required. Ballots will not be accepted by facsimile transmission, electronic mail or
other electronic means of transmission (except via the Solicitation Agent’s e-ballot platform).
Ballots received after the Voting Deadline will not be counted or considered for any purpose in
determining whether the Plan has been accepted or rejected.

               Ballots must be signed, legible, and contain sufficient information to identify the
Holder of the Claim.



                                                 -109-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 305 of 410



              Ballots must be clearly marked to either accept or reject the Plan (but not both)
and may not partially accept or partially reject the Plan.

               If a Ballot is signed by a trustee, executor, administrator, guardian,
attorney-in-fact, officer of a corporation or other person acting in a fiduciary or representative
capacity, such person must indicate such capacity when signing the Ballot and, if required or
requested by the Debtor’s Solicitation Agent, the Debtor or the Bankruptcy Court, must submit
proper evidence to the requesting party to so act on behalf of such Holder. In addition, you must
provide your name and mailing address if it is different from that set forth on the attached
mailing label or if no such mailing label is attached to this Ballot.

                No Ballot should be sent to the Debtor, or the Debtor’s financial or legal advisors,
agents or representatives (other than the Solicitation Agent), and if so sent will not be counted.
If no Holders of Claims or Interests in a particular Class that is entitled to vote on the Plan vote
to accept or reject the Plan, then such Class will be deemed to accept the Plan.

               Except as provided in the Solicitation Procedures Order and subject in all respect
to the RSA, after the Voting Deadline, no Ballot may be withdrawn or modified without the prior
consent of the Debtor. If multiple Ballots are received from the same Holder with respect to the
same Claim or Interest prior to the Voting Deadline, the last Ballot timely received will
supersede and revoke any earlier received Ballots; provided, however, where ambiguity exists
with respect to which Ballot was the latest dated, the Solicitation Agent has the right to
determine the appropriate tabulation of such Ballot and to contact the respective Holder to
determine such Holder’s intent in connection therewith.

                Subject to certain restrictions and requirements set forth in section 1127(a) of the
Bankruptcy Code and Bankruptcy Rule 3019, and those restrictions on modifications set forth in
the Plan and the RSA, the Debtor may alter, amend or modify the Plan, including the Plan
Supplement, without additional disclosure pursuant to section 1125 of the Bankruptcy Code prior
to the Confirmation Date. After the Confirmation Date and before substantial consummation of
the Plan, the Debtor may institute proceedings in the Bankruptcy Court pursuant to
section 1127(b) of the Bankruptcy Code to remedy any defect or omission or reconcile any
inconsistencies in the Plan, including the Plan Supplement, the Disclosure Statement or the
Confirmation Order, relating to such matters as may be necessary to carry out the purposes and
effects of the Plan.

                Except as set forth in the Plan, after the Confirmation Date, but before the
Effective Date, the Debtor may make appropriate technical adjustments and modifications to the
Plan, including the Plan Supplement, without further order or approval of the Bankruptcy Court,
subject to all applicable consent rights (including those set forth in the RSA); provided, that such
adjustments and modifications do not materially and adversely affect the treatment of Holders of
Claims or Interests and are otherwise permitted under section 1127(b) of the Bankruptcy Code.

                Entry of a Confirmation Order shall mean that all modifications and amendments
to the Plan since the solicitation thereof are approved pursuant to section 1127(a) of the




                                                -110-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 306 of 410



Bankruptcy Code, and do not require additional disclosure or resolicitation under Bankruptcy
Rule 3019.

       3.      Voting

                A Holder of a Claim or Interest entitled to vote on the Plan may vote to accept or
reject the Plan only if no party-in-interest has objected to such Claim or Interest (or the Claim or
Interest has been Allowed subsequent to any objection or estimated for voting purposes).

                                 ARTICLE VII.ARTICLE VII

                                EFFECT OF CONFIRMATION

A.     Binding Effect of Confirmation

               Unless otherwise expressly provided in the Plan, Confirmation will bind the
Debtor and all Holders of Claims and Interests to the provisions of the Plan, whether or not the
Claim or Interest of any such Holder is impaired under the Plan and whether or not any such
Holder of a Claim or Interest has accepted the Plan and will have the effect of converting all
Claims and Interests into rights to receive the treatment specified in Article IVSummary of the
Plan.

B.     Good Faith

                  Confirmation of the Plan will constitute a finding that: (i) the Plan has been
proposed in good faith and in compliance with applicable provisions of the Bankruptcy Code and
(ii) all solicitations of acceptances or rejections of the Plan have been in good faith and in
compliance with applicable provisions of the Bankruptcy Code.

                                ARTICLE VIII.ARTICLE VIII

                                SECURITIES LAW MATTERS

A.     Bankruptcy Code Exemptions from Registration Requirements

       1.      Issuance

                The Plan provides for the issuance of Liquidating Trust Interests and NewCo
Common Stock (collectively, the “Securities”) without registration under the Securities Act or
any similar law in reliance upon section 1145 of the Bankruptcy Code to the extent such
exemption is available (any Securities issued pursuant to section 1145, the “1145 Securities”).
The Debtor believes that the Securities are “securities,” as defined in section 2(a)(1) of the
Securities Act, section 101 of the Bankruptcy Code and applicable state securities laws. Except
with respect to a Person that is an “underwriter” as defined in section 1145(b) of the Bankruptcy
Code, section 1145(a)(1) of the Bankruptcy Code exempts the offer and sale of securities under a
plan of reorganization from registration under section 5 of the Securities Act and state securities
laws if three principal requirements are satisfied: (i) the securities must be offered and sold under
a plan of reorganization and must be securities of the debtor, of an affiliate participating in a


                                                 -111-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 307 of 410



joint plan with the debtor, or of a successor to the debtor under the plan; (ii) the recipients of the
securities must hold prepetition or administrative expense claims against the debtor or interests
in the debtor and (iii) the securities must be issued entirely in exchange for the recipient’s claim
against or interest in the debtor, or principally in exchange for such claim or interest and partly
for cash or property. The Debtor believes that the issuance and distribution of the 1145
Securities satisfies the requirements of section 1145(a)(1) of the Bankruptcy Code and are,
therefore, exempt from registration under the Securities Act and state securities laws.

               To the extent that Persons who receive any Securities pursuant to the Plan are
deemed to be “underwriters,” the issuance of Securities to such Persons would not be exempted
by section 1145 of the Bankruptcy Code from registration under the Securities Act or other
applicable law. Section 1145(b)(1) of the Bankruptcy Code defines four types of “underwriters”
(except with respect to “ordinary trading transactions” of an entity that is not an “issuer”):

               (i) Persons who purchase a claim against, an interest in, or a claim for an
administrative expense against the debtor with a view to distributing any security received in
exchange for such claim or interest;

                (ii) Persons who offer to sell securities offered under a plan for the Holders of
such securities;

                 (iii) Persons who offer to buy such securities from the Holders of such securities,
if the offer to buy is:

                       (A) with a view to distributing such securities and

                   (B) under an agreement made in connection with the plan, the
       consummation of the plan, or with the offer or sale of securities under the plan; or

                (iv) a Person who is an “issuer” with respect to the securities as the term “issuer”
is defined in section 2(a)(11) of the Securities Act.

                In addition, a Person who receives a fee in exchange for purchasing an issuer’s
securities could also be considered an underwriter within the meaning of section 2(a)(11) of the
Securities Act.

                The definition of an “issuer” for purposes of whether a person is an “underwriter”
under section 1145(b)(1)(D) of the Bankruptcy Code, by reference to section 2(a)(11) of the
Securities Act, includes as “statutory underwriters” all “affiliates,” which are all persons who,
directly or indirectly, through one or more intermediaries, control, are controlled by, or are under
common control with, an issuer of securities. The reference to “issuer,” as used in the definition
of “underwriter” contained in section 2(a)(11) of the Securities Act, is intended to cover
“Controlling Persons” of the issuer of the securities. “Control,” as defined in Rule 405 of the
Securities Act, means to possess, directly or indirectly, the power to direct or cause to direct
management and policies of a Person, whether through owning voting securities, contract, or
otherwise.




                                                  -112-
23-10367-mg           Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                       Main Document
                                                 Pg 308 of 410



               Whether or not any particular Person would be deemed to be an “underwriter”
with respect to the Securities or any other security to be issued pursuant to the Plan would
depend upon various facts and circumstances applicable to that Person. Accordingly, the Debtor
expresses no view as to whether any particular Person receiving any Securities or other securities
under the Plan would be an “underwriter” with respect to such Securities or other securities.

                Persons who would otherwise be deemed to be “underwriters” may, however,
receive securities without registration under the Securities Act or any similar law in reliance
upon the exemption from registration provided under section 4(a)(2) of the Securities Act and/or
Regulation D promulgated thereunder, to the extent such exemption is then available, as
described in “Private Placement Exemption” below.

           2.       Subsequent Transfers

                 To the extent section 1145 of the Bankruptcy Code is applicable, 1145 Securities
to be issued under the Plan (a) are not “restricted securities” as defined in Rule 144(a)(3) under
the Securities Act, and (b) in general are freely tradable and transferable by any initial recipient
thereof. 1145 Securities governed by section 1145 of the Bankruptcy Code generally may be
able to be resold without registration under applicable Blue Sky Laws pursuant to various
exemptions provided by the respective Blue Sky Laws of the various states; however, the
availability of such exemptions cannot be known unless individual states’ Blue Sky Laws are
examined, and recipients of securities are advised to consult with their own legal advisors as to
the availability of any such exemption from registration in any given instance. Notwithstanding
the foregoing, any securities or instruments issued under the Plan in reliance on section 1145(a)
of the Bankruptcy Code remain subject to: (x) compliance with any rules and regulations of the
SEC, if any, applicable at the time of any future transfer of such securities or instruments; (y) the
restrictions in the applicable NewCo Organizational Documents and the Liquidating Trust
Agreement, as applicable, on the transferability of such securities and instruments2431 and (z) any
other applicable regulatory approval.

B.         Private Placement Exemptions

           1.       Issuance

                The Plan provides that, to the extent section 1145 of the Bankruptcy Code is not
applicable, certain securities may be issued without registration under the Securities Act or any
similar law in reliance upon the exemption from registration provided under section 4(a)(2) of
the Securities Act and/or Regulation D promulgated thereunder (the “4(a)(2) Securities”). To the
extent such securities are issued pursuant to the Plan or the other Definitive Documents, the


2431
       As described in Article Article IVC.4(a)Article IV.C.4(a)—Implementation of the Plan and Article
       Article XA.5(a)(iv)Article X.A.4(a)(iv)—Consequences to the Debtor, in an attempt to minimize the likelihood
       of an additional ownership change occurring after the Effective Date, the charter of NewCo will contain a
       restriction limiting the accumulation (and disposition) of shares of persons (and certain groups acting in concert)
       owning (actually or constructively), or who would own (immediately before or after such acquisition), 4.99
       percent of any class of stock of NewCo (with certain adjustments), and requiring approval of NewCo’s Board
       for any such transfers.



                                                            -113-
23-10367-mg       Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02                Main Document
                                          Pg 309 of 410



offering, issuance, exchange, or distribution of those securities will be conducted in a manner
that is exempt from, among other things, the registration requirements of section 5 of the
Securities Act. Section 4(a)(2) exempts from section 5’s registration requirements transactions
not involving a public offering, and Regulation D provides a safe harbor under Section 4(a)(2)
for transactions that meet certain requirements, including that the investors participating therein
qualify as Accredited Investors.

                Section 4(a)(2) provides that the issuance of securities by an issuer in transactions
not involving any public offering are exempt from registration under the Securities Act.
Regulation D is a non-exclusive safe harbor from registration promulgated by the SEC under
section 4(a)(2) of the Securities Act.

                The issuance of 4(a)(2) Securities will be subject to the respective Blue Sky Laws
of the various states; the availability of any Blue Sky Laws exemptions cannot be known unless
individual states’ Blue Sky Laws are examined, and recipients of securities are advised to consult
with their own legal advisors as to the availability of any such exemption from registration in any
given instance.

        2.      Subsequent Transfers

               Because the 4(a)(2) Securities would not be issued pursuant to section 1145(a)(1)
of the Bankruptcy Code, they would be deemed “restricted securities” (within the meaning of
Rule 144 under the Securities Act) that may not be offered, sold, exchanged, assigned or
otherwise transferred unless they are registered under the Securities Act, or an exemption from
registration under the Securities Act is available.

               The Debtor does not plan to register the 4(a)(2) Securities. Thus, persons who
receive 4(a)(2) Securities will not be permitted to offer, sell or otherwise transfer their 4(a)(2)
Securities except pursuant to an available exemption from registration.

                 All persons who receive 4(a)(2) Securities will be required to agree that they will
not offer, sell or otherwise transfer any 4(a)(2) Securities other than pursuant to an effective
registration statement under the Securities Act or an available exemption from registration
thereunder.

                Rule 144 provides an exemption for the public resale of “restricted securities” if
certain conditions are met. These conditions vary depending on whether the holder of the
restricted securities is an affiliate of the issuer. An affiliate is defined as “a person that directly,
or indirectly through one or more intermediaries, controls, or is controlled by, or is under
common control with, the issuer.”

                 A non-affiliate who has not been an affiliate of the issuer during the preceding
three months may resell restricted securities after a six-month holding period if at the time of the
sale there is available certain current public information regarding the issuer, and may sell the
securities after a one-year holding period whether or not there is current public information
regarding the issuer. Adequate current public information is available for a reporting issuer if the
issuer has filed all periodic reports required under Section 13 or 15(d) of the Securities Exchange
Act of 1934 during the twelve months preceding the sale of the restricted securities. If the issuer


                                                   -114-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                         Pg 310 of 410



is a non-reporting issuer, adequate current public information is available if certain information
about the issuer is made publicly available. The Debtor currently expects that NewCo will not
be a reporting issuer and will make certain information publicly available to allow resales under
Rule 144 by non-affiliates when the six-month holding period expires (approximately six months
after the emergence date).

                 An affiliate may resell restricted securities after the six-month holding period if at
the time of the sale certain current public information regarding the issuer is available. As noted
above, the Debtor currently expects that this information requirement will be satisfied. The
affiliate must also comply with the volume, manner of sale and notice requirements of Rule 144.
First, the rule limits the number of restricted securities (plus any unrestricted securities) sold for
the account of an affiliate (and related persons) in any three-month period to the greater of 1% of
the outstanding securities of the same class being sold, or, if the class is listed on a stock
exchange, the greater of 1% of the average weekly reported volume of trading in such restricted
securities during the four weeks preceding the filing of a notice of proposed sale on Form 144.
Second, the manner of sale requirement provides that the restricted securities must be sold in a
broker’s transaction, which generally means they must be sold through a broker and handled as a
routine trading transaction. The broker must receive no more than the usual commission and
cannot solicit orders for the sale of the restricted securities except in certain situations. Third, if
the sale exceeds 5,000 restricted securities or has an aggregate sale price greater than $50,000, an
affiliate must file with the SEC three copies of a notice of proposed sale on Form 144. The sale
must occur within three months of filing the notice unless an amended notice is filed.

                To the extent 4(a)(2) Securities are issued, the Debtor believes that the Rule 144
exemption will not be available with respect to any 4(a)(2) Securities (whether held by
non-affiliates or affiliates) until at least six months after the Effective Date. Accordingly, each
holder of 4(a)(2) Securities would be required to hold its 4(a)(2) Securities for at least six months
and, thereafter, to sell them only in accordance with the applicable requirements of Rule 144,
unless such sale is made pursuant to an effective registration statement under the Securities Act.

                To the extent 4(a)(2) Securities are issued, such securities will be issued in
uncertified form and each book-entry statement evidencing the 4(a)(2) Securities shallwill bear a
restrictive legend. Each certificate representing, or issued in exchange for or upon the transfer,
sale or assignment of, any 4(a)(2) Security will be stamped or otherwise imprinted with a legend
in substantially the following form:

           “THE SECURITIES REPRESENTED BY THIS CERTIFICATE WERE
ORIGINALLY ISSUED ON [ISSUANCE DATE], AND HAVE NOT BEEN AND WILL NOT
BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS
AMENDED (THE “ACT”), OR ANY OTHER APPLICABLE STATE SECURITIES LAWS,
AND MAY NOT BE SOLD OR TRANSFERRED EXCEPT PURSUANT TO THE
EXEMPTION FROM REGISTRATION UNDER THE ACT PROVIDED BY RULE 144
THEREUNDER, WHEN AVAILABLE OR ANOTHER AVAILABLE EXEMPTION FROM
REGISTRATION.”

              [NewCo] will reserve the right to require certification or other evidence of
compliance with Rule 144 as a condition to the removal of such legend or to any resale of the


                                                  -115-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 311 of 410



4(a)(2) Securities. [NewCo] will also reserve the right to stop the transfer of any 4(a)(2)
Securities if such transfer is not in compliance with Rule 144 or another available exemption
from registration.

                Resales of 4(a)(2) Securities will be subject to the respective Blue Sky Laws of
the various states; the availability of any Blue Sky Laws exemptions cannot be known unless
individual states’ Blue Sky Laws are examined, and recipients of securities are advised to consult
with their own legal advisors as to the availability of any such exemption from registration in any
given instance.

               Any persons receiving “restricted securities” under the Plan, or any persons who
believe they may be, or be deemed by the SEC to be, affiliates of the issuer of any applicable
securities under the Plan, should consult with their own counsel concerning the availability of an
exemption from registration for resale of these securities under the Securities Act and other
applicable law.

           BECAUSE OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION
OF WHETHER A PARTICULAR PERSON MAY BE AN UNDERWRITER OR AN
AFFILIATE AND THE HIGHLY FACT-SPECIFIC NATURE OF THE AVAILABILITY OF
EXEMPTIONS FROM REGISTRATION UNDER THE SECURITIES ACT, INCLUDING
THE EXEMPTIONS AVAILABLE UNDER SECTION 1145 OF THE BANKRUPTCY CODE
AND RULE 144 UNDER THE SECURITIES ACT, NEITHER THE DEBTOR NOR NEWCO
MAKE ANY REPRESENTATION CONCERNING THE ABILITY OF ANY PERSON TO
DISPOSE OF THE SECURITIES TO BE DISTRIBUTED UNDER THE PLAN. THE
DEBTOR RECOMMENDS THAT POTENTIAL RECIPIENTS OF THE SECURITIES TO BE
ISSUED UNDER THE PLAN CONSULT THEIR OWN COUNSEL CONCERNING
WHETHER THEY MAY FREELY TRADE SUCH SECURITIES.

                                  ARTICLE IX.ARTICLE IX

        CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

            THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN
RISKS, INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
HOLDERS OF CLAIMS OR INTERESTS WHO ARE ENTITLED TO VOTE ON THE PLAN
SHOULD READ AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE
OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
DOCUMENTS DELIVERED TOGETHER HEREWITH REFERRED TO OR
INCORPORATED BY REFERENCE HEREIN, BEFORE DECIDING WHETHER TO VOTE
TO ACCEPT OR REJECT THE PLAN. THESE FACTORS SHOULD NOT, HOWEVER, BE
REGARDED AS CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION
WITH THE PLAN AND ITS IMPLEMENTATION.




                                                -116-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 312 of 410



A.     Certain Bankruptcy Law Considerations

       1.      General

                While the Debtor believes that the remainder of the Chapter 11 Case will be of
relatively short duration, the Debtor cannot be certain that this will be the case. Although the
Plan is designed to minimize the length of the Chapter 11 Case it is impossible to predict with
certainty the amount of time that the Debtor may spend in bankruptcy or to assure
parties-in-interest that the Plan will be confirmed. Even if confirmed on a timely basis,
bankruptcy proceedings to confirm the Plan could have a material adverse effect on the Debtor’s
business and the value of its Estate. A delay in the bankruptcy proceedings will also involve
additional expense and may divert some of the attention of the Debtor’s management away from
maximizing the value of the Estate.

       2.      Plan Confirmation

                 The Debtor can make no assurances that it will receive the requisite acceptances
to confirm that Plan or that the conditions to Confirmation will be satisfied or waived. Further,
if the requisite acceptances are not received, the Debtor may seek to accomplish an alternative
restructuring and obtain acceptances to an alternative plan of reorganization for the Debtor or
otherwise, that may not have the support of the Holders of Claims or Interests and/or may be
required to liquidate these Estates under chapter 7 or 11 of the Bankruptcy Code. There can be
no assurance that the terms of any such alternative restructuring arrangement or plan would be
similar to or as favorable to the Holders of Claims or Interests as those proposed in the Plan.

                A non-accepting Holder of a Claim or Interest might challenge either the
adequacy of this Disclosure Statement or whether the balloting procedures and voting results
satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the Bankruptcy
Court determines that this Disclosure Statement, the balloting procedures, and voting results
were appropriate, the Bankruptcy Court could still decline to confirm the Plan if it concludes that
any of the statutory requirements for Confirmation have not been met. If a chapter 11 plan is not
confirmed by the Bankruptcy Court, it is unclear whether the Debtor will be able to restructure
and what, if anything, Holders of Claims or Interests against the Debtor would ultimately receive
with respect to their Claims or Interests.

               The Debtor, subject to the terms and conditions of the Plan and the RSA, reserves
the right to modify the terms and conditions of the Plan as necessary for Confirmation. Subject
to the terms and conditions of the Plan and the RSA, any such modifications could result in less
favorable treatment of any non-accepting Class, as well as any Class junior to any such
non-accepting Class, than the treatment currently provided in the Plan. Such less favorable
treatment could include a distribution of property with a lesser value than currently provided in
the Plan or no distribution whatsoever under the Plan.

       3.      Objections to Classification of Claims and Interests

                Section 1122 of the Bankruptcy Code requires that the Plan classify Claims
against, and Interests in, the Debtor. The Bankruptcy Code also provides that the Plan may place
a Claim or Interest in a particular Class only if such Claim or Interest is substantially similar to


                                                -117-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 313 of 410



the other Claims or Interests of such Class. The Debtor believes that all Claims and Interests
have been appropriately classified in the Plan. Nevertheless, there can be no assurance that the
Bankruptcy Court will reach the same conclusion.

                 To the extent that the Bankruptcy Court finds that a different classification is
required for the Plan to be confirmed, the Debtor would, subject to the RSA, seek (i) to modify
the Plan to provide for whatever classification might be required for Confirmation and (ii) to use
the acceptances received from any Holder of Claims or Interests pursuant to this solicitation for
the purpose of obtaining the approval of the Class or Classes of which such Holder ultimately is
deemed to be a member. Any such reclassification of Claims or Interests, although subject to the
notice and hearing requirements of the Bankruptcy Code, could materially adversely affect the
Class in which such Holder was initially a member, or any other Class under the Plan, by
changing the composition of such Class and the vote required for approval of the Plan. There
can be no assurance that the Bankruptcy Court, after finding that a classification was
inappropriate and requiring a reclassification, would approve the Plan based upon such
reclassification. Except to the extent that modification of classification in the Plan requires
re-solicitation, the Debtor will, in accordance with the Bankruptcy Code and the Bankruptcy
Rules, seek a determination by the Bankruptcy Court that acceptance of the Plan by any Holder
pursuant to this solicitation will constitute a consent to the Plan’s treatment of such Holder,
regardless of the Class as to which such Holder is ultimately deemed to be a member.

        4.      Risks Related to Possible Objections to the Plan

                 There is a risk that certain parties could oppose and object to either the entirety of
the Plan or specific provisions of the Plan. Although the Debtor believes that the Plan complies
with all relevant Bankruptcy Code provisions, there can be no guarantee that a party-in-interest
will not file an objection to the Plan or that the Bankruptcy Court will not sustain such an
objection.

        5.      Risk of Non-Approval by the Bankruptcy Court of the Restructuring
                Transactions

                There can be no assurance that the Debtor will be able to obtain approval and
complete the proposed Restructuring Transactions, or any other significant reorganization
transaction, including as a result of objections from our stakeholders. Such objections from
stakeholders could result from stakeholders’ preference for an alternative plan of reorganization.

               If the Debtor is unable to complete the proposed Restructuring Transactions in the
Chapter 11 Case, it may be necessary to seek additional funding sources, or convert from the
chapter 11 reorganization process to a chapter 7 liquidation process. If the proposed
Restructuring Transactions are completed, it may not generate the anticipated or desired
outcomes (including with respect to consideration received).

               Even if the Restructuring Transactions are implemented, the Debtor will continue
to face a number of risks, including certain risks that are beyond the Debtor’s control, such as
changes in economic conditions and changes in the Debtor’s industry. As a result, there is no
guarantee that the Restructuring Transactions will achieve the Debtor’s stated goals.



                                                  -118-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 314 of 410



       6.      Risk of Nonoccurrence of the Effective Date

                 Although the Debtor believes that the Effective Date may occur quickly after the
Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
Date will, in fact, occur. As set forth in Section 13 of the Plan, the Effective Date of the Plan is
subject to the satisfaction (or waiver) of a number of conditions precedent. If such conditions
precedent are not met or waived, the Effective Date will not take place, and it is unclear what
distributions, if any, Holders of Allowed Claims or Interests would receive with respect to their
Allowed Claims or Interests.

       7.      Closing of the Restructuring Transactions Is Dependent on a Number of
               Conditions that May Not Occur

               The closing of the Restructuring Transactions in connection with consummation
of the Plan remains contingent on a number of conditions, including regulatory approvals if
necessary. There is a risk that the Debtor will be unable to satisfy or waive all conditions to
closing the Restructuring Transactions.

       8.      Nonconsensual Confirmation

                 In the event that any impaired class of claims or interests does not accept a
Chapter 11 plan, a bankruptcy court may nevertheless confirm a plan at the proponent’s request
if at least one impaired class has accepted the plan (with such acceptance being determined
without including the vote of any “insider” in such class), and, as to each impaired class that has
not accepted the plan, the Bankruptcy Court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting class. The Debtor believes
that the Plan satisfies these requirements, and the Debtor may request such nonconsensual
Confirmation in accordance with section 1129(b) of the Bankruptcy Code. Nevertheless, there
can be no assurance that the Bankruptcy Court will reach this conclusion. In addition, the pursuit
of nonconsensual Confirmation of the Plan may result in, among other things, increased
expenses and the expiration of any commitment to provide support for the Plan, financially or
otherwise.

       9.      Plan Modifications

                The Debtor, subject to the terms and conditions of the Plan, reserves the right to
modify the Plan as necessary for Confirmation. Any such modifications could result in less
favorable treatment of any class junior to a non-accepting class than the treatment currently
provided in the Plan. Such less favorable treatment could include a distribution of property with
a lesser value than currently provided in the Plan or no distribution whatsoever under the Plan.

       10.     9. Filing of a Competing Plan

               At the outset of a chapter 11 case, the Bankruptcy Code provides a debtor with the
exclusive right to file a plan of reorganization and prohibits third parties from proposing a plan.
The Debtor has retained the exclusive right to propose the Plan through and including
January 26, 2024. The , and the Debtor filed the Plan within the Debtor’s exclusive filing period.



                                                 -119-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 315 of 410



                 Debtor now has the exclusive right to solicit votes on the Plan through and
including March 26On April 24, 2024, the Debtor filed the Debtor’s Third Motion for an Order
Extending the Exclusive Period During Which Only the Debtor May Solicit Acceptances of a
Chapter 11 Plan [D.I. 1060] (the “Third Exclusivity Extension Motion”), requesting a further
extension of the exclusive period during which only the Debtor may solicit acceptances of a
chapter 11 plan (the “Exclusive Solicitation Period”) from April 25, 2024 for an additional 75
days through and including July 9, 2024, with an option, subject to the consent of certain creditor
groups, to extend for an additional 30 days through and including August 8, 2024. Pursuant to
Local Rule 9006-2, the Debtor’s Exclusive Solicitation Period is automatically extended upon
the filing of the Third Exclusivity Extension Motion until such motion is resolved. The Third
Exclusivity Extension Motion is currently scheduled to be heard at the Debtor’s omnibus hearing
on June 5, 2024. If the exclusivity period expires, or if the Bankruptcy Court terminates the
Debtor’s exclusive right, there may be a material adverse effect on the Debtor’s ability to have
the Plan confirmed, because third parties may proposeprosecute competing plans.

       11.     10. The Debtor May Object to the Amount or Classification of a Claim or
               Interest

               Except as otherwise provided in the Plan, the Debtor reserves the right to object to
the amount or classification of any Claim or Interest under the Plan. The estimates set forth in
this Disclosure Statement cannot be relied upon by any Holder of a Claim or Interest where such
Claim or Interest is subject to an objection. Any Holder of a Claim or Interest that is subject to
an objection thus may not receive its expected share of the estimated distributions described in
this Disclosure Statement.

       12.     11. Contingencies Could Affect Votes of Impaired Classes to Accept or
               Reject the Plan

                 The distributions available to Holders of Allowed Claims or Interests under the
Plan can be affected by a variety of contingencies, including, without limitation, whether the
Bankruptcy Court orders certain Allowed Claims or Interests to be subordinated to other
Allowed Claims or Interests. The occurrence of any and all such contingencies, which could
affect distributions available to Holders of Allowed Claims or Interests under the Plan, will not
affect the validity of the vote taken by the Impaired Classes to accept or reject the Plan or require
any sort of revote by the Impaired Classes. The estimated Claims or Interests and creditor
recoveries set forth in this Disclosure Statement are based on various assumptions, and the actual
Allowed amounts of Claims or Interests may significantly differ from the estimates. Should one
or more of the underlying assumptions ultimately prove to be incorrect, the actual Allowed
amounts of Claims or Interests may vary from the estimated Claims or Interests contained in this
Disclosure Statement. Moreover, the Debtor cannot determine with any certainty at this time,
the number or amount of Claims or Interests that will ultimately be Allowed. Such differences
may materially and adversely affect, among other things, the percentage recoveries to Holders of
Allowed Claims or Interests under the Plan.

       13.     12. The Debtor May Fail to Satisfy the Solicitation Requirements Requiring
               a Re-Solicitation



                                                 -120-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 316 of 410



                To satisfy the requirements of section 1126(b) of the Bankruptcy Code and
Bankruptcy Rule 3018(b), the Debtor will be delivering the Solicitation Package to all Holders of
Claims and Interests as of the Voting Record Date in the Classes entitled to vote. Accordingly,
the Debtor believes that the solicitation is proper under section 1125 of the Bankruptcy Code.
The Debtor cannot be certain, however, that the solicitation of acceptances or rejections will be
approved by the Bankruptcy Court, and if such approval is not obtained, the Confirmation of the
Plan could be denied. If the Bankruptcy Court were to conclude that the Debtor did not satisfy
the solicitation requirements, then the Debtor may seek to re-solicit votes to accept or reject the
Plan or to solicit votes from one or more Classes that were not previously solicited. The Debtor
cannot provide any assurances that such a re-solicitation would be successful. Re-solicitation
could delay or jeopardize confirmation of the Plan. Non-confirmation of the Plan could result in
a protracted Chapter 11 Case.

       14.     13. Certain Creditors May Bring Litigation Against the Debtor

                Even if the Debtor receives the requisite acceptances, there is no assurance that
the Bankruptcy Court will confirm the Plan. Further, third parties, including certain of the
Debtor’s creditors, may bring litigation against the Debtor during the course of this Chapter 11
Case, the outcome of which is uncertain. Although the Debtor believes the Plan satisfies all of
the requirements necessary for Confirmation by the Bankruptcy Court, creditors and other
parties-in-interest may bring objections to challenge Confirmation of the Plan.

       15.     14. The Total Amount of Allowed General Unsecured Claims May Be Higher
               Than Anticipated by the Debtor

               With respect to Holders of Allowed General Unsecured Claims, the claims filed
against the Debtor’s Estate may be significantly higher than the Debtor has estimated. There can
be no assurance that the estimated amount of Claims is correct, and the actual Allowed amounts
of Claims may differ from estimates. The estimated amounts are subject to certain risks,
uncertainties and assumptions. Should one or more of these risks or uncertainties materialize or
should underlying assumptions prove incorrect, the actual Allowed amounts of Claims may vary
from those estimated therein.

       16.     15. The Total Amount of Allowed Administrative and Priority Claims May
               Be Higher or the Amount of Distributable Cash May Be Lower Than
               Anticipated by the Debtor

                The amount of Cash the Debtor ultimately receives on account of the
Restructuring Transactions and from other sources prior to and following the Effective Date may
be lower than anticipated. Additionally, Allowed Administrative Expense Claims and Allowed
Priority Claims maybe higher than anticipated. Accordingly, there is a risk that the Debtor will
not be able to pay in full in cash all Administrative Expense Claims and Priority Claims on the
Effective Date as is required to confirm a chapter 11 plan of reorganization.

       17.     16. Third-Party Offers

                The Debtor may receive inquiries or offers from third parties related to the
disposition of all or a substantial amount of their assets, including NewCo and/or SVB Capital,


                                                -121-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 317 of 410



which the Debtor may choose to pursue (in accordance with, as applicable, the terms set forth in
Section 7.3 of the Plan and in any order approving a sale of the SVB Capital business).

       18.     17. Conversion into Chapter 7 Case

                If the Bankruptcy Court finds that it would be in the best interest of the Holders of
Claims or Interests, the Bankruptcy Court may convert the Chapter 11 Case to a case under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to
liquidate the Debtor’s assets for distribution in accordance with the priorities under the
Bankruptcy Code. The Debtor believes that liquidation under chapter 7 would result in
significantly smaller distributions being made to creditors than those provided in a chapter 11
plan because of (a) the likelihood that assets would have to be sold in a disorderly fashion over a
short period of time, rather than reorganizing or selling the business as a going concern at a later
time in a controlled manner, (b) additional administrative expenses involved in the appointment
of a chapter 7 trustee and (c) additional expenses and claims, some of which would be entitled to
priority.

       19.     18. The Results of an Actual Chapter 7 Liquidation May Be Different from
               the Liquidation Analysis

                Underlying the Liquidation Analysis is the extensive use of estimates and
assumptions that, although considered reasonable by the Debtor’s management and advisors, are
inherently subject to significant business, economic and competitive uncertainties and
contingencies beyond the control of the Debtor. The Liquidation Analysis is based on
assumptions with regard to liquidation decisions that are subject to change. Actual results may
vary materially from the estimates and projections set forth in the Liquidation Analysis. Events
and circumstances subsequent to the date on which the Liquidation Analysis was prepared may
be different from those assumed or, alternatively, may have been unanticipated.

       20.     19. Plan Releases, Injunctions and Exculpation Provisions May Not Be
               Approved

                There can be no assurance that the Plan releases, injunctions and exculpation
provisions, as provided in Section 12 of the Plan, will be granted. Furthermore, the releases,
injunctions, and exculpations (including, for the avoidance of doubt, the definitions of Released
Parties, Releasing Parties and Exculpated Parties) provided in the Plan are subject to objection
by parties in interest. Failure of the Bankruptcy Court to grant such relief may result in a plan of
reorganization that differs from the Plan or the Plan not being confirmed.

       21.     20. The Amount and Timing of Available Distributions, if Any, May Vary

                While the Debtor has attempted to project what it believes are likely distributions,
if any, to be made to parties holding Allowed Claims and Interests, there can be no certainty that
the projections will be accurate and that Holders will receive the distributions described in the
Plan. The projections will necessarily be affected by, among other things, recoveries generated
in connection with the liquidation of certain of the Debtor’s remaining assets (including, without
limitation, the recoveries, if any, on the account of the Retained Causes of Action), the outcome
of objections to Claims or Interests, resolution of litigation, and the cost and expenses of such


                                                 -122-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 318 of 410



actions and generally administering and winding down (as applicable) the Debtor’s Estate.
Additionally, the timing of actual distributions to Holders of Allowed Claims or Interests may be
affected by many factors that cannot be predicted. Therefore, the Debtor cannot guarantee the
timing of any recovery on account of Allowed Claims or Interests.

B.      Risks Related to the Debtor’s Ongoing Operations during the Chapter 11 Case

        1.      The Debtor Will Be Subject to Risks and Uncertainties Associated with the
                Chapter 11 Case

                For the duration of the Chapter 11 Case, the Debtor’s ability to operate, develop,
and execute a business plan, and continue as a going concern, will be subject to the risks and
uncertainties associated with bankruptcy. These risks include the following: (i) ability to
develop, confirm, and consummate the Plan; (ii) ability to obtain Bankruptcy Court approval
with respect to motions filed in the Chapter 11 Case from time to time; (iii) ability to maintain
relationships with vendors, service providers, customers, employees, current and prospective
investors, and other third parties; (iv) ability to maintain contracts that are critical to the Debtor’s
operations; (v) ability of third parties to seek and obtain Bankruptcy Court approval to terminate
contracts and other agreements with the Debtor; (vi) ability of third parties to seek and obtain
Bankruptcy Court approval to terminate or shorten the exclusivity period for the Debtor to
propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert the Chapter
11 Case to a chapter 7 proceeding; and (vii) the actions and decisions of the Debtor’s creditors
and other third parties who have interests in the Chapter 11 Case that may be inconsistent with
the Debtor’s plans.

                These risks and uncertainties could affect the Debtor’s business and operations in
various ways. For example, negative events associated with the Chapter 11 Case could adversely
affect the Debtor’s relationships with service providers, investors and other third parties, which,
in turn, could materially adversely affect the Debtor’s operations and financial condition. Also,
the Debtor will need the prior approval of the Bankruptcy Court for transactions outside the
ordinary course of business, which may limit the Debtor’s ability to respond timely to certain
events or take advantage of certain opportunities. Because of the risks and uncertainties
associated with the Chapter 11 Case, the Debtor cannot accurately predict or quantify the
ultimate impact of events that occur during the Chapter 11 Case that may be inconsistent with
the Debtor’s plans.

        2.      Operating in Bankruptcy for a Long Period of Time May Harm the Debtor’s
                Business

               The Debtor’s future results will be dependent upon the successful Confirmation
and implementation of the Plan. A long period of operations under Bankruptcy Court protection
could have a material adverse effect on the Debtor’s business, financial condition, results of
operations, and liquidity. So long as the proceedings related to the Chapter 11 Case continue, the
Debtor’s management will be required to spend a significant amount of time and effort dealing
with the reorganization instead of focusing exclusively on business operations. In addition, the
longer the proceedings related to the Chapter 11 Case continues, the more likely it is that




                                                  -123-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 319 of 410



investors and other third parties will lose confidence in the Debtor’s ability to reorganize its
businesses successfully and will seek to establish alternative commercial relationships.

       3.      Undue Delay in Confirmation May Disrupt Operation of the Debtor

                Although the Plan is designed to minimize the length of the Chapter 11 Case, it is
impossible to predict with certainty the amount of time that the Debtor may spend in bankruptcy
or to assure parties-in-interest that the Plan will be confirmed.

                The continuation of the Chapter 11 Case, particularly if the Plan is not confirmed
in the time frame currently contemplated, could materially adversely affect operations. If
Confirmation and consummation of the Plan do not occur expeditiously, the Chapter 11 Case
could result in, among other things, increased costs for professional fees and other case
expenses. In addition, a prolonged Chapter 11 Case would require senior management to spend
a significant amount of time and effort dealing with the Debtor’s financial reorganization instead
of focusing on the operation of the Debtor’s businesses.

                The uncertainty surrounding a prolonged Chapter 11 Case could have other
adverse effects on the Debtor, including limiting the Debtor’s ability to retain key employees;
affecting the perception of the Debtor’s business by regulators, investors, and lenders; and
reducing the Debtor’s assets and/or liquidity.

       4.      The Debtor’s Ongoing Liquidity Needs May Impact Recoveries

                The Debtor has incurred significant professional fees and other costs in
connection with the Chapter 11 Case and expects to continue to incur further professional fees
and costs throughout the remainder of this Chapter 11 Case. The Debtor cannot guarantee that
cash on hand will be sufficient to continue to fund its operations and allow the Debtor to satisfy
obligations related to the Chapter 11 Case until the Debtor is able to emerge from bankruptcy
protection. Accordingly, depending on how long the Chapter 11 Case continues, the recoveries
that Holders of Claims or Interests are estimated to receive will be impacted by the Debtor’s
ongoing liquidity requirements. The Debtor faces uncertainty regarding the adequacy of its
liquidity and capital resources. The Debtor’s liquidity, including the ability to meet ongoing
operational obligations, will be dependent upon, among other things: (a) its ability to maintain
adequate cash on hand; (b) its ability to confirm and consummate the Plan; and (c) the ultimate
cost, duration, and outcome of this Chapter 11 Case. The Debtor’s ability to maintain adequate
liquidity depends, in part, upon general economic, financial, competitive, regulatory and other
factors beyond the Debtor’s control.

       5.      Risks Related to Loss of Key Personnel

                 The Debtor’s operations, including the SVB Capital business, are dependent on a
relatively small group of key management personnel. The Debtor’s Chapter 11 Case has created
distractions and uncertainty for key personnel and employees, and the Debtor has suffered
significant attrition since the Petition Date. Personnel retention was further complicated by the
fact that as of the Petition Date, personnel were almost all employed by the former Silicon Valley
Bank. Because competition for experienced personnel can be significant and it is difficult to hire
as a debtor in Chapter 11, the Debtor may be unable to find acceptable replacements with


                                                 -124-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 320 of 410



comparable skills and experience. The loss of such key personnel could adversely affect the
Debtor’s ability to lead this Chapter 11 Case to resolution by consummating the Plan. In
addition, the loss of key personnel or material erosion of employee morale could have a material
adverse effect on the Debtor’s ability to fulfill responsibilities related to its Chapter 11 Case and
emerge successfully therefrom.

C.     Risk Factors Relating to the SVB Capital Sale

       1.      The Bankruptcy Court May Not Approve the SVB Capital Sale

                The Debtor’s Plan currently contemplates the successful consummation of the
SVB Capital Sale, which remains pending as of the date of this Disclosure Statement. The
Bankruptcy Court may not approve the SVB Capital Sale, and the failure to obtain the
Bankruptcy Court’s approval of the NewCo Transaction could prevent the Debtor from
consummating the Plan and the transactions contemplated thereby. If the SVB Capital Sale is
not approved (whether on the terms set forth in the SVB Capital Sale Motion or on other terms),
a substantial portion of the SVB Capital business and SVB Capital assets would become assets
of NewCo on the Effective Date and would have an impact on the operational risks that NewCo
faces.

       2.      The Debtor May Not Satisfy Closing Conditions in Connection with the SVB
               Capital Sale

                Even if the SVB Capital Sale is approved by the Bankruptcy Court, the Debtor
may not satisfy all of the closing conditions relating to the SVB Capital Sale. A failure to satisfy
any of the closing conditions to the SVB Capital Sale could prevent the SVB Capital Sale from
being consummated, or could impact the consideration that the Debtor receives in connection
with consummation of such sale.

       3.      The Debtor May Not Successfully Consummate the SVB Capital Sale

                Even if the SVB Capital Sale is approved by the Bankruptcy Court, the Debtor
may not successfully consummate the SVB Capital Sale, whether due to a failure to satisfy all of
the closing conditions relating to the SVB Capital Sale or other events outside of the Debtor’s
control. If the SVB Capital Sale is not consummated, then the Debtor may amend certain terms
of the Plan, including the GUC Cash-Out and other distributions contemplated by the Plan.

       4.      There May Not Be Sufficient Cash to Provide for the Cash Distributions
               Pursuant the Plan

                If the SVB Capital Sale is not approved by the Bankruptcy Court, or if the SVB
Capital Sale is approved, but is not consummated, then the Debtor will not receive the Cash
consideration contemplated under the Purchase Agreement. If the Debtor does not receive the
Cash consideration component of the consideration set forth in the Purchase Agreement, then the
Debtor may not have sufficient cash to execute the Restructuring Transactions, including the
GUC Cash-Out and payments contemplated pursuant to Section 4.2 of the Plan providing for
Cash payments to certain Holders in lieu of NewCo Common Stock.



                                                 -125-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 321 of 410



       5.      The Consideration the Debtor Will Receive from the SVB Capital Sale May
               Include Contingent Consideration

               In connection with the SVB Capital Sale, the Debtor or Liquidating Trust may
receive contingent consideration, including certain royalties and retained interests in the SVB
Capital funds. The Debtor has included its projections with respect to such contingent
consideration in Appendix D to this Disclosure Statement; however, the actual value of such
consideration may be materially different than actual future results. See Article IX.H.1—Risks
Associated with Financial Projections for additional risks related to the Liquidating Trust’s
financial projections.

D.     C. Risk Factors Relating to a NewCo Transaction

       1.      The Debtor May Effectuate a NewCo Transaction

                The Debtor, the Required Ad Hoc Senior Noteholder Parties and the UCC shall
continue to work together in good faith to evaluate opportunities to maximize the value of all or
some of the assets or equity of NewCo in thea NewCo Transaction. If the Debtor enters into a
NewCo Transaction, the value of NewCo Common Stock distributed pursuant to the Plan may be
reduced, or if all of the assets or equity of NewCo are sold, NewCo Common Stock may not
distributed pursuant to the Plan.

       2.      The Bankruptcy Court May Not Approve the NewCo Transaction

              The Bankruptcy Court may not approve the NewCo Transaction. Failure to
obtain the Bankruptcy Court’s approval of the NewCo Transaction could prevent the Debtor
from consummating the Plan and the transactions contemplated thereby.

E.     D. Risk Factors Relating to NewCo Common Stock to Be Issued Under the Plan

       1.      Potential Dilution

                The ownership percentage represented by the NewCo Common Stock distributed
on the Effective Date under the Plan to the Holders General Unsecured Claims will be subject to
dilution (i) by any NewCo Transaction (as applicable) and (ii) from any other shares that may be
issued post-emergence, including Holders of Claims that are Disputed as of the Effective Date.

              In the future, similar to all companies, additional equity financings or other share
issuances by NewCo could adversely affect the value of the NewCo Common Stock issuable
upon such conversion. The amount of dilution effected by any of the foregoing could be
material.

       2.      Equity Interests Subordinated to NewCo’s Indebtedness

               In any subsequent liquidation, dissolution, or winding-up of NewCo, the NewCo
Common Stock would rank below all debt claims against NewCo, including, without limitation,
the NewCo Debt. Asand as a result, holders of the NewCo Common Stock would not be entitled
to receive any payment or other distribution of assets upon the liquidation, dissolution or


                                                -126-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 322 of 410



winding-up of NewCo until after all of NewCo’s obligations to its debt holders have been
satisfied.

       3.      Implied Valuation of NewCo Common Stock May Not Represent Trading
               Value of NewCo Common Stock

                 Any implied valuation of the NewCo Common Stock stated herein or in the Plan
is not intended to represent the trading value of NewCo Common Stock and is subject to
additional uncertainties and contingencies, all of which are difficult to predict. Actual market
prices of such securities at issuance will depend upon, among other things: (a) prevailing
interest rates, (b) conditions in the financial markets, (c) the anticipated value of the initial
securities of creditors receiving NewCo Common Stock under the Plan, some of which may
prefer to liquidate their investment rather than hold it on a long-term basis, and (d) other factors
that generally influence prices of securities. Factors unrelated to NewCo’s actual operating
performance and other factors not possible to predict could affect the market price of the NewCo
Common Stock. Accordingly, the implied value of the securities to be issued, stated herein and
in the Plan, should not be construed as reflecting values that will be attained for the NewCo
Common Stock in the private markets.

       4.      No Dividends

                NewCo may not pay any dividends on the NewCo Common Stock and may
instead retain any future cash flows for debt reduction and to support its operations. As a result,
the success of an investment in the NewCo Common Stock may depend entirely upon any future
appreciation in the value of the NewCo Common Stock. There is no guarantee that the NewCo
Common Stock will appreciate in value or even maintain its initial value.

       5.      No Public Market for NewCo Common Stock

                There is no public market for the NewCo Common Stock and there can be no
assurance as to the development or liquidity of any market for the NewCo Common Stock. The
Plan does not contemplate that the NewCo Common Stock will be listed upon any national
securities exchange or any over-the-counter market after the Effective Date. If a trading market
does not develop, is not maintained, or remains inactive, holders of the NewCo Common Stock
may experience difficulty in reselling such securities or may be unable to sell them at all. Even
if such a market were to exist, such securities could trade at prices higher or lower than the
estimated value set forth in this Disclosure Statement depending upon many factors, including,
without limitation, prevailing interest rates, markets for similar securities, industry conditions,
and the performance of, and investor expectations for, NewCo. In addition, on the Effective
Date, it is expected that the NewCo will not be required under U.S. securities laws to file any
reports with the SEC or otherwise provide financial or other information to the public which may
further impair liquidity and prevent brokers or dealers from publishing quotations and that the
ownership and transfer of the NewCo Common Stock will be subject to limitations set out in the
charter of NewCo. This means that a holder of NewCo Common Stock may not be able to sell
its NewCo Common Stock to raise money for immediate or future needs.




                                                -127-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 323 of 410



       6.      Significant Holders of NewCo Common Stock

                Certain Holders of Allowed Claims are expected to acquire a significant
ownership interest in the NewCo Common Stock pursuant to the Plan. If such Holders were to
act as a group, such Holders may be in a position to control the outcome of all actions requiring
stockholder approval, including the election of directors, without the approval of other
stockholders. This concentration of ownership could also facilitate or hinder a negotiated change
of control of NewCo and, consequently, have an impact upon the value of the NewCo Common
Stock.

       7.      The Equity Value of NewCo Common Stock May Not Represent the Trading
               Value of NewCo Common Stock

                The equity value of NewCo set forth on Appendix F is not intended to represent
the trading value of NewCo Common Stock in public or private markets and is subject to
additional uncertainties and contingencies, all of which are difficult to predict. Actual market
prices of such securities at issuance will depend upon, among other things: (a) prevailing interest
rates; (b) conditions in the financial markets; (c) anticipated initial securities holdings of
prepetition creditors, some of whom may prefer to liquidate their investment rather than hold it
on a long-term basis; and (d) other factors that generally influence the prices of securities. The
actual market price of the NewCo Common Stock may be volatile. Many factors, including
factors unrelated to the NewCo’s actual operating performance, could cause the market price of
NewCo Common Stock to rise or fall. Accordingly, the implied value of the NewCo Common
Stock to be issued, as set forth herein and in the Plan, does not necessarily reflect values that may
be attained for these securities in the public or private markets.

       8.      7. The NewCo Organizational Documents May Limit the Rights of Holders
               of NewCo Common Stock

                The NewCo Organizational Documents may contain certain provisions that limit
the rights of holders of the NewCo Common Stock. In particular, the NewCo Organizational
Documents may include provisions relating to (a) the corporate governance of NewCo, the
election of the board of directors, and the duties of directors and officers, (b) transfer restrictions
with respect to NewCo Common Stock (including tag-along rights and drag-along rights),
(c) voting rights of NewCo Common Stock, (d) information rights provided to Holders of
NewCo Common Stock, and (e) related rights and obligations. There is no guarantee that any
holder of the NewCo Common Stock will be able to freely transfer its NewCo Common Stock
immediately after the Effective Date or will become able to freely transfer such NewCo
Common Stock in the future. Minority holders of NewCo Common Stock may have very limited
protections and virtually no ability to influence management of the business of NewCo.

                In addition, from and after the Effective Date, the NewCo Organizational
Documents will contain certain transfer restrictions in relation to the transfer of NewCo
Common Stock. Specifically, the NewCo Organizational Documents will provide that, without
the approval of the NewCo Board, (i) no Person will be permitted to acquire, whether directly or
indirectly, and whether in one transaction or a series of transactions, NewCo Common Stock, to
the extent that after giving effect to such purported acquisition the purported acquirer or any


                                                  -128-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 324 of 410



other Person by reason of the purported acquirer'sacquirer’s acquisition would become a
Substantial Holder of any class of stock of NewCo; (ii) no Substantial Holder may acquire,
directly or indirectly, any shares of NewCo stock without the consent of a majority of the NewCo
Board; and (iii) no Substantial Holder may dispose, directly or indirectly, of any shares of
NewCo stock without the consent of a majority of the NewCo Board.

F.     E. Operational Risks for NewCo

       1.      The Debtor’s Financial Projections and Other Forward-Looking Statements
               Are Subject to Inherent Uncertainty Due to the Numerous Assumptions
               upon Which They Are Based

                This Disclosure Statement may contain “forward looking statements” within the
meaning of the Private Securities Litigation Reform Act of 1995, as amended. Certain of the
information contained in this Disclosure Statement is, by nature, forward looking, and contains
estimates and assumptions which might ultimately prove to be incorrect, and contains
projections which may be materially different from actual future experiences. There are
uncertainties associated with any projections and estimates, and they should not be considered
assurances or guarantees of the amount of funds or the amount of Claims or Interests in the
various Classes that might be allowed.

                The Plan relies upon the Financial Projections that are based on numerous
assumptions including, without limitation, the timing, Confirmation and consummation of the
Plan in accordance with its terms, the anticipated future performance of NewCo and the
Liquidating Trust, financial industry performance, general business and economic conditions,
competition, adequate financing, absence of material claims, the ability to make necessary
capital expenditures, use of unrestricted cash, the ability to control future operating expenses,
and other matters, many of which will be beyond the control of NewCo and the Liquidating Trust
and some or all of which may not materialize. Particular uncertainties with respect to NewCo’s
operations and financial results arise from the risks and uncertainties relating to changes in the
demand for NewCo’s financial services; legislation and regulations relating to the financial
markets; operational factors; fluctuations in the amount of cash NewCo will generate from
operations, or amounts that the Liquidating Trust will generate through the liquidation of the
Liquidating Trust Assets, and numerous other matters of national, regional and global scale,
including those of a political, economic, business, competitive or regulatory nature.

                The Financial Projections represent management’s view based on currently
known facts, the successful Confirmation and implementation of the Plan and hypothetical
assumptions regarding NewCo’s future operations and ability to finance such operations; they do
not guarantee NewCo’s future financial performance. Actual financial results will be subject to a
number of factors, including general business and economic conditions, and other matters, many
of which will be beyond the control of NewCo and may differ materially from the Financial
Projections. Therefore, the Financial Projections should not be relied upon as an assurance of
the actual results that will occur. Consequently, there can be no assurance that the results or
developments contemplated by any plan of reorganization implemented will occur or, even if
they do occur, that they will have the anticipated effects on NewCo and its business or operations
or on the Liquidating Trust. The failure of any such results or developments to materialize as


                                               -129-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 325 of 410



anticipated could materially adversely affect the successful execution of any plan of
reorganization.

               Except with respect to the Financial Projections and except as otherwise
specifically and expressly stated herein, this Disclosure Statement and the Plan do not reflect any
events that might occur subsequent to the date hereof. Such events could have a material impact
on the information contained in this Disclosure Statement and the Plan. Neither the Debtor,
NewCo nor the Liquidating Trust intend to update the Financial Projections. The Financial
Projections therefore may not reflect the impact of any subsequent events not already accounted
for in the assumptions underlying the Financial Projections.

                In addition, if the Debtor emerges from chapter 11, the amounts reported in
subsequent consolidated financial statements may materially change relative to historical
consolidated financial statements, including as a result of revisions to the Debtor’s operating
plans pursuant to a plan of reorganization. The Debtor also may be required to adopt fresh start
accounting, in which case their assets and liabilities will be recorded at fair value as of the fresh
start reporting date, which may differ materially from the recorded values of assets and liabilities
on the Debtor’s balance sheets. The Debtor’s financial results after the application of fresh start
accounting also may be different from historical trends.

            Finally, this Disclosure Statement was not approved by the Securities and
Exchange Commission.


       2.      Risks Pertaining to Access to Capital Markets

                NewCo may require additional capital in the future to finance its growth and
development, satisfy regulatory compliance obligations, and meet general working capital needs.
NewCo’s capital requirements will depend on many factors, including acceptance of and demand
for NewCo’s services, the extent to which NewCo invests in new technology and personnel and
the status and timing of these developments. If NewCo’s access to capital were to become
constrained significantly, or if costs of capital increased significantly, due to lowered credit
ratings, prevailing industry conditions, the solvency of customers, a material decline in demand
for services, the volatility of the capital markets or other factors, NewCo’s financial condition,
results of operations and cash flows could be adversely affected.

       3.      NewCo May be Subject to Certain Exchange Act Reporting Requirements

               The Debtor is currently subject to reporting requirements under the Exchange Act,
and as of the Effective Date, NewCo may be or may in the future become subject to reporting
obligations under the Exchange Act. Due to the limited size and scope of NewCo’s ongoing
operations post-Effective Date, compliance with such reporting requirements may be
burdensome and may adversely impact NewCo’s financial performance. Compliance with the
reporting requirements under the Exchange Act may subject NewCo to additional regulatory
risks that NewCo would not otherwise face as a non-reporting company.




                                                 -130-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 326 of 410



       4.      3. NewCo May Be Adversely Affected by Potential Litigation

                 In the future, NewCo may become party to litigation. In general, litigation can be
expensive and time consuming to bring or defend against. Such litigation could result in
settlements or damages that could significantly affect NewCo’s financial results. In the ordinary
course of business, NewCo may be party to a number of lawsuits, investigations and disputes
(some of which involve substantial amounts claimed) arising out of current and historical
business, commercial transactions, prior acquisitions and divestitures, employment, employee
benefits plans, intellectual property, antitrust, and other matters. The costs incurred in
connection with such lawsuits, investigations and disputes can be substantial and result in the
diversion of the NewCo’s attention and resources. It is not possible to predict the potential
litigation that NewCo may become party to, nor the final resolution of such litigation. The
impact of any such lawsuits, investigations and disputes on NewCo’s business and financial
stability, however, could be material.

       5.      4. Tax Risks

                NewCo’s future results of operations could be adversely affected by changes in
the effective tax rate as a result of a change in the mix of earnings in countries with differing
statutory tax rates, changes in tax laws, regulations and judicial rulings (or changes in the
interpretation thereof), changes in generally accepted accounting principles, changes in the
valuation of deferred tax assets and liabilities, the results of audits and examinations of
previously filed tax returns and continuing assessments of NewCo’s tax exposures and various
other governmental enforcement initiatives. NewCo’s tax expense includes estimates of tax
reserves and reflects other estimates and assumptions, including assessment of NewCo’s future
earnings which could impact the valuation of the deferred tax assets. Changes in tax laws or
regulations may increase tax uncertainty and may adversely impact NewCo’s provision for
income taxes.

                Furthermore, NewCo’s ability to utilize certain tax attributes, including net
operating loss carryforwards, is uncertain. Even if NewCo is able to utilize certain tax attributes,
the resulting impact of those tax attributes is uncertain.

                For a discussion of certain U.S. federal income tax considerations to NewCo, the
Debtor and certain holders of Claims and Interests in connection with the implementation of the
Plan, see Article X belowCertain U.S. Federal Income Tax Consequences of the Plan.

G.     F. Risk Factors Relating to Liquidating Trust Interests to Be Issued Under the Plan

       1.      Risks Associated with Absence of Any Established Trading Market for
               Liquidating Trust Interests

               With regard to any private sales of the Liquidating Trust Interests after the
Effective Date, neither the Liquidating Trust nor the Liquidating Trust Board will take steps
designed to facilitate the development of a secondary market in the Liquidating Trust Interests.
Neither the Liquidating Trust nor the Liquidating Trust Board intend for an active trading market
for the Liquidating Trust Interests to develop. It may be difficult to sell the Liquidating Trust



                                                -131-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 327 of 410



Interests at an attractive price. The price at which the Liquidating Trust Interests could be sold
may be below the original cost of the holders of the Liquidating Trust Interests, and the holders
of the Liquidating Trust Interests may not be able to sell the Liquidating Trust Interests at all.
This means that a holder of a Liquidating Trust Interest may not be able to sell its Liquidating
Trust Interests to raise money for immediate or future needs.

       2.      Potential Dilution

                The ownership percentage represented by the Liquidating Trust Interests
distributed on the Effective Date under the Plan to the Holders of Allowed General Unsecured
Claims, Allowed Subordinated Note Claims and Preferred Equity Interests will be subject to
dilution from any other units that may be issued post-emergence, if any, including Holders of
Claims or Interests that are Disputed as of the Effective Date.

                In the future, unit issuances by the Liquidating Trust could adversely affect the
value of the Liquidating Trust Interests. The amount of dilution effected by the foregoing could
be material. Furthermore, the Liquidating Trust could issue additional Liquidating Trust
Interests with a distribution preference over the Liquidating Trust Interests that will be
distributed on the Effective Date under the Plan to the Holders of Allowed General Unsecured
Claims, Allowed Subordinated Note Claims and Preferred Equity Interests.

                The Class A Trust Units issued to Holders of Allowed General Unsecured Claims
(other than Holders of Allowed General Unsecured Claims that elect to participate inreceive the
GUC Cash-Out) will receive a distribution preference of $[•], which will accrete at an annual
rate of 12%. Given that the Class B Trust Units and the Class C Trust Units will receive no
distributions until the distribution preference of the Class A Trust Units has been satisfied in full,
including any accretion thereto, delays in distributions from the Liquidating Trust may reduce
distributions to holders of Class B Trust Units and Class C Trust Units. The Class B Trust Units
issued to Holders of Allowed Subordinated Note Claims will receive a distribution preference to
be calculated at the face amount of the Allowed Subordinated Note Claims, which will accrete at
an annual rate of 12%. Given that the Class C Trust Units will receive no distributions until the
distribution preferences of the Class A Trust Units and Class B Trust Units have been satisfied in
full, including any accretion thereto, delays in distributions from the Liquidating Trust may
reduce distributions to holders of Class C Trust Units.

       3.      The Liquidating Trust May be Required to Register Under the Investment
               Company Act, Which Would Increase Its Regulatory Burden and Negatively
               Affect the Value of the Liquidating Trust Interest

               The Liquidating Trust may be required to register as an investment company
under the Investment Company Act. While the Debtor takes the position that the Liquidating
Trust should not be required to register under the Investment Company Act and that the
Liquidating Trust is not subject to the Investment Company Act, the SEC may disagree and
could require registration of the Liquidating Trust either immediately or at some point in the
future. As a result, there could be an increased regulatory burden on the Liquidating Trust which
could negatively affect the value of the Liquidating Trust Interests.



                                                 -132-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 328 of 410



H.     G. Operational Risks for the Liquidating Trust

       1.      Risks Associated with Financial Projections

                The Debtor’s management, with the assistance of their financial advisors, have
prepared the Financial Projections based on certain assumptions, as set forth in Appendix D
hereto. The Financial Projections represent the management’s view based on currently known
facts, the successful Confirmation and implementation of the Plan and hypothetical assumptions
regarding the Liquidating Trust. Actual financial results will be subject to a number of factors,
including general business and economic conditions, and other matters, many of which will be
beyond the control of the Liquidating Trust Board and may differ materially from the Financial
Projections. The Liquidating Trust may not be able to liquidate the Liquidating Trust Assets in
the timeframe or at prices that are consistent with the Financial Projections and as envisioned
under the Plan, the Liquidating Trust Agreement and this Disclosure Statement after the
Effective Date.

       2.      The Timing and Outcome of the FDIC Litigation Is Uncertain and Has a
               Significant Impact on the Liquidating Trust

                The Debtor is party to litigation against the FDIC with respect to the FDIC
Claims, in which the Debtor seeks the return of approximately $1.93 billion in its deposits held
by the former SVB at the time of its receivership. This litigation is currently taking place in two
venues with respect to the FDIC-C, FDIC-R1 and FDIC-R2: (i) the United States District Court
for the Southern District of New York, with respect to the FDIC-C, FDIC-R1 and FDIC-R2 (the
“SDNY Proceeding”) and (ii) the United States District Court for the Northern District of
California, solely with respect to the FDIC-C (together with the SDNY Proceeding, the “FDIC
Proceedings”). The FDIC disputes the Debtor’s allegations and is defending itself in the FDIC
Proceedings. Additional proceedings regarding the FDIC Claims in additional venues may be
filed before a hearing is held regarding confirmation of the Debtor’s Plan.

                The outcome of the FDIC Proceedings will have a significant impact on the value
of the Liquidating Trust. A material portion of the ultimate recoveries, if any, to be obtained by
the Liquidating Trust on behalf of Holders of Allowed Claims in Classes 3(a), 3(b), 4 and 5 are
contingent on the resolution of the FDIC Claims. However, any recovery on account of the
FDIC Claims is highly speculative. The FDIC Proceedings may result in a range of outcomes,
including settlements, which could significantly affect the value of the Liquidating Trust.
Additionally, the timing of any resolution of the FDIC Proceedings is impossible to predict,
which may also adversely impact the value of the Liquidating Trust. The FDIC Claims feature
complex and novel questions of law and of fact and the FDIC Proceedings (including those
proceedings regarding the FDIC Claims that may be filed in the future) are procedurally
complicated. While the Debtor believes in the merits of its lawsuits, these circumstances make it
impossible to predict the resolution of the FDIC Proceedings (or similar lawsuits regarding the
FDIC Claims) or the timing thereof.




                                                -133-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 329 of 410



       3.      The Timing and Outcome of Litigation Relating to the Retained Causes of
               Action is Uncertain and May have a Significant Impact on the Liquidating
               Trust

                Pursuant to the Plan, certain Retained Causes of Action will be transferred to the
Liquidating Trust. The outcome of any litigation involving the Retained Causes of Action may
have a significant impact on the value of the Liquidating Trust. Additionally, the timing of any
resolution of litigation involving the Retained Causes of Action is impossible to predict, which
may also have a significant impact on the value of the Liquidating Trust. The Retained Causes
of Action include Claims and Causes of Action that involve complex factual and legal issues and
that may be procedurally complicated. These circumstances make it impossible to predict the
resolution of any litigation involving the Retained Causes of Action or the timing thereof.

       4.      Liquidating Trust Expenses May Exceed Current Expectations

                The ultimate amount of Cash available to distribute to the holders of Liquidating
Trust Interests depends, in part, on the manner in which the Liquidating Board operates the
Liquidating Trust and the expenses that it incurs in doing so. Such expenses may include,
without limitation, the reasonable and necessary expenses of administering the Liquidating Trust,
including the costs to liquidate the Liquidating Trust Assets, investigate and prosecute the FDIC
Claims, investigate and prosecute the Retained Causes of Action and make distributions. If the
Liquidating Trust incurs professional or other expenses in excess of current expectations, the
amount of distributable assets remaining to provide distributions to the holders of Liquidating
Trust Interests will decrease.

       5.      The Liquidating Trust May be Subject to Certain Exchange Act Reporting
               Requirements

               The Debtor is currently subject to reporting requirements under the Exchange Act,
and as of the Effective Date, NewCo may be or may in the future become subject to reporting
obligations under the Exchange Act. Compliance with such reporting requirements may be
burdensome and may adversely impact the Liquidating Trust’s financial performance.
Compliance with the reporting requirements under the Exchange Act may subject the
Liquidating Trust to additional regulatory risks that the Liquidating Trust would not otherwise
face as a non-reporting company.

       6.      5. The Liquidating Trust May Be Adversely Affected by Potential Litigation

                 In the future, the Liquidating Trust may become party to litigation. In general,
litigation can be expensive and time consuming to bring or defend against. Such litigation could
result in settlements or damages that could significantly affect the Liquidating Trust’s financial
results. It is not possible to predict the potential litigation that the Liquidating Trust may become
party to, nor the final resolution of such litigation. The impact of any such litigation on the
Liquidating Trust’s businesses and financial stability, however, could be material.




                                                 -134-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 330 of 410



       7.      6. Tax Risks

                There are a number of material income tax considerations, risks, and uncertainties
associated with the Liquidating Trust. Holders of Claims or Interests and other interested parties
should read carefully the discussion of certain U.S. federal income tax consequences of the Plan
set forth in Article X belowCertain U.S. Federal Income Tax Consequences of the Plan.

I.     H. Additional Risk Factors

       1.      The Financial Information is Based on the Debtor’s Books and Records and,
               Unless Otherwise Stated, No Audit Was Performed

                In preparing this Disclosure Statement, the Debtor relied on financial data derived
from its books and records that was available at the time of such preparation. Although the
Debtor has used its reasonable business judgment to assure the accuracy of the financial
information provided in this Disclosure Statement, and while the Debtor believes that such
financial information fairly reflects its financial condition, the Debtor is unable to warrant or
represent that the financial information contained in this Disclosure Statement (or in any
information in any of the exhibits to the Disclosure Statement) is without inaccuracies.

       2.      The Debtor Could Amend, Waive, Modify or Withdraw the Plan

                 The Plan may be revoked or withdrawn prior to the Confirmation Date by the
Debtor, subject to the terms of the Plan and the RSA. Further, the Debtor reserves the right,
prior to the Confirmation of the Plan or substantial consummation thereof, subject to the
provisions of section 1127 of the Bankruptcy Code and applicable law and the terms of the RSA,
to amend the terms of the Plan or waive any conditions thereto if and to the extent such
amendments or waivers are necessary or desirable to consummate the Plan. The potential impact
of any such amendment or waiver on the Holders of Claims and Interests cannot presently be
foreseen but may include a change in the economic impact of the Plan on some or all of the
proposed Classes or a change in the relative rights of such Classes. Holders of Claims and
Interests will receive notice of such amendments or waivers as required by applicable law and
the Bankruptcy Court. If, after receiving sufficient acceptances, but prior to Confirmation of the
Plan, the Debtor seeks (in accordance with the terms of the RSA) to modify the Plan, the
previously solicited acceptances will be valid only if (a) all classes of adversely affected
creditors and interest holders accept the modification in writing or (b) the Bankruptcy Court
determines, after notice to designated parties, that such modification was de minimis or purely
technical or otherwise did not adversely change the treatment of Holders of accepting Claims and
Interests or is otherwise permitted by the Bankruptcy Code.

       3.      There is a Risk of Termination of the RSA

               To the extent that events giving rise to termination of the RSA occur, the RSA
may terminate prior to the Confirmation or the Effective Date, which could result in the loss of
support for the Plan by important creditor constituencies, which could adversely affect the
Debtor’s ability to confirm and consummate the Plan. If the Plan is not consummated, there can
be no assurance that the Chapter 11 Cases would not be converted to chapter 7 liquidation cases



                                                -135-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 331 of 410



or that any new chapter 11 plan would be as favorable to Holders of Claims or Interests as the
current Plan.

       4.      No Representations Outside the Disclosure Statement Are Authorized

               No representations concerning or related to the Debtor, the Chapter 11 Case, or
the Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth
in the Disclosure Statement. Any representations or inducements made to secure your vote for
acceptance or rejection of the Plan that are other than those contained in, or included with, the
Disclosure Statement should not be relied upon in making the decision to vote to accept or reject
the Plan.

       5.      Certain Tax Consequences

                For a discussion of certain U.S. federal income tax considerations to NewCo, the
Debtor and certain holders of Claims and Interests in connection with the implementation of the
Plan, see Article X belowCertain U.S. Federal Income Tax Consequences of the Plan.

       6.      No Legal or Tax Advice Is Provided by the Disclosure Statement

                The contents of the Disclosure Statement should not be construed as legal,
business, or tax advice. Each holder of a Claim or Interest should consult their own legal
counsel and accountant as to legal, tax, and other matters concerning their Claim or Interest. The
Disclosure Statement is not legal advice to you. The Disclosure Statement may not be relied
upon for any purpose other than to determine how to vote on the Plan or object to confirmation
of the Plan.

       7.      No Admission Made

              Nothing contained herein or in the Plan will constitute an admission of, or will be
deemed evidence of, the tax or other legal effects of the Plan on the Debtor or Holders of Claims
or Interests.

       8.      Failure to Identify Projected Objections

                 No reliance should be placed on the fact that a projected objection to a particular
Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtor may seek to
investigate, file, and prosecute Claims and may object to Claims and Interests after Confirmation
and consummation of the Plan, irrespective of whether this Disclosure Statement identifies such
Claims or objections to Claims and Interests.

       9.      Information Was Provided by the Debtor and Was Relied Upon by the
               Debtor’s Advisors

                Counsel to and other advisors retained by the Debtor have relied upon information
provided by the Debtor in connection with the preparation of this Disclosure Statement. Also, as
of the Petition Date, much of the information relevant to this Disclosure Statement was not in the
Debtor’s possession due to the seizure and receivership of the former Silicon Valley Bank, as


                                                -136-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 332 of 410



described above. Counsel to the Debtor and other advisors have retained by the Debtor have
engaged in significant efforts to retrieve documents and other material not in the Debtor’s
possession at the time of the Petition Date, but may not have copies of all books and records.
Further, these advisors have performed certain limited due diligence in connection with the
preparation of this Disclosure Statement and the exhibits to the Disclosure Statement, but they
have not independently verified the information contained in this Disclosure Statement or the
information in the exhibits to the Disclosure Statement.

       10.     Risk of the Inability to Obtain Regulatory Approval

               The closing of the Restructuring Transactions may be subject to regulatory review
in the United States. The failure of any governmental or regulatory unit to grant an approval
could prevent or limit consummation of the Restructuring Transactions and Confirmation of the
Plan.

       11.     Governmental Laws, Regulations and Actions Could Adversely Affect the
               Debtor

               The Debtor is subject to various federal, state and local laws, orders and
regulations. Failure to comply with these laws and regulations may result in the assessment of
administrative, civil and criminal fines and penalties or the imposition of injunctive relief.

                Future compliance with laws and regulations, including environmental,
production, transportation, sales, rate and tax rules and regulations, and any changes to such laws
or regulations, may reduce the Debtor’s profitability and have a material adverse effect on its
financial position, liquidity and cash flows. Such laws and regulations may require more
stringent and costly measures.

       12.     The Debtor Has No Duty to Update

                The statements contained in this Disclosure Statement are made by the Debtor as
of the date hereof, unless otherwise specified herein, and the delivery of this Disclosure
Statement after that date does not imply that there has been no change in the information set
forth herein since that date. The Debtor has no duty to update this Disclosure Statement unless
otherwise ordered to do so by the Bankruptcy Court.

                                   ARTICLE X.ARTICLE X

      CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

               The following discussion is a summary of certain U.S. federal income tax
consequences of the consummation of the Plan to the Debtor, NewCo and certain U.S. Holders
(as defined below) of Claims or Interests. Except as otherwise indicated, this discussion
assumes that the Restructuring Transactions are consummated pursuant to the Plan. The
following summary does not address the U.S. federal income tax consequences to Holders who
are Unimpaired or otherwise entitled to payment in full in Cash under the Plan or who are
deemed to reject the Plan.



                                                -137-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 333 of 410



                The discussion of U.S. federal income tax consequences below is based on the
Internal Revenue Code of 1986, as amended (the “Tax CodeIRC”), the Treasury regulations,
judicial authorities, published positions of the IRS, and other applicable authorities, all as in
effect on the date of this Disclosure Statement and all of which are subject to change or differing
interpretations (possibly with retroactive effect), so as to result in U.S. federal income tax
consequences different from those summarized herein. Due to the lack of definitive judicial and
administrative authority in a number of areas, substantial uncertainty may exist with respect to
some of the tax consequences described below. The U.S. federal income tax consequences of
the contemplated Plan and the Restructuring Transactions are complex and subject to significant
uncertainties. As discussed further below, the Debtor has requested a private letter ruling from
the IRS with respect to certain, but not all, of the U.S. federal income tax consequences relating
to the Plan and does not presently intend to seek any additional rulings from the IRS with respect
to the remaining tax aspects of the Plan, subject to the discussion below. There is no assurance
that a favorable ruling will be obtained, and the consummation of the Plan is not conditioned
upon the issuance of such a ruling. Moreover, the private letter ruling will rely on certain facts,
assumptions, representations and undertakings from the Debtor, which, if incorrect or inaccurate,
may jeopardize the Debtor’s ability to rely on such private letter ruling. The discussion below is
not binding upon the IRS or the courts and no assurance can be given that the IRS would not
assert, orand that a court would not sustain, a different position than any position discussed
herein. If the IRS successfully challenges any aspect of the tax treatments described below,
adverse U.S. federal income tax consequences may result.

                This summary does not purport to address all aspects of U.S. federal income
taxation that may be relevant to the Debtor, NewCo or to, Holders of Claims or Interests or to
Liquidating Trust Beneficiaries in light of their individual circumstances. This summary does
not address the non-U.S., state, or local tax consequences of the contemplated Plan and the
Restructuring Transactions, nor does it address all of the U.S. federal income tax consequences
of the transactions that might be relevant to special classes of taxpayers in light of their particular
circumstances (e.g., small business investment companies, regulated investment companies, real
estate investment trusts, banks and certain other financial institutions, insurance companies,
tax-exempt organizations, cooperatives, retirement plans, individual retirement and other
tax-deferred accounts, Holders that are, or hold their Claims or Interest through, S corporations
or other pass-through entities for U.S. federal income tax purposes, persons who received their
Claims or Interests pursuant to the exercise of an employee stock option or otherwise as
compensation, persons whose functional currency is not the U.S. dollar, dealers in securities or
foreign currency, traders that elect to use the mark-to-market method of tax accounting for their
securities, and or commodities, persons subject to special tax accounting rules under section
451(b) of the IRC, persons whose Claims or Interests are part of a straddle, hedging, constructive
sale, or conversion transaction, or part of a “synthetic security” or other integrated financial
transaction, U.S. expatriates, persons whose Claims or Interests are described in
Article IV.F.6—Claims or Interests Paid by Third Parties, or foreign persons or entities (except
to the extent set forth below)). In addition, this discussion does not address the alternative
minimum tax (including the corporate alternative minimum tax), the “Medicare” tax on net
investment income, or U.S. federal taxes other than income taxes. Unless otherwise indicated,
this discussion assumes that all Claims and, Interests, and NewCo Common Stock and NewCo
Debt are held as “capital assets” (generally, property held for investment) within the meaning of
section 1221 of the Tax CodeIRC and that the various debt and other arrangements to which the


                                                  -138-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 334 of 410



Debtor is a party will be respected for U.S. federal income tax purposes in accordance with their
respective forms. This summary does not discuss differences in tax consequences to Holders of
Claims or Interests that otherwise act or receive consideration in a capacity other than any
otheras a Holder of a Claim or InterestsInterest of the same Class or Classes, and the tax
consequences for such Holders may differ materially from that described below.

               As used herein, the term “U.S. Holder” means, with respect to Claims, Interests,
NewCo Common Stock or NewCo DebtLiquidating Trust Interests, a beneficial owner that is for
U.S. federal income tax purposes:

                      an individual who is a citizen or resident of the United States;

                      a corporation, or other entity taxable as a corporation for U.S. federal
                       income tax purposes, created or organized in or under the laws of the
                       United States, any state thereof, or the District of Columbia;

                      an estate the income of which is subject to U.S. federal income taxation
                       regardless of its source; or

                      a trust, if a court within the United States is able to exercise primary
                       jurisdiction over its administration and one or more U.S. persons have
                       authority to control all of its substantial decisions, or that has a valid
                       election in effect under applicable Treasury Regulations to be treated as a
                       U.S. person.

                 For purposes of this discussion, the term “Non-U.S. Holder” means, with respect
to Claims, Interests, NewCo Common Stock or Liquidating Trust Interests, a beneficial owner
that is, for U.S. federal income tax purposes, not a U.S. Holder and not a partnership (or other
entity or arrangement treated as a partnership or other pass-through entity for U.S. federal
income tax purposes). Non-U.S. Holders are subject to special U.S. federal income tax
provisions, some of which are discussed below.

                If a partnership (or other entity or arrangement treated as a partnership or other
pass-through entity for U.S. federal income tax purposes) is a Holder of Claims or, Interests,
NewCo Common Stock or Liquidating Trust Interests, the tax treatment of a partner (or other
beneficial owner) in such partnership (or such other pass-through entity) generally will depend
upon the status of the partner (or other beneficial owner) and the activities of the partnership (or
other pass-through entity). If you are a partner (or other beneficial owner) in such a partnership
(or other pass-through entity) holding any such instruments, you should consult your own tax
advisor.

          THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME
TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON YOUR
INDIVIDUAL CIRCUMSTANCES. ALL HOLDERS OF CLAIMS OR INTERESTS ARE




                                                 -139-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 335 of 410



URGED TO CONSULT THEIR TAX ADVISORS FOR THE U.S. FEDERAL, STATE,
LOCAL AND OTHER TAX CONSEQUENCES APPLICABLE UNDER THE PLAN.

A.     Consequences to the Debtor

       1.      Characterization of Certain Restructuring TransactionsThe Debtor’s
               Consolidated Tax Group

               For U.S. federal income tax purposes and immediately prior to certainthe
Restructuring Transactions discussed below, the Debtor is the common parent of an affiliated
group of corporations whichthat files a consolidated U.S. federal income tax return (the “Tax
Group”). The Debtor’s Tax Group includes SVB in receivership, even though SVB is under the
effective control of the FDIC. Accordingly, the income, profit, gain, loss and deductions of SVB
while under the FDIC’s effective control affect the Debtor’s U.S. federal taxable income until
such time as SVB is deconsolidated from the Tax Group (as described below).

               On or prior to the Effective Date, the Debtor may undertake a series of
Restructuring Transactions as a result of which NewCo (an entity treated as a C corporation for
U.S. federal income tax purposes) will own 100 percent of the equity interests in the Debtor, the
Debtor is converted from a Delaware corporation to a Delaware limited liability company (or
other business form as agreed upon under the terms of the Plan) disregarded as separate from its
owner for U.S. federal income tax purposes and the equity owners of Debtor immediately prior
to such reorganization become equity owners of NewCo immediately thereafter (collectively, the
“Debtor F Reorganization”). It has not yet been decided whether the Debtor would undertake the
Debtor F Reorganization.

                If effected, the Debtor F Reorganization is intended to be treated as a
reorganization under section 368(a)(1)(F) of the Tax Code. Section 368(a)(1)(F) of the Tax
Code provides that a reorganization includes a mere change in identity, form, or place of
organization of one corporation, however effected. Furthermore, the Tax Code and Treasury
Regulations provide that, in the case of a reorganization qualifying under section 368(a)(1)(F) of
the Tax Code, the resulting corporation will generally be treated for purposes of the Tax Code
the same as the transferor corporation would have been treated had there been no reorganization.
Accordingly, except as otherwise described herein, (a) the Debtor F Reorganization is not
expected to give rise to any taxable gain or loss to the Debtor or the shareholders of the Debtor,
(b) NewCo will generally succeed to Debtor’s income tax attributes (including net operating
losses (“NOL”) and tax basis and holding period in assets) and (c) the basis and holding period
of NewCo stock received by the Debtor’s equity owners in the Debtor F Reorganization is
expected to be equal to the basis and holding period of the Interests in the Debtor exchanged
therefor. This characterization is subject to some uncertainty and is not binding upon the IRS or
the courts and no assurance can be given that the IRS would not assert, or that a court would not
sustain, a different characterization.

            The remainder of this discussion assumes that the Debtor F Reorganization is not
consummated or (if effected) qualifies under section 368(a)(1)(F) of the Tax Code, and unless




                                                -140-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 336 of 410



specified otherwise, references to the “Debtor” in this Article X shall include a reference to
NewCo for U.S. federal income tax purposes.

                Whether or not the Debtor effects the Debtor F Reorganization, the Debtor may
undertake one or more additional Restructuring Transactions in order to implement the Plan. For
example, in order to ensure that the implementation of the Plan is a fully taxable transaction for
U.S. federal income tax purposes to the U.S. Holders of Claims or Interests, the Debtor may
undertake certain Restructuring Transactions in order to have each of NewCo Debt and NewCo
Common Stock be issued by different affiliates that indirectly wholly own the Debtor. The
details of such Restructuring Transactions, if any, are yet to be determined as of the date of this
Disclosure Statement and the U.S. federal income tax consequences of any such Restructuring
Transactions are expected to be complex and subject to additional uncertainty. Such additional
Restructuring Transactions may result in adverse consequences to the Debtor if the IRS disagrees
with any of the positions taken with respect to such transactions.

       2.      Cancellation of Indebtedness

                In general, absent an exception, a debtor will realize and recognize cancellation of
indebtedness income (“COD Income”) upon satisfaction of its outstanding indebtedness for total
consideration (as determined for U.S. federal income tax purposes) less than the adjusted issue
price of such indebtedness. UnderGenerally, under section 108 of the Tax CodeIRC, a debtor is
not required to include COD Income in gross income if the debtor is under the jurisdiction of a
court in a case under the Bankruptcy Code and the discharge of debt occurs pursuant to that
proceeding. Instead, as a consequence of such exclusion, in general, the Tax CodeIRC provides
that the debtor must reduce certain of its tax attributes—including carryforward and current year
net operating losses (“NOL”), capital loss carryforwards, tax credits, and tax basis in assets (but
not below the amount of liabilities to which the debtor remains subject)—by the amount of any
COD Income incurred but excluded from income under section 108 of the Tax CodeIRC.

                If advantageous, the borrowera debtor can elect to reduce the basis of depreciable
property prior to any reduction in its NOL carryforwards or other tax attributes. Where the
borrowera debtor joins in the filing of a consolidated U.S. federal income tax return, applicable
Treasury Regulations require, in certain circumstances, that the tax attributes of the consolidated
subsidiaries of the borrowera debtor and other members of the group also be reduced. Any
reduction in tax attributes in respect of COD Income incurred does not occur until the end of the
taxable year and after such attributes have been applied.

               The ultimate amount of COD Income incurred by the Debtor in connection with
the implementation of the chapter 11 planPlan will depend on, among other things, the issue
price of NewCo Debt, the final amount of cashCash and the fair market value of any other
property (including NewCo Common Stock and Liquidating Trust Interests) distributed to
Holders of Claims. Certain of these figures cannot be known with certainty until after the
Effective Date. Accordingly, the amount of COD Income that the Debtor may incur is uncertain,
but may be significant.




                                                -141-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 337 of 410



       3. Treatment of the NewCo Debt

                 The Debtor presently expects and intends that NewCo Debt will be treated as debt
of its issuer for U.S. federal income tax purposes. However, the terms of NewCo Debt have not
been finalized, and depending on the final terms, other characterizations of NewCo Debt are
possible, which may have an adverse impact on NewCo and the Tax Group. There can be no
assurance that the IRS would agree with the Debtor’s intended characterization of NewCo Debt.
The remainder of this disclosure assumes that NewCo Debt is properly characterized as debt of
its issuer for U.S. federal income tax purposes, unless otherwise indicated.

       3.      4. Transfer of Liquidating Trust Assets to the Liquidating Trust

                Pursuant to the Plan, on or before the Effective Date, the Debtor will transfer the
Liquidating Trust Assets to the Liquidating Trust, on behalf of the respective Holders of Claims
and Interests comprising the Liquidating Trust Beneficiaries. The transfer of the Liquidating
Trust Assets by the Debtor pursuant to the Plan may result in the recognition of gain or, loss,
income, or deduction by the Debtor, depending in part on the value of the Liquidating Trust
Assets on the Effective Date and the Debtor’s tax basis in the Liquidating Trust Assets. Subject
to the impact of any Restructuring Transactions to be determined, the implementation of which is
subject to change, and subject to the receipt of a favorable ruling discussed below regarding
the character of the Stock Loss (defined below), the Debtor anticipates that, any current year
tax deductions incurred in the year that includes the Effective Date should be available to offset
the Tax Group’s taxable income (inclusive of any gain or income recognized upon transfer of
assets pursuant to the Plan) incurred during such year, subject to the ownership change rules of
the Tax Code,IRC discussed below (or other limitations as provided under the Tax CodeIRC).
Due to the lack of guidance with respect to the sale or other taxable disposition of Retained
Causes of Action, there can be no assurance that a subsequent resolution of such claims or
Causes of Action could not result in additional income to the Debtor, which may or may not
be able to be offset by the tax attributes of the Tax Group.

       4.      5. Potential Limitations on NOL Carryforwards and Other Tax Attributes

               (a)    Section 382

              After giving effect to the reduction in tax attributes pursuant to excluded COD
Income described above, the Tax Group’s ability to use any remaining tax attributes
post-emergence may be subject to certain limitations under sections 382 and 383 of the Tax
CodeIRC.

               Under sections 382 and 383 of the Tax CodeIRC, if the Debtor undergoes an
“ownership change,” the amount of any remaining NOL, section 163(j) carryforwards, tax credit
carryforwards, net unrealized built-in losses (“NUBIL”), and possibly certain other attributes of
the Debtor allocable to periods prior to the Effective Date (collectively, “Pre-Change Losses”)
that may be utilized to offset future taxable income generally are subject to an annual limitation
(discussed below). For this purpose, if a corporation (or consolidated group) has a NUBIL at the
time of an ownership change (taking into account most assets and items of “built-in” income and
deductions), then generally built-in losses (including amortization or depreciation deductions



                                                -142-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 338 of 410



attributable to such built-in losses) recognized during the five-year period beginning on the
ownership change date (up to the amount of the original NUBIL) will be treated as Pre-Change
Losses and similarly will be subject to the annual limitation (discussed below). In general, a
corporation’s (or consolidated group’s) NUBIL will be deemed to be zero unless it is greater than
the lesser of (a) $10,000,000, or (b) 15 percent of the fair market value of its assets (with certain
adjustments) before the ownership change. ItThe NUBIL of a consolidated group generally is
calculated on a consolidated basis, subject to special rules. Based on facts and circumstances not
yet known to the Debtor as of the date of this Disclosure Statement, it is currently uncertain
whether the Tax Group would have a NUBIL immediately prior to the Effective Date.

                The rules of section 382 of the Tax CodeIRC are complex, but as a general
matter, the Debtor anticipates that the issuance of NewCo Common Stock pursuant to the terms
of the Plan will result in an ownership change of the Tax Group for these purposes, and that the
Tax Group’s use of the Pre-Change Losses will be subject to limitation unless an exception to
the general rules of section 382 of the Tax CodeIRC applies. In addition, it is possible there
could be a subsequent ownership change after the Effective Date, which would further limit the
Debtor’s NOL. Lastly, because a corporation can experience multiple ownership changes, it is
possible that certain of the Tax Group’s tax attributes (including any built-in loss in the stock of
SVB) are subject to one or more additional section 382 limitations that could adversely impact
the Tax Group’s ability to utilize itssuch tax attributes.

                       (i)     General Section 382 Limitation

                In general, the amount of the annual limitation to which a corporation that
undergoes an ownership change would be subject is equal to the product of (a) the fair market
value of the stock of the corporation immediately before the ownership change (with certain
adjustments), and (b) the “long-term tax-exempt rate” (which is the highest of the adjusted
federal long-term rates in effect for any month in the 3-calendar-month period ending with the
calendar month in which the ownership change occurs, or 3.813.37 percent for an ownership
change during FebruaryApril 2024). The annual limitation may be increased to the extent that
the Tax Group recognizes certain built-in gains in its assets during the five-year period following
the ownership change, or is treated as recognizing built-in gains pursuant to the safe harbors
provided in IRS Notice 2003-65, but only to the extent that the Tax Group had a “net
unrecognized built-in gain” overall in its assets at the time of the ownership change. Section 383
of the Tax CodeIRC applies a similar limitation to capital loss carryforwards and tax credits.
Any unused limitation may be carried forward, thereby increasing the annual limitation in the
subsequent taxable year.

                If the corporation or consolidated group does not continue its historic business or
use a significant portion of its historic assets in a new business for at least two years after the
ownership change, the annual limitation resulting from the ownership change is generally
reduced to zero, thereby precluding any utilization of the corporation’s Pre-Change Losses
(absent any increases due to recognized built-in gains).




                                                 -143-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                              Pg 339 of 410



               Notwithstanding the above and as discussed below, special rules may apply in the
case of a corporation that experiences an ownership change as the result of a bankruptcy
proceeding.

                           (ii)     Abandonment of SVB Stock

                 The Debtor currently expects to take advantage of at least a portion of the tax
loss that is anticipated to result from the Debtor abandoning its equity investment in
SVB25for U.S. federal income tax purposes. Specifically, the Debtor anticipates that it (i) has
a substantial tax basis in its stock investment in SVB. The Debtor anticipates taking such 32 and
(ii) will claim a worthless stock deduction (the “Stock Loss”) at a time when the Debtor believes
that such stock investment is worthless. In addition to the investment in SVB stock being
worthless, in order for the Debtor to claim the worthless stock deduction (the “Stock Loss”)
with respect to all or part of the SVB stock, the stock investment in SVB must also meetbe
worthless and certain other conditions must be met, such as SVB ceasing to be a member of the
Tax Group, at which point the Tax Group’s consolidated NOL attributable to SVB (as
determined under the relevant Treasury Regulations, at the end of the taxable year, after taking
into account the Tax Group’s income for such year) would no longer be available to the Tax
Group. The Stock Loss (subject to the receipt of a favorable ruling discussed below),
togetheralong with other possible deductions incurred in connection with the implementation
of the Planthe same taxable year, is anticipated to result in a substantial NOL for the taxable
year in which the Effective Date occurs. The Debtor has requested a private letter ruling from
the IRS that the character of the Stock Loss is ordinary. There can be no assurance that a
favorable ruling will be obtained, and the consummation of the Plan is not conditioned upon the
issuance of such a ruling. Moreover, the private letter ruling will rely on certain facts,
assumptions, representations and undertakings from the Debtor, which, if incorrect or inaccurate,
may jeopardize the Debtor’s ability to rely on such private letter ruling. If the character of the
Stock Loss is capital rather than ordinary, then such capital loss generally would only be
available to offset capital gains.

                The Debtor currently anticipates realizing the Stock Loss by abandoning its
equitystock investment in SVB prior to (but in the same taxable year as) the Effective Date. If
the Debtor abandons its equitystock investment in SVB prior to (but in the same taxable year as)
the Effective Date, a substantialportion of the NOL may not be subject to the annual limitation
resulting from the implementation of the Plan, even if a change in ownership occurs on the
Effective Date of the Plan, because the resulting NOL (determined after taking into account other
activities occurring in the taxable year that includes the Effective Date) would be pro-rated
between the pre- and post-change portions of the taxable year, such that the post-change portion
would not be treated as a Pre-Change Loss described above.




25
     Solely for purposes of the discussion of the U.S. federal income tax consequences herein, references to SVB
     includes references to certain entities treated as successors to SVB for U.S. federal income tax purposes.
32
     Solely for purposes of the discussion of the U.S. federal income tax consequences herein, references to SVB
     includes references to certain entities treated as successors to SVB for U.S. federal income tax purposes.



                                                        -144-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 340 of 410



                 However, based on facts and circumstances not yet known to the Debtor as of the
date of this Disclosure Statement (including whether the Debtor has a NUBIL as of the Effective
Date), the Debtor may, subject to any applicable consent rights set forth in the RSA to amend the
Plan, abandon its equitystock investment in SVB after the Effective Date, in which case the
NOL resulting from a post-Effective Date abandonment may be treated as a post-change loss.
Such determination is subject to significant uncertainties, including with respect to facts relating
to the activities of SVB after the commencement of the receivership. Accordingly, even if the
Debtor were to abandon its equitystock investment in SVB after the Effective Date and treat the
Stock Loss as a post-change loss, there can be no assurance that the IRS will not assert that such
Stock Loss will not be subject to section 382 limitations. Irrespective of whether the
abandonment occurs before or after the Effective Date, the availability of the NOL attributable to
the Stock Loss described above, would be subject to, among other things, (i) reduction under the
tax rules applicable to COD Income, and (ii) any applicable limitations imposed by the
ownership change rules of the Tax Code,IRC such as those discussed above, and may be further
limited to the extent that the Debtor had undergone an ownership change prior to the Effective
Date.

                       (iii)   Special Bankruptcy Exception

                With respect to the possible ownership change that could occur on the Effective
Date, an exception to the foregoing annual limitation rules generally applies when so-called
“qualified creditors,” together with certain pre-change shareholders, of a debtor corporation in
chapter 11 receive, in respect of their Claims, at least 50 percent of the vote and value of the
stock of the debtor corporation (or a controlling corporation if also in chapter 11) as reorganized
pursuant to a confirmed chapter 11 plan (the “382(l)(5) Exception”). If the requirements of the
382(l)(5) Exception are satisfied, the ownership change resulting from the consummation of the
chapter 11 planPlan would not result in a limitation on the Debtor’s Pre-Change Losses, but,
instead, NOL carryforwards and section 163(j) carryforwards would be reduced by the amount of
any interestas if no deductions were claimed for interest paid or accrued by the Debtor during the
three taxable years preceding, with respect to indebtedness that was satisfied with NewCo
Common Stock pursuant to the Plan, during any taxable year ending during the three-year period
preceding the taxable year in which the Effective Date, occurs and during the part of the taxable
year prior to and including the Effective Date, in respect of all debt converted into stock pursuant
to the Plan. If the 382(l)(5) Exception applies and the Debtor undergoes another ownership
change within two years after the Effective Date, then the Debtor’s Pre-Change Losses
thereafteras of the second ownership change would be effectively eliminated in their entirety.

                 Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy
(either because the debtor corporation does not qualify for it or the debtor corporation otherwise
elects not to utilize the 382(l)(5) Exception), another exception will generally apply (the
“382(l)(6) Exception”) with respect to the ownership change resulting from the consummation of
the chapter 11 plan. Under the 382(l)(6) Exception, the annual limitation on the Debtor’s
Pre-Change Losses will be calculated by reference tomultiplying the applicable “long-term
tax-exempt rate” by the lesser of (a) the value of the NewCo Common Stock (with certain
adjustments) immediately after the ownership change or (b) the value of the NewCo’sDebtor’s
assets (determined without regard to liabilities) immediately before the ownership change. This
differs from the ordinary rule that requires the fair market value of a debtor corporation that


                                                -145-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                        Pg 341 of 410



undergoes an ownership change to be determined before the events giving rise to the change.
The 382(l)(6) Exception also differs from the 382(l)(5) Exception in that, under it, a debtor
corporation is not required to reduce its NOL carryforwards by the amount of interest deductions
claimed within the prior three-year period, andand section 163(j) carryforwards as under the
382(l)(5) Exception. Additionally, a debtor corporation may undergo a subsequent change of
ownership within two years without automatically triggering the elimination of its Pre-Change
Losses. The, in which case the resulting limitation iffrom a subsequent ownership change were
to occur after the Effective Date would be determined under the regular rules for ownership
changes.

                Whether the chapter 11 planPlan qualifies for the 382(l)(5) Exception is unclear
and depends on a number of factors that are not yet known, including the existence of any rights
offering or a similar transaction as part of a NewCo Transaction, and may require the receipt of
one or more additional rulings from the IRS. Moreover, it is possible that the Restructuring
Transactions, when finally determined if implemented as part of the Plan, will not be consistent
with the 382(l)(5) Exception. Finally, even if the Debtor does qualify, the Debtor may, if it so
desires, elect not to have the exception apply and instead apply the 382(l)(6) Exception.

                      (iv)    Risk of Subsequent Ownership Changes

                In an attempt to minimize the likelihood of an additionala subsequent ownership
change occurring after the Effective Date, the charter of NewCo will contain a restriction
limiting the accumulation (and disposition) of shares by persons (and certain groups of persons
acting in concert) owningwho own or would own (actually or constructively), or who would
own ( immediately before or after such acquisition) or disposition, 4.99 percent of any class of
stock of NewCo (with certain adjustments), and requiring the approval of NewCo’sthe NewCo
Board for any such transfers. Nevertheless, it is possible that NewCo could undergo an
additionala subsequent ownership change, either by events within or outside of the control of the
NewCo Board, e.g., indirect changes in the ownership of persons treated as owning 5 percent or
more of the stock of NewCo (by value). Also, in the unlikely event that NewCo Debt is
recharacterized as equity of NewCo, transfers of such debt might be taken into account for
purposes of section 382. In such event, subsequent transfers of NewCo Debt potentially
could result in an ownership change of NewCo after the Effective Date. In the event of a
subsequent ownership change of NewCo, all or part of the NOL (or other relevant tax attributes)
would become subject to an annual limitation or disallowed entirely, depending on, among other
things, if the 382(l)(5) Exception applies to the Plan and whether such ownership change occurs
within a certain period of time after the Effective Date.

               (b)    Other Provisions

                Aside from the objective limitations of section 382 of the Tax CodeIRC, the IRS
may disallow, pursuant to section 269 of the Tax CodeIRC, the subsequent use of a
corporation’s losses following an acquisition of control of a corporation by one or more persons
if the principal purpose of the acquisition is the avoidance or evasion of tax by securing a tax
benefit which such person(s) or the corporation would not otherwise enjoy. Accordingly, if the
principal purpose of any group of persons (including Holders of Claims or Interests in
connection with the Plan) in acquiring control of NewCothe Debtor is to obtain the use of the


                                               -146-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 342 of 410



NOL, the IRS could disallow the use of the full NOL (i.e., which may include both the
pre-change portion that would be subject to the annual section 382 limitation and the
post-change unlimited portion). Other provisions of the Tax CodeIRC may also preclude the use
of a corporation’s NOL and certain tax attributes in other ways under certain circumstances.

       5.      6. Other Income and Uncertainty of Debtor’s Tax Treatment

                The Debtor may incur other income for U.S. federal income tax purposes in
connection with the Plan that, unlike COD Income, generally will not be excluded from the
Debtor’s U.S. federal taxable income. In addition, the U.S. federal income tax considerations
relating to the Plan are complex and subject to uncertainties. No assurance can be given that the
IRS will agree with the Debtor’s interpretations of the tax rules applicable to, or tax positions
taken with respect to, the transactions undertaken to effecteffectuate the Plan. If the IRS were to
successfully challenge any such interpretation or position, the Debtor may recognize additional
taxable income for U.S. federal income tax purposes, and the Debtor may not have sufficient
deductions, losses or other attributes for U.S. federal income tax purposes to fully offset such
income.

               In addition, because SVB is under the receivership of FDIC, until the Debtor
abandons the stock of SVB, SVB while under the receivership of the FDIC generally will
continue to be a member of the Tax Group for U.S. federal income tax purposes, and the actions
of SVB while under the FDIC’s effective control could affect the Debtor’s U.S. federal taxable
income as well as the positions taken with respect to any transactions implemented in connection
with the Plan. No assurance can be given that the FDIC will not take any action with respect to
SVB that would adversely affect the tax consequences described in this Disclosure Statement.

B.     Consequences to U.S. Holders of Certain Claims and Interests

                Pursuant to the Plan, except to the extent that any Holder of an Allowed Claim or
Interest agrees to less favorable treatment: Holders of Allowed General Unsecured Claims will
receive Class A Liquidating Trust Units, NewCo Common Stock and/or cashCash (subject to
certain elections and adjustments), in complete and final satisfaction of their respective Claims;
Holders of Allowed Subordinated Note Claims will receive Class B Liquidating Trust Units and
cashCash sufficient to satisfy the Subordinated Note Trustee Expenses (subject to certain
elections and adjustments), in complete and final satisfaction of their respective Claims; and
Holders of Preferred Equity Interests will receive Class C Liquidating Trust Units, in complete
and final satisfaction of their respective ClaimsInterests.

            As discussed below (see Article XB.7Consequences of Owning and Disposing
of NewCo Debt Received Under the Plan

                Article XDAs discussed further below in Article XCTax Treatment of the
Liquidating Trust and Holders of Liquidating Trust Interests, the Liquidating Trust Beneficiaries
are treated as directly owning the Liquidating Trust Assets (except for any assets that are
allocable to any Disputed Claims Reserve). Among such Liquidating Trust Assets is NewCo
Debt to be issued pursuant to the Plan. The following discussion summarizes certain U.S.



                                                -147-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 343 of 410



federal income tax considerations to the Liquidating Trust Beneficiaries as a result of being
treated as owning such NewCo Debt for U.S. federal income tax purposes.

                The discussion of NewCo Debt assumes that NewCo Debt will be treated as debt
and will not have terms that will require NewCo Debt to be treated under special rules, such as
rules regarding “contingent debt payment instruments” within the meaning of Treasury
Regulation section 1.1275-4 (“CPDI”). However, there can be no assurance that the IRS will
agree with the Debtor’s intended characterization of NewCo Debt, and the rules surrounding
debt, such as the CPDI rules, are complex and subject to uncertainties. Additionally, the terms
of NewCo Debt have not been finalized and depending on the final terms, alternative
characterizations of NewCo Debt could result in the Holders’ of NewCo Debt experiencing tax
consequences that are different from, and possibly adverse compared to, those discussed in this
summary. The Liquidating Trust Beneficiaries are urged to consult their tax advisors regarding
potential tax consequences of being treated as owning and disposing of NewCo Debt.

               (a) Interest on NewCo Debt

                A Holder generally will be required to recognize and include in gross income
qualified stated interest on NewCo Debt as ordinary income at the time it is paid or accrued on
NewCo Debt in accordance with such holder’s method of accounting for U.S. federal income tax
purposes. The term “qualified stated interest” means stated interest that is unconditionally
payable in cash or in property (other than debt instruments of the issuer) at least annually at a
single fixed rate or, subject to certain conditions, based on one or more interest indices. It is
possible that the final terms of the NewCo Debt may permit, or require, interest to be entirely
“paid-in-kind” and therefore not provide for any qualified stated interest.

                If the “issue price” (as discussed below) of NewCo Debt is less than the stated
redemption price at maturity within the meaning of section 1273 of the Tax Code and the
Treasury Regulations thereunder (including any interest that can be “paid-in-kind”) and the
difference is equal to or more than a de minimis amount (as set forth in the Tax Code and the
applicable Treasury Regulations), NewCo Debt will be treated as issued with OID, and a U.S.
Holder will be required to include the difference in income as ordinary income as it accrues (in
accordance with a constant yield method, as set forth in the applicable Treasury Regulations), in
advance of the receipt of any cash in respect of the OID, regardless of whether and when the U.S.
Holder receives cash payments of interest. Accordingly, a U.S. Holder could be treated as
receiving income in advance of a corresponding receipt of cash.

                 The determination of the “issue price” of NewCo Debt will depend, in part, on
whether NewCo Debt or any Allowed Claims are treated as traded on an “established market” at
any time during the 31-day period ending 15 days after the transfer of Liquidating Trust Assets to
the Liquidating Trust. In general, a debt instrument (or the property exchanged therefor) will be
treated as traded on an established market if at any time during the aforementioned 31-day period
there is (a) a “sales price” for an executed purchase or sale of the debt instrument (or the property
exchanged therefor) during the 31-day period appears on a medium that is made available to
issuers of debt instruments, persons that regularly purchase or sell debt instruments, or persons
that broker purchases or sales of debt instruments; (b) a “firm” price quote for the debt
instrument (or the property exchanged therefor) is available from at least one broker, dealer or


                                                 -148-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                          Pg 344 of 410



pricing service and the quoted price is substantially the same as the price for which the person
receiving the quoted price could purchase or sell the debt instrument; or (c) an “indicative” price
quote for the debt instrument (or the property exchanged therefor) is available from at least one
broker, dealer or pricing service for property and the price quote is not a firm quote. The issue
price of a debt instrument that is traded on an established market or that is issued for another
debt instrument so traded would be the fair market value of such debt instrument, if such debt
instrument is treated as traded on an established market, or such other debt instrument, if the first
instrument is not treated as traded on an established market and the other debt instrument is
treated as traded on an established market, on the issue date as determined by such trading. The
issue price of a debt instrument that is neither so traded nor issued for another debt instrument so
traded would be its stated redemption price at maturity.

                If neither NewCo Debt nor the Allowed Claims (with respect to which NewCo
Debt is deemed to have been received) are treated as traded on an established market within the
meaning of the applicable Treasury Regulations, the “issue price” of NewCo Debt should
generally equal the stated redemption price at maturity of such NewCo Debt. However, if
NewCo Debt or any Allowed Claims (with respect to which NewCo Debt is deemed to have
been received) are treated as traded on an established market within the meaning of the
applicable Treasury Regulations, the issue price of NewCo Debt would be the fair market value,
at the time of the exchange, (1) of NewCo Debt if it is treated as publicly traded or (2) of any
Allowed Claims (with respect to which NewCo Debt is deemed to have been received) if they
are treated as publicly traded and NewCo Debt is not treated as publicly traded.

                The rules regarding OID are complex and the rules described above may not
apply in all cases. Holders should consult their own tax advisors regarding the potential
application to NewCo Debt of the OID rules and the consequences thereof.

               (b) Sale, Exchange, Retirement, Redemption, or Other Taxable Disposition of
                      NewCo Debt

                Upon the actual or deemed sale, exchange, retirement, redemption or other
taxable disposition of NewCo Debt, a U.S. Holder generally will recognize gain or loss equal to
the difference between (i) the amount realized on the actual or deemed disposition (other than
any amounts attributable to accrued but unpaid stated interest, which will be taxable as ordinary
income for U.S. federal income tax purposes to the extent not previously included in income)
and (ii) the U.S. Holder’s adjusted tax basis in NewCo Debt.

                Generally, gain or loss recognized will be capital gain or loss and will be
long-term capital gain or loss if the U.S. Holder has been treated as holding such NewCo Debt
for longer than one year. Non-corporate taxpayers generally are subject to a reduced federal
income tax rate on net long-term capital gains. The deductibility of capital losses is subject to
certain limitations under the Tax Code. Holders should consult their tax advisors regarding the
deductibility of capital losses in their particular circumstances.

                  Tax Treatment of the Liquidating Trust and Holders of Liquidating Trust
Interests), it is intended that the Liquidating Trust qualify as a “grantor trust” for U.S. federal
income tax purposes. Accordingly, it is intended that each Holder of an Allowed Claim,


                                                  -149-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 345 of 410



Subordinated Claim or Interest receiving a beneficial interest in the Liquidating Trust will be
treated for U.S. federal income tax purposes as directly receiving, and as a direct owner of, its
respective share of the Liquidating Trust Assets (consistent with its economic rights in the trust),
including NewCo Debt held by the Liquidating Trust. Pursuant to the Plan, the Liquidating
Trust (as provided in the Plan) will in good faith value the assets transferred to the Liquidating
Trust, and all parties to the Liquidating Trust (including Holders of Claims and Interests
receiving Liquidating Trust Interests) must consistently use such valuation for all U.S. federal
income tax purposes. However, the IRS or another taxing authority may disagree with such
valuation and assert a different valuation, which, if sustained, could result in adverse tax
consequences to such parties.

                The U.S. federal income tax consequences to a Holder of an Allowed Claim or
Interest who receives (or is deemed to receive via such Holder’s interests in the Liquidating
Trust, as discussed further below) NewCo Debt or NewCo Common Stock will differ
depending on the ultimate structure adopted to implement the Plan. If the structure adopted to
implement the Plan is intended to result in a taxable transaction to the Holder, then the
consequences to such Holder are generally as discussed below in Article XB.1Gain or Loss –
In General. Alternatively, if the structure adopted to implement the Plan results in a
“recapitalization” of NewCo for U.S. federal tax purposes, and certain other conditions are met,
a Holder’s loss, if any, in respect of its Claims or Interests would generally be deferred and a
Holder would only be required to recognize taxable gain to the extent of the amount of “boot”
received in the recapitalization, as described in more detail below.

                Even where a structure is intended to potentially result in a recapitalization
transactionThe U.S. federal income tax consequences to a Holder of an Allowed Claim who
receives NewCo Debt or NewCo Common Stock, whether the transaction qualifies as such
also depends will depend, in part, on whether such Claim or NewCo Debt constitutes a
“security” of NewCothe Debtor for U.S. federal income tax purposes (as discussed in more
detail below). The term “security” is not defined in the Tax CodeIRC or in the Treasury
Regulations issued thereunder and has not been clearly defined by judicial decisions. The
determination of whether a particular debt obligation constitutes a “security” depends on an
overall evaluation of the nature of the debt, including whether the holder of such debt obligation
is subject to a material level of entrepreneurial risk and whether a continuing proprietary interest
is intended or not. One of the most significant factors considered in determining whether a
particular debt obligation is a “security” is its original term. In general, debt obligations issued
with a weighted average maturity at issuance of five years or less (e.g., trade debt and revolving
credit obligations) do not constitute “securities,” whereas debt obligations with a weighted
average maturity at issuance of ten years or more constitute “securities.” Accordingly, certain
Allowed General Unsecured Claims and Subordinated Claims may qualify as “securities” while
others may not. The U.S. federal income tax treatment of NewCo Debt, the terms of which
have not yet been finalized as of the date of this Disclosure Statement, is unclear. Although the
debt status of NewCo Debt is uncertain, the Debtor expects that NewCo Debt will be treated
as “securities” of its issuer; accordingly, the remainder of this disclosure assumes NewCo
Debt are “securities” of its issuer. If an Allowed Claim constitutes a “security” and the
structure adopted to implement the Plan is intended to result in a recapitalization transaction to
the Holder of such Claim (to the extent permitted by law), then the consequences to such Holder
are generally as discussed below in Article XB.2Recapitalization Treatment. If an Allowed


                                                 -150-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 346 of 410



Claim does not constitute a “security,” then the consequences to the Holder of such Claim are
generally as discussed below in Article XB.1Gain or Loss – In General.

               You are urged to consult your own tax advisor regarding the characterization
as “securities” for U.S. federal income tax purposes of your Claim and/or NewCo Debt and
the consequences of such treatment.

       1.      Holders of Senior Note Claims (Class 3(a)) and Other General Unsecured
               Claims (Class 3(b)) and of Subordinated Note Claims (Class 4)

              The below discussion in this Article X.B.1 applies with respect to Holders who
only hold Allowed Claims within a single Class of Claims. For a discussion with respect to
Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.B.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)     1. Gain or Loss – In General

                 If the Debtor (subject to the applicable consent rights set forth in the RSA)
structures the Plan to qualify for taxable treatment, or if thean Allowed Claim is not a
“security,” it is generally intended thator if a Holder does not receive any consideration that
constitutes stock or a “security” of NewCo in exchange for such Holder’s Allowed Claim (for
example, a Holder that only receives cash in exchange for Allowed Claims), then the exchanging
Holder of such Claim will generally recognize gain or loss (although any loss with respect to
such a Claim or Interest might be deferred until all Disputed Claims or Interests are resolved) in
an amount equal to the difference, between (i) the sum of the amount of any cash, the issue
price of NewCo Debt,Cash and the fair market value of all other consideration received (if any),
including NewCo Common Stock and any undivided interest in the Liquidating Trust Assets
(other than any amounts received in respect of any Claim for accrued but unpaid interest) and
(ii) the Holder’s adjusted tax basis in its Claim or Interest (other than any tax basis attributable
to accrued but unpaid interest). The deduction of capital losses is subject to certain limitations.

                In the event of a subsequent disallowance of a Disputed Claim, it is possible that a
Holder of a previously Allowed Claim or Interest may be taxed, as such Disputed Claims are
resolved, and such Holder effectively becomes entitled to an increased share of the assets held in
the Liquidating Trust or an increased number of shares of NewCo Common Stock. The imputed
interest provisions of the Tax CodeIRC may apply to treat a portion of such increased share or
any additional distributions (e.g., the redistribution among Holders of Allowed Claims of
undeliverable distributions) as imputed interest. In addition, it is possible that any loss realized
by a Holder in satisfaction of an Allowed Claim or Interest may be deferred until all Disputed
Claims in such Holder’s class are determined and such Holder’s share can no longer increase,
and with respect to certain claimsAllowed Claims , a portion of any gain realized may be
deferred under the “installment method” of reporting. Holders are urged to consult their tax
advisors regarding the possibility for deferral, and the ability to elect out of the installment
method of reporting any gain realized in respect of their Claims or Interests.

              A Holder’s aggregate tax basis in any NewCo Debt, NewCo Common Stock
and/or undivided interest in the Liquidating Trust Assets received in satisfaction of a Claim, if


                                                -151-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 347 of 410



any, will equal the amount taken into account in respect of such notes, stock or undivided
interest in determining the Holder’s amount realized. A Holder’s holding period in such debt,
stock or undivided interest generally will begin the day following the Effective Date.

                The fair market value of the Liquidating Trust Interests is contingent in part on
the outcome of certain Retained Causes of Action included in the Liquidating Trust Assets. It is
therefore plausible that, instead of the treatment described above, a U.S. Holder could treat the
transaction as an “open” transaction for U.S. federal income tax purposes, in which case the
recognition of any gain or loss on the transaction might be deferred pending the determination of
the amount of any recoveries under Retained Causes of Action included in the Liquidating Trust
Assets. The U.S. federal income tax consequences of treating the consummation of the Plan as
an open transaction are uncertain and highly complex, and a U.S. Holder should consult with its
own tax advisor if it believes open transaction treatment might be appropriate.

               (b)     2. Recapitalization Treatment

                 Unless the structure adopted to implement the Plan is intended to result in a
taxable transaction to the Holders, as described above, theThe receipt of any NewCo Debt (if
NewCo Debt constitutes “securities” of NewCo), NewCo Common Stock and any other
instrument that constitutes stock or a “security” of NewCothe Debtor (such as potentially any
Subscription Rights, discussed further below in 0Tax Treatment of the Potential NewCo
Transaction) Article X.B.1(e)Tax Treatment of the Potential NewCo Transaction)] by a
Holder in partial satisfaction of an Allowed General Unsecured Claim or Allowed Subordinated
Note Claim that constitutes a “security” for U.S. federal income tax purposes generally would
qualify as a “recapitalization” for U.S. federal income tax purposes. In such event, each such
Holder generally will not recognize any loss upon the exchange of its Claim, but will generally
recognize anya gain (computed as discussed in the preceding section) to the extent of any
cashCash and the fair market value of all other consideration received, including its undivided
interest in the Liquidating Trust Assets received (other than to the extent received in respect of a
Claim for accrued but unpaid interest, or attributable to the receipt of any instrument that
constitutes stock or a “security” of NewCothe Debtor such as potentially NewCo Debt or
Subscription Rights, if any). The treatment of distributions in respect of a Claim for accrued but
unpaid interest is discussed in the next section.

               In a recapitalization exchange, a Holder’s aggregate tax basis in any NewCo Debt
(if NewCo Debt constitutes “securities” of NewCo), NewCo Common Stock and any other
instrument that constitutes stock or a “security” of NewCothe Debtor (such as potentially any
Subscription Rights, discussed further below in 0Article X.B.1(e)Tax Treatment of the
Potential NewCo TransactionTax Treatment of the Potential NewCo Transaction) received in
respect of an Allowed Claim that constitutes a “security” will equal the Holder’s adjusted tax
basis in such Claim (including any Claim for accrued but unpaid interest),; increased by any gain
recognized or interest income received in respect of such Claim,; and decreased by the amount of
any cashCash and the fair market value of any share ofits undivided interest in the Liquidating
Trust Assets (other than any instrument that constitutes a “security” of NewCo such as
potentially NewCo Debt) received and any deductions claimed in respect of any previously
accrued but unpaid interest. The aggregate tax basis should be allocated among the stock and



                                                 -152-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 348 of 410



“securities” of NewCothe Debtor received in accordance with their relative fair market values as
of the Effective Date.

                In a recapitalization exchange, a Holder’s holding period in any NewCo Debt (if
NewCo Debt constitutes “securities” of NewCo), NewCo Common Stock and any other
instrument that constitutes stock or a “security” of NewCothe Debtor (such as potentially any
Subscription Rights, discussed further below in 0Article X.B.1(e)Tax Treatment of the
Potential NewCo TransactionTax Treatment of the Potential NewCo Transaction) received will
include the Holder’s holding period in the Claim exchanged therefor, except to the extent of
anyits undivided interest in the Liquidating Trust Assets or any NewCo Common Stock received
in respect of a Claim for accrued but unpaid interest (which will commence a new holding
period).

               A Holder’s tax basis in its undivided interest in the Liquidating Trust Assets
(other than any instrument that constitutes stock or a “security” of NewCothe Debtor such as
potentially NewCo Debt or Subscription Rights (as defined below), if any) will equal the fair
market value of such interest, and the Holder’s holding period generally will begin the day
following the Effective Date.

               (c)     3. Consideration Received in Satisfaction of Accrued Interest or OID

                In general, to the extent that any consideration received pursuant to the Plan by a
Holder of aan Allowed Claim is received in satisfaction of interest accrued during its holding
period, such amount will be taxable to the Holder as interest income (if not previously included
in the Holder’s gross income). For purposes of this paragraph and related discussions above,
“interest accrued” during a holding period includes original issue discount (“OID”) accrued over
the course of such holding period. Conversely, a Holder may be entitled to recognize a loss to
the extent any accrued interest was previously included in its gross income and is not paid in full.
The Plan provides that consideration received in respect of a Claim is generally allocable first to
the principal amount of the Claim (as determined for U.S. federal income tax purposes) and then,
to the extent of any excess, to any Claim for accrued but unpaid interest. There is no assurance
that the IRS will respect such allocation for U.S. federal income tax purposes. Holders are urged
to consult their tax advisors regarding the allocation of consideration received under the Plan, as
well as the deductibility of accrued but unpaid interest (including OID, if applicable) and the
character of any loss claimed with respect to accrued but unpaid interest previously included in
gross income for U.S. federal income tax purposes.

               (d)     4. Character of Gain or Loss

                Where gain or loss is recognized by a Holder, the character of such gain or loss as
long-term or short-term capital gain or loss or as ordinary income or loss will be determined by a
number of factors, including the tax status of the Holder, whether the Allowed Claim or Interest
constitutes a capital asset in the hands of the Holder, how long the Claim or Interest has been
held, whether the Claim or Interest was acquired at a market discount, and whether and to what
extent the Holder previously claimed a bad debt deduction. A Holder that purchased its Claims
from a prior Holder at a “market discount” (relative to the principal amount of the Claims at the
time of acquisition) may be subject to the market discount rules of the Tax Code. A Holder that


                                                -153-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 349 of 410



purchased its Claim from a prior Holder will beIRC. In general, a debt instrument is considered
to have purchased such Claimbeen acquired with “market discount” if it is acquired other than
on original issue and if the Holder’s adjusted tax basis in its Claim is less than thethe debt
instrument immediately after the acquisition is less than (a) the sum of all remaining payments to
be made on the debt instrument, excluding qualified stated interest, or (b) in the case of a debt
instrument issued with original issue discount, its revised issue price of such Claim, in each case,
by at least a de minimis amount. The de minimis amount is equal to 0.25% of the sum of all
remaining payments to be made on the debt instrument from the date of such acquisition,
excluding qualified stated interest, multiplied by the number of remaining whole years to
maturity. Under these rules, gain recognized on the exchange of Claims (other than in respect of
a Claim exchanged for accrued but unpaid interest) generally will be treated as ordinary income
to the extent of the market discount accrued (on a straight line basis or, at the election of the
Holder, on a constant yield basis) during the Holder’s period of ownership, unless the Holder
elected to include the market discount in income as it accrued. If a Holder of Claims did not
elect to include market discount in income as it accrued and, thus, under the market discount
rules, was required to defer all or a portion of any deductions for interest on debt incurred or
maintained to purchase or carry its Claims, such deferred amounts would become deductible at
the time of the exchange in the case of a taxable exchange.

                In the case of an exchange of any Claims that qualifies as a recapitalization, any
accrued market discount that is not included in income should be applied to any stock or
“securities” received in the exchange (such as the NewNewCo Common Stock, NewCo Debt, if
applicable, or Subscription Rights (as defined below), if applicable), such that any gain
recognized by a Holder upon a subsequent disposition of such stock or “securities” would
generally be treated as ordinary income to the extent of any accrued market discount not
previously included in income. If a Holder of such Claims did not elect to include market
discount in income as it accrued and, thus, under the market discount rules, was required to defer
all or a portion of any deductions for interest on debt incurred or maintained to purchase or carry
its Claims, such deferred amounts should be carried over to the stock or “securities” received in
the exchange to the extent that any accrued market discount is applied to stock or such
“securities” and should become deductible upon a subsequent disposition of such stock or
“securities.” To date, specific Treasury Regulations implementing these rules have not been
issued.

               (e)     5. Tax Treatment of the Potential NewCo Transaction

                The characterization of a potential NewCo Transaction will depend on the
ultimate structure of such NewCo Transaction, which has not yet been determined as of the date
of this Disclosure Statement. Moreover, even upon the determination of the final structure of a
particular NewCo Transaction, the tax consequences of such NewCo Transaction may be subject
to uncertainty. For example, if NewCo issues rights to purchase additional NewCo Common
Stock in a rights offering (such rights, “Subscription Rights”), the characterization of such
Subscription Rights and their subsequent exercise for U.S. federal income tax purposes – —as
simply the exercise of options to acquire the underlying stock or, alternatively, as an integrated
transaction pursuant to which the underlying stock is acquired directly in partial satisfaction of a
Holder’s Allowed Claim or Interests – —is uncertain.



                                                -154-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 350 of 410



                 If the Subscription Rights are not disregarded in suchas transitory in an
integrated transaction analysis and are treated as separate property (for example, characterized as
options), then the Holder’s tax basis in the Subscription Rights received depends on whether the
structure adopted to implement the Planreceipt of such Subscription Rights qualifies as a
recapitalization, discussed above. If the Holder’s receipt of. To the extent that both the
Subscription Rights is pursuant to a recapitalization transaction and is a “security,”and the
Allowed Claims exchanged therefor constitute “securities” of NewCo, then the Holder’s tax
basis and holding period in the Subscription Rights is generally determined as described above in
Article XB.2Recapitalization Treatment. If Article X.B.1(b)Recapitalization Treatment.
If either the Holder’s receipt ofClaims or the Subscription Rights is not pursuant to a
recapitalization or is pursuant to a recapitalization but is not a “securityreceived in exchange
do not constitute “securities,” then the Holder’s tax basis in the Subscription Rights received
should be equal to the fair market value of such Subscription Rights when received. Regardless
of the characterization, however, a Holder ofA Holder’s holding period in the Subscription
Rights generally would not recognize any gain or loss upon the exercise of such Subscription
Rights (beyond the gain or loss recognized in respect of its Claim or Interests, as described
above).should commence the day following the Effective Date. A Holder’s aggregate tax
basisholding period in the additional NewCo Common Stock received upon exercise of a
Subscription Right should be equal to the sum of (i) the amount paid for the additional NewCo
Common Stock and (ii) the Holder’s tax basis, if any, in generally should commence the day
following the exercise of the applicable Subscription Right.

                It is uncertain whether a Holder that does not exercise a Subscription Right should
be treated as receiving anything of additional value in respect of its Allowed Claims. If the
Holder is treated as having received a Subscription Right of value (despite its subsequent lapse),
such that it obtains a tax basis in the right, the Holder generally would recognize a loss to the
extent of the Holder’s tax basis in the Subscription Right upon the lapse or expiration of such
right. In general, such loss would be a capital loss, and long-term or short-term, depending upon
whether the requisite holding period was satisfied (taking into account that the receipt of the
Subscription Rights in partial satisfaction of a Claim could be part of a recapitalization
exchange, even if the right goes unexercised, such that the Holder may carry over the holding
period in its Claim).

                If the Subscription Rights or, alternatively, underare disregarded as transitory in
an integrated transaction analysis, and a Holder’s acquisition of NewCo Common Stock in the
rights offering is treated as occurring directly in connection with partial satisfaction of a Holder’s
Allowed Claims, the Holder’s tax treatment also depends on whether such acquisition of NewCo
Common Stock in exchange for Allowed Claims qualifies as a recapitalization. If, in such
integrated transaction, the Holder’s receipt of the NewCo Common Stock is pursuant to a
recapitalization, then the Holder could have a split basis and holding period in the additional
NewCo Common Stock received upon exercise of a Subscription Right (for example, part
carryover basis and holding period, with respect to the portion of the additional NewCo Common
Stock attributable to the value of the Subscription Rights, and part new, with respect to the
portion of the additional NewCo Common Stock that is attributable to the exercise price of the
Subscription Right). If the Holder’s receipt of the NewCo Common Stock is not pursuant to a
recapitalization (because, for example, the Holder’s Allowed Claim does not constitute
“securities”), then the Holder’s aggregate tax basis in the NewCo Common Stock received upon


                                                 -155-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 351 of 410



exercise of a Subscription Right should be equal to the sum of (i) the amount paid for the
additional NewCo Common Stock and (ii) the Holder’s tax basis in any additional NewCo
Common Stock that is treated as directly acquired in partial satisfaction of the Holder’s Allowed
Claim. A Holder’s holding period in the additional NewCo Common Stock received upon
exercise of a Subscription Right generally should commence the day following the Effective
Date, unless the Subscription Right is disregarded and the Holder is instead treated as receiving
for its Allowed Claim a portion of the additional NewCo Common Stock acquired equal in value
to the Subscription Rights. In the latter event, the Holder could have a split holding period (part
carry over to the extent of a portion of the additional NewCo Common Stock equal to the value
of the Subscription Rights, and part new, to the extent of the remaining value of the NewCo
Common Stock otherwise received .

                Regardless of whether the Subscription Rights are disregarded or not, however, a
Holder of Subscription Rights generally would not recognize any gain or loss upon the exercise
of thesuch Subscription Rights) if the receipt of the additional stock was part of a
“recapitalization” exchange for U.S. federal income tax purposes (beyond the gain or loss
recognized in respect of its Claim, as described above). In addition, if either the Subscription
Rights or, under an integrated transaction analysis, the additional NewCo Common Stock
acquired, is treated as received as part of a recapitalization exchange, any gain recognized upon a
subsequent disposition of the additional NewCo Common Stock may be treated as ordinary
income to the extent of any carryover of accrued market discount not previously included in
income (see preceding sectionArticle X.B.1(d)Character of Gain or Loss).

                It is uncertain whether a Holder that does not exercise a Subscription Right should
be treated as receiving anything of additional value in respect of its Claim or Interests. If the
Holder is treated as having received a Subscription Right of value (despite its subsequent lapse),
such that it obtains a tax basis in the right, the Holder generally would recognize a loss to the
extent of the Holder’s tax basis in the Subscription Right upon the lapse or expiration of such
right. In general, such gain or loss would be a capital gain or loss, long-term or short-term,
depending upon whether the requisite holding period was satisfied (taking into account that the
receipt of the Subscription Rights in partial satisfaction of a Claim could be part of a
recapitalization exchange, even if the right goes unexercised, such that the Holder may carry
over the holding period in its Claim).

       2.      Holders of Preferred Equity Interests (Class 5)

               The below discussion in this Article X.B.2 applies with respect to Holders who
only hold Preferred Equity Interests and no other Claim or Interest. For a discussion with respect
to Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.B.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)    Gain or Loss – In General

                The exchanging Holder of Allowed Interests will generally recognize capital gain
or loss (although any loss with respect to such Interest might be deferred until all Disputed
Interests are resolved) in an amount equal to the difference, between (i) the sum of the amount of
any Cash, and the fair market value of all other consideration received, including an undivided


                                                -156-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 352 of 410



interest in the Liquidating Trust Assets (other than any amounts received in respect of accrued
but unpaid dividends) and (ii) the Holder’s adjusted tax basis in its Interests. Such capital gain
will be long-term capital gain if at the time of the exchange, the U.S. Holder’s holding period of
the Allowed Interests was more than one year. Long-term capital gains of a non-corporate
taxpayer generally are taxed at preferential rates. The deduction of capital losses is subject to
certain limitations.

                In the event of a subsequent disallowance of a Disputed Interest, it is possible that
a Holder of a previously Allowed Interest may be taxed as such Disputed Interests are resolved,
and such Holder effectively becomes entitled to an increased share of the assets held in the
Liquidating Trust. The imputed interest provisions of the IRC may apply to treat a portion of
such increased share or any additional distributions (e.g., the redistribution among Holders of
Allowed Interests of undeliverable distributions) as imputed interest. In addition, it is possible
that any loss realized by a Holder in satisfaction of an Allowed Interest may be deferred until all
Disputed Interest in such Holder’s class are determined and such Holder’s share can no longer
increase, and with respect to certain Allowed Interests, a portion of any gain realized may be
deferred under the “installment method” of reporting. Holders are urged to consult their tax
advisors regarding the possibility for deferral, and the ability to elect out of the installment
method of reporting any gain realized in respect of their Interests.

               A Holder’s aggregate tax basis in any undivided interest in the Liquidating Trust
Assets received in satisfaction of an Interest will equal the amount taken into account in respect
of such undivided interest in determining the Holder’s amount realized. A Holder’s holding
period in such undivided interest generally will begin the day following the Effective Date.

                The fair market value of the Liquidating Trust Interests is contingent in part on
the outcome of certain Retained Causes of Action included in the Liquidating Trust Assets. It is
therefore plausible that, instead of the treatment described above, a U.S. Holder could treat the
transaction as an “open” transaction for U.S. federal income tax purposes, in which case the
recognition of any gain or loss on the transaction might be deferred pending the determination of
the amount of any recoveries under Retained Causes of Action included in the Liquidating Trust
Assets. The U.S. federal income tax consequences of treating the consummation of the Plan as
an open transaction are uncertain and highly complex, and a U.S. Holder should consult with its
own tax advisor if it believes open transaction treatment might be appropriate.

       3.      Holders of Multiple Classes of Allowed Claims and Interests

             The below discussion in this Article X.B.3 applies with respect to Holders who
hold Allowed Claims or Interests in more than one Class of Claims or Interests (for example, a
Holder who holds both Senior Notes and Preferred Equity Interests).

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is uncertain. If such
Holder is treated as having separate exchanges for each Class of Claims or Interests for U.S.
federal income tax purposes, the tax treatments described above in Article X.B.1 and
Article X.B.2 would generally apply. However, the U.S. federal income tax treatment for a
Holder of multiple Classes of Claims or Interests may be different from the tax treatment with


                                                 -157-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 353 of 410



respect to Holders who hold Allowed Claims or Interests in only a single Class of Claims or
Interests if such Holder is treated as exchanging all Classes of Claims or Interests for all
consideration received in a single exchange. For example, an exchanging Holder who only holds
Preferred Equity Interests will generally recognize capital gain or loss as described above in
Article X.B.2, subject to the qualifications and limitations therein. However, an exchanging
Holder who holds both Preferred Equity Interests and Senior Notes that are “securities” may be
limited from recognizing any loss if the exchange of Preferred Equity Interests and Senior Notes,
taken as a whole, is treated as a recapitalization for U.S. federal income tax purposes. In
addition, irrespective of whether such exchange of both Preferred Equity Interests and Senior
Notes qualify as a recapitalization, such Holder may also be treated as receiving ordinary income
or dividend income (rather than capital gain), to the extent of (i) consideration received in
respect of a Claim for accrued but unpaid interest, (ii) consideration received in respect of an
Interest for accrued but unpaid dividends or (iii) such Holder’s ratable share of the Debtor’s
earnings and profits, if the receipt of property other than NewCo Common Stock is treated as
such dividends under Section 302(d) or Section 356(a)(2) of the IRC.

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is complex and depends
on a number of factors, some of which are unclear under applicable law, including whether any
such Claims being exchanged constitute “securities”, whether such Holder receives any NewCo
Common Stock or Subscription Rights and the extent to which Section 302(d) or Section
356(a)(2) of the IRC applies. Holders that hold Claims or Interests in multiple Classes of Claims
or Interests are urged to consult their tax advisors regarding the appropriate U.S. federal income
tax treatment of the consummation of the Plan.

       4.      6. Ownership and Disposition of NewCo Common Stock Received Under the
               Plan

               (a)    Distributions on NewCo Common Stock

                Cash distributions with respect to the NewCo Common Stock generally will be
treated as taxable dividends to the extent allocable to the Reorganized Debtor’sNewCo’s current
and/or accumulated earnings and profits as determined under U.S. federal income tax principles
(“Earnings and Profits”) and will be includible in income by the Holder when received. To the
extent the amount of any distribution exceeds available Earnings and Profits with respect to such
distribution, the excess will be applied against and will reduce the Holder’s adjusted tax basis
(on a dollar-for-dollar basis) in respect of the stock as to which the distribution was made, but
not below zero. Any remaining excess will be treated as gain from the sale or exchange of such
stock.

                Dividends are generally taxed as ordinary income; however, dividends received
by non-corporate Holders may qualify for taxation at lower rates applicable to long-term capital
gains, provided certain holding period and other requirements are satisfied. The length of time
that a shareholder has held stock is reduced for any period during which the shareholder’s risk of
loss with respect to the stock is diminished by reason of the existence of certain options,
contracts to sell, short sales or similar transactions. Non-corporate Holders are urged to consult
their own tax advisors regarding the applicability of such lower rates under their particular


                                               -158-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 354 of 410



factual situation. Subject to applicable limitations, a distribution to a corporate shareholder that
is treated as a dividend for U.S. federal income tax purposes may qualify for the dividends
received deduction. No assurance can be given that the DebtorNewCo will have sufficient
Earnings and Profits (as determined for U.S. federal income tax purposes) to cause distributions
to be treated as dividends and thus eligible for a dividends received deduction. TheCorporate
Holders may be eligible for the dividends received deduction is only available if certain holding
period and taxable income requirements are satisfied, in which case the amount of the deduction
is dependent on the percent of NewCo (by vote and value) that the corporate Holder owns. In
addition, to the extent that a corporation incurs indebtedness that is directly attributable to an
investment in the stock on which the dividend is paid, all or a portion of the dividends received
deduction may be disallowed. Finally, the tax consequences of the receipt of a dividend by a
corporate shareholderHolder may be different if the dividend is treated as an “extraordinary
dividend” under applicable rules.

               (b)     Sale, Redemption, or Repurchase of NewCo Common Stock

                Unless a non-recognition provision applies, U.S. Holders generally will recognize
capital gain or loss upon the sale, redemption (other than a redemption treated as a distribution
for U.S. federal income tax purposes under section 302(d) of the Tax CodeIRC, in which case
the consequences described above under “Distributions on NewCo Common Stock” would
generally apply), or other taxable disposition of the NewCo Common Stock. Such capital gain
will be long-term capital gain if at the time of the sale, exchange, retirement, or other taxable
disposition, the U.S. Holder held theHolder’s holding period of the sold NewCo Common Stock
forwas more than one year. Long-term capital gains of a non-corporate taxpayer generally are
taxed at preferential rates. The deductibility of capital losses is subject to limitations.

                 Notwithstanding the foregoing, any gain recognized by a Holder upon a
subsequent taxable disposition of any NewCo Common Stock received in respect of aan
Allowed Claim against the Debtor (or any stock or property received for such stock in a later
tax-free exchange) would be treated as ordinary income for U.S. federal income tax purposes to
the extent of (i) any bad debt deductions (or additions to a bad debt reserve) claimed with respect
to the Claim or any ordinary loss allowed to the Holder upon satisfaction of the Claim for which
NewCo Common Stock was received, less any income (other than interest income) recognized
by the Holder upon satisfaction of the Claim, and (ii) with respect to a cash-basis Holder, also
any amounts which would have been included in its gross income if the Holder’s Claim had been
satisfied in full but which was not included by reason of the cash method of accounting.

                In addition, as discussed above, in the event of an exchange of Allowed Claims
that qualifies as a recapitalization for U.S. federal income tax purposes, a portion of any gain
recognized upon a subsequent disposition of any NewCo Common Stock received may be
treated as ordinary income to the extent of any carryover of accrued market discount not
previously included in income.

C.     Consequences to the Non-U.S. Holders of Certain Claims and Interests

                As discussed above, it is intended that each Holder of an Allowed Claim or
Interest receiving a beneficial interest in the Liquidating Trust will be treated for U.S. federal


                                                 -159-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 355 of 410



income tax purposes as directly receiving, and as a direct owner of, its respective share of the
Liquidating Trust Assets (consistent with its economic rights in the trust). This Article X.C
describes certain U.S. federal income tax consequences of the Plan to the Non-U.S. Holders of
certain Claims and Interests. The same general considerations discussed above at the beginning
of Article X.B—Consequences to U.S. Holders of Certain Claims and Interests, prior to the
discussion in Article X.B.1—Holders of Senior Note Claims (Class 3(a)) and Other General
Unsecured Claims (Class 3(b)) and of Subordinated Note Claims (Class 4), apply to Non-U.S.
Holders. Further, the amount and character of each item of income, deduction, gain, or loss is
generally determined in the same manner as set forth above in connection with U.S. Holders.
However, as discussed in greater detail below, the Non-U.S. Holders may be subject to U.S.
federal income tax rules that specifically apply to non-U.S. persons. For example, special rules
may apply to non-U.S. Holders of a U.S. real property holding corporation (“USRPHC”). The
Debtor does not believe that it is, and does not believe NewCo will be, a USRPHC, in light of
the nature of its assets and business operations, but no formal study has been or will be
conducted and no assurance can be given in this regard. Unless indicated otherwise, the
remainder of this discussion assumes that the Debtor has not been, and NewCo will not be, a
USRPHC.

               Generally, unless a documented exception applies, a Non-U.S. Holder of an
Allowed Claim or Interest may be subject to a 30 percent withholding tax on the gross amount of
certain U.S. source income and gain received in connection with the Plan, or in connection with
such Holder’s ownership of any NewCo Common Stock or Liquidating Trust Interests. A
Non-U.S. Holder may be eligible for a reduction of, or exemption from, withholding tax if such
holder qualifies for benefits under a U.S. tax treaty and provides the withholding agent with the
documentation necessary to make such treaty claim (i.e., an IRS Form W-8BEN or W-8BEN-E
or other applicable documentation, signed under the penalties of perjury) (a “Valid Treaty
Claim”). Additionally, a Non-U.S. Holder may be exempt from withholding if such income is
effectively connected with a United States trade or business of the Non-U.S. Holder (“ECI”) and
the Non-U.S. Holder provides the withholding agent with a properly executed IRS Form W-8ECI
(“Valid ECI Withholding Exemption”). The result of a Valid ECI Withholding Exemption is
that the Non-U.S. Holder will be subject to tax on its U.S. source income on a net basis.
Non-U.S. Holders are urged to consult their tax advisors regarding the availability of making a
Valid Treaty Claim or Valid ECI Withholding Exemption.

                Non-U.S. Holders must provide the certifications described above (e.g., IRS
Forms W-8BEN, W-8BEN-E, and W-8ECI) to the applicable withholding agent prior to
receiving a payment that would be subject to U.S. withholding tax and must update such
certifications periodically. Non-U.S. Holders that do not timely provide the applicable
withholding agent with the required certification, but that qualify for an exemption or a reduced
rate under an applicable income tax treaty, may obtain a refund of any excess amounts withheld
by timely filing an appropriate claim for refund with the IRS. The reporting obligations of the
Liquidating Trust and Liquidating Trust Beneficiaries with respect to the Non-U.S. Holders is
discussed below in Article XD.3—General Tax Reporting by the Liquidating Trust and
Liquidating Trust Beneficiaries.




                                                -160-
23-10367-mg     Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                          Pg 356 of 410



       1.      Holders of Senior Note Claims (Class 3(a)) and Other General Unsecured
               Claims (Class 3(b)) and of Subordinated Note Claims (Class 4)

              The below discussion in this Article X.C.1 applies with respect to Holders who
only hold Allowed Claims within a single Class of Claims. For a discussion with respect to
Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.C.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)      Gain or Loss on the Exchange

              Whether a Non-U.S. Holder realizes gain or loss pursuant to the transactions
undertaken as part of the Plan and the amount and character of such gain or loss is generally
determined in the same manner as set forth above in connection with U.S. Holders as
discussed in Article X.B.1(a)Gain or Loss – In General, Article X.B.1(b)Recapitalization
Treatment, and Article X.B.1(d)Character of Gain or Loss above.

               Subject to the discussion below with respect to accrued interest and OID, any
gain realized by a Non-U.S. Holder on the exchange of its Claim generally will not be
subject to U.S. federal income taxation unless:

                     1. the Non-U.S. Holder is a nonresident alien individual who was present in
                        the United States for 183 days or more during the individual’s taxable year
                        within which the Effective Date occurs and certain other conditions are
                        met;

                     2. such gain is ECI (and, if an applicable U.S. income tax treaty applies, such
                        gain is attributable to a permanent establishment of such Non-U.S. Holder
                        in the United States); or

                     3. such gain is realized by a Non-U.S. Holder on the exchange of an Interest
                        as part of the Plan, and the Debtor is or has been a USRPHC and certain
                        conditions are met.

               If the first exception applies, to the extent that any gain is taxable, the Non-U.S.
Holder generally will be subject to U.S. federal income tax at a rate of 30 percent (or at a
reduced rate or exemption from tax under an applicable income tax treaty if a Valid Treaty Claim
is made) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of the exchange.

                 If the second exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax with respect to any gain realized on the exchange in the same manner as
a U.S. Holder. A Valid ECI Withholding Exemption can be made to exempt the Non-U.S.
Holder from withholding tax. In addition, if such Non-U.S. Holder is a corporation, it may be
subject to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable
treaty) of its dividend equivalent amount as defined in section 884(a) of the IRC.

            If the third exception applies, although as discussed above, the Debtor believes
NewCo has not been or will be a USRPHC, the Non-U.S. Holder generally will be subject to


                                                 -161-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                          Pg 357 of 410



U.S. federal income tax to the extent of any gain realized, and withholding at a rate of 15 percent
on the gross amount realized, on the exchange of an Interest that is not characterized as a
dividend for U.S. federal income tax purposes, unless certain exceptions apply.

               (b)       Consideration Received in Satisfaction of Accrued Interest or OID

                The treatment of any consideration received pursuant to the Plan by a Non-U.S.
Holder of an Allowed Claim that is received in satisfaction of interest accrued during its holding
period (including any OID, in the case of a Claim) is generally determined in the same manner as
set forth above in connection with a U.S. Holder in Article X.B.1(c)Consideration Received in
Satisfaction of Accrued Interest or OID. Such payments to a Non-U.S. Holder generally will not
be subject to U.S. federal income or withholding tax, provided that the withholding agent has
received or receives, prior to payment, appropriate documentation (generally a properly executed
IRS Form W-8BEN or W-8BEN-E, although a U.S. taxpayer identification number and
documentary evidence issued by foreign governmental authorities to prove residence in the
foreign country, may also be required) establishing that the Non-U.S. Holder is not a U.S.
person, unless:

                        the Non-U.S. Holder actually or constructively owns 10 percent or more of
                         the total combined voting power of all classes of stock of the Debtor;

                        the Non-U.S. Holder is a “controlled foreign corporation” that is a “related
                         person” with respect to the Debtor (each, within the meaning of the IRC);

                        the Non-U.S. Holder is a bank receiving interest described in section
                         881(c)(3)(A) of the IRC; or

                        such accrued interest or OID is ECI (in which case, provided the Non-U.S.
                         Holder provides a properly executed IRS Form W-8ECI (or successor
                         form) to the withholding agent, the Non-U.S. Holder (x) generally will not
                         be subject to withholding tax, but (y) will be subject to U.S. federal
                         income tax in the same manner as a U.S. Holder (unless an applicable
                         income tax treaty provides otherwise), and a Non-U.S. Holder that is a
                         corporation for U.S. federal income tax purposes may also be subject to a
                         branch profits tax with respect to such Non-U.S. Holder’s effectively
                         connected Earnings and Profits that are attributable to the accrued but
                         unpaid interest at a rate of 30 percent (or at a reduced rate or exemption
                         from tax under an applicable income tax treaty)).

                 A Non-U.S. Holder that does not qualify for an exemption from withholding tax
with respect to interest that is not ECI generally will be subject to withholding of U.S. federal tax
at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax
treaty) on payments that are attributable to accrued but unpaid interest on such Non-U.S.
Holder’s Claims. For purposes of providing a properly executed IRS Form W-8BEN or
W-8BEN-E, special procedures are provided under applicable Treasury Regulations for




                                                  -162-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                          Pg 358 of 410



payments through qualified foreign intermediaries or certain financial institutions that hold
customers’ securities in the ordinary course of their trade or business.

               (c)       Tax Treatment of the Potential NewCo Transaction

               The rules described above under Article X.B.1(e)Tax Treatment of the
Potential NewCo Transaction, generally apply with respect to a Non-U.S. Holder. However, on
lapse or disposition of a Subscription Right, any gain or loss would not be subject to U.S. federal
income tax unless (a) the Non-U.S. Holder is a nonresident alien individual who was present in
the United States for 183 days or more during the individual’s taxable year within which the
lapse or disposition and certain other requirements are met, (b) such gain or loss is ECI or (c)
NewCo is or has been a USRPHC and certain conditions are met. As discussed above, the
Debtor does not believe that NewCo has been or will be a USRPHC.

       2.      Holders of Preferred Equity Interests (Class 5)

               The below discussion in this Article X.C.2 applies with respect to Holders who
only hold Preferred Equity Interests and no other Claim or Interest. For a discussion with respect
to Holders who hold Allowed Claims or Interests in multiple Classes of Claims or Interests, see
Article X.C.3—Holders of Multiple Classes of Allowed Claims and Interests below.

               (a)       Gain or Loss on the Exchange

              Whether a Non-U.S. Holder realizes gain or loss pursuant to the transactions
undertaken as part of the Plan and the amount and character of such gain or loss is generally
determined in the same manner as set forth above in connection with U.S. Holders as
discussed above in Article X.B.2(a)Gain or Loss – In General.

               Any gain realized by a Non-U.S. Holder on the exchange of its Interests
generally will not be subject to U.S. federal income taxation unless:

                        the Non-U.S. Holder is a nonresident alien individual who was present in
                         the United States for 183 days or more during the individual’s taxable year
                         within which the Effective Date occurs and certain other conditions are
                         met;

                        such gain is ECI (and, if an applicable U.S. income tax treaty applies, such
                         gain is attributable to a permanent establishment of such Non-U.S. Holder
                         in the United States); or

                        such gain is realized by a Non-U.S. Holder on the exchange of an Interest
                         as part of the Plan, and the Debtor is or has been a USRPHC and certain
                         conditions are met.

               If the first exception applies, to the extent that any gain is taxable, the Non-U.S.
Holder generally will be subject to U.S. federal income tax at a rate of 30 percent (or at a
reduced rate or exemption from tax under an applicable income tax treaty if a Valid Treaty Claim



                                                  -163-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 359 of 410



is made) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of the exchange.

                 If the second exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax with respect to any gain realized on the exchange in the same manner as
a U.S. Holder. A Valid ECI Withholding Exemption can be made to exempt the Non-U.S.
Holder from withholding tax. In addition, if such Non-U.S. Holder is a corporation, it may be
subject to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable
treaty) of its dividend equivalent amount as defined in section 884(a) of the IRC.

               If the third exception applies, although as discussed above, the Debtor believes
the NewCo has not been or will be a USRPHC, the Non-U.S. Holder generally will be subject to
U.S. federal income tax to the extent of any gain realized, and withholding at a rate of 15 percent
on the gross amount realized, on the exchange of an Interest that is not characterized as a
dividend for U.S. federal income tax purposes, unless certain exceptions apply.

       3.      Holders of Multiple Classes of Allowed Claims and Interests

             The below discussion in this Article X.C.3 applies with respect to Holders who
hold Allowed Claims or Interests in more than one Class of Claims or Interests (for example, a
Holder who holds both Senior Notes and Preferred Equity Interests).

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is uncertain. If such
Holder is treated as having separate exchanges for each Class of Claims or Interests for U.S.
federal income tax purposes, the tax treatments described above in Article X.C.1 and
Article X.C.2 would generally apply. However, the U.S. federal income tax treatment for a
Holder of multiple Classes of Claims or Interests may be different from the tax treatment with
respect to Holders who hold Allowed Claims or Interests in only a single Class of Claims or
Interests if such Holder is treated as exchanging all Classes of Claims or Interests for all
consideration received in a single exchange. For example, an exchanging Holder who only holds
Preferred Equity Interests will generally recognize capital gain or loss as described above in
Article X.C.2—Holders of Preferred Equity Interests (Class 5), subject to the qualifications and
limitations therein. However, an exchanging Holder who holds both Preferred Equity Interests
and Senior Notes that are “securities” may be limited from recognizing any loss if the exchange
of Preferred Equity Interests and Senior Notes, taken as a whole, is treated as a recapitalization
for U.S. federal income tax purposes. In addition, irrespective of whether such exchange of both
Preferred Equity Interests and Senior Notes qualify as a recapitalization, such Holder may also
be treated as receiving ordinary dividend income (rather than capital gain), to the extent of (i)
consideration received in respect of a Claim for accrued but unpaid interest, (ii) consideration
received in respect of an Interest for accrued but unpaid dividends or (iii) such Holder’s ratable
share of the Debtor’s earnings and profits, if the receipt of property other than NewCo Common
Stock is treated as dividends such under Section 302(d) or Section 356(a)(2) of the IRC. In such
cases, such amounts treated as interest or dividends may be subject to U.S. federal withholding
tax or branch profits tax in a manner similar to such taxes imposed on consideration received in
satisfaction of accrued but unpaid interest described above in Article X.C.1(b)—Consideration
Received in Satisfaction of Accrued Interest or OID or imposed on dividends paid with respect to


                                                -164-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 360 of 410



NewCo Common Stock described below in Article X.C.4(a)—Distributions on NewCo Common
Stock.

                The U.S. federal income tax treatment of an exchanging Holder who holds
Allowed Claims or Interests in multiple Classes of Claims or Interests is complex and depends
on a number of factors, some of which are unclear under applicable law, including whether any
such Claims being exchanged constitute “securities” and whether such Holder receives any
NewCo Common Stock or Subscription Rights and the extent to which Section 302(d) or Section
356(a)(2) of the IRC applies. Holders that hold Claims or Interests in multiple Classes of Claims
or Interests are urged to consult their tax advisors regarding the appropriate U.S. federal income
tax treatment of the consummation of the Plan.

       4.      7. Consequences of Owning and DisposingOwnership and Disposition of
               NewCo DebtCommon Stock Received Under the Plan

               As discussed further below in Article XCTax Treatment of the Liquidating
Trust and Holders of Liquidating Trust Interests, the Liquidating Trust Beneficiaries are treated
as directly owning the Liquidating Trust Assets (except for any assets that are allocable to any
Disputed Claims Reserve). Among such Liquidating Trust Assets is NewCo Debt to be issued
pursuant to the Plan. The following discussion summarizes certain U.S. federal income tax
considerations to the Liquidating Trust Beneficiaries as a result of being treated as owning such
NewCo Debt for U.S. federal income tax purposes.

                The discussion of NewCo Debt assumes that NewCo Debt will be treated as debt
and will not have terms that will require NewCo Debt to be treated under special rules, such as
rules regarding “contingent debt payment instruments” within the meaning of Treasury
Regulation section 1.1275-4 (“CPDI”). However, there can be no assurance that the IRS will
agree with the Debtor’s intended characterization of NewCo Debt, and the rules surrounding
debt, such as the CPDI rules, are complex and subject to uncertainties. Additionally, the terms
of NewCo Debt have not been finalized and depending on the final terms, alternative
characterizations of NewCo Debt could result in the Holders’ of NewCo Debt experiencing tax
consequences that are different from, and possibly adverse compared to, those discussed in this
summary. The Liquidating Trust Beneficiaries are urged to consult their tax advisors regarding
potential tax consequences of being treated as owning and disposing of NewCo Debt.

               (a)    (c) InterestDistributions on NewCo DebtCommon Stock

                 The treatment of distributions with respect to the NewCo Common Stock is
generally determined in the same manner as set forth above in connection with U.S. Holders as
discussed above in Article X.B.4(a)Distributions on NewCo Common Stock. Except as
described below, dividends paid with respect to NewCo Common Stock held by a Non-U.S.
Holder that are not eligible for a Valid ECI Withholding Exemption will be subject to U.S.
federal withholding tax at a rate of 30 percent (or at a reduced rate or exemption from tax under
an applicable income tax treaty if a Valid Treaty Claim is made). In addition, a Non-U.S. Holder
that is a corporation for U.S. federal income tax purposes may also be subject to a branch profits
tax with respect to such Non-U.S. Holder’s effectively connected Earnings and Profits that are
attributable to the dividends at a rate of 30 percent (or at a reduced rate or exemption from tax


                                               -165-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 361 of 410



under an applicable income tax treaty).As discussed above, although the Debtor believes NewCo
has not been nor will be a USRPHC, if NewCo is a USRPHC, distributions to a Non-U.S. Holder
that are not treated as dividends may be subject to U.S. federal income tax and will generally be
subject to withholding by NewCo at a rate of 15 percent to the extent they are not treated as
dividends, unless certain exceptions apply.

                A Holder generally will be required to recognize and include in gross income
qualified stated interest on NewCo Debt as ordinary income at the time it is paid or accrued on
NewCo Debt in accordance with such holder’s method of accounting for U.S. federal income tax
purposes. The term “qualified stated interest” means stated interest that is unconditionally
payable in cash or in property (other than debt instruments of the issuer) at least annually at a
single fixed rate or, subject to certain conditions, based on one or more interest indices. It is
possible that the final terms of the NewCo Debt may permit, or require, interest to be entirely
“paid-in-kind” and therefore not provide for any qualified stated interest.

                If the “issue price” (as discussed below) of NewCo Debt is less than the stated
redemption price at maturity within the meaning of section 1273 of the Tax Code and the
Treasury Regulations thereunder (including any interest that can be “paid-in-kind”) and the
difference is equal to or more than a de minimis amount (as set forth in the Tax Code and the
applicable Treasury Regulations), NewCo Debt will be treated as issued with OID, and a U.S.
Holder will be required to include the difference in income as ordinary income as it accrues (in
accordance with a constant yield method, as set forth in the applicable Treasury Regulations), in
advance of the receipt of any cash in respect of the OID, regardless of whether and when the U.S.
Holder receives cash payments of interest. Accordingly, a U.S. Holder could be treated as
receiving income in advance of a corresponding receipt of cash.

                 The determination of the “issue price” of NewCo Debt will depend, in part, on
whether NewCo Debt or any Allowed Claims are treated as traded on an “established market” at
any time during the 31-day period ending 15 days after the transfer of Liquidating Trust Assets to
the Liquidating Trust. In general, a debt instrument (or the property exchanged therefor) will be
treated as traded on an established market if at any time during the aforementioned 31-day period
there is (a) a “sales price” for an executed purchase or sale of the debt instrument (or the property
exchanged therefor) during the 31-day period appears on a medium that is made available to
issuers of debt instruments, persons that regularly purchase or sell debt instruments, or persons
that broker purchases or sales of debt instruments; (b) a “firm” price quote for the debt
instrument (or the property exchanged therefor) is available from at least one broker, dealer or
pricing service and the quoted price is substantially the same as the price for which the person
receiving the quoted price could purchase or sell the debt instrument; or (c) an “indicative” price
quote for the debt instrument (or the property exchanged therefor) is available from at least one
broker, dealer or pricing service for property and the price quote is not a firm quote. The issue
price of a debt instrument that is traded on an established market or that is issued for another
debt instrument so traded would be the fair market value of such debt instrument, if such debt
instrument is treated as traded on an established market, or such other debt instrument, if the first
instrument is not treated as traded on an established market and the other debt instrument is
treated as traded on an established market, on the issue date as determined by such trading. The




                                                 -166-
23-10367-mg      Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02           Main Document
                                          Pg 362 of 410



issue price of a debt instrument that is neither so traded nor issued for another debt instrument so
traded would be its stated redemption price at maturity.

                If neither NewCo Debt nor the Allowed Claims (with respect to which NewCo
Debt is deemed to have been received) are treated as traded on an established market within the
meaning of the applicable Treasury Regulations, the “issue price” of NewCo Debt should
generally equal the stated redemption price at maturity of such NewCo Debt. However, if
NewCo Debt or any Allowed Claims (with respect to which NewCo Debt is deemed to have
been received) are treated as traded on an established market within the meaning of the
applicable Treasury Regulations, the issue price of NewCo Debt would be the fair market value,
at the time of the exchange, (1) of NewCo Debt if it is treated as publicly traded or (2) of any
Allowed Claims (with respect to which NewCo Debt is deemed to have been received) if they
are treated as publicly traded and NewCo Debt is not treated as publicly traded.

                The rules regarding OID are complex and the rules described above may not
apply in all cases. Holders should consult their own tax advisors regarding the potential
application to NewCo Debt of the OID rules and the consequences thereof.

               (b)       (d) Sale, Exchange, Retirement, Redemption, or Other Taxable
                         DispositionRepurchase of NewCo DebtCommon Stock

                Upon the actual or deemed sale, exchange, retirement, redemption or other
taxable disposition of NewCo Debt, a U.S. Holder generally will recognize gain or loss equal to
the difference between (i) the amount realized on the actual or deemed disposition (other than
any amounts attributable to accrued but unpaid stated interest, which will be taxable as ordinary
income for U.S. federal income tax purposes to the extent not previously included in income)
and (ii) the U.S. Holder’s adjusted tax basis in NewCo Debt.

                Generally, gain or loss recognized will be capital gain or loss and will be
long-term capital gain or loss if the U.S. Holder has been treated as holding such NewCo Debt
for longer than one year. Non-corporate taxpayers generally are subject to a reduced federal
income tax rate on net long-term capital gains. The deductibility of capital losses is subject to
certain limitations under the Tax Code. Holders should consult their tax advisors regarding the
deductibility of capital losses in their particular circumstances.

               The treatment of sale, redemption or repurchase of NewCo Common Stock is
generally determined in the same manner as set forth above in connection with U.S. Holders as
discussed above in Article X.B.4(b)Sale, Redemption, or Repurchase of NewCo Common
Stock. A Non-U.S. Holder generally will not be subject to U.S. federal income tax with
respect to any gain realized on the sale or other taxable disposition (including a Cash
redemption) of NewCo Common Stock unless:

                        such Non-U.S. Holder is a nonresident alien individual who was
                         present in the United States for 183 days or more during the
                         individual’s taxable year within which the disposition occurs;




                                                -167-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 363 of 410



                      a Valid ECI Withholding Exemption is made with respect to such gain;
                       or

                      the issuer of such NewCo Common Stock is or has been a USRPHC
                       and certain conditions are met.

               If the first exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax at a rate of 30 percent (or at a reduced rate or exemption from tax
under an applicable income tax treaty if a Valid Treaty Claim is made) on the amount by
which such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital losses
allocable to U.S. sources during the taxable year of disposition of New Equity Interests.

               If the second exception applies, the Non-U.S. Holder generally will be subject
to U.S. federal income tax with respect to such gain in the same manner as a U.S. Holder,
and a Non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also
be subject to a branch profits tax with respect to Earnings and Profits effectively connected
with a U.S. trade or business that is attributable to such gains at a rate of 30 percent (or at a
reduced rate or exemption from tax under an applicable income tax treaty).

           As discussed above, the Debtor does not believe that NewCo has been or will
be a USRPHC.

D.     C. Tax Treatment of the Liquidating Trust and Holders of Liquidating Trust
       Interests

       1.      Tax Classification of the Liquidating Trust

                 As described above, the Liquidating Trust is intended to qualify as a “liquidating
trust” for U.S. federal income tax purposes. In general, a liquidating trust is not a separate
taxable entity, but rather is treated for U.S. federal income tax purposes as a “grantor trust” (i.e.,
the Liquidating Trust Beneficiaries are deemed to own the assets of the trust, and all of the
trust’s income and loss is taxed directly to the Liquidating Trust Beneficiaries). Pursuant to the
Plan, all parties (including, without limitation, the Debtor, the Liquidating Trust Board, the
Liquidating Trust and the Liquidating Trust Beneficiaries) will be required to treat, for U.S.
federal income tax purposes, the Liquidating Trust as a grantor trust of which the Liquidating
Trust Beneficiaries are the owners and grantors. The following discussion assumes that the
Liquidating Trust will be so respected for U.S. federal income tax purposes. However, merely
establishing a trust as a liquidating trust does not ensure that it will be treated as a grantor trust
for U.S. federal income tax purposes. Although the Liquidating Trust will be structured with the
intention of complying with guidelines established by the IRS in Revenue Procedure 94-45,
1994-2 C.B. 684, for the formation of liquidating trusts, no opinion of counsel has been
requested, and the Liquidating Trust may or may not obtain a ruling from the IRS, concerning the
tax status of the Liquidating Trust as a grantor trust. Accordingly, there can be no assurance that
the IRS would not take a contrary position. If the IRS were to successfully challenge the
classification of the Liquidating Trust, the U.S. federal income tax consequences to the
Liquidating Trust and/or the Holders of Allowed Claims or Interests could vary from those
discussed herein (including the potential for imposition of tax on the net income of the


                                                 -168-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 364 of 410



Liquidating Trust at the entity level, in addition to taxation at the level of the Liquidating Trust
Beneficiaries).

       2.      Tax Treatment of the Disputed Claims Reserve

                Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt by the Liquidating Trust of a private letter ruling if the
Liquidating Trust so requests one, or the receipt of an adverse determination by the IRS upon
audit if not contested by the Liquidating Trust Board), the Liquidating Trust will (A) timely elect
to treat any Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
Regulation section 1.468B-9 (a “DOF”), and (B) to the extent permitted by applicable law, report
consistently with the foregoing for state and local income tax purposes. If the Liquidating Trust
properly files a tax election to treat a Disputed Claims Reserve as a DOF, then the DOF may be
treated as a separate taxable entity for U.S. federal income tax purposes (rather than a
pass-through tax entity) and will be treated as the owner of all assets that it holds for U.S. federal
income tax purposes. A DOF will generally be taxed for U.S. federal income tax purposes as
either (a) a C corporation, unless all the assets transferred to the DOF by or on behalf of any
transferors are passive investments assets, or (b) a “qualified settlement fund” within the
meaning of section 468B of the Tax CodeIRC and the applicable Treasury Regulations
thereunder (a “QSF”), if all the assets transferred to the DOF by or on behalf of any transferors
are passive investment assets. A DOF that is taxable as a QSF is generally subject to taxation at
the maximum rate applicable to estates and trusts under section l(e) of the Tax CodeIRC (which
is currently 37% for taxable years beginning before January 1, 2026, and 39.6% thereafter) on its
“modified gross income.” The “modified gross income” is the QSF’s gross income under
section 61 of the Tax CodeIRC as modified by the rules detailed in Treasury Regulation sections
1.468B-2(b) and 1.468B-9. It is anticipated that any NewCo Disputed Claims Reserve will be
treated as a DOF that is taxable as a QSF. Any Liquidating Trust Disputed Claims Reserve and
any Liquidating Trust Disputed Interests Reserve may also be treated as a DOF taxable as a QSF,
depending on facts and circumstances not yet determined as of the date of this Disclosure
Statement, including the specific nature of the assets transferred to any such reserve.

                The Liquidating Trust will be responsible for payment, out of the Liquidating
Trust Assets, of any Taxes imposed on the Liquidating Trust or the Liquidating Trust Assets,
including any Disputed Claims Reserve (which is required under the Plan to bear all Taxes
attributable to such Disputed Claims Reserve). In the event, and to the extent, any Cash retained
on account of Disputed Claims in a Disputed Claims Reserve is insufficient to pay the portion of
any such Taxes attributable to the taxable income arising from the assets allocable to, or retained
on account of, such Disputed Claims (including any income that may arise upon any distribution
of the assets of the applicable Disputed Claims Reserve), such Taxes may be (i) reimbursed from
any subsequent Cash amounts retained on account of Disputed Claims, (ii) paid with the
proceeds from a sale of the assets of the applicable Disputed Claims Reserve or (iii) to the extent
such Disputed Claims have subsequently been resolved, deducted from any amounts otherwise
distributable by the Liquidating Trust as a result of the resolution of such Disputed Claims.
Therefore, the tax liability of a Disputed Claims Reserve may reduce the amount of property
otherwise distributable upon the resolution of any Disputed Claims.




                                                 -169-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 365 of 410



       3.      General Tax Reporting by the Liquidating Trust and Liquidating Trust
               Beneficiaries

                Subject to definitive guidance from the IRS or a court of competent jurisdiction to
the contrary (including the receipt of an adverse determination by the IRS upon audit if not
contested by the Liquidating Trust Board), for all U.S. federal income tax purposes, all parties
(including, without limitation, the Debtor, the Liquidating Trust, the Liquidating Trust Board and
the Liquidating Trust Beneficiaries) must treat the transfer of the Liquidating Trust Assets to the
Liquidating Trust as (i) a transfer of the Liquidating Trust Assets (subject to any obligations
relating to those assets) directly to the Liquidating Trust Beneficiaries (other than to the extent
Liquidating Trust Assets are allocable to any Liquidating Trust Disputed Claims Reserve or
Liquidating Trust Disputed Interests Reserve), followed by (ii) the transfer by the Liquidating
Trust Beneficiaries to the Liquidating Trust of the Liquidating Trust Assets (other than to the
extent Liquidating Trust Assets are allocable to any Liquidating Trust Disputed Claims Reserve
or Liquidating Trust Disputed Interests Reserve) in exchange for Liquidating Trust Interests.
Accordingly, all parties must treat the Liquidating Trust as a grantor trust of which the
Liquidating Trust Beneficiaries are the owners and grantors, and treat the Liquidating Trust
Beneficiaries as the direct owners of an undivided interest in the Liquidating Trust Assets (other
than the Liquidating Trust Assets allocable to any Liquidating Trust Disputed Claims Reserve or
Liquidating Trust Disputed Interests Reserve), consistent with their economic interests therein,
for all U.S. federal income tax purposes. Holders are urged to consult their tax advisor regarding
any subsequent year’s adjustments for the elimination of obligations to Holders of Disputed
Claims and their replacement with a smaller amount of Allowed Claims that are then paid out of
the Liquidating Trust Assets.

                 and for any increase in the economic interests in the Liquidating Trust Assets to
the Liquidating Trust Beneficiaries as a result of any accretion to the distribution preference on
certain Liquidating Trust Interests or increases in the value of the Liquidating Trust Assets
distributable to certain Liquidating Trust Beneficiaries, the treatment of which is unclear. For
example, it is possible that an accretion to the distribution preference on certain Liquidating
Trust Interests may, in certain situations, be viewed as a shift in the deemed ownership of the
underlying Liquidating Trust Assets that could give rise to income to the Holders of such
Liquidating Trust Interests for U.S. federal income tax purposes. As soon as reasonably
practicable after the Liquidating Trust Assets are transferred to the Liquidating Trust, the
Liquidating Trust shall make a good faith valuation of the Liquidating Trust Assets, and shall
make all such values available from time to time, to the extent relevant, and such values shall be
used consistently by all parties to the Liquidating Trust (including, without limitation, the
Debtor, the Liquidating Trust, the Liquidating Trust Board and the Liquidating Trust
Beneficiaries) for all U.S. federal income tax purposes.

                Allocations of Liquidating Trust taxable income among the Liquidating Trust
Beneficiaries (other than to the extent Liquidating Trust Assets are allocable to any Liquidating
TrustDisputed Claims Reserve or Liquidating Trust Disputed Interest Reserve) shall be
determined by reference to the manner in which an amount of cashCash representing such
taxable income would be distributed (were such cashCash permitted to be distributed at such
time) if, immediately prior to such deemed distribution, the Liquidating Trust had distributed all
its assets (valued at their tax book value, other than assets allocable to any Liquidating Trust


                                                -170-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 366 of 410



Disputed Claims Reserve or Liquidating Trust Disputed Interests Reserve) to the Holders of the
Liquidating Trust Interests, adjusted for prior taxable income and loss and taking into account all
prior and concurrent distributions from the Liquidating Trust. Similarly, taxable loss of the
Liquidating Trust shall be allocated by reference to the manner in which an economic loss would
be borne immediately after a hypothetical liquidating distribution of the remaining Liquidating
Trust Assets . The tax book value of the Liquidating Trust Assets for purposes of this paragraph
shall equal their fair market value on the Effective Date, adjusted in accordance with tax
accounting principles prescribed by the Tax CodeIRC, the applicable Treasury Regulations, and
other applicable administrative and judicial authorities and pronouncements.

                Taxable income or loss allocated to Liquidating Trust Beneficiaries will generally
be treated as income or loss with respect to such Holder’s undivided interest in the Liquidating
Trust Assets , and not as income or loss with respect to its prior Allowed Claim or Interest. The
character of any income and the character and ability to use any loss will depend on the
Liquidating Trust Assets and the particular situation of the Liquidating Trust Beneficiary.
Certain U.S. federal income tax considerations forWith respect to any Liquidating Trust
Beneficiary that is a Non-U.S. Holder, the Liquidating Trust Beneficiaries with respect to
NewCo Debt are discussed above in Article XB.7Consequences of Owning and Disposing of
NewCo Debt Received Under the Plan. In addition, whethermay be required to withhold up to
30% of the income or proceeds allocable to such persons, depending on the circumstances
(including whether the type of income is subject to a lower treaty rate and whether the
Non-U.S. Holder has timely delivered a Valid Treaty Claim or a Valid ECI Withholding
Exemption), subject to the discussions regarding withholding above in
Article X.CConsequences to the Non-U.S. Holders of Certain Claims and Interests.

                Whether the Liquidating Trust Beneficiaries would be treated as holding any
rights regarding FDIC Proceedings (or similar lawsuits regarding the FDIC Claims) as capital
assets and the timing and character of any income, gain or loss recognized upon recovery from
the FDIC Proceedings (or similar lawsuits regarding the FDIC Claims) is subject to some
uncertainty. While not free from doubt, the Debtor expects such income, gain or loss be treated
as capital gain or loss to the Liquidating Trust Beneficiaries. However, such position is not
binding upon the IRS or the courts and no assurance can be given that the IRS would not assert,
or that a court would not sustain, a different characterization. Depending on the specific nature
of the Liquidating Trust Assets and the particular Liquidating Trust Beneficiary’s individual
circumstances, the character of any income or gain recognized with respect to such Liquidating
Trust Beneficiary’s undivided interest in the Liquidating Trust Assets may be ordinary or capital,
and such Liquidating Trust Beneficiary’s ability to use losses (if any) from the implementation of
the Plan may be limited (for example, if the Plan gives rise to capital losses to a Holder as
discussed above in Article XB.1Gain or Loss – In GeneralArticle X.B.1(a)—Gain or Loss –
In General, then the ability to use such capital losses to offset ordinary income arising from
Liquidating Trust Assets would be limited).

                The U.S. federal income tax obligations of a Holder that is subject to U.S. federal
income tax with respect to its Liquidating Trust Interest are not dependent on the Liquidating
Trust distributing any cashCash or other proceeds. Thus, such a Holder may incur a U.S. federal
income tax liability with respect to its allocable share of the Liquidating Trust’s income even if
the Liquidating Trust does not make a concurrent distribution to the Holder. In general, other


                                                -171-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 367 of 410



than in respect of cashCash retained on account of Disputed Claims and distributions resulting
from undeliverable distributions (the subsequent distribution of which still relates to a Holder’s
Allowed Claim or Interest), a Distribution of cashCash by the Liquidating Trust will not be
separately taxable to a Liquidating Trust Beneficiary since the beneficiary is already regarded for
U.S. federal income tax purposes as owning the underlying assets (and was taxed at the time the
cashCash was earned or received by the Liquidating Trust). Holders are urged to consult their
tax advisors regarding the appropriate U.S. federal income tax treatment of any subsequent
distributions of cashCash originally retained by the Liquidating Trust on account of Disputed
Claims.

                In addition, a Non-U.S. Holder may determine that some of the taxable income or
loss allocated to such Non-U.S. Holder from the Liquidating Trust is properly treated as ECI. In
such case, provided that the Non-U.S. Holder timely delivers a Valid ECI Withholding
Exemption to the withholding agent, such Non-U.S. Holder will generally be taxed on such ECI
under the graduated U.S. federal income tax rates that are applicable to U.S. Holders and, if the
Non-U.S. Holder is a foreign corporation, it may also be subject to the branch profits tax
described above. As discussed above in Article IV.B.3Liquidating Trust Assets, the
Liquidating Trust may, in its reasonable discretion, contribute all or a portion of the Liquidating
Trust Assets, including such assets that may generate such ECI, to a Blocker Corporation in
order to avoid such ECI from being allocated to Liquidating Trust Beneficiaries. However, no
assurance can be provided that a Liquidating Trust Beneficiary will not be allocated any ECI.

                The Liquidating Trust will comply with all applicable governmental withholding
requirements. Thus, as noted above, in the case of any Liquidating Trust Beneficiaries that are
not U.S. persons, the Liquidating Trust may be required to withhold up to 30 percent of the
income or proceeds allocable to such persons, depending on the circumstances (including
whether the type of income is subject to a lower treaty rate or exemption pursuant to an
applicable income tax treaty and if the Non-U.S. Holder timely delivers a Valid Treaty Claim).
Significantly, as discussed above, a Liquidating Trust Beneficiary is treated for U.S. federal
income tax purposes as holding an undivided interest in the underlying assets of the Liquidating
Trust. Accordingly, any amounts received by the Liquidating Trust, the economic benefit of
which inures to a Liquidating Trust Beneficiary on the basis described above with respect to the
allocation of income, is treated as received by the beneficiary in respect of the underlying asset,
and not in respect of its Allowed Claim. As indicated above, the foregoing discussion of the
U.S. federal income tax consequences of the Plan does not generally address the
consequences to non-U.S. Holders; accordingly, such or Interest.

                The Liquidating Trust is subject to certain tax return and reporting requirements,
and the Liquidating Trust Board (which shall act as the Liquidating Trust trustee under Revenue
Procedure 94-45) is generally expected to furnish to each Liquidating Trust Beneficiary a tax
information statement following the end of each taxable year. A Liquidating Trust Beneficiary
that takes a reporting position on its U.S. federal income tax return that is different from any
position reflected in the information return filed by the Liquidating Trust Board, including the
aforementioned tax information statement provided to the Liquidating Trust Beneficiary, may be
required to notify the IRS of such inconsistency. Holders should consult their tax advisors with




                                                -172-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 368 of 410



respect to the U.S. federal income tax consequences of taking a different position than is reported
by the Liquidating Trust Board.

              Holders should consult their tax advisors with respect to the U.S. federal
income tax consequences of the Plan, including owning an interest in the Liquidating
Trust.

E.     FATCA

                Pursuant to sections 1471 through 1474 of the IRC (commonly referred to as
“FATCA”), foreign financial institutions (which term includes most foreign hedge funds,
private equity funds, mutual funds, securitization vehicles and other investment vehicles)
and certain other non-financial foreign entities who do not comply with certain information
reporting rules with respect to their U.S. account holders, investors or owners may be
subject to a 30% withholding tax with respect to any payments of U.S.-source interest or
dividends (which may include dividends on shares of NewCo Common Stock). Foreign
financial institutions and non-financial foreign entities subject to the FATCA regime located
in jurisdictions that have an intergovernmental agreement with the United States governing
FATCA may be subject to different rules. Under certain circumstances, a U.S. Holder or
Non-U.S. Holder might be eligible for refunds or credits of such taxes. U.S. Holders and
Non-U.S. Holders are urged to consult with their own tax advisors regarding the effect, if
any, of the FATCA provisions to them based on their particular circumstances.

F.     D. Withholding on Distributions and Information Reporting

                Payments of interest or dividends and any other reportable payments, possibly
including amounts received pursuant to the Plan and payments of proceeds from the sale,
retirement or other disposition of the LiquidationLiquidating Trust Assets or NewCo Common
Stock may be subject to “backup withholding” if a recipient of those payments fails to furnish to
the payor certain identifying information and, in some cases, a certification that the recipient is
not subject to backup withholding. Backup withholding is not an additional tax. Any amounts
deducted and withheld generally should be allowed as a refund or credit against that recipient’s
U.S. federal income tax, provided that appropriate proof is timely provided under rules
established by the IRS. Furthermore, certain penalties may be imposed by the IRS on a recipient
of payments who is required to supply information but who does not do so in the proper manner.
Backup withholding generally should not apply with respect to payments made to certain exempt
recipients, such as corporations and financial institutions. Information may also be required to
be provided to the IRS concerning payments, unless an exemption applies. Holders of Claims
and Interests should consult their tax advisors regarding their qualification for exemption from
backup withholding and information reporting and the procedures for obtaining such an
exemption. The Treasury Regulations generally require disclosure by a taxpayer on its U.S.
federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s
claiming a loss in excess of certain thresholds. Holders of Claims and Interests should consult
their tax advisors regarding these regulations and whether the contemplated transactions under
the Plan would be subject to these regulations and require disclosure on their tax returns.



                                                -173-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 369 of 410



           THE FOREGOING SUMMARY HAS BEEN PROVIDED FOR
INFORMATIONAL PURPOSES ONLY AND DOES NOT DISCUSS ALL ASPECTS OF
U.S. FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR
HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF
CLAIMS OR INTERESTS ARE URGED TO CONSULT THEIR TAX ADVISORS
CONCERNING THE U.S. FEDERAL, STATE, LOCAL, AND OTHER TAX
CONSEQUENCES APPLICABLE UNDER THE PLAN.

                                  ARTICLE XI.ARTICLE XI

                                    RECOMMENDATION

               In the opinion of the Debtor, the Plan is preferable to the alternatives described
herein. Therefore, the Debtor recommends that Holders of Claims and Interests entitled to vote
on the Plan vote to accept it.




                                                -174-
23-10367-mg    Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                       Pg 370 of 410



Dated: February 7[•], 2024


                                         Respectfully submitted,


                                         SVB Financial Group.


                                         By:
                                                Name:
                                                Title:
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 371 of 410




                                   Appendix A

                  Debtor’s First Amended Plan of Reorganization
                    under Chapter 11 of the Bankruptcy Code
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 372 of 410



                                   Appendix B

                               Liquidation Analysis

                                    [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 373 of 410



                                   Appendix C

                           Solicitation Procedures Order

                                    [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 374 of 410



                                   Appendix D

                               Financial Projections

                                    [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 375 of 410



                                   Appendix E

                         Restructuring Support Agreement
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 376 of 410



                                   Appendix F

                NewCo Value Overview and Liquidating Trust Assets
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 377 of 410



                                    Exhibit A

                         Debtor’s Organizational Structure

                                    [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02      Main Document
                                   Pg 378 of 410



                                     Exhibit B

                Illustrative Post-Emergence Organizational Structure

                                     [To come.]
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 379 of 410



                                    Exhibit C

                                Committee Letter
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 380 of 410



                                   EXHIBIT C

                               Liquidation Analysis
23-10367-mg        Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02                 Main Document
                                            Pg 381 of 410



                                                Appendix B

                                          Liquidation Analysis

1)       Introduction

        Often referred to as the “best interest of creditors” test, section 1129(a)(7) of the
Bankruptcy Code1 requires that the Bankruptcy Court find, as a condition to confirmation of the
Plan, that each holder of an impaired Claim or Equity Interest must either (a) accept the Plan or
(b) receive or retain under the Plan property of a value, as of the Effective Date, that is not less
than the value such non-accepting holder would receive or retain if the Debtor’s assets were to be
liquidated under chapter 7 of the Bankruptcy Code on the Effective Date (the “Liquidation
Analysis”). In determining whether the Best Interests Test has been met, the dollar amount that
would be generated from a hypothetical liquidation of the Debtor’s assets in a chapter 7 proceeding
must be determined.

        This Liquidation Analysis was prepared by the Debtor with assistance from its financial
advisors and represents the Debtor’s best estimate of the cash proceeds, net of liquidation related
costs, which would be available for distribution to the Holders of Claims and Interests if the Debtor
were to be liquidated in chapter 7 cases that do not preserve the going concern value of the Debtor’s
estate (“Estate”).

         To conduct the Liquidation Analysis, the Debtor and its advisors have:

                estimated the cash proceeds (the “Liquidation Proceeds”) that a chapter 7 trustee
                 (the “Trustee”) would generate if the Debtor’s chapter 11 case were converted to a
                 chapter 7 case on June 30, 2024 (“Liquidation Date”) and the assets of the Debtor’s
                 estate were liquidated or sold;

                determined the distribution (the “Liquidation Distribution”) that each holder of a
                 Claim or Interest would receive from the Liquidation Proceeds under the priority
                 scheme dictated in chapter 7; and

                compared each holder’s Liquidation Distribution to the estimated distribution under
                 the Plan (“Plan Distribution”) that such holders would receive if the Plan were
                 confirmed and consummated.

       As the Liquidation Analysis is a hypothetical analysis based on certain assumptions, certain
aspects may vary from the Plan, as discussed in the Disclosure Statement, including asset values.
The Liquidation Analysis is based upon certain estimates and assumptions discussed herein and in
the Disclosure Statement, which should be read in conjunction with the Liquidation Analysis.

THE INFORMATION SET FORTH IN THIS LIQUIDATION ANALYSIS IS
PRELIMINARY AND IS SUBJECT TO MODIFICATION AND SUPPLEMENTATION

1
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan or
     Disclosure Statement, as applicable.
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                             Pg 382 of 410



BY THE DEBTOR AT ANY TIME UP TO THE CONFIRMATION HEARING. THERE
CAN BE NO ASSURANCE THAT THE VALUES REFLECTED IN THE LIQUIDATION
ANALYSIS WOULD BE REALIZED IF THE DEBTOR WERE, IN FACT, TO UNDERGO
SUCH A LIQUIDATION UNDER CHAPTER 7, AND ACTUAL RESULTS COULD VARY
MATERIALLY FROM THOSE ESTIMATED HERE.

2)         Basis of Presentation

        The Liquidation Analysis has been prepared assuming that the Debtor’s chapter 7
liquidation would commence on the Liquidation Date, which is the assumed effective date of the
Debtor’s chapter 11 plan. The pro forma values referenced herein are projected as of June 30,
2024. The Debtor assumes the Liquidation Date to be a reasonable proxy for the projected
Effective Date of the Plan.

        The Liquidation Analysis represents an estimate of recovery values and percentages based
on a hypothetical liquidation if a chapter 7 trustee were appointed by the Bankruptcy Court to
convert assets into cash. The determination of the hypothetical proceeds from the liquidation of
assets is a highly uncertain process involving the extensive use of estimates and assumptions that,
although considered reasonable by the Debtor’s management team and its advisors, are inherently
subject to significant business, economic, and competitive uncertainties and contingencies beyond
the control of the Debtor and its management team. The Liquidation Analysis should be read in
conjunction with the assumptions, qualifications, and explanations set forth in the Disclosure
Statement and the Plan in their entirety, as well as the notes and assumptions set forth below.

The Liquidation Analysis assumes a timeline in which:

      I.          Certain portions of the Debtor’s operations, including SVB Securities Holdings,
                  will be sold as a going concern. This assumes that the purchase price for the
                  hypothetical sale would be agreed by 12/31/24.

     II.          Substantially all other assets will be liquidated (e.g. warrant portfolio, direct equity
                  investments, third party fund investments, retained SVB Capital carried interest).
                  This is assumed to occur over six months following the Liquidation Date (the
                  “Asset Sale Period”).

        The cessation of business in a liquidation is likely to trigger certain claims that otherwise
would not exist under a Plan absent a liquidation. Examples of these types of claims include
various potential employee claims, unpaid chapter 11 administrative claims, contract rejection
claims and unexpired lease rejection claims. Some of these claims could be significant and may
be entitled to priority in payment over general unsecured claims. The Liquidation Analysis does
not include estimates for the tax consequences, both federal and state, that may be triggered upon
the liquidation and sale events of assets in the manner described above.

3)         Liquidation Process

       The Debtor’s liquidation would be conducted pursuant to chapter 7 of the Bankruptcy
Code, with the Trustee managing the bankruptcy Estate to maximize recovery in an expedited
process. The Trustee’s initial step would be to develop a liquidation plan to generate proceeds

                                                    -2-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 383 of 410



from the sale of entity specific assets for distribution to creditors. The three major components of
the liquidation are as follows:

       I.      Generation of cash proceeds

                a)   Sale of SVB Securities Holdings which includes its subsidiary
                     MoffettNathanson LLC (“Going Concern Sale”)

                b)   Sale of all remaining investment assets

                c)   Liquidation of the remaining portion of assets not accompanying the Going
                     Concern Sale (e.g. prepaid expenses, accounts receivable, tax refunds, etc.)

                d)   Collection of cash from litigation related to contingent assets

       II.     Costs related to the liquidation process, such as corporate support, personnel
               retention costs, and Trustee and professional fees.

       III.    Distribution of net proceeds to claimants in accordance with the priority scheme
               under chapter 7 of the Bankruptcy Code.

4)     Distribution of Net Proceeds to Claimants

        Any available net proceeds would be allocated to Holders of Claims against, and Interests
in, the Debtor in accordance with section 726 of the Bankruptcy Code—i.e., the priority scheme
applicable in a chapter 7 proceeding.

              Secured Claims: Secured Claims including Secured Tax Claims, if any

              Other Priority Claims: Including but not limited to trade-related administrative
               claims, priority tax claims, claims arising under section 503(b)(9) of the Bankruptcy
               Code and post-petition accrued and unpaid chapter 11 professional fees

              General Unsecured Claims: Non-priority liabilities including prepetition trade
               payables and various unsecured liabilities including contract rejection damage
               claims

              Subordinated Note Claims: BP Trust I Claims and BP Trust II Claims

              Preferred Equity Interests: preferred equity interests in Debtor

              Common Equity Interests: common equity interests in Debtor

5)     Conclusion

        The Debtor has determined, as summarized in the following analysis, upon the Effective
Date, the Plan will provide all Holders of Claims and Interests with a recovery (if any) that is not
less than what such holders would receive pursuant to a liquidation of the Debtor under chapter 7


                                                -3-
23-10367-mg     Doc 1087    Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                      Pg 384 of 410



of the Bankruptcy Code, and as such believe that the Plan satisfies the requirement of section
1129(a)(7) of the Bankruptcy Code.

                         [Remainder of page intentionally left blank]




                                             -4-
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                             Pg 385 of 410




                                    Notes to the Liquidation Analysis

        The Liquidation Analysis considers the Debtor entering chapter 7 on June 30, 2024,
         assumed to be a reasonable proxy for the projected Effective Date.

                                       Gross Liquidation Proceeds


 Summary of Distributable Value
 ($'s in millions)                                                  Low           Mid          High
 Proceeds from Continuing Operations:
   SVBSH                                                   [1]            19.5          19.5          19.5
   Proceeds from Continuing Operations                                    19.5          19.5          19.5
 Proceeds from Remaining Assets:
   Investments                                             [2]          311.6        337.5         363.4
   Warrants                                                [3]          190.0        205.4         220.7
   Wind-Down of Foreign Subsidiaries                       [4]            5.9          5.9           5.9
   Other Assets                                            [5]           63.8         70.7          77.6
   Proceeds from Remaining Assets (excl. cash)                          571.3        619.5         667.7
 Proceeds from Contingent Assets
   Claims Against the FDIC                                                  --       966.9       1,933.8
   Causes of Action                                                         --           --            --
   Proceeds from Contingent Assets                         [6]              --       966.9       1,933.8
   Gross Distributable Value                                            590.8      1,605.9       2,621.0



Note 1 – Sale of SVB Securities Holdings

        Key assumptions to the valuation include:

            Sale includes all SVB Securities Holdings assets including MoffettNathanson LLC
             with the exception of certain investment fund assets which are included in Investment
             Assets

            Sale completed within six months of Liquidation Date

            Buyer assumes all liabilities

Note 2 – Investment Assets

        Assumes that certain third party funds, direct equity investments and retained SVB Capital
         carried interest are liquidated from 60% to 70% of book value within six months of
         Liquidation Date. Discount range based on recent secondary market transactions of limited
         partnership interests in privately held venture capital funds as well as the trading discount
         to book value for general partnership interests in publicly traded venture capital funds.




                                                   -5-
23-10367-mg         Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02               Main Document
                                              Pg 386 of 410



       Other investments include public and private equity securities from warrants, certain
        investment fund assets and warrant receivables and assumes recoveries from 60% to 100%
        of book value within six months of Liquidation Date.

Note 3 - Warrants

       Assumes liquidation of warrants in private companies at 60% to 70% of book value within
        six months of Liquidation Date. Valuation discount utilized based on direct equity
        investment portfolio given comparable nature of security underlying warrants (private
        company equity).

       Assumes warrants in public companies with a stock price above the strike price are
        exercised and sold (stock value at prevailing market rates).

Note 4 – Wind-Down of Foreign Subsidiaries

       Represents remaining cash proceeds of foreign subsidiaries distributed to SVBFG upon
        completion of wind-down in their respective jurisdictions.

Note 5 – Other Assets

       Represents recoveries on prepaid expenses, accounts receivable, tax refunds, professional
        fee retainers, consumer loans and intellectual property.

Note 6 – Contingent Assets

       Represents an illustrative range of recoveries from litigation related to claims against the
        FDIC.

                                            Net Distributable Value
    Gross Distributable Value to Net Distributable Value
    ($'s in millions)
      Gross Distributable Value                                           590.8     1,605.9     2,621.0
    Liquidation Adjustments:
      Cash at Liquidation Date                                    [7]     539.4       539.4       539.4
      Operating Cash Flow During Wind-Down Period                 [8]       26.3        26.3        26.3
      Wind-Down Costs                                             [9]       (5.7)       (5.7)       (5.7)
      Retention Costs                                            [10]       (3.8)       (3.8)       (3.8)
      Chapter 7 Trustee Fees                                     [11]      (11.3)      (21.5)      (31.6)
      Estate Professional Fees                                   [12]      (14.8)      (16.0)      (17.2)
      Pursuit of Causes of Action                                [13]      (12.5)      (12.5)      (12.5)
      Total Liquidation Adjustments                                       517.6       506.3       494.9
      Net Distributable Value                                           1,108.4     2,112.2     3,115.9


Note 7 – Cash at Liquidation Date

       Represents the Debtor’s projected cash at the Liquidation Date.




                                                           -6-
23-10367-mg     Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                        Pg 387 of 410



Note 8 – Operating Cash Flow During Wind-Down Period

      Represents cash flow generated by the Debtor through the Asset Sale Period.

Note 9 – Wind-Down Costs

      Represents corporate support functions that would be required to wind down the estate
       during the Asset Sale Period and costs associated with maintaining a reduced workforce
       thereafter to wind-down the remaining operations and satisfy final liabilities of the Debtor.

Note 10 – Retention Costs

      To maximize recoveries on remaining assets, minimize number of claims and generally
       oversee an orderly liquidation, the Trustee will need to continue to employ certain
       employees of the Debtor and its affiliates through the Asset Sale Period.

      The Liquidation Analysis includes a retention bonus of 50% of total post-conversion
       compensation for all post-Liquidation Date employees.

Note 11 – Chapter 7 Trustee Fees

      Trustee fees necessary to facilitate the sale of the Debtor’s businesses are assumed to be
       1% of gross distributable value plus cash at Liquidation Date. These fees would be used
       for developing marketing materials and facilitating the solicitation process for the parties,
       in addition to general administrative expenses, such as the Trustee’s compensation.

Note 12 – Estate Professional Fees

      Represents fees necessary to effectuate an orderly sale and liquidation of the Debtor.

      Assumes professional fees of 2.5% of Proceeds from continuing operations plus proceeds
       from remaining assets for the 24-month post-conversion period. Fees could be
       significantly more or less depending on complexity and length of the liquidation process.

Note 13 – Pursuit of Causes of Action

      Represents estimated litigation cost to pursue causes of action.

                          [Remainder of page intentionally left blank]




                                                -7-
23-10367-mg                Doc 1087             Filed 05/03/24 Entered 05/03/24 01:51:02                             Main Document
                                                          Pg 388 of 410



                                                          Debtor Waterfall
 Debtor Waterfall
 ($'s in millions)                                                           Recovery (%)                          Recovery ($)
 Summary Waterfall                                     Amount     Low            Mid        High        Low           Mid         High

 Net Liquidation Proceeds Available for Distribution                                                    1,108.4        2,112.2    3,115.9
 Other Priority Claims
  Cures                                                     0.2     100%           100%       100%         0.2             0.2        0.2
  Priority Taxes                                            0.1     100%           100%       100%         0.1             0.1        0.1
  503(b)(9)                                                 0.0     100%           100%       100%         0.0             0.0        0.0
  Accrued and Unpaid Chapter 11 Professional Fees          98.5     100%           100%       100%        98.5            98.5       98.5
  Less: Total Other Priority Claims                        98.8     100%           100%       100%        98.8            98.8       98.8
 Proceeds Available After Admin Claims                                                                  1,009.6        2,013.4    3,017.1
 General Unsecured Claims
  Bondholder Claims                                     3,329.0     29%             57%        86%        957.7        1,909.9    2,862.0
  Other Unsecured Claims                                  180.4     29%             57%        86%         51.9          103.5      155.1
  Total General Unsecured Claims                        3,509.4     29%             57%        86%      1,009.6        2,013.4    3,017.1
 Proceeds Available After General Unsecured Claims                                                            --             --          --
 Subordinated Notes Claims
  BP Trust I and BP Trust II Debentures                   104.5         0%           0%            0%         --             --          --
  Total Subordinated Notes Claims                         104.5         0%           0%            0%         --             --          --
 Preferred Equity Interests
   Preferred Equity Interests                           3,700.0         0%           0%            0%         --             --          --
   Total Preferred Equity Interests                     3,700.0         0%           0%            0%         --             --          --




                                           [Remainder of page intentionally left blank]




                                                                  -8-
23-10367-mg           Doc 1087       Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                               Pg 389 of 410



                                                   Claims Detail

 Summary Claims and Interests
 ($'s in millions)                                                                         Amount

 Cures                                                                                               0.2
 Priority Taxes                                                                                      0.1
 503(b)(9)                                                                                           0.0
 Accrued and Unpaid Chapter 11 Professional Fees                                                    98.5
 Other Priority Claims                                                         [14]                 98.8

 Bondholder Claims                                                             [15]            3,329.0

 Employee Claims                                                                                 110.5
 Lease Claims                                                                                       25.6
 Contract Claims                                                                                    27.8
 Government & Tax Claims                                                                            10.5
 Other Unsecured Claims                                                                              6.0
 Total General Unsecured Claims                                                 [15]            180.4

 Subordinated Note Claims                                                       [16]            104.5
 Preferred Equity Interests                                                     [17]           3,700.0

 Total Estimated Claims and Interests                                                          7,412.7


Note 14 – Other Priority Claims

            Cures: Represents amounts to cure costs required to maintain the continuing operations in
             order to maximize asset value in a hypothetical sale.

            Priority Taxes: Estimated tax claims granted priority status.

            Claims arising under section 503(b)(9) of the Bankruptcy Code: Represents
             outstanding obligations related to goods delivered within 20 days of the petition date and
             not paid by the Debtors through vendor settlements prior to the wind-down.

            Accrued and Unpaid Chapter 11 Professional Fees: Represents estimated accrued and
             unpaid professional fees related to Chapter 11 professionals at the Liquidation Date.

Note 15 – General Unsecured Claims

            Bondholder Claims: Includes estimated accrued interest as of the Petition Date.

            Government & Tax Claims: Represents estimate related to government entities and
             income taxes from various federal, state and local taxing authorities.

            Contract Rejection Claims: Represents claims associated with rejected operating
             contracts not required for continuing operations.

            Lease Rejection Claims: Represents claims associated with rejecting leases.


                                                        -9-
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02      Main Document
                                       Pg 390 of 410



      Employee Claims: Represents claims from employees, primarily related to deferred
       compensation agreements.

      Other Unsecured Claims: Represents claims for insurance, litigation, ordinary course
       professionals and prepetition trade claims.

Note 16 – Subordinated Note Claims

      Subordinated Note Claims: Represents claims for par and accrued interest as of the
       Petition Date for the Subordinated Note Claims.

Note 17 – Preferred Equity Interests

      Represents principal amount of preferred equity.



                          [Remainder of page intentionally left blank]




                                             -10-
23-10367-mg              Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02                Main Document
                                              Pg 391 of 410



                                               Best Interests Test

         The below table compares class recoveries between the Debtor’s Liquidation Analysis and
          Plan Distributions assuming 3 different illustrative outcomes for the Debtor’s claims
          against the FDIC

              Scenario A: 0% recovery

              Scenario B: 50% recovery

              Scenario C: 100% recovery



                                         Scenario A                 Scenario B               Scenario C
                                     Plan       Liquidation     Plan       Liquidation   Plan       Liquidation
 Other Priority Claims                  100%           100%        100%           100%      100%           100%
 General Unsecured Claims                41%            30%         69%            57%       96%            85%
 Subordinated Notes Claims                0%             0%          0%             0%        0%             0%
 Preferred Equity Interests               0%             0%          0%             0%        0%             0%




                                                         -11-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 392 of 410



                                   EXHIBIT D

                               Financial Projections
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                    Main Document
                                             Pg 393 of 410



                                                      Appendix D

                                     FINANCIAL PROJECTIONS1

As a condition to Confirmation, the Bankruptcy Code requires, among other things, the
Bankruptcy Court to find that Confirmation is not likely to be followed by either a liquidation or
the need to further reorganize the Debtor. In accordance with this condition and in order to assist
each holder of a Claim in determining whether to vote to accept or reject the Plan, the Debtor’s
management team (“Management”), with the assistance of their advisors, developed financial
projections (the “Financial Projections”) to support the feasibility of the Plan.

The Financial Projections were prepared by Management, with assistance from the Debtor’s
financial advisors, and are based on a number of assumptions made by Management, within the
bounds of their knowledge of the business, assets and operations, with respect to the future
performance of the Debtor’s assets and operations.

Although Management has prepared the Financial Projections in good faith and believes the
assumptions to be reasonable, there can be no assurance that such assumptions will be realized.

The Financial Projections were not prepared with a view toward compliance with Generally
Accepted Accounting Principles (“GAAP”) in the United States. An independent auditor has not
examined, compiled, or performed any procedures with respect to the prospective financial
information contained in this Appendix and, accordingly, it does not express an opinion or any
other form of assurance on such information or its achievability.

Safe Harbor Under the Private Securities Litigation Reform Act of 1995

The Financial Projections contain certain statements that are “forward-looking” within the
meaning of the Private Securities Litigation Reform Act of 1995. Forward-looking statements in
the Financial Projections include the intent, belief, or current expectations of the Debtor and
Management with respect to the timing of, completion of, and scope of the current restructuring,
Plan, Debtor’s business plan, and market conditions, and the Debtor’s or NewCo’s future liquidity,
as well as the assumptions upon which such statements are based. While the Debtor believes that
the expectations are based upon reasonable assumptions within the bounds of its knowledge of its
business and operations, parties-in-interest are cautioned that any such forward-looking statements
are not guarantees of future performance, involve risks and uncertainties, and that actual results
may differ materially from those contemplated by such forward-looking statements.

Accounting Policies

The Financial Projections have been prepared using accounting policies that are consistent with
those applied in the Debtor’s historical financial statements. However, the Financial Projections
do not reflect any adjustments that would be necessary to implement “fresh-start” accounting


1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Disclosure
    Statement.
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                         Pg 394 of 410



pursuant to ASC 852-10, including but not limited to detailed asset valuations and reassessment
of the useful lives of depreciable and amortizable assets.

Summary of Significant Assumptions

The Debtor, with the assistance of its financial advisors, prepared the Financial Projections of
NewCo for July 2024 to December 2028. The Financial Projections are based on a number of
assumptions with respect to the future performance of the Debtor’s assets and operations.
Although these Financial Projections have been prepared in good faith and are believed to be
reasonable, it is important to note that the Debtor can provide no assurance that the Financial
Projections will be realized. As described in detail in Article IX of the Disclosure Statement, a
variety of risk factors could affect the financial results and should be considered. The Financial
Projections should be reviewed in conjunction with a review of these assumptions, including the
qualifications and footnotes set forth herein.

General Assumptions

The Debtor operates on a calendar year and the Financial Projections assume that the Effective
Date will be June 30, 2024 and that the NewCo operating entity will continue to conduct operations
substantially similar to its current business. In addition, the Financial Projections take into account
the current market environment in which the Debtor competes, including many economic and
financial forces that are beyond the control of the Debtor and management.

The Financial Projections assume that a sale of SVB Capital, the venture capital and credit
investment arm of the Debtor which focuses on funds management, will occur prior to the Effective
Date.

MoffettNathanson, an equity research company providing coverage of the media, internet and
communications sectors, is assumed to be contributed to NewCo. MoffettNathanson generates
income for the Debtor primarily through subscription fees for its investment research.

Other assets of NewCo include SVB Securities Holdings LLC (“SVBSH”), the direct parent of
MoffettNathanson that will remain the direct parent of MoffettNathanson in the NewCo structure,
and the tax attributes of the Debtor, including tax refund receivables.

The Financial Projections were prepared by Management with input from the leadership of
MoffettNathanson and take into consideration historical trends, economic factors and market
outlooks. These Financial Projections have been reviewed by the Restructuring Committee of the
Debtor’s Board of Directors.

Risk Factors

The Financial Projections are subject to inherent risks and uncertainties, most of which are difficult
to predict and many of which are beyond Management’s control. Many factors could cause actual
results, performance, or achievements to differ materially from any future results, performance, or
achievements expressed or implied by these forward-looking statements. Accordingly, the
Financial Projections should be reviewed in conjunction with a review of the risk factors set forth
in Article IX of the Disclosure Statement and the assumptions described herein.


                                                 -2-
23-10367-mg             Doc 1087           Filed 05/03/24 Entered 05/03/24 01:51:02                                Main Document
                                                     Pg 395 of 410



                                                             NewCo

                                     Projected Statement of Operations (Unaudited)
                                                                                Fiscal Year Ending 12/31,
 ($s in Thousands)                                   Jul-Dec '24         2025              2026             2027           2028
 Revenue
  SVBSH Revenue                                  $         11,000    $     22,660     $      23,320    $      23,980   $     24,640
 Expenses
 Operating Expense:
  SVBSH Compensation Expense                     $         (7,428) $      (13,241) $        (13,627) $       (14,013) $     (14,399)
  SVBSH Non-Compensation Expense                           (1,618)         (3,333)           (3,430)          (3,528)        (3,625)
 Total Operating Expense                         $         (9,046) $      (16,575) $        (17,058) $       (17,540) $     (18,023)
  Restructuring & Administrative Expense         $         (5,370) $       (5,499) $          (3,501) $       (3,606) $      (3,714)
 Total Expenses                                  $        (14,416) $      (22,074) $        (20,558) $       (21,146) $     (21,737)
 EBITDA                                          $         (3,416) $            586   $       2,762    $       2,834   $      2,903
 Total Depreciation & Amortization                            (48)            (96)               (4)               −              −
 Interest Income                                              491           1,601             2,175            2,047          2,154
 Pre-Tax Income                                  $         (2,973) $        2,092     $       4,933    $       4,880   $      5,057


Notes to Projected Statement of Operations

Revenue

Revenue represents fees earned for subscriptions for the MoffettNathanson’s investment research.
The forecast assumes the customer base remains at current levels and revenues grow at 3% year
over year.

Compensation Expense

SVBSH Compensation Expense represents salaries, benefits, payroll taxes and bonuses for the
employees of MoffettNathanson. Expenses grow at 3% year over year.

Non-Compensation Operating Expense

Non-compensation operating expenses of MoffettNathanson represent forecasted vendor spend,
occupancy expense and other expenses necessary to operate the businesses.

Restructuring and Administrative Expense

Restructuring and Administrative Expense includes professional fees, tax compliance fees,
insurance, staff compensation and other expenses necessary to support NewCo.

Interest Income

Interest income represents interest earned on balance sheet cash.




                                                                   -3-
23-10367-mg             Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                       Main Document
                                                  Pg 396 of 410



                                                    NewCo
                               Projected Consolidated Balance Sheet (Unaudited)
                                                                        Fiscal Year Ending 12/31,
 ($s in Thousands)                                2024           2025             2026              2027           2028
 Assets
   Cash                                       $     29,871   $     66,005    $      62,264   $        58,876   $     64,137
  Goodwill & Intangible Assets                      77,829         77,829           77,829            77,829         77,829
  Other Assets                                      51,412          6,714            6,098             5,469          4,823
 Total Assets                                 $    159,112   $    150,548     $    146,191   $       142,174   $    146,788
  Accrued Compensation & Benefits             $     34,129   $     24,070    $      15,395   $         7,128   $      7,335
  Other Liabilities                                 10,969         10,372            9,758             9,126          8,477
  Contingent Tax Receivables                        47,375         47,375           47,375            47,375         47,375
 Total Liabilities                            $     92,473   $     81,817    $      72,527   $        63,630   $     63,187
 Shareholders' Equity                         $     66,639   $     68,731    $      73,664   $        78,544   $     83,601
 Total Liabilities and Shareholders' Equity   $    159,112   $    150,548     $    146,191   $       142,174   $    146,788


Notes to Consolidated Balance Sheet

Cash

NewCo is estimated to have $23.1 million cash balance at emergence.

Goodwill and Intangible Assets

Goodwill represents historic purchase price accounting related to MoffettNathanson before
“fresh-start” accounting adjustments, as applicable. Intangible assets consist of customer
relationships, pipeline and trade names.

Other Assets

Other assets primarily include subscription revenues receivable by MoffettNathanson and tax
refunds. The subscription revenues receivable forecast assumes ordinary course collections. Tax
refunds are forecast to be collected in the ordinary course and subject to ongoing tax audit.

Accrued Compensation and Benefits

Accrued compensation and benefits represent year end accruals for annual employee bonuses and
the SVBSH 2021 Acquisition Earn-Out.

Other Liabilities

Other liabilities include accounts payable and lease liabilities.

Contingent Tax Receivables

Contingent Tax Receivables payable to Liquidating Trust, corresponding to projected tax refunds
receivable.



                                                         -4-
23-10367-mg            Doc 1087            Filed 05/03/24 Entered 05/03/24 01:51:02                            Main Document
                                                     Pg 397 of 410



                                                  NewCo
                             Projected Consolidated Free Cash Flow (Unaudited)



                                                                                         For the FYE 12/31,
 ($s in Thousands)                                   Jul-Dec '24         2025           2026            2027           2028
 Opening Cash                                    $         23,072    $     29,871   $     66,005   $      62,264   $     58,876
  SVBSH Collections                                        13,843          22,658         23,318          23,978         24,638
  Other Receipts                                            3,367          44,008              −               −              −
  Interest Income                                             491           1,601          2,175           2,047          2,154
 Total Receipts                                  $         17,702    $     68,267   $     25,493   $      26,024   $     26,792
  Compensation & Benefits Expense                $         (3,914) $      (14,801) $      (13,803) $     (13,779) $     (14,192)
  Other Operating Expenses                                 (1,618)         (3,333)         (3,430)        (3,528)        (3,625)
  SVBSH 2021 Acquisition Earn-Out                               −          (8,500)         (8,500)        (8,500)             −
  Restructuring & Administrative Expense                   (5,370)         (5,499)         (3,501)        (3,606)        (3,714)
  Operating Disbursements                        $        (10,902) $      (32,133) $      (29,234) $     (29,412) $     (21,531)
 Net Cash Flows                                  $          6,799    $     36,134   $      (3,741) $      (3,388) $       5,261
 Ending Cash Balance: NewCo                      $         29,871    $     66,005   $     62,264   $      58,876   $     64,137


Notes to Projected Statement of Cash Flow

Operating Disbursements

SVBSH 2021 Acquisition Earn-Out per Membership Interest Purchase Agreement dated
December 10, 2021.




                                                                   -5-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 398 of 410



                                   EXHIBIT E

                NewCo Value Overview and Liquidating Trust Assets
23-10367-mg         Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02              Main Document
                                           Pg 399 of 410



                                            APPENDIX F

                                   NEWCO VALUE OVERVIEW

THE DETAILS SET FORTH HEREIN REPRESENT THE ESTIMATED
DISTRIBUTABLE VALUE OF NEWCO EQUITY AND DO NOT NECESSARILY
REFLECT VALUES THAT COULD BE ATTAINABLE IN THE PUBLIC OR PRIVATE
MARKETS. THE ESTIMATED VALUE OF THE NEWCO EQUITY SET FORTH
HEREIN DOES NOT PURPORT TO BE AN ESTIMATE OF THE POST-
REORGANIZATION MARKET VALUE OF NEWCO THIS INFORMATION IS
PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING ADEQUATE
INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE TO ENABLE
THE HOLDERS OF CLAIMS OR INTERESTS ENTITLED TO VOTE TO ACCEPT OR
REJECT THE PLAN TO MAKE AN INFORMED JUDGMENT ABOUT THE PLAN.



 NewCo Equity Summary
 ($ in millions)

 Assets                                                                                     Notes

  MoffettNathanson                                                      $      32.8          [1]

 Other Assets & Liabilities
  Tax Receivable                                                        $      47.4          [2]
  NOL Benefit on Existing Taxable Income                                        9.0          [3]
  Forecasted Professional Fees and Shared Service Costs                        (9.1)         [4]
  Obligation under Contingent Tax Receivables to Liquidating Trust            (47.4)         [5]
 Net Other Assets and Liabilities                                       $      (0.1)

 Total Net Assets                                                       $      32.7


NewCo Equity Summary Notes:

 [1]      The range of total equity value for MoffettNathanson, which takes into account the total
          enterprise value less the estimated net debt outstanding (including earnout payments) as
          of the Effective Date, is estimated to be between approximately $26 million and $40
          million, with an estimated midpoint of $33 million.

 [2]      Represents estimated tax refunds on NewCo’s balance sheet, estimated as of 6/30/24.

 [3]      Represents the net present value of potential cash tax savings for MoffettNathanson
          utilizing a 15.5% weighted average cost of capital assuming sufficient NOL capacity to
          offset 80% of MoffettNathanson’s taxable income through 2060.
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 400 of 410



 [4]   Represents estimate of total professional fees and shared service cost allocations until
       estimated tax receivables are collected by 2025.

 [5]   Represents obligation under Contingent Tax Receivables to the Liquidating Trust related
       to receipts of tax refunds at NewCo.




                                                -2-
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                      Main Document
                                             Pg 401 of 410



                       MOFFETTNATHANSON VALUATION ANALYSIS

        A.       Disclaimer

THE VALUATIONS SET FORTH HEREIN REPRESENT ESTIMATED
DISTRIBUTABLE VALUE FOR MOFFETTNATHANSON AND DO NOT
NECESSARILY REFLECT VALUES THAT COULD BE ATTAINABLE IN THE PUBLIC
OR PRIVATE MARKETS.

        B.       Valuation Estimate

In connection with developing the Plan, the Debtor directed its investment banker, Centerview, to
estimate the going-concern value of MoffettNathanson LLC (“MoffettNathanson”). This analysis
has been prepared for the Debtor’s sole use and is based on information provided to Centerview
by the Debtor.

Based on financial projections provided by the Debtor and subject to the disclaimers and the
descriptions of Centerview’s methodology set forth herein, and solely for purposes of the Plan,
Centerview estimates the total enterprise value of MoffettNathanson to be within the range of
approximately $26 million to $39 million as of June 30, 2024 with an estimated midpoint of $32
million.1 The range of total equity value, which takes into account the total enterprise value less
the estimated net debt outstanding (including earnout payments) as of the Effective Date, was
estimated by Centerview to be between approximately $26 million and $40 million with an
estimated midpoint of $33 million.

In preparing the estimated total enterprise value for MoffettNathanson, Centerview: (1) reviewed
certain historical financial information of MoffettNathanson for recent years and interim periods
provided by the Debtor; (2) met with certain members of MoffettNathanson’s senior management
to discuss MoffettNathanson’s operations and future prospects; (3) reviewed publicly available
financial data and considered the market values of public companies deemed by Centerview to be
generally comparable to MoffettNathanson; (4) considered certain economic and industry
information relevant to MoffettNathanson; (5) prepared discounted cash flow analyses based on
the financial projections, utilizing various discount rates and assumptions in the calculation of
terminal values; (6) considered the value assigned to certain precedent change-of-control
transactions for businesses deemed by Centerview to be similar to those of the Debtor; and
(7) conducted such other analyses as Centerview deemed appropriate.

Although Centerview conducted a review and analysis of MoffettNathanson, including its
projection and business plans, Centerview relied on the accuracy and completeness of all financial
and other information furnished to it by the Debtor and by other firms retained by the Debtor and
on certain publicly available information as to which Centerview does not have independent
knowledge.




1
    The endpoints of the range of estimated total enterprise value represent the arithmetic means of the endpoints of
    the ranges from the valuation methodologies utilized by Centerview.



                                                        -3-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 402 of 410



The financial projections provided by the Debtor to Centerview are for fiscal years 2024 through
2028. Centerview has relied on the Debtor’s representation and warranty that the financial
projections provided by the Debtor to Centerview (1) have been prepared in good faith, (2) are
based on fully disclosed assumptions which, in light of the circumstances under which they were
made, are reasonable, (3) reflect the Debtor’s best currently available estimates, and (4) reflect the
good faith judgments of the Debtor. Centerview does not offer an opinion as to the attainability
of the financial projections. The future results of MoffettNathanson are dependent upon various
factors, many of which are beyond the control or knowledge of the Debtor, and consequently are
inherently difficult to project. MoffettNathanson’s actual future results may differ materially
(positively or negatively) from the financial projections and as a result, the actual total enterprise
value of the MoffettNathanson may be significantly higher or lower than the estimated range
herein.

No independent evaluations or appraisals of the Debtor’s assets were sought or obtained in
connection with Centerview’s valuation. Centerview did not conduct an independent investigation
into any of the legal, tax, pension or accounting matters affecting the Debtor, and therefore makes
no representations as to their impact on the Debtor’s financial statements.

       C.      Valuation Considerations

This valuation is based upon information available to, and analyses undertaken by, Centerview as
of June 30, 2024, and reflects, among other factors discussed below, the current financial market
conditions and the inherent uncertainty today as to the achievement of the financial projections.
The value of an operating business is subject to uncertainties and contingencies that are difficult
to predict and will fluctuate with changes in factors affecting the financial conditions and prospects
of such a business. For purposes of this valuation, Centerview has assumed that no material
changes that would affect value will occur between the date of this Disclosure Statement and the
assumed Effective Date. Events and conditions subsequent to June 30, 2024, including but not
limited to updated projections, as well as other factors, could have a substantial impact upon the
MoffettNathanson’s enterprise value. Neither Centerview nor the Debtor has any obligation to
update, revise, or reaffirm the valuation.

This valuation also reflects a number of assumptions, including a successful reorganization of the
Debtor’s businesses and finances in a timely manner, achieving the forecasts reflected in the
financial projections, the minimum amount of cash required to operate MoffettNathanson, market
conditions and the Plan becoming effective in accordance with its terms on a basis consistent with
the estimates and other assumptions discussed herein. Among other things, failure to consummate
the Plan in a timely manner may have a materially negative impact on the enterprise value of the
MoffettNathanson.

Further, the valuation of newly issued securities is subject to additional uncertainties and
contingencies, all of which are difficult to predict. Actual market prices of such securities at
issuance will depend upon, among other things: (i) prevailing interest rates; (ii) conditions in the
financial markets; (iii) the anticipated initial securities holdings of prepetition creditors, some of
which may prefer to liquidate their investment rather than hold it on a long-term basis; and
(iv) other factors that generally influence the prices of securities. Actual market prices of such
securities also may be affected by the Chapter 11 cases or by other factors not possible to predict.



                                                 -4-
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02            Main Document
                                         Pg 403 of 410



Accordingly, the total enterprise value ascribed in the analysis does not purport to be an estimate
of the post-reorganization market trading value of NewCo, MoffettNathanson or any of their
securities. Such trading value may be materially different from the total enterprise value ranges
associated with Centerview’s valuation analysis. There can be no assurance, and the Debtor does
not anticipate, that a trading market will develop for the NewCo Common Stock. The estimates
of value for MoffettNathanson do not necessarily reflect the values that may be attainable in public
or private markets. Furthermore, in the event that the actual distributions in the Chapter 11 cases
differ from those the Debtor assumed in its recovery analysis, the actual recovery of holders of
Claims in Impaired Classes could be significantly higher or lower than estimated by the Debtor.

The estimate of total enterprise value set forth herein is not necessarily indicative of actual
outcomes, which may be significantly more or less favorable than those set forth herein depending
on the results of MoffettNathanson’s operations or changes in the financial markets. Additionally,
these estimates of value represent hypothetical enterprise of MoffettNathanson as the continuing
operator, and do not purport to reflect or constitute appraisals, liquidation values or estimates of
the actual market value that may be realized through the sale of any securities to be issued pursuant
to the Plan, which may be significantly different than the amounts set forth herein. Such estimates
were developed solely for purposes of formulation and negotiation of the Plan and analysis of
implied relative recoveries to creditors thereunder. The value of an operating business such as
MoffettNathanson is subject to uncertainties and contingencies that are difficult to predict and will
fluctuate with changes in factors affecting the financial condition and prospects of such businesses.

Centerview’s estimated valuation range of MoffettNathanson does not constitute a
recommendation to any holder of Allowed Claims or Interests as to how such person should vote
or otherwise act with respect to the Plan. The estimated value of MoffettNathanson set forth herein
does not constitute an opinion as to the fairness from a financial point of view to any person of the
consideration to be received by such person under the Plan or of the terms and provisions of the
Plan. Because valuation estimates are inherently subject to uncertainties, none of the Debtor,
Centerview or any other person assumes responsibility for their accuracy or any differences
between the estimated valuation ranges herein and any actual outcome.




                                                -5-
23-10367-mg        Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02                Main Document
                                           Pg 404 of 410



                                 LIQUIDATING TRUST ASSETS

THE DETAILS SET FORTH HEREIN REPRESENT THE ESTIMATED BALANCE
SHEET VALUES OF THE LIQUIDATING TRUST ASSETS, AT THE EFFECTIVE
DATE, AND DO NOT NECESSARILY REFLECT VALUES THAT COULD BE
ATTAINABLE IN THE PUBLIC OR PRIVATE MARKETS.

 Liquidating Trust Assets
 ($ in millions)

 Assets                                                                                          Notes

                                                                  Scenarios
                                                         A            B              C

  Receivable From FDIC                             $        -  $       966.9 $      1,933.8       [1]
  Available Cash                                         439.1         439.1          439.1       [2]
  Investment Securities                                  389.5         389.5          389.5       [3]
  Warrants & Other Derivatives                           326.0         326.0          326.0       [4]
  Other Assets                                            43.0          43.0           43.0       [5]
  SVB Capital Fund Investments                           118.7         118.7          118.7       [6]
  Management Fee Royalty                                  41.4          41.4           41.4       [7]
  SVB Capital New Fundraising Consideration                5.0           5.0            5.0       [8]
  Contingent Tax Receivables                              47.4          47.4           47.4       [9]

 Total Assets                                      $    1,410.2   $   2,377.1   $   3,344.0


Liquidating Trust Summary Notes:

Liquidating Trust assets above based on estimated 6/30/24 balance sheet values. Final recovery
values may vary based on the timing of, and ultimate realization of, value of Liquidating Trust
assets.

 [1]      For reference purposes only, Scenarios A, B and C reflect three of the possible outcomes
          from the pursuit of Claims and Causes of Action against the FDIC relating to the
          recovery of funds that were present in the Deposit Accounts at the time the Debtor’s
          access to the accounts was denied. Scenario A reflects a 0% recovery of the funds;
          Scenario B reflects a 50% recovery of the funds; and Scenario C reflects 100% recovery
          of the funds. Because the pursuit of Claims and Causes of Action against the FDIC
          regarding the Deposit Accounts are ongoing, the estimated amounts receivable from the
          FDIC under Scenarios A, B, and C may vary from the actual amounts receivable.

 [2]      “Available Cash” reflects estimated SVB Financial Group balance sheet cash at the
          Effective Date.




                                                  -6-
23-10367-mg      Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                        Pg 405 of 410



 [3]   “Investment Securities” primarily reflects investments in venture capital and private
       equity funds, debt funds, and private and public portfolio companies, including public
       equity securities held as a result of equity warrant assets exercised. Certain balance sheet
       values of private portfolio companies reflect valuations performed by Lincoln
       International.

 [4]   “Warrant & Other Derivatives” reflects warrants and conversion rights in private and
       public companies.

 [5]   “Other Assets” includes various receivables, prepaid assets, and investments in foreign
       subsidiaries.

 [6]   “SVB Capital Fund Investments” reflects the estimated present value of 46% of retained
       carry and capital interest pursuant to terms of the SVB Capital Purchase Agreement.

 [7]   “Management Fee Royalty” reflects estimated present value of 15.5% of management
       fee royalty for existing SVB Capital funds pursuant to terms of the SVB Capital
       Purchase Agreement.

 [8]   “SVB Capital New Fundraising Consideration” reflects 50% credit for total potential
       consideration related to new fundraising activity at SVB Capital pursuant to the terms of
       the SVB Capital Purchase Agreement.

 [9]   “Contingent Tax Receivables” reflects value of estimated tax refunds to be received at
       NewCo.




                                                -7-
23-10367-mg   Doc 1087   Filed 05/03/24 Entered 05/03/24 01:51:02   Main Document
                                   Pg 406 of 410



                                    ANNEX 1

                                Committee Letter
23-10367-mg        Doc 1087        Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                             Pg 407 of 410



                              Official Committee of Unsecured Creditors of
                                         SVB Financial Group

                                c/o Akin Gump Strauss Hauer & Feld LLP
                                            One Bryant Park
                                          New York, NY 10036

                                                    [•], 2024

To:     All Unsecured Creditors of SVB Financial Group, Case No. 23-10367 (MG)

The Official Committee of Unsecured Creditors (the “Creditors’ Committee”)1 of SVB Financial
Group (the “Debtor”) is providing this letter to unsecured creditors to recommend that each
unsecured creditor vote to accept the Debtor’s plan of reorganization as set forth in the Debtor’s
First Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [ECF No. [•]]
(the “Plan”)2 and as further described in the related disclosure statement [ECF No. [•]] (the
“Disclosure Statement”).3 As the official representative of all unsecured creditors in the Debtor’s
Chapter 11 Case (as defined below), the Creditors’ Committee believes that the Plan is fair and
provides unsecured creditors with the best possible recovery under the circumstances, and
recommends that all unsecured creditors vote to accept the Plan in accordance with the instructions
set forth on the applicable Ballots.

On March 17, 2023, the Debtor filed a voluntary petition for relief pursuant to chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Southern District of New York
(the “Chapter 11 Case”). On March 28, 2023, the United States Trustee for the Southern District
of New York appointed the Creditors’ Committee to represent the interests of unsecured creditors
in the Chapter 11 Case. The Creditors’ Committee selected Akin Gump Strauss Hauer & Feld LLP
as its legal counsel, Cole Schotz P.C. as efficiency and conflicts counsel, Berkeley Research Group,
LLC as its financial advisor and Lazard Frères & Co. LLC as its investment banker. The
Bankruptcy Court approved the Creditors’ Committee’s retentions of these professional advisors.
[ECF Nos. 295, 296, 338, 499].

Since its appointment, the Creditors’ Committee has played an active role in the Chapter 11 Case,
with its focus being maximizing recovery for the Debtor’s unsecured creditors. The Creditors’
Committee was heavily involved in the negotiation and formulation of the Plan, which efforts led
to the Creditors’ Committee becoming a party to that certain Restructuring Support Agreement
with the Debtor and the Ad Hoc Noteholder Group. Pursuant to the Restructuring Support
Agreement, the Creditors’ Committee is obligated, among other things, to support the Plan and the
confirmation thereof.



1
   The Creditors’ Committee currently consists of: (i) U.S. Bank National Association, as Indenture Trustee; (ii)
Wilmington Trust Company, as Indenture Trustee; (iii) Mr. Satagopan Rajagopalan; and (iv) Cousins Fund II Phoenix
I, LLC.
2
  Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Plan,
as applicable.
3
  You are receiving the Plan and Disclosure Statement from the Debtor in the same package as this letter.
23-10367-mg        Doc 1087         Filed 05/03/24 Entered 05/03/24 01:51:02                     Main Document
                                              Pg 408 of 410



The Creditors’ Committee believes that the Plan provides a structure that will result in the highest
and best possible recovery for unsecured creditors:

        First, the Plan preserves the priority “waterfall” for holders of claims and interests against
         the Debtor, ensuring that holders of unsecured claims will have the opportunity to recover
         as much as possible on account of their claims before any junior classes of claims or
         interests receive any distributions. Accordingly, any potential recoveries arising from,
         among other things, monetization of the Debtor’s assets and claims to recover the Debtor’s
         almost $2 billion in deposit amounts from the FDIC, which will be assets of the Liquidating
         Trust, will go first to pay unsecured creditors who hold Liquidating Trust Interests.

        Second, the Plan provides that eligible Holders of Allowed Other General Unsecured
         Claims may elect to receive cash in lieu of NewCo Common Stock or Liquidating Trust
         Interests in an amount equal to 45% of their claim. The “GUC Cash-Out” was heavily
         negotiated by the Creditors’ Committee and provides unsecured creditors who do not wish
         to receive interests in NewCo4 or the Liquidating Trust (including any interests in any
         proceeds of litigation against the FDIC) the ability to receive cash distributions sooner and
         to have certainty as to the quantum of their recovery. In evaluating whether to elect to
         receive the GUC Cash-Out, unsecured creditors should consider the risk factors set forth
         in the Disclosure Statement regarding NewCo Common Stock and Liquidating Trust
         Interests, including with respect to the potential trading market for the NewCo Common
         Stock or Liquidating Trust Interests, the risks surrounding the FDIC litigation and other
         estate claims and causes of action, and the tax implications of holding NewCo Common
         Stock and Liquidating Trust Interests.

        Third, the Plan preserves certain claims and causes of action that may be brought for the
         benefit of the Debtor’s estate and its unsecured creditors, including any claims and causes
         of action that may be asserted against the Debtor’s current and former officers and directors
         and other parties. Such claims and causes of action have been the subject of an
         investigation conducted by the Creditors’ Committee and, under the Plan, any such claims
         and causes action will be transferred to the Liquidating Trust that will seek to maximize
         their value.

        Finally, the Plan is designed to preserve the value of the Debtor’s potentially valuable tax
         attributes to the maximum extent possible.

The specific treatment provisions for unsecured creditors and summary information regarding
recoveries for unsecured claims are set forth in Article IV of the Plan. The Creditors’ Committee
believes that the proposed treatment of unsecured creditors under the Plan is fair, equitable and in
the best interests of the Debtor’s unsecured creditors. The Creditors’ Committee further believes
that any alternative other than confirmation of the Plan could result in extensive delays and
increased administrative expenses, which, in turn, would result in smaller distributions on account
of unsecured claims asserted against the Debtor.


4
 As described in more detail in the Plan and Disclosure Statement, certain Holders may receive cash in lieu of
NewCo interests in the event they are not a “qualified purchaser” or an “accredited investor” under applicable law.

                                                         2
23-10367-mg      Doc 1087      Filed 05/03/24 Entered 05/03/24 01:51:02             Main Document
                                         Pg 409 of 410



The Creditors’ Committee further believes that the releases contained in the Plan are appropriately
tailored to preserve the value of potentially valuable claims and causes of action that may be
asserted for the benefit of unsecured creditors, including claims and causes of action relating to (i)
recovering the Debtor’s deposit accounts from the FDIC and (ii) the prepetition conduct and events
that led to the Chapter 11 Case. As noted above, among other things, the Creditors’ Committee
has negotiated to place such claims and causes of action in the Liquidating Trust that will seek to
maximize their value for the benefit of the Debtor’s unsecured creditors.

For the reasons described above, as a representative of all of the Debtor’s unsecured creditors, the
Creditors’ Committee supports the Plan and believes that the Plan is in the best interests of the
Debtor’s unsecured creditors as a whole. Accordingly, the Creditors’ Committee urges all
unsecured creditors to vote to accept the Plan.

PLEASE NOTE THAT THE CREDITORS’ COMMITTEE REPRESENTS THE INTERESTS OF
UNSECURED CREDITORS AS A WHOLE AND DOES NOT REPRESENT THE
INDIVIDUAL INTERESTS OF ANY PARTICULAR UNSECURED CREDITOR. EACH
CREDITOR MUST MAKE ITS OWN INDEPENDENT DETERMINATION AS TO WHETHER
THE PLAN IS ACCEPTABLE TO THAT CREDITOR AND SHOULD CONSULT WITH ITS
OWN LEGAL AND/OR FINANCIAL ADVISOR IN CONNECTION THEREWITH.

The foregoing is not intended as a substitute for the Disclosure Statement. All unsecured creditors
should read the Plan and Disclosure Statement in its entirety, and then make their own respective
independent decisions as to whether the Plan is acceptable. Among other things, the Plan and
Disclosure Statement describes in detail: (i) events leading to the Debtor’s filing for bankruptcy;
(ii) events that occurred during the course of the Chapter 11 Case; (iii) the terms of the Plan,
including the anticipated distributions that will be made to unsecured creditors; and (iv)
instructions for voting on the Plan.

In addition to the Disclosure Statement and Plan, all unsecured creditors should review the Plan
Supplement materials. The Debtor will file a Plan Supplement containing certain exhibits and
documents relevant to the implementation of the Plan. The Plan Supplement will be filed on or
prior to [•]. Once filed, you may access the Plan Supplement on the website of the Debtor’s
Solicitation Agent, instructions for accessing which are in the Disclosure Statement.

The Debtor has provided you with a Ballot to vote to accept or reject the Plan. To have your vote
counted, you must complete and return the Ballot in accordance with the procedures set forth
therein and in the accompanying Plan and Disclosure Statement. PLEASE READ THE
DIRECTIONS ON THE BALLOT CAREFULLY AND COMPLETE YOUR BALLOT IN
ITS ENTIRETY BEFORE RETURNING IT TO THE DEBTOR’S SOLICITATION
AGENT.

Your timely vote is important, as only those unsecured creditors that timely vote on the Plan will
have their vote counted for purposes of determining whether creditors have accepted the Plan. The
Creditors’ Committee supports approval of the Plan and recommends that you timely vote to
accept the Plan in accordance with the procedures established by the Bankruptcy Court.




                                                  3
23-10367-mg     Doc 1087     Filed 05/03/24 Entered 05/03/24 01:51:02          Main Document
                                       Pg 410 of 410



If you have any questions about completing your Ballot, please contact Kroll Restructuring
Administration LLC, the Debtor’s Solicitation Agent by either (833) 570-5297 (U.S. toll-free) or
+1 (646) 440-4782 (international), or emailing svbinfo@ra.kroll.com.

                             Very truly yours,

                             Attorneys for the Creditors’ Committee
                             Akin Gump Strauss Hauer & Feld LLP

                             By:
                                    James R. Savin, Esq.




                                                 4
